     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 1 of 221




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________________

JULIO NOVA,

                                      Plaintiff,

v.                                                           9:19-cv-00072
                                                             (GTS/TWD)

RANDAL SMITH, JAMIE WILLETT, PAUL
WOODRUFF, and RICHARD BOND,

                              Defendants.
__________________________________________

APPEARANCES:                                                 OF COUNSEL:

JULIO NOVA
Plaintiff, pro se
02-A-2345
Clinton Correctional Facility
P.O. Box 2000
Dannemora, NY 14541

LETITIA JAMES                                                JOHN F. MOORE, ESQ.
Attorney General of the State of New York                    Assistant Attorney General
Attorney for Defendants
The Capitol
Albany, NY 12224

THÉRÈSE WILEY DANCKS, United States Magistrate Judge

                      REPORT-RECOMMENDATION AND ORDER

I.     INTRODUCTION

       This matter has been referred for a report and recommendation by the Hon. Glenn T.

Suddaby, United States District Judge, pursuant to 28 U.S.C. § 636(b) and Local Rule 72.3(c).

On January 22, 2019, pro se Plaintiff Julio Nova (“Plaintiff”), an inmate in the custody of the

New York State Department of Corrections and Community Supervision (“DOCCS”),
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 2 of 221




commenced this action pursuant to 42 U.S.C. § 1983 (“Section 1983”). (Dkt. No. 1.) Plaintiff’s

third amended complaint was accepted for filing on March 22, 2021, and liberally construed as

asserting: (1) Eighth Amendment excessive force, failure to protect, and/or failure to intervene

claims against Corrections Officer (“C.O.”) Jamie Willett (“Willett”), C.O. Richard Bond

(“Bond”), Deputy Superintendent of Security (“DSS”) Paul Woodruff (“Woodruff”), and

Sergeant (“Sgt.”) Randal Smith (“Smith”) (together, “Defendants”); 1 (2) Fourteenth Amendment

equal protection claim against Willett; and (3) an equal rights claim pursuant to 42 U.S.C. § 1981

(“Section 1981”) against Willett. (Dkt. No. 112 at 12. 2)

       Currently before the Court are Defendants’ motion for partial summary judgment and

Plaintiff’s cross-motion for summary judgment. (Dkt. No. 156; 3 Dkt. No. 177; 4 Dkt. No. 182. 5)




1
  The Court refers to Defendants’ DOCCS’ ranks as indicated in March 2018. Their present
ranks and employment status may differ.
2
  Page references to documents identified by docket number are to the page numbers assigned by
the CM/ECF docketing system maintained by the Clerk’s Office. Paragraph numbers are used
where documents identified by the CM/ECF docket number contain consecutively numbered
paragraphs. Unless otherwise indicated, excerpts from the record are reproduced exactly as they
appear in the original and errors in spelling, punctuation, and grammar have not been corrected.
3
 Defendants’ submission includes a Notice of Motion (Dkt. No. 156), Attorney Declaration with
Exhibits (Dkt No. 156-1 through Dkt. No. 156-24), Statement of Material Facts (Dkt. No. 156-
25), Declaration of Sherri Debyah with Exhibits (Dkt. No. 156-26), Declaration of Lt. Michael
Eddy with Exhibits (Dkt. No. 156-27), Declaration of Lt. Thomas Quinn with Exhibits (Dkt. No.
156-28), Declaration of Defendant Randal J. Smith with Exhibits (Dkt. No. 156-29), Declaration
of Rachael Seguin with Exhibits (Dkt. No. 156-30), Declaration of Defendant Paul Woodruff
with Exhibits (Dkt. No. 156-31), Memorandum of Law (Dkt. No. 156-32), and Appendix of
unreported cases (Dkt. No. 156-33).
4
 Plaintiff’s submission includes a Statement in Opposition to Defendants’ Statement of Material
Facts (Dkt. No. 177), Declaration in Opposition to Defendants’ Motion for Partial Summary
Judgment (Dkt. No. 177-1), Memorandum of Law (Dkt. No. 177-2), and Declaration in Support
of Motion for Summary Judgment (Dkt. No. 177-3).
5
 Defendants also submitted an Attorney Reply Declaration/Declaration in Opposition to Cross-
Motion (Dkt. No. 182), Declaration of Defendant Jamie Willett with Exhibits (Dkt. No. 182-1),
Declaration of Defendant Richard Bond with Exhibits (Dkt. No. 182-2), and Reply
                                                 2
      Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 3 of 221




        For the reasons set forth below, the Court recommends that Defendants’ motion be

granted in part and denied in part, and Plaintiff’s motion be denied.

II.     BACKGROUND 6

        On March 1, 2018, while confined at Upstate, Plaintiff received six misbehavior reports

arising from incidents that occurred at approximately 8:27 a.m., 9:50 a.m., 11:10 a.m. and 12:40

p.m. (Dkt. No. 156-23 at ¶¶ 1, 20, 26, 37, 42, 48, 49.) The March 1, 2018, 8:27 a.m.

misbehavior report issued by non-party Officer Beane reads as follows:

               On the above date and approximate time while collecting razors on
               upper B-gallery in 9 building I C.O. Beane arrived at 9B-48 cell
               and collected inmate Nova’s 02A2345 razor. While inspecting
               Nova’s razor I realized that he has tampered with the plastic
               around the razor and broke it. Area supervisor was notified and
               inmate was moved to 9B23B and PIMS level was dropped. Photos
               were taken of the broken razor and then disposed of.

Id. at ¶ 28.

        At 8:27 a.m. Plaintiff was moved to cell 9 B 23 as indicated in the misbehavior report.

Id. at ¶ 31. He was escorted by non-party Officers Beane, Comstock, and Sgt. Donah. Id. at ¶

32. Other officers appeared, including Willett. Id. at ¶ 33. Plaintiff was told multiple times to

enter cell 9 B 23, but he refused. Id. at ¶¶ 34, 35. Willett was the only defendant present during

the 9:50 a.m. incident. See id. at ¶¶ 46, 47, 56.




Memorandum of Law/Memorandum of Law in Opposition to Cross-Motion (Dkt. No. 183-3).
Plaintiff did not submit a reply and the motions are deemed fully briefed. (See Dkt. No. 197.)
6
  The facts stated herein are drawn from the parties’ submissions, including Defendants’
Statement of Material facts, (Dkt. No. 156-25), Plaintiff’s response thereto, (Dkt. No. 177), and
the attached affidavits, declarations, and exhibits. Plaintiff largely concedes the accuracy of
Defendants’ recitation of the specific facts, while in some cases disputing the legal significance
of those facts. Compare Dkt. No. 156-25 with Dkt. No. 177. To that end, Plaintiff admits to
paragraphs 1, 3, 4, 9-21, 23, 25-32, 34, 36-40, 42-56, 58, 60, 64-66, 68-70, 72, 74-75, 77-88 and
105 of Defendants’ Rule 56 Statement. (Dkt. No. 177 at ¶ 3.) Plaintiff failed to respond to the
assertions set forth in paragraphs 6, 33 and 35.
                                                    3
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 4 of 221




        As a result of 9:50 a.m. incident, Plaintiff received three misbehaviors reports dated

March 1, 2018, authored by Officer Comstock, Sgt. Donah, and Willett. Id. at ¶ 36. Officer

Comstock’s misbehavior report reads as follows:

               On the above date and approximate time while escorting Inmate
               Nova DIN# 02A2345 from the lower holding pen to 9 B 23 cell, he
               became combative, and force became necessary and Nova kicked
               me Officer Comstock several times in the chin and ankle of my
               right side causing injury to my chin and ankle. Nova was placed in
               9 B 23 cell where he was seen by medical through the door. No
               Further Incident.

Id. at ¶ 38. Sgt. Donah’s misbehavior reports explains that:

               On the above date and approximate time I was called to the 9-
               Building lower holding pen for assistance. Once at the holding pen
               inmate Nova 02A2345 was refusing to comply with staff direction
               regarding a cell move. I gave the inmate several orders to comply
               and he refused at this time force was necessary to make him
               comply. He was forced to 9-B-23 cell where he was combative
               and refused to enter the cell. He was placed in the cell and refused
               to allow his restraints to be removed. Once the restraints were
               removed his hands had to be forced back into the hatch. Once the
               hatch was secured no further incident followed. Medical was
               escorted to his cell so he could be evaluated.

Id. at ¶ 43. Plaintiff admits Sgt. Donah and other officers gave several orders to enter the new

cell and that he refused. Id. at ¶¶ 44, 45. The misbehavior report issued by Willett states:

               On the above stated date and approximate time, while assisting in
               the escort of inmate Nova, 02A2345 from 9 Bldg lower holding
               pen to 9B23B, Inmate Nova 02A2345 spit into my face and mouth
               through the feed up hatch from inside the cell hatch was secured
               and I was seen by medical.

Id. at ¶ 40.

        Plaintiff’s submissions paint a different picture of the 9:50 a.m. incident. According to

Plaintiff, he was “aggressively manhandled,” forced into the cell, and punched in the back of the

head “multiple times” by Willett and an unnamed officer, while Willett directed racial slurs at



                                                 4
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 5 of 221




Plaintiff. (Dkt. No. 156-21 (“Pl.’s Dep.”) at 59-63.) Plaintiff maintains he did not become

combative, nor did he kick any officers during the 9:50 a.m. incident. Id. at 78-79. Plaintiff also

claims Willett “sadistically and maliciously pulled on Plaintiff’s cuffs” through the cuffing port

such that it caused nerve damage to Plaintiff’s hands. Id. at 71-75. According to Plaintiff, he

“unintentionally” spit through the feed-up hatch from inside the cell into Willett’s mouth when

he was “questioning [Willett] about why . . . was he hitting me.” Id. at 64; Dkt. No. 177 at ¶ 11.

       In connection with the 9:50 a.m. incident, Willett prepared and signed a use of force

memorandum, which reads as follows:

               I was contacted via radio by Sgt. Donah to respond to the lower
               holding pen in 9 bldg to assist with the escort of inmate Nova
               02A2345 from the lower holding pen to 9B23 cell. Upon arriving
               to the lower holding pen I observed Sgt. Donah giving inmate
               Nova 02A2345 several direct orders to walk into the cell and
               asking him to comply with directions and he refused to comply,
               stating “Fuck you I’m not going let’s go motherfuckers let’s do
               this.” Other officers involved escorted inmate Nova 02A2345
               from the holding pen to lower b gallery.

               After observing inmate Nova 02A2345 being combative and non
               compliant and refusing to enter 9B23 cell door I placed both of my
               hands onto his upper back area and forced him into the cell. Upon
               entering the cell I took control of the waist chains using both of my
               hands and forced inmate Nova 02A2345 to turn around and backed
               my way out of the cell while the door was closing. I maintained
               control of the waist chains with both hands until the door was
               closed at which time inmate Nova 02A2345 spit into my face and
               mouth. I continued to maintain control of the waist chain as
               inmate Nova 02A2345 was refusing to allow the hand restraints to
               be removed. I pulled rearward on the chains pulling his hands out
               through the hatch so restraints could be removed.

(Dkt. No. 182-1 (“Willett Decl.”) at ¶ 5.) Further, Willett declares:

               During the March 1, 2018 incident that occurred at approximately
               9:50 a.m., I did not strike or punch Plaintiff. At no point during
               that incident or at any other time that day did I threaten Plaintiff or
               call him any racist names, including the ‘N’ word, nor did I
               compare him to my ex-wife. I never spit on or at the Plaintiff. I


                                                  5
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 6 of 221




                never discussed with Defendant Smith retaliating against the
                Plaintiff. Any force used during this incident, as described in the
                [use of force memorandum] was done to place Plaintiff in his cell,
                maintain control of the plaintiff to remove restraints, and to allow
                officers to leave the cell safely.

Id. at ¶ 8.

        Plaintiff also claims that shortly after the 9:50 a.m. incident, Willett threatened to kill

him. (Dkt. No. 113 at 8.) According to Plaintiff, Smith and Bond, who were escorting Plaintiff

to the facility hospital, witnessed the threat. Id. Plaintiff was very concerned “as to his personal

safety,” and immediately brought his concerns “to the attention of Defendants Smith and Bond.”

(Pl.’s Dep. at 88, 97-98.) Thereafter, Plaintiff witnessed a conversation between Smith and

Willett and heard Smith say, “don’t worry I will take care of it . . . but it has to be done right.”

(Dkt. No. 113 at 9.)

        At approximately 12:40 p.m., Plaintiff was escorted from the infirmary back to his cell

and noticed it had been “searched and intentionally trashed.” (Pl.’s Dep. at 102, 110.) He

refused to enter the cell and, without warning, was forced into the cell. Id. Plaintiff claims

Smith ordered officers to place Plaintiff facing against the cell wall. Id. at 110-11. Smith left

and returned with Willett moments later. Id. at 112. Plaintiff was facing the wall and

handcuffed when Willett entered the cell and immediately “placed the Plaintiff in a escort hold

and began taking him down to the cell floor” while “twisting his body” and “spitting on

Plaintiff’s face.” Id. at 114-15. Willett punched and kicked Plaintiff in the face, stomach, and

chest for approximately one minute while directing racial slurs at Plaintiff. Id. at 116-19.

Willett said “don’t you ever do that to a correction officer again” while assaulting Plaintiff. Id.

at 119. Plaintiff claims Smith and Bond witnessed the incident and did not intervene or say

anything “despite Plaintiff’s plea for help.” (Dkt. No. 113 at 10-11; Pl.’s Dep. at 121-22.)



                                                   6
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 7 of 221




        Thereafter, Plaintiff’s handcuffs and chains were taken off and his arms and legs were

“hog-tied” with sheets by Willett and other unnamed officers. (Pl.’s Dep. at 123-25.) The

officers left Plaintiff’s cell and locked it, leaving him hog-tied for over two minutes until he

could loosen himself free. Id. at 126. Plaintiff testified that he had bruises “all over [his] body”

including the right side of his forehead and on his chest, stomach, and arms and had blood in his

urine for approximately 24 hours. Id. at 129, 131.

        Plaintiff received a misbehavior report from non-party Officer LaBare dated March 1,

2018, at approximately 12:40 p.m., which reads:

                On the above date and time while escorting inmate Nova, J
                02A2345 back from the infirmary, he refused several direct orders
                from myself and Sgt. R. Smith to enter his cell. The inmate
                became combative and force had to be used.

(Dkt. No. 156-32 at ¶¶ 50, 51.) Plaintiff admits Smith and Officer LaBare ordered him to enter

the cell as indicated in the 12:40 p.m. misbehavior report. Id. at ¶ 52. The use of force report

related to this incident reads, in relevant part:

                Inmate Nova 02A2345 was escorted back from the infirmary to his
                cell, then refused to enter it. Nova refused all orders to enter the
                cell at that time force became necessary to gain compliance. Sgt
                RJ Smith ordered the officers to put Nova into his cell. Nova then
                became combative and resisted the officers.

(Dkt. No. 156-29 (“Smith Decl.”) at ¶ 4, Exhibit A.) For his part, Smith declares:

                At approximately 12:40 pm, myself and other staff were escorting
                Plaintiff back to his cell from the infirmary, when he refused to
                enter his cell. The Plaintiff was given several orders and ample
                time to comply, however he refused to cooperate. At this time
                force became necessary to gain compliance. I ordered staff to put
                the Plaintiff into his cell. He then became combative and resisted
                the officers.

                Officer Boyd took control of Plaintiff’s upper right arm with both
                his hands and forced him into the cell. Officer LaBare took control
                of the retention strap with his right hands and with his left hand on


                                                    7
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 8 of 221




                Plaintiff’s back he forced him into his cell. Officer Premo took
                control of Plaintiff’s left arm with both his hands until he was
                forced into his cell. Officer Willett entered the cell and took
                control of Plaintiff’s left arm with both of his hands. Officers
                Boyd and Willett then forced Plaintiff to the floor face down.
                Officer LaBare took control of Plaintiff’s legs with both of his
                hands and helped force Plaintiff to the floor. Officer Willett
                wrapped Plaintiff’s hands and arms with a sheet while Officer
                Boyd removed the mechanical restraints, and LaBare wrapped
                Plaintiff’s legs in a sheet. Once Plaintiff was secured by the sheet,
                Officers Boyd and Premo force him under the bottom bunk to
                allow the officers to exit the cell safely. All staff exited the cell
                without further incident.

Id. at ¶¶ 5-6. Smith swears that “[a]t no point during the Use of Force incident detailed above,

did I or any other involved officers, including defendant Jamie Willett, use racial language

towards the Plaintiff.” Id. at ¶ 7.

        In connection with the 12:40 p.m. use of force incident, Willett prepared a use of force

memorandum, dated March 1, 2018, which reads as follows:

                On the above stated date and time I responded to 9B23 cell in
                response to Sgt. Smith’s radio transmission. After arriving at B23
                Sgt. Smith directed me to enter the cell and assist other officers in
                maintaining control of inmate Nova 02A2345.

                Upon entering 9B23 cell I grabbed inmate Nova 02A2345 by his
                left arm using both of my hands and forced him to the floor. While
                on the floor I maintained control of Nova 02A2345 left arm with
                both of my hands and wrapped his hands up with a sheet. After
                wrapping both of inmate Nova 02A2345 hands with a sheet the
                mechanical restraints were removed inmate Nova 02A2345 was
                forced under the bed. I backed out of the cell and the door was
                secured. No other force was needed.

                No injuries were noted and I remained on duty.

(Willett Decl. at ¶ 10, Exhibit E.) Willett swears that he did not kick, strike, or punch Plaintiff

during the 12:40 p.m. incident. Id. at ¶ 11. He further declares:

                At no point during that incident or at any other time that day did I
                threaten Plaintiff or call him any racist names, including the “N”


                                                  8
      Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 9 of 221




               word. I never spit on or at the Plaintiff. Any force used, as
               described in the memorandum at Exhibit E was, done to maintain
               control of the Plaintiff, and to allow officers to leave the cell
               safely.

Id.

        Bond also prepared a use of force memorandum, dated March 1, 2018, at 12:40 p.m.,

which reads:

               On 3/1/18 at apprx. 12:40 p.m. I C.O. R. Bond Reported to 4-B-23
               cell for assistance, assistance was not needed.

               When I officer R. Bond responded to B-23 cell my assistance was
               not needed. Staff members had restrained inmate Nova. I never
               entered the cell, I stayed on the gallery. I could not see inside the
               cell because the supervisor was in the way.

               I did not use force or get injured.

(Dkt. No. 182-2 (“Bond Decl.”) at ¶ 7, Exhibit B.) For his part, Bond declares:

               I did not use any force of any kind against Plaintiff. At no point
               during that incident or at any other time that day did hear any staff
               threaten Plaintiff or call him any racist names, including the ‘N’
               word. I never observed any staff spit on or at the Plaintiff. I did
               not intervene in any force used . . . because Sgt. Smith was
               standing in front of me, I could not see inside the cell, and
               observed no force used. However, my understanding based on
               what was being said, was that the Plaintiff had already been
               restrained. The Plaintiff never advised me that he feared for his
               safety or of any threat to his safety on or prior to March 1, 2018. I
               was not aware of any excessive force used.

Id. at ¶ 8.

        Woodruff was not present for, involved in, or a witness to any use of force involving

Plaintiff on March 1, 2018. (Dkt. No. 156-25 at ¶ 56.) Additionally, Woodruff declares:

               Before March 1, 2018, I was not aware of any institutionalized
               practices of DOCCS involving excessive use of force, punishment
               or abuse of black or Hispanic incarcerated individuals. I was not
               aware of an investigation conducted by the Inspector General,



                                                     9
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 10 of 221




               ordered by former Governor Andrew Cuomo on December 2016,
               in regards to racial bias, or excessive use of force against inmates.
               I have not read any New York Times article on that subject,
               including before March 1, 2018. I did not receive any
               memorandum, as DSS, concerning an investigation conducted by
               the Attorney General and warning of no toleration of bias or
               officer brutality against inmates.

               At no time prior to March 1, 2018 was I advised of “vicious
               propensities” of Defendants Smith, Willett or Bond, nor of any
               danger that these officers, or any other officer at Upstate, posed to
               Plaintiff, inmates named Barnes or Walker, or any other inmates.

               No other inmate alerted me to vicious propensities of Defendants
               Bond, Smith or Willett. I was unaware of any criminal acts
               committed by Defendants Smith, Willett or Bond before or after
               March 1, 2018 as it pertains to treatment of any inmate, including
               Julio Nova 02-A-2345.

               My duties as DSS do not directly involve provision of training to
               officers, including Smith, Willett or Bond, nor scheduling of those
               officers to particular assignments or locations within the facility.

(Dkt. No. 156- 31 (“Woodruff Decl.”) at ¶¶ 4-5.)

       Woodruff was assigned to conduct the Tier III hearing pertaining to the 8:27 a.m. and

9:50 a.m. misbehavior reports written against Plaintiff on March 1, 2018. Id. at ¶ 6. 7 The

hearing began on March 14, 2018, and was extended through March 28, 2018. Id. It never

concluded. Id. The disciplinary infractions related to the hearing Woodruff conducted were

ultimately expunged due to untimeliness. Id. at ¶ 7. During the hearing, there was no statement

or testimony by Plaintiff or any staff that Willett directed any racial language towards Plaintiff

on March 1, 2018. Id. at ¶ 8.




7
 Non-party Captain Dominic conducted a Tier III disciplinary hearing regarding the 11:10 a.m.
and 12:40 p.m. misbehavior reports dated March 1, 2018, and Plaintiff was found guilty of all
charges. (Dkt. No. 156-25 at ¶ 58.)
                                                 10
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 11 of 221




       Plaintiff filed three grievances concerning March 1, 2018, which were consolidated into

UST-62800-18. (Dkt. No. 156-25 at ¶¶ 64, 65.) The first grievance was dated March 5, 2018.

Id. at ¶ 68. It was received by the grievance office on March 7, 2018, and assigned grievance

number UST-62800-18. The factual portion reads:

               Pursuant to 7NYCRR§§251-1.2(F)(1); 251-1.2(b); 251-1.2(c);
               where it clearly state “where is necessary to use physical force,
               only such degree of force as is reasonably required must be used.

               That on Mar. 1, 2018, approximately 12:40pm, Correctional
               Officer Mr. Jamie Willet, along with others whom names I do not
               know at the moment, maliciously and sadistically assaulted
               Grievant and used excessive force. (See camcorder footages, and
               also unit camera within 9-B1, gallery; CS204, CS205, CS206)

               That the failure of Sergeant Mr. Randal Smith to intervene or
               protect Grievant when Officer J. Willet, along with others, used
               force against him, without provocation, constitutes a violation of
               civil rights.

               The Officers’ maliciously assault on Grievant was in retaliation
               since, allegedly, he had spit on Officer’s J. Willet face and mouth
               on the same date in prior incident in front of 9-B1-23 cell through
               feed-up hatch.

               That Correctional Officer J. Willet unnecessarily, with wanton
               intentions inflicted pain upon Grievant.

               That Correctional Officer J. Willet committed the following
               unnecessary and wanton infliction of pain; struck with fists and
               kicks, delivered intentional head blows upon Grievant while he
               was hand-cuffed and chain around waist, slammed head into floor
               even though Grievant did not pose an imminent threat to the
               Officers. Officer J. Willet also spit on Grievant’s face twice.

               Action Requested: To discipline Officer J. Willet and Srg. Randal
               Smith and others pursuant to Employee Manual Section 24.1; also
               I request that a copy of this grievance be placed in their central file
               records.

Id. at ¶ 68. Plaintiff’s second grievance, dated March 11, 2018, was consolidated with UST-

62800-18 and the factual portion states:


                                                 11
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 12 of 221




               Pursuant to 7NYCRR§§251-1.2(F)(1); 251-1.2(b); 251-1.2(c);
               where it clearly states “where is necessary to use physical force,
               only such degree of force, only such degree of force as is
               reasonably required must be used.

               That on Mar. 1, 2018, approximately 9:50AM, Correctional
               Officer Mr. Andrew Martin maliciously and sadistically assaulted
               Grievant and used excessive force (see unit camera within 9-Bl-
               gallery #cs204)

               That Correctional Officer Mr. Andrew Martin unnecessarily, with
               wanton intentions inflicted pain upon Grievant.

               That Correctional Officer Mr. Andrew Martin committed the
               following unnecessary and wanton infliction of pain; stuck with
               fists; delivere intentional face blows upon Grievant while he was
               handcuffed and with waist chain mecanisims, excessive force in
               bad faith by trying to brake Grievant’s arm through feed-up hatch
               even though he did not intended to pull his arm in the cell while
               cuffed.

               Action Requested: To discipline officer Mr. Andrew Martin
               pursuant to Employee Manual Sections 24.1; and 4.2. Also,
               Grievant request that a copy of this grievance be placed in his
               central file records.

Id. at ¶ 72. Plaintiff’s third grievance, dated March 12, 2018, was consolidated with UST-62800-

18, and the factual portion states:

               Pursuant to 7NYCRR§§251-1.2 (F)(l); 251-1.2(b); 251-1.2(c);
               where it clearly states “where is necessary to use physical force,
               only such degree of force as is reasonably required must be used.

               That on Mar. 1, 2018, approximately 9:50AM., and 12:40PM.,
               Correctional Officer Mr. Aaron Beane, along with others whom
               names I do not know at the moment, maliciously and sadistically
               assaulted Grievant and used excessive force. (See 9-Bl gallery
               camera #cs204 (in front of B-1-23 cell) also camcorder footages of
               required recording of all inmates involved in use of force.)

               Upon information and belief, Officer A. Beane committed the
               following unnecessary and wanton infliction of pain; struck with
               fists, delivere intentional body blows upon Grievant while he was
               handcuffed and with waist chain mecanisims applied, excessive
               force with intentions to cause serious harm.


                                                12
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 13 of 221




                Action Requested: To discipline Officer Aaron Beane pursuant to
                Employees Manual Sections 24.1; and 4.2. Also, Grievant request
                that he be suspended without paid and a copy of this grievant be
                placed in his personal file.

Id. at ¶ 74.

        On March 7, 2018, non-party Lt. Quinn was assigned by the Incarcerated 8 Grievance

Program (“IGP”) Supervisor to investigate consolidated grievance UST-62800-18. Id. at ¶ 77.

Lt. Quinn assigned Smith to obtain statements from staff who were named in the grievances, and

some other individuals who were present. Id. at ¶ 78. On March 15, 2018, Smith submitted a

to/from memorandum to Lt. Quinn regarding his involvement, which reads as follows:

                On 1 Mar 18, I, SGT RJ Smith, supervised the escort of inmate
                Nova 02A2345 who was returned to his cell. 9-B-23, at
                approximately 12:40 pm from the infirmary. Nova refused several
                orders to enter his call, he then became combative and force
                became necessary (see UOF 18-0017). Only minimum force
                necessary was use to gain compliance of Nova to put him in his
                cell and then exit the cell safely by all Officers involved.

                Officer J. Willet responded to the situation and acted in a
                professional manner, as described in the UOF and helped gain
                compliance of the combative inmate Nova. There is no further
                action or investigation required on this matter.

Id. at ¶¶ 79, 80.

        Lt. Quinn assigned non-party Lt. Eddy to interview Plaintiff regarding his grievance

claims. Id. at ¶ 81. Lt. Eddy interviewed Plaintiff on March 22, 2018. Id. at ¶ 82. During the

interview Plaintiff made no additional statements regarding his grievance, nor did he indicate

that any individual, including Willett, used racial language towards him. Id. at ¶ 83. Lt. Eddy

authored a memorandum to Lt. Quinn dated March 22, 2018, which reads as follows:




8
  This program was formerly known as the “Inmate Grievance Program” but has recently been
renamed.
                                               13
       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 14 of 221




                I, Lt. M. Eddy interviewed Inmate Nova, J Din# 02A2345 in front
                of his current cell location, 09-B1-23B at approximately 09:45am
                on the above date. This inmate had nothing new to offer towards
                this grievance.

Id. at ¶ 84.

         On or about April 7, 2018, the Superintendent issued a decision regarding grievance

UST-62800-1, which reads:

                Grievant is advised that the allegations contained in this complaint
                have been investigated. The investigation included an interview of
                the grievant by the investigating supervisor, as well as interviews
                of the staff members identified by the grievant.

                The grievant was interviewed by a security supervisor regarding
                this complaint and offered no additional information to his written
                complaint and provided no witness to the alleged incident.

                The staff members identified were interviewed and submitted
                written memorandum denying the allegations they assaulted the
                grievant.

                Upon review of the information submitted, no misconduct by staff
                was found and no further action will be taken at this time.
                Grievance is denied.

Id. at ¶¶ 85, 86. Plaintiff appealed the Superintendent’s decision to the Central Office Review

Committee (“CORC”) on April 15, 2018. Id. at ¶ 87.

III.     DISCUSSION

         A.     Standard of Review

         Under Rule 56 of the Federal Rules of Civil Procedure, summary judgment is warranted

if “there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52

(1986). The moving party bears the initial burden of demonstrating “the absence of a genuine

issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Salahuddin v.



                                                 14
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 15 of 221




Gourd, 467 F.3d 263, 272-73 (2d Cir. 2006). A fact is “material” if it “might affect the outcome

of the suit under the governing law,” and is genuinely in dispute “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248, see

Jeffreys v. City of New York, 426 F.3d 549, 553 (2d Cir. 2005). The movant may meet this

burden by showing that the nonmoving party has “fail[ed] to make a showing sufficient to

establish the existence of an element essential to that party’s case, and on which that party will

bear the burden of proof at trial.” Celotex, 477 U.S. at 322.

         If the moving party satisfies its burden, the nonmoving party must move forward with

specific facts showing there is a genuine issue for trial. Salahuddin, 467 F.3d at 273. In that

context, the nonmoving party must do more than “simply show that there is some metaphysical

doubt as to the material facts.” Matsushita Electric Industrial Co., Ltd. v. Zenith Radio Corp.,

475 U.S. 574, 586 (1986). “Conclusory allegations, conjecture and speculation . . . are

insufficient to create a genuine issue of fact.” Kerzer v. Kingly Mfg., 156 F.3d 396, 400 (2d Cir.

1998).

         The Second Circuit instructs that on summary judgment motions, “[t]he mere existence

of a scintilla of evidence in support of the plaintiff’s position will be insufficient; there must be

evidence on which the jury could reasonably find for the plaintiff.” Jeffreys, 426 F.3d at 554. In

other words, “a nonmoving party must offer some hard evidence showing that [his] version of

the events is not wholly fanciful.” Id. (citation and internal quotation marks omitted).

Accordingly, statements “that are devoid of any specifics, but replete with conclusions, are

insufficient to defeat a properly supported motion for summary judgment.” Bickerstaff v. Vassar

Coll., 196 F.3d 435, 452 (2d Cir. 1999).




                                                  15
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 16 of 221




       In determining whether a genuine issue of material fact exists, the court must resolve all

ambiguities and draw all reasonable inferences against the moving party. Major League

Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 309 (2d Cir. 2008). Where a party is

proceeding pro se, the court is obligated to “read [the pro se party’s] supporting papers liberally,

and . . . interpret them to raise the strongest arguments that they suggest.” Burgos v. Hopkins, 14

F.3d 787, 790 (2d Cir. 1994). However, that status “does not relieve [a pro se] plaintiff of his

duty to meet the requirements necessary to defeat a motion for summary judgment.” Jorgensen

v. Epic/Sony Records, 351 F.3d 46, 50 (2d Cir. 2003).

       In applying the summary judgment standard, the district court should not weigh evidence

or assess the credibility of witnesses. Hayes v. New York City Dep’t of Corr., 84 F.3d 614, 619

(2d Cir. 1996); Rule v. Brine, Inc., 85 F.3d 1002, 1011 (2d Cir. 1996) (credibility issues, which

are questions of fact for resolution by a jury, are inappropriately decided by a court on a motion

for summary judgment).

       “Where, as here, the parties have cross-moved for summary judgment, a reviewing court

must evaluate each party’s motion on its own merits, taking care in each instance to draw all

reasonable inferences against the party whose motion is under consideration.” United States v.

Bedi, 453 F. Supp. 3d 563, 570 (N.D.N.Y. 2020) (cleaned up). “In undertaking this analysis, it

bears noting that a district court is not required to grant judgment as a matter of law for one side

or the other.” Id.; see also Residential Mgmt. (N.Y.) Inc. v. Fed. Ins. Co., 884 F. Supp. 2d 3, 7

(E.D.N.Y. 2012) (“Cross-motions for summary judgment do not alter the basic standard, but

simply require the court to determine whether either of the parties deserves judgment as a matter

of law on facts that are not in dispute.”). “Moreover, the district court considering a summary

judgment motion must be mindful of the underlying standards and burden of proof.” Larkins v.



                                                 16
    Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 17 of 221




Cayuga Cty., No. 9:13-CV-219 (NAM/ATB), 2014 WL 4760064, at *4 (N.D.N.Y. Sept. 24,

2014) (quotation marks and alternations omitted). Thus, a plaintiff “bears a much greater initial

burden; he must show that the evidence supporting his claims is so compelling that no reasonable

jury could return a verdict for the defendant.” Id.

       B.      Local Rule 56.1

       Local Rule 56.1(a) requires a party moving for summary judgment to file and serve a

Statement of Material Facts. See L.R. 56.1(a) (“Any motion for summary judgment shall contain

a separate Statement of Material Facts.” (emphasis added)). “The Statement of Material Facts

shall set forth, in numbered paragraphs, a short and concise statement of each material fact about

which the moving party contends there exists no genuine issue.” Id. “Each fact listed shall set

forth a specific citation to the record where the fact is established.” Id. “Failure of the moving

party to submit an accurate and complete Statement of Material Facts shall result in a denial of

the motion.” Id. (emphasis in original).

       Pursuant to Local Rule 56.1(a), Defendants filed and served a Statement of Material

Facts. (Dkt. No. 156-25.) In opposing Defendants’ motion, Plaintiff failed to respond to the

Statement of Material Facts filed by Defendants in the manner required under Local Rule

56.1(b). 9 (Dkt. No. 177.) “This requirement is not a mere formality; rather ‘this and other local



9
  Local Rule 56.1(b) requires the opposing party to file a Response to the movant’s Statement of
Material Facts. Under the rule, the Response “shall mirror the movant’s Statement of Material
Facts by admitting and/or denying each of the movant’s assertions in a short and concise
statement, in matching numbered paragraphs. Each denial shall set forth a specific citation to the
record where the factual issue arises. The Court may deem admitted any properly supported
facts set forth in the Statement of Material Facts that the opposing party does not specifically
controvert.” L.R. 56.1(b) (emphasis in original). While Plaintiff admits the majority of
Defendants’ factual assertions set forth in their Statement of Material Facts, (see Dkt. No. 177 at
¶ 3), Plaintiff failed to respond to paragraphs 6, 66, and 35. As to the remaining paragraphs,
which deny the assertion therein, Plaintiff often fails to cite to admissible evidence, contradicts
his own prior testimony, or cites to purported evidence which does not raise a factual issue or
                                                 17
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 18 of 221




rules governing summary judgment are essential tools intended to relieve the district court of the

onerous task of hunting through voluminous records without guidance from the parties.’” Cao-

Bossa v. New York State Dep’t of Lab., No. 1:18-CV-0509 (GTS/TWD), 2021 WL 3674745, at

*1 (N.D.N.Y. Aug. 19, 2021).

       Where, as in this case, a party has failed to respond to the movant’s Statement of Material

Facts in the manner required under Local Rule 56.1(b), the facts in the movant’s statement to

which the plaintiff has not properly responded will be accepted as true (1) to the extent that they

are supported by evidence in the record, and (2) provided that the nonmovant, if proceeding pro

se, has been specifically advised of the possible consequences of failing to respond to the

motion. 10 See Champion v. Artuz, 76 F.3d 483, 486 (2d Cir. 1996).

       Accordingly, the facts set forth in Defendants’ Statement of Material Facts (Dkt. No.

156-25) that are supported by record evidence and are uncontroverted by nonconclusory

allegations in Plaintiff’s verified pleading and opposition submission will be accepted as true.

See McAllister v. Call, No. 9:10-CV-610 (FJS/CFH), 2014 WL 5475293, at *3 (N.D.N.Y. Oct.

29, 2014) (finding allegations in plaintiff’s verified complaint sufficient to controvert facts in

Statement of Material Facts on motion for summary judgment); Douglas v. Perrara, No. 9:11-

CV-1353 (GTS/RFT), 2013 WL 5437617, at *3 (N.D.N.Y. Sept. 27, 2013) (“Because Plaintiff

has failed to raise any question of material fact, the Court will accept the facts as set forth in

Defendants’ Statement of Facts . . . supplemented by Plaintiff’s verified complaint . . . as true.”).

As to any facts not contained in Defendants’ Statement of Material Facts, the Court is “required




controvert the assertion in Defendants’ Statement of Material Facts. (See, e.g., Dkt. No. 177 at
¶¶ 2, 5, 7-8, 22, 24, 55, 56, 57, 59, 61, 62, 63, 67, 71, 73, 89-91, 92-104.)
10
  Defendants provided Plaintiff with the requisite notice of the consequences of his failure to
respond to the motion. (Dkt. No. 156 at 3.)
                                                  18
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 19 of 221




to resolve all ambiguities and draw all permissible factual inferences” in favor of Plaintiff. Terry

v. Ashcroft, 336 F.3d 128, 137 (2d Cir. 2003).

       Turning to Plaintiff’s cross-motion, Plaintiff did not include a separate Statement of

Material Facts as required under Local Rule 56(1)(a). (See Dkt. No. 177.) The Local Rules are

not “empty formalities,” and courts within this District have denied a pro se party’s motion for

summary judgment based on their failure to file a Statement of Material Facts. See, e.g., A’Gard

v. Locke, No. 9:14-CV-0613 (GTS/DEP), 2016 WL 8735653, at *4 (N.D.N.Y. June 24, 2016)

(denying summary judgment motion because the pro se plaintiff did not comply with the

applicable local rules governing motion practice by including a Statement of Material Facts)

(citing Riley v. Town of Bethlehem, 5 F. Supp. 2d 92, 93 (N.D.N.Y. 1998) (dismissing summary

judgment motion based on moving party’s failure to file a properly supported Statement of

Material Facts as required under the Local Rules)), report-recommendation adopted, 2016 WL

5137273 (N.D.N.Y. Sept. 21, 2016); see also Cusamano v. Sobek, 604 F. Supp. 2d 416, 426-27

& n.4 (N.D.N.Y. 2009) (Suddaby, J.) (“As has often been recognized by both the Supreme Court

and Second Circuit, even pro se litigants must obey a district court’s procedural rules.”)

(collecting cases).

       Here, because Plaintiff has not complied with the Local Rules governing motion practice

by including the required Statement of Material Facts, the Court recommends denying Plaintiff’s

cross-motion for summary judgment. 11



11
   Even if the Court were to overlook Plaintiff’s failure to submit a Statement of Material Facts
as required by Local Rule 56(1)(a), when viewed in the evidence most favorable to Defendants
as the nonmoving party, genuine disputes of a material fact in this case would preclude granting
summary judgment to Plaintiff. To that end, as discussed in Part II, supra, the competing
evidence rests on the credibility of Plaintiff on one hand and Defendants on the other. In these
circumstances, the governing law that the evidence must be viewed in the light most favorable to
the nonmoving party requires the Court to credit Defendants’ version of the events for purposes
                                                 19
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 20 of 221




        C.     Exhaustion of Administrative Remedies

        Defendants contend Plaintiff failed to exhaust his administrative remedies with respect to

his Fourteenth Amendment equal protection and Section 1981 claims against Willett. (Dkt. No.

156-21 at 13-18.) Defendants also argue any Eighth Amendment claims against Willett

regarding the March 1, 2018, 9:50 a.m. incident should be dismissed for failure to exhaust. Id. at

18-19. 12

               1.      Legal Standard

        The Prison Litigation Reform Act of 1995 (the “PLRA”) provides that “[n]o action shall

be brought with respect to prison conditions under [Section 1983], or any other Federal law, by a

prisoner confined in any jail, prison, or other correctional facility until such administrative

remedies as are available are exhausted.” 42 U.S.C. § 1997e(a). This exhaustion requirement

“applies to all inmate suits about prison life, whether they involve general circumstances or

particular episodes, and whether they allege excessive force or some other wrong.” Porter v.

Nussle, 534 U.S. 516, 532 (2002). The PLRA’s exhaustion requirement is designed to “afford[ ]

corrections officials time and opportunity to address complaints internally before allowing the

initiation of a federal case.” Id. at 524-25. To properly exhaust his administrative remedies, an




of Plaintiff’s cross-motion for summary judgment. Coleman v. Racette, No. 9:18-CV-0390
(MAD/CFH), 2021 WL 4312392, at *8 (N.D.N.Y. May 27, 2021), report-recommendation
adopted, 2021 WL 3508342 (N.D.N.Y. Aug. 10, 2021); In re Dana Corp., 574 F.3d 128, 152 (2d
Cir. 2009) (holding that a court faced with a motion for summary judgment must draw all
reasonable inferences in favor of the nonmoving party and may not make credibility
determinations or weigh the evidence, functions which are reserved to a jury and not a judge)
(citing cases). Thus, the Court would also recommend denying summary judgment to Plaintiff
on the merits.
12
  Defendants presumably concede Plaintiff’s Eighth Amendment claims relating to the March 1,
2018, 12:40 p.m. are exhausted. Defendants have not moved for summary judgment and
dismissal of these claims for failure to exhaust.
                                                  20
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 21 of 221




inmate must complete the administrative review process in accord with the applicable state

procedural rules. Jones v. Bock, 549 U.S. 199, 218-19 (2007).

       The grievance procedure in New York is generally a three-tiered process. An inmate

must first file a grievance with the Incarcerated 13 Grievance Resolution Committee (“IGRC”)

within twenty-one days of the incident. N.Y. Comp. Codes R. & Regs. (“NYCRR”) tit.7, §§

701.5(a)(1), (b). An adverse decision of the IGRC may be appealed to the superintendent of the

facility and adverse decisions at the superintendent’s level may be appealed to CORC. Id. §§

701.5(c), (d). The grievance must contain “a concise, specific description of the problem and the

action requested[.]” Id. § 701.5(a)(2).

       Grievances claiming employee harassment, including claims of excessive force, “are of

particular concern to the administration of [DOCCS] facilities,” and subject to an expedited

procedure whereby the grievance goes directly to the facility superintendent. Id. § 701.8; see,

e.g., Torres v. Carry, 691 F. Supp. 2d 366, 369-70 (S.D.N.Y. 2009). If the grievance presents a

“bona fide harassment issue,” “then the superintendent must initiate an investigation, render a

decision on the grievance, and inform the inmate of the decision within 25 days of receipt of the

grievance.” Williams v. Priatno, 829 F.3d 118, 120 (2d Cir. 2016); 7 NYCRR §§ 701.8(d), (f).

The superintendent’s decision may be appealed by filing a notice of decision to appeal with “the

inmate grievance clerk within seven calendar days of receipt of that response.” 7 NYCRR §

701.8(h).

       A similar expedited procedure exists for claims based on allegations of unlawful

discrimination. Id. §§ 701.9 & 701.5. In cases where an inmate alleges unlawful discrimination




13
  This committee was formerly known as the “Inmate Grievance Resolution Committee,” but
has recently been renamed.
                                                21
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 22 of 221




based on race, nationality, disability, sex or sexual orientation, religion, age, or political belief,

the grievance is forwarded directly to the superintendent of the facility with a copy to the Office

of Diversity Management. Id. § 701.9(c). The superintendent will conduct an investigation, and

any decision may be appealed to CORC within 7 days of the superintendent’s response. Id. §§

701.9(e), 701.9(f).

        “Under the PLRA, a prisoner need exhaust only ‘available’ administrative remedies.”

Ross v. Blake, 578 U.S. 632, 638 (2016). The Supreme Court has identified three examples of

unavailable administrative procedures: (1) those that “operate[ ] as a simple dead end – with

officers unable or consistently unwilling to provide any relief to aggrieved inmates; (2) those that

are “so opaque that [they] become[ ], practically speaking, incapable of use,” where “some

mechanism exists to provide relief, but no ordinary prisoner can discern or navigate it;” and (3)

those where “prison administrators thwart inmates from taking advantage of a grievance process

through machination, misrepresentation, or intimidation.” Id. at 643-44.

                2.      Analysis

        Defendants make two arguments in support of partial summary judgment on exhaustion

grounds. (Dkt. No. 156-32 at 13-19.) First, Defendants argue Plaintiff did not specifically name

Willett in his grievance regarding the 9:50 a.m. use of force incident, justifying dismissal of any

Eighth Amendment claims brought against him as to that incident. Id. at 18-19. Second,

Defendants contend Plaintiff’s consolidated grievance, UST-62800-18, contains no mention of

racial language, racial discrimination, equal protection violations, or anything else that would

have put investigating authorities on notice of such a claim and, therefore, Plaintiff’s Fourteenth

Amendment equal protection and Section 1981 claims must be dismissed. Id. at 17-18. Plaintiff

counters he exhausted all available administrative remedies. (Dkt. No. 177-2 at 9-10.)



                                                   22
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 23 of 221




        The Second Circuit has found “the New York IGP regulations do not state that a

prisoner’s grievance must name the responsible party.” Espinal v. Goord, 558 F.3d 119, 126 (2d

Cir. 2009). “Where New York’s grievance procedures do not require prisoners to identify the

individuals responsible for alleged misconduct, neither does the PLRA for exhaustion purposes.”

Green v. Haimes, No. 9:18-CV-703 (BKS/ATB), 2019 WL 2775589, at *5 (N.D.N.Y. May 23,

2019) (quoting Espinal, 558 F.3d at 127), report-recommendation adopted, 2019 WL 2766544

(N.D.N.Y. July 2, 2019). Rather, the inmate must provide, inter alia, “a specific description of

the problem.” Id. at 127 (emphasis supplied); see also 7 NYCRR. §§ 701.5(a)(2), 701.1(8).

“Ultimately, in order to exhaust, a prisoner must allege facts sufficient to alert corrections

officials ‘to the nature of the claim,’ and ‘provide enough information about the conduct’ at issue

‘to allow prison officials to take appropriate responsive measures.”’ Green, 2019 WL 2775589,

at *5 (quoting Johnson v. Testman, 380 F.3d 691, 697 (2d Cir. 2004)); see also Espinal, 558 F.3d

at 126 (“The point is that prison officials ha[ve] the necessary information to investigate the

complaints and the opportunity to learn which officers were involved in the alleged incident”);

Brownell v. Krom, 446 F.3d 305, 310 (2d Cir. 2006) (“While this Court has found it appropriate

to afford pro se inmates a liberal grievance pleading standard, the grievance may not be so vague

as to preclude prison officials from taking appropriate measures to resolve the complaint

internally”).

        Here, as to Plaintiff’s Eighth Amendment excessive force claim against Willett stemming

from the 9:50 a.m. incident, bearing in mind that the grievance pleading standard is “liberal,”

coupled with the fact that inmates are not required to name specific officers in grievances, see 7

NYCRR. § 701.5(a)(2), the Court finds Plaintiff adequately alleged facts “sufficient to alert

corrections officials ‘to the nature of the claim,’ and ‘provide[d] enough information about the



                                                 23
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 24 of 221




conduct’ at issue ‘to allow prison officials to take appropriate measures.’” Singh v. Lynch, 460

F. App’x 45, 47 (2d Cir. 2012) (summary order) (quoting Johnson, 380 F.3d at 697). Although

Plaintiff did not name Willett in connection with the 9:50 a.m. incident, the consolidated

grievance included sufficient details about the alleged use of excessive force incident, including

the date, time, location, cameras which would potentially have footage of the incident, and a

description of the alleged assault. (Dkt. No. 156-30 at 18-23.) Thus, the Court finds the

information set forth in grievance UST-62800-18 was sufficient to place DOCCS officials on

notice of the alleged excessive force Plaintiff was subjected to during the 9:50 a.m. incident. As

such, the Court recommends denying Defendants’ motion on this ground. (Dkt. No. 156-32 at

18-19.)

          The Court reaches a different result, however, with respect to Plaintiff’s Fourteenth

Amendment equal protection and Section 1981 racial discrimination claims. Generally, Plaintiff

claims Willett discriminated against him by using racially motivated language during the alleged

assaults, thus depriving Plaintiff of his “right to full and equal benefits of the law as enjoyed by

white citizens.” (Dkt. No. 113 at 28-30.) As noted, Defendants argue this claim should be

dismissed because Plaintiff’s consolidated grievance, UST-62800-18, does not include any

mention of “racial language . . . or anything else that would have put investigating authorities on

notice of such a claim” and thus was insufficient to trigger the specialized investigatory process

for grievances regarding allegations of unlawful discrimination. (Dkt. No. 156-32 at 17.)

          Plaintiff appears to make two arguments in response: that the administrative procedure

was not “available” to him because CORC failed to timely respond to UST-62800-18, and that

he actually did exhaust his Fourteenth Amendment equal protection and Section 1981 race-based




                                                  24
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 25 of 221




claims because his grievances contain the word “nondiscrimination” in the top portion of his

grievance. (Dkt. No. 177 at ¶ 10; Dkt. No. 177-1 at ¶ 17; Dkt. No. 177-2 at 9-12.)

       Here, there is no genuine dispute that Plaintiff exhausted grievance UST-62800-18 by

appealing the consolidated grievance to CORC. Rather, the issue is whether that grievance

sufficiently alerted corrections officials “to the nature” of the alleged race-based conduct by

Willett, and “provide[d] enough information about the conduct” at issue “to allow prison

officials to take appropriate responsive measures.” Green, 2019 WL 2775589, at *5. After

careful consideration, the Court finds it did not. See, e.g., Turner v. Goord, 376 F. Supp. 2d 321,

324 (W.D.N.Y. 2005) (“The mere fact that plaintiff has filed some grievance, and fully appealed

all decisions on that grievance, does not automatically mean that he can now sue anyone who

was in any way connected with the events giving rise to that grievance.”).

       First, a plain reading of the consolidated grievances supports Defendants’ argument that

Plaintiff failed to mention any alleged “racial language” was used against him on March 1, 2018.

Second, Plaintiff admits as much. (Dkt. No. 152-25 at ¶ 88.) Third, UST-62800-18 was

processed as a harassment grievance pursuant 7 NYCRR § 701.8, but not as a discrimination

grievance as governed by § 701.9. Additionally, the record demonstrates Plaintiff was

interviewed by non-party Lt. Eddy during the investigation of UST-62800-18 and Plaintiff did

not make any additional statements regarding racial animus in connection with his grievances.

(Dkt. No. 156-25 at ¶¶ 82, 83.)

       In McGee v. Haigh, this Court determined the plaintiff did not exhaust his administrative

remedies because none of his grievances contained allegations of discrimination based on his

sexual orientation, and thus “did not squarely place prison officials on notice of his equal

protection claims.” McGee v. Haigh, No. 9:13-CV-394 (MAD/DEP), 2015 WL 1456612, at *12



                                                 25
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 26 of 221




(N.D.N.Y. Mar. 30, 2015); see also Young v. Goord, No. 01-CV-0626, 2002 WL 31102670, at

*4 (E.D.N.Y. Sept. 3, 2002), aff’d in relevant part by Young v. Goord, 67 F. App’x 638 (2d Cir.

2003) (dismissing the plaintiff’s equal protection claim for failure to exhaust because “[a]t no

point during the administrative proceedings did [he] raise, in words of substance, an equal

protection claim based on the differential treatment of other Rastafarians”).

       “Although it is true that ‘a claim may be exhausted when it is closely related to, but not

explicitly mentioned in an exhausted grievance,’” Barnes v. Annucci, No. 15-CV-0777

(GLS/DEP), 2019 WL 1387460, at *10 (N.D.N.Y. March 12, 2019), it is equally true that the

mere fact that a plaintiff filed and fully appealed some grievance “‘does not automatically mean

that [the inmate] can now sue anyone who was in any way connected with the events giving rise

to that grievance.’” Colon v. New York State Dep’t of Corr. & Cmty. Supervision, No. 15-CV-

7432 (NSR), 2019 WL 5294935, at *7 (S.D.N.Y. Oct. 17, 2019).

       In sum, the Court finds grievance UST-62800-18 was sufficient to alert prison officials as

to Plaintiff’s excessive force claims relating to the March 1, 2018, 9:50 a.m. and 12:40 p.m. use

of force incidents. What the grievance did not do, however, was contain the requisite “specific

description of the problem” as to Plaintiff’s claims of racial discrimination and or equal

protection violations. See 7 NYCRR § 701.5(a)(2). Because grievance UST-62800-18 did not

contain sufficient information to “afford[ ] corrections officials time and opportunity to address

complaints internally before allowing the initiation of a federal case,” Johnson, 380 F.3d at 697,

the Court finds Plaintiff failed to exhaust administrative remedies in relation to the Fourteenth

Amendment equal protection and Section 1981 claims against Willett and summary judgment is

warranted on this ground.




                                                 26
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 27 of 221




       Therefore, the Court recommends granting Defendants’ motion insofar as it seeks

dismissal of Plaintiff’s Fourteenth Amendment equal protection and Section 1981 claims for

failure to exhaust administrative remedies. (Dkt. No. 156-32 at 17-19.)

       D.      Personal Involvement

       Defendants seek summary judgment and dismissal of Plaintiff’s Eighth amendment

excessive force claims against Woodruff, Smith, and Bond, as well as all Eighth Amendment

claims against Smith and Bond related to the 9:50 a.m. incident for lack of personal involvement.

(Dkt. No. 156-32 at 19-20.) Defendants also contend Bond is entitled to summary judgment for

lack of personal involvement as to the 12:40 p.m. incident. (Dkt. No. 182-3 at 13.) 14

               1.      Legal Standard

       “[P]ersonal involvement of defendants in alleged constitutional deprivations is a

prerequisite to an award of damages under § 1983.” Wright v. Smith, 21 F.3d 496, 501 (2d Cir.

1994) (quoting Moffitt v. Town of Brookfield, 950 F.2d 880, 885 (2d Cir. 1991)). In order to

prevail on a Section 1983 cause of action against an individual, a plaintiff must show “a tangible

connection between the acts of a defendant and the injuries suffered.” Bass v. Jackson, 790 F.2d

260, 263 (2d Cir. 1986). “[D]irect participation as a basis of liability in this context requires

intentional participation in the conduct constituting a violation of the victim’s rights by one who

knew of the facts rendering it illegal.” Provost v. City of Newburgh, 262 F.3d 146, 155 (2d Cir.

2001) (internal quotation marks omitted).




14
  Defendants presumably concede there are material factual disputes regarding (1) Plaintiff’s
excessive force claims against Willett related to the March 1, 2018, 9:50 a.m. and 12:40 p.m.
incidents, and (2) Plaintiff’s Eighth Amendment failure to intervene and failure to protect claims
against Smith related to the March 1, 2018, 12:40 p.m. incident. Defendants have not moved for
summary judgment and dismissal of these claims on the merits.
                                                 27
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 28 of 221




       “[T]here is no special rule for supervisory liability” and a “plaintiff must plead and prove

‘that each Government-official defendant, through the official’s own individual actions, has

violated the Constitution.’” Tangreti v. Bachmann, 983 F.3d 609, 618 (2d Cir. 2020). Thus, to

avoid summary judgment, a plaintiff must establish the defendant violated the constitution by his

or her “own conduct, not by reason of [the defendant’s] supervision of others who committed the

violation” and cannot “rely on a separate test of liability specific to supervisors.” Id. The

“factors” necessary to plead and establish a Section 1983 violation “‘will vary with the

constitutional provision at issue’ because the elements of different constitutional violations

vary.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)).

       A personal involvement inquiry on summary judgment “examines only whether there is

record evidence to support a factfinder’s conclusion that the individual under consideration was

involved in the alleged conduct.” Brandon v. Schroyer, No. 9:13-CV-0939 (TJM/DEP), 2016

WL 1638242, at *14 (N.D.N.Y. Feb. 26, 2016) (quotation marks omitted), report-

recommendation adopted, 2016 WL 1639904 (N.D.N.Y. Apr. 25, 2016), rev’d on other grounds

sub nom. Brandon v. Kinter, 938 F.3d 21 (2d Cir. 2019). A plaintiff’s verified complaint and

deposition testimony constitutes such evidence and “[a]ny discrepancies or inconsistencies in

[the] plaintiff’s testimony are for a jury to assess.” Latouche v. Tompkins, No. 9:09-CV-308

(NAM/RFT), 2011 WL 1103045, at *5 (N.D.N.Y. Mar. 23, 2011).

       Briefly, to establish an Eighth Amendment excessive force claim, a plaintiff must prove

two components: (1) subjectively, that the defendant acted wantonly and in bad faith, and (2)

objectively, that the defendant’s actions violated “contemporary standards of decency.” Blyden

v. Mancusi, 186 F.3d 252, 262-63 (2d Cir. 1999) (internal quotation marks omitted) (citing

Hudson v. McMillian, 503 U.S. 1, 8 (1992)). To establish liability based on the failure to



                                                 28
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 29 of 221




intervene, a plaintiff must show that “(1) the officer had a realistic opportunity to intervene and

prevent the harm; (2) a reasonable person in the officer’s position would know the victim’s

constitutional rights were being violated; and (3) the officer d[id] not take reasonable steps to

intervene.” Tafari v. McCarthy, 714 F. Supp. 2d 317, 342 (N.D.N.Y. 2010). Further, to

establish liability on a failure to protect claim, a plaintiff must show that he was incarcerated

under conditions posing a substantial risk of serious harm, and prison officials acted with

deliberate indifference to that risk and the inmate’s safety. Farmer v. Brennan, 511 U.S. 825,

836 (1994). Deliberate indifference exists when “the official knows of and disregards an

excessive risk to inmate health or safety; the official must both be aware of facts from which the

inference could be drawn that a substantial risk of serious harm exists, and he must also draw the

inference.” Id. at 837.

       “Personal involvement is generally a question of fact and summary judgment may be

granted only where the defendant establishes that no issues of material fact exist such that the

defendant is entitled to summary judgment as a matter of law.” Guarneri v. Hazzard, No. 9:06-

CV-985 (NAM/DRH), 2010 WL 1064330, at *23 (N.D.N.Y. Mar. 22, 2010) (quoting Williams v.

Smith, 781 F.2d 319, 323 (2d Cir. 1986) (citing Fed. R. Civ. P. 56(c) and cases)).

               2.         Analysis

       Here, it is undisputed that Smith, Bond, and Woodruff did not personally participate in

any use of force against Plaintiff on March 1, 2018, and Plaintiff’s opposition papers appear to

abandon any argument that they engaged in excessive force against him. (Dkt. No. 156-25 at ¶¶

53, 54, 55, 56; see Dkt. No. 177-2 at 14-15, Dkt. No. 177-3 at 1-3; Dkt. No. 182-3 at 11.)

Therefore, the Court finds Smith, Bond, and Woodruff are entitled to summary judgment on




                                                 29
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 30 of 221




Plaintiff’s excessive force claims for lack of personal involvement and recommends granting

Defendants’ motion on this ground. (Dkt. No. 156-32 at 19-20; Dkt. No. 182-3 at 11-12.)

       Further, there is no dispute that Smith and Bond were not physically present for the 9:50

a.m. incident on March 1, 2018. (Dkt. No. ¶¶ 46, 47.) Neither the operative complaint nor the

record now before the Court implicates any awareness on the part of or involvement by Smith

and Bond in the 9:50 a.m. incident. (See, e.g., Pl.’s Dep. at 51-53 (testifying Comstock and Bean

were the escorting officers present during the 9:50 a.m. incident), 120-21 (same).) Additionally,

Plaintiff’s opposition papers appear to abandon any claims against Smith and Bond related to the

9:50 a.m. incident. (See, e.g., Dkt. No. 177-3 at 14-15 (addressing Smith’s and Bond’s presence

and alleged involvement with respect to the 12:40 p.m. incident only).) Accordingly, the Court

finds Smith and Bond are also entitled to summary judgment on Plaintiff’s failure to intervene

and failure to protect claims related to 9:50 a.m. incident on March 1, 2018, for lack of personal

involvement and recommends granting Defendants’ motion on this ground. (Dkt. No. 156-32 at

19-20; Dkt. No. 182-3 at 11-12.)

       However, to the extent Defendants assert in their opposition submission that Bond is also

entitled to summary judgment on Plaintiff’s failure to protect and/or failure to intervene claim

related to the 12:40 p.m. incident, the Court reaches a different result. (Dkt. No. 182-3 at 13.)

       To be sure, Defendants have submitted evidence indicating Bond arrived after the 12:40

p.m. use of force had concluded. (Bond Decl. at ¶¶ 7-9.) Bond also states that when he arrived.

Smith was standing in front of him, he could not see into the cell, and he observed no force used.

Id. Moreover, Bond swears that “Plaintiff never advised me that he feared for his safety or of

any threat to his safety on or prior to March 1, 2018.” Id. at ¶ 8. Nevertheless, Plaintiff testified

under oath that Willett threatened to kill him shortly after the 9:50 a.m. incident, Smith and Bond



                                                 30
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 31 of 221




witnessed the threat, and that Plaintiff immediately brought his “personal safety” concerns to the

attention of Smith and Bond. (Pl.’s Dep. at 88, 97-98.) Plaintiff also testified that during the

12:40 p.m. incident, Smith and Bond were both “inside the cell” and they did not intervene or

say anything despite Plaintiff’s “plea for help.” Id. at 121-22.

       On this record, the Court finds there are genuine material issues of fact concerning

Bond’s personal involvement in the March 1, 2018, 12:40 p.m. incident. Therefore, the Court

recommends denying summary judgment to Bond on this ground. (Dkt. No. 182-3 at 13.)

       E.      Failure to Protect and Failure to Intervene Claims against Woodruff

       Defendants contend Plaintiff has no actionable claim against Woodruff for failure to

protect and failure to intervene. (Dkt. No. 156-32 at 20-24.) The Court agrees.

               1.      Legal Standards

       “The Eighth Amendment requires prison officials to take reasonable measures to

guarantee the safety of inmates in their custody.” Hayes v. N.Y.C. Dep’t of Corr., 84 F.3d 614,

620 (2d Cir. 1996) (citing Farmer, 511 U.S. at 833). As noted, to prevail on claim that officials

failed to intervene, a plaintiff must show that “(1) the officer had a realistic opportunity to

intervene and prevent the harm; (2) a reasonable person in the officer’s position would know the

victim’s constitutional rights were being violated; and (3) the officer d[id] not take reasonable

steps to intervene.” Tafari, 714 F. Supp. 2d at 342.

       To prevail on a claim that officials have failed to protect an inmate from harm, a plaintiff

must demonstrate that, objectively, the conditions of his incarceration posed a substantial risk of

serious harm and, subjectively, that the defendant acted with deliberate indifference. See

Farmer, 511 U.S. at 834; see Hayes, 84 F.3d at 620. “[A] prison official has sufficient culpable

intent if he has knowledge that an inmate faces a substantial risk of serious harm and he



                                                  31
   Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 32 of 221




disregards that risk by failing to take reasonable measures to abate the harm.” Hayes, 84 F.3d at

620. A plaintiff must show that prison officials actually knew of, but disregarded, an excessive

risk to his safety: “the official must both be aware of facts from which the inference could be

drawn that a substantial risk of serious harm exists, and he must also draw the inference.”

Farmer, 511 U.S. at 837; see Tangreti, 983 F.3d at 619.

               2.      Analysis

       It is undisputed Woodruff was not physically present for, involved in, or a witness to any

use of force involving Plaintiff on March 1, 2018. (Dkt. No. 156-25 at ¶ 56.) The evidence

before the Court does not establish that Woodruff had a realistic opportunity to intervene and

prevent the harm allegedly caused by the other officers on May 1, 2018. See Tafari, 714 F.

Supp. 2d at 342. Therefore, the Court recommends granting Defendants’ motion on this ground.

(Dkt. No. 156-32 at 20-24; Dkt. No. 182-3 at 11-12.)

       With respect to the failure to protect claim, Plaintiff generally alleges Woodruff became

aware of “the vicious propensities of Smith, Willett, and Bond” prior to the incidents on March

1, 2018, “but took no steps to train them, correct their abuse of authority or to discourage their

unlawful use of their position[s].” (Dkt. No. 113 at 16.) Plaintiff also claims that various news

articles, lawsuits, and memoranda alerted Woodruff to the “vicious propensities” of Smith,

Willett, and Bond. Id; see also Dkt. No. 177 at ¶¶ 27, 31, 32, 35, 36. However, the record

evidence demonstrates Woodruff had no knowledge of the news article, any investigation or

memoranda, or criminal acts by Smith, Willett, or Bond before or after March 1, 2018, as it

pertains to treatment of any inmate, including Plaintiff. (Woodruff Decl. at ¶ 5.) Plaintiff offers

no proof to the contrary. (Pl.’s. Dep. at 148-50, 159-64.) “Conclusory allegations, conjecture

and speculation . . . are insufficient to create a genuine issue of fact.” Kerzer, 156 F.3d at 400.



                                                 32
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 33 of 221




       Here, Plaintiff’s claim against Woodruff fails under the Tangreti standards for personal

involvement. As discussed, it is undisputed that Woodruff was not physically involved in the

incidents at Upstate which give rise to Plaintiff’s Eighth Amendment claims. Otherwise,

Plaintiff has not shown Woodruff violated his constitutional rights by his own conduct. Instead,

the crux of Plaintiff’s claim against Woodruff is that he is liable for failing to sufficiently remedy

the wrongs of his subordinates, despite having received notice of Smith and Willett’s “vicious

propensities.” (Dkt. No. 113 at 15-16.) These contentions closely track the pre-Tangreti

standard for establishing personal involvement of a supervisory official, i.e., contemplating

personal involvement where an official, after being informed of the violation through report or

appeal, failed to remedy the wrong and when the official created a policy or custom under which

unconstitutional practices occurred or allowed the continuation of a policy of custom. See Colon

v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995).

       However, in the wake of Tangreti these allegations are insufficient to establish personal

involvement of a supervisory official, and Plaintiff has otherwise failed to demonstrate

Woodruff’s personal involvement in the alleged conduct giving rise to Plaintiff’s Eighth

Amendment claims. See Hendrix v. Annucci, No. 9:20-CV-0743 (GTS/TWD), 2021 WL

4405977, at *14 (N.D.N.Y. Sept. 27, 2021) (finding no personal involvement where plaintiff’s

theory of supervisory liability relied on the factors outlined in Colon, and recognizing the new

standard for establishing personal liability under Tangreti). On this record, the Court finds

Plaintiff has not raised a triable issue of fact as to Woodruff’s personal involvement. 15



15
   In his opposition submission, Plaintiff claims Woodruff failed to protect him in violation of
his Eighth Amendment rights because Woodruff “actually knew . . . Plaintiff had spit on
defendant Willett” during the 9:50 a.m. incident (apparently because Woodruff authorized a
wrist retention strap after that incident), and failed to move his cell to another area of the prison
“away from Willett” and, therefore, failed to protect Plaintiff from Willett’s excessive force
                                                  33
      Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 34 of 221




Accordingly, the Court recommends that Defendants’ motion be granted on this ground. (Dkt.

No. 156-32 at 20-24; Dkt. No. 182-3 at 11-13.)

IV.     CONCLUSION

        WHEREFORE for the reasons set forth above, it is hereby

        RECOMMENDED that Defendants’ motion for partial summary judgment (Dkt. No.

156) be GRANTED in part and DENIED in part as follows: (1) granted insofar as it seeks

dismissal of Plaintiff’s Fourteenth Amendment equal protection and Section 1981 claims

asserted against Willett; (2) granted insofar as seeks dismissal of Plaintiff’s Eighth Amendment

excessive force, failure to intervene, and failure to protect claims against Woodruff; (3) granted

insofar as it seeks dismissal of Plaintiff’s Eighth Amendment excessive force, failure to

intervene, and failure to protect claims against Smith and Bond related to the March 1, 2018,

9:50 a.m. incident; (3) granted insofar as is seeks dismissal of Plaintiff’s Eighth Amendment

excessive force claims against Smith and Bond related to the March 1, 2018, 12:40 p.m. incident;

and (4) denied in all other respects; and it is further

        RECOMMENDED that Plaintiff’s cross-motion for summary judgment (Dkt. No. 177)

be DENIED; and it is further

        RECOMMENDED that the remaining claims be scheduled for trial: (1) Plaintiff’s

Eighth Amendment excessive force claims against Willett related to the March 1, 2018, 9:50

a.m. and 12:40 p.m. incidents, and (2) Plaintiff’s Eighth Amendment failure to intervene and



during the 12:40 p.m. incident. (Dkt. No. 177 at ¶ 12; Dkt. No 177-2 at 8.) But the record
Plaintiff cited does not state that. (See Woodruff Decl. at 21.) Again, to the extent Plaintiff
contends Woodruff “failed to remedy a wrong” and/or created a policy or custom under which
unconstitutional practices occurred or allowed the continues of a policy of custom, (Dkt. No.
177-2 at 12-13), the Colon factors are no longer applicable to the Court’s analysis and
“[c]onclusory allegations, conjecture and speculation . . . are insufficient to create a genuine
issue of fact.” Kerzer, 156 F.3d at 400.
                                                   34
     Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 35 of 221




failure to protect claims against Smith and Bond related to the March 1, 2018, 12:40 p.m.

incident; and it is further

          RECOMMENDED that Woodruff be terminated as a defendant in this action; and it is

further

          ORDERED that copies of this Report-Recommendation and Order be served on the

parties in accordance with the Local Rules, along with copies of the unpublished decisions cited

herein in accordance with Lebron v. Sanders, 557 F.3d 76 (2d Cir. 2009) (per curiam).

          Pursuant to 28 U.S.C. § 636(b)(1), the parties have fourteen (14) days within which to

file written objections to the foregoing report. 16 Such objections shall be filed with the Clerk of

the Court. FAILURE TO OBJECT TO THIS REPORT WITHIN FOURTEEN (14) DAYS

WILL PRECLUDE APPELLATE REVIEW. Roldan v. Racette, 984 F.2d 85 (2d Cir. 1993);

28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72.

          IT IS SO ORDERED.



Dated: September 1, 2022
       Syracuse, New York




16
   If you are proceeding pro se and are served with this Report-Recommendation and Order by
mail, three (3) additional days will be added to the fourteen (14) day-period, meaning that you
have seventeen (17) days from the date the Report-Recommendation and Order was mailed to
you to serve and file objections. Fed. R. Civ. P. 6(d). If the last day of that prescribed period
falls on a Saturday, Sunday, or legal holiday, then the deadline is extended until the end of the
next day that is not a Saturday, Sunday, or legal holiday. Fed. R. Civ. 6(a)(1)(C).
                                                  35
          Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 36 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

                                                                  Baxter's recommendation is based on his conclusion that there
                                                                  is no evidence that Cayuga County had a “policy or custom”
     KeyCite Overruling Risk - Negative Treatment                 that caused plaintiff any constitutional violation. Magistrate
Overruling Risk Darnell v. Pineiro, 2nd Cir., February 21, 2017
                                                                  Judge Baxter further concluded that no reasonable fact finder
                                                                  could conclude that defendant Sheriff Gould, or anyone else at
                    2014 WL 4760064
                                                                  CCJ, acted with deliberate indifference to plaintiff's medical
       Only the Westlaw citation is currently available.
                                                                  needs.
                United States District Court,
                      N.D. New York.
                                                                  Plaintiff objects to Magistrate Judge Baxter's conclusion and
                 Ronald LARKINS, Plaintiff,                       asserts that Cayuga County's policy of prohibiting prisoners
                                v.                                from covering their eyes and keeping the lights on “24/7” is
                                                                  sufficient to establish municipal liability. Dkt. No. 37, p. 2.
           CAYUGA COUNTY and David Gould,
                                                                  Plaintiff also objects to dismissal of Sheriff Gould for lack
           Sheriff in Official Capacity, Defendants.
                                                                  of personal involvement asserting that there is evidence that
                 No. 9:13–CV–219 (NAM/ATB).                       Sheriff Gould, and others at CCJ, were aware he was suffering
                                |                                 from headaches and that his vision was deteriorating. Dkt. No.
                      Signed Sept. 24, 2014.                      37, pp. 2, 5. Defendants oppose plaintiff's objections. Dkt. No.
                                                                  38.
Attorneys and Law Firms

Ronald Larkins, Auburn, NY, pro se.
                                                                                         DISCUSSION
Bryan Georgiady, Esq., The Law Firm of Frank W. Miller,
East Syracuse, NY, for Defendants.                                The Court adopts Magistrate Judge Baxter's summary of the
                                                                  facts and applicable law. The Court does not repeat them here.

                                                                  Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court reviews de
      MEMORANDUM–DECISION AND ORDER
                                                                  novo those parts of a report and recommendation to which
Hon. NORMAN A. MORDUE, Senior District Judge.                     a party specifically objects. Where a party interposes only
                                                                  general objections to a report and recommendation, the Court
                                                                  reviews for clear error or manifest injustice. See Davis v.
                       INTRODUCTION                               Chapple, 2010 WL 145298, *2 (N.D.N.Y. Jan. 8, 2010),
                                                                  Brown v. Peters, 1997 WL 599355,*2–* 3 (N.D.N.Y.), aff'd
 *1 Plaintiff Ronald Larkins, an inmate in the custody of the
                                                                  without op., 175 F.3d 1007 (2d Cir.1999). Failure to object to
New York State Department of Corrections and Community
                                                                  any portion of a report and recommendation waives further
Supervision, brought this action for declaratory and monetary
                                                                  judicial review of the matters therein. See Roldan v. Racette,
relief under 42 U.S .C. § 1983, alleging that defendants
                                                                  984 F.2d 85, 89 (2d Cir.1993).
Cayuga County and Sheriff David Gould denied him adequate
medical care by failing to provide him with eye glasses
                                                                  Viewing the facts in the light most favorable to plaintiff,
while he was confined at the Cayuga County Jail (“CCJ”).
                                                                  the Court concludes, as did Magistrate Judge Baxter, that
Plaintiff's motion (Dkt. No. 25) and defendants' cross-motion
                                                                  there is sufficient evidence from which to assume that
(Dkt. No. 26) for summary judgment were referred to United
                                                                  plaintiff has raised an issue of fact as to whether his medical
States Magistrate Judge Andrew T. Baxter for a report and
                                                                  need for prescription eyeglasses was sufficiently serious, in
recommendation pursuant to 28 U.S.C. § 636(b)(1)(B) and
                                                                  satisfaction of the first prong of the deliberate indifference
Local Rule 72.3(c).
                                                                  analysis. See e.g., Thomas v. Toporek, No. 6:13–CV–6371,
                                                                  2014 WL 897097, at*5 (W.D.N.Y. Mar. 6, 2014) (assuming
Magistrate Judge Baxter issued a Report and
                                                                  that plaintiff's assertion “that he suffered eye strain and
Recommendation (Dkt. No. 34) in which he recommends
                                                                  migraines from not having the proper strength prescription
that the Court deny plaintiff's motion for summary judgment,
                                                                  glasses for a period of time, and that he allegedly almost went
grant defendants' cross-motion for summary judgment and
                                                                  ‘legally blind’ “ was sufficient to allege a serious medical
dismiss the complaint in its entirety. Magistrate Judge


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 37 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

condition). The Court, however, further concludes, as did
Magistrate Judge Baxter, that there is:                           ORDERED that plaintiff's motion for summary judgment
                                                                  (Dkt. No. 25) is DENIED and it is further


              *2 no evidence from which a                         ORDERED that defendants' motion (Dkt. No. 26) for
             reasonable factfinder could conclude                 summary judgment is GRANTED and the case dismissed
             that any of plaintiff's medical                      with prejudice; and it is further
             providers were aware that he was
             suffering from severe headaches,                     ORDERED that the Clerk of the Court is directed to serve
             that his vision was deteriorating to                 copies of this MemorandumDecision and Order in accordance
             any great extent, or aware of any                    with the Local Rules of the Northern District of New York.
             other information that would indicate
             that plaintiff was suffering from a                  IT IS SO ORDERED.
             condition requiring urgent medical
             care.
                                                                              REPORT–RECOMMENDATION

Dkt. No. 34, p. 13. To establish deliberate indifference, “the    ANDREW T. BAXTER, United States Magistrate Judge.
official must both be aware of facts from which the inference
                                                                  This matter has been referred to me for Report and
could be drawn that a substantial risk of serious harm exists,
                                                                  Recommendation pursuant to 28 U.S.C. § 636(b) and
and he must also draw the inference.” Farmer v. Brennan,
                                                                  N.D.N.Y. Local Rule 72.3(c). Presently before the court are
511 U.S. 825, 837 (1994). The grievances plaintiff submitted
                                                                  plaintiff's motion and defendants' cross-motion for summary
contained complaints regarding his vision, but they only
                                                                  judgment pursuant to Fed.R.Civ.P. 56. (Dkt. Nos. 25 and 26).
stated that his vision had “gotten worse”. Plaintiff did not
                                                                  Plaintiff has filed a reply. (Dkt. No. 31). For the following
request stronger pain medication and did not request a visit
                                                                  reasons, this court will recommend that plaintiff's motion for
with the doctor. Moreover, following plaintiff's June 2011
                                                                  summary judgment be denied, that defendants' cross-motion
grievance, Nurse Wallace made a number of attempts to
                                                                  for summary judgment be granted, and that the complaint be
and eventually succeeded in finding an eye care provider to
                                                                  dismissed in its entirety.
see plaintiff and scheduled an appointment. Even viewing
the evidence in the light most favorable to plaintiff, there
is no basis on which a factfinder could concluded that            I. Facts
Nurse Wallace or any other prison official could infer that a     Plaintiff brings this pro se civil rights complaint under §
substantial risk of serious harm existed if plaintiff was not     1983 based on events arising out of his confinement at
seen promptly by an eye care provider. Thus, plaintiff has        the Cayuga County Jail (“CCJ”). Plaintiff, who first began
failed to raise a genuine issue of material fact as to whether    wearing prescription glasses in 2006, arrived at CCJ without
defendants were deliberately indifferent to plaintiff's serious   these glasses on or about August 24, 2010. During the intake
medical need.                                                     interview conducted by Nurse Wallace, plaintiff noted that he
                                                                  wore glasses, but did not have them with him, and did not
                                                                  discuss any other significant concerns during the interview.
                       CONCLUSION                                 (Dkt. No. 26–3 (“Wallace Aff.”) at ¶¶ 8, 11, 14). In October
                                                                  2010, plaintiff submitted an Inmate Request Form for an eye
Upon de novo review, the Court accepts and adopts the             exam, explaining that he was “constantly squinting because of
Report–Recommendation and Order in its entirety.                  nearsightedness” and that he had two pair of glasses at home
                                                                  but lost them. (Id. at Ex. B). Nurse Wallace responded that
It is therefore                                                   the Jail did not have an optometrist for routine vision care and
                                                                  would not be able to provide glasses. (Id. at ¶¶ 15, 17, and
ORDERED that the Report–Recommendation (Dkt. No. 34)              Ex. B).
is ACCEPTED and ADOPTED in its entirety; and it is
further


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 38 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

 *3 In November 2010, plaintiff woke up with blurry vision           D). In February 2012, it was found to be 20/200. (Wallace
in his left eye. (Dkt. No. 26–1 (“Def. Rule 7.1 Statement”) at       Aff. Ex. E).
¶ 16). Though this problem did resolve on its own, (Def. Rule
7.1 Statement at ¶¶ 18–19), plaintiff saw Dr. Kooi regarding         Plaintiff brings this action against Sheriff Gould and the
his left eye and his deteriorating vision on December 30,            County of Cayuga alleging that he was denied adequate
2010. (Dkt. No. 26–4 (“Kooi Aff.”) at ¶ 3–4). During this            medical care while at CCJ.
visit, plaintiff complained of nearsightedness, explaining that
his vision had been getting worse for two weeks. (Wallace
Aff. at ¶ 22; Kooi Aff. at ¶ 4). He did not, however, mention        II. Summary Judgment
any problems with headaches. (Wallace Aff. at ¶ 22). Dr. Kooi         *4 Summary judgment is appropriate where there exists no
examined plaintiff and found the pupils of plaintiff's eyes to       genuine issue of material fact and, based on the undisputed
be equal, round, and reactive to light and accommodation, the        facts, the moving party is entitled to judgment as a matter
fundus of each eye in good condition and noted that plaintiff        of law. Fed.R.Civ.P. 56; Salahuddin v. Goord, 467 F.3d 263,
was not in any distress. (Kooi Aff. at ¶¶ 6, 7). Dr. Kooi            272–73 (2d Cir.2006). “Only disputes over [“material”] facts
recommended that plaintiff see an outside ophthalmologist,           that might affect the outcome of the suit under the governing
if possible, but did not believe he was in need of emergency         law will properly preclude the entry of summary judgment.”
medical care. (Kooi Aff. at ¶¶ 9, 11).                               Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). It must
                                                                     be apparent that no rational finder of fact could find in favor
In light of Dr. Kooi's recommendation, Nurse Wallace                 of the non-moving party for a court to grant a motion for
contacted Dr. Speck, the doctor who CCJ generally used for           summary judgment. Gallo v. Prudential Residential Servs., 22
inmates' optometry issues. When Nurse Wallace spoke with             F.3d 1219, 1224 (2d Cir.1994).
someone in Dr. Speck's office, Nurse Wallace was told that
the doctor declined to see plaintiff, but would reconsider           The moving party has the burden to show the absence of
if “something further” developed. Based on Dr. Kooi's                disputed material facts by informing the court of portions
findings, Nurse Wallace states that she did not recognize            of pleadings, depositions, and affidavits which support the
any indications of an urgent need for medical care. (Wallace         motion. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
Aff. at ¶ 27). When Nurse Wallace relayed the message                If the moving party satisfies its burden, the nonmoving party
from Dr. Speck's office to Dr. Kooi he did not specifically          must move forward with specific facts showing that there is
tell the nurse to attempt to schedule an appointment with            a genuine issue for trial. Salahuddin v. Goord, 467 F.3d at
another provider. Plaintiff never contacted the infirmary again      273. In that context, the nonmoving party must do more than
regarding problems with his vision. (Wallace Aff. at ¶ 34).          “simply show that there is some metaphysical doubt as to
                                                                     the material facts.” Matsushita Electric Industrial Co., Ltd. v.
A few months later, plaintiff filed a grievance regarding the        Zenith Radio Corp., 475 U.S. 574, 586 (1986). However, in
fact that he had not yet been scheduled to see an outside            determining whether there is a genuine issue of material fact,
optometrist. In this grievance, plaintiff asserted that his vision   a court must resolve all ambiguities, and draw all inferences,
was “no better.” (Dkt. No. 26–5 (“Gleason Aff.”), Ex. A).            against the movant. See United States v. Diebold, Inc ., 369
Following this grievance, Nurse Wallace contacted additional         U.S. 654, 655 (1962); Salahuddin v. Goord, 467 F.3d at 272.
providers in the area, even though as far as she knew nothing
about plaintiff's vision had changed. However, she was unable        Where, as here, cross motions for summary judgment are
to locate a provider who was willing to see plaintiff. (Wallace      filed, “the standard is the same as that for individual
Aff. ¶¶ 36–37). Plaintiff filed a second grievance in June 2011,     motions for summary judgment.” Natural Res. Def. Council
stating that his vision had “gotten worse.” (Gleason Aff., Ex.       v. Evans, 254 F.Supp.2d 434, 438 (S.D.N.Y.2003). “The court
B). After making additional attempts to locate an optometrist,       must consider each motion independently of the other and,
Nurse Wallace found a provider, but was unable to schedule           when evaluating each, the court must consider the facts
an appointment until February 6, 2012. (Wallace Aff. at ¶¶           in the light most favorable to the non-moving party.” Id.
40, 41). Plaintiff was transferred out of the Jail on December       (citation omitted). Moreover, “[t]he district court considering
29, 2011. During his vision screening at Elmira Correctional         a summary judgment motion ... must ... be ‘mindful of the
Facility, his vision was found to be 20/70. (Wallace Aff, Ex.        underlying standards and burdens of proof ...’ “ U.S. S.E.C.
                                                                     v. Meltzer, 440 F.Supp.2d 179, 187 (E.D.N.Y.2006) (citations
                                                                     omitted). Accordingly, with respect to plaintiff's motion, he


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 39 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

bears a much greater initial burden; he “must show that the          Circuit detailed the various ways in which a defendant can
evidence supporting [his] claims is so compelling that no            be personally involved in a constitutional deprivation, and
reasonable jury could return a verdict for the defendant.” Id.       thus be subject to individual liability. A supervisory official
Accord, McCarthy v. Wachovia Bank, N.A., 759 F.Supp.2d               is personally involved if the supervisor directly participated
265, 273 (E.D.N.Y.2011).                                             in the infraction. Id. The defendant may have been personally
                                                                     involved if, after learning of a violation through a report or
                                                                     appeal, he or she failed to remedy the wrong. Id. Personal
III. Defendants                                                      involvement may also exist if the official created a policy or
                                                                     custom under which unconstitutional practices occurred, or
  A. Applicable Law
                                                                     allowed such a policy or custom to continue. Id. Finally, a
1. Municipal Liability                                               supervisory official may be personally involved if he or she
In Monell v. Dep't of Soc. Servs., 436 U.S. 658 (1978),              were grossly negligent in managing subordinates who caused
the Supreme Court outlined the limited circumstances under           the unlawful condition. Id. See also Iqbal v. Hasty, 490 F.3d
which a municipality may be liable under Section 1983. Only          143, 152–53 (2d Cir.2007).
when the municipality, through the execution of its policies,
actually deprives an individual of his constitutional rights,
                                                                       B. Application
is it liable for the injury. Id. at 694. To establish municipal
                                                                     Plaintiff names the County of Cayuga as a defendant.
liability, the policy must actually cause the violation of
                                                                     However, plaintiff fails to state a claim for municipal liability
constitutional rights, and it must be the moving force behind
                                                                     against Cayuga County. There is no evidence of a “policy
the violation. Id.; Dominguez v. Beame, 603 F.2d 337, 341
                                                                     or custom” of Cayuga County that caused plaintiff any
(2d Cir.1979). The plaintiff must allege facts demonstrating:
                                                                     constitutional violation. The County cannot be liable simply
“(1) the existence of an officially adopted policy, custom,
                                                                     because plaintiff was housed in its jail. Consequently, Cayuga
or practice and (2) a direct and deliberate causal connection
                                                                     County may be dismissed on this basis alone.
between that ‘policy, custom, or practice’ and the violation of
plaintiff's federally protected rights.” Best v. City of New York,
                                                                     Sheriff Gould is named as a defendant in the caption
No. 11 Civ. 4475, 2012 WL 5458054, at *3 (S.D.N.Y. Nov. 8,
                                                                     of the complaint, but plaintiff's only factual allegations
2012) (quoting Bd. of Cnty. Commis of Bryan Cnty. v. Brown,
                                                                     regarding defendant Gould are that he was aware of plaintiff's
520 U.S. 397, 403–404 (1997)).
                                                                     medical needs through two grievances and that he is

 *5 A municipality may not be held liable on a “respondeat           “statutorily responsible for inmates medical care.” 1 (Compl.
superior” theory. Monell, 436 U.S. at 691. However, a                at 5). Despite the sparse allegations and evidence regarding
policy, custom or practice of an entity may be inferred              defendant Gould, the court has considered the merits of
where the municipality so failed to train its employees as to        plaintiff's claim against him and has also considered whether
display a deliberate indifference to the constitutional rights of    to allow plaintiff an opportunity to amend the complaint
those within its jurisdiction. Patterson v. County of Oneida,        to name another individual who was personally involved in
375 F.3d 206, 226 (2d Cir.2004) (quoting Kern v. City of             the alleged violations. 2 Defendants have already submitted
Rochester, 93 F.3d 38, 44 (2d Cir.1996)). However, a single          affidavits from Dr. Kooi and Nurse Wallace-the individuals
incident of illegality does not ordinarily rise to the level         involved in plaintiff's medical care, and the court finds that
of a custom or policy. Vaher v. Town of Orangetown, 916              plaintiff's claim fails on the merits. For the reasons described
F.Supp.2d 404, 440 (S.D.N.Y.2013) (citations omitted).               herein, the court has determined that no reasonable fact finder
                                                                     could conclude that anyone at CCJ acted with deliberate
                                                                     indifference.
   2. Personal Involvement
Personal involvement is a prerequisite to the assessment of          1
damages in a section 1983 case, and respondeat superior                      However, the grievances do not appear to have
is an inappropriate theory of liability. Wright v. Smith, 21                 been directed to Sheriff Gould. The only indication
F.3d 496, 501 (2d Cir.1994) (citation omitted); Richardson                   that Sheriff Gould was even aware of plaintiff's
v. Goord, 347 F.3d 431, 435 (2d Cir.2003). In Williams                       situation is a September 6, 2011 letter from the
v. Smith, 781 F.2d 319, 323–24 (2d Cir.1986), the Second                     Chairman of the Citizens Policy and Complaint
                                                                             Review Council to Sheriff Gould explaining that


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 40 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

       the Council accepted plaintiff's grievance and that       Bellotto v. County of Orange, 248 F. App'x 232, 236 (2d
       facility officials shall ensure that inmates[ ] are       Cir.2007) (quoting Salahuddin v. Goord, 467 F.3d 263, 279–
       afforded the medical treatment prescribed by the          80 (2d Cir.2006)). If the “unreasonable care” consists of a
       responsible licensed medical professional. (Dkt.          failure to provide any treatment, then the court examines
       No. 31–3 at 8).                                           whether the inmate's condition itself is “sufficiently serious.”
2                                                                Smith v. Carpenter, 316 F.3d 178, 185–86 (2d Cir.2003).
       Plaintiff attempted to amend his complaint on             When a prisoner alleges “a temporary delay or interruption
       October 31, 3013. (Dkt. No. 22). It appeared              in the provision of otherwise adequate medical treatment,”
       that plaintiff sought to add a medical malpractice        the court must focus on the seriousness of the particular
       claim against Dr. Kooi. (Dkt. No. 22 at 1). This          risk of harm that resulted from the challenged delay or
       court denied the motion without prejudice on              interruption, rather than the prisoner's underlying medical
       November 8, 2013 and gave plaintiff thirty days           condition alone.” Id. at 185. The standard for determining
       to submit a new motion to amend, explaining               when a deprivation or delay in a prisoner's medical need
       that plaintiff would need to include a complete           is sufficiently serious contemplates a condition of urgency
       proposed amended complaint and could not name             that may result in degeneration of the patient's condition or
       Dr. Kooi as a defendant and include only a state          extreme pain. Bellotto, 248 F. App'x at 236 (citing, inter alia,
       law negligence claim against him. (Dkt. No. 24            Chance v. Armstrong 143 F.3d at 702).
       at 4). On November 14, 2013, plaintiff submitted
       his motion for summary judgment. (Dkt. No. 25).           The subjective prong of the deliberate indifference test
       Plaintiff did not submit a new motion to amend.           is satisfied when an official “knows that inmates face a
                                                                 substantial risk of serious harm and disregards that risk by
IV. Denial of Medical Care                                       failing to take reasonable measures to abate it.” Farmer v.
                                                                 Brennan, 511 U.S. 825, 847 (1994). A plaintiff is not required
 A. Applicable Law
                                                                 to show that a defendant acted or failed to act “for the very
*6 In order to state a claim based on constitutionally
                                                                 purpose of causing harm or with knowledge that harm will
inadequate medical treatment, 3 the plaintiff must allege        result,” but must show that the official was aware of facts
“acts or omissions sufficiently harmful to evidence deliberate   from which one could infer that “a substantial risk of serious
indifference to serious medical needs.” Estelle v. Gamble, 429   harm” exists, and that the official drew that inference. Id.
U.S. 97, 106 (1976). There are two elements to the deliberate    at 835, 837. The defendant must be subjectively aware that
indifference standard. Smith v. Carpenter, 316 F.3d 178, 183–    his or her conduct creates the risk; however, the defendant
84 (2d Cir.2003). The first element is objective and measures    may introduce proof that he or she knew the underlying
the severity of the deprivation, while the second element        facts, but believed that the risk to which the facts gave rise
is subjective and ensures that the defendant acted with a        was “insubstantial or non-existent.” Farmer v. Brennan, 511
sufficiently culpable state of mind. Id. at 184 (citing, inter   U.S. at 844. Thus, the court stated in Salahuddin that the
alia, Chance v. Armstrong, 143 F.3d 698, 702 (2d Cir.1998)).     defendant's belief that his conduct posed no risk of serious
                                                                 harm “need not be sound so long as it is sincere,” and “even if
3                                                                objectively unreasonable, a defendant's mental state may be
       Plaintiff's claim arose while he was a pretrial
       detainee at the Cayuga County Jail, and is,               nonculpable.” Salahuddin v. Goord, 467 F.3d at 281.
       therefore, properly analyzed under the Fourteenth
       Amendment. See, e.g., Caiozzo v. Koreman, 581              *7 Even negligence in diagnosing or treating an inmate's
       F.3d 63, 69 (2d Cir.2009). However, regardless of         medical condition does not constitute deliberate indifference.
       whether a deliberate indifference claim is brought        Farmer v. Brennan, 511 U.S. at 835. Therefore, any claims
       pursuant to the Eighth or Fourteenth Amendment,           of medical malpractice, or disagreements with treatment are
       the standard is the same. Id. at 72.                      not actionable under section 1983. Ross v. Kelly, 784 F.Supp.
                                                                 35, 44–45 (W.D.N.Y.1992), aff'd 970 F.2d 896 (2d Cir.1992)
The objective prong of the standard is satisfied “when (a) the
                                                                 (table).
prisoner was ‘actually deprived of adequate medical care,’
meaning prison officials acted unreasonably in response
to an inmate health risk under the circumstances, and (b)          B. Application
‘the inadequacy in medical care is sufficiently serious.’ “


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 41 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

Plaintiff accuses defendants of deliberate indifference to         of corrective glasses, the need for vision correction can be
plaintiff's serious medical needs when they failed to ensure       a sufficiently serious need.”) (citing Koehl, 85 F.3d at 87).
that he be scheduled for an optometry appointment so that he       Defendants have not produced any evidence that the delay did
could obtain prescription eye glasses in a reasonably timely       not cause the degeneration. 4
fashion. Defendants argue that plaintiff cannot meet either the
subjective or the objective prong of the standard.                 4
                                                                           Defendants argue that this deterioration occurred
                                                                           after his time at CCJ, and therefore, defendants
With respect to the objective prong, defendants contend that
                                                                           are not responsible for the deterioration. It does
plaintiff's medical needs were not “serious.” Among the
                                                                           appear that after he left the Jail in December 2011,
relevant factors for determining whether a serious medical
                                                                           plaintiff's vision was 20/70, and two months later
need exists are “the existence of an injury that a reasonable
                                                                           it was 20/200. However, it is not clear that the year
doctor or patient would find important and worthy of
                                                                           that plaintiff spent at the Jail without glasses did not
comment or treatment; the presence of a medical condition
                                                                           cause this deterioration. Based on the record now
that significantly affects an individual's daily activities; or
                                                                           before this court, a reasonable juror could find that
the existence of chronic and substantial pain.” Chance, 143
                                                                           the delay in care caused plaintiff's vision to further
F.3d at 702 (citation omitted). Diminished eyesight can, under
                                                                           deteriorate.
certain circumstances, be sufficiently serious to provide the
basis for a claim for the denial of medical care. See Koehl         *8 Defendants argue that because plaintiff spent time in the
v. Dahlsheim, 85 F.3d 86, 88 (2d Cir.1996) (holding that a         law library and did legal research, his daily activities were not
prisoner who was denied prescription eyeglasses necessary to       impacted. However, the court notes that plaintiff was having
correct double vision and a loss of depth perception, resulting    trouble with distance vision, not reading. Therefore, the fact
in headaches and injuries from walking into objects as a result,   that he could still read and write without incident did not
had a serious medical condition).                                  mean that his long-distance vision was not deteriorating, or
                                                                   causing significant issues. Indeed, plaintiff asserts that he had
Plaintiff alleges that he suffered severe headaches or             difficulty identifying other inmates. (Dkt. No. 26–6 at 63–64
migraines during the time that he did not have prescription        (explaining that he could only see people at the end of the
glasses. See Johns v. Goord, No. 9:09–CV–1016 (NAM/                hall if he squinted)). Under these circumstances, the court will
RFT), 2010 WL 3907826, at *4 (N.D.N.Y. Sept. 30, 2010)             assume that there is an issue of fact as to whether plaintiff's
(explaining that plaintiff's allegations of “extreme eye pain,     medical needs were serious.
excruciating headaches, a loss of vision and loss of balance”
were sufficient to withstand defendants' motion to dismiss).       However, turning to the subjective prong of the test, the
Defendants contend that plaintiff failed to complain about         court finds that plaintiff cannot show that anyone at CCJ
headaches while at CCJ, but have presented no evidence to          acted with deliberate indifference, and therefore recommends
show that he did not suffer from the severe headaches alleged.     dismissing plaintiff's medical indifference claim on the
It appears that plaintiff had a standing order for ibuprofen       merits. In order to establish “deliberate indifference,” plaintiff
and tylenol and could receive up to 3 tables 4 times per           must demonstrate more than a “negligent” failure to provide
day without contacting medical staff. (Dkt. No. 31 at 14).         adequate medical care. Salahuddin v. Goord, 467 F.3d at
Plaintiff alleges that he would take 3 ibuprofen at a time         280 (citing Farmer, 511 U.S. at 835–37). Instead, plaintiff
for the pain. (Dkt. No. 26–6 at 46). Additionally, plaintiff's     must show that the defendant acted with the equivalent of
medical records from Auburn Correctional Facility confirm          subjective recklessness. Id. (citing Farmer, 511 U.S. at 839–
that he has consistently complained that he experienced            40).
severe headaches during his time at CCJ. (Dkt. No. 25–3 at
21).                                                               Here, the record is devoid of evidence from which a
                                                                   reasonable factfinder could conclude that any of plaintiff's
Moreover, plaintiff asserts that his eyesight deteriorated         medical providers were aware that he was suffering from
significantly due to the fact that he did not have prescription    severe headaches, that his vision was deteriorating to any
glasses for over a year, resulting in permanent damage. See        great extent, or aware of any other information that would
Davidson v. Scully, 155 F.Supp.2d 77, 87 (S.D.N.Y.2001)            indicate that plaintiff was suffering from a condition requiring
(“Where a prisoner's vision will degenerate in the absence         urgent medical care. To the extent plaintiff asserts that



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 42 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

CCJ employees should have been aware of his worsening              information that plaintiff's vision had a material impact on
condition based on his grievances, the information provided        his ability to live or function in the jail or that his health or
in these grievances is insufficient to alert the staff that        safety was in danger. (Wallace Aff. at ¶¶ 27, 45, 46). Plaintiff
plaintiff suffered from a serious medical need. In his first       presents no evidence to suggest that Nurse Wallace knew that
grievance, plaintiff simply stated that his vision was “no         plaintiff suffered from a substantial risk of serious harm.
better.” (Gleason Aff., Ex. A). Even the second grievance only
stated that his vision “has gotten worse” with no additional       7
                                                                           See Paul v. Bailey, 09 Civ 5784, 2013 WL 2896990,
details about problems that the vision was causing, the extent
                                                                           at * 16 (S.D.N.Y. June 13, 2013) (“Ignoring the
to which it deteriorated, or that he was suffering in any other
                                                                           express orders of a doctor is more than merely
way. (Gleason Aff., Ex. B). After his visit on December 30,
                                                                           negligent and is sufficient to withstand a motion to
2011, plaintiff never contacted the infirmary again regarding
                                                                           dismiss.”) (citing Gill v. Mooney, 824 F.2d 192, 196
his vision. 5 (Wallace Aff. at ¶ 34). Plaintiff also never                 (2d Cir.1987)) (Report and Recommendation).
requested a visit with the doctor to request stronger pain
                                                                    *9 No evidence suggests that any officials at CCJ were
medication for his headaches. 6                                    aware that serious harm could occur if an appointment with
                                                                   an ophthalmologist was not scheduled immediately. The court
5                                                                  finds that no reasonable juror could conclude that personnel
       Plaintiff explains that he assumed he “would be
       seen in a reasonable time frame.” (Dkt. No. 31–             at CCJ were deliberately indifferent to plaintiff's condition,
       3 at 3). However, this does not change the fact             meaning that they “kn[ew] of and disregard[ed] an excessive
       that officials at CCJ had no reason to believe that         risk to [plaintiff's] health or safety” and that they were “both ...
       serious harm could occur.                                   aware of facts from which the inference could be drawn
                                                                   that a substantial risk of serious harm exist[ed], and ... also
6      Plaintiff himself does not assert that he informed          dr[e]w the inference. Farmer, 511 U .S. at 837. The court will,
       anyone in the medical unit who would be able to             therefore, recommend denying plaintiff's motion and will
       assist with his vision issues that his vision was           recommend granting defendants' cross-motion for summary
       deteriorating, instead only claiming that he told           judgment.
       Sergeant Gleason and other inmates that it was
       getting worse. (Dkt. No. 31 (“Pl. Response to Rule          WHEREFORE, based on the findings above, it is
       7.1 Statement”) at ¶ 39).
Plaintiff asserts that Nurse Wallace ignored Dr. Kooi's orders     RECOMMENDED, that plaintiff's motion for summary
and that this demonstrates deliberate indifference. Although       judgment (Dkt. No. 25) be DENIED, and it is
under certain circumstances, ignoring the orders of a doctor
                                                                   RECOMMENDED, that defendants' motion for summary
could demonstrate deliberate indifference, 7 the court finds
                                                                   judgment (Dkt. No. 25) be GRANTED and that the complaint
that based on the undisputed facts, Nurse Wallace did not
                                                                   be DISMISSED IN ITS ENTIRETY.
ignore Dr. Kooi's orders. As detailed above, she contacted
CCJ's usual eye care provider who declined to see plaintiff
                                                                   Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c),
at that time, and told Nurse Wallace to let his office know
                                                                   the parties have fourteen days within which to file written
if plaintiff's condition became more urgent. She relayed this
                                                                   objections to the foregoing report. Such objections shall be
message to Dr. Kooi, who did not tell her to call other
                                                                   filed with the Clerk of the Court. FAILURE TO OBJECT
providers. (Wallace Aff. at ¶ 32). Nurse Wallace states that she
                                                                   TO THIS REPORT WITHIN FOURTEEN DAYS WILL
believed Dr. Kooi would have told her to do so had plaintiff's
                                                                   PRECLUDE APPELLATE REVIEW. Roldan v. Racette,
condition been urgent. (Id. at ¶ 33). Dr. Kooi explains that he
                                                                   984 F.2d 85, 89 (2d Cir.1993) (citing Small v. Secretary of
did not believe immediate eye care was required, and he was
                                                                   Health and Human Services, 892 F.2d 15 (2d Cir.1989)); 28
not aware of any other significant changes in plaintiff's vision
                                                                   U.S.C. § 636(b)(1); Fed.R.Civ.P. 6(a), 6(e), 72.
prior to his transfer. (Kooi Aff. at ¶¶ 11, 12). Nurse Wallace's
actions do not rise to the level of deliberate indifference.
Indeed, Nurse Wallace explained that based on Dr. Kooi's           File June 27, 2014.
examination of plaintiff she did not personally recognize an
urgent need for medical care, and that she never received any



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 43 of 221
Larkins v. Cayuga County, Not Reported in F.Supp.3d (2014)
2014 WL 4760064

All Citations

Not Reported in F.Supp.3d, 2014 WL 4760064

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          Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 44 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

                                                                        Employment Act (“ADEA”). (Dkt. No. 25 [Pl.’s Second
                                                                        Am. Compl.].) In support of her claims, Plaintiff alleges that
     KeyCite Yellow Flag - Negative Treatment                           Defendant discriminated against her by (a) refusing to hire
Supplemented by Cao-Bossa v. New York State Dep't of Labor, N.D.N.Y.,
                                                                        her for a position for which she interviewed in March 2016,
November 16, 2021
                                                                        and (b) terminating her employment in another position after
                     2021 WL 3674745                                    six months. (Id.) More specifically, Plaintiff, who is Chinese
       Only the Westlaw citation is currently available.                and was 45 years old at the time of her termination, alleges
        United States District Court, N.D. New York.                    that she received unfairly poor performance reviews based
                                                                        on a few sporadic mistakes that resulted in her termination,
              Weili CAO-BOSSA, Plaintiff,                               but that other American and/or younger employees did not
                         v.                                             receive similar negative performance reviews and were not
            NEW YORK STATE DEPARTMENT                                   terminated. (Id.)
                 OF LABOR, Defendant.
                                                                           B. Undisputed Material Facts on Defendant's Motion
                    1:18-CV-0509 (GTS/TWD)
                                                                           for Summary Judgment
                                |
                                                                        Under N.D.N.Y. Local Rule 56.1 (formerly Local Rule
                        Signed 08/19/2021
                                                                        7.1[a][3]), a party opposing summary judgment must file a
Attorneys and Law Firms                                                 response to the moving party's Statement of Material Facts
                                                                        that “shall mirror the movant's Statement of Material Facts
WEILI CAO-BOSSA, Plaintiff, Pro Se, 1912 East Country                   by admitting and/or denying each of the movant's assertions
Club Drive, Schenectady, NY 12309.                                      in a short and concise statement, in matching numbered
                                                                        paragraphs,” supported by “a specific citation to the record
HON. LETITIA JAMES, Attorney General for the State of
                                                                        where the factual issue arises.” N.D.N.Y. Local R. 56.1(b).
New York, Counsel for Defendant, 300 South State Street,
                                                                        This requirement is not a mere formality; rather “this and
Suite 300, Syracuse, NY 13202, OF COUNSEL: AIMEE
                                                                        other local rules governing summary judgment are essential
COWAN, ESQ., Assistant Attorney General.
                                                                        tools intended to relieve the district court of the onerous
                                                                        task of hunting through voluminous records without guidance
                                                                        from the parties.” LaFever v. Clarke, 17-CV-1206, 2021 WL
                   DECISION and ORDER                                   921688, at *6 (N.D.N.Y. Mar. 11, 2021) (Hurd, J.) (quoting
                                                                        Frantti v. New York, 414 F. Supp. 3d 257, 284 [N.D.N.Y.
Glenn T. Suddaby, Chief U.S. District Judge
                                                                        2019] [Hurd, J.]). Indeed, “[a] proper response to a movant's
 *1 Currently before the Court, in this employment                      statement of material facts streamlines the summary judgment
discrimination action filed by Weili Cao-Bossa (“Plaintiff”)            analysis ‘by allocating responsibility for flagging genuine
against the New York State Department of Labor                          factual disputes on the participants ostensibly in the best
(“Defendant”), are the following two motions: (1)                       position to do so: the litigants themselves.’ ” LaFever, 2021
Defendant's motion for summary judgment; and (2)                        WL 921688, at *7 (quoting Alke v. Adams, 16-CV-0845, 2018
Defendant's letter-motion to strike Plaintiff's sur-reply. (Dkt.        WL 5297809, at *2 [N.D.N.Y. Oct. 25, 2018] [Hurd, J.]).
Nos. 58, 70.) For the reasons set forth below, Defendant's              “The Court may deem admitted any properly supported facts
motion for summary judgment is granted, and its motion to               set forth in the Statement of Material Facts that the opposing
strike Plaintiff's sur-reply is denied.                                 party does not specifically controvert.” N.D.N.Y. Local R.
                                                                        56.1(b).

I. RELEVANT BACKGROUND                                                  In this case, Plaintiff entirely failed to provide any response
                                                                        to Defendant's Statement of Material Facts, much less one
   A. Plaintiff's Second Amended Complaint                              that complies with Local Rule 56.1. Where a party has failed
Generally, in her Second Amended Complaint, Plaintiff                   to respond to the movant's statement of material facts in
claims that Defendant discriminated against her based on                the manner required under Local Rule 56.1, the facts in the
her national origin and age in violation of Title VII of the            movant's statement will be accepted as true (1) to the extent
Civil Rights Act of 1964 and the Age Discrimination in                  that they are supported by evidence in the record, and (2)


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 45 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

provided that the nonmovant, if proceeding pro se, has been         to dispute the asserted facts. (Dkt. No. 66 [Def.’s Rule 56.1
specifically advised of the possible consequences of failing        Statement].)
to respond to the motion. Champion v. Artuz, 76 F.3d 483,
486 (2d Cir. 1996). 1 Here, Defendant served on Plaintiff           1. Plaintiff was born on September 21, 1972.
the standard form for this District entitled “Notification of
the Consequences of Failing to Respond to a Summary                 2. Plaintiff is of Chinese national origin.
Judgment Motion,” which includes a specific notification of
the requirement to respond to the defendant's statement of          3. Plaintiff obtained a bachelor's degree in Agriculture in 1996
material facts in matching numbered paragraphs with citation        from Ocean University of China.
to supporting evidence as well as a warning that failure to
do so could result in the Court deeming facts to be true that       4. Plaintiff also received a certificate from Austin Community
are not properly disputed. (Dkt. No. 58, Attach. 2.) Moreover,      College in Austin, Texas, in 2012 for “professional accountant
four days later, the Court served Plaintiff with a duplicate        with high technology.”
copy of that Notification. (Dkt. No. 59.) Eight days later,
Plaintiff requested an extension of the response deadline.          5. Plaintiff did not have her Certified Public Accountant
(Dkt. No. 60.) Plaintiff has therefore received sufficient notice   (“CPA”) license at the time of her deposition.
of the possible consequences of her failure to respond to
Defendant's Statement of Material Facts.                            6. In 2016, Plaintiff did not have the requisite one year of
                                                                    accounting experience, supervised by a CPA, required for
1                                                                   CPA licensing.
        Notably, although “courts are required to give due
        deference to a plaintiff's pro se status, that status
                                                                    7. Plaintiff testified that she passed her CPA examinations in
        ‘does not relieve [a pro se] plaintiff of his duty
                                                                    2014.
        to meet the requirements necessary to defeat a
        motion for summary judgment.’ ” Salaam v. Stock,
                                                                    8. Plaintiff did not have any formal accounting experience
        19-CV-0689, 2021 WL 2367123, at *2 (N.D.N.Y.
                                                                    before she immigrated from China to the United States in
        May 12, 2021) (Dancks, M.J.) (quoting Jorgensen
                                                                    2008.
        v. Epic/Sony Records, 351 F.3d 46, 50 [2d Cir.
        2003]), report-recommendation adopted by 2021
                                                                    9. The first accounting position Plaintiff held after arriving in
        WL 2102242 (N.D.N.Y. May 24, 2021) (Sannes,
                                                                    the United States in 2008 was her position with Defendant in
        J.).
                                                                    2016.
 *2 Although the Court has ensured that Defendant's asserted
facts are supported by the cited record evidence, it does not       10. Defendant is an executive agency of the State of New
have the duty to scour the record for any and all evidence          York, established pursuant to Article 2 of the New York State
that may contradict those asserted facts. See Amnesty Am. v.        Labor Law.
Town of W. Hartford, 288 F.3d 467, 470 (2d Cir.2002) (“We
agree with those circuits that have held that Fed. R. Civ. P. 56    11. Defendant's Administrative Finance Bureau (“AFB”)
does not impose an obligation on a district court to perform        is responsible for the budgeting, fiscal management,
an independent review of the record to find proof of a factual      accounting, and expenditure of all department funds.
dispute.”); Monahan v. New York City Dep't of Corr., 214 F.3d
275, 291 (2d Cir. 2000) (noting that the Local Rules require        12. The AFB also maintains and ensures the accuracy
the parties “to clarify the elements of the substantive law         of Defendant's payroll system, provides support operations
which remain at issue because they turn on contested facts”         services, including all procurement and payment activities,
and the Court “is not required to consider what the parties fail    and provides property management services covering leasing,
to point out”) (internal quotation marks and citations omitted).    space planning, project oversight, and building maintenance.
As a result, the following facts were asserted and supported
with accurate record citations by Defendant in its Statement        13. Additionally, the AFB is responsible for the management
of Material Facts and deemed admitted by Plaintiff due to           of Defendant's federal grant funding and ensuring compliance
her failure to respond and failure to provide any evidence          with state and federal reporting requirements.



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 46 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

                                                                      24. Plaintiff emailed Director Elfeldt after the interview,
14. The AFB is divided into multiple sub-units, each with             asking “[W]hy you set such an interview if government
managers who reported to Kathleen Elfeldt when she was the            working experience is a necessity to this job?”
Director of Finance from 2014 until January 2018.
                                                                      25. Director Elfeldt responded that government work
15. The Financial Management Unit (“FMU”) is one of the               experience was not a job requirement for the position, but that
sub-units of the AFB.                                                 the federal grant funding and reporting requirements made the
                                                                      Department of Labor different than a typical state agency, and
16. In March 2016, Defendant posted a job vacancy                     the position Plaintiff interviewed for was not in the accounting
announcement for an Accountant Trainee 1 & 2 (Grades 14               office and would not be entering data into an accounting
and 16) and Senior Accountant (Grade 18) position within the          system.
AFB's FMU.
                                                                      26. Director Elfeldt indicated that Plaintiff's work experience
17. In order to be eligible for the Accountant Trainee position,      did not make her a good fit for the position.
a candidate must pass a Civil Service examination and possess
a bachelor's degree in accounting, auditing or taxation, or a         27. Plaintiff alleges that she did not receive this position
bachelor's degree or higher degree with 24 semester credit            because she was discriminated against based on her age and
hours of accounting, auditing or taxation courses.                    national origin.

18. A list of candidates who meet these requirements is               28. Plaintiff does not know the basis for her belief that
provided to Defendant by the New York State Department of             Director Elfeldt discriminatorily denied her the position based
Civil Service.                                                        on her age and national origin, other than that “there is no
                                                                      other explanation.”
19. Plaintiff was the fourth candidate on the Accountant
Trainee list, with a score of 90, and thus she was eligible for       29. Plaintiff admitted at her deposition that she did not have
an interview.                                                         the right experience for this position.

20. On July 12, 2016, Plaintiff was interviewed for the open          30. On July 15, 2016, Defendant posted another job vacancy
Accountant Trainee position, and then was interviewed by              for an Accountant Trainee 1 & 2 and Senior Accountant, this
Director Elfeldt the following day.                                   one in the Accounting Unit.

21. During the second interview, Director Elfeldt explained           31. Plaintiff was again reachable for this position on the Civil
that the position for which Plaintiff was interviewing was            Service list.
within the AFB's FMU, which manages Defendant's finances
related to federal grants and federal programs.                       32. Plaintiff claims that Director Elfeldt had her assistant call
                                                                      Plaintiff to let her know that there was another position open.
 *3 22. Director Elfeldt informed Plaintiff that federal
requirements made the FMU position unique, but that in the            33. On July 19, 2016, Plaintiff interviewed for the position in
future she expected that there would be open positions in the         the Accounting Unit.
Accounting Office that could be a better fit for Plaintiff's skills
and experience.                                                       34. On September 13, 2016, Margaret “Peg” Farrell, the
                                                                      Project Director for the State Financial System (“SFS”)
23. At the time of her interview, Plaintiff did not have any          Project in the Accounting Unit at the time, requested that
experience reviewing federal guidance or regulations and              Plaintiff be hired for a Senior Accountant Trainee position.
was not familiar with federal grant funding and guidance
requirements.                                                         35. Plaintiff's hiring was approved by Michelle Daly, the
                                                                      Director of the Accounting Office, and Director Elfeldt.




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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 47 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

36. Plaintiff accepted the offer, and her employment began on      49. Plaintiff recalled at her deposition that Ms. Pulcher and
October 6, 2016.                                                   Ms. Farrell discussed during this meeting that she needed to
                                                                   choose her wording carefully in emails and on the telephone.
37. Plaintiff was hired as a trainee on a probationary basis and
her salary grade was equivalent to a Grade 14.                     50. Plaintiff recalled at her deposition that Ms. Pulcher and
                                                                   Ms. Farrell discussed that she is not entitled to “flex time” and
38. Plaintiff's probationary period was to run concurrently        was not allowed to leave early if she arrived to work early.
with her two-year traineeship.
                                                                   51. Plaintiff recalled at her deposition that Ms. Pulcher
39. After she was hired, Plaintiff was assigned to the             and Ms. Farrell discussed that she needed to complete her
Accounting Office's SFS Project Team.                              assignments in the format that her supervisor had requested.

40. Plaintiff's direct supervisor was Project Assistant Lindsay    52. At no point during the meeting did either Ms. Pulcher or
Pulcher and the team manager was Ms. Farrell.                      Ms. Farrell discuss Plaintiff's age or national origin.

41. Ms. Farrell was Ms. Pulcher's direct supervisor.               53. At no point during the meeting did Plaintiff raise any
                                                                   concerns about discrimination.
42. Ms. Pulcher was the Project Assistant for the SFS Project
Team from April 2014 to April 2017.                                54. However, following the meeting of December 5, 2016,
                                                                   Plaintiff continued to have issues with her job performance.
43. Supervisors for probationary trainees such as Plaintiff are
required to present trainees with an Individual Development        55. On January 6, 2017, Plaintiff received a three-month
Plan and quarterly probationary evaluations, as well as            performance evaluation which indicated that she needed to
traineeship evaluations at six-month intervals during the          improve in almost all aspects of her job performance.
traineeship.
                                                                   56. The three-month evaluation was completed by Ms.
44. On October 26, 2016, Plaintiff met with Ms. Pulcher            Pulcher and reviewed by Ms. Farrell.
and was provided an Individual Development Plan that listed
the activities, tasks, and performance standards that were         57. A meeting was held with Plaintiff on January 6, 2017,
expected of her in her position.                                   in which Ms. Pulcher and Ms. Farrell gave the three-month
                                                                   evaluation to Plaintiff.
 *4 45. However, during the month of November 2016,
Plaintiff had many issues completing basic tasks and               58. Ms. Pulcher took notes of the meeting, indicating what
assignments that were required in her position.                    was reviewed with Plaintiff and Plaintiff's responses.

46. On or about December 5, 2016, Ms. Pulcher and                  59. Plaintiff admits that she made mistakes during the first
Ms. Farrell met with Plaintiff to review her Individual            three months of her probationary term.
Development Plan to ensure that Plaintiff understood the
requirements of her position and what was expected of her.         60. During the meeting, Ms. Pulcher showed Plaintiff an
                                                                   example of an email in which Plaintiff used a harsh,
47. During the meeting, Plaintiff was reminded about the           inappropriate tone.
tasks she needed to complete as part of her position and
she was reminded as to how she should be completing her            61. Plaintiff testified at her deposition that she disagrees with
assignments.                                                       Ms. Pulcher's assessment of her performance.

48. Plaintiff was also reminded during this meeting that her       62. Following receipt of her three-month evaluation, Plaintiff
position was a two-year traineeship during which she was on        met with Lin Arbab, a Human Resources Specialist for
probation and could be terminated for poor performance.            Defendant.




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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 48 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

63. During this meeting, Ms. Arbab explained to Plaintiff          71. Following the three-month performance evaluation,
that managers and supervisors may appropriately issue              Plaintiff continued to have job performance issues.
evaluations that accurately reflect the quality of an employee's
performance.                                                       72. Ms. Farrell kept a log of some of the performance issues
                                                                   that Plaintiff exhibited for approximately nine weeks after her
64. Ms. Arbab explained that sometimes an employee's               three-month evaluation:
performance will be rated as “needs improvement” in certain
areas, and that it is not unusual for an employee to receive            a. On January 23, 2017, Ms. Pulcher noted that Plaintiff
an evaluation that indicates performance areas that need                   downloaded the wrong NHRP files.
improvement.
                                                                        b. On February 1, 2017, Plaintiff's Monthly Mod Accrual
                                                                           and Stat Ledger queries were for December 2015
65. Ms. Arbab explained that Plaintiff's three-month
                                                                           rather than December 2016.
evaluation reflected her supervisor's assessment of her
performance and included examples of the noted performance              c. On February 6, 2017, Ms. Farrell notified Plaintiff that
deficiencies.                                                              she had made mistakes on the monthly query, to which
                                                                           Plaintiff responded, “[S]orry for the negligence. Will
 *5 66. At the time, Plaintiff did not express to Ms. Arbab                be more careful in the future.”
any belief that the three-month evaluation was the result of
discrimination.                                                         d. Also on February 6, 2017, Ms. Pulcher was forced
                                                                           to remind Plaintiff to download the NHRP522 and
67. On January 12, 2017, Plaintiff wrote an email to Ms.                   NHRP530 files despite the fact that this had been a
Pulcher and Ms. Farrell, in which she stated that she                      recurring task for several pay periods.
“appreciate[d] you letting me know your concerns about
                                                                        e. On February 22, 2017, Ms. Pulcher spoke with
my performance in the first quarter evaluation,” and that
                                                                           Plaintiff about her failure to prioritize assignments
she “enjoys very much working” with Ms. Pulcher and Ms.
                                                                           correctly.
Farrell and “can learn something new every day with [their]
help.”                                                                  f. On February 27, 2017, Ms. Pulcher emailed Plaintiff
                                                                           to inform her that she
68. In the email of January 12, 2017, Plaintiff also listed
her plans to improve her performance, including promising                 was enrolled in mandatory training courses, but that
to review her emails before sending them to other people,                 those courses were not a priority since they did not
pay attention to formatting details for biweekly downloading              need to be completed for eight months, and to identify
and monthly queries, submit a summary of the work she                     which assignments were a priority. However, Plaintiff
performed that day before she left work every day, take notes             completed these training courses before the priority
so she can stop “asking the same stupid questions,” and charge            assignments despite Ms. Pulcher's directions.
personal time whenever she has to use work time.
                                                                        g. On Mar h 1, 2017, Ms. Farrell asked Plaintiff to
69. Plaintiff also asked Ms. Pulcher to remind her if she                  complete an assignment immediately, but Plaintiff
asks the “same stupid questions” and stated, “Please help me               submitted the assignment the following day,
improve my management skills of work assignments. I will                   incorrectly. The assignment was still incorrect the
improve my quality of work and other virtues required for my               second time Plaintiff submitted it.
work.”
                                                                        h. On March 3, 2017, Ms. Farrell asked Plaintiff to
                                                                           create a tab with a pivot table for each ledger on an
70. In the email of January 12, 2017, Plaintiff did not
                                                                           Excel spreadsheet. Plaintiff submitted the assignment
complain about feeling like she was being discriminated
                                                                           incorrectly and Ms. Farrell was forced to follow up.
against, and did not express disagreement with the three-
month performance evaluation.                                           *6 i. Also on March 3, 2017, Ms. Pulcher contacted
                                                                         Plaintiff regarding an assignment that she submitted
                                                                         incorrectly the previous day. Plaintiff responded, “You



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 49 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

       are right ... I guess I was kind of in a hurry. Sorry for
       the abbreviation.”                                          83. On April 13, 2017, Plaintiff emailed Director Elfeldt,
                                                                   stating “[T]here were errors in my work because of careless
     j. On March 8, 2017, Ms. Pulcher requested that Plaintiff     [sic] and inexperience, but they had nothing to do with
        provide a summary of an accounting training class          working abilities.”
        Plaintiff had attended; however, Plaintiff did not
        provide that summary and Ms. Pulcher was forced to         84. At her deposition, Plaintiff acknowledged that she
        follow up on March 21, 2017, at which time Plaintiff       admitted she was careless and inexperienced during her six
        still had not completed the assignment.                    months working for Defendant.

73. Ms. Farrell recorded at least 13 separate instances between    85. Plaintiff did not allege in her email of April 13, 2017, that
January 11, 2017, and March 20, 2017, on which Plaintiff           she felt discriminated against.
submitted an incorrect or incomplete assignment or needed to
be reminded to complete an assignment.                             86. She did, however, thank Director Elfeldt for giving her
                                                                   a chance “to see how unique and complicated the DOL
74. On April 3, 2017, Plaintiff received a six-month               accounting could be.”
evaluation from Ms. Pulcher.
                                                                   87. The first time Plaintiff ever expressed that she felt
75. Ms. Pulcher recommended that Plaintiff be terminated           discriminated against while working for Defendant was in an
based on her unsatisfactory performance.                           email to Ms. Arbab on April 10, 2017.

76. Ms. Farrell approved Ms. Pulcher's recommendation for          88. At no point during her employment with Defendant did
Plaintiff's termination.                                           anyone make any remarks about Plaintiff's national origin or
                                                                   age.
77. Director Elfeldt also agreed with the recommendation for
termination.                                                       89. There were “many” employees in Plaintiff's specific unit
                                                                   who were Plaintiff's age or older.
78. Ultimately, termination decisions are made by the
Personnel Department.                                              90. On July 17, 2017, Plaintiff filed a complaint with the New
                                                                   York State Division of Human Rights (“NYSDHR”).
79. The recommendation was forwarded to Lisa Burrell,
Associate Director of Human Resources for Defendant,               91. Her complaint was amended on or about August 2, 2017,
who made the final determination approving Plaintiff's             and in it she alleged that she was subjected to discrimination
termination.                                                       based on her age and national origin in violation of the New
                                                                   York State Human Rights Law, Title VII, and the ADEA.
80. Plaintiff was presented with the six-month evaluation
at a meeting, during which Ms. Pulcher indicated the main           *7 92. On December 20, 2017, the NYSDHR issued a
reasons why her employment was being terminated, including         Determination and Order After Investigation, in which it
the fact that her assignments were often not completed per         determined that there was no probable cause to believe
instructions and follow-up was often required, the fact that       that Defendant engaged in or was engaging in the unlawful
she needed to be reminded of the same issues repeatedly, and       discriminatory practices Plaintiff alleged.
the fact that she did not make the best use of her time or exert
a consistent effort.                                               93. On January 26, 2018, the Equal Employment Opportunity
                                                                   Commission (“EEOC”) adopted the findings of the
81. Plaintiff signed the evaluation that recommended her           NYSDHR.
termination.
                                                                   94. Plaintiff alleges in her Second Amended Complaint that
82. When she received her six-month evaluation, Plaintiff          two or three other employees were treated more favorably
did not complain that her evaluation was the result of             than her because of their national origin.
discrimination.


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 50 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745


95. Specifically, Plaintiff alleges that Richard Deitz was        102. The only basis for Plaintiff's belief that Ms. O'Hara was
treated more favorably than her because of his national           treated differently than her is because there is no mention of
origin. However, Plaintiff does not know what position            “one-time incident[s]” or “learning process” on Ms. O'Hara’s
Mr. Dietz held or who he is, and she admits that his job          evaluation. Ms. O'Hara’s performance evaluation shows that
responsibilities were different than her job responsibilities.    she met performance expectations for her position.
She also “guesses” that he is “American.”
                                                                  103. Plaintiff also alleges that these employees were treated
96. According to Mr. Deitz's evaluation in the record, his        more favorably than her based on her age.
supervisor was Michelle Daly, not Ms. Pulcher, and Ms.
Pulcher has never supervised or evaluated Mr. Deitz.               *8 104. However, Plaintiff admits that Mr. Shavel and Mr.
                                                                  Deitz are both as old or older than her: Mr. Deitz was 45 years
97. The basis for Plaintiff's belief that Mr. Deitz was treated   old in 2017, and Plaintiff testified that Mr. Shavel is “older
differently than her is that he was praised for “taking           than sixty, in his sixties or something .... He's older than me.”
initiative” while she was not.                                    Mr. Shavel was in fact 61 years old in 2017.

98. Plaintiff also alleges that Frank Shavel was treated more     105. Ms. O'Hara was 27 years old in 2017.
favorably than her because of his national origin. However,
Plaintiff is unaware of where Mr. Shavel worked within            106. Ms. Pulcher was not aware of either Ms. O'Hara’s or
Defendant's organization, she did not know what position he       Plaintiff's ages in 2017.
held, she did not know who supervised him, she has never
worked with him and has never seen him in person, she             107. The basis for Plaintiff's belief that she was treated
does not know what his salary grade is, and she does not          differently because of her age was “some clues from [Ms.
know whether he was a permanent or probationary employee.         Pulcher],” such as when Ms. Pulcher “mentioned something
Plaintiff also does not know his ethnic background.               about older people. She just didn't believe older people could
                                                                  do good job.”
99. The only basis for Plaintiff's belief that Mr. Shavel
was treated more favorably than her is that he was given          108. Specifically, Plaintiff alleges that Ms. Pulcher
a counseling memorandum about failing to complete a               commented that a receptionist, Donna, who is around
mandatory training rather than being terminated, while she        retirement age, “didn't know what she was doing.”
did not receive any memoranda before her termination.
                                                                  109. Plaintiff also alleges that Ms. Pulcher made a comment
100. However, Plaintiff does not know whether Mr. Shavel          about a “guy who's doing payroll” and how he needs to retire.
failed to complete other tasks or training beyond the one
related to the counseling memorandum.                             110. Ms. Pulcher denies ever making any comments about
                                                                  “Donna” or “a guy who's doing payroll” with respect to
101. Plaintiff also alleges that Kayla O'Hara was treated more    their age or ability to perform their job, and denies making
favorably than her because of her national origin. However,       any comments to Plaintiff during her employment about any
Plaintiff admitted that she does not know Ms. O'Hara’s            employees’ ages or how their ages impact their ability to
national origin (but she guesses that it is American), she        perform their jobs.
has never worked with Ms. O'Hara or observed her work
performance, she has never spoken with anyone who worked          111. Director Elfeldt was 57 years old at the time of Plaintiff's
with or supervised Ms. O'Hara, she does not know whether          termination.
Ms. O'Hara made similar mistakes to the ones that are detailed
in Plaintiff's own evaluations, and she does not know whether     112. Assistant Director Cathryn Piccirillo was 51 years old at
Ms. O'Hara was ever counseled about her time or attendance.       the time of Plaintiff's termination.
Additionally, unlike Plaintiff, who was hired as a Grade 14
Accountant Trainee, Ms. O'Hara was hired as a Grade 18            113. Ms. Farrell was 50 years old at the time of Plaintiff's
Senior Budget Analyst effective September 21, 2017.               termination.



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 51 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

                                                                  other regulatory considerations that were a feature of that
114. Associate Director of Human Resources Ms. Burrell was        specific position. (Id.)
48 years old at the time of Plaintiff's termination.
                                                                   *9 Second, Defendant argues that Plaintiff's national
115. Plaintiff was not the only employee of Asian descent         origin discrimination claim pursuant to Title VII should be
in the AFB at the time Plaintiff was employed there, and          dismissed. (Id. at 15-33.) Specifically, Defendant argues as
there are currently employees of Asian descent employed in        follows: (a) Plaintiff cannot establish a prima facie case
Defendant's Finance Bureau.                                       of discrimination regarding her termination because (i) she
                                                                  was not qualified for her position in that she did not meet
116. On April 7, 2017, Ms. Burrell sent a letter to               legitimate employer expectations of job performance as
Plaintiff indicating that she concurred with the termination      evidenced by the job evaluations showing unsatisfactory
recommendation effective close of business April 14, 2017.        performance, and (ii) the circumstances of her termination do
                                                                  not give rise to an inference of discriminatory intent given
117. On April 10, 2017, Plaintiff emailed Ms. Burrell and         that there was evidence that Plaintiff did many things wrong
stated that she felt Ms. Pulcher was an “inexperienced and        and there have been no comments alleged to have been made
inapt [sic] supervisor” who was not qualified and who did not     about her ethnic group, and, in particular, the other employees
provide her with proper training and help, as well as that she    identified by Plaintiff are not sufficiently similarly situated
felt that Ms. Pulcher was mean to her and that she had been       to her to raise such an inference; (b) even if Plaintiff can
discriminated against.                                            show a prima facie case, Defendant had a legitimate reason
                                                                  for terminating her employment, namely her repeated poor
118. Nowhere in the email of April 10, 2017, does Plaintiff       performance despite having meetings and reviews in which
mention that she felt discriminated against specifically based    she was informed of the ways in which she was not meeting
on her age or national origin.                                    expectations; and (c) Plaintiff cannot show that Defendant's
                                                                  legitimate reason for terminating her employment was a
119. At no point during her employment with Defendant did         pretext for discrimination because she has no evidence that
Plaintiff ever complain to Director Elfeldt that she believed     her national origin was even a factor in that decision, and her
she was being discriminated against in any way.                   own subjective belief that it was is not sufficient to sustain
                                                                  her claim. (Id.)

  C. Parties’ Briefing on Defendant's Motion for                  Third, Defendant argues that Plaintiff's age discrimination
  Summary Judgment                                                claim pursuant to the ADEA should be dismissed. (Id.
                                                                  at 33-43.) Specifically, Defendant argues as follows: (a)
           1. Defendant's Memorandum of Law                       Plaintiff cannot establish a prima facie case of discrimination
                                                                  regarding her termination because (i) she cannot show that she
Generally, in its motion for summary judgment, Defendant          was performing her job satisfactorily (as already discussed),
makes three arguments. (Dkt. No. 58, Attach. 1, at                and (ii) she cannot show that her termination occurred under
12-43 [Def.’s Mem. of Law].) First, Defendant argues              circumstance giving rise to an inference of discrimination
that Plaintiff's discrimination claims should be dismissed        based on her age given that the only alleged co-employee who
as untimely to the extent they are based on Defendant's           was younger than her is not sufficiently comparable, and any
failure to hire her for a position with the FMU in July           comments that may have been made by Ms. Pulcher about the
2016. (Id. at 12-15.) Specifically, Defendant argues that         ages of other employees were merely stray remarks and Ms.
this alleged act of discrimination occurred more than             Pulcher was nonetheless not the ultimate decisionmaker as to
300 days before Plaintiff filed her complaint with the            Plaintiff's termination; (b) even if Plaintiff can show a prima
NYSDHR on July 17, 2017, and thus any portion of her              facie case, Defendant had a legitimate reason for terminating
claims based on that alleged act of discrimination must be        her employment (as discussed above); and (c) Plaintiff cannot
dismissed. (Id.) Defendant additionally argues that, timeliness   show that Defendant's legitimate reason for terminating her
notwithstanding, Defendant's actions in not hiring her for that   employment was a pretext for discrimination because her
position in July 2016 were not based on discrimination, but       subjective belief that she was discriminated against and a few
rather because she lacked experience with federal grants and      stray remarks about employees other than Plaintiff do not



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 52 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

show that her age was the but-for cause of her termination.       that Defendant had requested or been granted permission to
(Id.)                                                             file an overlong brief with 10 additional pages, and that,
                                                                  because she was not aware of this, she “filed the motion of
                                                                  rejection and was waiting for the Judge's further directions
                                                                  about the allowable length.” (Id. at 1.) She argues that
     2. Plaintiff's Opposition Memorandum of Law
                                                                  Defendant's brief exceeds the extended page limit because
In her response to Defendant's motion, Plaintiff requests that    the Conclusion section was on page 36 of that brief and that
the Court deny that motion, noting the reasons she had needed     Conclusion section is “substantive enough to be counted.” (Id.
to request an extension in the past to file her response, and     at 2.) Plaintiff again requests that the Court deny Defendant's
noting that, “[w]hile preparing Plaintiff's Memorandum of         motion for being improperly overlong, noting that she
Law, I found out Defendant's Memorandum of Law did not            “completed [her] response to Defendant's Material Facts Not
follow L.R. 7.1. It was 36 pages in length, and it was 45 pages   in Dispute before [she] filed [her] rejection” and indicating
in total with Table of Contents and the cover page.” (Dkt.        that “I will submit my response in whole when Defendant
No. 67, at 1-2 [Pl.’s Opp'n Mem. of Law].) Plaintiff does not     submit [sic] proper memorandum of law or as further directed
address any of the substantive arguments made by Defendant,       by the court if otherwise.” (Id.)
nor does she submit any response to Defendant's Statement
of Material Facts, as already discussed above in Part I.B. of
this Decision and Order.                                                         5. Defendant's Letter-Motion
                                                                                 to Strike Plaintiff's Sur-Reply

                                                                  Defendant filed a motion to strike Plaintiff's sur-reply because
       3. Defendant's Reply Memorandum of Law
                                                                  such responses are not permitted without permission under
Generally, in its reply, Defendant makes three arguments.         the Local Rules of this Court, but that, even if the Court
(Dkt. No. 68 [Def.’s Reply].) First, Defendant argues that it     considers the sur-reply, Plaintiff was provided with a copy of
did not violate the Local Rules of Practice for this Court by     Defendant's request for additional pages for its memorandum
filing an overlong brief because the pages for the cover page,    and the Court's order granting that request was served on
the table of contents, and the signature block do not count       Plaintiff by regular mail, and thus she has no basis for
toward the overall page count, and Defendant's substantive        claiming she was not reasonably made aware of Defendant's
brief was 35 pages as allowed by this Court's Text Order of       increased page limit. (Dkt. No. 70.)
December 21, 2020. (Id. at 4.)

                                                                  II. LEGAL STANDARD GOVERNING A MOTION
Second, Defendant argues that the Court should accept its
                                                                  FOR SUMMARY JUDGMENT
asserted facts as true due to Plaintiff's failure to respond to
                                                                  Under Fed. R. Civ. P. 56, summary judgment is warranted if
its Statement of Material Facts as required by Local Rule
                                                                  “the movant shows that there is no genuine dispute as to any
56.1 because, even though Plaintiff is pro se, she was twice
                                                                  material fact and that the movant is entitled to a judgment as
provided notice of the consequences of failing to do so. (Id.
                                                                  a matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is
at 5-6.)
                                                                  “genuine” if “the [record] evidence is such that a reasonable
                                                                  jury could return a verdict for the [non-movant].” Anderson
Third, Defendant argues that Plaintiff's claims should be
deemed to have been abandoned because Plaintiff failed to         v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). 2 As for
address or oppose any of Defendant's legal arguments. (Id. at     the materiality requirement, a dispute of fact is “material” if
6-7.)                                                             it “might affect the outcome of the suit under the governing
                                                                  law .... Factual disputes that are irrelevant or unnecessary will
                                                                  not be counted.” Anderson, 477 U.S. at 248.

                  4. Plaintiff's Sur-Reply                        2       As a result, “[c]onclusory allegations, conjecture
 *10 Plaintiff also submitted a sur-reply without the                     and speculation ... are insufficient to create a
permission of the Court. (Dkt. No. 69 [Pl.’s Sur-Reply].)                 genuine issue of fact.” Kerzer v. Kingly Mfg., 156
In this sur-reply, Plaintiff asserts that she was not informed            F.3d 396, 400 (2d Cir. 1998) [citation omitted].


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            Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 53 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

           As the Supreme Court has explained, “[The non-            76 F.3d 483, 486 (2d Cir. 1996). Rather, as indicated above,
           movant] must do more than simply show that there          the Court must assure itself that, based on the undisputed
           is some metaphysical doubt as to the material             material facts, the law indeed warrants judgment for the
           facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith       movant. Champion, 76 F.3d at 486; Allen v. Comprehensive
           Radio Corp., 475 U.S. 574, 585-86 (1986).                 Analytical Group, Inc., 140 F. Supp.2d 229, 232 (N.D.N.Y.
                                                                     2001) (Scullin, C.J.); N.D.N.Y. L.R. 7.1(b)(3). What the non-
In determining whether a genuine issue of material fact exists,
                                                                     movant's failure to respond to the motion does is lighten the
the Court must resolve all ambiguities and draw all reasonable
                                                                     movant's burden.
inferences against the movant. Anderson, 477 U.S. at 255.
In addition, “[the movant] bears the initial responsibility of
                                                                     For these reasons, this Court has often enforced Local Rule
informing the district court of the basis for its motion, and
                                                                     56.1 by deeming facts set forth in a movant's statement
identifying those portions of the ... [record] which it believes
                                                                     of material facts to be admitted, where (1) those facts are
demonstrate[s] the absence of any genuine issue of material
                                                                     supported by evidence in the record, and (2) the non-movant
fact.” Celotex v. Catrett, 477 U.S. 317, 323-24 (1986).
However, when the movant has met its initial burden, the             has willfully failed to properly respond to that statement 6 –
non-movant must come forward with specific facts showing             even where the non-movant was proceeding pro se. 7
a genuine issue of material fact for trial. Fed. R. Civ. P. 56(a),
(c), (e). 3                                                          6      Among other things, Local Rule 56.1(b) requires
                                                                            that the non-movant file a response to the movant's
3                                                                           Statement of Material Facts, which admits or
           Among other things, Local Rule 7.1(a)(3) requires
           that the non-movant file a response to the movant's              denies each of the movant's factual assertions in
           Statement of Material Facts, which admits or                     matching numbered paragraphs, and supports any
           denies each of the movant's factual assertions in                denials with a specific citation to the record where
           matching number paragraphs, and supports any                     the factual issue arises. N.D.N.Y. L. R. 56.1(b).
           denials with a specific citation to the record where      7
                                                                            Cusamano, 604 F. Supp. 2d at 427 & n.6 (citing
           the factual issue arises. N.D.N.Y. L. R. 7.1(a)(3).
                                                                            cases).
Implied in the above-stated burden-shifting standard is the
                                                                     Similarly, in this District, where a non-movant has willfully
fact that, where a non-movant willfully fails to respond to a
                                                                     failed to respond to a movant's properly filed and facially
motion for summary judgment, a district court has no duty to
                                                                     meritorious memorandum of law, the non-movant is deemed
perform an independent review of the record to find proof of
                                                                     to have “consented” to the legal arguments contained in that
a factual dispute–even if that non-movant is proceeding pro
                                                                     memorandum of law under Local Rule 7.1(a)(3). 8 Stated
se. 255 (This is because the Court extends special solicitude
                                                                     another way, when a non-movant fails to oppose a legal
to the pro se litigant by ensuring that he or she has received
                                                                     argument asserted by a movant, the movant may succeed
notice of the consequences of failing to properly respond
                                                                     on the argument by showing that the argument possess
to the motion for summary judgment.). 4 As has often been            facial merit, which has appropriately been characterized as
recognized by both the Supreme Court and Second Circuit,             a “modest” burden. See N.D.N.Y. L.R. 7.1(a)(3) (“Where a
even pro se litigant must obey a district court's procedural         properly filed motion is unopposed and the Court determined
rules. 5                                                             that the moving party has met its burden to demonstrate
                                                                     entitlement to the relief requested therein ....”); Rusyniak
4                                                                    v. Gensini, 07-CV-0279, 2009 WL 3672105, at *1, n.1
           Cusamano v. Sobek, 604 F. Supp. 2d 416, 426 &
           n.2 (N.D.N.Y. 209) (Suddaby, J.) (citing cases).          (N.D.N.Y. Oct. 30, 2009) (Suddaby, J.) (collecting cases);
                                                                     Este-Green v. Astrue, 09-CV-0722, 2009 WL 2473509, at
5
           Cusamano, 604 F. Supp. 2d at 426-27 & n.4 (citing         *2 & n.3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting
           cases).                                                   cases).
 *11 Of course, when a non-movant willfully fails to respond
to a motion for summary judgment, “[t]he fact that there has         8
                                                                            See, e.g., Beers v. GMC, 97-CV-0482, 1999
been no [such] response ... does not ... [by itself] mean that              U.S. Dist. LEXIS 12285, at *27-31 (N.D.N.Y.
the motion is to be granted automatically.” Champion v. Artuz,              March 17, 1999) (McCurn, J.) (deeming plaintiff's


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 54 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

       failure, in his opposition papers, to oppose several       Contents and Authorities); In re Marina Dev., Inc., 05-
       arguments by defendants in their motion for                CV-1349, 2007 WL 9752855, at *1-2 (N.D.N.Y. Jan. 11,
       summary judgment as consent by plaintiff to the            2007) (Hurd, J.) (noting that the Local Rules applied to brief
       granting of summary judgment for defendants with           format in bankruptcy cases, and concluding that the appellees’
       regard to the claims that the arguments regarded,          briefs should therefore not exceed 25 pages, “exclusive of
       under Local Rule 7.1[b][3]; Devito v. Smithkline           pages containing the table of contents, table of citations or
       Beecham Corp., 02-CV-0745, 2004 WL 3691343,                similar material”). Additionally, although Plaintiff argues that
       at *3 (N.D.N.Y. Nov. 29, 2004) (McCurn, J.)                Defendant's one-sentence conclusion is “substantive enough
       (deeming plaintiff's failure to respond to “aspect”        to be counted,” the Court disagrees because that conclusion
       of defendant's motion to exclude expert testimony          is merely a brief restatement of Defendant's request that the
       as “a concession by plaintiff that the court should        Court grant its motion to dismiss Plaintiff's Second Amended
       exclude [the expert's] testimony” on that ground).         Complaint that contains no additional substantive argument.
                                                                  (Dkt. No. 58, Attach. 1, at 44 [Def.’s Mem. of Law].) Even
III. ANALYSIS                                                     if the conclusion were considered to be substantive, the
                                                                  proper course of action in this case would be to merely
   A. Whether Plaintiff's Sur-Reply Should Be Stricken            not consider any pages beyond the allowed amount, not
Although Defendant is correct that sur-replies are not            to strike the entire motion as Plaintiff requests. See Helen
permitted under Local Rule 56.1 without permission from           Cross v. Colvin, 16-CV-0111, 2016 WL 7011477, at *4
the Court, the Court finds that whether or not it considers       n.3 (N.D.N.Y. Dec. 1, 2016) (Suddaby, C.J.) (noting that,
Plaintiff's sur-reply is immaterial to the ultimate outcome of    “[b]ecause Plaintiff has exceeded the page limit, the Court
Defendant's motion because the arguments Plaintiff makes          will not consider the arguments contained in pages eleven
within that sur-reply are not meritorious.                        through fifteen of her counsel's reply affidavit”). The Court
                                                                  therefore finds that there is no basis for Plaintiff's arguments
 *12 Plaintiff's argument that she never received the             that Defendant's motion should be denied based on the length
Court's Text Order of December 21, 2020, is unpersuasive.         of its memorandum of law.
As Defendant argues, there is sufficient evidence that
Plaintiff was reasonably apprised of the Court's Text Order       Also unpersuasive is Plaintiff's argument that she has
granting Defendant's request for 10 additional pages for its      prepared a more detailed substantive response to Defendant's
memorandum. (Dkt. No. 48 [noting specifically that a copy         motion (including a response to Defendant's Statement
of the Text Order was served upon Plaintiff via regular           of Material Facts), but has not yet filed her “response
mail].) There is no indication that Plaintiff had changed         in whole” because she has been waiting for this Court's
mailing addresses, that the Text Order had been returned as       “further directions about the allowable length” of Defendant's
undeliverable, or that there has been any difficulty with her     memorandum of law. (Dkt. No. 69 [Pl.’s Sur-Reply].) Even
receiving mail throughout the course of this litigation. (See     considering Plaintiff's pro se status, there is no justification
Dkt. No. 1 [Pl.’s Comp.] [listing her address at the time of      for Plaintiff's blatant failure to comply with the Local Rules
filing in April 2018 as the same address on file with the Court   by essentially ignoring the Court's imposed deadlines and
as her current address].) As a result, there is no reason that    manufacturing her own procedure that she now expects the
Plaintiff should not have reasonably known about the request      Court to follow. Plaintiff was provided with notice that her
for (and grant of) the additional pages.                          response to Defendant's motion for summary judgment was
                                                                  due by February 19, 2021, a notice that she received because
Similarly, Plaintiff's argument that Defendant's motion           she subsequently requested (and was granted) two separate
should be denied because the non-substantive portions of          60-day extensions of time on that deadline, such that her
Defendant's memorandum were in excess of 35 pages is              response was not ultimately due until June 21, 2021. (Dkt.
unavailing. Non-substantive matter such as cover page, table      Nos. 59, 60, 61, 62, 64.) The Notification of the Consequences
of contents, and signature block do not count toward the          of Failing to Respond to a Summary Judgment form that
substantive page limit. See Moore v. Syracuse City Sch. Dist.,    was filed along with Defendant's motion clearly states that
05-CV-0005, 2009 WL 890576, at *2 n.8 (N.D.N.Y. Mar.              a failure to file a proper response to the motion including
31, 2009) (Scullin, J.) (noting that it repaginated plaintiff's   a response to the Statement of Material Facts, copies of
memorandum by starting page one following the Table of            all pertinent record evidence, and a response memorandum



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 55 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

containing legal arguments could result in dismissal of some
or all of the claims. (Dkt. No. 58, Attach. 2.)                        As a result, the Court denies Defendant's motion to strike the
                                                                       sur-reply because the sur-reply offers Plaintiff no relief even
 *13 Despite being made aware of the need to respond                   if considered.
fully and despite being granted multiple lengthy extensions
to do so, Plaintiff, without any permission or direction from
the Court, chose to instead file a brief “motion” to dismiss             B. Whether Plaintiff's Discrimination Claim Based on
Defendant's memorandum due to an alleged failure to comply               the July 2016 Failure to Hire Must Be Dismissed as
with the page limits in the Local Rules and seemingly                    Untimely
expected (again, without any permission or direction from              After careful consideration, the Court answers this question
the Court) that such counter-motion held the deadline for              in the affirmative for the reasons stated in Defendant's
submitting a substantive response to Defendant's motion in             memorandum of law. (Dkt. No. 58, Attach. 1 [Def.’s Mem.
abeyance. However, Plaintiff's misunderstanding of the rules           of Law].) To those reasons, the Court adds the following
of procedure based on her pro se status do not excuse                  analysis.
her failure to comply with those rules of procedure. See
Alzawahra v. Albany Medical Ctr., 546 F. App'x 53, 54 (2d              “To sustain Title VII or ADEA claims, a plaintiff must file
Cir. 2013) (noting that, “[a]lthough a pro se litigant is entitled     administrative charges with the EEOC within 300 days of the
to a liberal construction of his filings, ... his pro se status does   alleged act of discrimination.” Betterson v. HSBC Bank USA,
not relieve him of his obligation to comply with the relevant          N.A., 661 F. App'x 87, 89 (2d Cir. 2016) (citing Van Zant v.
procedural rules”). This is particularly so given that Plaintiff       KLM Royal Dutch Airlines, 80 F.3d 708, 712 [2d Cir. 1996];
was informed of what she was required to submit in response            Tewksbury v. Ottaway Newspapers, 192 F.3d 322, 328 [2d Cir.
to Defendant's motion, and the consequences for failing to do          1999]). Thus, any conduct that occurred more than 300 days
so.                                                                    before the charge is filed is barred in a federal lawsuit unless
                                                                       an exception applies. Betterson, 661 F. App'x at 89.
Finally, the Court finds that it would not serve the interests
of judicial efficiency to allow Plaintiff to submit any further        Here, Plaintiff filed her complaint with the NYSDHR on
substantive filings in response to Defendant's motion for              July 14, 2017. (Dkt. No. 58, Attach. 12, at 1, 23.) As a
summary judgment at this point. As already noted, Plaintiff            result, only alleged acts of discrimination that occurred on or
was granted an additional 120 days in which to file her                after September 17, 2016, are covered under that complaint.
response. In granting her second request to extend that                Because the failure to hire that Plaintiff alleges occurred in
deadline, the Court stated that no more extensions would be            July 2016, any claim related to that alleged action is barred
granted without documentary evidence that extension was                unless Plaintiff meets one of the defined exceptions to the
warranted due to medical issues, and noted that this case has          300-day requirement.
been pending for more than three years. (Dkt. No. 64 [Text
Order filed Apr. 19, 2021].) Because Plaintiff's response and           *14 Recognized exceptions to the 300-day requirement
sur-reply indicate that her failure to file a full response by         include waiver, estoppel, equitable tolling, or the existence of
the deadline was due to her decision to wait to see what the           a continuing violation. Barr v. Bass Pro Outdoor World, LLC,
Court ruled as to the propriety of the length of Defendant's           17-CV-0378, 2019 WL 6828987, at *9 (N.D.N.Y. Dec. 13,
memorandum rather than due to any medical or other issue,              2019) (Sannes, J.). None of these exceptions are applicable
there is no basis for allowing Plaintiff additional time to            here. There is no apparent basis for applying waiver or
submit a full and proper response. Notably, allowing Plaintiff         estoppel.
to do so would require Defendant to expend additional
time and effort to prepare yet another reply memorandum                As to equitable tolling, a plaintiff must show that (1) she has
despite having already filed a reply and a motion to strike in         been pursuing her rights diligently, but (2) some extraordinary
response to Plaintiff's sur-reply. Lastly, the Court notes that,       circumstance stood in the way and prevented timely filing.
having reviewed the record on this motion, it is unlikely that         Barr, 2019 WL 6828987, at *9 (citing Bolarinwa v. Williams,
providing Plaintiff with additional opportunity to respond to          593 F.3d 226, 231 [2d Cir. 2010]). There is no indication of
Defendant's motion would result in a different outcome on              any circumstances between July 2016 and September 2016
that motion.                                                           that would have prevented her from filing a charge as to the



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 56 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

allegedly discriminatory failure to hire in July 2016, much          to show that the defendant's explanation is a pretext for
less an extraordinary one.                                           discrimination. Id. As to this last step, “once the [defendant]
                                                                     has made a showing of a neutral reason for the complained
There is also no basis for applying the continuing violation         of action, to defeat summary judgment ... the [plaintiff's]
doctrine here. “Under the continuing violation exception to          admissible evidence must show circumstances that would be
the ... limitations period, if a ... plaintiff files an EEOC         sufficient to permit a rational finder of fact to infer that the
charge that is timely as to any incident of discrimination           [defendant's] employment decision was more likely than not
in furtherance of an ongoing policy of discrimination, all           based in whole or in part on discrimination.” Id. (quoting
claims of discrimination under the policy would be timely            Terry v. Ashcroft, 336 F.3d 128, 137 [2d Cir. 2003]).
even if they would be untimely standing alone.” Chin v. Port
Auth. Of New York & New Jersey, 685 F.3d 135, 156 (2d                 *15 “To establish a prima facie case of discrimination
Cir. 2012). However, “discrete discriminatory acts are not           under Title VII, a plaintiff must demonstrate [the following
actionable if time barred, even when they are related to acts        four elements]: (1) membership in a protected class; (2)
alleged in timely filed charges.” Nat'l R.R. Passenger Corp.         satisfactory job performance; (3) an adverse employment
v. Morgan, 536 U.S. 101, 113 (2002). A discrete act is one           action; and (4) circumstances surrounding the employment
that “necessarily ‘constitutes a separate actionable unlawful        action give rise to an inference of discrimination.”
employment practice’ ” that would be individually actionable,        Fahrenkrug v. Verizon Servs. Corp., 652 F. App.’x 54, 56
such as “termination, failure to promote, denial of transfer, or     (2d Cir. 2016). In this case, Defendant concedes that Plaintiff
refusal to hire.” Chin, 685 F.3d at 157 (citing Morgan, 536          has established the first and third of these requirements, but
U.S. at 114). It is well recognized that discrete acts that fall     disputes that Plaintiff can show that (a) she had satisfactory
outside the limitations period “cannot be brought within it,         job performance, and (b) her termination occurred under
even when undertaken pursuant to a general policy that results       circumstances giving rise to an inference of discrimination.
in other discrete acts occurring within the limitations period.”
Chin, 685 F.3d at 157). Because the alleged failure to hire is a     As to the second element, “[i]n determining whether an
discrete act that was actionable in its own right, the continuing    employee's job performance is satisfactory, courts may—
violation doctrine cannot be used to make it timely.                 as they often must—rely on the evaluations rendered by
                                                                     supervisors,” because “job performance cannot be assessed in
For all of the above stated reasons, the Court finds that the        a vacuum” and “the ultimate inquiry is whether an employee's
portions of Plaintiff's discrimination claims that are based on      performance ‘meets his employer's legitimate expectations.’
the failure to hire her in July 2016 are barred due to her failure   ” Meiri v. Dacon, 759 F.2d 989, 995 (2d Cir. 1985); see
to file a timely charge as to that act and must be dismissed.        Manko v. Deutsche Bank, 554 F. Supp. 2d 467, 477 (S.D.N.Y.
                                                                     2008) (noting that “courts routinely rely on evaluations
                                                                     from the plaintiff's supervisors in determining satisfactory
  C. Whether Defendant's Motion Should Be Granted                    job performance”). Whether performance is satisfactory
  as to Plaintiff's Title VII Claim                                  “depends on the employer's criteria for the performance of
After careful consideration, the Court answers this question         the job—not the standards that may seem reasonable to the
in the affirmative for the reasons stated in Defendant's             jury or judge.” Thornley v. Penton Publishers, 104 F.3d
memorandum of law. (Dkt. No. 58, Attach. 1 [Def.’s Mem.              26, 29 (2d Cir. 1997). “Although courts must refrain from
of Law].) To those reasons, the Court adds the following             intruding into an employer's policy apparatus or second-
analysis.                                                            guessing a business's decisionmaking process, ... they must
                                                                     also allow employees ‘to show that the employer's demands
Claims for discrimination under Title VII are subject to the         were illegitimate or arbitrary.’ ” Meiri, 759 F.2d at 995.
McDonnell Douglas burden-shifting standard. Kirkland v.
Cablevision Systems, 760 F.3d 223, 225 (2d Cir. 2014). As            Here, it is undisputed that Plaintiff was a probationary
an initial matter, the plaintiff must proffer sufficient evidence    trainee employee during the relevant time period, and
to state a prima facie case of discrimination. Kirkland, 760         thus subject to termination if she did not meet employer
F.3d at 225. If the plaintiff can make a prima facie case of         expectations. (Dkt. No. 58, Attach. 3, at ¶ 5 [Arbab
discrimination, the burden shifts to the defendant to provide        Decl.]; Dkt. No. 58, Attach. 9.) Under the terms of this
a legitimate, non-discriminatory reason for its actions. Id. If      probationary trainee employment, her supervisors were
the defendant does so, the burden shift back to the plaintiff


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 57 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

required to provide an Individual Development Plan and             Farrell provided fairly significant feedback and reminders to
quarterly probationary evaluations as well as traineeship          Plaintiff about her tasks and duties. (Dkt. No. 58, Attachs.
evaluations at six-month intervals during the traineeship          28-33, 39-41, 43, 45-54.) Based on the record before the
period. (Dkt. No. 58, Attach. 3, at ¶ 6 [Arbab Decl.].)            Court, no reasonable factfinder could conclude that Plaintiff
Plaintiff was provided with her Individual Development Plan        performed her job satisfactorily.
(which she acknowledged with a signature) on October 25,
2016; this document outlined activities and performance            In the alternative, the Court finds that Plaintiff also has not
standards for her Grade 14 position. (Dkt. No. 58, Attach.         shown that the circumstances surrounding her termination
5.) On January 6, 2017, Plaintiff was provided with a              give rise to an inference of discrimination. Notably, the
three-month probation evaluation signed by Ms. Pulcher             record is devoid of any indication that any of Defendant's
and Ms. Farrell, in which Plaintiff was rated as “needs            employees ever referenced Plaintiff's national origin during
improvement” in all listed areas except “relationships,”           her employment or made any kind of disparaging remarks
with details related to those areas written in the comments        about her national origin. Additionally, the three employees
section that highlight the specific tasks and ways in which        that Plaintiff holds out as comparators who received
Plaintiff was noted to not be performing up to expected            better treatment because they were not terminated are not
standards. (Dkt. No. 58, Attach. 6.) On April 3, 2017,             sufficiently similar to her to give rise to an inference of
Plaintiff was provided with a six-month probation evaluation       discrimination based on national origin for two reasons. First,
signed by Ms. Pulcher and Ms. Farrell, in which it was             Plaintiff's deposition makes clear that she is not even certain
noted that Plaintiff was rated as “unsatisfactory” in the          what the national origins of these individuals are, but she
areas of management of work assignments, quality of work,          merely assumes that they are “American.” (Dkt. No. 58,
productivity, personal work characteristics, and problem           Attach. 15, at 102-03, 105-06, 109 [Pl.’s Dep.].) Second,
solving/decision-making, “needs improvement” in the areas          there is no evidence to show that these individuals were
of attendance and communications, and “meets expectations”         in comparable positions with comparable responsibilities
in the area of relationships; again, the evaluation includes       and that they made comparable mistakes to those made by
written comments regarding the specific tasks and ways             Plaintiff. To raise an inference of discrimination from more
in which Plaintiff was not performing up to specific               favorable treatment towards similarly situated individuals
expectations. (Dkt. No. 58, Attach. 7.) Plaintiff was also         outside of the protected group, “a plaintiff ‘must show she was
provided with a six-month performance evaluation, in which         similarly situated in all material respects to the individuals
concerns about her performance as to the activities and tasks      with whom she seeks to compare herself.’ ” De Jesus-Hall v.
outlined in the Individual Development Plan were noted.            New York Unified Court Sys., 2021 WL 1259581, at *1 (2d
(Dkt. No. 58, Attach. 8.)                                          Cir. 2021) (quoting Graham v. Long Island R.R., 230 F.3d 34,
                                                                   39 [2d Cir. 2000]).
 *16 Based on the evidence, it is clear both what the standards
of Plaintiff's position were and the reasons that Plaintiff's      As to Ms. O'Hara, although her job tasks and objectives are
performance did not meet those standards. As discussed             similar to Plaintiff's, the evidence shows that Ms. O'Hara was
above in Part I.B. of this Decision and Order, Plaintiff herself   hired as Grade 18 Senior Budget Analyst/Senior Accountant
acknowledged that she made some mistakes in the course             (while Plaintiff was a Grade 14 Senior Accountant Trainee)
of her performance of her duties, and additional evidence          and her performance reviews show that she overwhelmingly
from Ms. Pulcher and Ms. Farrell substantiates multiple            performed tasks up to expectations, with the exception
specific mistakes. (Dkt. No. 58, Attachs. 28-33, 44, 47-54.)       of “needs improvement” on her three-month probation
Additionally, there is nothing in the record to show that          evaluation in the areas of managing work assignments and
these expectations were in any way illegitimate or arbitrary.      problem solving/decision-making, where it was noted that she
Plaintiff has offered no evidence to support her claim but her     needed to improve on working more efficiently to complete
own subjective belief that her performance was not as bad as       her assignments in a timely manner and in completing
her supervisors stated. In an email to Ms. Arbab on April 10,      analyses and problem solving more independently, and
2017, Plaintiff stated that she believed Ms. Pulcher provided      “needs improvement” on her six-month probation evaluation
inadequate training or communication to her; however, there        in the area of problem solving/decision-making, where it was
is no evidence to substantiate this subjective belief and the      noted she needed to improve on completing analyses and
undisputed record reflects that both Ms. Pulcher and Ms.           problem solving more independently; it was noted that she



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 58 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

had improved in these areas and was meeting expectations by           that the treatment Mr. Shavel received raises an inference of
the time of her nine-month probation evaluation. (Dkt. No.            discrimination.
58, Attach. 58.) The evidence therefore shows that, even if
Plaintiff and Ms. O'Hara performed the same or similar jobs,          Because Plaintiff has not provided evidence which can prove
Ms. O'Hara did so with fewer mistakes and she gradually               a prima facie case of national origin discrimination under
improved her performance over the course of the documented            Title VII and because there is no outstanding issue of material
time, whereas Plaintiff's evaluations showed that she made far        fact evident from the parties’ submissions, the Court grants
more extensive mistakes and did not show improvement. As              Defendant's motion for summary judgment on this claim.
a result, the Court finds that Ms. O'Hara is not sufficiently
similar and thus the disparate treatment between her and
Plaintiff would not allow a reasonable fact finder to infer             D. Whether Defendant's Motion Should Be Granted
discrimination.                                                         as to Plaintiff's ADEA Claim
                                                                      After careful consideration, the Court answers this question
 *17 As to Mr. Deitz, he was a Grade 18 Senior Accountant             in the affirmative for the reasons stated in Defendant's
in a different section or unit than Plaintiff, and his listed tasks   memorandum of law. (Dkt. No. 58, Attach. 1 [Def.’s Mem.
and objectives are not similar to those listed in Plaintiff's         of Law].) To those reasons, the Court adds the following
Individual Development Plan. (Compare Dkt. No. 25, at                 analysis.
21-24 with Dkt. No. 58, Attach. 5, at 1-2; see Dkt. No. 58,
Attach. 15, at 111-12 [Pl.’s Dep.] [testifying that she did not do    “ ‘In order to establish a prima facie case of age
many of the tasks listed on Mr. Deitz's tasks and objectives list     discrimination,’ the plaintiff ‘must show (1) that she was
and admitting that his responsibilities were “different” than         within the protected age group, (2) that she was qualified for
hers].) Additionally, Mr. Deitz was supervised by Melinda             the position, (3) that she experienced adverse employment
Hansen and Michelle Daly, not Ms. Pulcher and Ms. Farrell,            action, and (4) that such action occurred under circumstances
and a summary of his performance completed by Ms. Daly                giving rise to an inference of discrimination.’ ” Green v. Town
indicates that Mr. Deitz performed his job satisfactorily in          of East Haven, 952 F.3d 394, 403 (2d Cir. 2020) (quoting
all noted respects. (Dkt. No. 25, at 24, 26-27.) Because there        Gorzynski v. JetBlue Airways Corp., 596 F.3d 93, 107 [2d
is no evidence that Mr. Deitz was a trainee, the evidence             Cir. 2010]). In this case, Defendant concedes that Plaintiff
shows that he had different job responsibilities and different        has established the first and third of these requirements, but
supervisors than Plaintiff, and there is no evidence of ongoing       disputes that Plaintiff can show that she (a) was qualified
job performance issues, the Court finds that no reasonable fact       for the position, and (b) her termination occurred under
finder could conclude that the treatment Mr. Deitz received           circumstances giving rise to an inference of discrimination.
raises an inference of discrimination.
                                                                      Regarding whether Plaintiff was qualified, under the law of
As to Mr. Shavel, there is little evidence about the details          this Circuit, “a plaintiff only needs to demonstrate that she
of his employment. Plaintiff's only allegation regarding Mr.          possesses the basic skills necessary for performance of the
Shavel is that he was given a counseling memorandum                   job.” Sista v. CDC Ixis N. Am., Inc., 445 F.3d 161, 171
for failing to complete mandatory training, but did not               (2d Cir. 2006) (quoting Owens v. New York City Housing
have his employment terminated. (Dkt. No. 25, at 31.)                 Auth., 934 F.2d 405, 409 [2d Cir 1991]). Notably, although
However, there is no evidence to suggest that Mr. Shavel had          misconduct is not a basis for finding an employee lacks the
engaged in any other actions that made his job performance            basic qualifications for a position, evidence of performance
unsatisfactory, much less that he committed mistakes similar          based on evaluations of an employee's work is appropriate
to those documented related to Plaintiff's job performance.           evidence for making that determination. Owens, 934 F.2d
Additionally, there is no evidence to suggest that Mr. Shavel         at 409 (clarifying that it is the ability to perform job duties
was a trainee employee or that he worked in a similar position        that is important, not whether the conduct is inappropriate
or with similar tasks and objectives as Plaintiff's position,         or offensive); Ralkin v. New York City Transit Auth., 62
and the counseling memorandum suggests that Mr. Shavel                F. Supp. 2d 989, 998 (E.D.N.Y. 1999) (finding summary
was supervised in some way by Ms. Hansen, not Ms. Pulcher             judgment appropriate on the issue of whether the plaintiff was
or Ms. Farrell. (Dkt. No. 25, at 31.) Based on the evidence,          qualified for the position because there was no “competing
the Court finds that no reasonable fact finder could conclude         evidence” against the unsatisfactory performance evaluations
                                                                      to create an issue of fact about the plaintiff's performance,


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 59 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

and no evidence that the negative evaluations were unfair          person who made the decision to hire, it is difficult to impute
or incorrect). Here, Plaintiff has offered no evidence that        to her an invidious motivation that would be inconsistent with
the performance evaluations were inaccurate other than her         the decision to hire.” Schnabel v. Abramson, 232 F.3d 83, 91
own general assertions at her deposition that she does not         (2d Cir. 2000) (quoting Grady v. Affiliated Cent., Inc., 130
believe they accurately reflect her performance. Because           F.3d 553, 560 [2d Cir. 1997]); see also Downey v. Adloox, Inc.,
her unsubstantiated assertions and beliefs cannot outweigh         789 F. App'x 903, 907 (2d Cir. 2019) (affirming district court's
the other evidence, the Court finds that Plaintiff has not         dismissal of age discrimination claim based in part on the fact
sufficiently shown that there is a genuine dispute of material     that plaintiffs were hired and fired by the same executives
fact about whether she was qualified for her position as that      within a short period of time). Here, Plaintiff's hiring was
term is defined by the law.                                        prompted by a request from Ms. Farrell, and Ms. Farrell
                                                                   also was one of the persons who approved her termination
 *18 Regarding whether Plaintiff has raised an inference           approximately six months later. (Dkt. No. 58, Attach. 25, at
of discrimination, as already discussed above in Part III.C.       ¶¶ 5, 27 [Farrell Decl.].) Although it is unclear who precisely
of this Decision and Order, Plaintiff's attempt to show            had the last authoritative say about Plaintiff's termination,
that she was treated less favorably than younger similarly         Ms. Farrell's involvement in both Plaintiff's hiring and firing
situated individuals is unavailing. Notably, it is undisputed      is a factor to consider in determining whether the evidence
that Ms. O'Hara was the only individual of the three               can be reasonably interpreted as raising an inference of
named that was not as old or older than Plaintiff. However,        discrimination based on age.
as discussed previously, Ms. O'Hara is nonetheless not
sufficiently similarly situated to Plaintiff because there is no   Unlike the national origin claim, which is unsupported by
evidence that Ms. O'Hara made the same or similar mistakes         any evidence of statements made by Plaintiff's supervisors
as Plaintiff did at the level and frequency at which Plaintiff     about her or other employee's national origins, there is a
made those mistakes. Rather, the evidence shows that Ms.           genuine dispute of material fact as to whether Ms. Pulcher
O'Hara was reported to have made fewer overall mistakes            made comments to Plaintiff about certain other employees
and that she improved with each probation evaluation that          being too old to do their jobs effectively. Plaintiff asserts
was conducted. It is undisputed that Plaintiff is not personally   that Ms. Pulcher made such comments, while Ms. Pulcher
familiar with Ms. O'Hara or her work abilities, and that           denies making such comments. It is undisputed that the
Plaintiff has no knowledge as to how well or not Ms.               two employees about whom Ms. Pulcher allegedly made the
O'Hara performed her job on a day-to-day basis. As a result,       comments were at, near, or beyond retirement age, while
disparate treatment here does not give rise to an inference of     Plaintiff was 45 at the time she was employed by Defendant.
discrimination based on Plaintiff's age any more than it does      (Dkt. No. 58, Attach. 15, at 114-18 [Pl.’s Dep.] [testifying
related to her national origin.                                    that Ms. Pulcher said that the employees in question did
                                                                   not know what they were doing and should have retired].)
The Court also acknowledges Defendant's correct argument           However, even if a fact finder were to accept Plaintiff's
that many courts recognize that “an allegation that a              testimony that Ms. Pulcher made these comments, it would
decision is motivated by age animus is weakened when the           be insufficient to raise an inference of discrimination in light
decisionmakers are of the protected class,” and also where         of all of the other evidence, including the fact that Ms. Farrell
“Plaintiff was well within the protected age group when she        (who was not alleged to have made any comments about
was hired.” Ehrbar v. Forest Hills Hosp., 131 F. Supp. 3d 5,       age) was personally aware of Plaintiff's work performance
25 (E.D.N.Y. 2015) (collecting cases). However, these factors      through working directly with her, and also signed Plaintiff's
are not dispositive. Ehrbar, 131 F. Supp. 3d at 26. Here,          probationary evaluations and recommended her termination.
Plaintiff was within the protected age group when she was          Put another way, even if Ms. Pulcher had made comments
hired, and Ms. Farrell, who was 50 at the relevant time,           suggesting possible age bias, those comments and any
approved her termination, as did Ms. Burrell, who was 48           inference of discrimination on her part cannot be imputed
at the relevant time. (Dkt. No. 58, Attach. 3, at ¶ 13 [Arbab      to Ms. Farrell in the absence of evidence she was aware
Decl.]; Dkt. No. 58, Attach. 25, at ¶¶ 5, 29 [Farrell Decl.].)     of any bias Ms. Pulcher may have held, particularly given
Ms. Pulcher, however, was not in the protected age group.          that Ms. Farrell was directly and independently familiar with
(Dkt. No. 58, Attach. 3, at ¶ 13 [Arbab Decl.].) Additionally,     Plaintiff's performance issues. As a result, the Court finds that
“where the person who made the decision to fire was the same       Plaintiff has not established that a reasonable fact finder could



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 60 of 221
Cao-Bossa v. New York State Department of Labor, Slip Copy (2021)
2021 WL 3674745

                                                                       evidence discussed above related to Plaintiff's failure to show
conclude there was an inference of discrimination even if they
                                                                       an inference of discrimination. No reasonable fact finder
resolved the issue about Ms. Pulcher's comments in Plaintiff's
                                                                       could conclude that Plaintiff would not have been terminated
favor.
                                                                       despite her performance reviews if not for her age.
 *19 In the alternative, even if a reasonable fact finder
                                                                       Because Plaintiff cannot establish a prima facie case
could conclude that Plaintiff was qualified and Ms. Pulcher's
                                                                       and cannot show that her age was the but-for cause of
statements raised an inference of discrimination, denial of
                                                                       her termination, the Court grants Defendant's motion for
summary judgment is inappropriate here because Plaintiff
                                                                       summary judgment on this claim.
cannot meet her ultimate burden to show that Defendant's
proffered non-discriminatory explanation (i.e., that Plaintiff's
                                                                       ACCORDINGLY, it is
performance was poor) was a pretext for discrimination. To
establish a claim for discrimination under the ADEA, the
                                                                       ORDERED that Defendant's motion for summary judgment
plaintiff “must prove, by a preponderance of the evidence,
                                                                       (Dkt. No. 58) is GRANTED; and it is further
that age was the ‘but-for’ cause of the challenged adverse
employment action and not just a contributing or motivating
                                                                       ORDERED that Plaintiff's claims for national origin and
factor.” Green, 952 F.3d at 403 (citing Gorzynski, 596 F.3d
                                                                       age discrimination pursuant to Title VII and the ADEA are
at 106). In other words, Plaintiff's age does not need to have
                                                                       DISMISSED; and it is further
been the only consideration, but rather she still must show
that she would not have been terminated without her age
                                                                       ORDERED that Plaintiff's Second Amended Complaint
being considered. Perez v. Cnty of Rensselaer, New York,
                                                                       (Dkt. No. 25) is DISMISSED.
14-CV-0950, 2018 WL 3420014, at *4 (N.D.N.Y. July 13,
2018) (Sharpe, J.) (citing Delaney v. Bank of Am. Corp., 766
F.3d 163, 169 [2d Cir. 2014]). A few isolated comments that            All Citations
were not even directed at Plaintiff are insufficient to allow
a reasonable fact finder to conclude that Plaintiff's age was          Slip Copy, 2021 WL 3674745
the but-for cause of her termination in light of all of the

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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 61 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

                                                                   55. This Court accepted the Report and Recommendation and
                                                                   Order in its entirety and directed Plaintiff to file an amended
      KeyCite Yellow Flag - Negative Treatment                     complaint to “include only one cause of action a procedural
Distinguished by McDonald v. Zerniak, N.D.N.Y., November 4, 2016
                                                                   due process claim in connection with his disciplinary hearing
                                                                   and one Defendant hearing officer Call .” See Dkt. No. 58 at
                   2014 WL 5475293
                                                                   4–5.
      Only the Westlaw citation is currently available.
               United States District Court,
                                                                   Plaintiff thereafter filed his amended complaint and requested
                     N.D. New York.
                                                                   compensatory and punitive damages. See Dkt. No. 64,
           Charles McALLISTER also known                           Amended Complaint at 4. In this amended complaint, Plaintiff
            as Charles McCallister, Plaintiff,                     alleged that Defendant violated his constitutional rights under
                                                                   the First, Eighth and Fourteenth Amendments. See Dkt. No.
                          v.
                                                                   64, Amended Complaint at ¶¶ 33, 34, 43.
          Harold CALL, Vocational Supervisor,
         Mohawk Correctional Facility, Defendant.
                                                                   On May 9, 2014, Defendant filed a motion for summary
                 No. 9:10–CV–610 (FJS/CFH).                        judgment pursuant to Rule 56 of the Federal Rules of Civil
                                |                                  Procedure. See Dkt. No. 74. In a Report–Recommendation
                     Signed Oct. 28, 2014.                         and Order dated October 9, 2014, Magistrate Judge Hummel
                                |                                  recommended that this Court grant Defendant's motion in
                      Filed Oct. 29, 2014.                         part and deny his motion in part. See Dkt. No. 81 at
                                                                   33. Plaintiff filed objections to Magistrate Judge Hummel's
Attorneys and Law Firms                                            recommendations. See Dkt. No. 83.

Charles McAllister, Westbury, NY, pro se.                          Where a party makes specific objections to portions of a
                                                                   magistrate judge's report and recommendation, the court
Hon. Eric T. Schneiderman, Office of the New York State
                                                                   conducts a de novo review of those recommendations. See
Attorney General, The Capitol, Keith J. Starlin, AAG, of
                                                                   Trombley v. Oneill, No. 8:11–CV–0569, 2011 WL 5881781,
Counsel, Albany, NY, for Defendant.
                                                                   *2 (N.D.N.Y. Nov. 23, 2011) (citing Fed.R.Civ.P. 72(b)
                                                                   (2); 28 U.S.C. § 636(b)(1)(C)). Where a party makes no
                                                                   objections or makes only conclusory or general objections,
                           ORDER                                   however, the court reviews the report and recommendation
                                                                   for “clear error” only. See Salmini v. Astrue, 3:06–CV–
SCULLIN, Senior District Judge.
                                                                   458, 2009 WL 1794741, *1 (N.D.N.Y. June 23, 2009)
*1 Currently before the Court are Magistrate Judge                 (quotation omitted). After conducting the appropriate review,
Hummel's October 9, 2014 Report–Recommendation and                 a district court may decide to accept, reject, or modify those
Order, see Dkt. No. 81, and Plaintiffs objections thereto, see     recommendations. See Linares v. Mahunik, No. 9:05–CV–
Dkt. No. 83.                                                       625, 2009 WL 3165660, *10 (N.D.N.Y. Sept. 29, 2009)
                                                                   (quoting 28 U.S.C. § 636(b)(1)(C)).
Plaintiff, a former inmate who was, at all relevant times, in
the custody of the New York Department of Corrections and          Although Plaintiff's objections are, in most respects, general
Community Supervision, commenced this action pursuant              or conclusory, given his pro se status, the Court has conducted
to 42 U.S.C. § 1983. In his original complaint, Plaintiff          a de novo review of Magistrate Judge Hummel's Report–
asserted claims against Brian Fischer, Lucien J. LeClaire,         Recommendation and Order. Having completed its review,
Patricia LeConey, Carol Woughter, and John and Jane Does.          the Court hereby
Defendants moved for summary judgment. See Dkt. No.
49. By Report–Recommendation and Order dated July 6,                *2 ORDERS that Magistrate Judge Hummel's October 9,
2012, Magistrate Judge Homer recommended that this Court           2014 Report–Recommendation and Order is ACCEPTED
dismiss all claims against the named individuals and direct        in its entirety for the reasons stated therein; and the Court
Plaintiff to join Harold Call as a Defendant. See Dkt. No.         further



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 62 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

                                                                 were dismissed; and (2) defendant was directed to join
ORDERS that Defendant's motion for summary judgment is           Call, who was identified in the motion papers as a John
GRANTED in part and DENIED in part; and the Court                Doe defendant. Dkt. No. 55; Dkt. No. 58. The report and
further                                                          recommendation was accepted in its entirety, and McAllister
                                                                 was directed to file an amended complaint to “include only
ORDERS that Plaintiff's First Amendment claims, his Eighth       one cause of action—a procedural due process claim in
Amendment claims, and his challenge to the constitutionality     connection with his disciplinary hearing—and one Defendant
of Directive 4913 are DISMISSED; and the Court further           —hearing officer Call.” Dkt. No. 58 at 4. McAllister
                                                                 thereafter filed his amended complaint wherein he requested
ORDERS that, to the extent that Plaintiff has asserted claims    punitive and compensatory damages. Am. Compl. at 4.
against Defendant in his official capacity, those official-      Presently pending is Call's motion for summary judgment on
capacity claims are DISMISSED; and the Court further             the amended complaint pursuant to Fed.R.Civ.P. 56. Dkt. No.
                                                                 74. McAllister did not respond. For the following reasons, it is
ORDERS that Defendant's motion for summary judgment is           recommended that Call's motion be granted in part and denied
DENIED with respect to Plaintiff's Fourteenth Amendment          in part.
due process claims and with respect to Defendant's qualified
immunity defense; and the Court further                          2      McAllister is no longer incarcerated and is
                                                                        currently under the supervision of DOCCS.
ORDERS that this matter is referred to Magistrate Judge
Hummel for all further pretrial matters; and the Court further
                                                                                     I. Failure to Respond
ORDERS that the Clerk of the Court shall serve a copy of
this Order on the parties in accordance with the Local Rules.    The Court notified McAllister of the response deadline and
                                                                 extended the deadline for his opposition papers on two
                                                                 occasions. Dkt. No. 75; Dkt. No. 77; Dkt. No. 80. Call also
IT IS SO ORDERED.                                                provided notice of the consequence of failing to respond to
                                                                 the motion for summary judgment in his motion papers. Dkt.
                                                                 No. 74–1. Despite these notices and extensions, McAllister
    REPORT–RECOMMENDATION AND ORDER 1
                                                                 did not respond.
1      This matter was referred to the undersigned for
                                                                  *3 Summary judgment should not be entered by default
       report and recommendation pursuant to 28 U.S.C.
                                                                 against a pro se plaintiff who has not been given any notice
       § 636(b) and N.D.N.Y.L.R. 72.3(c).
                                                                 that failure to respond will be deemed a default.” Champion
                                                                 v. Artuz, 76 F.3d 483, 486 (2d Cir.1996). Thus, “[t]he fact
CHRISTIAN F. HUMMEL, United States Magistrate Judge.             that there has been no response to a summary judgment
                                                                 motion does not ... mean that the motion is to be granted
Plaintiff pro se Charles McAllister (“McAllister”), a former
                                                                 automatically.” Id. at 486. Even in the absence of a response,
inmate who was, at all relevant times, in the custody of
                                                                 defendants are entitled to judgment only if the material facts
the New York Department of Corrections and Community
                                                                 demonstrate their entitlement to judgment as a matter of law.
Supervision (“DOCCS”), 2 brings this action pursuant             Id.; FED. R. CIV. P. 56(c). “A verified complaint is to be
to 42 U.S.C. § 1983 alleging that defendant Harold               treated as an affidavit ... and therefore will be considered in
Call (“Call”), Vocational Supervisor, Mohawk Correctional        determining whether material issues of fact exist....” Colon v.
Facility (“Mohawk”), violated his constitutional rights under    Coughlin, 58 F.3d 865, 872 (2d Cir.1995) (internal citations
the First, Eighth and Fourteenth Amendments. Am. Compl.          omitted); see also Patterson v. Cnty. of Oneida, N.Y., 375
(Dkt. No. 64) ¶¶ 33, 34; 4. McAllister initially commenced       F.3d 206, 219 (2d Cir.2004) (same). The facts set forth in
this civil rights action against defendants Brian Fischer,       defendant's Rule 7.1 Statement of Material Facts (Dkt. No.
Lucien J. LeClaire, Patricia LeConey, Carol Woughter,            74–2) are accepted as true as to those facts that are not
and John and Jane Does. Defendants moved for summary             disputed in McAllister's amended complaint. N.D.N.Y.L.R.
judgment. Dkt. No. 49. By report and recommendation dated        7.1(a)(3) (“The Court shall deem admitted any properly
July 6, 2012, (1) all claims against identified defendants


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 63 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

supported facts set forth in the Statement of Facts that the      documents, prison directives 4933 and 4982, and a facility
opposing party does not specifically controvert.”).               rule book. Am. Compl. ¶ 8; Dkt. No. 74–3, Exh. A, at 11. He
                                                                  also asked Sullivan for permission to retrieve documents from
                                                                  his personal property. Id. The requested witnesses were those
                                                                  inmates whose signatures were affixed to the five confiscated
                       II. Background
                                                                  affidavits. Dkt. No. 74–3, Exh. A, at 14. Sullivan retrieved the
The facts are reviewed in the light most favorable to             requested materials, and all inmate witnesses agreed to testify.
McAllister as the non-moving party. See subsection III(A)         Id. at 11.
infra. At all relevant times, McAllister was an inmate at
Mohawk. Am. Compl. ¶ 3.                                           On or about July 21, 2009, a Tier III disciplinary hearing
                                                                  was held before Call, who served as the hearing officer. Am.
On or about July 15, 2009, nonparty Correction Officer            Compl. ¶ 10. McAllister pleaded not guilty to both alleged
Femia, pursuant to authorization from nonparty Captain            violations. Dkt. No. 74–3, Exh. A, at 38. McAllister objected
Dauphin, searched McAllister's personal property while            to the misbehavior report as violative of prison directive
                                                                  4932 because the copy he was given (1) provided insufficient
McAllister was confined in a secure housing unit (“SHU”). 3
                                                                  notice of the charges against him and (2) differed from the
Dkt. No. 74–3, Exh. A, at 14; Am. Compl. ¶¶ 5–6.
                                                                  report that Call read into the record. Id. at 39–41. McAllister
Femia confiscated approximately twenty documents from
                                                                  stated that his copy did not list the names of the inmates
McAllister's locker, including five affidavits that were signed
                                                                  to whom the confiscated affidavits allegedly belonged. Id.
by other inmates. Dkt. No. 74–3, Exh. A, at 14. As
                                                                  Call acknowledged the difference between the reports but
a result of the search, Femia issued McAllister a Tier
                                                                  concluded that the misbehavior report informed McAllister
III misbehavior report, alleging violations of prison rules
                                                                  of the charges against him and the bases for the charges.
113.15 4 (unauthorized exchange) and 180.17 (unauthorized         Id. at 39, 41–42. McAllister also argued that his copy of
assistance). 5 Id.; Am. Compl. ¶ 7.                               the misbehavior report referred to confiscation of twenty
                                                                  documents from his cell, but did not identify the papers that
3                                                                 were taken. Id. at 42. He contended that the misbehavior
       SHUs exist in all maximum and certain medium
       security facilities. The units “consist of single-         report's general reference to “legal work” was insufficient
       occupancy cells grouped so as to provide                   to provide him with notice of the documents to which the
       separation from the general population ....“               report was referring because he had several volumes of legal
       N .Y. COMP.CODES R. & REGS. tit 7, §                       work. Id. at 42, 59. In response to this objection, Call recited
       300.2(b) (1999). Inmates are confined in a SHU             the body of the misbehavior report, which described the
       as discipline, pending resolution of misconduct            confiscated documents as “[a]rticles of paper which appear
       charges, for administrative or security reasons, or        to be legal work including some signed affidavits” and asked
       in other circumstances as required. Id. at pt. 301.        McAllister, “[t]hat didn't ring a bell for you? How much
                                                                  paperwork did you have that fit that description?” Id. at 42.
4      Rule 113.15 provides that “[a]n inmate shall not           Call also expressed his belief that the affidavits qualified as
       purchase, sell, loan, give or exchange a personally        legal work. Id. at 45, 57–58.
       owned article without authorization.” 7 NYCRR
       270.2.                                                      *4 McAllister next argued that he did not provide
5                                                                 unauthorized legal assistance to another inmate in violation
       Rule 180.17 provides that “[a]n inmate may                 of rule 180.17 because the inmate affidavits were used as
       not provide legal assistance to another inmate             evidence to prove that the Division of Parole had a “practice”
       without prior approval of the superintendent or            of “fail[ing] to respond to appeals over the last four years ....
       designee. An inmate shall not receive any form             “ Dkt. No. 74–3, Exh. A at 45–49, 56. These inmates were
       of compensation for providing legal assistance.” 7         aware that their affidavits were created for, and to be used
       NYCRR 270.2.                                               solely in support of, McAllister's case and that they were
McAllister was assigned as his inmate assistant nonparty          receiving no legal benefit. Id. at 48–49. McAllister further
Correction Officer A. Sullivan. Am. Compl. ¶ 7; Dkt. No. 74–      contended that he did not need permission from prison
3, Exh. A, at 11. McAllister requested five inmate witnesses,     personnel to collect the affidavits. Id. at 64.



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 64 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

                                                                     against him during the Tier III hearing and prejudged his guilt,
McAllister also argued that rule 113.15 is ambiguous because         and (f) he was denied equal protection.
it does not list the specific items which, if found in an inmate's
possession, would violate the rule. Dkt. No. 74–3, Exh. A,
at 54. Finally, to the extent it can be determined from the
                                                                                          A. Legal Standard
hearing transcript, McAllister objected to the SHU procedures
for handling his personal property. Id. at 70.                       A motion for summary judgment may be granted if there is
                                                                     no genuine issue as to any material fact, it was supported by
At the conclusion of the hearing, Call informed McAllister           affidavits or other suitable evidence, and the moving party is
that he would be considering testimony from a confidential           entitled to judgment as a matter of law. The moving party has
witness. Dkt. No. 73–3, Exh. A, at 13, 38, 73. McAllister            the burden to show the absence of disputed material facts by
objected to consideration of confidential testimony without          providing the court with portions of pleadings, depositions,
being informed of the contents. Id. at 74. Finally, McAllister       and affidavits which support the motion. FED. R. CIV. P.
declined to call the inmates that he had requested as witnesses.     56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
Id. at 37, 71.                                                       Facts are material if they may affect the outcome of the
                                                                     case as determined by substantive law. Anderson v. Liberty
Call found McAllister guilty of violating prison rules 113.15        Lobby, Inc., 477 U.S. 242, 248 (1986). All ambiguities are
and 180.17. Dkt. No. 74–3, Exh. A, at 8–9, 76. He imposed            resolved and all reasonable inferences drawn in favor of the
a penalty of three months in SHU and three months loss               non-moving party. Skubel v. Fuoroli, 113 F.3d 330, 334 (2d
of privileges. Id. at 8. Call relied upon the misbehavior            Cir.1997).
report, the confidential testimony, the packet of legal work
containing the other inmates' affidavits, and McAllister's            *5 The party opposing the motion must set forth facts
testimony and statements. Id. at 9.                                  showing that there is a genuine issue for trial, and must do
                                                                     more than show that there is some doubt or speculation as to
The disciplinary determination was reversed upon                     the true nature of the facts. Matsushita Elec. Indus. Co., Ltd.
administrative appeal on the ground that the evidence failed to      v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). For a court
support a finding of guilt. Dkt. No. 74–3, Exh. B, at 79; Exh.       to grant a motion for summary judgment, it must be apparent
C, at 81. In May 2010, McAllister commenced this action              that no rational finder of fact could find in favor of the non-
pursuant to 42 U.S.C. § 1983.                                        moving party. Gallo v. Prudential Residential Servs., Ltd.
                                                                     Partnership, 22 F.3d 1219, 1223–24 (2d Cir.1994); Graham
                                                                     v. Lewinski, 848 F.2d 342, 344 (2d Cir.1988).

                       III. Discussion 6
                                                                     Where, as here, a party seeks judgment against a pro se
6                                                                    litigant, a court must afford the non-movant special solicitude.
        All unpublished decisions referenced herein are
                                                                     See Triestman v. Federal Bureau of Prisons, 470 F.3d 471,
        appended to this report and recommendation.
                                                                     477 (2d Cir.2006). As the Second Circuit has stated,
McAllister argues that Call violated his rights under (1)
the First Amendment, by (a) retaliating against him by                 [t]here are many cases in which we have said that a pro se
finding him guilty and (b) hindering his access to the                 litigant is entitled to “special solicitude,” ... that a pro se
courts; (2) the Eighth Amendment, by imposing a three-                 litigant's submissions must be construed “liberally,” ... and
month SHU assignment, plus ten additional days following               that such submissions must be read to raise the strongest
reversal of the disciplinary hearing; and (3) the Fourteenth           arguments that they “suggest,” .... At the same time, our
Amendment, because (a) he was given insufficient notice of             cases have also indicated that we cannot read into pro se
the charges against him, (b) he was denied advance notice              submissions claims that are not “consistent” with the pro se
of the use of a confidential witness, (c) he was forced to             litigant's allegations, ... or arguments that the submissions
spend approximately fifty-two days in SHU as a result of the           themselves do not “suggest,” ... that we should not “excuse
misbehavior report, (d) Call failed to follow certain DOCCS            frivolous or vexatious filings by pro se litigants,” ... and
directives and prison regulations, (e) Call demonstrated bias          that pro se status “does not exempt a party from compliance
                                                                       with relevant rules of procedural and substantive law....



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 65 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

                                                                       damages under § 1983.” Wright v. Smith, 21 F.3d 496, 501
Id. (citations and footnote omitted); see also Sealed Plaintiff        (2d Cir.1994) (quoting Moffitt v. Town of Brookfield, 950 F.2d
v. Sealed Defendant, 537 F.3d 185, 191–92 (2d Cir.2008).               880, 885 (2d Cir.1991)). Thus, supervisory officials may not
                                                                       be held liable merely because they held a position of authority.
                                                                       Id.; Black v. Coughlin, 76 F.3d 72, 74 (2d Cir.1996). However,
                   B. Eleventh Amendment                               supervisory personnel may be considered personally involved
                                                                       if:
Call argues that he is entitled to Eleventh Amendment
immunity relating to McAllister's claims for money damages                 (1) [T]he defendant participated directly in the alleged
against him in his official capacity. The Eleventh Amendment               constitutional violation;
provides that “[t]he Judicial power of the United States shall
                                                                           (2) the defendant, after being informed of the violation
not be construed to extend to any suit in law or equity,
                                                                           through a report or appeal, failed to remedy the wrong;
commenced or prosecuted against one of the United States
by Citizens of another State, or by Citizens or Subjects of                (3) the defendant created a policy or custom under
any Foreign State.” U.S. CONST. AMEND. XI. “[D]espite                      which unconstitutional practices occurred, or allowed the
the limited terms of the Eleventh Amendment, a federal court               continuance of such a policy or custom;
[cannot] entertain a suit brought by a citizen against his [or
her] own State.” Pennhurst State Sch. & Hosp. v. Halderman,                (4) the defendant was grossly negligent in supervising
465 U.S. 89, 98 (1984) (citing Hans v. Louisiana, 134 U.S.                 subordinates who committed the wrongful acts; or
1, 21 (1890)). Regardless of the nature of the relief sought,
in the absence of the State's consent or waiver of immunity,               (5) the defendant exhibited deliberate indifference to the
a suit against the State or one of its agencies or departments             rights of inmates by failing to act on information indicating
is proscribed by the Eleventh Amendment. Halderman, 465                    that unconstitutional acts were occurring.
U.S. at 100. Section 1983 claims do not abrogate the Eleventh
                                                                       Colon, 58 F.3d at 873 (citing Williams v. Smith, 781 F.2d 319,
Amendment immunity of the states. See Quern v. Jordan, 440
U.S. 332, 340–41 (1979).                                               323–24 (2d Cir.1986)). 7 Assertions of personal involvement
                                                                       that are merely speculative are insufficient to establish a
A suit against a state official in his or her official capacity is a   triable issue of fact. See e.g., Brown v. Artus, 647 F.Supp.2d
suit against the entity that employs the official. Farid v. Smith,     190, 200 (N.D.N.Y.2009).
850 F.2d 917, 921 (2d Cir.1988) (citing Edelman v. Jordan,
415 U.S. 651, 663 (1974)). “Thus, while an award of damages            7        Various courts in the Second Circuit have
against an official in his personal capacity can be executed                    postulated how, if at all, the Iqbal decision affected
only against the official's personal assets, a plaintiff seeking                the five Colon factors which were traditionally
to recover on a damages judgment in an official-capacity suit                   used to determine personal involvement. Pearce
must look to the government entity itself,” rendering the latter                v. Estate of Longo, 766 F.Supp.2d 367, 376
suit for money damages barred even though asserted against                      (N.D.N.Y.2011), rev'd in part on other grounds
the individual officer. Kentucky v. Graham, 473 U.S. 159, 166                   sub nom., Pearce v. Labella, 473 F. App'x 16
(1985). Here, because McAllister seeks monetary damages                         (2d Cir.2012) (recognizing that several district
against Call for acts occurring within the scope of his duties,                 courts in the Second Circuit have debated Iqbal's
the Eleventh Amendment bar applies.                                             impact on the five Colon factors); Kleehammer v.
                                                                                Monroe Cnty., 743 F.Supp.2d 175 (W.D.N .Y.2010)
 *6 Accordingly, it is recommended that Call's motion on this                   (holding that “[o]nly the first and part of the
ground be granted.                                                              third Colon categories pass Iqbal's muster ....”);
                                                                                D'Olimpio v. Crisafi, 718 F.Supp.2d 340, 347
                                                                                (S.D.N.Y.2010) (disagreeing that Iqbal eliminated
                                                                                Colon's personal involvement standard).
                   C. Personal Involvement
                                                                       As to any constitutional claims beyond those surrounding the
“[P]ersonal involvement of defendants in alleged                       denial of due process at the Tier III hearing, the undersigned
constitutional deprivations is a prerequisite to an award of           notes that evaluation of such is unnecessary as it is outside



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 66 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

of the scope set forth in this Court's prior order. Dkt. No.       He suggests that his transfer to SHU, as a result of the Tier
58 at 4. However, to the extent that Call acknowledges             III determination, triggered enforcement of his compliance
these claims and provides additional and alternative avenues       with directive 4913, which impeded his ability to proceed
for dismissal, McAllister fails to sufficiently allege Call's      with active legal matters and resulted in dismissals. Am.
personal involvement in impeding his access to the courts, in      Compl. ¶ 41. Thus, McAllister also argues that he was denied
violation of the First Amendment. McAllister argues that, as a     access to the courts. Am. Compl. ¶ 38. As a preliminary
result of Call's determination that he violated rules 113.15 and   matter, McAllister's First Amendment retaliation and access
180.17, his legal paperwork was confiscated, which impaired        claims are beyond the scope of the prior order of this Court
his ability to continue to represent himself in pending state      directing McAllister to limit his amended complaint “include
and federal court claims. Am. Compl. ¶¶ 38–40. However,            only one cause of action—a procedural due process claim
McAllister does not suggest that Call was personally involved      in connection with his disciplinary hearing.” Dkt. No. 58,
in either the search and confiscation of paperwork that led        at 4. Regardless, McAllister fails to plausibly allege either
to the filing of the misbehavior report nor the subsequent         retaliation or denial of access to the courts.
reduction in his paperwork pursuant to directive 4913. To
the contrary, McAllister concedes that the paperwork was           Courts are to “approach [First Amendment] retaliation claims
reduced pursuant to the directive.                                 by prisoners with skepticism and particular care.” See e.g.,
                                                                   Davis v. Goord, 320 F.3d 346, 352 (2d Cir.2003) (citing
McAllister also fails to sufficiently allege Call's personal       Dawes v. Walker, 239 F.3d 489, 491 (2d Cir.2001), overruled
involvement in the SHU procedures for storing property or          on other grounds by Swierkiewicz v. Sorema, NA, 534 U.S.
in holding him in SHU for ten additional days following            506 (2002)). A retaliation claim under section 1983 may not
the reversal of the Tier III determination. Call stated that       be conclusory and must have some basis in specific facts
hr had no involvment with the storage of property in               that are not inherently implausible on their face. Ashcroft,
SHU. Dkt. No. 74–3, at 5. Call also contended that he              556 U.S. at 678; South Cherry St., LLC v. Hennessee Group
“was not responsible for plaintiff's being held in SHU for         LLC, 573 F.3d 98, 110 (2d Cir.2009). To survive a motion to
additional days following the August 26, 2009 reversal of the      dismiss, a plaintiff must show “(1) that the speech or conduct
disciplinary hearing decision of July 22, 2009.” Id. McAllister    at issue was protected, (2) that the defendant took adverse
does not allege Call's involvement in this delay. McAllister's     action against the plaintiff, and (3) that there was a causal
sole reference to the ten-day delay is his claim that he “was      connection between the protected speech and the adverse
not released from Special Housing until September 4, 2009,         action.” Dawes v. Walker, 239 F.3d 489, 492 (2d Cir.2001),
approximately 10 days after the reversal” Am. Compl. ¶ 43.         overruled on other grounds by Swierkiewicz v. Sorema N.A.,
This conclusory statement is insufficient to demonstrate Call's    534 U.S. 506 (2002); Taylor v. Fischer, 841 F.Supp.2d 734,
personal involvement in an extension of his time in SHU            737 (W.D.N.Y.2012). If the plaintiff meets this burden, the
following the reversal of the Tier III determination. Brown,       defendants must show, by a preponderance of the evidence,
647 F.Supp.2d at 200.                                              that they would have taken the adverse action against the
                                                                   plaintiff “even in the absence of the protected conduct.”
 *7 Accordingly, it is recommended that Call's motion be           Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S.
granted insofar as McAllister alleges that Call: denied him        274, 287 (1977). “Types of circumstantial evidence that can
access to the courts in violation of the First Amendment,          show a causal connection between the protected conduct and
was at all involved with the storage of his property while he      the alleged retaliation include temporal proximity, prior good
was in SHU, and caused him to be held an additional ten            discipline, finding of not guilty at the disciplinary hearing,
days in SHU following administrative reversal of the Tier III      and statements by defendants as to their motives.” See Barclay
determination.                                                     v. New York, 477 F.Supp.2d 546, 588 (N.D.N.Y.2007).

                                                                    *8 Here, McAllister baldly states that Call's disciplinary
                                                                   determination was imposed in retaliation for his filing
                    D. First Amendment
                                                                   of grievances and lawsuits; however, McAllister does not
McAllister appears to argue that, in retaliation for his filing    identify these grievances and lawsuits nor does he claim
of grievances and lawsuits, Call found him guilty of the           that any of these were lodged against Call. See generally
misconduct in the Tier III hearing and imposed SHU time.           Ciaprazi v. Goord, No. 02–CV–915, 2005 WL 3531464,



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 67 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

at *9 (N.D.N.Y. Dec. 22, 2005) (dismissing the plaintiff's          of his property or in the later reduction of his property or that
claim of retaliation where the plaintiff could “point to no         it was maliciously imposed by Call. As noted, the initial cell
complaints lodged by him against or implicating the conduct         search which led to the misbehavior report was ordered by
of [the] defendant ... who issued the disputed misbehavior          Captain Dauphin and executed by Correction Officer Femia.
report.”). McAllister also provides no time frame for the           Similarly, McAllister concedes that his property was reduced
apparent grievance and lawsuits. Thus, it cannot be discerned       pursuant to directive 4913. Although McAllister suggests that
whether or how these unnamed grievances and lawsuits                his transfer to SHU as a result of the Tier III hearing triggered
were a “motivating factor” in Call's Tier III determination.        the application of directive 4913, he was transferred to SHU
Doyle, 429 U.S. at 287 (internal quotation marks and citation       on July 9, six days before the initial cell search occurred. Id.
omitted). McAllister's unsupported, conclusory claim fails to       ¶ 5. Thus, if McAllister were forced to comply with directive
plausibly demonstrate that Call's determination was a product       4913 because of his transfer to SHU, he failed to demonstrate
of retaliatory animus.                                              that the compliance arose from the SHU term ordered by Call
                                                                    rather than the unknown incident that resulted in his transfer
Undoubtedly, prisoners have a constitutional right to               to SHU on July 9. Further, McAllister failed to establish any
meaningful access to the courts. Bounds v. Smith, 430 U.S.          actual injury because he did not specify which cases were
817, 824 (1977); Lewis v. Casey, 518 U.S. 343, 350 (1996)           allegedly dismissed as a result of the property reduction. See
(“The right that Bounds acknowledged was the (already well-         Monsky, 123 F.3d at 247.
established) right of access to the courts.”). This right is
implicated when prison officials “actively interfer[e] with          *9 Accordingly, it is recommended that Call's motion for
inmates' attempts to prepare legal documents[ ] or file             summary judgment be granted on this ground.
them.” Lewis, 518 U.S. at 350 (internal citations omitted).
To establish a denial of access to the courts claim, a plaintiff
must satisfy two prongs. First, a plaintiff must show that the
                                                                                       E. Eighth Amendment
defendant acted deliberately and maliciously. Davis v. Goord,
320 F.3d 346, 351 (2d Cir.2003). Second, the plaintiff must         In his amended complaint, McAllister references the Eighth
demonstrate that he suffered an actual injury. Id.; Monsky          Amendment. Am. Compl. ¶ 31. However, McAllister's only
v. Moraghan, 123 F.3d 243, 247 (2d Cir.1997) (internal              reference to the Eighth Amendment is his assertion that Call's
citations, quotation marks, and alterations omitted) (quoting       use of a confidential witness violated his Eighth Amendment
Lewis, 518 U.S. at 329) (“In order to establish a violation         right to be free from cruel and unusual punishment. However,
of access to courts, a plaintiff must demonstrate that a            in support of this argument, McAllister states only that this
defendant caused actual injury, i.e., took or was responsible       right was violated when Call stated, “[s]o, um there is a lot
for actions that hindered a plaintiff's effort to pursue a legal    of stuff going on through my paperwork and I want to bring
claim”). Thus, a plaintiff must allege that the defendant was       it to your attention before we move on ...” Id. ¶ 33; Dkt. No.
“responsible for actions that hindered his efforts to pursue a      74–3, at 73. When read in context, it becomes clear that Call
legal claim.” Davis, 320 F.3d at 351 (internal quotation marks      made this statement immediately before informing McAllister
omitted).                                                           of his consideration of confidential information. Dkt. No. 73–
                                                                    3, at 73. Although, in referencing this portion of the hearing
Here, there is insufficient evidence to give rise to a genuine      transcript McAllister alleges that he was subject to cruel and
dispute of fact regarding either element of a denial of court       unusual punishment, it appears that McAllister intended to
access claim. As noted, McAllister merely states that, as a         assert that the use of a confidential witness was a due process
result of the property reduction pursuant to directive 4913, his    violation. Even if McAllister had intended to argue that use
“ability to continue litigation in Federal and State court caused   of a confidential witness violates the prohibition of cruel
adverse decisions by the court and dismissals.” Am. Compl.          and unusual punishment, such a claim would necessarily fail
¶ 41. This claim is insufficient to demonstrate that Call was       because the Eighth Amendment protects an inmate's right
responsible for actions that hindered his legal claims. Insofar     to be free from conditions of confinement that impose an
as McAllister's claim could be read to suggest that Call denied     excessive risk to an inmate's health or safety. Farmer v.
him access to the courts by confiscating his legal documents,       Brennan, 511 U.S. 825, 834 & 837 (1994). As McAllister
as noted supra, McAllister fails to present any plausible facts     makes no claim that he faced conditions of confinement
to support a finding that Call was involved in the initial search   imposing a risk to his health or safety and instead focuses



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 68 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

his argument on notice of a confidential witness, giving            atypicality. Colon v. Howard, 215 F.3d 227, 231 (2d
McAllister due solicitude, his claim regarding the use of a         Cir.2000); Blackshear v. Woodward, No. 13–CV–1165, 2014
confidential witness will be incorporated as part of the due        WL 2967752 (N.D.N.Y. July 1, 2014).
process analysis below.
                                                                    McAllister suggests that his confinement in SHU for forty-
                                                                    two to fifty-two days is a sufficient deprivation that requires
                                                                    procedural protections. Freedom from SHU confinement may
                 F. Fourteenth Amendment
                                                                    give rise to due process protections; however, the plaintiff
                                                                    must allege that the deprivation imposed “an atypical and
                        1. Due Process                              significant hardship.” Sandin, 515 U.S. at 484; Gaston v.
                                                                    Coughlin, 249 F.3d 156, 162 (2d Cir.2001) (concluding
Well-settled law provides that inmates retain due process
                                                                    that SHU confinement does not give rise to due process
rights in prison disciplinary hearings.” Hanrahan v. Doling,
                                                                    protections where inmate failed to demonstrate atypical
331 F.3d 93, 97 (2d Cir.2003) (per curiam) (citing cases).
                                                                    hardship while confined). Although the Second Circuit has
However, inmates do not enjoy “the full panoply of rights”
                                                                    cautioned that “there is no bright-line rule regarding the
accorded to a defendant in a criminal prosecution. Wolff v.
                                                                    length or type of sanction” that meets the Sandin standard
McDonnell, 418 U.S. 539, 556 (1974). For a plaintiff to state a
                                                                    (Jenkins v. Haubert, 179 F.3d 19, 28 (2d Cir.1999)), it has
claim that he was denied due process at a disciplinary hearing,
                                                                    made clear that confinement in SHU for a period of one
the plaintiff “must establish (1) that he possessed a liberty
                                                                    year constitutes atypical and significant restraint on inmates,
interest and (2) that the defendant(s) deprived him of that
                                                                    deserving due process protections. See e.g. Sims v. Artuz,
interest as a result of insufficient process.” Ortiz v. McBride,
                                                                    230 F.3d 14, 23 (2d Cir.2000) (holding confinement in
380 F.3d 649, 654 (2d Cir.2004) (per curiam) (quoting Giano
                                                                    SHU exceeding 305 days was atypical); Sealey v. Giltner,
v. Selsky, 238 F.3d 223, 225 (2d Cir.2001)). To satisfy the first
                                                                    197 F.3d 578, 589 (2d Cir.1999) (concluding confinement
prong, a plaintiff must demonstrate that the deprivation of
                                                                    for fewer than 101 days in SHU, plus unpleasant but
which he complains is an “atypical and significant hardship
                                                                    not atypical conditions, insufficient to raise constitutional
on the inmate in relation to the ordinary incidents of prison
                                                                    claim). Although the Second Circuit has generally held that
life.” Sandin v. Conner, 515 U.S. 472, 484 (1995). “A liberty
                                                                    confinement in SHU for 101 or fewer days without additional
interest may arise from the Constitution itself, ... or it may
                                                                    indicia of atypical conditions generally does not confer a
arise from an expectation or interest created by state laws
                                                                    liberty interest (Smart v. Goord, 441 F.Supp.2d 631, 641 (2d
or policies.” Wilkinson v. Austin, 545 U.S. 209, 221 (2005)
                                                                    Cir.2006)), it has “explicitly noted that SHU confinements of
(citations omitted).
                                                                    fewer than 101 days could constitute atypical and significant
                                                                    hardships if the conditions were more severe than the normal
                                                                    SHU conditions of Sealey or a more fully developed record
                a. Denial of Liberty Interest                       showed that even relatively brief confinements under normal
                                                                    SHU conditions were, in fact, atypical.” Palmer v. Richards,
 *10 In assessing whether an inmate plaintiff was denied            364 F.3d 60, 65 (2d. Cir.2004) (citing, inter alia, Ortiz, 323
procedural due process, the court must first decide whether         F.3d at 195, n. 1).
the plaintiff has a protected liberty interest in freedom from
SHU confinement. Bedoya v. Coughlin, 91 F.3d 349, 351               The undersigned notes that it is unclear what portion of
(2d Cir.1996). If the plaintiff demonstrates the existence of       McAllister's relatively brief time in SHU is attributable to
a protected liberty interest, the court is then to determine        the Tier III determination, because it appears that McAllister
whether the deprivation of this interest “occurred without          was already in SHU when the instant disciplinary report
due process of law.” Id. at 351, citing Kentucky Dept. of           was filed. Am. Comp. ¶ 5; Dkt. No. 74–3, Exh. A, at
Corr. v. Thompson, 490 U.S. 454, 460–61 (1989). Due                 14. The undersigned also notes that there is no indication
process generally requires that a state afford an individual        that McAllister endured unusual SHU conditions. The only
“some kind of hearing” prior to depriving them of a liberty         reference McAllister makes to his time in SHU is that, upon
or property interest. DiBlasio v. Novello, 344 F.3d 292,            his transfer to SHU, several bags of his paperwork were
302 (2d Cir.2003). Although not dispositive, duration of            confiscated pursuant to directive 4913. Id. ¶ 37. However,
disciplinary confinement is a significant factor in determining     review of directive 4913 reveals that the personal and legal



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 69 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

property limit set forth in directive 4913 applies to the general
prison population and inmates in other forms of segregated
                                                                                               i. Notice
confinement. Dkt. No. 49–2, at 5–19. Thus, the fact that
McAllister was forced to comply with directive 4913 does            McAllister first appears to argue that he was denied
not indicate that he was subjected to conditions more severe        procedural due process because the misbehavior report (1)
than the normal SHU conditions or conditions imposed on the         violated unnamed DOCCS rules, regulations, and procedures,
general prison population. Dkt. No. 74–3, Exh. A, at 14.            and (2) failed to provide him with adequate notice of the
                                                                    charges against him because it did not list the five inmates
 *11 Although the record is largely absent of detail of the         whose affidavits were confiscated and, thus, impacted his
conditions McAllister faced in SHU, there is also nothing           ability to prepare a defense to the charges. Am. Compl.
in the record comparing the time McAllister was assigned            ¶¶ 11–13, 16–17. Although inmates are entitled to advance
and spent in disciplinary confinement with the deprivations         written notice of the charges, “[t]his is not to suggest that
endured by other prisoners “in the ordinary course of prison        the Constitution demands notice that painstakingly details all
administration,” which includes inmates in administrative           facts relevant to the date, place, and manner of charged inmate
segregation and the general prison population. Welch v.             misconduct ....“ Sira, 380 F.3d at 72 (2d Cir.2004) (citing
Bartlett, 196 F.3d 389, 394 (2d Cir.1999) (holding that,            Wolff, 418 U.S. at 564). “[T]here must be sufficient factual
after Sandin, “the relevant comparison concerning duration is       specificity to permit a reasonable person to understand what
between the period of deprivation endured by the plaintiff and      conduct is at issue so that he may identify relevant evidence
periods of comparable deprivation typically endured by other        and present a defense.” Id.
prisoners in the ordinary course of prison administration,
including general population prisoners and those in various         First, to the extent that McAllister's argues that the differing
forms of administrative and protective custody”). Because           disciplinary reports violated unspecified DOCCS rules,
“[t]he record does not reveal whether it is typical for inmates     regulations, and procedures (Am.Compl.¶¶ 12–13), this claim
not being disciplined to spend similar periods of time in           must fail. A section 1983 claim is not the “appropriate forum”
similar circumstances,” Call's motion for summary judgment          in which to seek review of a violation of a prison regulation.
should be denied. Id. at 394 (citing Brooks v. DiFasi, 112 F.3d     Rivera v. Wohlrab, 232 F.Supp.2d 117, 123 (S.D.N.Y.2002)
46, 49 (2d Cir.1997)).                                              (“a § 1983 claim brought in federal court is not the
                                                                    appropriate forum to urge violations of prison regulation or
Accordingly, it is recommended that defendant's motion for          state law ... the allegations asserted must constitute violations
summary judgment on this ground be denied.                          of constitutional due process standards.”). Next, McAllister
                                                                    fails to plausibly allege the existence of a question of
                                                                    fact whether the difference between the misbehavior reports
                 b. Procedural Due Process                          deprived him of the ability to identify relevant evidence
                                                                    so that he could prepare a defense. Although McAllister's
Assuming a liberty interest exists, it must be determined           copy of the report was missing the names of the inmates
whether McAllister was denied due process at his Tier III           whose affidavits were confiscated, it informed McAllister
hearing. Where disciplinary hearings could result in SHU            of the date, time, and location of the alleged violations;
confinement or loss of good time credit, “[i]nmates are             the rules alleged to have been violated; and a description
entitled to advance written notice of the charges; a fair and       of the documents that were confiscated. Johnson v. Goord,
impartial hearing officer; a reasonable opportunity to call         305 Fed. Appx. 815, 817 (2d Cir.2009) (concluding where
witnesses and present documentary evidence; and a written           the inmate's copy of misbehavior report included details of
statement of the disposition, including supporting facts and        alleged violation and charges against him, a sentence missing
reasons for the action taken.” Luna v. Pico, 356 F.3d 481, 487      from the inmate's copy of report did not violate the inmate's
(2d Cir.2004) (citing Kalwasinski v. Morse, 201 F.3d 103, 108       due process rights). It is clear that the discrepancy between
(2d Cir.1999)); see also Wolff, 418 U.S. at 556; Sira v. Morton,    the misbehavior reports did not affect McAllister's ability to
380 F.3d 57, 59 (2d Cir.2004).                                      prepare and present a defense. Prior to the hearing, McAllister
                                                                    requested as witnesses the five inmates whose affidavits
                                                                    were found during the property search. Indeed, the record
                                                                    demonstrates that McAllister was able to both identify the



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 70 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

documents referenced in the misbehavior report and address         626 (FJS/ATB), 2011 WL 7629513, at *11 (N.D.N.Y. Mar. 1,
them at the hearing. Dkt. No. 74–3, Exh. A at 45, 47–48.           2011) (citing Francis, 891 F.2d at 46).

 *12 Thus, because he received sufficient notice of the            McAllister first argues that Call prejudged his guilt. He
charges against him and was able to prepare and present a          supports this contention by pointing to moments during
defense on his behalf, McAllister fails to raise a question        the Tier III hearing where Call expressed his belief that
of fact as to whether he was denied sufficient notice of the       McAllister's possession of affidavits signed by other inmates
charges against him.                                               was sufficient to support a violation of prison rules 113.15 and
                                                                   180.17. Am. Compl., ¶¶ 13, 15, 23–25, 36. Here, however the
                                                                   challenged affidavits were not evidence that Call prejudged
                                                                   because he had the opportunity to review the affidavits and did
   ii. Hearing Officer Bias/Pre-determination of Guilt
                                                                   so at the hearing. Although McAllister disagreed with Call's
McAllister also contends that his procedural due process           opinion that possession of such documents would be a per se
rights were violated because Call was biased against him and       violation of the rules, Call's assertion of belief in this matter
prejudged his guilt. The Fourteenth Amendment guarantees           was an opinion he reached following his personal review of
inmates the right to the appointment of an unbiased hearing        this evidence. See Johnson v. Doling, No. 05–CV–376, 2007
officer to address a disciplinary charge. Allen v. Cuomo, 100      WL 3046701, at * 10 (N.D.N.Y. Oct. 17, 2007) (holding that
F.3d 253, 259 (2d Cir.1996). An impartial hearing officer          where the “[p]laintiff was provided the opportunity to testify,
“does not prejudge the evidence” and is not to say “how            [and] call and question witnesses .... [d]isagreement with
he would assess evidence he has not yet seen.” Patterson v.        rulings made by a hearing officer does not constitute bias”).
Coughlin, 905 F.2d 564, 570 (2d Cir.1990); see also Francis        Thus, it does not appear that Call prejudged this evidence.
v. Coughlin, 891 F.2d 43, 46 (2d Cir.1989) (“it would be
improper for prison officials to decide the disposition of a        *13 To support his claim that Call exhibited bias and
case before it was heard”). However, “[i]t is well recognized      partiality against him in the Tier III hearing, McAllister points
that prison disciplinary hearing officers are not held to the      out that, after he objected to the misbehavior report for failing
same standard of neutrality as adjudicators in other contexts.”    to provide him sufficient notice of the documents confiscated,
Russell v. Selsky, 35 F.3d 55, 60 (2d Cir.1996). “A hearing        Call read the portion of the misbehavior report describing
officer may satisfy the standard of impartiality if there is       the documents as “[a]rticles of paper which appear to be
‘some evidence in the record’ to support the findings of the       legal work including some signed affidavits,” and stated “that
hearing.” Nelson v. Plumley, No. 9:12–CV–422, 2014 WL              didn't ring a bell for you?” Id. ¶¶ 19, 32). When read in
4659327, at *11 (N.D .N.Y. Sept. 17, 2014) (quoting Allred         context, this statement does not establish bias on Call's part,
v. Knowles, No. 06–CV–0456, 2010 WL 3911414, at * 5                rather it appears to be a genuine question. Though it may be
(W.D.N.Y. Oct. 5, 2010) (quoting Waldpole v. Hill, 472 U.S.        said that Call could have couched this question in a kinder
445, 455 (1985)). However, “the mere existence of ‘some            manner, this statement does not demonstrate bias. Moreover,
evidence’ in the record to support a disciplinary determination    that the Tier III determination was reversed on appeal, without
does not resolve a prisoner's claim that he was denied due         more, is not evidence of bias or other due process violation.
process by the presence of a biased hearing officer.” See Smith    Eng v. Therrien, No. 04–CV–1146, 2008 WL 141794, at *2
v. United States, No. 09–CV–729, 2012 WL 4491538 at *8             (N.D.N.Y. Jan. 11, 2008).
(N.D.N.Y. July 5, 2012).
                                                                   Thus, McAllister fails to plausibly allege the existence of
Prison officials serving as hearing officers “enjoy a rebuttable   question of fact whether Call prejudged his guilt or was
presumption that they are unbiased.” Allen, 100 F.3d at            otherwise biased in the Tier III hearing.
259. “Claims of a hearing officer bias are common in
[inmate section] 1983 claims, and where they are based on
purely conclusory allegations, they are routinely dismissed.”                        iii. Failure to Investigate
Washington v. Afify, 968 F.Supp.2d 532, 541 (W.D.N.Y.2003)
(citing cases). “An inmate's own subjective belief that the        McAllister next suggests that he was denied procedural due
hearing officer was biased is insufficient to create a genuine     process because Call declined to interview the law library
issue of material fact.” Johnson v. Fernandez, No. 09–CV–          officer. Am. Compl. ¶ 29. Call permitted McAllister to present



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 71 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

testimony on his behalf and afforded him the opportunity           this circuit provides that where a prison official decides
call witnesses. Had McAllister wished to hear testimony            to keep certain witness testimony confidential, he or she
from the law library officer, he could have requested the          “must offer a reasonable justification for their actions, if not
law library officer as a witness. Wolff, 418 U.S. at 566           contemporaneously, then when challenged in a court action.”
(inmates have a right to call witnesses in their defense at        Sira, 380 F.3d at 75 (citing Ponte v. Real, 471 U.S. 491, 498
disciplinary hearings). That Call found it unnecessary to          (1985)). Although “[c]ourts will not readily second guess the
independently interview the law library officer—especially         judgment of prison officials with respect to such matters ...
where McAllister did not demonstrate that his testimony            the discretion to withhold evidence is not unreviewable....” Id.
would be relevant—does not result in a denial of due process       (citations omitted). Here, Call failed to provide his rationale
because “[t]here is no requirement ... that a hearing officer      for refraining to share the substance of this testimony, stating
assigned to preside over a disciplinary hearing conduct an         merely that McAllister could not be told the substance of the
independent investigation; that is simply not the role of a        testimony because “it is by definition it is ... confidential.”
hearing officer.” Robinson v. Brown, No. 9:11–CV–0758,             Dkt. No. 74–3, at 74. As Call presented no reason to justify
2012 WL 6799725, *5 (N.D.N.Y. Nov. 1, 2012).                       withholding the identity or substance of the confidential
                                                                   witness's testimony, McAllister presents a viable due process
Accordingly, McAllister fails plausibly raise a due process        claim based on the nondisclosure of this evidence. Sira, 380
violation based on Call's alleged failure to investigate.          F.3d at 76.

                                                                   Accordingly, Call's motion for summary judgment should be
                                                                   denied on this ground.
                  iv. Confidential Witness

To the extent it can be discerned, McAllister contends that he
was denied due process because Call relied on confidential                               v. Some Evidence
witness testimony, yet failed to provide him with advance
notice of the confidential witness and refused to inform him of    “Once a court has decided that the procedural due process
his or her identity or the nature of the testimony. Am. Compl.     requirements have been met, its function is to determine
¶¶ 30–34. The Second Circuit has held that a hearing officer       whether there is some evidence which supports the decision
must perform an independent assessment of a confidential           of the [hearing officer].” Freeman v. Rideout, 808 F.2d
informant's credibility for such testimony to be considered        949, 954 (2d Cir.1986) (citations omitted). In considering
reliable evidence of an inmate's guilt. Sira, 380 F.3d at 78       whether a disciplinary determination is supported by some
(noting that, “when sound discretion forecloses confrontation      evidence of guilt, “the relevant question is whether there is
and cross-examination, the need for the hearing officer to         any evidence in the record [before the disciplinary board]
conduct an independent assessment of informant credibility         that could support the conclusion reached by the disciplinary
to ensure fairness to the accused inmate is heightened.”).         board.” Superintendent v. Hill, 472 U.S. 445, 455–56 (1985)
                                                                   (citations omitted); Sira, 380 F.3d at 69. The Second Circuit
 *14 Here, the record provides no indication that Call             has interpreted the “some evidence” standard to require
independently assessed the credibility and reliability of the      “reliable evidence” of guilt. Luna, 356 F.3d at 488.
confidential witness. The confidential witness form merely
states that Call “was provided confidential information            In making his determination, Call relied upon McAllister's
relating to the misbehavior report .” Dkt. No. 74–3, at 13.        testimony and statements, testimony of a confidential witness,
Similarly, Call does not provide whether or how he performed       the misbehavior report, and the legal documents confiscated
an assessment of the witness's credibility. Id. at 4. Therefore,   during the property search. Dkt. No. 74–3, at 4. As noted,
there exist questions of fact whether Call deprived McAllister     based on the record provided, Call did not perform an
of due process by relying on this testimony without an             independent assessment of the witness's credibility. Thus,
independent assessment of the witness's credibility.               Call's reliance on confidential testimony would be insufficient
                                                                   to support a finding of guilt. Taylor v. Rodriguez, 238
To the extent that McAllister argues that he was denied            F.3d 188, 194 (2d Cir.2001) (determining that reliance on
due process by Call's decision to refuse to disclose the           confidential informant's testimony insufficient to provide
content of the confidential witness's testimony, the law in        “some evidence” of guilt where there was no independent



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 72 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

examination of indicia relevant to informant's credibility).        McAllister repeatedly testified that he did not provide legal
The remaining evidence relied upon—McAllister's testimony,          assistance to the inmates in question because the affidavits
the misbehavior report, and the affidavits—does not                 were written solely to serve as supporting evidence in his
constitute some evidence of guilt, as required by the Due           personal action, the inmates were aware that they would
Process clause.                                                     receive no legal benefit as a result, and he did not receive
                                                                    any compensation from the inmates. Regardless whether Call
 *15 The affidavits alone do not constitute some evidence of        considered McAllister's testimony to be credible, without
guilt because mere possession of affidavits signed by other         some other reliable evidence, such as, perhaps, a statement
inmates would not violate prison rules 113.15 and 180.17            from one of the other inmates claiming that he signed the
were it true that these documents were McAllister's property        affidavit under the belief that McAllister would provide
and drafted solely for his benefit. Similarly, although a written   him with legal assistance, McAllister's testimony denying
misbehavior report may serve as some evidence of guilt,             violations of the charged prison rules would not constitute
such is the case where the misbehavior report charges the           some evidence of guilt.
plaintiff for behavior that the author of the misbehavior report
personally witnessed. Creech v. Schoellkoph, 688 F.Supp.2d           *16 Accordingly, it is recommended that Call's motion for
205, 214 (W.D.N.Y.2010) (citations omitted) (misbehavior            summary judgment be denied as to McAllister's procedural
report drafted by officer who personally observed plaintiff         due process claim.
possess and transfer pieces of sharpened metal to another
inmate constituted some evidence of guilt). In this case, where
a determination of guilt would appear to turn on knowledge
                                                                                          c. Directive 4913
of the ownership of the documents and an understanding of
the circumstances under which the papers were drafted, a            McAllister further argues that, as a result of the SHU
misbehavior report which merely states that papers appearing        placement, he suffered an unconstitutional deprivation of
to be legal work signed by other inmates were found in              his legal and personal property because he was required to
McAllister's property, it does not establish a per se violation     comply with the limits set forth in directive 4913. This Court
of rules 113.15 and 180.17. See Hayes v. Coughlin, No.              has already ruled upon this claim when it was raised at earlier
87 CIV. 7401, 1996 WL 453071, at *3 (S.D.N.Y. Aug. 12,              stages. In deciding Call's motion for summary judgment
1996) (“if a misbehavior report can serve as ‘some evidence’        on the McAllister's first complaint, this Court held that the
for a hearing decision and thereby insulate a hearing from          directive did not violate his Fourteenth Amendment rights:
review, there would be little point in having a hearing”);
see also Williams v. Dubray, No. 09–CV–1298, 2011 WL
3236681, at *4 (N.D.N.Y. July 13, 2011) (holding that                           Directive # 4913 was reasonably
there were questions of fact whether the determination was                      related to valid institutional goals
based upon some evidence of guilt where the hearing officer                     given DOCCS' responsibility to
relied on misbehavior report that was based on a corrections                    provide for the health and safety of its
officer's unsupported accounts, without additional evidence                     staff and inmates and the alternatives
to support its charges). Thus, absent additional evidence that                  provided to inmates in being able to
these papers belonged to other inmates or that McAllister                       seek exceptions and choose which four
drafted the documents for other inmates' use, the fact that the                 or five draft bags of material would
misbehavior report identified these documents as being found                    remain with them. Moreover, the rules
in McAllister's secured property does not constitute reliable                   were neutral and reasonably related
evidence of guilt.                                                              to the ultimate goals of the facility,
                                                                                security and safety.
Finally, McAllister's testimony does not constitute reliable
evidence of guilt. In response to the charge of violating
rule 113.15, McAllister testified that the affidavits were
                                                                    McAllister v. Fischer, 2012 WL 7681635, at *12 (N.D.N.Y.
his property because he drafted them solely as evidence in
                                                                    July 6, 2012) (Dkt. No. 55, at 22–23), Report and
his personal litigation against the Department of Probation.
                                                                    Recommendation adopted by 2013 WL 954961 (N.D.N.Y.
Similarly, in defense of the charge for violating rule 180.17,
                                                                    Mar. 12, 2013) (Dkt. No. 58), appeal dismissed 2d Cir. 13–


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 73 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

111 (Jan. 13.2014). Further, the Court concluded that directive     paperwork I realized something that I wanted to point out
4913 “did not violate[ ] McAllister's Fourteen Amendment            to Mr. McAllister.”
rights” and was “reasonably related to valid institutional
goals.” Dkt. No. 55, at 23–24; Dkt. No. 58. Thus, any               Defendant Call discriminated against plaintiff when he
such claim is barred by the law of the case. Arizona v.             stated: “I reviewed it this morning the 22nd when it was
California, 460 U.S. 605, 618 (1983) (citations omitted);           received again is confidential”
see also United States v. Thorn, 446 F.3d 378, 383 (2d
                                                                  Am. Compl. ¶¶ 31–32. McAllister does not explain how
Cir.2006) (internal quotation marks and citations omitted)
                                                                  these statements denied him equal protection. McAllister
(“The law of the case doctrine counsels against revisiting our
                                                                  fails to plausibly suggest that he was treated differently
prior rulings in subsequent stages of the same case absent
                                                                  from any similarly-situated individuals. Further, even if these
cogent and compelling reasons ....”)); Arizona, 460 U.S.
                                                                  statements demonstrate the existence of questions of fact
at 618 (citations omitted); Wright v. Cayan, 817 F.2d 999,
                                                                  regarding whether McAllister was treated differently from
1002 n. 3 (2d Cir.1987) (citations omitted) (“Even when
                                                                  similarly-situated persons, he fails to identify disparity in
cases are reassigned to a different judge, the law of the case
                                                                  the conditions “as a result of any purposeful discrimination
dictates a general practice of refusing to reopen what has been
                                                                  directed at an identifiable suspect class.” See Dolberry
decided.”).
                                                                  v. Jakob, No. 11–CV–1018, 2014 WL 1292225, at *12
                                                                  (N.D.N.Y. Mar. 28, 2014).
Accordingly, it is recommended that defendant's motion for
summary judgment be granted on this ground.
                                                                  Accordingly, it is recommended that defendant's motion on
                                                                  this ground should be granted.

                    2. Equal Protection

McAllister's only reference to an equal protection violation                         G. Qualified Immunity
in the amended complaint is his conclusory claim that Call's
                                                                  Call contends that, even if McAllister's claims are
reference to a confidential witness during the Tier III hearing
                                                                  substantiated, he is entitled to qualified immunity. The
was in violation of his right to equal protection. Am. Compl. ¶
                                                                  doctrine of qualified immunity is an affirmative defense
31. Further, in this Court's previous order, McAllister's equal
                                                                  which “shield[s] an officer from personal liability when an
protection claim was dismissed for failure to demonstrate,
                                                                  officer reasonably believes that his or her conduct complies
among other things, that he was part of a protected class or
                                                                  with the law.” Pearson v. Callahan, 555 U.S. 223, 244 (2009).
that he was treated differently from any similarly-situated
                                                                  Even if a disciplinary disposition is not supported by “some
inmates. Dkt. No. 58, at 4; Dkt. No. 55, at 24–25. Thus, any
                                                                  evidence,” prison officials are entitled to qualified immunity
such claim would also be barred by the law of the case. Thorn,
                                                                  if “their conduct does not violate clearly established statutory
446 F.3d at 383. Regardless, McAllister's equal protection
                                                                  or constitutional rights of which a reasonable person would
claim must also fail for the reasons discussed infra.
                                                                  have known.” Luna, 356 F.3d at 490 (quoting Wilson v. Layne,
                                                                  526 U.S. 603, 614 (1999)) (internal quotation marks omitted).
 *17 To establish an equal protection violation, a plaintiff
                                                                  This assessment is made “in light of the legal rules that were
must show that “he was treated differently than others
                                                                  clearly established at the time it was taken.” Wilson, 526
similarly situated as the result of intentional or purposeful
                                                                  U.S. at 614; Kaminsky v. Rosenblum, 929 F.2d 922, 925 (2d
discrimination.” Phillips v. Girdich, 408 F.3d 124, 129
                                                                  Cir.1991). To determine whether a state official is entitled to
(2d Cir.2005). McAllister has not identified, nor does the
                                                                  qualified immunity for acts taken during the course of his
record disclose, any basis for a reasonable fact-finder to
                                                                  or her employment, a reviewing court is to determine: “(1)
conclude that he was treated differently from similarly-
                                                                  whether plaintiff has shown facts making out violation of a
situated individuals. Rather, plaintiffs only support for his
                                                                  constitutional right; (2) if so, whether that right was clearly
equal protection claim is the following:
                                                                  established; and (3) even if the right was clearly established,
  Call, throughout the entire disciplinary hearing deprive        whether it was objectively reasonable for the [official] to
  [sic] plaintiff equal protection when he stated: “This is       believe the conduct at issue was lawful.” Phillips v. Wright,
  hearing officer Call, this is 2:21 as I was going through my    553 Fed. Appx. 16, 17 (2d Cir.2014) (citing Gonzalez v. City
                                                                  of Schenectady, 728 F.3d 149, 154 (2d Cir.2013)).


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 74 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293

                                                                   and statements, without more, sufficiently supported a
                                                                   determination that McAllister violated rules 113.15 and
 *18 First, as discussed, McAllister presented a viable due
                                                                   180.17.
process claim that the determination was not based on some
evidence of guilt because Call (1) relied on confidential
                                                                   Accordingly, defendant's motion for summary judgment
witness testimony without making an independent assessment
                                                                   should be denied on this ground.
of the witness's credibility and (2) did not otherwise have
sufficient reliable evidence to support his finding of guilt.
McAllister has also raised issues of fact whether the
remaining evidence relied upon—the misbehavior report,                                    IV. Conclusion
McAllister's testimony and statements, and the confiscated
legal papers—provided reliable evidence of guilt.                  For the reasons stated above, it is hereby RECOMMENDED
                                                                   that defendant's motion for summary judgment (Dkt. No. 74)
Addressing the second prong of the analysis, there is a clearly-   be
established right to procedural due process protections,
including the right to have a disciplinary determination be
                                                                   *19 1. GRANTED insofar as:
based on some evidence of guilt. There is also a clearly-
established right to an independent assessment of confidential       a. dismissing plaintiff's First Amendment claims;
witnesses performed where a hearing officer relies on the
witness's testimony (Vasquez v. Coughlin, 726 F.Supp. 466,           b. dismissing plaintiff's Eighth Amendment claims;
472 (S.D.N.Y.1989) (right clearly established by 1986); see
also Sira, 380 F.3d at 80). Further, although there is no            c. dismissing plaintiff's challenge to the constitutionality of
bright-line for what suffices as “some evidence” in every               Directive 4913;
prison disciplinary proceeding (Woodard v. Shanley, 505 Fed.
                                                                     d. defendant's Eleventh Amendment immunity defense;
Appdx. 55, 57 (2d Cir.2012)), there were questions of fact
surrounding the allegedly reliable evidence demonstrating          2. DENIED as to:
that McAllister was in possession of other inmates' legal
documents or that he provided them with unauthorized                 a. plaintiff's Fourteenth Amendment procedural due
legal assistance. Cf. Turner v. Silver, 104 F.3d 354, at               process claims;
*3 (2d Cir.1996) (some evidence to support determination
                                                                      b. defendant's qualified immunity defense.
that the defendant violated rule against unauthorized legal
                                                                   Pursuant to 28 U.S.C. § 636(b)(1), the parties may lodge
assistance where documentary evidence indicated the plaintiff
                                                                   written objections to the foregoing report. Such objections
received payment from other inmates, author of misbehavior
                                                                   shall be filed with the Clerk of the Court “within fourteen
report testified regarding an interview with informant who
                                                                   (14) days after being served with a copy of the ...
implicated defendant, prison official testified that inmate told
                                                                   recommendation.” N.Y.N.D.L.R. 72 .1(c) (citing 28 U.S.C. §
her he had been charged for law library services and inmate
                                                                   636(b)(1)(B)-(C)).
testified the same). Call both failed to perform an independent
assessment of the confidential witness's credibility and
                                                                   FAILURE TO OBJECT TO THIS REPORT WITHIN
provided no explanation for why both the identity of the
                                                                   FOURTEEN DAYS WILL PRECLUDE APPELLATE
witness and the substance of his or her testimony could not
                                                                   REVIEW. Roldan v. Racette, 984 F.2d 85, 89 (2d Cir.1993);
be disclosed to McAllister. Sira, 380 F.3d at 75 (citing Ponte,
                                                                   Small v. Sec'v of HHS, 892 F.2d 15 (2d Cir.1989); 28 U.S.C.
471 U.S. at 498).
                                                                   § 636(b)(1); FED. R. CIV. P. 72, 6(a), 6(e).
Thus, given the state of the law regarding the rights to
which an inmate is entitled in his disciplinary hearing, it        Dated: October 9, 2014.
was not objectively reasonable for Call to have believed
that (1) he need not perform an independent assessment             All Citations
of the witness credibility or (2) the misbehavior report,
confiscated affidavits, and McAllister's consistent testimony      Not Reported in F.Supp.3d, 2014 WL 5475293




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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 75 of 221
McAllister v. Call, Not Reported in F.Supp.3d (2014)
2014 WL 5475293



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 76 of 221
Douglas v. Perrara, Not Reported in F.Supp.2d (2013)
2013 WL 5437617

                                                                Report–Recommendation for the reasons stated therein. (Dkt.
                   2013 WL 5437617                              No. 80.)
      Only the Westlaw citation is currently available.
               United States District Court,                    ACCORDINGLY, it is
                     N.D. New York.
                                                                ORDERED that Magistrate Judge Treece's Report–
           David DOUGLAS, Sr., Plaintiff,                       Recommendation (Dkt. No. 80) is ACCEPTED and
                          v.                                    ADOPTED in its entirety; and it is further
      PERRARA, Corrr. Officer, Great Meadow C.F.;
                                                                ORDERED that Defendants' motion for partial summary
     Lawrence, Corr. Officer, Great Meadow C.F.;
                                                                judgment (Dkt. No. 70) is GRANTED; and it is further
  Whittier, Corr. Officer, Great Meadow C.F.; Mulligan,
    Corr. Officer, Great Meadow C.F.; Deluca, Corr.
                                                                ORDERED that the following claims are DISMISSED from
   Sergeant, Great Meadow C.F.; and Russel, Deputy              this action: (a) all claims asserted against Defendant Russell,
    Superintendent, Great Meadow C.F, Defendants.               and (b) all claims asserted against Defendants in their official
                                                                capacities only. The Clerk is directed to terminate Defendant
               No. 9:11–CV–1353 (GTS/RFT).
                                                                Russell from this action; and it is further
                              |
                       Sept. 27, 2013.
                                                                ORDERED that the following claims REMAIN PENDING
Attorneys and Law Firms                                         in this action: (a) Plaintiff's claim that Defendants Whittier,
                                                                Mulligan, Perrara and/or Lawrence subjected him to
David Douglas, Sr., Liverpool, NY, pro se.                      inadequate prison conditions by depriving him of meals for
                                                                approximately five consecutive days in December 2009, in
Hon. Eric T. Schneiderman, Attorney General for the State       violation of the Eighth Amendment; (b) Plaintiff's claim
of New York, Colleen D. Galligan, Esq., Assistant Attorney      that Defendants Whittier, Mulligan, Perrara and Lawrence
General, of Counsel, Albany, NY, for Defendants.                used excessive force against him, and that Defendant Deluca
                                                                failed to protect him from the use of that excessive force,
                                                                in violation of the Eighth Amendment and New York State
                 DECISION and ORDER                             common law; and (c) Plaintiff's claim that Defendant Deluca
                                                                was deliberately indifferent to Plaintiff's serious medical
GLENN T. SUDDABY, District Judge.                               needs (following the assaults) in violation of the Eighth
                                                                Amendment; and it is further
 *1 Currently before the Court, in this pro se civil rights
action filed by David Douglas, Sr., (“Plaintiff”) against the
                                                                ORDERED that Pro Bono Counsel be appointed for the
six above-captioned New York State correctional employees,
                                                                Plaintiff for purposes of trial only; any appeal shall remain
are the following: (1) Defendants' motion for partial summary
                                                                the responsibility of the plaintiff alone unless a motion for
judgment (requesting the dismissal of Plaintiff's claims
                                                                appointment of counsel for an appeal is granted; and it is
against Defendant Russell, and his claims against the
                                                                further
remaining Defendants in their official capacities); and (2)
United States Magistrate Judge Randolph F. Treece's Report–
                                                                ORDERED that upon assignment of Pro Bono Counsel, a
Recommendation recommending that Defendants' motion be
                                                                final pretrial conference with counsel will be scheduled in
granted. (Dkt.Nos.70, 80.) Neither party filed an objection
                                                                this action before the undersigned, at which time the Court
to the Report–Recommendation, and the deadline by which
                                                                will schedule a jury trial for Plaintiff's remaining claims as set
to do so has expired. (See generally Docket Sheet.) After
                                                                forth above against Defendants Whittier, Mulligan, Perrara,
carefully reviewing the relevant filings in this action, the
                                                                Lawrence and DeLuca. Counsel are directed to appear at the
Court can find no clear error in the Report–Recommendation:
                                                                final pretrial conference with settlement authority from the
Magistrate Judge Treece employed the proper standards,
                                                                parties.
accurately recited the facts, and reasonably applied the law
to those facts. As a result, the Court accepts and adopts the




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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 77 of 221
Douglas v. Perrara, Not Reported in F.Supp.2d (2013)
2013 WL 5437617

                                                                   Giammettei, 34 F.3d 51, 54 (2d Cir.1994) (quoting Celotex
                                                                   Corp. v. Catrett, 477 U.S. 317, 323 (1986)). “When a party has
      REPORT–RECOMMENDATION and ORDER
                                                                   moved for summary judgment on the basis of asserted facts
RANDOLPH F. TREECE, United States Magistrate Judge.                supported as required by [Federal Rule of Civil Procedure
                                                                   56(e) ] and has, in accordance with local court rules, served
 *2 Pro se Plaintiff David Douglas brought a civil rights          a concise statement of the material facts as to which it
Complaint, pursuant to 42 U.S.C. § 1983, asserting that            contends there exist no genuine issues to be tried, those facts
Defendants violated his constitutional rights while he was in      will be deemed admitted unless properly controverted by the
the custody of the New York State Department of Corrections        nonmoving party.” Glazer v. Formica Corp., 964 F.2d 149,
and Community Supervision (“DOCCS”) and housed in the              154 (2d Cir.1992).
Great Meadow Correctional Facility. Specifically, Plaintiff
alleges that in early December 2009, he wrote a letter to          To defeat a motion for summary judgment, the non-movant
                            1                                      must set out specific facts showing that there is a genuine
Defendant Eileen Russell complaining that he had been
denied meals for several days. See Dkt. No. 1, Compl. at           issue for trial, and cannot rest merely on allegations or
¶¶ 8, 64, & 66. Plaintiff further alleges that the remaining       denials of the facts submitted by the movant. FED. R. CIV.
Defendants violated his constitutional rights when they            P. 56(c); see also Scott v. Coughlin, 344 F.3d 282, 287 (2d
used excessive force against him on several occasions and          Cir.2003) ( “Conclusory allegations or denials are ordinarily
denied him medical care in order to treat the injuries he          not sufficient to defeat a motion for summary judgment
sustained therewith. See generally id. And, according to           when the moving party has set out a documentary case.”);
Plaintiff, Defendant Russell's failure to take disciplinary        Rexnord Holdings, Inc. v. Bidermann, 21 F.3d 522, 525–26
action against these individuals and curtail their “known          (2d Cir.1994). To that end, sworn statements are “more than
pattern of physical abuse of inmates” renders her liable for       mere conclusory allegations subject to disregard ... they are
violating his constitutional rights. Id. at ¶ 66.                  specific and detailed allegations of fact, made under penalty
                                                                   of perjury, and should be treated as evidence in deciding
1                                                                  a summary judgment motion” and the credibility of such
       Although Plaintiff spells this Defendant's name as
                                                                   statements is better left to a trier of fact. Scott v. Coughlin,
       “Russel,” it is clear from Defendants' submissions
                                                                   344 F.3d at 289 (citing Flaherty v. Coughlin, 713 F.2d 10, 13
       that the correct spelling of this individual's name
                                                                   (2d Cir.1983) and Colon v. Coughlin, 58 F.3d 865, 872 (2d
       is “Russell” and the Court will refer to her
                                                                   Cir.1995)).
       accordingly. Compl. at ¶ 8; Dkt. Nos. 10 & 70–3.
Presently pending is Defendants' Motion for Partial Summary         *3 When considering a motion for summary judgment, the
Judgment whereby they seek dismissal of Defendant Russell          court must resolve all ambiguities and draw all reasonable
from this action as well as dismissal of all claims against the    inferences in favor of the non-movant. Nora Beverages,
remaining Defendants in their official capacities. Dkt. No. 70.    Inc. v. Perrier Group of Am., Inc., 164 F.3d 736, 742 (2d
A response to that Motion was due on February 22, 2013. To         Cir.1998). “[T]he trial court's task at the summary judgment
date, the Court has not received a response from Plaintiff.        motion stage of the litigation is carefully limited to discerning
                                                                   whether there are any genuine issues of material fact to be
                                                                   tried, not to deciding them. Its duty, in short, is confined at this
                      I. DISCUSSION                                point to issue-finding; it does not extend to issue-resolution.”
                                                                   Gallo v. Prudential Residential Servs., Ltd. P'ship, 22 F.3d
                                                                   1219, 1224 (2d Cir.1994). Furthermore, where a party is
                   A. Standard of Review                           proceeding pro se, the court must “read [his or her] supporting
                                                                   papers liberally, and ... interpret them to raise the strongest
Pursuant to FED. R. CIV. P. 56(a), summary judgment is
                                                                   arguments that they suggest.” Burgos v. Hopkins, 14 F.3d
appropriate only where “there is no genuine dispute as to any
                                                                   787, 790 (2d Cir.1994), accord, Soto v. Walker, 44 F.3d 169,
material fact and the movant is entitled to judgment as a matter
                                                                   173 (2d Cir.1995). Nonetheless, mere conclusory allegations,
of law.” The moving party bears the burden to demonstrate
                                                                   unsupported by the record, are insufficient to defeat a motion
through “pleadings, depositions, answers to interrogatories,
                                                                   for summary judgment. See Carey v. Crescenzi, 923 F.2d 18,
and admissions on file, together with [ ] affidavits, if any,”
                                                                   21 (2d Cir.1991). Summary judgment is appropriate “[w]here
that there is no genuine issue of material fact. F.D.I. C. v.


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 78 of 221
Douglas v. Perrara, Not Reported in F.Supp.2d (2013)
2013 WL 5437617

the record taken as a whole could not lead a rational trier of             his Eighth Amendment rights were being violated.
fact to find for the non-moving party.” Matsushita Elec. Indus.            Compl. at ¶¶ 5–8.
Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).                 *4 With regard to the pending, unopposed Motion, the
                                                                    Court notes that there is a paucity of factual allegations
Pursuant to the Local Rules of Practice for the Northern            contained in the Complaint concerning Defendant Russell.
District of New York, “[w]here a properly filed motion is           In fact, the only factual allegation that this Court can point
unopposed and the Court determines that the moving party            to is that Plaintiff wrote two letters to Defendant Russell
has met its burden to demonstrate entitlement to the relief         complaining about being denied meals. Defendant Russell
requested therein, the non-moving party's failure to file to        is not named nor referenced throughout the remainder of
serve any papers ... shall be deemed as consent to the granting     the Complaint. Nevertheless, in the section of the Complaint
or denial of the motion, as the case may be, unless good cause      where Plaintiff lists his causes of action, he seemingly seeks
is shown.” N.D.N.Y.L.R. 7.1(b)(3). “The fact that there has         to hold Defendant Russell liable for her alleged failure to
been no response to a summary judgment motion does not, of          intervene and take disciplinary action against the Defendants
course, mean that the motion is to be granted automatically.”       in order to curb their known pattern of physical abuse against
Champion v. Artuz, 76 F.3d 483, 486 (2d Cir.1996). Even             inmates. Id. at ¶¶ 64 & 66.
in the absence of a response, Defendants are entitled to
summary judgment only if the material facts demonstrate             According to Defendants' uncontroverted submissions,
their entitlement to judgment as a matter of law. Id.; FED. R.      Defendant Eileen Russell is employed by DOCCS and
CIV. P. 56(c). Because Plaintiff has failed to raise any question   worked at Great Meadow in 2006 as the Assistant
of material fact, the Court will accept the facts as set forth in   Deputy Superintendent for Special Housing assigned to the
Defendants' Statement Pursuant to Rule 7.1(a)(3) (Dkt. No.          Behavioral Health Unit. Dkt. No. 70–3, Eileen Russell Decl.,
70–2), supplemented by Plaintiffs' verified Complaint (Dkt.         dated Feb. 4, 2013, at ¶¶ 1, 3, & 4. During her tenure in that
No. 1), as true. See Lopez v. Reynolds, 998 F.Supp. 252, 256        position, Plaintiff neither worked nor was housed as a patient
(W.D.N.Y.1997).                                                     in the Behavioral Health Unit. Russell Decl. at ¶ 11. Russell
                                                                    did not have any responsibilities related to delivery of meals
                                                                    to inmates nor does she have any recollection of speaking with
                  B. Personal Involvement                           Plaintiff or seeing any correspondence from him. Id. at ¶ 13.
                                                                    Furthermore, at no time was she made aware of any assault
As noted above, Plaintiff brings this civil rights action           against Plaintiff by any DOCCS employee. Id. at ¶ 15.
for alleged violations of his constitutional rights during
his incarceration in December 2009 at Great Meadow                  The Second Circuit has held that “personal involvement
Correctional Facility. Plaintiff claims that in early December      of defendants in alleged constitutional deprivations is a
2009, he was subjected to threats and harassment by other           prerequisite to an award of damages under § 1983.”
inmates and correctional officers. Compl. at ¶ 1. Plaintiff         Wright v. Smith, 21 F.3d 496, 501 (2d Cir.1994) (citations
alleges that beginning on December 11, 2009, he was denied          omitted). Moreover, “the doctrine of respondeat superior
several meals for several consecutive days by unnamed               cannot be applied to section 1983 actions to satisfy the
individuals, prompting him to file grievances and write two         prerequisite of personal involvement.” Kinch v. Artuz, 1997
letters to Defendant Russell. Id. at ¶¶ 2–8. 2 Thereafter, on       WL 576038, at *2 (S.D.N.Y. Sept. 15, 1997) (citing Colon
December 16, 2009, Plaintiff's meals were delivered to him          v. Coughlin, 58 F.3d 865, 874 (2d Cir.1995) & Wright v.
and, on the following date, he was moved to protective              Smith, 21 F.3d at 501) (further citations omitted)). Thus, “a
custody. Id. at ¶¶ 9–10. The remainder of Plaintiff's Complaint     plaintiff must plead that each Government-official defendant,
describes a series of events wherein the remaining Defendants       through the official's own individual actions, has violated the
are accused of using excessive physical force against him and       constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009).
denying him medical attention.
                                                                    It appears that Plaintiff seeks to hold Defendant Russell liable
2                                                                   due to her employment as a supervisor at Great Meadow. The
        Plaintiff alleges that in addition to filing several
                                                                    Second Circuit has stated that a supervisory defendant may
        grievances he submitted sick call requests and sent
                                                                    have been personally involved in a constitutional deprivation
        letters to the Inspector General, all explaining how
                                                                    within the meaning of § 1983 if she: (1) directly participated


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 79 of 221
Douglas v. Perrara, Not Reported in F.Supp.2d (2013)
2013 WL 5437617

in the alleged infraction; (2) after learning of the violation,     he has not created any material issue of fact regarding
failed to remedy the wrong; (3) created a policy or custom          Russell's non-involvement in any constitutional wrongdoing.
under which unconstitutional practices occurred or allowed          Thus, based upon the record before the Court, we find
such policy or custom to continue; (4) was grossly negligent        that Defendant Russell was not personally involved in any
in managing subordinates who caused the unlawful condition          wrongdoing and should be dismissed from this action. See
or event; or (5) the defendant exhibited deliberate indifference    Wright v. Smith, 21 F.3d at 501 (defendant may not be held
to the rights of inmates by failing to act on information           liable simply because he holds a high position of authority).
indicating that unconstitutional acts were occurring. 3 Colon
v. Coughlin, 58 F.3d at 873 (citations omitted); Williams
v. Smith, 781 F.2d 319, 323–24 (2d Cir.1986) (citations                               C. Eleventh Amendment
omitted).
                                                                    By their Motion, Defendants seek dismissal of claims brought
3                                                                   against them in their official capacities. Dkt. No. 70. In
        The Second Circuit has yet to address the impact
                                                                    making this request, the Defendants note that during the
        of Ashcroft v. Iqbal, 556 U.S. 662 (2009), upon
                                                                    pendency of this action, Plaintiff was released from DOCCS's
        the categories of supervisory liability under Colon
                                                                    custody, thereby rendering moot any request he has made
        v. Coughlin, 58 F.3d 865 (2d Cir.1995). See
                                                                    for injunctive relief. Dkt. No. 70–4, Defs.' Mem. of Law,
        Grullon v. City of NewHaven, 720 F.3d 133 (2d
                                                                    at pp. 7–8. After reviewing the Complaint, the Court notes
        Cir.2013) (noting that the Court's decision in
                                                                    that Plaintiff primarily seeks monetary compensation for both
        Iqbal “may have heightened the requirements for
                                                                    compensatory and punitive damages. See Compl. at Relief
        showing a supervisor's personal involvement,” but
                                                                    Requested. In addition, he seeks a declaratory judgment
        declining to resolve the issue). Lower courts have
                                                                    that his rights have been violated, but does not seek other
        struggled with this issue, specifically whether Iqbal
                                                                    injunctive relief. Id.
        effectively calls into question certain prongs of the
        Colon five-part test for supervisory liability. See,
                                                                    The Eleventh Amendment states, “[t]he Judicial power of the
        e.g., Sash v. United States, 674 F.Supp.2d 531, 543
                                                                    United States shall not be construed to extend to any suit in
        (S.D.N.Y.2009). While some courts have taken the
                                                                    law or equity, commenced or prosecuted against one of the
        position that only the first and third of the five
                                                                    United States by Citizens of another State, or by Citizens
        Colon categories remain viable and can support a
                                                                    or Subjects of any Foreign State.” U.S. CONST. amend. XI.
        finding of supervisory liability, see, e.g., Bellamy
                                                                    Although by its terms, the amendment bars suit by citizens of
        v. Mount Vernon Hosp., 2009 WL1835939, at *6
                                                                    one state against another state, the Supreme Court has held
        (S.D.N.Y. June 26, 2009), aff'd, 387 F. App'x
                                                                    that such amendment similarly bars suits against a state by
        55 (2d Cir.2010), others disagree and conclude
                                                                    its own citizens. Hans v. Louisiana, 134 U.S. 1 (1890). “The
        that whether any of the five categories apply in
                                                                    Eleventh Amendment thus ‘affirm[s] that the fundamental
        any particular cases depends upon the particular
                                                                    principle of sovereign immunity limits the grant of judicial
        violations alleged and the supervisor's participatory
                                                                    authority in Art. III.’ “ Richardson v. New York State Dep't
        role, see, e.g., D'Olimpio v. Crisafi, 718 F.Supp.2d
                                                                    of Corr. Servs., 180 F.3d 426, 447–48 (2d Cir.1999) (citing
        340, 347 (S.D.N.Y.2010). Nevertheless, this Court,
                                                                    Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S.
        until instructed to the contrary, continues to apply
                                                                    89, 98 (1984)). Thus, sovereign immunity provided for in
        the entirety of the five-factor Colon test.
                                                                    the Eleventh Amendment prohibits suits against the state,
 *5 Here, the evidence shows that Defendant Russell did             including a state agency in federal court. Pennhurst State
not directly participate in any constitutional wrongdoing,          Sch. & Hosp. v. Halderman, 465 U.S. at 98–101; Severino v.
she was not aware that Plaintiff had been experiencing any          Negron, 996 F.2d 1439, 1441 (2d Cir.1993); Daisernia v. State
problems with other inmates and staff, in her assignment to         of New York, 582 F.Supp. 792, 796 (N.D.N.Y.1984). To the
the Behavioral Health Unit she did not come into contact with       extent a state official is sued for damages in his or her official
the Plaintiff, and, she was not responsible for creating policies   capacity, “such a suit is deemed to be a suit against the state,
or customs nor for rectifying any of the alleged constitutional     and the official is entitled to invoke the eleventh amendment
infirmities Plaintiff is alleged to have been subjected to.         immunity belonging to the state.” Rourke v. New York State
Because Plaintiff failed to respond to Defendants' Motion,          Dep't. of Corr. Servs., 915 F.Supp. 525, 539 (N.D.N.Y.1995)



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 80 of 221
Douglas v. Perrara, Not Reported in F.Supp.2d (2013)
2013 WL 5437617

                                                                        For the reasons stated herein, it is hereby
(citing Berman Enters., Inc. v. Jorling, 3 F.3d 602, 606 (2d
Cir.), cert. denied, 510 U.S. 1073 (1994); Ying Jing Gan v.
                                                                        RECOMMENDED, that Defendants' Motion for Partial
City of New York, 996 F.2d 522, 529 (2d Cir.1993)); see also
                                                                        Summary Judgment (Dkt. No. 70) be GRANTED and all
Mathie v. Fries, 121 F.3d 808, 818 (2d Cir.1997) (“A claim
                                                                        claims against Defendant Russell be DISMISSED and claims
against a government officer in his official capacity is, and
                                                                        against the remaining Defendants in their official capacities
should be treated as, a claim against the entity that employs
                                                                        be DISMISSED; and it is further
the officer ....”).

                                                                        RECOMMENDED, that if the above recommendations are
 *6 However, whether state officials sued in their official
                                                                        accepted, this case be set down for a final pre-trial conference
capacities are entitled to Eleventh Amendment immunity
                                                                        with the parties to assess whether this matter is trial ready;
depends also upon the relief sought in the complaint. The
                                                                        and it is further
Second Circuit has held that in accordance with Ex parte
Young, 209 U.S. 123 (1908), “acts of state officials that violate
                                                                        ORDERED, that the Clerk of the Court serve a copy of this
federal constitutional rights are deemed not to be acts of the
                                                                        Report–Recommendation and Order upon the parties to this
state and may be subject of injunctive or declaratory relief in
                                                                        action.
federal court.” Berman Enters., Inc. v. Jorling, 3 F.3d at 606
(citations omitted); see also Rourke v. New York State Dep't
                                                                        Pursuant to 28 U.S.C. § 636(b)(1), the parties have fourteen
of Corr. Servs., 915 F.Supp. at 540. While much of the relief
                                                                        (14) days within which to file written objections to the
sought herein is compensatory and punitive monetary relief,
                                                                        foregoing report. Such objections shall be filed with the Clerk
to the extent Plaintiff seeks some form of declaratory relief,
                                                                        of the Court. FAILURE TO OBJECT TO THIS REPORT
such claims against the Defendants in their official capacities
                                                                        WITHIN FOURTEEN (14) DAYS WILL PRECLUDE
could go forward insofar as the Plaintiff seeks prospective
                                                                        APPELLATE REVIEW. Roldan v. Racette, 984 F.2d 85, 89
relief. However, in light of his release from DOCCS's custody,
                                                                        (2d Cir.1993) (citing Small v. Sec'y of Health and Human
the Court finds that any request for prospective injunctive
                                                                        Servs ., 892 F.2d 15 (2d Cir.1989)); see also 28 U.S.C. §
relief is moot and the claims against the remaining Defendants
                                                                        636(b) (1); FED. R. CIV. P. 72 & 6(a).
in their official capacities should be dismissed. Khalil v.
Laird, 353 F. App'x 620 (2d Cir.2009) (citing Muhammad
v. City of New York Dep't of Corr., 126 F.3d 119, 123 (2d               All Citations
Cir.1997)).
                                                                        Not Reported in F.Supp.2d, 2013 WL 5437617


                     II. CONCLUSION


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 81 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653

                                                                  an unidentified nurse, based on allegations that she provided
                                                                  inadequate medical care following the assault on plaintiff.
     KeyCite Yellow Flag - Negative Treatment
Supplemented by A'Gard v. Locke, N.D.N.Y., August 17, 2016
                                                                  Currently pending before the court are cross-motions brought
                                                                  by defendant Locke and the plaintiff, each seeking the entry
                    2016 WL 8735653
                                                                  of summary judgment in their favor. For the reasons set forth
      Only the Westlaw citation is currently available.
                                                                  below, I recommend that plaintiff's motion be denied and
       United States District Court, N.D. New York.
                                                                  defendant Locke's motion be granted. In addition, based on
                Kenith M. A'GARD, Plaintiff,                      the record evidence adduced by defendant Locke in support
                             v.                                   of his motion, which demonstrates his knowledge as to the
                                                                  identities of the Sergeant John Doe and Lieutenant John
               N. LOCKE, 1 et al., Defendants.
                                                                  Doe named as defendants in the complaint, the previous
                                                                  efforts of plaintiff to identify these defendants, and my
 1       Defendant Locke was sued by plaintiff as N. Lock.        recommendation with respect to the claim asserted against
         See Dkt. No. 1 at 7. The clerk of the court will         defendant Locke, defense counsel will be directed to provide
         respectfully be directed to revise the docket in this
                                                                  plaintiff with the names of these individuals. 2 Finally, in light
         matter to reflect the correct spelling of defendant
                                                                  of plaintiff's failure to take reasonable steps to identify and
         Locke's name.
                                                                  join the other unnamed defendants in this action during the
                                                                  pendency of discovery and the absence of any record evidence
          Civil Action No. 9:14-CV-0613 (GTS/DEP)
                                                                  that would appear to support a claim against any of those
                               |
                                                                  defendants, I recommend that the claims asserted against the
                      Signed 06/24/2016
                                                                  remaining three unnamed defendants be dismissed without
                                                                  prejudice for failure to prosecute.
Attorneys and Law Firms

KENITH M. A'GARD, 10-A-3008, Shawangunk                           2       After plaintiff has been provided with the true
Correctional Facility, P.O. Box 700, Wallkill, NY 12589, Pro              names of Sergeant John Doe and Lieutenant John
Se.                                                                       Doe, plaintiff will be granted leave to amend
                                                                          his complaint, after which point the court will
FOR DEFENDANTS: HON. ERIC T. SCHNEIDERMAN,
                                                                          issue a new scheduling order allowing for limited
New York State Attorney General, OF COUNSEL:
                                                                          discovery relative to the Eighth Amendment claim
CHRISTOPHER J. HUMMEL, ESQ. Assistant Attorney
                                                                          asserted against these defendants.
General, The Capitol, Albany, NY 12224.

                                                                  I. BACKGROUND 3
      REPORT, RECOMMENDATION AND ORDER                            3     In light of the procedural posture of the case,
                                                                        the following recitation is derived from the
DAVID E. PEEBLES, CHIEF U.S. MAGISTRATE JUDGE                           record now before the court. Ordinarily, when
                                                                        a motion for summary judgment is made, the
 *1 Pro se plaintiff Kenith M. A'Gard, a New York State
                                                                        record evidence is construed with all inferences
prison inmate, has commenced this action against several
                                                                        drawn and ambiguities resolved in the non-moving
defendants, both named and unidentified “Doe” defendants,
                                                                        party's favor. Terry v. Ashcroft, 336 F.3d 128,
all of whom are corrections employees stationed at the prison
                                                                        137 (2d Cir. 2003). In this case, in light of the
facility in which plaintiff was confined at the relevant times,
                                                                        parties' cross-motions, the court draws “all factual
pursuant to 42 U.S.C. § 1983, alleging the deprivation of
                                                                        inferences ... against the party whose motion is
his civil rights. Liberally construed, plaintiff's complaint
                                                                        under consideration.” Tindall v. Poultney High
asserts claims under the Eighth Amendment for (1) failure to
                                                                        Sch. Dist., 414 F.3d 281, 284 (2d Cir. 2005)
protect, against defendant Nathan Locke and four unnamed
                                                                        (quotation marks omitted). It is worth noting that,
individuals, based on allegations that they failed to take
                                                                        generally, the material facts underlying plaintiff's
reasonable steps to prevent plaintiff from being assaulted by a
fellow inmate, and (2) deliberate medical indifference, against


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 82 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653

        claim against defendant Locke in this matter are not       Prior to plaintiff's entry into the cell, defendant Lieutenant
        in dispute.                                                Doe allegedly told plaintiff in the presence of defendant
                                                                   Locke that he wanted plaintiff to “kick [Inmate] Heath's ass.”
 *2 Plaintiff is a New York State prison inmate currently
being held in the custody of the New York State Department         Dkt. No. 53-1 at 14-15; see also Dkt. No. 1 at 15. Once
                                                                   plaintiff was locked in his new cell, defendant Locke returned
of Corrections and Community Supervision (“DOCCS”). See
                                                                   to his post. Dkt. No. 53-2 at 3.
generally Dkt. No. 1. While he is now incarcerated at the
Shawangunk Correctional Facility, at the times relevant to his
                                                                   Shortly after plaintiff was locked into the cell, he was
claims in this action, plaintiff was confined in the Upstate
                                                                   assaulted by Inmate Heath. Dkt. No. 1 at 15; Dkt. No. 63
Correctional Facility (“Upstate”), located in Malone, New
                                                                   at 5-6. Defendant Locke responded to the cell and issued
York. 4 Id. at 6.
                                                                   plaintiff a misbehavior report based on the incident. Dkt.
                                                                   No. 1 at 17; Dkt. No. 1-1 at 1; Dkt. No. 53-2 at 3, 6.
4       Upstate is a maximum security prison comprised             Although the misbehavior report issued to plaintiff suggests
        exclusively of special housing unit (“SHU”) cells          that defendant Locke witnessed Inmate Heath and plaintiff
        in which inmates are confined for twenty-three             “exchanging striking blows,” 6 plaintiff disputes this, 7 and
        hours each day, primarily for disciplinary reasons.        a declaration submitted by defendant Locke in support of his
        Samuels v. Selsky, No. 01-CV-8235, 2002 WL                 motion for summary judgment is vague regarding this point.
        31040370, at *4 n.11 (S.D.N.Y. Sept. 12, 2002).            See Dkt. No. 53-2 at 3. In any event, defendant Locke wrote
Plaintiff arrived at Upstate on April 19, 2013. Dkt. No.           in a misbehavior report issued concerning the incident that
63 at 4. Upon his arrival, he was assigned to a double-            “Inmate Agard, K Din #10A3008 did not appear to be the
occupancy cell with inmate James Heath following an                aggressor but was attempting to defend himself.” Dkt. No. 1-1
assessment of his suitability and compatibility for double-        at 1; Dkt. No. 53-2 at 6.
cell housing. 5 Id.; Dkt. No. 53-3 at 3, 16. Accompanied by
defendants Corrections Officers Doe 1 and Doe 2, defendant         6
                                                                           See, e.g., Dkt. No. 1-1 at 1.
Locke escorted plaintiff to his cell as instructed by his area
                                                                   7
supervisor, a sergeant. Dkt. No. 53-2 at 2. Upon the group's               See Dkt. No. 1 at 25; Dkt. No. 63 at 5.
arrival at the cell, Inmate Heath refused to allow plaintiff to     *3 Following plaintiff's altercation with Inmate Heath, he
enter, told defendant Locke and the other officers that he did     was taken out of the cell and seen by medical staff. Dkt. No.
not want plaintiff in the cell with him, and became “hostile.”     53-2 at 3. Plaintiff claims that Nurse Jane Doe, a defendant
Dkt. No. 1 at 15; Dkt. No. 63 at 4; Dkt. No. 53-1 at 11-12; Dkt.   in this action, acted with deliberate indifference to his serious
No. 53-2 at 2. Defendant Locke then informed his sergeant          medical needs by failing to provide adequate medical care to
by radio communication of Inmate Heath's behavior. Dkt. No.        address his injuries, which allegedly included “a concussion,
63 at 4; Dkt. No. 53-1 at 11; Dkt. No. 53-2 at 2. Plaintiff was    a split-lip, a stab wound to the left side of the nose, chipped
escorted back to a holding pen, and defendant Locke met with       and cracked teeth, and a swelling to [his] face and skull.” Dkt.
the Sergeant and Lieutenant Watch Commander to discuss the         No. 1, at 44.
situation. Dkt. No. 63 at 4; Dkt. No. 53-1 at 13-14; Dkt. No.
53-2 at 2. According to defendant Locke, defendant Sergeant        Plaintiff contends that his “Institutional History” records
Doe “then ordered [him], along with [his] fellow officers,         reflect that he “was not suppose[d] to be in ‘double-
to escort plaintiff ... into the cell.” Dkt. No. 53-2 at 2; see    occupancy-housing’ at Upstate” and that he is “ ‘victim
also Dkt. No. 63 at 4-5. Defendant Locke, in the company           prone.’ ” Dkt. No. 1 at 19, 21. Plaintiff testified at his
of Sergeant John Doe and two other officers, then escorted         deposition in this matter that he informed defendant Locke,
plaintiff back to the cell. Dkt. No. 53-2, at 3.                   prior to being escorted into Inmate Heath's cell, that he
                                                                   “couldn't double bunk.” Dkt. No. 53-1 at 16. In addition,
5                                                                  plaintiff contends, and there is no evidence disputing, that
        Although plaintiff refers to this individual as “Scott
        Heath” in his complaint, see, e.g., Dkt. No. 1 at          defendant Locke was aware that Inmate Heath had a history of
        1, 8, it appears the inmate who plaintiff intends to       violence against other prisoners while incarcerated at Upstate.
        reference is “James Heath,” DIN 03-B-2618. See             Dkt. No. 1 at 24; Dkt. No. 63 at 5 & n.2. Defendant Locke
        Dkt. No. 63 at 4.                                          maintains that he “had no authority to change the approval of
                                                                   plaintiff to be housed with Inmate Heath.” Dkt. No. 53-2 at 3.


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 83 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653


                                                                  III. DISCUSSION
II. PROCEDURAL HISTORY
Plaintiff commenced this action on May 27, 2014, with                A. Plaintiff's Cross-Motion for Summary Judgment and
the filing of a complaint and accompanying applications to           Failure to Respond to Defendant Locke's Statement of
proceed in forma pauperis (“IFP”) and for permission to              Material Facts
proceed in the action anonymously, utilizing a pseudonym,          *4 Although plaintiff characterizes his response to
                                                                  defendant Locke's motion as a “ ‘cross-motion’ for summary
for safety reasons. 8 Dkt. Nos. 1-3. Named as defendants
                                                                  judgment,” and “submits that plaintiff's complaint and the
in plaintiff's complaint were Corrections Officer N. Locke,
                                                                  relief requested be granted in its entirety,” Dkt. No. 63 at 1,
Inmate James Heath, Deputy Superintendent Rock, Inspector
                                                                  3, his submission fails to comply with the local rules of this
General Vern Fonda, Administrative Assistant Chad Powell,
                                                                  court governing motion practice. In particular, Local Rule 7.1
Nurse Doe, Corrections Officers Doe 1 and Doe 2,
                                                                  requires a moving party to submit a “supporting affidavit,” as
Corrections Sergeant Doe, and Corrections Lieutenant Doe.
                                                                  well as a statement of material facts. N.D.N.Y. L.R. 7.1(a)(2)-
Dkt. No. 1 at 1, 6-10. On December 23, 2014, Chief
                                                                  (3). In this case, plaintiff has submitted only a memorandum
District Judge Glenn T. Suddaby issued a decision and
                                                                  of law in support of his cross-motion. Dkt. No. 63. Because
order pursuant to 28 U.S.C. §§ 1915(e)(2)B(ii), 1915A(b) in
                                                                  plaintiff has not complied with the applicable local rules
which he (1) granted plaintiff's IFP application; (2) denied
                                                                  governing motion practice by including an affidavit and
plaintiff's request to proceed under a pseudonym in this
                                                                  statement of material facts, I recommend that his motion be
action; and (3) dismissed all of plaintiff's claims, except
                                                                  denied. See, e.g., Riley v. Town of Bethlehem, 5 F.Supp.2d 92,
plaintiff's Eighth Amendment failure to protect claim asserted
                                                                  93 (N.D.N.Y. 1998) (dismissing summary judgment motion
against defendants Locke, Corrections Officers Doe 1 and
                                                                  based on moving party's failure to file a properly supported
2, Corrections Lieutenant Doe, and Corrections Sergeant
                                                                  Local Rule 7.1 Statement of Material Facts).
Doe, and plaintiff's Eighth Amendment deliberate medical
indifference claim against Nurse Doe. See generally Dkt. No.
                                                                  Plaintiff's failure to respond to the Local Rule 7.1(a)(3)
14.
                                                                  Statement submitted by defendants in support of their motion
                                                                  is also significant. By its terms, Local Rule 7.1 provides,
8      Plaintiff's original IFP application was denied as         in part, that “[t]he Court shall deem admitted any properly
       incomplete on June 3, 2014. Dkt. No. 6. Plaintiff          supported facts set forth in the Statement of Material Facts
       thereafter filed a renewed and complete request on         that the opposing party does not specifically controvert.”
       June 10, 2014. Dkt. No. 7.                                 N.D.N.Y. L.R. 7.1(a)(3) (emphasis in original). Courts in
Following the close of discovery, defendant Locke filed a         this district have routinely enforced a non-movant's failure to
motion seeking the entry of summary judgment in his favor         properly respond. See, e.g., Elgamil v. Syracuse Univ., No. 99-
on December 24, 2015. Dkt. No. 53. In his motion, defendant       CV-0611, 2000 WL 1264122, at *1 (N.D.N.Y. Aug. 22, 2010)
Locke argues that no reasonable factfinder could conclude he      (McCurn, J.) (listing cases). 9 Undeniably, pro se litigants
is liable for failing to protect plaintiff from Inmate Heath's    are entitled to some measure of forbearance when defending
attack, and, in any event, he is entitled to qualified immunity   against summary judgment motions. Jemzura v. Public Serv.
from suit. See generally Dkt. No. 53-5. Plaintiff filed a         Comm'n, 961 F.Supp. 406, 415 (N.D.N.Y. 1997) (McAvoy,
response to defendant Locke's motion on February 4, 2016,         J.). The deference owed to pro se litigants, however, does
which he has characterized as a cross-motion for summary          not extend to relieving them of the ramifications associated
judgment. Dkt. No. 63. Defendant Locke subsequently filed         with the failure to comply with the court's local rules.
an opposition to plaintiff's cross-motion on March 15, 2016.      Robinson v. Delgado, No. 96-CV-0169, 1998 WL 278264,
Dkt. No. 67.                                                      at *2 (N.D.N.Y. May 22, 1998) (Pooler, J., adopting report
                                                                  and recommendation by Hurd, M.J.). Stated differently, “a
The pending motions, which are now fully briefed and ripe         pro se litigant is not relieved of his duty to meet the
for determination, have been referred to me for the issuance of   requirements necessary to defeat a motion for summary
a report and recommendation pursuant to 28 U.S.C. § 636(b)        judgment.” Latouche v. Tompkins, No. 09-CV-0308, 2011
(1)(B) and Northern District of New York Local Rule 72.3(c).      WL 1103045, at *1 (N.D.N.Y. Mar. 23, 2011) (Mordue, J.).
See Fed. R. Civ. P. 72(b).



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 84 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653

9       Copies of all unreported decisions cited in this
                                                                      When deciding a summary judgment motion, a court must
        document have been appended for the convenience
                                                                      resolve any ambiguities, and draw all inferences, in a light
        of the pro se plaintiff.
                                                                      most favorable to the non-moving party. Anderson, 477 U.S.
Here, because plaintiff was warned of the consequences of             at 255; Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d
failing to properly respond to defendant Locke's statement of         133, 137-38 (2d Cir. 1998). The entry of summary judgment
material facts, see Dkt. No. 53 at 2; Dkt. No. 54 at 2, but           is justified only in the event of a finding that no reasonable
nonetheless has failed to do so, I recommend that the court           trier of fact could rule in favor of the non-moving party. Bldg.
deem the facts contained in defendant's statement as having           Trades Employers' Educ. Ass'n v. McGowan, 311 F.3d 501,
been admitted, to the extent they are supported by accurate           507-08 (2d Cir. 2002); see also Anderson, 477 U.S. at 250
record citations. See, e.g., Latouche, 2011 WL 1103045, at *1;        (finding summary judgment appropriate only when “there can
see also Champion v. Artuz, 76 F.3d 483, 486 (2d Cir. 1996).          be but one reasonable conclusion as to the verdict”).
As to any facts not contained in defendant Locke's statement
of material facts, in light of the procedural posture of this case,
the court is “required to resolve all ambiguities and draw all
permissible factual inferences” in favor of plaintiff. Terry, 336                    2. Merits of Plaintiff's Claim
F.3d 1 at 137.                                                                     Asserted Against Defendant Locke

                                                                      Plaintiff asserts an Eighth Amendment failure to protect
    B. Defendant Locke's Motion                                       claim against Corrections Officer Locke based on allegations
                                                                      that he was aware of the risk of harm plaintiff faced
                                                                      from Inmate Heath prior to being escorted and housed in
                1. Legal Standard Governing                           his cell. See generally Dkt. Nos. 1, 63. Defendant Locke
               Motions for Summary Judgment                           contends that, even assuming plaintiff's allegations are true,
                                                                      he had no authority to change plaintiff's housing assignment,
Summary judgment motions are governed by Rule 56 of
                                                                      and, therefore, he is not responsible for violating plaintiff's
the Federal Rules of Civil Procedure. Under that provision,
the entry of summary judgment is warranted “if the movant             constitutional rights. 10 See generally Dkt. No. 53-5.
shows that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of            10     Defendant Locke also argues that he was unaware
law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S.              that plaintiff was a homosexual and victim-prone
317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S.                   prior to directing plaintiff to bunk with Inmate
242, 247 (1986); Sec. Ins. Co. of Hartford v. Old Dominion                   Heath. Dkt. No. 53-5 at 8-9. Whether this is true
Freight Line, Inc., 391 F.3d 77, 82-83 (2d Cir. 2004). A fact is             is not relevant because plaintiff's claim is based on
“material” for purposes of this inquiry if it “might affect the              allegations that defendant Locke was aware that
outcome of the suit under the governing law.” Anderson, 477                  (1) plaintiff could not double-bunk, (2) defendant
U.S. at 248; see also Jeffreys v. City of N.Y., 426 F.3d 549, 553            Sergeant Doe told plaintiff to fight Inmate Heath,
(2d Cir. 2005). A material fact is genuinely in dispute “if the              (3) Inmate Heath refused to permit plaintiff to enter
evidence is such that a reasonable jury could return a verdict               the cell, and (4) Inmate Heath had a history of
for the nonmoving party.” Anderson, 477 U.S. at 248.                         assaulting other prisoners while at Upstate.
                                                                      The Eighth Amendment prohibits punishment that is
 *5 A party moving for summary judgment bears an initial
                                                                      “incompatible with ‘the evolving standards of decency that
burden of demonstrating that there is no genuine dispute
                                                                      mark the progress of a maturing society[,]’ or ‘involve[s]
of material fact to be decided with respect to any essential
                                                                      the unnecessary and wanton infliction of pain[.]’ ” Estelle
element of the claim in issue; the failure to meet this burden
                                                                      v. Gamble, 429 U.S. 97, 102-03 (1976) (quoting Trop v.
warrants denial of the motion. Anderson, 477 U.S. at 250 n.4;
                                                                      Dulles, 356 U.S. 86, 100-01 (1958) and Gregg v. Georgia,
Sec. Ins. Co., 391 F.3d at 83. In the event this initial burden
                                                                      428 U.S. 153, 169-73 (1976) (citations omitted)). While
is met, the opposing party must show, through affidavits or
                                                                      the Eighth Amendment “ ‘does not mandate comfortable
otherwise, that there is a material dispute of fact for trial. Fed.
                                                                      prisons,’ neither does it permit inhumane ones.” Farmer
R. Civ. P. 56(e); Celotex, 477 U.S. at 324; Anderson, 477 U.S.
                                                                      v. Brennan, 511 U.S. 825, 832 (1994) (quoting Rhodes v.
at 250.


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 85 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653

Chapman, 452 U.S. 337, 349 (1981)); Walker v. Schult, 717            *6 In this case, plaintiff has submitted undisputed
F.3d 119, 125 (2d Cir. 2013).                                       admissible record evidence establishing that defendant Locke
                                                                    was present when Inmate Heath told defendant Locke and
Law enforcement officers have a duty to intervene and               the other corrections officers escorting plaintiff that he did
prevent a cruel and unusual punishment, prohibited by the           not want plaintiff to be housed in his cell and refused to
Eighth Amendment, from occurring or continuing. Farmer,             allow plaintiff entry into the cell. Dkt. No. 1 at 15; Dkt. No.
511 U.S. at 836 (1994); Hayes v. N.Y. City Dep't of Corrs,          53-1 at 11; Dkt. No. 63 at 4. In addition, defendant Locke
84 F.3d 614, 620 (2d Cir. 1996); see also Ayers v. Coughlin,        does not dispute that he learned plaintiff was not supposed
780 F.2d 205, 209 (2d Cir. 1985) (“The failure of custodial         to be housed in a double-bunk cell prior to placing plaintiff
officers to employ reasonable measures to protect an inmate         in Inmate Heath's cell. Dkt. No. 53-1 at 16. The undisputed
from violence by other prison residents has been considered         record also reflects that defendant Locke was present when
cruel and unusual punishment.”). A plaintiff asserting a claim      defendant Lieutenant Doe allegedly told plaintiff that he
that prison officials have failed to protect him from harm must     wanted plaintiff to “kick [Inmate Heath's] ass” once he was
prove that the defendant actually knew of and disregarded an        placed inside the cell. 11 Dkt. No. 1 at 15; Dkt. No. 53-1
excessive risk of harm to his health and safety. Hayes, 84 F.3d     at 14-15. Finally, plaintiff contends that, prior to placing
at 620. This “reckless disregard” to a plaintiff's health and       plaintiff in Inmate Heath's cell, defendant Locke was aware of
safety can be proven by evidence establishing “a pervasive          Inmate Heath's violent disciplinary history while at Upstate,
risk of harm to inmates from other prisoners and a failure by       including the issuance of three Tier III misbehavior reports
prison officials to reasonably respond to that risk.” Knowles       involving assaults on Inmate Heath's former cellmates. Dkt.
v. N.Y. City Dep't of Corrs., 904 F. Supp. 217, 222 (S.D.N.Y.       No. 63 at 4, 5 & n.2.
1995) (quotation marks omitted); see also Hayes, 84 F.3d
at 620 (“[A] prison official has sufficient culpable intent if      11     In my view, this evidence is not hearsay and
he has knowledge that an inmate faces a substantial risk of
                                                                           is properly relied on when analyzing defendant
serious harm and he disregards that risk by failing to take
                                                                           Locke's pending motion. Plaintiff is not relying on
reasonable measures to abate the harm.”). Said differently, to
                                                                           the statement made by defendant Lieutenant Doe
establish liability on the part of a defendant under this theory,
                                                                           for the truth of the matter asserted. Instead, plaintiff
“the plaintiff must adduce evidence establishing that the
                                                                           offers the lieutenant's statement to show defendant
officer had (1) a realistic opportunity to intervene and prevent
                                                                           Locke's state of mind and that defendant Locke
the harm, (2) a reasonable person in the officer's position
                                                                           was on notice that plaintiff may be at risk of harm.
would know that the victim's constitutional rights were being
                                                                           Accordingly, the statement is not hearsay. See Fed.
violated, and (3) that officer does not take reasonable steps
                                                                           R. Evid. 801(c), Advisory Committee Note (“If the
to intervene.” Henry v. Dinelle, No. 10-CV-0456, 2011 WL
                                                                           significance of an offered statement lies solely in
5975027, at *4 (N.D.N.Y. Nov. 29, 2011) (Suddaby, J.)
                                                                           the fact that it was made, no issue is raised as to
(citing Jean-Laurent v. Wilkinson, 540 F. Supp. 2d 501, 512
                                                                           the truth of anything asserted, and the statement is
(S.D.N.Y. 2008)); see also Farmer, 511 U.S. at 842 (“[I]t
                                                                           not hearsay.”); accord, United States v. Dupree, 706
is enough that the official acted or failed to act despite his
                                                                           F.3d 131, 136 (2d Cir. 2013); see also George v.
knowledge of a substantial risk of serious harm.”); O'Neill
                                                                           Celotex Corp., 914 F.2d 26, 30 (2d Cir. 1990) (“To
v. Krzeminski, 839 F.2d 9, 11-12 (2d Cir. 1988) (finding no
                                                                           be sure, an out of court statement offered not for
realistic opportunity to intervene where “three blows were
                                                                           the truth of the matter asserted, but merely to show
struck in ... rapid succession”); accord, Henry, 2011 WL
                                                                           that the defendant was on notice of a danger, is not
5975027, at *4. From a constitutional perspective, “deliberate
                                                                           hearsay.”).
indifference ... requires that the charged official act or fail
to act while actually aware of a substantial risk that serious      Although it is not disputed that defendant Locke contacted
inmate harm will result.” Salahuddin v. Goord, 467 F.3d 263,        his supervisors after Inmate Heath refused plaintiff access
280 (2d Cir. 2006); see also Farmer, 511 U.S. at 837 (“[T]he        to his cell, Dkt. No. 53-1 at 12, the accumulation of all
official must both be aware of facts from which the inference       of the record evidence gives rise to a genuine dispute of
could be drawn that a substantial risk of serious harm exists,      material fact as to whether defendant Locke was aware of a
and he must also draw the inference.”).                             serious risk to plaintiff's health and safety immediately prior
                                                                    to ordering plaintiff to bunk with Inmate Heath, and recklessly



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 86 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653

disregarded that risk by failing to intervene and stop             issue violated a statutory or constitutional right, and if so,
plaintiff from being housed with Inmate Heath. In my view,         whether that right “was clearly established at the time of
reasonable factfinders could disagree as to whether notifying      the challenged conduct.” Terebesi v. Torreso, 764 F.3d 217,
his supervisor of Inmate Heath's conduct but otherwise failing     230 (2d Cir. 2014) (citing Reichle, 132 S. Ct. at 2093). The
to take any further action to protect plaintiff from impending     Supreme Court has said that an officer's “conduct violates
harm was sufficiently reasonable on defendant Locke's part         clearly established law when, at the time of the challenged
for purposes of an Eighth Amendment claim, or whether              conduct, the contours of a right are sufficiently clear that
defendant Locke had a realistic opportunity to intervene and       every reasonable official would have understood that what he
prevent the attack on the plaintiff. Accordingly, I recommend      is doing violates that right.” Ashcroft v. al-Kidd, 131 S. Ct.
defendant Locke's request for summary judgment dismissing          2074, 2083 (2011) (quotation marks and alterations omitted).
the claim asserted against him on the merits be denied.            “To this end, a plaintiff need not show a case ‘directly on
                                                                   point, but existing precedent must have placed the statutory
                                                                   or constitutional question beyond debate.’ ” Terebesi, 764
                                                                   F.3d at 230 (quoting al-Kidd, 131 S. Ct. at 2083). However,
                    3. Qualified Immunity
                                                                   ‘[e]ven where the law is ‘clearly established’ and the scope
Defendant Locke also seeks dismissal of plaintiff's claim          of an official's permissible conduct is ‘clearly defined,’ the
against him based on the doctrine of qualified immunity. Dkt.      qualified immunity defense also protects an official if it was
No. 53-5 at 11-12.                                                 ‘objectively reasonable’ for him at the time of the challenged
                                                                   action to believe his acts were lawful.” Higazy v. Templeton,
“Qualified immunity shields government officials from civil        505 F.3d 161, 169-70 (2d Cir. 2007) (citations omitted).
damages liability unless the official violated a statutory or      This “objective reasonableness” part of the test is satisfied
constitutional right that was clearly established at the time of   if “officers of reasonable competence could disagree on [the
the challenged conduct.” Reichle v. Howards, 132 S. Ct. 2088,      legality of the defendant's actions].” Malley v. Briggs, 475
2093 (2012); see also Pearson v. Callahan, 555 U.S. 223,           U.S. 335, 341 (1986). Stated differently, a defendant has acted
231 (2009); Sudler v. City of N.Y., 689 F.3d 159, 174 (2d Cir.     in an objectively unreasonable manner only “when no officer
2012). The law of qualified immunity seeks to strike a balance     of reasonable competence could have made the same choice in
between “the need to hold public officials accountable when        similar circumstances.” Lennon v. Miller, 66 F.3d 416, 420-21
they exercise power irresponsibly and the need to shield           (2d Cir. 1995).
officials from harassment, distraction, and liability when they
perform their duties reasonably.” Pearson, 555 U.S. at 231.        In this case, even when viewing the evidence in the light most
Government officials are shielded from liability by qualified      favorable to plaintiff and drawing all inferences in his favor,
immunity when making “reasonable mistakes” concerning              it was objectively reasonable for defendant Locke to believe
the lawfulness of their conduct. Sudler, 689 F.3d at 174 (citing   his acts were lawful. As was discussed above, the record
Saucier v. Katz, 533 U.S. 194, 206 (2001), abrogated on other      establishes that defendant Locke had no authority to alter
grounds by Pearson, 555 U.S. 223).                                 plaintiff's cell assignment, and plaintiff does not otherwise
                                                                   contend that defendant Locke should have acted beyond
 *7 Because qualified immunity is “an immunity from                the scope of his authority. Dkt. No. 53-2 at 1. Upon being
suit rather than a mere defense to liability,” Mitchell v.         confronted with Inmate Heath's refusal to permit plaintiff to
Forsyth, 472 U.S. 511, 526 (1985), the Supreme Court has           enter the cell, defendant Locke conferred with his supervisors,
“repeatedly ... stressed the importance of resolving immunity      who then ordered that he direct plaintiff to enter the cell
questions at the earliest possible stage in the litigation,”       through the recreational pen door in order to effectuate the
Pearson, 555 U.S. at 231 (quoting Hunter v. Bryant, 502 U.S.       housing assignment. Dkt. No. 53-2 at 2; Dkt. No. 63 at
224, 227 (1991) (per curiam)).                                     4. These actions, which are not disputed by plaintiff, were
                                                                   within the scope of defendant Locke's duties and approved by
The determination of whether a government official is              supervisors. Dkt. No. 53-2 at 1-3.
immune from suit is informed by two factors. Doninger v.
Niehoff, 642 F.3d 334, 345 (2d Cir. 2011). Specifically, the        *8 It was certainly reasonable for defendant Locke to
inquiry turns on whether the facts alleged, taken in a light       believe he was not violating plaintiff's constitutional rights by
most favorable to the plaintiff, show that the conduct at          notifying his supervisor of a potential risk to plaintiff's safety.



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 87 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653

It was likewise objectively reasonable for defendant Locke         plaintiff back to the cell occupied by Inmate Heath. Dkt. No.
to rely on his superiors' instructions in returning plaintiff to   53-2. Based on defendant Locke's sworn statement, there is no
the cell with Inmate Heath because, at a minimum, officers         question that at least defendant Locke is aware of the identities
of reasonable competence could disagree as to the legality         of Sergeant John Doe and Lieutenant John Doe. As a result, in
of defendant Locke's actions in light of this directive from       the interests of justice, defense counsel is directed to provide
his superiors. See Anthony v City of New York, et al., 339         plaintiff with the names of these individuals, after which point
F.3d 129, 138 (2d Cir. 2003) (“ ‘Plausible instructions from a     plaintiff will be granted leave to amend his complaint to add
superior or fellow officer support qualified immunity where,       these individuals as defendants in this action. 13 See Valentin
viewed objectively in light of the surrounding circumstances,      v. Dinkins, 121 F.3d 72 (2d Cir. 1997).
they could lead a reasonable officer to conclude that the
necessary legal justification for his actions exists.... ’ ”)      13      Plaintiff attempted to obtain the names of these
(quoting Bilida v. McCleod, 211 F.3d 166, 174–75 (1st
                                                                           defendants while discovery was ongoing. See Dkt.
Cir. 2000)); Kraft v. City of N.Y., 696 F.Supp.2d 403,
                                                                           Nos. 31, 31-1, 47. Moreover, the undisputed record
420 (S.D.N.Y. 2010) (reliance on an “apparently valid”
                                                                           now shows that defense counsel knew, or could
order supports finding of qualified immunity); cf. Cuoco v.
                                                                           have known with relative ease, the names of
Moritsugu, 222 F.3d 99, 111 (2d Cir. 2000) (the failure of non-
                                                                           Lieutenant Doe and Sergeant Doe. Under such
doctors at a prison to intercede in the medical treatment of
                                                                           circumstances, the court finds “good cause” to
an inmate in not unreasonable because they lack the authority
                                                                           amend the scheduling order to allow plaintiff leave
to intervene in medical decisions). For these reasons, I
                                                                           to amend the complaint. The court also does not
recommend a finding that defendant Locke is entitled to
                                                                           find any bad faith or dilatory motive on the part
qualified immunity from suit, and that defendant Locke's
                                                                           of plaintiff in seeking to identify these defendants
motion be granted on this basis.
                                                                           based on the efforts he made during discovery,
                                                                           nor does the court find any undue prejudice to
   C. Status of Doe Defendants                                             defendants in granting plaintiff leave to amend.
On November 30, 2015, plaintiff moved to file an amended                   See, e.g., Morales v. County of Suffolk, et al., 952
complaint to add the names of two defendants previously                    F. Supp.2d 433, 435-436 (E.D.N.Y. 2013) (finding
identified as Sergeant John Doe and Lieutenant John Doe.                   the absence of undue prejudice under similar
Dkt. No. 47. In his motion, plaintiff provided the court with              circumstances because the Doe defendant sought to
only the last name of Sergeant John Doe, and asked the court               be added “plainly knew” about his involvement in
to order defense counsel to provide him with the name of the               the actions that gave rise to the claim and the need
                                                                           to re-open discovery “is not, in itself, sufficient
lieutenant listed on page 252 of a log book. 12 Id.
                                                                           to constitute prejudice”). Because plaintiff remains
                                                                           within the three-year limitations period to assert
12     Although plaintiff stated in his letter motion that he              claims against Lieutenant Doe and Sergeant Doe,
       had attached the relevant page of the log book, it                  the court need not decide whether an amendment
       was not received by the court with plaintiff's filing.              properly naming these defendants would relate
       See Dkt. No. 47.                                                    back to the original filing date of the complaint.
On December 1, 2015, I denied plaintiff's motion because,           *9 As it relates to the other Doe Corrections Officers and
pursuant to the court's mandatory pretrial discovery and           Nurse Doe, plaintiff has not taken the same steps to identify
scheduling order, the deadline for joinder of parties expired      these unnamed defendants that he took with respect to naming
on August 2, 2015, and plaintiff failed to show good               Lieutenant Doe and Sergeant Doe. Indeed, in his motion for
cause to amend. Dkt. No. 49. Thereafter, defendant Locke           leave to amend, he only sought to properly name Lieutenant
filed his motion for summary judgment. Dkt. No. 53. In             Doe and Sergeant Doe. See Dkt. No. 47.
support of that motion, defendant Locke submitted, inter
alia, a declaration in which he acknowledges that his “area        Dismissal of a claim under Rule 41(b) for failure to prosecute
supervisor, a Sergeant,” and the “Watch Commander, a               is appropriate “where discovery has closed and the Plaintiff
Lieutenant,” discussed the situation involving plaintiff and       has had ample time and opportunity to identify and serve
Inmate Heath, after which point the Sergeant “ordered”             John Doe defendants” but has failed to do so. Jones v. Rock,
defendant Locke and two of his fellow officers to escort


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 88 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653

No. 12-CV-0447, 2015 WL 791547, at *21 (N.D.N.Y. Feb.                 he was not violating plaintiff's rights when he contacted
24, 2015) (Mordue, J., adopting report and recommendation             his supervisor after learning of Inmate Heath's refusal to
by Dancks, M.J.) (quotation marks and alteration omitted);            allow plaintiff in the cell and thereafter followed orders from
Le Sane v. Hall's Sec. Analyst, Inc., 239 F.3d 206, 209 (2d           his supervisors in pursuing plaintiff's housing assignment.
Cir. 2001) (Rule 41(b) “gives the district court authority to         Accordingly, I recommend that the court find defendant
dismiss a plaintiff's case sua sponte for failure to prosecute”);     Locke is entitled to qualified immunity.
Delrosario v. City of N.Y., 07-cv-2027, 2010 WL 882990, at
* 5 (S.D.N.Y. Mar. 4, 2010) (sua sponte dismissing claims              *10 With respect to Sergeant John Doe and Lieutenant
against John Doe Defendants for failure to prosecute “[w]here         John Doe identified in plaintiff's complaint, I find that the
discovery was closed and the Plaintiff has had ample time             identities of these individuals is known, or can be determined
and opportunity to identify and serve John Doe Defendants”);          with relative ease, by defense counsel, and that good cause
Coward v. Town & Vill. of Harrison, 665 F.Supp.2d 281, 301            now exists for amending the scheduling order to name these
(S.D.N.Y. 2009) (“Where a plaintiff has had ample time to             individuals as defendants in this action. As a result, defense
identify a John Doe defendant but gives no indication that            counsel is directed to provide plaintiff with the names of these
he has made any effort to discover the defendant's name, the          individuals, after which point plaintiff will be granted leave
plaintiff simply cannot continue to maintain a suit against the       to amend his complaint to add these individuals as defendants
John Doe defendant.”).                                                in this action.

The court's initial order reviewing plaintiff's complaint             With respect to the other three Doe defendants identified in
permitted plaintiff to proceed with his claims against                plaintiff's complaint, because discovery is now closed and
defendants Corrections Officers Doe 1 and Doe 2, Lieutenant           plaintiff has failed to take reasonable steps to identify those
Doe, Sergeant Doe, and Nurse Doe, provided that plaintiff             individuals and join them in the action, I recommend that
take “reasonable steps through discovery to ascertain the             the claims asserted against those individuals be dismissed
name of the Doe defendants so as to permit the timely                 without prejudice for failure to prosecute.
amendment of the complaint and service of process on them.”
Dkt. No. 14 at 12, 14. That order warned plaintiff, however, as       Accordingly, it is hereby respectfully
follows: “If plaintiff fails to learn their identities, this action
will be dismissed as against the Doe defendants.” Id. at 12           ORDERED that, within forty-five (45) days of the filing
n.9. The deadline for joining parties to this lawsuit passed on       date of this decision and order, defense counsel produce
August 2, 2015. Dkt. No. 24 at 5. Discovery in this matter            the information specified above regarding the identities of
was originally scheduled to close on October 2, 2015. Dkt.            defendant Sergeant John Doe and defendant Lieutenant John
No. 24 at 5. That deadline was subsequently extended until            Doe. Upon receipt of defense counsel's response, the clerk
December 2, 2015, at defendant Locke's request. Dkt. Nos.             shall return this file to the court for further review; and it is
39-40.                                                                hereby further

It is now more than five months past the extended deadline            ORDERED, that the clerk adjust the court's records to reflect
for joinder of parties, yet, despite the warnings given, plaintiff    the correct spelling of defendant's name to N. Locke; and it
does not appear to have taken any steps to ascertain the              is hereby respectfully
identities of the unnamed Corrections Officers or Nurse. As
such, I recommend that the claims brought against these               RECOMMENDED that defendant Locke's motion for
three unnamed defendants be sua sponte dismissed without              summary judgment (Dkt. No. 53) be GRANTED and that
prejudice for failure to prosecute.                                   plaintiff's claims against defendant N. Locke be DISMISSED,
                                                                      and plaintiff's cross-motion for summary judgment (Dkt. No.
                                                                      63) be DENIED; and it is hereby further respectfully
IV. SUMMARY AND RECOMMENDATION
Notwithstanding the existence of a genuine dispute of                 RECOMMENDED that plaintiff's claims against defendant
material fact with respect to whether defendant Locke acted           Corrections Officer John Doe 1, Corrections Officer John Doe
reasonably in ordering plaintiff to bunk with Inmate Heath            2, and Nurse Doe be sua sponte DISMISSED WITHOUT
I find, based upon the record now before the court, that it           PREJUDICE.
was objectively reasonable for defendant Locke to believe


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 89 of 221
A'Gard v. Locke, Not Reported in Fed. Supp. (2016)
2016 WL 8735653


                                                                        It is hereby ORDERED that the clerk of the court serve a
NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
                                                                        copy of this report and recommendation upon the parties in
may lodge written objections to the foregoing report. Such
                                                                        accordance with this court's local rules.
objections must be filed with the clerk of the court within
FOURTEEN days of service of this report. FAILURE
TO SO OBJECT TO THIS REPORT WILL PRECLUDE                               All Citations
APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed. R. Civ.
P. 6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85 (2d Cir. 1993).       Not Reported in Fed. Supp., 2016 WL 8735653

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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 90 of 221
A'Gard v. Lock e, Not Reported in Fed. Supp. (2016)
2016 WL 5137273

                                                                  prosecute those claims and/or failure to comply with a Court
                    2016 WL 5137273                               Order to take reasonable steps to identify those Defendants
      Only the Westlaw citation is currently available.           pursuant to Fed. R. Civ. P. 41(b); (4) Plaintiff's Objections to
       United States District Court, N.D. New York.               the Report-Recommendation; (5) Magistrate Judge Peebles'
                                                                  Supplemental Report-Recommendation recommending that
               Kenith A'GARD, Plaintiff,                          Plaintiff's claims against Defendants Sergeant John Doe
                            v.                                    and Lieutenant John Doe also be sua sponte dismissed
      N. LOCKE, Corr. Officer a/k/a N. Lock; John                 without prejudice based on Plaintiff's failure to prosecute
                                                                  those claims and/or failure to comply with a Court Order to
     Doe 1, Corr. Officer, Upstate Corr. Facility; John
                                                                  take reasonable steps to identify those Defendants pursuant
     Doe 2, Corr. Officer, Upstate Corr. Facility; John
                                                                  to Fed. R. Civ. P. 41(b); (6) Plaintiff's Objection to the
     Doe, Corr. Sergeant, Upstate Corr. Facility; John
                                                                  Supplemental Report-Recommendation; and (7) Plaintiff's
     Doe, Lieutenant, Upstate Corr. Facility; and Jane            motion to amend his Complaint. (Dkt. Nos. 53, 63, 71,
     Doe, Nurse, Upstate Corr. Facility, Defendants.              73, 78, 81, 82.) For the reasons set forth below, the Court
                                                                  accepts and adopts both the Report-Recommendation and the
                  9:14-CV-0613 (GTS/DEP)
                                                                  Supplemental Report-Recommendation for the reasons stated
                               |
                                                                  therein; Defendant's Locke's motion for summary judgment
                      Signed 09/20/2016
                                                                  is granted and Plaintiff's claims against Defendant Locke are
                               |
                                                                  dismissed; Plaintiff's cross-motion for summary judgment is
                       Filed 09/21/2016
                                                                  denied; his motion to amend his Complaint is denied; and his
Attorneys and Law Firms                                           claims against Defendants Corrections Officer John Doe 1,
                                                                  Corrections Officer John Doe 2, Nurse Jane Doe, Sergeant
KENITH A'GARD, 10-A-3008, Sullivan Correctional                   John Doe and Lieutenant John Doe are dismissed without
Facility, Box 116, Fallsburg, New York 12733, Plaintiff, Pro      prejudice.
Se.

HON. ERIC T. SCHNEIDERMAN, Attorney General for                   I. RELEVANT BACKGROUND
the State of New York, The Capitol, OF COUNSEL:
CHRISTOPHER J. HUMMEL, ESQ., Assistant Attorney                      A. Magistrate Judge Peebles' Report-
General, Albany, New York 12224, Counsel for Defendants.             Recommendation
                                                                  Generally, in his Report-Recommendation, Magistrate Judge
                                                                  Peebles rendered the following three recommendations: (1)
                                                                  that Plaintiff's claims against Defendant Locke be dismissed
                 DECISION and ORDER
                                                                  based on the doctrine of qualified immunity, especially in
GLENN T. SUDDABY, Chief United States District Judge              light of Plaintiff's willful failure to submit a response to
                                                                  Defendant Locke's Statement of Material Facts, as required
 *1 Currently before the Court, in this pro se prisoner           by Local Rule 7.1(a)(3) of the Local Rules of Practice for
civil rights action filed by Kenith A'Gard (“Plaintiff”)          this Court; (2) that Plaintiff's claims against Defendants
against the six above-captioned employees of the New              Corrections Officers John Doe 1, John Doe 2, and Nurse
York State Department of Corrections and Community                Jane Doe be sua sponte dismissed due to Plaintiff's failure to
Supervision at Upstate Correctional Facility (“Defendants”)       prosecute those claims and/or failure to comply with a Court
are the following: (1) Defendant Locke's motion for summary       Order to take reasonable steps to identify those Defendants;
judgment pursuant to Fed. R. Civ. P. 56; (2) Plaintiff's cross-   and (3) that Plaintiff's cross-motion for summary judgment be
motion for summary judgment; (3) United States Magistrate         denied due to his willful failure to comply with Local Rule
David E. Peebles' Report-Recommendation recommending              7.1(a)(2),(3) of the Local Rules of Practice for this Court.
that Defendant Locke's motion be granted, that Plaintiff's        (Dkt. No. 71, Part III.)
cross-motion be denied, and that Plaintiff's claims against
Defendants Corrections Officer John Doe 1, Corrections
Officer John Doe 2, and Nurse Jane Doe be sua sponte                B. Plaintiff's Objections to the Report-
dismissed without prejudice based on Plaintiff's failure to         Recommendation



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 91 of 221
A'Gard v. Lock e, Not Reported in Fed. Supp. (2016)
2016 WL 5137273

 *2 Generally, in his Objections to the Report-
Recommendation, Plaintiff argues that the Court should                D. Plaintiff's Objection to the Supplemental Report-
reject the Report-Recommendation for the following three              Recommendation
reasons: (1) Magistrate Judge Peebles erred in recommending        Generally, in his Objection to the Supplemental Report-
that the factual assertions contained in Defendant Locke's         Recommendation, Plaintiff asserts two arguments: (1) while
Statement of Material Facts be deemed admitted due to              he does not know the name of Defendant Lieutenant John
Plaintiff's failure to properly respond to them under Local        Doe, he does know the name of Defendant Sergeant John
Rule 7.1(a)(3), because Defendant Locke never met his              Doe, which is Sergeant “Smith”; and (2) because he can
threshold burden of citing admissible record evidence to           identify Defendant Sergeant John Doe, the Court should not
establish the facts asserted; (2) Magistrate Judge Peebles         dismiss his claims against that Defendant but permit him
erred in recommending that the Court penalize Plaintiff for        to amend his Complaint (so as to identify that Defendant
failing to comply with Local Rule 7.1(a), because that failure     as “Sergeant Smith” and voluntarily discontinue his claims
was due to his lack of understanding of that rule as a             against Defendant Lieutenant John Doe). (Dkt. No. 81.)
pro se litigant, which was due to the Court's prior denial
of Plaintiff's request for the appointment of counsel; and
                                                                      E. Plaintiff's Motion to Amend His Complaint
(3) Magistrate Judge Peebles erred in recommending that
                                                                   Generally, in his motion to amend his Complaint, Plaintiff
Plaintiff's claims against Defendant Locke be dismissed based
                                                                   requests leave to do the following: (1) discontinue his claims
on the doctrine of qualified immunity, because a finding that
                                                                   against Defendant Lieutenant John Doe; (2) discontinuing
it was objectively reasonable for Locke to believe he was
                                                                   his claims against Defendant Locke; and (3) identifying
not violating Plaintiff's rights is inconsistent with (a) the
                                                                   Defendant Sergeant John Doe as Defendant Sergeant
record evidence that Locke spoke with his supervisor about
                                                                   “Smith”; and (3) adding claims against Defendant James C.
placing Plaintiff into a cell with Inmate James Health (thus
                                                                   Heath. (Dkt. No. 82.)
demonstrating that Locke knew that the placement violated
Plaintiff's rights), (b) the point of law that Defendant Locke
cannot escape liability based on the defense that he was “just     II. STANDARD OF REVIEW
following orders,” and (c) Magistrate Judge Peebles' prior         When a specific objection is made to a portion of a
finding that a genuine dispute of material fact exists regarding   magistrate judge's report-recommendation, the Court subjects
the merits of Plaintiff's claims against Defendant Locke. (Dkt.    that portion of the report-recommendation to a de novo
No. 73.)                                                           review. Fed. R. Civ. P. 72(b)(2); 28 U.S.C. § 636(b)(1)(C). To
                                                                   be “specific,” the objection must, with particularity, “identify
                                                                   [1] the portions of the proposed findings, recommendations,
   C. Magistrate Judge Peebles' Supplemental Report-
                                                                   or report to which it has an objection and [2] the basis for
   Recommendation
Generally, in his Supplemental Report-Recommendation,              the objection.” N.D.N.Y. L.R. 72.1(c). 1 When performing
Magistrate Judge Peebles recommended that Plaintiff's claims       such a de novo review, “[t]he judge may ... receive further
against Defendants Sergeant John Doe and Lieutenant John           evidence....” 28 U.S.C. § 636(b)(1). However, a district court
Doe be sua sponte dismissed due to Plaintiff's failure to          will ordinarily refuse to consider evidentiary material that
prosecute those claims and/or failure to comply with a Court       could have been, but was not, presented to the magistrate
Order to take reasonable steps to identify those Defendants.       judge in the first instance. 2 Similarly, a district court will
(Dkt. No. 78.) In doing so, Magistrate Judge Peebles found         ordinarily refuse to consider argument that could have been,
that, in response to having been ordered to produce to Plaintiff   but was not, presented to the magistrate judge in the first
the true identities of the Defendants named in the Complaint       instance. See Zhao v. State Univ. of N.Y., 04-CV-0210, 2011
as Sergeant John Doe and Lieutenant John Doe, defense              WL 3610717, at *1 (E.D.N.Y. Aug. 15, 2011) (“[I]t is
counsel filed a letter on August 4, 2016, representing to the      established law that a district judge will not consider new
Court (as an officer of it) that, although defense counsel         arguments raised in objections to a magistrate judge's report
conferred with Defendant Locke regarding the identity of           and recommendation that could have been raised before the
these two Defendants, Defendant Locke cannot recall the            magistrate but were not.”) (internal quotation marks and
names of either Defendant, despite having reviewed the 11-         citation omitted); Hubbard v. Kelley, 752 F. Supp.2d 311,
Building console log book from the date of the incident. (Id.)     312-13 (W.D.N.Y. 2009) (“In this circuit, it is established law
                                                                   that a district judge will not consider new arguments raised in


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 92 of 221
A'Gard v. Lock e, Not Reported in Fed. Supp. (2016)
2016 WL 5137273

objections to a magistrate judge's report and recommendation    72(b), Advisory Committee Notes: 1983 Addition; see also
that could have been raised before the magistrate but were      Brown v. Peters, 95-CV-1641, 1997 WL 599355, at *2-3
not.”) (internal quotation marks omitted).                      (N.D.N.Y. Sept. 22, 1997) (Pooler, J.) [collecting cases], aff'd
                                                                without opinion, 175 F.3d 1007 (2d Cir. 1999). Similarly,
1                                                               when an objection merely reiterates the same arguments made
       See also Mario v. P&C Food Markets, Inc., 313
       F.3d 758, 766 (2d Cir. 2002) (“Although Mario            by the objecting party in its original papers submitted to the
       filed objections to the magistrate's report and          magistrate judge, the Court subjects that portion of the report-
       recommendation, the statement with respect to his        recommendation challenged by those arguments to only a
       Title VII claim was not specific enough to preserve      clear error review. 3 Finally, when no objection is made to a
       this claim for review. The only reference made to        portion of a report-recommendation, the Court subjects that
       the Title VII claim was one sentence on the last         portion of the report-recommendation to only a clear error
       page of his objections, where he stated that it was      review. Fed. R. Civ. P. 72(b), Advisory Committee Notes:
       error to deny his motion on the Title VII claim ‘[f]or   1983 Addition. When performing such a “clear error” review,
       the reasons set forth in Plaintiff's Memorandum of       “the court need only satisfy itself that there is no clear error on
       Law in Support of Motion for Partial Summary             the face of the record in order to accept the recommendation.”
       Judgment.’ This bare statement, devoid of any            Id. 4
       reference to specific findings or recommendations
       to which he objected and why, and unsupported by         3
                                                                        See Mario, 313 F.3d at 766 (“Merely referring the
       legal authority, was not sufficient to preserve the
                                                                        court to previously filed papers or arguments does
       Title VII claim.”).
                                                                        not constitute an adequate objection under either
2                                                                       Fed. R. Civ. P. 72(b) or Local Civil Rule 72.3(a)
       See Paddington Partners v. Bouchard, 34 F.3d
       1132, 1137-38 (2d Cir. 1994) (“In objecting to a                 (3).”); Camardo v. Gen. Motors Hourly-Rate Emp.
       magistrate's report before the district court, a party           Pension Plan, 806 F. Supp. 380, 382 (W.D.N.Y.
       has no right to present further testimony when it                1992) (explaining that court need not consider
       offers no justification for not offering the testimony           objections that merely constitute a “rehashing” of
       at the hearing before the magistrate.”) [internal                the same arguments and positions taken in original
       quotation marks and citations omitted]; Pan Am.                  papers submitted to the magistrate judge); accord,
       World Airways, Inc. v. Int'l Bhd. of Teamsters,                  Praileau v. Cnty. of Schenectady, 09-CV-0924,
       894 F.2d 36, 40, n.3 (2d Cir. 1990) (finding                     2010 WL 3761902, at *1, n.1 (N.D.N.Y. Sept.
       that district court did not abuse its discretion in              20, 2010) (McAvoy, J.); Hickman ex rel. M.A.H.
       denying plaintiff's request to present additional                v. Astrue, 07-CV-1077, 2010 WL 2985968, at *3
       testimony where plaintiff “offered no justification              & n.3 (N.D.N.Y. July 27, 2010) (Mordue, C.J.);
       for not offering the testimony at the hearing                    Almonte v. N.Y.S. Div. of Parole, 04-CV-0484,
       before the magistrate”); cf. U. S. v. Raddatz, 447               2006 WL 149049, at *4 (N.D.N.Y. Jan. 18, 2006)
       U.S. 667, 676, n.3 (1980) (“We conclude that to                  (Sharpe, J.).
       construe § 636(b)(1) to require the district court       4
                                                                        See also Batista v. Walker, 94-CV-2826, 1995
       to conduct a second hearing whenever either party
                                                                        WL 453299, at *1 (S.D.N.Y. July 31, 1995)
       objected to the magistrate's credibility findings
                                                                        (Sotomayor, J.) (“I am permitted to adopt those
       would largely frustrate the plain objective of
                                                                        sections of [a magistrate judge's] report to which no
       Congress to alleviate the increasing congestion of
                                                                        specific objection is made, so long as those sections
       litigation in the district courts.”); Fed. R. Civ. P.
                                                                        are not facially erroneous.”) (internal quotation
       72(b), Advisory Committee Notes: 1983 Addition
                                                                        marks and citations omitted).
       (“The term ‘de novo’ does not indicate that a
       secondary evidentiary hearing is required.”).            After conducting the appropriate review, the Court may
                                                                “accept, reject, or modify, in whole or in part, the findings or
 *3 When only a general objection is made to a portion of a
                                                                recommendations made by the magistrate judge.” 28 U.S.C.
magistrate judge's report-recommendation, the Court subjects
                                                                § 636(b)(1)(C).
that portion of the report-recommendation to only a clear
error review. Fed. R. Civ. P. 72(b)(2),(3); Fed. R. Civ. P.


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 93 of 221
A'Gard v. Lock e, Not Reported in Fed. Supp. (2016)
2016 WL 5137273

                                                                   39 and 40 of the District's Pro Se Handbook, which were on
III. ANALYSIS                                                      file at his Correctional Facility during the time in question;
After     carefully     reviewing     the    relevant    papers    and (2) the Notice of Consequences of Failing to Respond
herein, including Magistrate Judge Peebles' thorough               that was provided to Plaintiff by Defendants with their motion
Report-Recommendation and Supplemental Report-                     papers (Dkt. No. 53, page 2); and (3) a Notice from the Court
Recommendation, the Court can find no error in those               advising Plaintiff of the motion response deadline, including
parts of the Report-Recommendation and Supplemental                a Notice of Consequences of Failing to Respond (Dkt. No.
Report-Recommendation to which Plaintiff specifically              54, at 1-2).
objected, and no clear error in the remaining parts of
the Report-Recommendation and Supplemental Report-                 As to the third ground asserted in Plaintiff's Objections
Recommendation: Magistrate Judge Peebles employed                  to the Report-Recommendation (summarized above in Part
the proper standards, accurately recited the facts, and            I.B. of this Decision and Order), as an initial matter, this
reasonably applied the law to those facts. As a result,            Objection gives rise to only a clear-error review, because
both the Report-Recommendation and Supplemental Report-            it is simply a reiteration of an argument asserted in his
Recommendation are accepted and adopted in their entirety          opposition memorandum of law. (Compare Dkt. No. 73,
for the reasons stated therein. To those reasons, the Court adds   at Paragraphs 3-5 [Obj.] with Dkt. No. 63, at Points 1-3
the following five points.                                         [Opp'n Memo. of Law].) In any event, Plaintiff is incorrect
                                                                   that Magistrate Judge Peebles erred in recommending that
As to the first ground asserted in Plaintiff's Objections to the   Plaintiff's claims against Defendant Locke be dismissed based
Report-Recommendation (summarized above in Part I.B. of            on the doctrine of qualified immunity, because of the record
this Decision and Order), Plaintiff is incorrect that Defendant    evidence that Locke spoke with his supervisor about placing
Locke never met his threshold burden of citing admissible          Plaintiff into a cell with Inmate James Health: that evidence
record evidence to establish the facts he asserted in his          does not demonstrate that Locke knew that the placement
Statement of Material Facts; Locke did so. (See Dkt. No.           violated Plaintiff's rights. In addition, Plaintiff is incorrect
53, Attach 4 [Def. Locke's Rule 7.1 Statement, supporting          that Magistrate Judge Peebles erred in recommending that
factual assertions with accurate citations to admissible record    Plaintiff's claims against Defendant Locke be dismissed based
evidence].) Indeed, the lack of merit of Plaintiff's claims        on the doctrine of qualified immunity, because Defendant
against Defendant Locke is apparent from Plaintiff's attempt       Locke cannot escape liability based on the defense that he
to abandon his claims against Locke in his proposed Amended        was “just following orders,” and he had previously found
Complaint. (Dkt. No. 82.)                                          a genuine dispute of material fact regarding the merits of
                                                                   Plaintiff's claims against Defendant Locke: as Magistrate
 *4 As to the second ground asserted in Plaintiff's Objections     Judge Peebles stated, qualified immunity is an immunity from
to the Report-Recommendation (summarized above in Part             suit rather than a mere defense to liability. (Dkt. No. 71, at 18
I.B. of this Decision and Order), Plaintiff is incorrect that      [Report-Recommendation].)
imposing the consequences of violating Local Rule 7.1(a)
(3) on a pro se litigant who has been specifically advised         As to Plaintiff's Objection to the Supplemental Report-
of those consequences and nonetheless violated that rule           Recommendation (summarized above in Part I.D. of this
effectively “penaliz[es]” that litigant for his pro se status.     Decision and Order), the Court rejects that Objection on each
As Magistrate Judge Peebles' correctly stated in his Report-       of two alternative grounds: (1) the Objection is untimely
Recommendation, even pro se litigants must obey a district         in that it is dated September 9, 2016, and the deadline for
court's procedural rules. (See Dkt. No. 71, at 9 [Report-          objections was September 6, 2016 (Dkt. No. 81); and (2) in
Recommendation, citing cases].) See also Cusamano v.               any event, the Objection presents no specific challenge to
Sobek, 604 F. Supp.2d 416, 426-27 & n.4 (N.D.N.Y. 209)             any portion of the Supplemental Report-Recommendation,
(Suddaby, J.) (citing cases).                                      but merely an argument that Plaintiff “can amend [his]
                                                                   Complaint.” (compare Dkt. No. 81 with Dkt. No. 78.) With
The Court notes that Plaintiff was sufficiently and repeatedly     regard to this second ground, the Court notes that a district
advised of the consequences of failing to submit such a            court will ordinarily refuse to consider evidentiary material
proper response through his receipt of, and/or access to, the      and arguments that could have been, but were not, presented
following documents: (1) the courtesy copies of Local Rule
7.1(b)(3) of the District's Local Rules of Practice and pages


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 94 of 221
A'Gard v. Lock e, Not Reported in Fed. Supp. (2016)
2016 WL 5137273

                                                                                he engaged while drafting his original Complaint.
to the magistrate judge in the first instance. See, supra, Part
                                                                                (Compare Dkt. No. 1 with Dkt. No. 82, Attach. 1.)
II of this Decision and Order.
                                                                        7
                                                                                See Foman v. Davis, 371 U.S. 178, 182 (1962)
 *5 As for Plaintiff's motion to amend his Complaint, that                      (explaining that permissible grounds upon which
motion is in fact Plaintiff's second such motion, the first
                                                                                to base the denial of a motion for leave to
such motion having been filed on November 30, 2015, and                         file an amended complaint include “undue delay,
denied on December 1, 2015. (Dkt. No. 47; Text Order filed                      bad faith or dilatory motive on the part of the
Dec. 1, 2015.) Plaintiff's second motion is denied on each of                   movant, repeated failure to cure deficiencies by
six alternative grounds: (1) it is untimely (the motion filing                  amendments previously allowed, undue prejudice
deadline having expired on August 2, 2015) and Plaintiff
                                                                                to the opposing party by virtue of allowance of the
has not shown good cause for an extension of the deadline
                                                                                amendment, futility of amendment, etc.”).
(compare Dkt. No. 24, at 5 with Dkt. No. 82); 5 (2) it is barred
                                                                        ACCORDINGLY, it is
by the law of the case doctrine, given that it is based on the
same unsuccessful ground that supported his first such motion
                                                                        ORDERED that both Magistrate Judge Peebles' Report-
(compare Dkt. No. 47 with Dkt. No. 82 and Text Order filed
                                                                        Recommendation (Dkt. No. 71) and his Supplemental Report-
Dec. 1, 2015); (3) it does not identify the amendments in
                                                                        Recommendation (Dkt. No. 78) are ACCEPTED and
the proposed pleading through the redline/strikeout method
                                                                        ADOPTED in their entirety; and it is further
or other equivalent means, as required by Local Rule 7.1(a)
(4) of the Local Rules of Practice for this Court (Dkt. No. 82,
                                                                        ORDERED that Defendant Locke's motion for summary
Attach. 1); 6 (4) it is unsupported by a memorandum of law,             judgment (Dkt. No. 53) is GRANTED, and Plaintiff's claims
in violation of Local Rule 7.1(a)(1); (5) it is unsupported by          against Defendant Locke are DISMISSED from this action;
an affidavit, in violation of Local Rule 7.1(a)(2); and (6) it is       and it is further
unsupported by a showing of cause (e.g., the lack of undue
delay, the lack of bad faith or dilatory motive on the part of          ORDERED that Plaintiff's cross-motion for summary
Plaintiff, the lack of undue prejudice to Defendants by virtue          judgment (Dkt. No. 63) is DENIED; and it is further
of allowance of the amendment, the lack of futility of the
amendment). 7                                                           ORDERED that Plaintiff's motion to amend his Complaint
                                                                        (Dkt. No. 82) is DENIED; and it is further
5
        See Parker v. Columbia Pictures Indus., 204 F.3d
        326, 340 (2d Cir. 2000) (“[D]espite the lenient                 ORDERED that Plaintiff's claims against Defendants
        standard of Rule 15(a), a district court does not               Corrections Officer John Doe 1, Corrections Officer John Doe
        abuse its discretion in denying leave to amend the              2, Nurse Jane Doe, Sergeant John Doe and Lieutenant John
        pleadings after the deadline set in the scheduling              Doe are sua sponte DISMISSED without prejudice based
        order where the moving party has failed to establish            on Plaintiff's failure to prosecute those claims and/or failure to
        good cause.”); Fed. R. Civ. P. 16(b)(4), (f)(C) (“A             comply with a Court Order to take reasonable steps to identify
        schedule may be modified only for good cause and                those Defendants pursuant to Fed. R. Civ. P. 41(b).
        with the judge's consent.... On motion or its own,
        the court may issue any just orders ... if a party or           The Court certifies, for purposes of 28 U.S.C. § 1915(a)(3),
        its attorney ... fails to obey a scheduling or other            that any appeal taken from this Decision and Order would not
        pretrial order.”).                                              be taken in good faith.

6       The Court notes that the underlined portions of
        Plaintiff's proposed Amended Complaint do not                   Dated: September 20, 2016.
        signify additions (or deletions) of language, but               All Citations
        apparently merely portions of text that Plaintiff
        deems particularly relevant–a practice in which                 Not Reported in Fed. Supp., 2016 WL 5137273

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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 95 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589


                                                                    I. Procedural History
                    2019 WL 2775589
                                                                    Plaintiff filed his initial complaint on June 15, 2018. (Dkt.
      Only the Westlaw citation is currently available.
                                                                    No. 1). At the same time, plaintiff filed a motion for
       United States District Court, N.D. New York.
                                                                    leave to proceed in forma pauperis (“IFP”). (Dkt. No. 2).
                                                                    Plaintiff's initial motion to proceed IFP was denied by
                 Hikeem GREEN, Plaintiff,
                                                                    Judge Sannes on June 18, 2018, because his application was
                           v.
                                                                    deemed incomplete. (Dkt. No. 4). On July 2, 2018, plaintiff
                 David HAIMES, Defendant.
                                                                    filed a second motion to proceed IFP. (Dkt. No. 7). On
                   9:18-CV-703 (BKS/ATB)                            October 16, 2018, Judge Sannes issued an order in which
                              |                                     she granted plaintiff's motion to proceed IFP, dismissed with
                      Signed 05/23/2019                             prejudice plaintiff's claims for money damages pursuant to
                                                                    Section 1983 against the defendants in their official capacity,
Attorneys and Law Firms                                             dismissed without prejudice plaintiff's Eighth Amendment
                                                                    claims and state law claims against all remaining defendants,
HIKEEM GREEN, Plaintiff, pro se.                                    and directed plaintiff to file an amended complaint within
                                                                    thirty days if he wished to proceed with the action. (Dkt. No.
NICHOLAS L. ZAPP, Asst. Attorney General for
                                                                    11).
Defendants.

                                                                    Plaintiff filed his amended complaint on November 7, 2018.
                                                                    (Dkt. No. 13). On December 17, 2018, Judge Sannes issued an
    ORDER AND REPORT-RECOMMENDATION                                 order deeming that the amended complaint was the operative
                                                                    pleading, and ordering that all claims be dismissed except
ANDREW T. BAXTER, United States Magistrate Judge
                                                                    for plaintiff's Eighth Amendment claim against defendant
 *1 This matter has been referred to me for Report and              Haimes, which survived sua sponte review and required a
Recommendation by the Honorable Brenda K. Sannes,                   response. (Dkt. No 14).
United States District Judge. Plaintiff brought this civil rights
action alleging that he was denied constitutionally adequate        On January 14, 2019, plaintiff filed a second amended
medical care while incarcerated at various different facilities     complaint. (Dkt. No. 16). 2 However, on February 15, 2019,
operated by the New York State Department of Corrections            defendants filed a motion to dismiss the amended complaint.
and Community Supervision (“DOCCS”). (Dkt. No. 1).                  (Dkt. No. 21). Plaintiff filed a response in opposition to
                                                                    defendant's motion on March 1, 2019. (Dkt. No. 23). On
Presently before the court is defendant David Haimes's              March 4, 2019, Judge Sannes issued an order deeming
motion to dismiss plaintiff's second amended complaint              that the second amended complaint was the operative
pursuant to Fed. R. Civ. P. 12(b)(6). (Dkt. No. 29). Plaintiff      pleading, thereby mooting the pending motion to dismiss,
has submitted papers in opposition to defendant Haimes's            and further ordering that all claims asserted in the second
motion. 1 (Dkt. No. 23). For the following reasons, this court      amended complaint be dismissed except for plaintiff's Eighth
recommends denying defendant Haimes's motion to dismiss.            Amendment claim against defendant Haimes. (Dkt. No.
                                                                    25). Defendant Haimes filed the pending motion to dismiss
1                                                                   plaintiff's second amended complaint on April 5, 2019. (Dkt.
        Plaintiff filed papers in opposition to defendant
                                                                    No. 29).
        Haimes's motion to dismiss the amended
        complaint, which was deemed moot when Judge
                                                                    2
        Sannes accepted the second amended complaint                       On the same day, plaintiff also filed a letter motion
        as the operative pleading. (See Procedural History,                requesting an entry of default as to defendant
        infra). The court will, however, consider plaintiff's              Haimes. (Dkt. No. 24). Defendant Haimes filed a
        opposition papers in addressing the instant motion,                response in opposition to plaintiff's letter motion on
        as defendant Haimes's request for relief is virtually              April 1, 2019. (Dkt. No. 28). On April 15, 2019,
        identical.                                                         plaintiff filed a reply in further support of his letter
                                                                           motion. (Dkt. No. 31). On April 25, 2019, this court



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 96 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

        issued an order denying plaintiff's request for entry         Trachtman (“Dr. Trachtman”). At some unknown time, Dr.
        of default. (Dkt. No. 32).                                    Trachtman told plaintiff that the medication he received at
                                                                      Five Points C.F. was Zithromax, which “was not the standard
II. Facts                                                             and accepted treatment” for plaintiff's syphilis. (Id. at 6).
 *2 The facts asserted in the second amended complaint are            Dr. Trachtman advised plaintiff that they would administer
almost identical to those set forth in the initial complaint and      the “necessary and recommended treatment of penicillin,”
the amended complaint, and have been summarized at length             which required the continuous, intravenous administration of
by Judge Sannes in her prior decisions. (Dkt. Nos. 11, 14,            penicillin for ten days. (Id. at 9). Plaintiff received intravenous
25). I will briefly restate only the facts relevant to the instant    penicillin from September 21, 2017 through October 2, 2017.
motion to dismiss.                                                    (Id.).

On July 1, 2013, plaintiff was transferred to DOCCS custody,
having been released from the custody of the City of New              III. Motion to Dismiss
York, Department of Corrections (“DOCS”). (Dkt. No. 16                To survive dismissal for failure to state a claim, the complaint
at 5). Prior to his transfer, plaintiff was informed by DOCS          must contain sufficient factual matter, accepted as true, to
medical staff that he required treatment for syphilis. (Id. at        state a claim that is “plausible on its face.” Ashcroft v. Iqbal,
4). Between 2013 and 2015, plaintiff was incarcerated at              556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)
various different DOCCS facilities, where he claims he was            (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127
not provided adequate care and treatment for his syphilis, but        S.Ct. 1955, 167 L.Ed.2d 929 (2007)). “Threadbare recitals
was told that the disease needed only to be “monitored.” (Id.         of the elements of a cause of action, supported by mere
at 5-6).                                                              conclusory statements, do not suffice.” Id. (citing Bell Atl.
                                                                      Corp., 550 U.S. at 555, 127 S.Ct. 1955).
In October 2015, plaintiff was transferred to Five Points
Correctional Facility (“Five Points C.F.”), where he was              When considering a motion to dismiss pursuant to Rule
placed under the care of defendant Dr. David Haimes                   12(b)(6), the court's consideration is limited to the factual
(“Haimes”). At Five Points C.F., plaintiff was examined and           allegations as stated in the complaint, documents attached to
underwent blood work and testing to determine the status of           the complaint as exhibits or incorporated into the complaint
his syphilis. (Id.). On or about February 12, 2016, the results       by reference, and matters of which the court can take judicial
of plaintiff's tests indicated that his syphilis was “still active”   notice. Portillo v. Webb, No. 16 Civ. 4731 (VEC/GWG), 2017
and required treatment. (Id.). Plaintiff was given “penicillin        WL 4570374, at *1 (S.D.N.Y. Oct. 11, 2017) (quoting Brass
pills” by a nurse at Five Points C.F. (Id.). He was not provided      v. Am. Film Tech., 987 F.2d 142, 150 (2d Cir. 1993)) (citing
any further treatment or testing for his syphilis at Five Points      Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 47-48
C.F., where he remained incarcerated until April 19, 2016. (Id.       (2d Cir. 1991)). A court may take judicial notice of a public
at 7).                                                                record pursuant to Fed. R. Evid. 201(b). Rothman v. Gregor,
                                                                      220 F.3d 81, 92 (2d Cir. 2000).
Plaintiff was transferred to and from various DOCCS
facilities between April 2016 and October 2017. (Id. at 6-9).
                                                                      IV. Exhaustion of Administrative Remedies
In June 2017, while incarcerated at Coxsackie Correctional
Facility, plaintiff was being treated for an unrelated medical           A. Legal Standards
issue when he was told that his syphilis was still active, and         *3 The Prison Litigation Reform Act, (“PLRA”), 42 U.S.C.
that there was no record of any proper treatment administered         § 1997e(a), requires an inmate to exhaust all available
at the DOCCS facilities in which he had previously been               administrative remedies prior to bringing a federal civil rights
incarcerated. (Id. at 8). Plaintiff underwent a lumbar puncture       action. The exhaustion requirement applies to all inmate suits
to determine the status of his disease, which confirmed that          about prison life, whether they involve general circumstances
plaintiff “tested positive for neurosyphilis and was in need of       or particular episodes, and regardless of the subject matter of
treatment.” (Id.).                                                    the claim. See Giano v. Goord, 380 F.3d 670, 675-76 (2d Cir.
                                                                      2004)(abrogated by Ross v. Blake, ––– U.S. ––––, 136 S. Ct.
In September 2017, while incarcerated at Washington                   1850, 1857, 195 L.Ed.2d 117 (June 6, 2016)) (citing Porter
Correctional Facility, plaintiff was under the care of Dr. Neil       v. Nussle, 534 U.S. 516, 532 (2002)). Inmates must exhaust



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 97 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

their administrative remedies even if they are seeking only          380 F.3d 680, 686 (2d Cir. 2004)). The Hemphill inquiry
money damages that are not available in prison administrative        asked (1) whether the administrative remedies were available
proceedings. Id. at 675.                                             to the inmate; (2) whether defendants' own actions inhibiting
                                                                     exhaustion estops them from raising the defense; and (3)
The failure to exhaust is an affirmative defense that must be        whether “special circumstances” justify the inmate's failure to
raised by the defendants. Jones v. Bock, 549 U.S. 199, 216,          comply with the exhaustion requirement. Id.
127 S.Ct. 910, 166 L.Ed.2d 798 (2007); Johnson v. Testman,
380 F.3d 691, 695 (2d Cir. 2004). As an affirmative defense,         The Supreme Court has now made clear that courts may
it is the defendants' burden to establish that plaintiff failed to   not excuse a prisoner's failure to exhaust because of “special
meet the exhaustion requirements. See, e.g., Key v. Toussaint,       circumstances.” Ross v. Blake, ––– U.S. ––––, 136 S. Ct.
660 F. Supp. 2d 518, 523 (S.D.N.Y. 2009) (citations omitted).        1850, 1857, 195 L.Ed.2d 117 (June 6, 2016). “ ‘[M]andatory
                                                                     exhaustion statutes like the PLRA establish mandatory
The Supreme Court has held that in order to properly                 exhaustion regimes, foreclosing judicial discretion.’ ” Riles
exhaust an inmate's administrative remedies, the inmate must         v. Buchanan, 656 F. App'x 577, 580 (2d Cir. 2016) (quoting
complete the administrative review process in accordance             Ross, ––– U.S. ––––, 136 S. Ct. at 1857). Although Ross
with the applicable state rules. Jones, 549 U.S. at 218-19,          has eliminated the “special circumstances” exception, the
127 S.Ct. 910 (citing Woodford v. Ngo, 548 U.S. 81, 126              other two factors in Hemphill – availability and estoppel –
S.Ct. 2378, 165 L.Ed.2d 368 (2006)). In Woodford, the Court          are still valid. The court in Ross referred to “availability”
held that “proper” exhaustion means that the inmate must             as a “textual exception” to mandatory exhaustion, and
complete the administrative review process in accordance             “estoppel” has become one of the three factors in determining
with the applicable procedural rules, including deadlines, as        availability. Ross, ––– U.S. ––––, 136 S. Ct. at 1858.
a prerequisite to bringing suit in federal court. 548 U.S. at        Courts evaluating whether an inmate has exhausted his or
90-103, 126 S.Ct. 2378.                                              her administrative remedies must focus on whether those
                                                                     remedies were “available” to the inmate. Id. See also Riles,
The grievance procedure in New York is a three-tiered                656 F. App'x at 580-81. Defendants bear the burden of
process. The inmate must first file a grievance with the             proving the affirmative defense of failure to exhaust. Williams
Inmate Grievance Resolution Committee (“IGRC”). N.Y.                 v. Priatno, 829 F.3d 118, 122 (2d Cir. 2016).
Comp. Codes R. & Regs., tit. 7 §§ 701.5(a)(1) and (b).
An adverse decision of the IGRC may be appealed to                    *4 The court may consider the exhaustion issue on a 12(b)
the Superintendent of the Facility. Id. § 701.5(c). Adverse          (6) motion to dismiss when it is clear from the face of the
decisions at the Superintendent's level may be appealed to the       complaint that plaintiff has not exhausted his administrative
Central Office Review Committee (“CORC”). Id. § 701.5(d).            remedies. See Pani v. Empire Blue Cross Blue Shield, 152
The court also notes that the regulations governing the Inmate       F.3d 67, 74-75 (2d Cir. 1998) (“An affirmative defense may
Grievance Program encourage the inmate to “resolve his/              be raised by a ... motion to dismiss under Rule 12(b)(6),
her complaints through the guidance and counseling unit,             without resort to summary judgment procedure, if the defense
the program area directly affected, or other existing channels       appears on the face of the complaint.”); see also Lewis v.
(informal or formal) prior to submitting a grievance.” Id. §         Havernack, No. 9:12-CV-31 (GLS/DEP), 2013 WL 1294606,
701.3(a) (Inmate's Responsibility). There is also a special          at *4 (N.D.N.Y. March 28, 2013) (“The exhaustion defense
section for complaints of harassment. Id. § 701.8. Complaints        is one that is not particularly well-suited for resolution for a
of harassment are handled by an expedited procedure which            motion to dismiss, absent the clearest indication in a plaintiff's
provides that such grievances are forwarded directly to the          complaint that a failure to exhaust has occurred.”) Brito v.
superintendent of the facility, after which the inmate must          Vargas, No. 01-CV-7753(FB/LB), 2003 WL 21391676, at
appeal any negative determination to the CORC. Id. §§                *2 (E.D.N.Y. June 16, 2003) (granting defendants' motion to
701.8(h) & (i), 701.5.                                               dismiss complaint in which inmate plaintiff admitted that he
                                                                     did not exhaust the grievance process).
Until recently, the Second Circuit utilized a three-part inquiry
to determine whether an inmate had properly exhausted his
administrative remedies. See Brownell v. Krom, 446 F.3d 305,            B. Application
311-12 (2d Cir. 2006) (citing Hemphill v. State of New York,         With respect to the exhaustion of his administrative remedies,
                                                                     plaintiff pled the following in his second amended complaint:


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 98 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

                                                                                   a follow-up to see if the problem has
                                                                                   been corrected.
             Plaintiff has filed numerous requests
             and grievances to address and correct
             the problems, to which were denied.                     (Id. at 5). When prompted to set forth an “Action
             All administrative remedies have been                   Requested by Inmate,” plaintiff wrote: “Continuation of
             exhausted.                                              proper treatment, and follow-ups and test to make sure the
                                                                     problem has been treated and corrected.” (Id.)

(Dkt. No. 16 at 4). Although this language does not, in and of       On November 1, 2017, plaintiff prepared an appeal with
itself, plainly indicate that plaintiff failed to satisfy the PLRA   respect to his October 4, 2017 grievance, 3 which stated:
exhaustion requirement, defendants argue it incorporates by
reference plaintiff's grievance documents for purposes of the            On 11/1/17, I had a follow-up with Dr. Tractman [sic]
instant motion. (Dkt. No. 29-1 at 6). A plaintiff's grievances           and was told that there will be no further tests done. His
may be considered on a Rule 12(b)(6) motion, where the                   reason being that for the problem the suggested dosage of
plaintiff has referred to them in his complaint. Bennett v. Care         medicine has been administered.
Correction Solution Medical Contractor, No. 15 Civ. 3746,
                                                                         This has been an ongoing problem since 2012/2013, and
2017 WL 1167325, at *4 (S.D.N.Y. Mar. 24, 2017) (citing
                                                                         to which the nurse administrator responded that while I
McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d
                                                                         was at Five Point C.F., I was given penicillin pills to treat
Cir. 2007)). As such, an analysis of the grievance documents
                                                                         the problem. According to Dr. Tractman [sic] and the book
is warranted to determine whether the instant action is barred
                                                                         and guidelines for treating infections, penicillin pills is not
for plaintiff's failure to exhaust his administrative remedies
                                                                         listed as an option to treat the disease. That is more for a
prior to bringing suit.
                                                                         dental problem.

On October 4, 2017, plaintiff prepared an Inmate Grievance                *5 Solution: Further tests should be conducted to confirm
Complaint at Washington Correctional Facility. (Dkt. No.                 that the treatment was corrected and successful. Please
29-2 at 4-5). Under the category “Description of Problem,”               consolidate this with the original grievance. Thank you.
plaintiff alleged:
                                                                     (Id. at 8).


             When I first came into the state system                 3        It is unclear from defendants' submission whether
             7/1/13, medical staff was aware of                               the IGRC took any action based on plaintiff's initial
             a medical situation of an infection                              grievance, prior to plaintiff filing his grievance
             in my system that needed to be                                   appeal. (Dkt. No. 29-2).
             treated. I was told wait until I arrive
                                                                     On November 10, 2017, the Superintendent of Washington
             at my permanent facility which was
                                                                     Correctional Facility issued a determination based on
             Gouverneur C.F. From that time all the
                                                                     plaintiff's grievances:
             way to the present I was told that it just
             need[ed] to be monitored, even though
             I expressed my concerns that I did not
             receive proper treatment. On 8/18/17,                                 Per the investigation, the grievant had
             I was sent for a spinal tap, and I was                                a follow up with the Specialist on
             given the results which confirmed that                                9/14/17. It was recommended that the
             it had progressed for failure of being                                grievant have a 10 day course of
             treated, when it was first diagnosed.                                 intravenous antibiotics. The grievant
             On 9/21/17 through 10/1/17, I received                                went to Albany Medical Center on
             treatment for it. I'm still waiting for                               9/21/17 and had an IV line in
                                                                                   his arm so he could receive the
                                                                                   antibiotics. After placement of the IV,



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 99 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

            the grievant was admitted to Great                    include the names of the responsible parties.” Espinal at
            Meadow infirmary and began his 10                     127,. “Where New York's grievance procedures do not require
            day course of IV antibiotics. The IV                  prisoners to identify the individuals responsible for alleged
            antibiotic treatments were completed                  misconduct, neither does the PLRA for exhaustion purposes.”
            on 10/1/17. The IV line was removed                   Id. Ultimately, in order to exhaust, a prisoner must allege
            on 10/2/17 and the grievant was                       facts sufficient to alert corrections officials “to the nature
            returned to Washington CF the same                    of the claim,” and “provide enough information about the
            day. He is scheduled to follow up                     conduct” at issue “to allow prison officials to take appropriate
            with the doctor at Washington CF in                   responsive measures.” Johnson v. Testman, 380 F.3d 691, 697
            the near future. For such reasons, this               (2d Cir. 2004); see also Espinal, 558 F.3d at 126 (“The point
            grievance is denied.                                  is that prison officials ha[ve] the necessary information to
                                                                  investigate the complaints and the opportunity to learn which
                                                                  officers were involved in the alleged incident”); Brownell v.
(Id. at 11). On November 14, 2017, plaintiff filed an “Appeal     Krom, 446 F.3d 305, 310 (2d Cir. 2006) (“While this Court
Statement” with respect to the Superintendent's decision to       has found it appropriate to afford pro se inmates a liberal
the CORC, stating:                                                grievance pleading standard, the grievance may not be so
                                                                  vague as to preclude prison officials from taking appropriate
                                                                  measures to resolve the complaint internally”). As stated by
            I had a follow-up with Dr. Tractman                   the Second Circuit, “[a]ll the grievance need do is object
            and was told that no further tests will               intelligibly to some asserted shortcoming.” Brownell, 446
            be done, because the treatment was                    F.3d at 310.
            administered without the tests, how
            will it be known if the treatment was                  *6 Based on the aforementioned, it cannot be said
            successful?                                           that plaintiff failed to exhaust his administrative remedies
                                                                  for failure to specifically name defendant Haimes in his
                                                                  grievance. In support of their argument to the contrary,
                                                                  defendants cite the Second Circuit's decision in Hill v.
(Id.).
                                                                  Curcione, 657 F.3d 116 (2d Cir. 2011). Hill commenced
                                                                  a federal civil rights action against various employees of
Defendants make three arguments in support of their
                                                                  the Niagara County Jail for alleged violations of his Eighth
motion to dismiss for failure to exhaust. First, defendants
                                                                  Amendment rights. (Id.). The defendants in Hill filed a motion
argue that plaintiff did not specifically name defendant
                                                                  for summary judgment, which eventually came before the
Haimes in his grievance, justifying dismissal of the federal
                                                                  Second Circuit on appeal. The Second Circuit determined that
claim now brought against him. (Dkt. No. 29-1 at 11).
                                                                  the district court properly granted summary judgment in favor
Second, defendants argue that plaintiff's federal claim against
                                                                  of defendant Williams, for failure to exhaust the requisite
defendant Haimes is “outside the scope and in opposition”
                                                                  administrative review process. (Id. at 124). Specifically, the
to the allegations contained in plaintiff's grievance, also
                                                                  Second Circuit stated:
justifying dismissal. (Id.). Finally, defendant Haimes argues
that plaintiff failed to exhaust his administrative remedies
because his initial grievance was untimely. (Id.). For the
following reasons, defendants arguments are unavailing.                        The grievance filed by [plaintiff],
                                                                               the first step in the administrative
The Second Circuit has found that “the New York IGP                            process for a prisoner complaining of
regulations do not state that a prisoner's grievance must name                 conditions at the Niagara County Jail,
the responsible party.” Espinal, 558 F.3d at 126. Rather, the                  does not name [defendant] Williams.
prisoner must provide, inter alia, “a specific description of                  There being no evidence that a
the problem.” Id. at 127; see also 7 N.Y.C.R.R. §§ 701.5(a)                    grievance was ever filed against
(2), 701.1(8). Thus, “[t]he pro se prisoner cannot be expected                 [defendant] Williams by [plaintiff], the
to infer the existence of an identification requirement in the                 exhaustion requirement of the PLRA
absence of a procedural rule stating that the grievance must                   has not been satisfied, and no genuine



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 100 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

             issue of material fact stands in the way               plaintiff communicated the claim which he now presents
             of summary judgment[.]                                 in federal court in terms that allowed DOCCS to take
                                                                    appropriate responsive measures. In his October 4, 2017
                                                                    initial grievance, plaintiff stated that when he was first
(Id.). Here, defendant Haimes's reliance on Hill is misplaced.      transferred to DOCCS custody, medical staff were aware
In 2009, the Second Circuit explicitly addressed the issue          that he suffered from an infection that required treatment.
of whether a DOCCS inmate was required to name the                  (Dkt. No. 29-2 at 5). Plaintiff also expressed his concern
responsible party in his grievance, finding that “New York's        that proper medical treatment for his infection had been
grievance procedures do not require prisoners to identify the       delayed and/or withheld since he was transferred to DOCCS
individuals responsible for alleged misconduct, [therefore]         custody and throughout 2017, within each DOCCS facility
neither does the PLRA for exhaustion purposes.” Espinal,            he resided. (Id.). Plaintiff explained that the recent results of
558 F.3d at 127. The district courts in this circuit have since     a spinal tap confirmed his suspicions that his infection had
relied on Espinal in rejecting such a requirement relative to       progressed as a result of DOCCS failure to treat his condition.
claims falling under the purview of DOCCS administrative            (Id.) He acknowledged that he had recently begun proper
procedures. See Allen v. Keanen, No. 13-CV-718, 2019 WL             treatment for the infection. (Id.). Plaintiff offered additional
1486679, at *2 (W.D.N.Y. Apr. 4, 2019); Woodward v. Lytle,          detail in his November 1, 2017 grievance appeal, conveying
No. 9:16-CV-1174 (NAM/DEP), 2018 WL 6179427, at *2                  Dr. Trachtman's opinion that plaintiff was given the wrong
(N.D.N.Y. Nov. 27, 2018); Tolliver v. N.Y. State Dept. of Corr.     medicine to treat his disease by medical staff at Five Points
Serv., No. 08 Civ. 4561, 2009 WL 618371, at *4 (S.D.N.Y.            C.F. (Id. at 8). Plaintiff now alleges, in his federal court
2009). Hill, however, was incarcerated at Niagara County            action, that defendant Haimes was deliberately indifferent
Jail, and as such his grievance requirements were dictated by       to plaintiff's serious ongoing medical needs and treatment
the relevant Niagara County grievance procedures, and not           relative to his syphilis infection while he was confined at Five
                                                                    Points C.F.
DOCCS policy. 4 As such, the rule as set forth in Espinal, as
opposed to Hill, is applicable to the instant matter, because the
                                                                     *7 As such, the information set forth in plaintiff's grievance
determination of whether a plaintiff has properly exhausted
                                                                    was sufficient to place DOCCS officials on notice of
his administrative procedures turns on the specific grievance
                                                                    defendant Haimes' alleged deliberate indifference in treating
requirements of the facility where Plaintiff was confined.
                                                                    plaintiff's syphilis. See Ocampo v. Flischer, No. 11-CV-4583,
See Jones v. Bock, 549 U.S. 199, 218, 127 S.Ct. 910, 166
                                                                    2014 WL 7422763, at *3 (E.D.N.Y. Dec. 31, 2014) (finding
L.Ed.2d 798 (2007) (“The level of detail necessary in a
                                                                    plaintiff's grievance, alleging defendants' failure to provide
grievance to comply with the grievance procedures will vary
                                                                    plaintiff with a new Hepatits C treatment after his first
from system to system and claim to claim, but it is the
                                                                    treatment was unsuccessful, was sufficient to exhaust his
prison's requirements, and not the PLRA, that define the
                                                                    claim of deliberate indifference to serious medical condition).
boundaries of proper exhaustion”). Accordingly, plaintiff's
                                                                    Although plaintiff's grievance did not name defendant
failure to specifically name defendant Haimes in his grievance
                                                                    Haimes, it specifically addressed the course of medical
is of no consequence.
                                                                    treatment provided to plaintiff at Five Points C.F. and
                                                                    “plac[ed] defendant on notice of what, substantively, [was]
4
        Admittedly, the exhaustion analysis in Hill is brief,       claimed in order to permit a proper investigation.” Hawthorne
        and does not provide significant detail explaining          v. Nurse Sturgeon, No. 9:17-CV-438 (LEK/CFH), 2018 WL
        the basis for the Second Circuit's decision, nor            4290458, at *6 (N.D.N.Y. Aug. 8, 2018); see also Dizak
        does it mention the grievance requirements set forth        v. Hawks, No. 9:15-CV-1171, 2018 WL 1894542, at 11
        by the Niagara County prison system. Hill, 657              (N.D.N.Y. Jan. 9, 2018) (finding plaintiff had provided
        F.3d at 124. Nevertheless, in light of the clear            enough information to allow an investigation into defendant
        factual discrepancies between Hill and the instant          sergeant's actions where grievance did not specifically name
        matter, Espinal is more appropriately relied on here        the defendant sergeant, but described an incident of excessive
        with respect to the issue of DOCCS' identification          force where “a sergeant” was present).
        requirement, or lack thereof.
The proper inquiry here, and defendant Haimes's second              As the Second Circuit has made clear, “the grievant need
argument in support of his motion to dismiss, is whether            not lay out the facts, articulate legal theories, or demand



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 101 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

particular relief.” Brownell, 446 F.3d 305 at 310 (citations
omitted). Here, plaintiff's grievance was sufficient to direct     V. Deliberate Indifference to Medical Condition
DOCCS officials into an investigation of plaintiff's medical
                                                                      A. Legal Standards
care at Five Points C.F., in order to determine who his treating
                                                                    *8 In order to state a claim based on constitutionally
physician was, the course of treatment plaintiff received under
                                                                   inadequate medical treatment, the plaintiff must allege “acts
that physician's care, and the merits of plaintiff's complaint
                                                                   or omissions sufficiently harmful to evidence deliberate
regarding that course of treatment. As such, the deliberate
                                                                   indifference to serious medical needs.” Estelle v. Gamble, 429
indifference claim against defendant Haimes was sufficiently
                                                                   U.S. 97, 106, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976). There
raised in, and not so broad as to extend beyond the scope of,
                                                                   are two elements to the deliberate indifference standard.
plaintiff's grievance. Cf. Wright v. Potter, No. 9:14-CV-01041
                                                                   Smith v. Carpenter, 316 F.3d 178, 183–84 (2d Cir. 2003).
(DNH/TWD), 2016 WL 5219997, at *5 (N.D.N.Y. Jun.
                                                                   The first element is objective and measures the severity
28, 2016) (dismissing plaintiff's deliberate indifference to
                                                                   of the deprivation, while the second element is subjective
medical treatment claim for failure to exhaust legal remedies
                                                                   and ensures that the defendant acted with a sufficiently
where underlying grievance alleged assault by corrections
                                                                   culpable state of mind. Id. at 184 (citing inter alia Chance v.
officers, but failed to reference any medical personnel and
                                                                   Armstrong, 143 F.3d 698, 702 (2d Cir. 1998)).
failed to reference receiving inadequate medical treatment);
Evan v. Manos, 336 F. Supp. 2d 255, 259 (W.D.N.Y. Sep. 23,
2004) (dismissing inmate's claims against dentist for failure to
exhaust because “there [wa]s simply no suggestion anywhere                             1. Objective Element
in plaintiff's grievance that [the dentist] ... had failed to
provide him with adequate dental care”).                           In order to meet the objective requirement, the alleged
                                                                   deprivation of adequate medical care must be “sufficiently
The fact that plaintiff's grievance provided prison officials      serious.” Salahuddin v. Goord, 467 F.3d 263, 279 (2d Cir.
with sufficient information is clear from the November 10,         2006) (citing Farmer v. Brennan, 511 U.S. 825, 834, 114
2017 response from the Superintendent, acknowledging that          S.Ct. 1970, 128 L.Ed.2d 811 (1994)). Determining whether a
proper procedures had been put into place to provide plaintiff     deprivation is sufficiently serious also involves two inquiries.
with the recommended treatment for his condition – a 10            Id. The first question is whether the plaintiff was actually
day course of intravenous antibiotics. (Dkt. No. 29-2 at 11);      deprived of adequate medical care. Id. Prison officials who
See Ocampo, 2014 WL 7422763, at *3; Delano v. Rendle,              act “reasonably” in response to the inmates health risk will
No. 9:13-CV-00070 (NAM/TWD), 2016 WL 4146476, at *10               not be found liable under the Eighth Amendment because the
(N.D.N.Y. July 12, 2016).                                          official's duty is only to provide “reasonable care.” Id. (citing
                                                                   Farmer, 511 U.S. at 844–47, 114 S.Ct. 1970).
Last, defendant Haimes argues that plaintiff's grievance was
untimely, having been filed 17 months after leaving Five           The second part of the objective test asks whether the
Points C.F. (Dkt. No. 29-1 at 11). In 2011, the Second             purported inadequacy in the medical care is “sufficiently
Circuit joined the Seventh and Tenth Circuits in holding           serious.” Id. at 280. The court must examine how the care
that the exhaustion requirement of the PLRA is satisfied           was inadequate and what harm the inadequacy caused or will
by an untimely filing of a grievance if it is accepted and         likely cause the plaintiff. Id. (citing Helling v. McKinney, 509
decided on the merits by the appropriate prison authority.         U.S. 25, 32–33, 113 S.Ct. 2475, 125 L.Ed.2d 22 (1993)).
Hill, 657 F.3d at 125. Here, plaintiff filed his initial           If the “unreasonable care” consists of a failure to provide
grievance on October 4, 2017, and his grievance appeal on          any treatment, then the court examines whether the inmate's
November 1, 2017. (Dkt. No. 29-2 at 4-5, 8). On November           condition itself is “sufficiently serious.” Id. (citing Smith v.
10, 2017, the Superintendent of Washington C.F. issued a           Carpenter, 316 F.3d 178, 185–86 (2d Cir. 2003)). However,
decision denying plaintiff's grievance, because plaintiff had      in cases where the inadequacy is in the medical treatment that
already received the proper medical treatment to address           was actually afforded to the inmate, the inquiry is narrower.
his infection. (Id. at 11). Accordingly, plaintiff has met         Id. If the issue is an unreasonable delay or interruption of
the exhaustion requirements in order to bring the instant          ongoing treatment, then the “seriousness” inquiry focuses
deliberate indifference claim against defendant Haimes.            on the challenged delay itself, rather than on the underlying
                                                                   condition alone. Id. (citing Smith, 316 F.3d at 185). The court
                                                                   in Salahuddin made clear that although courts speak of a


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 102 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

“serious medical condition” as the basis for a constitutional        treatment or believes that he did not get the medical attention
claim, the seriousness of the condition is only one factor in        he desired does not rise to the level of a constitutional
determining whether the deprivation of adequate medical care         violation. Id.
is sufficiently serious to establish constitutional liability. Id.
at 280.
                                                                        B. Application
                                                                     In the alternative, defendant Haimes argues that plaintiff fails
                                                                     to state a claim of deliberate indifference to a serious medical
                    2. Subjective Element                            condition. (Dkt. No. 29-1 at 9-13). Specifically, defendant
                                                                     Haimes asserts that plaintiff cannot establish subjective
The second element is subjective and asks whether the official
                                                                     recklessness, because prescribing the purportedly incorrect
acted with “a sufficiently culpable state of mind.” Id. (citing
                                                                     medication to treat syphilis does not amount to anything
Wilson v. Seiter, 501 U.S. 294, 300, 111 S.Ct. 2321, 115
                                                                     more than a disagreement over medication, which implicates
L.Ed.2d 271 (1991)). In order to meet the second element,
                                                                     medical judgments and not the Eighth Amendment. (Dkt. No.
plaintiff must demonstrate more than a “negligent” failure to
                                                                     29-1 at 12-13).
provide adequate medical care. Id. (citing Farmer, 511 U.S.
at 835–37, 114 S.Ct. 1970). Instead, plaintiff must show that
                                                                     Defendant Haimes relies on Smitherman v. N.Y. City Dept.
the defendant was “deliberately indifferent” to that serious
                                                                     of Corr. in support of his position. 557 F. Supp. 877
medical condition. Id. Deliberate indifference is equivalent to
                                                                     (S.D.N.Y. 1983). Smitherman claimed defendants violated
subjective recklessness. Id. (citing Farmer, 511 U.S. at 839–
                                                                     his constitutional rights by treating him for syphilis with the
40, 114 S.Ct. 1970).
                                                                     antibiotic vibramycin, which allegedly caused negative side
                                                                     effects including bleeding, dizziness, respiratory difficulty,
In order to rise to the level of deliberate indifference, the
                                                                     and the development of a tumor. Id. at 877. The court
defendant must have known of and disregarded an excessive
                                                                     dismissed Smitherman's allegations for, among other things,
risk to the inmate's health or safety. Id. (citing Chance,
                                                                     “amount[ing] to little more than a claim of medical
143 F.3d at 702). The defendant must both be aware of
                                                                     malpractice,” and as such lacking the requisite basis for a civil
the facts from which the inference could be drawn that a
                                                                     rights claim. Id. at 878.
substantial risk of serious harm exists, and he or she must
draw that inference. Chance, 143 F.3d at 702 (quoting Farmer
                                                                     Since Smitherman was decided in 1983, some Second
v. Brennan, 511 U.S. 825, 837, 114 S.Ct. 1970, 128 L.Ed.2d
                                                                     Circuit precedent has recognized that instances of culpable,
811 (1994)). The defendant must be subjectively aware that
                                                                     reckless “malpractice [ ] can rise to the level of deliberate
his or her conduct creates the risk; however, the defendant
                                                                     indifference.” Parks v. Blanchette, 144 F. Supp. 3d 282,
may introduce proof that he or she knew the underlying
                                                                     315 (D. Conn. 2015) (citing Hathaway v. Coughlin, 99 F.3d
facts, but believed that the risk to which the facts gave rise
                                                                     550, 554 (2d. Cir. 1996)); see also Chance v. Armstrong,
was “insubstantial or non-existent.” Farmer, 511 U.S. at
                                                                     143 F.3d 698, 703-04 (2d Cir. 1998) (“In certain instances,
844, 114 S.Ct. 1970. The court stated in Salahuddin that the
                                                                     a physician may be deliberately indifferent if he or she
defendant's belief that his conduct posed no risk of serious
                                                                     consciously chooses ‘an easier and less efficacious’ treatment
harm “need not be sound so long as it is sincere,” and “even if
                                                                     plan”). A number of district courts in this Circuit have
objectively unreasonable, a defendant's mental state may be
                                                                     interpreted this distinction to mean that “[m]edical decisions
nonculpable.” Salahuddin 467 F.3d at 281.
                                                                     that are ‘contrary to accepted medical standards,’ may exhibit
                                                                     deliberate indifference, because the doctor has ‘based his
 *9 Additionally, a plaintiff's disagreement with prescribed
                                                                     decision on something other than sound medical judgment.’ ”
treatment does not rise to the level of a constitutional claim.
                                                                     Stevens v. Goord, 535 F. Supp. 2d 373, 385 (S.D.N.Y. 2008)
Sonds v. St. Barnabas Hosp. Correctional Health Services,
                                                                     (citation omitted). “These courts have denied [dispositive
151 F. Supp. 2d 303, 311 (S.D.N.Y. 2001). Prison officials
                                                                     relief] where a reasonable jury could conclude that conduct
have broad discretion in determining the nature and character
                                                                     was a substantial departure from accepted professional
of medical treatment afforded to inmates. Id. (citations
                                                                     judgment and that the evidence of risk was sufficiently
omitted). An inmate does not have the right to treatment of
                                                                     obvious to infer the defendants' actual knowledge of a
his choice. Dean v. Coughlin, 804 F.2d 207, 215 (2d Cir.
                                                                     substantial risk to plaintiff.” Parks, 144 F. Supp. 3d at
1986). Because plaintiff might have preferred an alternative



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 103 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2775589

                                                                          ORDERED, that defendant's motion to dismiss the amended
315 (citing Stevens, 535 F. Supp. 2d at 385) (citations and
                                                                          complaint (Dkt. No. 21) is DENIED as moot based on Judge
quotations omitted).
                                                                          Sannes's March 4, 2019 Decision and Order (Dkt. No. 25)
                                                                          accepting the second amended complaint as the operative
Judge Sannes ordered that plaintiff's deliberate indifference
                                                                          pleading, and upon defendant's filing of the April 5, 2019
claim 5 against defendant Haimes survived initial review,
                                                                          motion to dismiss the second amended complaint (Dkt. No.
based upon the Second Circuit's rulings as set forth in
                                                                          29), and it is
Hathaway's progeny. (Dkt. No. 14 at 8). There have been
no further factual findings since, that would alter her
                                                                          RECOMMENDED, that defendant's motion to dismiss the
decision. Although discovery may reveal plaintiff has no
                                                                          second amended complaint (Dkt. No. 29) be DENIED.
evidentiary basis to establish that defendant Haimes was
subjectively reckless or deliberately indifferent in prescribing
                                                                          Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c), the
“Zithromax” to treat plaintiff in the first instance, we are not,
                                                                          parties have fourteen (14) days within which to file written
at this time, inclined to dismiss plaintiff's action for failure to
                                                                          objections to the foregoing report. Such objections shall be
state a claim based on the pleadings alone.
                                                                          filed with the Clerk of the Court. FAILURE TO OBJECT
                                                                          TO THIS REPORT WITHIN FOURTEEN DAYS WILL
5       Judge Sannes' analysis of plaintiff's claim against               PRECLUDE APPELLATE REVIEW. Roldan v. Racette,
        defendant Haimes is set forth in her December                     984 F.2d 85, 89 (2d Cir. 1993) (citing Small v. Secretary of
        17, 2018 decision and order based on plaintiff's                  Health and Human Services, 892 F.2d 15 (2d Cir. 1989)); 28
        amended complaint; however she adopted the same                   U.S.C. § 636(b)(1); FED. R. CIV. P. 6(a), 6(e), 72.
        basis for upholding the claim on her initial review
        of plaintiff's second amended complaint. (Dkt. No.
        25 at 3).                                                         All Citations

*10 WHEREFORE, based on the findings above, it is                         Not Reported in Fed. Supp., 2019 WL 2775589



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 104 of 221
Green v. Haimes, Not Reported in Fed. Supp. (2019)
2019 WL 2766544

                                                                       States Magistrate Judge Andrew T. Baxter who, on May
                    2019 WL 2766544                                    23, 2019, issued a Report-Recommendation recommending
      Only the Westlaw citation is currently available.                that Defendant's motion to dismiss be denied. (Dkt. No. 33).
       United States District Court, N.D. New York.                    Magistrate Judge Baxter advised the parties that, under 28
                                                                       U.S.C. § 636(b)(1), they had 14 days within which to file
                Hikeem GREEN, Plaintiff,                               written objections to the report and that the failure to object
                            v.                                         to the report within 14 days would preclude appellate review.
         David HAIMES, Doctor/Physician for Five                       (Dkt. No. 33, at 23).
          Points Correctional Facility, Defendant.
                                                                       No objections to the Report-Recommendation have been
                  9:18-cv-00703 (BKS/ATB)                              filed. As no objections to the Report-Recommendation have
                              |                                        been filed, and the time for filing objections has expired, the
                      Signed 07/02/2019                                Court reviews the Report-Recommendation for clear error.
                                                                       See Petersen v. Astrue, 2 F. Supp. 3d 223, 228–29 (N.D.N.Y.
Attorneys and Law Firms                                                2012); Fed. R. Civ. P. 72(b) advisory committee's note to 1983
                                                                       amendment. Having reviewed the Report-Recommendation
Plaintiff pro se: Hikeem Green, 13-R-1844, Washington
                                                                       for clear error and found none, the Court adopts the Report-
Correctional Facility, Box 180, 72 Lock 11 Lane, Comstock,
                                                                       Recommendation in its entirety.
NY 12821.

For Defendant: Nicholas Luke Zapp, Esq., New York State                For these reasons, it is
Attorney General's Office, The Capitol, Albany, NY 12224.
                                                                       ORDERED that the Report-Recommendation (Dkt. No. 33)
                                                                       is ADOPTED in its entirety; and it is further

      MEMORANDUM-DECISION AND ORDER
                                                                       ORDERED that Defendant's motion to dismiss (Dkt. No. 29)
Hon. Brenda K. Sannes, United States District Judge:                   is DENIED; and it is further

 *1 Plaintiff Hikeem Green commenced this pro se action                ORDERED that the Clerk serve a copy of this Order upon
under 42 U.S.C. § 1983 asserting claims arising out of his             the parties in accordance with the Local Rules.
confinement in the custody of the New York State Department
of Corrections and Community Supervision. (Dkt. No. 1). On             IT IS SO ORDERED.
April 5, 2019, Defendants filed a motion to dismiss under
Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon which
relief may be granted. (Dkt. No. 29). Plaintiff did not file a         All Citations
response to the motion. This matter was assigned to United
                                                                       Not Reported in Fed. Supp., 2019 WL 2766544

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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 105 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

                                                              Currently before the Court are Plaintiff's objections to
                  2015 WL 1456612                             Magistrate Judge Peebles' Report and Recommendation. See
     Only the Westlaw citation is currently available.        Dkt. No. 54.
              United States District Court,
                    N.D. New York.
                                                                                  II. BACKGROUND
                Tony McGEE, Plaintiff,
                          v.                                  A. Background
             C.O. HAIGH, et al., Defendants.                  For a complete recitation of the factual and procedural
                                                              background, refer to Magistrate Judge Peebles' Report and
              No. 9:13–CV–394 (MAD/DEP).                      Recommendation. See Dkt. No. 53 at 3–6.
                            |
                  Signed March 30, 2015.
                                                              B. Magistrate Judge Peebles' March 3, 2015 Report and
Attorneys and Law Firms                                       Recommendation
                                                              In a March 3, 2015, Report and Recommendation, Magistrate
Tony McGee, Comstock, NY, pro se.
                                                              Judge David E. Peebles recommended that the Court
Office of the New York, State Attorney General, of Counsel,   grant Defendants' motion in regard to Defendants Haigh,
Kevin M. Hayden, Esq., Albany, NY, for Defendants.            Saltsman, and Bushane. Id. at 22. Additionally, Magistrate
                                                              Judge Peebles recommended that this Court sua sponte
Hon. Eric T. Schneiderma, New York State Attorney General,    dismiss all claims against Defendant Walsh. Id. Specifically,
of Counsel, Kevin M. Hayden, Esq., Assistant Attorney         Magistrate Judge Peebles recommended that Defendants'
General, Albany, NY, for Defendants.                          motion be granted in regard to Defendants Haigh, Saltsman,
                                                              and Bushane because, although Plaintiff filed grievances
                                                              against each Defendant, “none of them contain allegations
     MEMORANDUM–DECISION AND ORDER                            of discrimination based on his sexual orientation, and thus
                                                              did not squarely place prison officials on notice of his equal
MAE A. D'AGOSTINO, District Judge.                            protection claims.” Id. at 14.

                                                              As a preliminary matter, Magistrate Judge Peebles found that
                  I. INTRODUCTION
                                                              “plaintiff's failure to respond to the defendants' rule 7.1(a)
 *1 Plaintiff, an inmate in the custody of the New York       (3) statement is the functional equivalent of his admission
State Department of Corrections and Community Supervision     of the material facts contained with[in] the statement for
(“DOCCS”), commenced this action pro se under 42 U.S.C.       the purposes of the instant motion.” Id. at 7–8. This is due
§ 1983. See Dkt. No. 1. Upon initial review, this Court       to the “court's local rules[, which] provide that any motion
dismissed Plaintiff's claims against Defendants Drummond,     for summary judgment must be accompanied by a statement
McMacllean, Williams, Omans, Brow, Droit, Mays, Russell,      of material facts as to which, the moving party submits,
Meaurbeau, Nickelson, Reinbeck, Wiltsie, Vasquez, and         there exists no genuine dispute.” Id. at 7 (citing N.D.N.Y.
Mateo. See Dkt. No. 9. The only claims that survived          L.R. 7.1(a)(3)). Magistrate Judge Peebles' then turned to
initial review were Fourteenth Amendment claims against       the substantive issues in Defendants' motion for summary
Defendants Haigh, Saltsman, Bushane, and Walsh. Id.           judgment.

On June 12, 2014, Defendants filed a motion for summary       First, Magistrate Judge Peebles found that Plaintiff's
judgment. See Dkt. No. 41. In his March 3, 2015 Report and    grievance “concerning the denial of meals” was not “based
Recommendation, Magistrate Judge Peebles recommended          on his sexual orientation or discriminatory animus.” Id.
that the Court grant Defendants' motion for summary           at 14. Further, an investigation of the grievance did “not
judgment. See Dkt. No. 53.                                    indicate any finding of discrimination or mention plaintiff's
                                                              sexual orientation.” Id. at 15. Therefore, “there is no basis
                                                              to conclude that plaintiff's grievance alleging denial of meals



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 106 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

by Defendant Haigh on November 22, 2011, November 26,              has not presented, nor has the court discerned, any basis
2011, and December 17, 2011, placed defendants on notice of        to conclude that the [Inmate Grievance Process] was not
an equal protection claim or discrimination allegation.” Id.       available to him, [that] defendants should be estopped from
                                                                   asserting failure to exhaust, or that special circumstances exist
 *2 Second, Magistrate Judge Peebles found that “plaintiff's       to justify plaintiff's failure to exhaust.” Dkt. No. 53 at 21–22.
grievance concerning the denial of showers did not place
defendants on notice of his equal protection claim.” Id. at 17.    Next, Magistrate Judge Peebles addressed Plaintiff's failure to
Defendants were not on notice of the claim because: (1) “[a]       serve Defendant Walsh within the applicable time frame. Id.
careful review of the documents associated with [the denial        at 21–25. Even if Plaintiff fails to serve a Defendant within the
of showers] grievance ... fail[ed] to reflect any allegation of    120 day period mandated by Federal Rule of Civil Procedure
shower denials in October 2011, or any mention of defendant        4(m), the time for service must be extended upon a showing
Saltsman being involved in the deprivations[,]” (2) Defendant      of good cause. 1 Id. at 22–23. Although Plaintiff was relieved
Saltsman was not interviewed as part of the grievance              of the burden to personally serve Defendant Walsh due to his
investigation process for denial of showers, and (3) Plaintiff “   in forma pauperis status, he could not “stand idle upon being
‘provided no witnesses or evidence to support his grievance.’      notified ... by the U.S. Marshals Service” that efforts to serve
“ Id. at 16 (quoting Dkt. No. 41–16 at 7).                         Defendant Walsh were unsuccessful. Id. at 24; see VanDiver
                                                                   v. Martin, 304 F.Supp.2d 934, 938–43 (E.D.Mich.2004).
Third, the allegations in Plaintiff's June 21, 2012 grievance      Further, the Second Circuit has held that, once an in forma
and the “investigations of plaintiff's grievances regarding        pauperis plaintiff has been notified that the Marshals will
the denial of commissary privileges do not reveal that ...         not serve a defendant within the specified time period, the
defendant Bushane deprived plaintiff of commissary buy-            plaintiff must “advise the district court that she is relying on
sheet[s] based on his sexual orientation” or that Plaintiff        the Marshals to effect service and request a further extension
alleged the violations were because of his sexual orientation.     of time for them to do so.” Dkt. No. 53 at 25 (quoting Meilleur
Id. at 18. Additionally, “[n]one of the decisions issued           v. Strong, 682 F.2d 56, 63 (2d Cir.2012)). Magistrate Judge
by [prison staff] ... reflect any finding of discrimination        Peebles found that Plaintiff did not serve Defendant Walsh or
or motivation by the accused individuals of discriminatory         show good cause to justify his failure to serve within 120 days.
animus.” Id. at 18–19. Therefore, Magistrate Judge Peebles         Id. at 25. Therefore, despite the leniency afforded a pro se
found that Plaintiff's grievances regarding the denial             plaintiff insofar as service of process is concerned, Magistrate
of commissary sheets did not “contain[ ] allegations               Judge Peebles recommended Plaintiff's claims be dismissed
of discrimination against plaintiff based on his sexual            against Defendant Walsh without prejudice. Id. at 24–25.
orientation.” Id. at 18. Accordingly, Magistrate Judge
Peebles found “that plaintiff failed to exhaust the available      1       While Federal Rule of Civil Procedure 4(m) allows
administrative remedies regarding the denial of commissary
                                                                           120 days to effect service, the Northern District of
access based on his sexual orientation.” Id. at 19.
                                                                           New York shortened the time period to sixty days.
                                                                           Dkt. No. 53 at 23; see N.D.N.Y. L.R. 4.1(b).
Based on the above findings, Magistrate Judge Peebles
found that “the record reflects that plaintiff failed to exhaust
available administrative remedies before commencing this           C. Plaintiff's objections
action.” Id. at 19. However, “failure to exhaust ... does not       *3 Plaintiff first objects to Magistrate Judge Peebles' finding
warrant dismissal of plaintiff's amended complaint without         that Plaintiff “did not address defendants' statement of
further inquiry.” Id. at 20. The Second Circuit requires           undisputed material issues of fact submitted pursuant to rule
that district courts determine whether the administrative          7.1(a)(3) of the local rules of practice for this court.” Dkt. No.
process was available to Plaintiff, whether Defendants'            54 at 1; Dkt. No. 53 at 6. Plaintiff claims that he put his “short
actions prevented the exhaustion of his remedies and warrant       concise respon[s]e” at the end of his “counter motion ‘against’
estoppel, or whether Plaintiff has plausibly alleged special       dismissal for Defendants summary judgment” motion. Dkt.
circumstances that justify his failure to exhaust administrative   No. 54 at 1. Plaintiff further alleges that Defendants did not
remedies. Id. at 20–21; see also Hemphill v. New York, 380         raise a question of material fact as to Plaintiff's exhaustion of
F.3d 680, 686 (2d Cir.2004); Macias v. Zenk, 495 F.3d 37, 41       administrative remedies, and that res judicata is inapplicable
(2d Cir.2007). Magistrate Judge Peebles found that “plaintiff      because Plaintiff's previous lawsuit was “never litigated.”
                                                                   Id. Finally, Plaintiff claims he exhausted all administrative


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 107 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

remedies on “March 3, [2013]” when he filed grievances for         *4 When a party files specific objections to a magistrate
harassment and discrimination. Id.                                judge's report and recommendation, the district court makes
                                                                  a “de novo determination of those portions of the report or
Second, Plaintiff alleges that special circumstances existed      specified proposed findings or recommendations to which
that preclude dismissal of his claims for failure to exhaust      objection is made.” 28 U.S.C. § 636(b)(1) (2006). When a
administrative remedies. Id. at 2. Specifically, he claims that   party, however, files “[g]eneral or conclusory objections or
“ ‘death threats' by Coxsackie Correction Officers” constitute    objections which merely recite the same arguments [that he
special circumstances which preclude dismissal of Plaintiff's     presented] to the magistrate judge,” the court reviews those
claims. Id. Further, Plaintiff cites Morris v. Eversley, 205      recommendations for clear error. O'Diah v. Mawhir, No. 9:08–
F.Supp.2d 234 (S.D.N.Y.2002), for the proposition that he         CV–322, 2011 WL 933846, *1 (N.D.N.Y. Mar. 16, 2011)
exhausted administrative remedies by filing a grievance for       (citations and footnote omitted). After the appropriate review,
harassment. Id.                                                   “the court may accept, reject, or modify, in whole or in part,
                                                                  the findings or recommendations made by the magistrate
Third, Plaintiff objects to Magistrate Judge Peebles' finding     judge.” 28 U.S.C. § 636(b)(1) (2006).
that Plaintiff failed to exhaust his administrative remedies
regarding the claims against Defendant Haigh for denial           A litigant's failure to file objections to a magistrate judge's
of meals. Id. at 3. According to Plaintiff, he “put in            report-recommendation, even when that litigant is proceeding
a ‘discrimination grievance’ ... due to ‘constant animus'         pro se, waives any challenge to the report on appeal. See
towards [him.]” Id.                                               Cephas v. Nash, 328 F.3d 98, 107 (2d Cir.2003) (holding that,
                                                                  “[a]s a rule, a party's failure to object to any purported error or
Fourth, Plaintiff objects to Magistrate Judge Peebles' finding    omission in a magistrate judge's report waives further judicial
that Plaintiff failed to exhaust his administrative remedies      review of the point” (citation omitted)). A pro se litigant must
regarding his claim against Defendant Bushane for denial          be given notice of this rule; notice is sufficient if it informs
of commissary sheets. Id. Plaintiff claims that a corrections     the litigant that the failure to timely object will result in the
officer “Torres ... observed ‘C.O. Bushane’ “ deny Plaintiff      waiver of further judicial review and cites pertinent statutory
commissary sheets, and observed Defendant Bushane say the         and civil rules authority. See Frank v. Johnson, 968 F.2d 298,
“ ‘faggot is not getting a sheet.’ “ Id.                          299 (2d Cir.1992); Small v. Sec'y of Health & Human Servs.,
                                                                  892 F.2d 15, 16 (2d Cir.1989) (holding that a pro se party's
Fifth, Plaintiff objects to Magistrate Judge Peebles' finding     failure to object to a report and recommendation does not
that Plaintiff failed to exhaust his administrative remedies      waive his right to appellate review unless the report explicitly
regarding the claim against Defendant Saltsman for denial         states that failure to object will preclude appellate review and
of showers. Id. Plaintiff's objection states that he told the     specifically cites 28 U.S.C. § 636(b)(1) and Rules 72, 6(a) and
Inmate Grievance Procedure (“IGP”) Supervisor, Mr. Keller,        former 6(e) of the Federal Rules of Civil Procedure).
that his grievance was a “ ‘harassment grievance[,]’ “ and that
Mr. Keller “renamed the grievance ‘threats[,]’ ‘denial of law
library[,]’ and ‘denial of a shower.’ “ Id.                          2. Summary judgment standard
                                                                  A court may grant a motion for summary judgment only if
Finally, Plaintiff objects to this Court's dismissal of “17       it determines that there is no genuine issue of material fact
correction officers who had a direct involvement with all         to be tried and that the facts as to which there is no such
the ‘discriminatory acts' [he] mentioned in the ‘amended          issue warrant judgment for the movant as a matter of law.
complaint’. Which ‘diluted [his] chances at a proper lawsuit.’    See Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 36 (2d
“ Id.                                                             Cir.1994) (citations omitted). When analyzing a summary
                                                                  judgment motion, the court “cannot try issues of fact; it can
                                                                  only determine whether there are issues to be tried.” Id. at 36–
                                                                  37 (quotation and other citation omitted). Moreover, it is well-
                     III. DISCUSSION                              settled that a party opposing a motion for summary judgment
                                                                  may not simply rely on the assertions in its pleadings. See
A. Standard of Review
                                                                  Celotex Corp. v. Catrett, 477 U .S. 317, 324 (1986) (quoting
1. Review of a report and recommendation                          Fed.R.Civ.P. 56(c)(e)).



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 108 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

In assessing the record to determine whether any such issues        and Recommendation, Magistrate Judge Peebles found that
of material fact exist, the court is required to resolve all        Plaintiff “did not address defendants' statement of undisputed
ambiguities and draw all reasonable inferences in favor of          material issues of fact.” Dkt. No. 53 at 6.
the nonmoving party. See Chambers, 43 F.3d at 36 (citing
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986))          The Court finds that Magistrate Judge Peebles correctly
(other citations omitted). Where the non-movant either does         determined that Plaintiff did not comply with Local Rule
not respond to the motion or fails to dispute the movant's          7.1(a)(3). Even if liberally construed, Plaintiff has not
statement of material facts, the court may not rely solely on       made any arguments that refute Magistrate Judge Peebles'
the moving party's Rule 56.1 statement; rather the court must       Report and Recommendation. While Plaintiff claims that
be satisfied that the citations to evidence in the record support   he provided a “short concise respon[s]e” to Defendants'
the movant's assertions. See Giannullo v. City of N.Y., 322         statement of material facts, it is not clear what portion of his
F.3d 139, 143 n. 5 (2d Cir.2003) (holding that not verifying in     submission he is referring to. Dkt. No. 54 at 1. Moreover,
the record the assertions in the motion for summary judgment        after reviewing Plaintiff's opposition motion to Defendants'
“would derogate the truth-finding functions of the judicial         summary judgment motion (Dkt. No. 43), the Court cannot
process by substituting convenience for facts”).                    find any portion that could reasonably be construed as
                                                                    Plaintiff's response to Defendants' statement of material facts.
 *5 “[I]n a pro se case, the court must view the submissions        Further, it is not clear how Clerical Apparel helps Plaintiff's
by a more lenient standard than that accorded to ‘formal            claim. In that case, the court found that the plaintiff did
pleadings drafted by lawyers.’ “ Govan v. Campbell, 289             not “file any meaningful opposition to the present motion,”
F.Supp.2d 289, 295 (N.D.N.Y.2007) (quoting Haines v.                and therefore “the [c]ourt must assume that plaintiff admits
Kerner, 404 U.S. 519, 520, 92 S.Ct. 594, 30 L.Ed.2d 652             the material facts as stated.” Clerical Apparel of N.Y. Inc.,
(1972)) (other citations omitted). The Second Circuit has           209 F.R.D. at 320. As Plaintiff failed to dispute Defendant's
opined that the court is obligated to “make reasonable              statement of material facts, this case supports Magistrate
allowances to protect pro se litigants” from inadvertently          Judge Peebles' recommendation.
forfeiting legal rights merely because they lack a legal
education. Govan v. Campbell, 289 F.Supp.2d 289, 295
(N.D.N.Y.2007) (quoting Traguth v. Zuck, 710 F.2d 90, 95 (2d           2. Hemphill Inquiry
Cir.1983)). “This liberal standard, however, does not excuse         *6 The Second Circuit has held that a three-prong analysis
a pro se litigant from following the procedural formalities of      is required where a prisoner has failed to exhaust his available
summary judgment.” Id. at 295 (citing Showers v. Eastmond,          administrative remedies. Hemphill v. New York, 380 F.3d 680,
No. 00 CIV. 3725, 2001 WL 527484, *1 (S.D.N.Y. May                  686, 691 (2d Cir.2004). First, “the court must ask whether
16, 2001)). Specifically, “a pro se party's ‘bald assertion,’       [the] administrative remedies [not pursued by the prisoner]
completely unsupported by evidence is not sufficient to             were in fact ‘available’ to the prisoner.” Id. at 686. Second, if
overcome a motion for summary judgment.” Lee v. Coughlin,           those remedies were available,
902 F.Supp. 424, 429 (S.D .N.Y.1995) (quoing Cary v.
Crescenzi, 923 F.2d 18, 21 (2d Cir.1991)).
                                                                                 the court should ... inquire as to
                                                                                 whether [some or all of] the defendants
C. Analysis                                                                      may have forfeited the affirmative
                                                                                 defense of non-exhaustion by failing
   1. Local Rule 7.1(a)(3)
                                                                                 to raise or preserve it ... or whether
As Magistrate Judge Peebles correctly sets out, “[t]his court's
                                                                                 the defendants' own actions inhibiting
local rules provide that any motion for summary judgment
                                                                                 the [prisoner's] exhaustion of remedies
must be accompanied by a statement of material facts as to
                                                                                 may estop one or more of the
which, the moving party submits, there exists no genuine
                                                                                 defendants from raising the plaintiff's
dispute.” Dkt. No. 53 at 7; see also N.D.N.Y. L.R. 7.1(a)(3).
                                                                                 failure to exhaust as a defense.
According to Local Rule 7.1(a)(3), “[t]he Court shall deem
admitted any facts set forth in the Statement of Material Facts
that the opposing party does not specifically controvert.”
N.D.N.Y. L.R. 7.1(a)(3) (emphasis in original). In his Report


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 109 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

                                                                   his harassment complaint. Based on the foregoing, the Court
Id. (citations omitted). Third, if the remedies were available     holds that Magistrate Judge Peebles correctly determined that
and the defendant did not forfeit, and was not estopped            no special circumstances existed which justified Plaintiff's
from raising the non-exhaustion defense, “the court should         failure to exhaust administrative remedies.
consider whether ‘special circumstances' have been plausibly
alleged that justify the prisoner's failure to comply with the     2
                                                                          The harassment regulation referenced by Morris is
administrative procedural requirements.” Id. (quoting Giano
                                                                          now under N.Y. COMP.CODES R. & REGS. tit. 7
v. Goord, 380 F.3d 670, 675 (2d Cir.2004)).
                                                                          § 701.8 (2015). Further, the language referenced by
                                                                          the Morris court is now in the definitions section
Plaintiff alleges that special circumstances exist, because
                                                                          of the regulation at tit. 7, § 701.2(e), not within the
death threats were made against him by Coxsackie
                                                                          substantive regulation.
Corrections Officers. Dkt. No. 54 at 2. “ ‘Special
circumstances' have been found to include an incorrect but
reasonable interpretation of DOCCS' regulations or failing            3. Denial of meals
to file a grievance in the precise manner prescribed by             *7 Plaintiff objects to the dismissal of his claim regarding
DOCCS as a result of threats.” Lopez v. Bushey, No. 9:11–          denial of meals by Defendant Haigh. However, he provides
cv–0418, 2014 WL 2807532, *9 (N.D.N.Y. Apr. 7, 2014)               no new evidence that would change the Court's analysis.
(quoting Giano, 380 F.3d at 675–76). However, in the               Magistrate Judge Peebles found that “Plaintiff did not
present matter, “the record is devoid of evidence of ‘special      allege that he was denied meals based on his sexual
circumstances' excusing Plaintiff's failure to exhaust.” Jones     orientation or discriminatory animus.” Dkt. No. 53 at 14.
v.. Rock, No. 9:12–cv–447, 2015 WL 791547, *14 (N.D.N.Y.           This recommendation was based on Plaintiff's deposition,
Feb. 24, 2015). Plaintiff's deposition does not allege that        where he “admitted that his grievance against defendant
threats prevented him from including information about             Haigh for the denial of meals did not include an allegation
discrimination due to his sexual orientation in his various        of discrimination.” Id. at 14 n. 10. Plaintiff alleges that
grievances. See Dkt. No. 41–20 at 1–53. Further, the               he filed a grievance due to “ ‘constant animus[,]’ “
record reveals that Plaintiff continued to file grievances         but he does not allege that this grievance was related
after allegedly being threatened with “inmate beatdowns or         to discrimination regarding sexual orientation. Dkt. No.
stabbings” if he chose to continue filing grievances. Dkt.         54 at 3. Further, records indicate that the grievance
No. 41–16 at 3. Therefore, the Court holds that Plaintiff          Plaintiff referenced in his objection, CX–17239–12, was
has failed to show that special circumstances prevented him        filed regarding “[d]isbursements and [l]egal [m]ail.” Dkt. No.
from exhausting administrative remedies, or that Defendants        41–13 at 1. Therefore, Plaintiff's objection fails to present
are estopped from raising this defense, because there is no        a genuine issue of material fact as to whether Plaintiff's
evidence that threats of any kind prevented him from filing        grievances alleging denial of meals “placed defendants
grievances.                                                        on notice of an equal protection claim or discrimination
                                                                   allegation.” Dkt. No. 53 at 15.
Additionally, Plaintiff's reliance on Morris is misplaced.
Morris deals with the expedited grievance procedure                Based on the foregoing, the Court holds that Magistrate Judge
available to prisoners who allege that employees have              Peebles correctly determined that Plaintiff failed to exhaust
engaged in “ ‘misconduct meant to annoy, intimidate, or            administrative remedies regarding denial of meals due to
harm an inmate.’ “ Morris, 205 F.Supp.2d at 240 (quoting           discrimination based on sexual orientation.

N.Y. COMP.CODES R. & REGS. tit. 7 § 701.11(a)). 2 In
Morris, the court concluded that “Morris ha[d] exhausted              4. Denial of commissary sheets
her administrative remedies under § 701.11 [,]” because the        Plaintiff claims that “Correction Officer Torres” (“Torres”)
prison did not follow the expedited grievance procedure            observed Defendant Bushane withhold Plaintiff's commissary
meant to ensure that a harassment complaint is addressed           sheet, and when Torres asked why Defendant Bushane did
quickly. Id. at 241. Here, Plaintiff's grievances were deficient   not give Plaintiff a commissary sheet, Defendant Bushane
because they did not put Defendants on notice of his claim         responded “faggot is not getting a sheet.” Dkt. No. 54 at 3
of discrimination due to sexual orientation, not because           (quotations omitted). However, the record does not include
Plaintiff did not follow the correct grievance procedure for       any information regarding Torres, and as Magistrate Judge



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 110 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

Peebles found, it contains no evidence of discriminatory           to dismiss “Defendants Drummond, McMacllean, Williams,
statements by Defendant Bushane. Dkt. No. 53 at 17–18.             Omans, Brow, Droit, Mays, Russell, Meaurbeau, Nickelson,
Additionally, in response to questions about witnesses to          Reinbeck, Wiltsie, Vasquez, and Mateo for the violation of
Defendant Bushane's comments, Plaintiff initially said there       Plaintiff's right to Equal Protection.” See Dkt. No. 9 at 7.
were no witnesses, and then stated that “they're all over the
state now[,]” and that “they're not coming to court for it.”
Dkt. No. 41–20 at 43. Moreover, Plaintiff has not alleged any
                                                                                       IV. CONCLUSION
new evidence that Magistrate Judge Peebles failed to consider
in his finding that Plaintiff “failed to exhaust the available     After carefully reviewing the entire record in this matter, the
administrative remedies regarding the denial of commissary         parties' submissions and the applicable law, and for the above-
access based on his sexual orientation.” Dkt. No. 53 at 19.        stated reasons, the Court hereby

Based on the foregoing, the Court holds that Magistrate            ORDERS that Magistrate Judge Peebles' March 3 2015,
Judge Peebles correctly determined that Plaintiff failed           Report and Recommendation is ADOPTED in its entirety for
to exhaust administrative remedies regarding Defendant             the reasons set forth therein; and the Court further
Bushane's alleged denial of commissary sheets.
                                                                   ORDERS that Defendants' motion for summary judgment
                                                                   is GRANTED and that all claims against the remaining
   5. Denial of a shower
                                                                   Defendants are DISMISSED; and the Court further
Plaintiff objects to dismissal of his claim against Defendant
Saltsman because he alleges that he originally filed a
                                                                   ORDERS that all claims against Defendant Walsh are
“harassment grievance[,]” which was improperly re-titled
                                                                   dismissed without prejudice; and the Court further
“Threats/Denied Showers/Law Library.” Dkt. No. 54 at 3;
Dkt. No. 41–16 at 1. Further, Plaintiff objects because he “had
                                                                   ORDERS that Plaintiff's cross motion for summary judgment
grieved showers before” filing his complaint. Dkt. No. 54 at 3.
                                                                   is DENIED; and the Court further

 *8 Even if the Court accepts that Plaintiff initially filed a
                                                                   ORDERS that the Clerk of the Court shall enter judgment in
“harassment grievance” against Defendant Saltsman, it has
                                                                   Defendants' favor and close this case; and the Court further
no bearing on Magistrate Judge Peebles' recommendation.
In his Report and Recommendation, Magistrate Judge
                                                                   ORDERS that the Clerk of the Court shall serve a copy of
Peebles recommended that this Court dismiss Plaintiff's claim
                                                                   this order on the parties in accordance with the Local Rules.
against Defendant Saltsman because “plaintiff's grievance
concerning the denial of showers did not place defendants
on notice of [Plaintiff's] equal protection claim.” Dkt. No.       IT IS SO ORDERED.
53 at 17. Nothing in Plaintiff's objection suggests that his
grievance or conduct gave Defendants notice of an equal            TONY McGEE,
protection claim. Therefore, the Court holds that Magistrate
Judge Peebles correctly determined that Plaintiff failed to        Plaintiff,
exhaust administrative remedies regarding the alleged denial
                                                                   v.
of showers.
                                                                   C.O. HAIGH, et al., 1
                                                                   1
   6. Direct involvement                                                 According to defendants' motion papers, the correct
Finally, Plaintiff argues that dismissal of Defendants at the              last names of the three remaining defendants who
initial review stage “diluted [his] chances at a proper lawsuit”           have appeared in the action are Haigh (sued as
and that dismissed Defendants “had a direct involvement”                   “Haight”), Saltsman (sued as “Salzman”), and
in the discriminatory attacks alleged in his complaint. Dkt.               Bushane (sued as “Bowman/Bussast”). Dkt. No.
No. 54 at 3. However, he has provided no reason for the                    41–2 at 3. The clerk will respectfully be directed
Court to modify its decision beyond conclusory allegations.
Therefore, the Court declines to revisit its earlier decision


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 111 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

       to amend the court's records to reflect the correct        Plaintiff is a prison inmate currently in the custody of the
       names of these three defendants.                           New York State Department of Corrections and Community
                                                                  Supervision (“DOCCS”). See generally Dkt. No. 7. At the
Defendants.                                                       times relevant to his claims, McGee was confined in the
                                                                  Coxsackie Correctional Facility (“Coxsackie”), located in
                                                                  Coxsackie, New York. Id.
           REPORT AND RECOMMENDATION

DAVID E. PEEBLES, United States Magistrate Judge.                 In this action, plaintiff alleges he was deprived of meals,
                                                                  showers, law library access, and other privileges at Coxsackie
Pro se plaintiff Tony McGee, a New York State prison              over a twelve-month period beginning in September 2011
inmate, has commenced this action against several corrections     and extending through August 2012. See generally Dkt.
employees pursuant to 42 U.S.C. § 1983 alleging that they         No. 7. As it relates to the three remaining defendants who
have violated his civil rights, including his right to equal      have appeared in the case, plaintiff's complaint alleges that
protection as guaranteed under the Fourteenth Amendment           (1) defendant Saltsman, a corrections officer, denied him
to the United States Constitution. Plaintiff claims that the      three showers in October 2011, stating that “he did not
defendants have denied him meals, showers, and other              like ‘fags,’ “ Dkt. No. 7 at 2; (2) defendant Haigh denied
privileges based exclusively upon his sexual orientation.         plaintiff three meals on November 22, 2011, November 26,
Plaintiff's complaint, as amended, seeks declaratory relief and   2011, and December 17, 2011, telling plaintiff, “[Y]ou won't
an award of punitive damages.                                     eat faggot,” id. at 3; Dkt. No. 41–20 at 13–14; and (3)
                                                                  defendant Bushane, another corrections officer, refused to
 *9 Currently pending before the court is a motion brought        provide plaintiff with commissary buy-sheets on June 18,
by the three remaining defendants who have appeared               2012 and July 17, 2012, telling plaintiff, “[You] don't need a
in the action seeking the entry of summary judgment               commissary sheet ‘faggot.’ “ Dkt. No. 7 at 3; Dkt. No. 41–
dismissing plaintiff's remaining claims. 2 Defendants argue       20 at 42.
that plaintiff's claims are procedurally precluded based upon
his failure to exhaust available administrative remedies before
                                                                  II. PROCEDURAL HISTORY
commencing suit. They also contend that plaintiff's claims
                                                                  Plaintiff commenced this action on or about April 8, 2013,
are legally deficient, and any damage claims asserted against
                                                                  and later filed an amended complaint on July 1, 2013. Dkt.
them in their official capacities are precluded by the Eleventh
                                                                  Nos. 1, 7. Named as defendants in plaintiff's complaint, as
Amendment. For the reasons set forth below, I recommend
                                                                  amended, are Corrections Officers Haigh, Saltsman, Bushane,
that defendants' motion be granted.
                                                                  Williams, Nickleson, Reinbeck, Walsh, Brow, Droit, Dru/
                                                                  Drummond, Mays, Russell, Meaurbeau/Muschrid, Omans,
2      As will be discussed below, plaintiff's claims             Wiltsie, and Vasquez, as well as an individual identified as
       against sixteen of the twenty originally named             McMacllean, who, according to plaintiff, is a correspondent
       defendants were dismissed by decision and order            unit employee. Dkt. No. 7. Plaintiff's complaint asserts
       issued by District Judge Mae D'Agostino based              an equal protection claim in violation of the Fourteenth
       upon her initial review of plaintiff's complaint
                                                                  Amendment based on his status as a homosexual. 4 See
       pursuant to 28 U.S.C. § 1915(e). Dkt. No. 9 at 11.
                                                                  generally id.; see also Dkt. No. 43 at 5.
       In addition, one of the four remaining defendants,
       identified only as “Walsh,” has neither been served
                                                                  4
       nor appeared in the action.                                       Plaintiff's allegations against defendant Haigh are
                                                                         similar to those set forth in his complaint in an
                                                                         earlier action, McGee v. Haight, No. 12–CV–
I. BACKGROUND 3
                                                                         1431 (N.D.N.Y. filed Sept. 18, 2012), wherein he
3     In light of the procedural posture of the case, the                claimed that Haigh denied him access to the mess
      following recitation is derived from the record now                hall for dinners on November 22, 2011, November
      before the court, with all inferences drawn and                    26, 2011, December 16, 2011, and December 17,
      ambiguities resolved in plaintiff's favor. Terry v.                2011. McGee, No. 12–CV–1431, Dkt. No. 1 at 4.
      Ashcroft, 336 F.3d 128, 137 (2d Cir.2003).                         Plaintiff's complaint in that action did not contain



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 112 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

       any allegations that defendant Haigh's conduct, as          (1)(B) and Northern District of New York Local Rule 72.3(c).
       alleged, was motivated by discriminatory animus             See Fed.R.Civ.P. 72(b).
       in violation of the Fourteenth Amendment. McGee,
       No. 12–CV–1431, Dkt. No. 1. The action was                  6       Among the issues raised in plaintiff's submissions
       ultimately dismissed based upon plaintiff's failure                 is the preparation and submission of an errata sheet
       to pay the appropriate filing fee. McGee, No. 12–                   related to his deposition. Dkt. Nos. 44, 45. By letter
       CV–1431, Dkt. Nos. 4, 5.                                            dated October 17, 2014, defendants' counsel has
Following initial review of plaintiff's amended complaint,                 replied, attaching a copy of plaintiff's deposition
District Judge Mae A. D'Agostino issued a decision                         errata sheet signed on May 24, 2014. Dkt. No. 49.
and order dated October 11, 2013, dismissing plaintiff's                   It appears the clerk of the court docketed plaintiff's
claims asserted against defendants Drummond, McMacllean,                   initial submission in opposition to the pending
Williams, Omans, Brow, Droit, Mays, Russell, Meaurbeau,                    motion as a cross-motion based on certain language
Nickelson, Reinbeck, Wiltsie, Vasquez, and Mateo, leaving                  contained therein. See, e.g., Dkt. No. 43 at 1 (“This
intact only his Fourteenth Amendment cause of action against               is my ‘motion for dismissal of summary judgment
defendants Haigh, Saltsman, Bushane, and Walsh. 5 Dkt. No.                 by defendants.’ ”). Upon further review, however,
9. Defendant Walsh has yet to be served and has not appeared               it appears plaintiff's submissions constitute only
in the action.                                                             responses to the pending motion and plaintiff seeks
                                                                           no other relief than denial of defendants' summary
5                                                                          judgment motion. Accordingly, I recommend that
       To the extent his amended complaint could be
                                                                           plaintiff's cross-motion be denied.
       construed, at this juncture, as asserting an Eighth
       Amendment claim, plaintiff has disavowed such
                                                                   III. DISCUSSION
       cause of action in his opposition to defendants'
       pending motion. See Dkt. No. 45 at 6 (“Claim                   A. Plaintiff's Failure to Submit a Responsive Rule 7.1(a)
       ‘recent’ 9:13–CV–000394 (MAD/DEP) was not                      (3) Statement
       filed as an 8th Amendment claim as for this                 Although plaintiff has opposed defendants' motion for
       claim it was filed as a 14th Amendment violation            summary judgment, he did not address defendants' statement
       of Constitutional rights[.]”). For that reason, I           of undisputed material issues of fact submitted pursuant to
       recommend that any Eighth Amendment claim now               rule 7.1(a)(3) of the local rules of practice for this court. See
       asserted be dismissed.                                      generally Dkt. Nos. 43–45. Before turning to the merits of
 *10 Following service upon defendants Haigh, Saltsman,            defendants' motion, a threshold issue to be addressed is the
and Bushane, the joinder of issue, and the completion of           legal significance of this failure.
discovery, defendants moved, on June 12, 2014, for the entry
of summary judgment dismissing plaintiff's claims. Dkt. No.        This court's local rules provide that any motion for summary
41. In their motion, defendants argue that plaintiff failed        judgment must be accompanied by a statement of material
to exhaust available administrative remedies before filing         facts as to which, the moving party submits, there exists no
suit and is therefore barred from pursuing the claims in           genuine dispute. N .D.N.Y. L.R. 7.1(a)(3). The rule further
this action. Dkt. No. 41–2 at 913. Addressing the merits,          requires that each fact listed set forth a specific citation to the
defendants maintain that plaintiff's equal protection claim is     record where the fact is established. Id.
legally deficient in that it fails to identify any cognizable
injury, and further contend that plaintiff's damage claims         In this instance, defendants' motion was accompanied by
asserted against them in their official capacities are precluded   a proper rule 7.1(a)(3) statement, including corresponding
by the Eleventh Amendment. Id. at 14–16. The court has             record citations. Dkt. No. 41–22. The motion also included a
since received three separate submissions from the plaintiff       notice to plaintiff of the consequences of failing to properly
                                                                   respond to the summary judgment motion, which stated
in opposition to defendants' summary judgment motion. 6
                                                                   that, “[i]f [plaintiff] do[es] not submit a short and concise
Dkt. Nos. 43–45. Defendants' motion, which is now ripe for
                                                                   statement of material facts as to which [he] claim[s] there
determination, has been referred to me for the issuance of a
                                                                   are genuine issues in dispute, all material facts set forth in
report and recommendation pursuant to 28 U.S.C. § 636(b)




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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 113 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

the statement filed and served by the defendant(s) shall be           opposing party must show, through affidavits or otherwise,
deemed admitted.” Dkt. No. 41–1.                                      that there is a material dispute of fact for trial. Fed.R.Civ.P.
                                                                      56(e); Celotex, 477 U.S. at 324; Anderson, 477 U.S. at 250.
Rule 7.1(a)(3) provides that “[t]he Court shall deem admitted
any facts set forth in the Statement of Material Facts                When deciding a summary judgment motion, a court must
that the opposing party does not specifically controvert.”            resolve any ambiguities, and draw all inferences, in a light
N.D.N.Y. L.R. 7.1(a)(3) (emphasis in original). Under this            most favorable to the nonmoving party. Anderson, 477 U.S.
rule, plaintiff's failure to respond to the defendants' rule 7.1(a)   at 255; Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d
(3) statement is the functional equivalent of his admission of        133, 137–38 (2d Cir.1998). The entry of summary judgment
the material facts contained with the statement for purposes          is justified only in the event of a finding that no reasonable
of the instant motion. See Elgamil v. Syracuse Univ., No.             trier of fact could rule in favor of the non-moving party. Bldg.
99–CV–611, 2000 WL 1264122, at *1 (N.D.N.Y. Aug. 22,                  Trades Employers' Educ. Ass'n v. McGowan, 311 F.3d 501,
2000) (McCurn J.) (listing cases); see also Monahan v.                507–08 (2d Cir.2002); see also Anderson, 477 U.S. at 250
N.Y. City Dep't of Corrs., 214 F.3d 275, 292 (2d Cir.2000)            (finding summary judgment appropriate only when “there can
(discussing district courts' discretion to adopt local rule           be but one reasonable conclusion as to the verdict”).
7.1(a)(3); Ketchuck v. Boyer, No. 10–CV–0870, 2011 WL
5080404, at *2 (N.D.N.Y. Oct. 25, 2011) (McAvoy, J.)
(“[T]he responding Statement of Material Facts is not a mere             C. Failure to Exhaust Available Administrative Remedies
formality, and the courts apply this rule strictly.” (listing         Defendants contend that plaintiff is precluded from
                                                                      maintaining this action based upon his failure to exhaust
cases)). 7
                                                                      available administrative remedies prior to commencing suit.
                                                                      Dkt. No. 41–2 at 9–13. The Prison Litigation Reform Act
7       Copies of all unreported decisions cited in this              of 1996 (“PLRA”), Pub.L. No. 104–134, 110 Stat. 1321
        document have been appended for the convenience               (1996), which imposes several restrictions on the ability of
        of the pro se plaintiff. [Editor's Note: Attachments          prisoners to maintain federal civil rights actions, expressly
        of Westlaw case copies deleted for online display.]           requires that “[n]o action shall be brought with respect to
                                                                      prison conditions under section 1983 of this title, or any other
   B. Summary Judgment Standard                                       Federal law, by a prisoner confined in any jail, prison, or
 *11 Summary judgment motions are governed by Rule 56                 other correctional facility until such administrative remedies
of the Federal Rules of Civil Procedure. Under that provision,        as are available are exhausted.” 42 U.S.C. § 1997e(a); see
the entry of summary judgment is warranted “if the movant             also Woodford v. Ngo, 548 U.S. 81, 84 (2006) ( “Exhaustion
shows that there is no genuine dispute as to any material             is ... mandatory. Prisoners must now exhaust all ‘available’
facts and the movant is entitled to judgment as a matter of           remedies[.]”); Hargrove v. Riley, No. 04–CV–4587, 2007 WL
law.” Fed.R.Civ.P. 56(a); Celotex Corp. v. Catrett, 477 U.S.          389003, at *5–6 (E.D.N.Y. Jan. 31, 2007) (“The exhaustion
317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S.            requirement is a mandatory condition precedent to any suit
242, 247 (1986); Sec. Ins. Co. of Hartford v. Old Dominion            challenging prison conditions, including suits brought under
Freight Line, Inc., 391 F.3d 77, 82–83 (2d Cir.2004). A fact is       Section 1983.”). “[T]he PLRA's exhaustion requirement
“material” for purposes of this inquiry, if it “might affect the      applies to all inmate suits about prison life, whether they
outcome of the suit under the governing law.” Anderson, 477           involve general circumstances or particular episodes, and
U.S. at 248; see also Jeffreys v. City of New York, 426 F.3d          whether they allege excessive force or some other wrong.”
549, 553 (2d Cir.2005). A material fact is genuinely in dispute       Porter v. Nussle, 534 U.S. 516, 532 (2002). In the event
“if the evidence is such that a reasonable jury could return a        the defendant establishes that the inmate plaintiff failed “to
verdict for the nonmoving party.” Anderson, 477 U.S. at 248.          fully complete [ ] the administrative review process” prior
                                                                      to commencing the action, the plaintiff's complaint is subject
A party moving for summary judgment bears an initial burden           to dismissal. Pettus v. McCoy, No. 04–CV–0471, 2006 WL
of demonstrating that there is no genuine dispute of material         2639369, at *1 (N.D.N.Y. Sept. 13, 2006) (McAvoy, J.); see
fact to be decided with respect to any essential element of the       also Woodford, 548 U.S. at 93 (“[W]e are persuaded that the
claim in issue, and the failure to meet this burden warrants          PLRA exhaustion requirement requires proper exhaustion.”).
denial of the motion. Anderson, 477 U.S. at 250 n. 4; Sec. Ins.       “Proper exhaustion” requires a plaintiff to procedurally
Co., 391 F .3d at 83. In the event this initial burden is met, the    exhaust his claims by “compl[ying] with the system's critical


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 114 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

procedural rules.” Woodford, 548 U.S. at 95; accord, Macias             As can be seen, at each step of the IGP process, a decision
v. Zenk, 495 F.3d 37, 43 (2d Cir.2007).     8                           must be rendered within a specified time period. Significantly,
                                                                        “[a]ny failure by the IGRC or the superintendent to timely
8                                                                       respond to a grievance or first-level appeal, respectively, can
        While placing prison officials on notice of a
                                                                        —and must—be appealed to the next level, including CORC,
        grievance through less formal channels may
                                                                        to complete the grievance process.” Murray v. Palmer, No.
        constitute claim exhaustion “ ‘in a substantive
                                                                        03–CV–1010, 2010 WL 1235591, at *2 (N.D.N.Y. Mar. 31,
        sense,’ “ an inmate plaintiff nonetheless must
                                                                        2010) (Hurd, J., adopting report and recommendation by
        meet the procedural requirement of exhausting
                                                                        Lowe, M.J.) (citing, inter alia, 7 N.Y.C .R.R. § 701.6(g)(2)).
        his available administrative remedies within the
        appropriate grievance construct in order to satisfy
                                                                        Generally, if a plaintiff fails to follow each of the
        the PLRA. Macias, 495 F.3d at 43 (quoting
                                                                        required three steps of the above-described procedure prior
        Johnson v. Testman, 380 F.3d 691, 697–98 (2d
                                                                        to commencing litigation, he has failed to exhaust his
        Cir.2004) (emphasis omitted)).
                                                                        administrative remedies. See Ruggerio v. Cnty. of Orange, 467
 *12 The DOCCS makes available to inmates a grievance                   F.3d 170, 176 (2d Cir.2006) (“[T]he PLRA requires proper
procedure entitled the Inmate Grievance Program (“IGP”).                exhaustion, which means using all steps that the agency holds
The IGP is comprised of three steps that inmates must satisfy           out, and doing so properly (so that the agency addresses the
when they have a grievance regarding prison conditions. 7               issues on the merits).” (quotation marks omitted)).
N.Y.C.R.R. § 701.5; Mingues v. Nelson, No. 96–CV–5396,
2004 WL 324898, at *4 (S.D.N.Y. Feb. 20, 2004). Embodied                A review of the record now before the court reveals that
in 7 N.Y.C.R.R. § 701, the IGP requires that an inmate                  plaintiff has a robust grievance history. According to Jeffrey
first file a complaint with the facility's IGP clerk within             Hale, Assistant Director of the DOCCS IGP, plaintiff has
twenty-one days of the alleged occurrence. 7 N.Y.C .R.R.                appealed eighteen grievances to the CORC, ten of which were
§ 701.5(a)(1). If a grievance complaint form is not readily             filed in 2011 and 2012, while plaintiff was incarcerated at
available, a complaint may be submitted on plain paper. Id.             Coxsackie. Dkt. No. 41–12 at 2; Dkt. No. 41–13 at 1–2.
A representative of the facility's IGRC has up to sixteen days          According to Hale, five of the ten grievances are relevant to
after the grievance is filed to informally resolve the issue. Id.       the claims asserted by plaintiff. See generally Dkt. No. 41–12.
at § 701.5(b)(1). If there is no such informal resolution, then         Although I will analyze those grievances individually below,
the full IGRC conducts a hearing within sixteen days after              in general, none of them contain allegations of discrimination
receipt of the grievance. Id. at § 701.5(b)(2).                         based on his sexual orientation, and thus did not squarely
                                                                        place prison officials on notice of his equal protection claims.
A grievant may then appeal the IGRC's decision to the
facility's superintendent within seven days after receipt of the
IGRC's written decision. Id. at § 701.5(c). The superintendent             1. Denial of Meals
must issue a written decision within a certain number of days            *13 Plaintiff claims that defendant Haigh denied him meals
                                                                        on November 22, 2011, November 26, 2011, and December
after receipt of the grievant's appeal. 9 Id. at § 701.5(c)(i), (ii).
                                                                        17, 2011. Dkt. No. 7 at 2; Dkt. No. 41–20 at 13–14.
                                                                        The record reflects that on December 27, 2011, plaintiff
9       Depending on the type of matter complained of by                filed Grievance No. CX–16919–11 concerning the denial of
        the grievant, the superintendent has either seven or            meals on those dates, and that the grievance was denied
        twenty days after receipt of the grievant's appeal to           at all levels, including before the CORC. Dkt. No. 41–
        issue a decision. Id. at § 701.5(c) (i), (ii).                  15. Plaintiff's grievance, however, only alleged that he was
The third and final step of the IGP involves an appeal to               denied meals by defendant Haigh on November 22, 2011,
the DOCCS CORC”, which must be taken within seven days                  November 26, 2011, and December 17, 2011. 10 Id. at 5.
after receipt of the superintendent's written decision. Id. at          Plaintiff did not allege that he was denied meals based
§ 701.5(d)(1) (i). The CORC is required to render a written             on his sexual orientation or discriminatory animus. 11 Id.
decision within thirty days of receipt of the appeal. Id. at §          During the investigation of plaintiff's grievance, he was
701.5(d)(2)(i).                                                         interviewed by Captain Murphy, who stated that plaintiff “had
                                                                        nothing to add” to his grievance during the interview. Id.



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 115 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

at 8. Moreover, the decisions issued by the superintendent        reveals that on January 12, 2012, plaintiff filed Grievance No.
and CORC denying plaintiff's grievance do not indicate            CX–16936–12 complaining of receiving threats and being
any finding of discrimination or mention plaintiff's sexual       deprived of showers and access to the law library. Dkt.
orientation. Id. at 1, 6. Accordingly, there is no basis to       No. 41–16. A careful review of the documents associated
conclude that plaintiff's grievance alleging denial of meals by   with that grievance, which was denied at all levels up
defendant Haigh on November 22, 2011, November 26, 2011,          through the CORC, however, fails to reflect any allegation of
and December 17, 2011, placed defendants on notice of an          shower denials in October 2011, or any mention of defendant
equal protection claim or discrimination allegation. 12           Saltsman being involved in the deprivations. Id. Moreover,
                                                                  it does not appear that defendant Saltsman was interviewed
10                                                                during the course of the investigation of that grievance. Id.
       Although plaintiff did not specifically identify
                                                                  In addition, even assuming defendant Saltsman was involved
       defendant Haigh as the corrections officer who
                                                                  in the alleged deprivations, the grievance does not allege
       denied him meals on the relevant dates, defendant
                                                                  discrimination or mention plaintiff's sexual orientation. Id.
       Haigh submitted a memorandum to Sergeant
                                                                  at 4. Similarly, during the investigation of the grievance,
       Marshall during the investigation of Grievance No.
                                                                  plaintiff was interviewed by Sergeant Marshall, who reported
       CX–16919–11 denying plaintiff's allegations. Dkt.
                                                                  that plaintiff “provided no witnesses or evidence to support
       No. 9.
                                                                  his grievance[, and plaintiff] had nothing to add.” Id. at 7.
11                                                                Accordingly, there is nothing in the record to suggest that,
       During his deposition in connection with this
       action, plaintiff admitted that his grievance against      even assuming Grievance No. CX–16936–12 was intended
       defendant Haigh for the denial of meals did not            to implicate defendant Saltsman, plaintiff intended to allege
       include an allegation of discrimination. Dkt. No.          that Saltsman's conduct was motivated by discriminatory
       41–20 at 31.                                               animus towards his sexual orientation. As a result, plaintiff's
                                                                  grievance concerning the denial of showers did not place
12     On June 28, 2012, plaintiff also filed Grievance           defendants on notice of his equal protection claim. 14
       No. CX–17210–12, alleging the denial of meals
       on March 26, 2012, March 30, 2012, and June 13,            13     At his deposition in connection with this case,
       2012. Dkt. No. 5. These incidents are not raised
                                                                         plaintiff testified that he believed defendant
       in plaintiff's amended complaint. See generally
                                                                         Saltsman denied him three showers “between
       Dkt. No. 7. In any event, like plaintiff's grievance
                                                                         October and November,” but was unable to
       against defendant Haigh for the alleged denial
                                                                         definitively testify to the specific dates. Dkt. No.
       of meals in November and December 2011,
                                                                         41–20 at 37–38.
       Grievance No. CX–17210–12, filed in June 2012,
       fails to allege discriminatory intent or motive by         14     At his deposition, plaintiff testified that, in addition
       the corrections officers allegedly responsible for                to denying him meals, defendant Haigh denied
       denying plaintiff his meals. Dkt. No. 41–14 at 5.                 him showers on November 22, 2011, November
       The investigation, including an interview of the                  26, 2011, and December 17, 2011. Dkt. No. 41–
       plaintiff by Sergeant Anderson and memoranda                      20 at 13–14, 16. There is no record evidence
       drafted by the corrections officers implicated in the             reflecting that plaintiff filed a grievance through
       grievance, do not reveal that plaintiff intended to               the IGP regarding the denial of a shower on those
       allege discrimination or that his sexual orientation              dates. According to Hale, the only grievance filed
       was a basis for the denial. Id. at 911. Accordingly,              by plaintiff and reviewed up through the CORC
       plaintiff's grievance filed in June 2012 also fails to            regarding the denial of showers during the relevant
       place defendants on notice of an equal protection                 period while he was incarcerated at Coxsackie is
       claim or an allegation otherwise of discrimination.               Grievance No. CX–16936–12, discussed above.
                                                                         Dkt. No. 41–13 at 1–2. For that reason, to the extent
  2. Denial of Showers                                                   plaintiff asserts an equal protection claim against
Plaintiff alleges that defendant Saltsman denied him access to           defendant Haigh based on an allegation that he
showers on three occasions in October 2011, due to plaintiff's           was denied showers due to his sexual orientation,
status as a homosexual. 13 Dkt. No. 7 at 2. The record


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 116 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

       I recommend it be dismissed for failure to exhaust          plaintiff filed grievances complaining of being deprived
       the available administrative remedies.                      those specific rights and privileges, none of the relevant
                                                                   grievances included an allegation of discrimination, and the
   3. Denial of Commissary Sheets                                  investigations undertaken in connection with the grievances
 *14 In his complaint, plaintiff also alleges that defendant       did not reveal either discriminatory animus by the accused
Bushane refused to provide him with commissary sheets on           individuals or plaintiff's belief that the individuals' conduct
June 18, 2012 and July 17, 2012, and in doing so made              was motivated by his sexual orientation. As such, the
a derogatory reference to his sexual orientation. Dkt. No.         grievances failed to place defendants on notice of plaintiff's
7 at 3; see also Dkt. No. 41–20 at 42. Plaintiff filed two         equal protection claim. Accordingly, I find that plaintiff
separate grievances concerning commissary denials while            failed to exhaust all available administrative remedies prior
at Coxsackie. The first, Grievance No. CX–17192–12, was            to filing suit. See Young v. Goord, No. 01–CV–0626, 2002
filed on June 21, 2012, and alleges that the “Commissary           WL 31102670, at *4 (E.D.N.Y. Sept. 3, 2002), aff'd in
Steward Mr. G. Melenez” refused to permit plaintiff to shop        relevant part by Young v. Goord, 67 F. App'x 638 (2d
at the prison commissary. Dkt. No. 41–17 at 6. The second,         Cir.2003), (dismissing the plaintiff's equal protection claim
Grievance No. CX–17248–12, was filed on July 19, 2012,             based on exhaustion grounds because “[a]t no point during
and alleges that defendant Bushane failed to provide him           the administrative proceedings did [he] raise, in words of
with a commissary buy-sheet on July 17, 2012. Dkt. No.             substance, an equal protection claim based on the differential
41–18 5. Neither of those grievances, however, contained           treatment of other Rastafarians”).
allegations of discrimination against plaintiff based on his
sexual orientation. Dkt. No. 41–17 at 6; Dkt. No. 41–18             *15 The failure to exhaust, however, does not warrant
5. In addition, the investigations of plaintiff's grievances       dismissal of plaintiff's amended complaint without further
regarding the denial of commissary privileges do not reveal        inquiry. In a series of decisions rendered since enactment
that Commissary Steward Melenez or defendant Bushane               of the PLRA, the Second Circuit has prescribed a three-part
deprived plaintiff of commissary access or a commissary            test for determining whether dismissal of an inmate plaintiff's
buy-sheet based on his sexual orientation. See generally Dkt.      complaint is warranted for failure to satisfy the PLRA's
Nos. 41–17, 41–18. Commissary Supervisor Melenez stated,           exhaustion requirement. See, e.g., Hemphill v. New York, 380
in connection with the investigation of grievance No. CX–          F.3d 680, 686 (2d Cir.2004); see also Macias, 495 F.3d at 41.
17192–12, that plaintiff “turned in the wrong commissary           Those decisions instruct that, before dismissing an action as
sheet dated 4/6/12 and dropped it the day after his buy day,       a result of a plaintiff's failure to exhaust, a court must first
6/18/12.” Dkt. No. 41–17 at 10. In connection with Grievance       determine whether the administrative remedies were available
No. CX–17248–12, Commissary Supervisor Melenez stated              to the plaintiff at the relevant times. Macias, 495 F.3d at
that plaintiff's commissary buy-sheet was sent to him and the      41; Hemphill, 380 F.3d at 686. In the event of a finding
corrections officer responsible for passing them out “said all     that a remedy existed and was available, the court must next
sheet[s] were passed out.” Dkt. No. 41–18 at 12 (emphasis          examine whether the defendant has forfeited the affirmative
in original). None of the decisions issued by the IGRC,            defense of non-exhaustion by failing to properly raise or
facility superintendent, or CORC, all of which denied both         preserve it, or whether, through his own actions preventing the
of plaintiff's grievances regarding commissary access, reflect     exhaustion of plaintiff's remedies, he should be estopped from
any finding of discrimination or motivation by the accused         asserting failure to exhaust as a defense. Id. In the event the
individuals of discriminatory animus. Accordingly, I find          exhaustion defense survives these first two levels of scrutiny,
that plaintiff failed to exhaust the available administrative      the court must examine whether the plaintiff has plausibly
remedies regarding the denial of commissary access based on        alleged special circumstances to justify his failure to comply
his sexual orientation.                                            with the applicable administrative procedure requirements.
                                                                   Id.
In summary, the record reflects that plaintiff failed to exhaust
available administrative remedies before commencing this           In this case, although plaintiff contends, in his opposition to
action. The sole remaining cause of action is an equal             defendants' motion, that plaintiff-inmates are not required to
protection claim based on allegations that the defendants          “ ‘specially plead or demonstrate exhaustion in [their] civil
discriminated against him by denying him meals, showers,           rights complaint,’ “ courts in this circuit have found that,
and commissary due to his sexual orientation. Although             once a defendant satisfies the burden of demonstrating that



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 117 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

an inmate has failed to exhaust administrative remedies, it      either dismiss the action without prejudice or direct that
then becomes incumbent upon the plaintiff to counter with a      service be effected within a specified time .” Panaras, 94 F.3d
showing of unavailability, estoppel, or special circumstances.   at 340 (citing Fed.R.Civ.P. 4(m)); see also Zapata v. City of
See, e.g., Murray v. Palmer, No. 03–CV–1010, 2010 WL             New York, 502 F.3d 192, 196 (2d Cir.2007) (“We hold that
1235591, at *4 & n. 17 (N.D.N.Y. Mar. 31, 2010) (Suddaby,        district courts have discretion to grant extensions even in the
J.); see also Calloway v. Grimshaw, No. 09–CV–1354,              absence of good cause.”); Romandette v. Weetabix Co., Inc.,
2011 WL 4345299, at *5 & n. 5 (N.D.N.Y.Aug.10, 2011)             807 F.2d 309, 311 (2d Cir.1986). When examining whether
(Lowe, M.J.) (citing cases), report and recommendation           to extend the prescribed period for service, a district court is
adopted by 2011 WL 4345296 (N.D.N.Y. Sept. 15, 2011)             afforded ample discretion to weigh the “overlapping equitable
(McAvoy, J.); Cohn v. KeySpan Corp., 713 F.Supp.2d               considerations” involved in determining whether good cause
143, 155 (E.D.N.Y.2010) (finding that, in the employment         exists and whether an extension may be granted in the absence
discrimination context, the defendants bear the burden of        of good cause. Zapata, 502 F.3d at 197.
establishing the affirmative defense of failure to timely
exhaust his administrative remedies, but once defendants         15     Rule 4(m) provides that,
have done so, the plaintiff must plead and prove facts                     [i]f a defendant is not served within 120 days
supporting equitable avoidance of the defense.). In this                   after the complaint is filed, the court—on motion
instance, plaintiff has not presented, nor has the court                   or on its own after notice to the plaintiff—must
discerned, any basis to conclude that the IGP was not                      dismiss the action without prejudice against that
available to him, defendants should be estopped from                       defendant or order that service be made within
asserting failure to exhaust, or that special circumstances                a specified time. But if the plaintiff shows good
exist to justify plaintiff's failure to exhaust. Accordingly,              cause for the failure, the court must extend the
I recommend that defendants' motion be granted and                         time for service for an appropriate period.
plaintiff's remaining claims asserted against defendants                Fed.R.Civ.P. 4(m). This court's local rules shorten
Haigh, Saltsman, and Bushane be dismissed for failure to                the time for service from the 120 day period under
exhaust available administrative remedies.                              Rule 4(m) to sixty days. N.D.N.Y. L.R. 4.1(b).
                                                                 Plaintiff's pro se status entitles him to a certain degree of
   D. Plaintiff's Claims Against Defendant Walsh                 leniency insofar as service of process is concerned, and courts
 *16 On October 11, 2013, following the court's initial          generally favor resolution of a case on its merits rather than
review of plaintiff's amended complaint, summonses were          on the basis of a procedural technicality. Poulakis v. Amtrak,
issued for the four remaining defendants, including defendant    139 F.R.D. 107, 109 (N.D.Ill.1991). When a plaintiff proceeds
Walsh. Dkt. No. 10. The summons for defendant Walsh was          in forma pauperis, as is the case in this instance, the court
subsequently returned unexecuted a short time later with         is obligated to issue the plaintiff's process to the United
a handwritten notation that states, “[C]an not identify[.]”      States Marshal, who must, in turn, effect service upon the
Dkt. No. 12. Since then, plaintiff has taken no steps to         defendants, thereby relieving the plaintiff of the burden to
identify defendant Walsh more particularly and/or arrange for    serve once reasonable steps have been taken to identify the
service of the summons and complaint upon him. Although          defendants named in the complaint. Fed.R.Civ.P. 4(c)(3); 28
defendants' motion does not explicitly request this relief,      U.S.C. § 1915(d); see also Byrd v. Stone, 94 F.3d 217, 219 (6th
I recommend that the court sua sponte examine whether            Cir.1996) ( “[Section] 1915( [d] ) provides that the officers of
plaintiff should be permitted to proceed against this unserved   the court ‘shall issue and serve all process' when a plaintiff
defendant.                                                       is proceeding in forma pauperis.”). Of course, this does not
                                                                 mean that a pro se plaintiff may stand idle upon being notified
Rule 4(m) of the Federal Rules of Civil Procedure requires       that efforts by the U.S. Marshals Service to serve a particular
that service of a summons be effectuated within 120 days of      defendant have been unsuccessful. VanDiver v. Martin, 304
its issuance, absent a court order extending that period. 15     F.Supp.2d 934, 938–43 (E.D.Mich.2004). A plaintiff who
Fed.R.Civ.P. 4(m). Upon a showing of good cause, this time       does so acts at his peril, and risks dismissal of his claims
for service must be extended. See Panaras v. Liquid Carbonic     against an unserved defendant. As the Second Circuit has
Indus. Corp., 94 F.3d 338, 340 (7th Cir.1996). “If, however,     observed,
good cause does not exist, the court may, in its discretion,



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 118 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612

                                                                     he was denied meals, showers, and commissary access,
                                                                     those grievances did not allege he was denied those rights
              *17 [i]f a plaintiff proceeding IFP                    and privileges based on his sexual orientation or any
             chooses to rely on the Marshals to                      discriminatory animus. When asked during the investigation
             serve the relevant parties, and it                      of the grievances whether he had anything to add, plaintiff
             becomes apparent that the Marshals                      declined to offer any additional information, including
             will not accomplish by the Rule 4(m)                    any allegations of discrimination. Accordingly, I find that
             or court-ordered deadline, she must                     plaintiff's grievances, which did not allege discrimination or
             advise the district court that she is                   a violation of equal protection, are not sufficient to satisfy
             relying on the Marshals to effect                       his requirement under the PLRA. Because the record is also
             service and request a further extension                 devoid of any evidence to suggest that plaintiff should be
             of time for them to do so.                              excused from the exhaustion requirement, dismissal of the
                                                                     remaining claims is appropriate. 17

Meilleur v. Strong, 682 F.3d 56, 63 (2d Cir.2012).                   17     In light of my recommendation that defendants'
Accordingly, a district court must look at the facts and                    motion be granted based on plaintiff's failure
circumstances surrounding each case to determine whether                    to exhaust administrative remedies, I have
good cause exists. Meilleur, 682 F.3d at 63.                                not considered their alternative arguments for
                                                                            dismissal.
In this case, defendant Walsh was not served and did not
                                                                     Based upon the foregoing, it is hereby respectfully
appear in the action within the appropriate time period. Based
upon a review of the record, I do not find good cause exists to
                                                                     RECOMMENDED that defendants' motion for summary
justify plaintiff's failure to effectuate timely service upon that
                                                                     judgment (Dkt. No. 41 ) be GRANTED and that all claims
defendant, and find no basis to exercise my discretion in favor
                                                                     against Haigh, Saltsman, and Bushane be DISMISSED; and
of extending the governing period of service. Accordingly,
                                                                     it is further
because this court has never acquired jurisdiction over him,
I recommend that plaintiff's claims be dismissed as against
                                                                     RECOMMENDED that the court dismiss all claims against
defendant Walsh, without prejudice. See Miss. Publ'g Corp.
                                                                     defendant Walsh, without prejudice, based upon the fact that
v. Murphree, 326 U.S. 438, 444–45 (1946) (“[S]ervice of
                                                                     he has not yet been served in the action; and it is further
summons is the procedure by which a court having venue
and jurisdiction of the subject matter of the suit asserts
                                                                     RECOMMENDED that, to the extent plaintiff's amended
jurisdiction over the person of the party served.”); accord,
                                                                     complaint is construed as asserting an Eighth Amendment
Osrecovery, Inc. v. One Group Int'l, Inc., 234 F.R.D. 59, 60
                                                                     cause of action, the claim be dismissed; and it is further
(S.D.N.Y.2005). 16
                                                                     *18 RECOMMENDED that plaintiff's cross motion (Dkt.
16                                                                   No. 43 ) be DENIED.
        The only allegation in plaintiff's amended
        complaint against defendant Walsh relates to the
        denial of showers on two occasions for a two month           NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
        period of October and November 2011. Dkt. No. 7              may lodge written objections to the foregoing report. Such
        at 2. It appears likely that this claim is unexhausted       objections must be filed with the clerk of the court within
        for the reasons cited above with respect to the              FOURTEEN days of service of this report. FAILURE
        claims against the remaining three defendants.               TO SO OBJECT TO THIS REPORT WILL PRECLUDE
                                                                     APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
IV. SUMMARY AND RECOMMENDATION                                       6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85 (2d Cir.1993).
Defendants have raised the question of whether plaintiff
exhausted all available administrative remedies before               It is hereby ORDERED that the clerk of the court serve a
commencing this action. Having reviewed the record, I                copy of this report and recommendation upon the parties in
conclude that, while plaintiff filed grievances alleging that        accordance with this court's local rules.



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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 119 of 221
McGee v. Haigh, Not Reported in F.Supp.3d (2015)
2015 WL 1456612


                                                        All Citations
Filed March 3, 2015.                                    Not Reported in F.Supp.3d, 2015 WL 1456612

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          Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 120 of 221
Young v. Goord, Not Reported in F.Supp.2d (2002)
2002 WL 31102670

                                                                                 furtherance of valid penological goals of inmate
                                                                                 identification and security, without violating
     KeyCite Red Flag - Severe Negative Treatment                                First Amendment rights of Rastafarian inmate
Judgment Affirmed in Part, Vacated in Part by Young v. Goord, 2nd Cir.
                                                                                 claiming that exercise of his religion required
(N.Y.), May 29, 2003
                                                                                 that he not cut his hair. U.S.C.A. Const.Amend.
                     2002 WL 31102670                                            1.
        Only the Westlaw citation is currently available.
         United States District Court, E.D. New York.
                                                                          [2]    Civil Rights      Criminal Law Enforcement;
                Amador YOUNG, Plaintiff,                                         Prisons
                             v.                                                  Failure to exhaust prison remedies, as required
     Glenn GOORD, Commissioner of the New York                                   by Prison Litigation Reform Act (PLRA),
    State Department of Correctional Services, Anthony                           precluded claim by Rastafarian that he was
    Annucci, Counsel and Deputy Commissioner of the                              denied equal protection when findings of guilty
   New York State Department of Correctional Services,                           as to charges that co-religionists refused to trim
  Captain Arthur Dirie, Corrections Captain at Arthur Kill                       their beards were reversed on appeal, while
  Correctional Facility, Dennis Breslin, Superintendent at                       guilty finding remained as to him. U.S.C.A.
                                                                                 Const.Amend. 14; .
   the Arthur Kill Correctional Facility, Sgt. Ron Ochal,
       Corrections Sergeant at the Arthur Kill Correctional                      2 Cases that cite this headnote
        Facility, and Daniel Crum, Corrections Officer at
        the Arthur Kill Correctional Facility, Defendants.

                        No. 01-CV-0626JG.
                                                                         Attorneys and Law Firms
                                 |
                          Sept. 3, 2002.                                 Amador Young, Arthur Kill Correctional Facility, Staten
                                                                         Island, Plaintiff Pro Se.
Synopsis
Inmate who was adherent of Rastafarian religion sued state               Eliot Spitzer, Attorney General of the State of New York, New
prison and individuals, alleging violation of his First and              York, By Leonard A. Cohen, Assistant Attorney General, for
Fourteen Amendment rights arising from his refusal to shave              Defendants.
his beard. Defendants moved to dismiss. The District Court,
Gleeson, J., held that: (1) hair length regulation did not
violate inmate's First Amendment rights to exercise religion,                         MEMORANDUM AND ORDER
and (2) failure to exercise administrative remedies precluded
claim that he was treated differently from other Rastafarians,           GLEESON, District J.
in violation of his Fourteenth Amendment equal protection
rights.                                                                   *1 Plaintiff Amador Young, proceeding pro se, commenced
                                                                         this action pursuant to 42 U.S.C. § 1983, alleging that
Motion to dismiss granted.                                               defendants deprived him of his federal constitutional rights
                                                                         when they enforced the policy of the Department of
                                                                         Correctional Services (“DOCS”) that limited inmates' beards
                                                                         to one inch in length. Defendants have moved to dismiss
 West Headnotes (2)                                                      the complaint pursuant to Federal Rules of Civil Procedure
                                                                         12(b)(6). For the reasons stated below, the motion is granted
 [1]       Constitutional Law          Hair and Grooming                 because (a) the alleged violation of the First Amendment's
                                                                         Free Exercise Clause is dismissed as meritless; and (b) the
           Prisons      Hair, Grooming, and Clothing
                                                                         alleged violation of the Equal Protection Clause is dismissed
           Prison could insist that Rastafarian inmate's                 for failure to exhaust administrative remedies.
           beard not exceed one inch in length, in



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 121 of 221
Young v. Goord, Not Reported in F.Supp.2d (2002)
2002 WL 31102670

                                                                    both charges against him. Lieutenant Frett's written decision,
                                                                    which relies exclusively on plaintiff's misunderstanding of the
                       BACKGROUND
                                                                    applicable policy, is appended to the complaint. 1
The following factual background is drawn from the
complaint.                                                          1      I commend Young for attaching much of the
                                                                           relevant documentation to his complaint.
Prior to the events in question, the DOCS maintained a
policy on inmate grooming standards, set forth in Directive          *2 On September 1, 2000, the same day he was found not
No. 4914, that prohibited an inmate from growing a beard            guilty of the first charge, plaintiff was once again directed
longer than one inch. In 1993. Congress passed the Religious        to trim his beard by Officer Crum, who issued a second
Freedom Restoration Act (“RFRA”), which provided that               misbehavior report when plaintiff again refused. After a
governments many not substantially burden religious exercise        hearing held on September 6, 2000, plaintiff was found guilty
without compelling justification. See 42 U.S.C. § 2000bb-1.         of the charges. His punishment included the loss of several
In response, on January 14, 1997, DOCS issued a revised             privileges for one week, confinement to his cube, and a
Directive No. 4914 which allowed inmates whose religious            reprimand.
beliefs required it to grow beards longer than one inch after
obtaining an exemption from DOCS's Counsel's Office.                On September 21, 2000, plaintiff was again ordered to trim
                                                                    his beard, and again he refused to do so, resulting in a third
On December 12, 1997, defendant Anthony Annucci, DOCS               misbehavior report. On September 27, 2000, Captain Dirie
General Counsel, informed all prison superintendents that           found plaintiff guilty of failure to trim his beard and failure
RFRA had been declared unconstitutional, see City of Boerne         to obey a direct order. As punishment, plaintiff was confined
v. Flores, 521 U.S. 507, 536, 117 S.Ct. 2157, 138 L.Ed.2d           to the Special Housing Unit for a period of six months, loss
624 (1997), and that DOCS would therefore eliminate the             of his package, commissary and telephone privileges for six
religious exemption from the grooming standards policy.             months, and a loss of three months of good time credits.
Existing beard length exemptions were to expire on January          Plaintiff appealed this decision to the Commissioner of the
31, 1998, and a revised Directive No. 4914 was issued on            DOCS, who rejected his appeal on November 28, 2000.
February 1, 1998.

Plaintiff, an inmate at the Arthur Kill Correctional Facility, is                           DISCUSSION
“an ordained and baptized (‘koen’) and (‘Bahtawi’) of the Ba
Beta Kristiyan Haile Selassie I Church,” which is commonly          A. The Standard for Dismissal Under Rule 12(b)(6)
referred to as the Rastafarian Church, Complaint, ¶ 9. As a         Under Rule 12(b)(6), a court must not dismiss a complaint
Rastafarian, he is required to keep his hair and beard uncut, in    unless “it appears beyond doubt that the plaintiff can prove
accordance with the prescribed tenets of his faith. Defendants      no set of facts in support of his claim which would entitle
were aware of plaintiff's religious affiliation and his religious   him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46, 78
vow not to cut his hair and beard. From January 14, 1997,           S.Ct. 99, 2 L.Ed.2d 80 (1957); see also Hamilton Chapter
through January 31, 1998, plaintiff's practice of not cutting       of Alpha Delta Phi, Inc. v. Hamilton College, 128 F.3d 59,
his beard was permitted as a religious exemption to the one-        62-63 (2d Cir.1997). In applying this standard, a district court
inch limit on beard length in Directive No. 4914.                   must accept the allegations in the complaint as true and must
                                                                    review them in the light most favorable to the plaintiff. See
On August 28, 2000, acting pursuant to the February 1,              H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 249,
2000 revision of Directive No. 4914, Corrections Officer            109 S.Ct. 2893, 106 L.Ed.2d 195 (1989). The court may
Crum ordered plaintiff to trim his beard. Plaintiff refused,        consider “documents attached to the complaint as an exhibit
and Officer Crum issued him a misbehavior report, charging          or incorporated in it by reference,” “matters of which judicial
him with refusing to trim his beard and failure to follow an        notice may be taken,” or “documents either in [plaintiff's]
order. Plaintiff filed a grievance, and a disciplinary hearing      possession or of which plaintiff[ ] had knowledge and relied
was held on September 1, 2000, at which plaintiff claimed that      on in bringing this suit.” Brass v. American Film Techs.,
he had been unaware of the revision to the grooming policy.         Inc., 987 F.2d 142, 150 (2d Cir.1993) (citing Cortec Indus.,
Lieutenant Frett found plaintiff not guilty and dismissed           Inc. v. Sum Holding L.P., 949 F.2d 42, 47-48 (2d Cir.1991),



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 122 of 221
Young v. Goord, Not Reported in F.Supp.2d (2002)
2002 WL 31102670

cert. denied, 503 U.S. 960, 112 S.Ct. 1561, 118 L.Ed.2d 208         [1] It is well-established that inmates “retain protections
(1992)). In addition, the Supreme Court has instructed that        afforded by the First Amendment, including its directive
where the plaintiff is proceeding pro se, as in the instant        that no law shall prohibit the free exercise of religion.”
case, the district court must liberally construe the complaint's   O'Lone v. Estate of Shabazz, 482 U.S. 342, 348, 107 S.Ct.
allegations. See Haines v. Kerner, 404 U.S. 519, 520, 92 S.Ct.     2400, 96 L.Ed.2d 282 (1987) (citations omitted). An inmate's
594, 30 L.Ed.2d 652 (1972).                                        right to free exercise of religion is, however, limited. The
                                                                   limitations “arise both from the fact of incarceration and
                                                                   from valid penological objectives-including deterrence of
B. Section 1983                                                    crime, rehabilitation of prisoners, and institutional security.”
Section 1983 of Title 42 of the United States Code states, in      Id. Accordingly, the Supreme Court has fashioned “a lesser
relevant part:                                                     standard of scrutiny ... in determining the constitutionality of
                                                                   the prison rules.” Turner v. Safley, 482 U.S. 78, 81, 107 S.Ct.
                                                                   2254, 96 L.Ed.2d 64 (1987).
             Every person who, under color of
             any statute, ordinance, regulation,                   In Turner, the Supreme Court established the standard
             custom, or usage, of any State or                     that applies here: “when a prison regulation impinges on
             Territory or the District of Columbia,                inmates' constitutional rights, the regulation is valid if it
             subjects, or causes to be subjected,                  is reasonably related to legitimate penological interests.”
             any citizen of the United States or                   Id. at 89. The Court listed several factors to consider
             other person within the jurisdiction                  in determining the reasonableness of such a regulation,
             thereof to the deprivation of any rights,             including (1) whether there is a rational relationship between
             privileges, or immunities secured by                  the regulation and the legitimate governmental interests
             the Constitution and laws, shall be                   asserted; (2) whether the inmates have alternative means
             liable to the party injured in an action              of exercising the constitutional right; (3) the impact that
             at law ...                                            accommodation of the right will have on the prison system;
                                                                   and (4) whether ready alternatives exist that accommodate the
                                                                   right and satisfy the government interest. Id. at 89-91.
To state a claim for relief, a plaintiff in a § 1983 action
must establish two elements: (1) that he has been deprived         The Second Circuit has already held that the prison regulation
of federally protected rights; and (2) that a person acted         at issue here, which forbids inmates from wearing beards in
under color of state law so as to deprive plaintiff of his         excess of one inch, is rationally related to the achievement
rights. See American Mfrs. Mutual Ins. Co. v. Sullivan, 526        of the valid penological goals of inmate identification and
U.S. 40, 49-50, 119 S.Ct. 977, 143 L.Ed.2d 130 (1999);             security. In Fromer v. Scully, 874 F.2d 69 (2d Cir.1989), it
see also Pitchell v. Callan, 13 F.3d 545, 547 (2d Cir.1994).       considered a First Amendment challenge to Directive No.
Section 1983 itself, however, “creates no substantive rights;      4914 by an Orthodox Jewish inmate. Id. at 70-71. Applying
it provides only a procedure for redress for the deprivation       the four-part test announced in Turner, the court found that
of rights established elsewhere.” Sykes v. James, 13 F.3d 515,     (1) the regulation had a “valid, rational connection” to those
519 (2d Cir.1993), cert. denied, 512 U.S. 1240, 114 S.Ct.          interests, id. at 74-75; (2) alternative means existed for
2749, 129 L.Ed.2d 867 (1994).                                      Fromer to exercise his constitutional right, as he remained
                                                                   “ ‘freely [able to] observe a number of [his] religious
 *3 In the instant case, plaintiff claims that (1) defendants      obligations,” ’ such as dietary restrictions; id. at 75 (quoting
impermissibly restricted his right to keep his beard uncut, in     O'Lone, 482 U.S. at 352); (3) allowing a religious exemption
violation of the First Amendment; and (2) defendants violated      for Orthodox Jews would incur significant additional expense
his rights to equal protection because other Rastafarian           and potential for confrontation, id. at 76; and (4) the plaintiff
inmates, who were similarly disciplined for refusing to trim       had failed to show the existence of an “obvious, easy”
their beards, had their administrative infractions reversed.       alternative that would “ ‘fully accommodate the prisoner's
                                                                   rights at de minimis cost to valid penological interests ...,”
                                                                   ’ agreeing with the prison officials that re-photographing
1. The Free Exercise Claim                                         inmates whenever their appearance significantly changed,



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 123 of 221
Young v. Goord, Not Reported in F.Supp.2d (2002)
2002 WL 31102670

for example, did not satisfy these requirements. Id. (quoting     complaint that the discriminatory treatment was motivated by
                            2
Turner, 482 U.S. at 92). Thus, the court rejected the             a desire to retaliate against him because he was a leader, akin
First Amendment challenge, and every other circuit to have        to a priest, with respect to other Rastafarians in the facility.
considered the constitutionality of a restrictive policy on
beards has come to the same conclusion. See, e.g., Green          The problem with plaintiff's equal protection claim is that he
v. Polunsky, 229 F.3d 486, 489-91 (5th Cir.2000); Hines           failed to raise it when he filed his administrative challenge to
v. South Carolina Dep't of Corrections, 148 F.3d 353, 358         the disciplinary action against him. The relevant documents,
(4th Cir.1998); Harris v. Chapman, 97 F.3d 499, 504 (11th         which plaintiff has appended to the complaint, reveal that
Cir.1996).                                                        the only basis for his challenge to the disciplinary action
                                                                  taken against him was his belief that he had been exempted
2                                                                 from Directive 4914 on religious grounds, and thus had been
       In Benjamin v. Coughlin, 905 F.2d 571 (2nd
                                                                  penalized “for an offense I had no probable expectation to
       Cir.1990), decided after Fromer, the Second Circuit
                                                                  believe affected me.” Specific Grounds for Appeal, dated
       held that a DOCS regulation requiring an initial
                                                                  September 9, 2000 (attached to Complaint). At no point
       short haircut for purposes of an identification
                                                                  during the administrative proceedings did plaintiff raise, in
       photograph was an impermissible infringement on
                                                                  words or substance, an equal protection claim based on the
       the Free Exercise rights of Rastafarian prisoners.
                                                                  differential treatment of other Rastafarians.
       Id., 905 F.2d at 575. In considering the fourth factor
       of the Turner test, the court in Benjamin found
                                                                  This defect is fatal to the equal protection claim here. Under
       that pulling back the prisoner's hair into a ponytail
                                                                  the Prison Litigation Reform Act of 1995, exhaustion is now
       was a practical, available alternative that would
                                                                  required for all prison claims. See 42 U.S.C. 31997e(a); see
       sufficiently reveal the prisoner's facial features. Id.
                                                                  also Porter v. Nussle, 534 U.S. 516, 122 S.Ct. 983, 152
       at 576. As The court in Benjamin distinguished
                                                                  L.Ed.2d 12 (2002). The exhaustion requirement was designed
       Fromer, noting that no such alternative measure
                                                                  to “reduce the quantity and improve the quality of prisoner
       exists for beards. See id. at 577.
                                                                  suits” by requiring that the prisoners' claims be addressed
 *4 Fromer controls this case. Plaintiff's claim that the         by prison officials before a federal case is brought. See
enforcement of the beard-length policy violated his right to      Porter, 122 S.Ct. at 988. The prison procedures may provide
the free exercise of his religion cannot stand. 3                 redress for the inmate. Alternatively, they may filter out some
                                                                  frivolous claims. See id. Here, for example, an administrative
3                                                                 proceeding may have shed light on why the other Rastafarian
       Plaintiff argues that Fromer must be distinguished
                                                                  inmates had their disciplinary sanctions reversed. Perhaps
       from the instant case because, unlike the plaintiff
                                                                  the reversals were because those inmates believed they were
       in Fromer, he “enjoyed an exemption” under
                                                                  exempt from the beard-length regulations; indeed, that was
       Directive No. 4914. (Plaintiff's Memorandum in
                                                                  the reason for the exoneration of plaintiff himself the first time
       Opposition at 6; Plaintiff's Reply ¶ 1.) Although in
                                                                  he was charged.
       the past plaintiff indeed qualified for and received
       a religious exemption to the beard policy, at the
                                                                  Whatever the reason for those other actions, the prison
       time of the events in question, the exemption had
                                                                  authorities may not be required to answer a constitutional
       expired and Directive No. 4914 had been revised
                                                                  claim in this case that was not raised administratively.
       to delete the religious exemption. Therefore, the
                                                                  Accordingly, that aspect of plaintiff's complaint is dismissed
       exemption that plaintiff relies upon was no longer
                                                                  pursuant to 42 U.S.C. § 1997e(a).
       in force.

   2. The Equal Protection Claim
 [2] Plaintiff asserts that he was denied equal protection                                CONCLUSION
under the law in violation of the Fourteenth Amendment
                                                                  To the extent plaintiff's § 1983 claim is based on an alleged
because two other Rastafarian inmates, who had also been
                                                                  denial of his First Amendment rights, it is dismissed as
disciplined for refusing to trim their beards around the same
                                                                  meritless. To the extent it is based on an alleged denial
time the defendant was disciplined, had their findings of guilt
reversed on appeal within the prison. Plaintiff asserts in his


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 124 of 221
Young v. Goord, Not Reported in F.Supp.2d (2002)
2002 WL 31102670

                                                                   So Ordered.
of equal protection, it is dismissed for failure to exhaust
administrative remedies.
                                                                   All Citations
*5 The Clerk is instructed that this order closes this case.
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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 125 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

                                                                 in their favor. For the reasons set forth below, I recommend
                    2019 WL 1387460                              that plaintiff's cross motion be denied, defendants' motion be
      Only the Westlaw citation is currently available.          granted, and plaintiff's second amended complaint (“SAC”)
       United States District Court, N.D. New York.              be dismissed in its entirety.

                Arrello BARNES, Plaintiff,
                           v.                                    I. BACKGROUND 2
                                                                 2
         Anthony ANNUCCI, et al., 1 Defendants.                        In light of the procedural posture of the case, the
                                                                       following recitation is derived from the record now
 1      Defendants' filings indicate that the correct spelling         before the court, with all inferences drawn and
        of defendant Ollies is Anthony Olles, the defendant            ambiguities resolved in the non-movant's favor. See
        sued as J. Whitford is John Whiteford, and Donald              Terry v. Ashcroft, 336 F.3d 128, 137 (2d Cir. 2003).
        Venetozzi is Donald Venettozzi. See Dkt Nos.                   Because the parties have filed cross motions for
        97-7, 97-10, 97-12. Accordingly, the clerk of the              summary judgment, the court draws “all factual
        court will respectfully be directed to modify the              inferences ... ‘against the party whose motion is
        court's records to reflect the proper spellings of the         under consideration.’ ” Tindall v. Poultney High
        names of these three defendants.                               Sch. Dist., 414 F.3d 281, 283-84 (2d Cir. 2005)
                                                                       (quoting Boy Scouts of Am. v. Wyman, 335 F.3d
                                                                       80, 88 (2d Cir. 2003) ) (internal quotation marks
         Civil Action No. 9:15-CV-0777 (GLS/DEP)
                                                                       omitted).
                              |
                     Signed 03/12/2019                           Plaintiff is a New York State prison inmate currently being
                                                                 held in the custody of the DOCCS. See generally Dkt. No.
Attorneys and Law Firms                                          72; see also Dkt. No. 97-4 at 6. Although he is presently
                                                                 confined in the Elmira Correctional Facility (“Elmira”),
ARRELLO BARNES, Pro Se, 00-A-0597, Elmira
                                                                 the events giving rise to this suit transpired at various
Correctional Facility, P.O. Box 500, Elmira, NY 14902.
                                                                 points between 2011 and 2015, while plaintiff was held in
FOR DEFENDANTS: HON. LETITIA JAMES, New York                     the Sullivan Correctional Facility (“Sullivan”), the Attica
State Attorney General, OF COUNSEL: COLLEEN D.                   Correctional Facility (“Attica”), the Clinton Correctional
GALLIGAN, ESQ., Assistant Attorney General, The Capitol,         Facility (“Clinton”), and the Great Meadow Correctional
Albany, NY 12224.                                                Facility (“Great Meadow”). See generally Dkt. No. 72. Each
                                                                 of the discrete incidents that give rise to this suit is more fully
                                                                 described below.
     ORDER, REPORT, AND RECOMMENDATION
                                                                    A. The 2011 Assault and the 2012 Tier III Disciplinary
DAVID E. PEEBLES, CHIEF U.S. MAGISTRATE JUDGE
                                                                    Hearing
 *1 This is a civil rights action brought by plaintiff Arrello   On August 8, 2011, plaintiff's fellow inmate at Sullivan,
Barnes, who is proceeding pro se and in forma pauperis           George Mims, was assaulted with a razor while he was
(“IFP”), pursuant to 42 U.S.C. § 1983, against several           exercising in the West Yard of that facility. Dkt No. 97-3 at
individuals employed by the New York State Department            65; Dkt. No. 97-4 at 15. As a result of the incident, plaintiff
of Corrections and Community Supervision (“DOCCS”).              was issued an inmate misbehavior report (“MBR”) on August
Plaintiff alleges that his First and Fourteenth Amendments       10, 2011 charging him with violating certain inmate behavior
rights were violated in connection with a series of incidents    rules. Dkt. No. 97-3 at 52; Dkt. No. 102-5 at 3; see generally
that resulted in disciplinary proceedings being brought          7 N.Y.C.R.R. § 270.2. Plaintiff has denied any role in the
against him while he was incarcerated at four different          assault, asserting that he was working in a different area of
correctional facilities operated by the DOCCS.                   the facility at the time the assault occurred. Dkt. No. 97-3 at
                                                                 234 (“[W]hen this took place[,] I was at work”).
Currently pending before the court are cross motions brought
by the parties, both seeking the entry of summary judgment


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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 126 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

Plaintiff was initially found guilty following a disciplinary      97-3 at 240-41; see also Dkt. No. 102-5 at 5. With respect to
hearing held on October 25, 2011 at Sullivan. Dkt. No. 97-3 at     Officer Connors, when he was contacted, he indicated that he
58. That determination was ultimately revisited as a result of     was not working on the date of the assault, and as a result,
a court challenge, and a new hearing was ordered to address        defendant Coveny denied plaintiff's request for his testimony
the charges associated with the stabbing of inmate Mims. Dkt.      as irrelevant. Dkt. No. 97-3 at 279; see also Dkt. No. 97-3 at
No. 97-3 at 58-59.                                                 61. Despite plaintiff's allegation to the contrary, there is no
                                                                   indication in the record that plaintiff sought the testimony of
 *2 Following the administrative expungement, a second             Officer Zarrias at the second hearing. 4 See generally Dkt.
hearing was conducted by defendant Raymond Coveny, a               No. 97-3 at 231-92.
corrections captain, in August and September of 2012, while
plaintiff was confined to Attica. Dkt. No. 97-3 at 231-92;         4      It appears that plaintiff may be conflating the
Dkt. No. 97-9. In his SAC and his cross motion for summary
                                                                          witness requests made in connection with his initial
judgment, plaintiff alleges that although he requested that
                                                                          disciplinary hearing with the witness requests made
Officer Connors, Officer Zarrias, and inmate Mims be called
                                                                          in connection with his second hearing. See Dkt. No.
as witnesses at the second hearing, defendant Coveny denied
                                                                          97-4 at 17.
each of those requests. Dkt. No. 72 at 9; Dkt No. 102-1 at 1;
Dkt. No. 102-3 at 1. According to plaintiff,                       On September 6, 2012, defendant Coveny dismissed one
                                                                   charge, but found plaintiff guilty of all remaining charges.
    [defendant] Coveny told me ‘I will not call officers to        Dkt. No. 97-3 at 49-50, 290-91. As a result, plaintiff was
    testify so they can contradict other officers’ after [I]       sentenced to two years of disciplinary special housing unit
    requested two [corrections officers] witnesses. He also        (“SHU”) confinement, coupled with the corresponding loss
    refused George Mims to be a witness. 3                         of certain privileges. Dkt. No. 97-3 at 49.

Dkt. No. 102-1 at 1; but see Dkt. No. Dkt. No. 97-3 at 280,
Dkt. No. 102-5 at 4.                                                  B. The 2013 “Return to Sender” Letter and the Tier III
                                                                      Disciplinary Hearing
3                                                                  On January 24, 2013, a letter written by plaintiff to a female
        Plaintiff appears to be referring to following
        statement made by defendant Coveny during the              friend was returned to the mailroom at Attica, with the
        course of the second hearing:                              envelope having been marked “return to sender.” Dkt. No.
           [O]kay, I am not missing your point and the             97-7 at 2; see also Dkt. No. 97-3 at 101. Because “return to
           point was made and I understand[.] [H]owever[,]         sender” mail is frequently used by gang members as a method
           I reviewed the video with the assistance [of]           to communicate within the facility and circumvent scrutiny,
           Lieutenant Maxwell and I am of the opinion that         the letter was confiscated by prison personnel, who then asked
           the person I saw in the video is you[.] Lieutenant      defendant Anthony Olles, a corrections officer and member
           Maxwell has testified that the person in the video      of the Crisis Intervention Unit (“CIU”) at Attica, to review the
           is you[.] ... [S]o to have a staff member come          correspondence to determine whether it contained prohibited
           and state that you[ ] weren't in the yard [when] I      gang material. Dkt. No. 97-7 at 1-3. Based upon his training
           already have a staff member that [says] that you        and experience, defendant Olles determined that the “return to
           were[,] and I personally as the hearing officer         sender” letter contained gang codes associated with the Hunta
           have viewed the video and I am convinced that           Bloods, a subset of the larger Bloods gang, and issued plaintiff
           it is you that is in the video.... [they're] going to   an MBR charging him with violating Rule 105.13. 5 Dkt. No.
           be denied [as] witnesses.                               97-3 at 100-08; Dkt. No. 97-7 at 3.
        Dkt. No. 97-3 at 280; Dkt. No. 102-5 at 4.
                                                                   5
The documentary evidence adduced by the parties reflects                  Rule 105.13 is part of Rule Series 105, which
that although inmate Mims provided testimony at plaintiff's               addresses an inmate's “Unauthorized Assembly or
original disciplinary hearing, see Dkt. No. 97-4 at 23, he                Activity.” 7 N.Y.C.R.R. § 270.2(B)(6). Rule 105.13
refused to testify at the second hearing. Dkt. No. 97-3 at 69.            provides that “[a]n inmate shall not engage in or
When inmate Mims was asked to specify why he refused to                   encourage others to engage in gang activities or
testify, he stated, “[b]ecause I am not doing it.” Id.; Dkt. No.          meetings, or display, wear, possess, distribute or



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 127 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

        use gang insignia or materials including, but not           investigation into the matter, Corrections Officer J. Hanson
        limited to, printed or handwritten gang or gang             (“C.O. Hanson”) issued plaintiff an MBR charging him with
        related material.” 7 N.Y.C.R.R. § 270.2(B)(6).              violating multiple inmate behavior rules including, inter alia,
 *3 On January 29 and 30, 2013, a Tier III disciplinary             gang activity and threats on staff. Dkt. No. 97-3 at 116; see
hearing was held before defendant John Whiteford, a senior          generally 7 N.Y.C.R.R. § 270.2.

corrections counselor at Attica. 6 Dkt. No. 97-3 at 293-303;
                                                                    After plaintiff was removed from his cell, defendant Richard
Dkt. No. 97-10 at 1-2. During the hearing, plaintiff requested
                                                                    J. Mahuta, a corrections officer assigned to the CIU, and
the testimony of Officer Eric Kentzel, 7 whom plaintiff             another officer conducted a cell search. Dkt. No. 97-3 at
indicated would testify that plaintiff “did[ not] write that        117; Dkt. No. 97-8 at 1-2. In his SAC, plaintiff accused
letter” and that “another inmate ... [was] throwing [plaintiff's]   defendant Mahuta of confiscating and discarding three of his
name” on correspondence. Dkt. No. 97-3 at 295-99, 301-02;           religious head coverings. Dkt. No. 72 at 11-12. According to
Dkt No. 97-4 at 39, 44-45; Dkt. No. 97-10 at 2. Defendant           defendant Mahuta, during the course of that cell search, he
Whiteford denied plaintiff's request, however, because there        did not remove or throw away any religious head coverings
was no indication that Officer Kentzel had knowledge or             from plaintiff's cell. Dkt. No. 97-8 at 3. Plaintiff counters by
information regarding the specific letter that led to the           alleging that two other inmates overheard defendant Mahuta
issuance of the MBR. Dkt. No. 97-4 at 46 (“Irrelevancy, I           state, “[i]sn't [plaintiff] a Blood? What is he doing with
believe.”); Dkt. No. 97-10 at 2-3; Dkt. No. 102-1 at 1; Dkt.
                                                                    kufis?” prior to disposing of those head coverings. 8 Dkt. No.
No. 102-3 at 1; see also Dkt. No. 72 at 10.
                                                                    72 at 12; Dkt. No. 97-4 at 56-57; compare Dkt. No. 97-8 at 3
                                                                    with Dkt. No. 102-1 at 2; Dkt. No. 102-5 at 24-25.
6       Plaintiff continues to assert in his cross-motion
        that defendant Whiteford violated his procedural            8       A “kufi” is headgear that is associated with the
        due process rights because he was biased during
                                                                            Muslim religion. Nicholas v. Tucker, 89 F. Supp. 2d
        the hearing. However, that claim was previously
                                                                            475, 477 (S.D.N.Y. 2000).
        dismissed by the court, and it was not re-asserted
        in plaintiff's SAC. Dkt. No. 70 at 33 (“[D]efendant         However, during the cell search, defendant Mahuta
        [Whiteford's] statement did nothing more than               discovered three handwritten pages of material that he
        advise plaintiff that, if evidence was presented on         believed to be prohibited gang material. Dkt. No. 97-8 at
        the record that plaintiff violated rule 105.13, he          3. Those three pages, along with three Bibles and other
        would be found guilty.”); see also Dkt. Nos. 72, 75.        materials, were confiscated by defendant Mahuta, who had
                                                                    the materials placed inside a contraband locker for further
7       The precise spelling of this officer's name is not          review at a later time. Dkt. No. 97-8 at 3; Dkt. No. 97-3
        clear from the record before the court. See, e.g.,          at 413-14. Defendant Mahuta ultimately determined that
        Dkt. No. 97-1 at 4 (“Kenzel” and “Kinzel”); Dkt.            only the three handwritten pages constituted prohibited gang
        No. 97-4 at 39 (“Kintzel”); Dkt. No. 97-10 at               material and issued plaintiff am MBR charging him with
        2(“Kentzel”).                                               possession of that material. Dkt. No. 97-3 at 117.
At the conclusion of the hearing, defendant Whiteford found
plaintiff guilty as charged, and plaintiff was sentenced to one
year of disciplinary SHU confinement, coupled with the loss             1. Plaintiff's Tier III Disciplinary Hearing and Appeals
of certain privileges. Dkt. No. 97-3 at 86; see also Dkt. No.
97-3 at 299-304.                                                     *4 Between February 5, 2015 and February 27, 2015,
                                                                    defendant Kenneth McKeighan, an industrial superintendent
                                                                    at Great Meadow, conducted a Tier III disciplinary hearing
   C. The 2015 Conspiracy, Gang Material, Grievance, and            with respect to the two MBRs. Dkt. No. 97-5; Dkt. No. 97-6;
   the Tier III Disciplinary Hearing                                see also Dkt. No. 97-3 at 116-117. At the hearing, plaintiff
On January 29, 2015, members of the CIU at Clinton                  requested, inter alia, the testimony of his brother, Exondus
received confidential information that inmate gang members,         Barnes who, plaintiff asserted, would testify that he was the
including plaintiff, were conspiring to assault security staff      author of the three handwritten pages of material confiscated
at the facility. Dkt. No. 97-8 at 1-2. As a result of an            during the cell search. Dkt. No. 97-5 at 5; Dkt. No. 97-6 at 8,



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 128 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

17-18; see also Dkt. No. 97-3 at 115. Defendant McKeighan          the footage likely would have been “inconclusive.” Dkt. No.
denied the request as irrelevant, however, because plaintiff       97-3 at 397; Dkt. No. 97-6 at 3, 10, 12.
was charged with possession of the materials, and thus the
question of authorship was not relevant. 9 Dkt. No. 97-3 at        At the conclusion of the hearing, defendant McKeighan found
119; Dkt. No. 97-4 at 66-68; Dkt. No. 97-6 at 33-34; Dkt. No.      plaintiff guilty as charged. Dkt. No. 97-3 at 110-115. Plaintiff
97-11 at 3.                                                        was sentenced to 910 days of disciplinary SHU confinement,
                                                                   coupled with the loss of certain privileges. Dkt. No. 97-3
9                                                                  at 110; see also id. at 114 (“Due to the nature of the entire
       Specifically, defendant Mahuta charged plaintiff
                                                                   incident and the fact your actions would have resulted in
       with violating Rule 105.13 of the standards of
                                                                   the injury to the staff and would have likely disrupted the
       inmate behavior. See footnote 5, supra; see also 7
                                                                   entire facility and DOCCS in general, I have exceeded the
       N.Y.C.R.R. § 270.2(B)(6).
                                                                   recommended confinement guidelines considerably.”).
At the hearing, plaintiff also requested copies of the “call
outs” or “yard go-arounds” for Clinton, contesting that those      Following the conclusion of the hearing, plaintiff filed
materials would demonstrate that he was not in the yard            a series of appeals challenging defendant McKeighan's
with his co-conspirators during the relevant times. Dkt.           determination. Dkt. No. 97-3 at 340-99; see also Dkt.
No. 97-5 at 5-6. Although defendant McKeighan initially            No. 97-12 at 3. On May 12, 2015, defendant Donald
reserved decision regarding plaintiff's request, he ultimately     Venettozzi, the Director for the DOCCS Special Housing/
denied it after C.O. Hanson testified that no such document        Inmate Disciplinary Program, affirmed the finding of guilt,
existed at Clinton. Dkt. No 97-6 at 4. Nonetheless, defendant      but reduced plaintiff's penalty from 910 days to twelve
McKeighan obtained “program sheets” for the relevant time,         months of disciplinary SHU confinement. Dkt. No. 97-3 at
Dkt. No. 97-5 at 126-154, and compiled that information            341-42; Dkt. No. 97-12 at 4.
into a spreadsheet, which showed that plaintiff and his co-
conspirators were in fact together on the evening of January        *5 In addition to addressing one of his appeals to defendant
19, 2015.   10
                 Dkt. No. 97-5 at 218; see also Dkt. No. 97-6 at   Anthony Annucci, the Acting Commissioner of the DOCCS,
18-19.                                                             see Dkt. No. 97-3 at 344, plaintiff also sent defendant
                                                                   Annucci a letter on April 1, 2015, complaining that his due
10                                                                 process rights were violated at the hearing. Dkt. No. 97-3 at
       January 19, 2015 is a significant date because it is
                                                                   348-49; Dkt. No. 97-13 at 2; see also Dkt. No. 102-1 at 2.
       the day after prison officials at Clinton used force
                                                                   Defendant Annucci did not respond to plaintiff's appeal or
       against a suspected Bloods gang member. Dkt. No.
                                                                   letter or undertake any investigation as a result of plaintiff's
       97-8 at 2; Dkt. No. 97-11 at 2. Defendants theorize
                                                                   correspondence. Dkt. No. 97-13 at 2.
       that plaintiff and fellow inmates attempted to plan
       the assaults on prison staff in retaliation for the use
       of force. Dkt. No. 97-5 at 36; Dkt. No. 97-11 at 2, 4.
                                                                                      2. Plaintiff's Grievance
Plaintiff also requested that video footage from Clinton's
North Yard be provided at the hearing, arguing that it would       On February 20, 2015, plaintiff filed a grievance in
show that he was not in the area during the relevant time,         connection with defendant Mahuta's cell search, stating
thereby undercutting the claims made by the confidential
informant. See, e.g., Dkt. No. 97-5 at 6, 11. Defendant              On 1/29/15, my cell [was] searched by [defendant] Mahuta
McKeighan's denial of that request was two-fold. First, he           at [Clinton] ..., and my letters, Bible, etc. were confiscated
noted that the video footage simply did not exist inasmuch           for review. After the paper [was] review[ed], I received
as by the time the conspiracy had been uncovered, the video          a misbehavior report for only [three] papers. [T]he Bible,
footage had been recorded over. Dkt. No. 97-3 at 397; Dkt.           address book, etc., were [not deemed] gang material.
No. 97-5 at 6; Dkt. No. 97-6 at 3. Second, he noted that
even if footage of the North Yard existed, that footage would        I did not receive[ ] my documents [back] as of yet.
have shown only a general view of the North Yard instead of
                                                                     Action requested: for my papers, bible, etc. to be return[ed]
focusing on any particular group of people, and he believed
                                                                     to me.




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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 129 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

                                                                   plaintiff be afforded an opportunity to file a SAC. Id.
Dkt. No. 97-3 at 403 (errors in original); see also Dkt. No.       at 41. Although neither party filed any objections to my
97-4 at 75. It appears that prison personnel were initially        report, before Judge Sharpe had an opportunity to review
confused with respect to the nature of the relief plaintiff        it, plaintiff availed himself of my recommendation and filed
sought, as well as the location of plaintiff's property, because   his SAC on July 24, 2017. Dkt. No. 72. On September 1,
in initially denying plaintiff's grievance, the superintendent     2017, Judge Sharpe issued an order adopting my report and
stated that “[t]he items in question were deemed to be             recommendation in its entirety. Dkt. No. 75.
contraband and as such were properly disposed of.” Dkt. No.
97-3 at 404, 442. In his appeal of the grievance determination      *6 Plaintiff's SAC was referred to me for review to
to the DOCCS Central Office Review Committee (“CORC”),             determine whether the deficiencies that were discerned in my
plaintiff explained that he was seeking the return of only those   July 14, 2017 report and recommendation had been cured
materials that were determined not to constitute gang-related      by the filing of plaintiff's SAC. Dkt. No. 76. Following
contraband. Dkt. No. 97-3 at 404-05. While plaintiff's appeal      my review, I issued a report and recommendation on
was pending before the CORC, the materials that he sought          September 22, 2017, recommending that plaintiff's SAC be
were returned to him, see Dkt. No. 97-3 at 400, 413, 418,          accepted for filing, but that various of plaintiff's claims
442, although plaintiff has denied ever having received those      be dismissed. Dkt. No. 76. By decision and order dated
materials back from prison officials. Dkt. No. 97-4 at 77.         October 19, 2017, Judge Sharpe adopted my report and
                                                                   recommendation in its entirety over plaintiff's objections. Dkt.
                                                                   Nos. 77, 78. As a result of these rulings, the following four
II. PROCEDURAL HISTORY
                                                                   claims survived and proceeded to discovery: (1) Fourteenth
Plaintiff commenced this action on or about June 25, 2015,
                                                                   Amendment procedural due process claim against defendants
by the filing of a complaint accompanied by an application
                                                                   Coveny, Whiteford, and McKeighan; (2) First Amendment
for leave to proceed IFP and a motion for a preliminary
                                                                   free speech claim against defendants Olles and Mahuta; (3)
injunction. Dkt. Nos. 1, 2, 4. Although plaintiff's original
                                                                   First Amendment free exercise claim against Mahuta; and (4)
IFP application was denied by the court as incomplete, his
                                                                   Fourteenth Amendment procedural due process claim against
subsequent motion for leave to proceed without prepayment
                                                                   defendants Annucci and Venettozzi in their supervisory
of fees was granted. Dkt. Nos. 5, 6, 10.
                                                                   capacities. See id. at 3.

By decision and order dated September 17, 2015, Senior
                                                                   On January 23, 2018, following the close of discovery,
District Judge Gary L. Sharpe denied plaintiff's motion for
                                                                   defendants filed a motion for summary judgment, seeking
preliminary injunctive relief. Dkt. No. 10. In addition, he
                                                                   dismissal of plaintiff's claims on various grounds, both
reviewed plaintiff's complaint pursuant to 28 U.S.C. §§
                                                                   procedural and on the merits. Dkt. No. 97. Plaintiff has
1915(e), 1915A and dismissed a number of claims and
                                                                   opposed defendants' motion and cross moved for summary
defendants from the action. See generally id.
                                                                   judgment in his favor. Dkt. No. 102. Defendants have
                                                                   submitted papers in opposition to plaintiff's motion and
On October 26, 2015, and prior to service upon defendants,
                                                                   in further support of their motion. Dkt. No. 103. The
plaintiff filed an amended complaint (“FAC”), which was
                                                                   parties' motions, which are now fully briefed and ripe for
accepted by Judge Sharpe because it was deemed “a pleading
                                                                   determination, have been referred to me for the issuance of
which reflects the [c]ourt's rulings in the [initial] order.”
                                                                   a report and recommendation pursuant to 28 U.S.C. § 636(b)
Dkt. No. 17. In response to plaintiff's FAC, defendants filed
                                                                   (1)(B) and Northern District of New York Local Rule 72.3(c).
a motion on September 21, 2016, seeking its dismissal for
                                                                   See Fed. R. Civ. P. 72(b).
failure to state a claim upon which relief may be granted,
pursuant to Rule 12(b)(6) of the Federal Rules of Civil
Procedure. Dkt. No. 30.                                            III. DISCUSSION

On July 14, 2017, I issued a report, which recommended                A. Summary Judgment Standard
the dismissal of various claims and several defendants from        Summary judgment motions are governed by Rule 56 of
the action. See generally Dkt. No. 70. In addition, in light       the Federal Rules of Civil Procedure, which provides that
of my recommendation that multiple claims and defendants           the entry of summary judgment is warranted “if the movant
be dismissed from the action, I further recommended that           shows that there is no genuine dispute as to any material


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          Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 130 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

fact and the movant is entitled to judgment as a matter of            not acknowledge defendants' argument, instead focusing his
law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S.       opposition on the underlying merits of the First Amendment
317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S.            claims defendants Olles and Mahuta. See generally Dkt. No.
242, 247 (1986); Sec. Ins. Co. of Hartford v. Old Dominion            102.
Freight Line, Inc., 391 F.3d 77, 82-83 (2d Cir. 2004). A fact is
“material” for purposes of this inquiry if it “might affect the
outcome of the suit under the governing law.” Anderson, 477
                                                                                                1. Generally
U.S. at 248; see also Jeffreys v. City of N.Y., 426 F.3d 549, 553
(2d Cir. 2005). A material fact is genuinely in dispute “if the       The Prison Litigation Reform Act of 1996 (“PLRA”), Pub. L.
evidence is such that a reasonable jury could return a verdict        No. 104-134, 110 Stat. 1321 (1996), which imposes several
for the nonmoving party.” Anderson, 477 U.S. at 248.                  restrictions on the ability of prisoners to maintain federal
                                                                      civil rights actions, expressly provides that “[n]o action shall
A party moving for summary judgment bears an initial burden           be brought with respect to prison conditions under section
of demonstrating that there is no genuine dispute of material         1983 of this title, or any other Federal law, by a prisoner
fact to be decided with respect to any essential element of           confined in any jail, prison, or other correctional facility until
the claim in issue; the failure to meet this burden warrants          such administrative remedies as are available are exhausted.”
denial of the motion. Anderson, 477 U.S. at 250 n.4; Sec. Ins.        42 U.S.C. § 1997e(a); see also Ross v. Blake, 136 S. Ct.
Co., 391 F.3d at 83. In the event this initial burden is met, the     1850, 1856 (2016). Section 1997e(a)’s exhaustion provision
opposing party must show, through affidavits or otherwise,            is mandatory and applies to all inmate lawsuits regarding the
that there is a material dispute of fact for trial. Fed. R. Civ. P.   conditions of their confinement. Ross, 136 S. Ct. at 1856;
56(e); Celotex, 477 U.S. at 324; Anderson, 477 U.S. at 250.           Woodford v. Ngo, 548 U.S. 81, 84 (2006); Porter v. Nussle,
                                                                      534 U.S. 516, 524, 532 (2002); Williams v. Corr. Officer
When deciding a summary judgment motion, a court must                 Priatno, 829 F.3d 118, 122 (2d Cir. 2016). In the event a
resolve any ambiguities, and draw all inferences, in a light          defendant establishes that the inmate-plaintiff failed to fully
most favorable to the non-moving party. Anderson, 477 U.S.            comply with the administrative process prior to commencing
at 255; Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d       an action in federal court, the plaintiff's complaint is subject
133, 137-38 (2d Cir. 1998). The entry of summary judgment             to dismissal. See Woodford, 548 U.S. at 93 (“[W]e are
is justified only in the event of a finding that no reasonable        persuaded that the PLRA exhaustion requirement requires
trier of fact could rule in favor of the non-moving party. Bldg.      proper exhaustion.”); see also Wilson v. McKenna, 661 F.
Trades Employers' Educ. Ass'n v. McGowan, 311 F.3d 501,               App'x 750, 752 (2d Cir. 2016). “Proper exhaustion” requires
507-08 (2d Cir. 2002); see also Anderson, 477 U.S. at 250             a plaintiff to procedurally exhaust his claims by “compl[ying]
(finding summary judgment appropriate only when “there can            with the system's critical procedural rules.” Woodford, 548
be but one reasonable conclusion as to the verdict”).                 U.S. at 95; accord, Macias v. Zenk, 495 F.3d 37, 43 (2d Cir.
                                                                      2007). 12
     B. Plaintiff's Failure to Exhaust Administrative
                                                                      12
     Remedies 11                                                              While placing prison officials on notice of a
11                                                                            grievance through less formal channels may
          As will be seen, because I recommend that each of
                                                                              constitute claim exhaustion “ ‘in a substantive
          plaintiff's claims be dismissed, have elected not to
                                                                              sense,’ ” an inmate plaintiff nonetheless must
          address defendants' alternative argument that they
                                                                              meet the procedural requirement of exhausting
          are shielded by the doctrine of qualified immunity.
                                                                              his available administrative remedies within the
          Dkt. No. 97-4 at 31-33.
                                                                              appropriate grievance construct in order to satisfy
 *7 Defendants contend that plaintiff failed to fully                         the PLRA. Macias, 495 F.3d at 43 (quoting
exhaust his administrative remedies with respect to his First                 Johnson v. Testman, 380 F.3d 691, 697-98 (2d Cir.
Amendment free speech claim against defendants Olles and                      2004) (emphasis omitted) ).
Mahuta and his First Amendment free exercise claim against
                                                                      In New York, the DOCCS has instituted a grievance
Mahuta. Dkt. No. 97-14 at 12-15. As a result of plaintiff's
                                                                      procedure, designated as the Inmate Grievance Program
failure, defendants argue, those claims must be dismissed. Id.;
                                                                      (“IGP”), for use by prison inmates to lodge complaints
see also Dkt. No. 103 at 4-5. In his cross motion, plaintiff does


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 131 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

regarding the conditions of their confinement. Williams, 829        As can be seen, at each step of the IGP process, a decision
F.3d at 119. The IGP is comprised of three steps that inmates       must be rendered within a specified time period. 7 N.Y.C.R.R.
must satisfy when they have a grievance regarding prison            § 701.5. Where the IGRC and/or superintendent do not timely
conditions. 7 N.Y.C.R.R. §§ 701.1, 701.5; Williams, 829             respond, an inmate is permitted to appeal “to the next step.”
F.3d at 119. The IGP requires that an inmate first file a           7 N.Y.C.R.R. § 701.6(g)(2). Generally, if a plaintiff fails to
grievance with “the clerk” within twenty-one days of the            follow each of the required three steps of the above-described
alleged occurrence giving rise to his complaint. 7 N.Y.C.R.R.       IGP prior to commencing litigation, he has failed to exhaust
§ 701.5(a)(1). “The complaint may only be filed at the              his administrative remedies as required under the PLRA. See
facility where the inmate is housed even if it pertains to          Ruggerio v. Cty. of Orange, 467 F.3d 170, 176 (2d Cir. 2006)
another facility.” Id. Representatives of the inmate grievance      (“[T]he PLRA requires proper exhaustion, which means using
resolution committee (“IGRC”) 13 have up to sixteen days            all steps that the agency holds out, and doing so properly (so
after the grievance is filed to informally resolve the issue.       that the agency addresses the issues on the merits).” (internal
7 N.Y.C.R.R. § 701.5(b)(1). If there is no such informal            quotation marks omitted) ).
resolution, then the full IGRC conducts a hearing within
sixteen days after receipt of the grievance. 7 N.Y.C.R.R. §         While the PLRA mandates exhaustion of available
701.5(b)(2).                                                        administrative remedies, it also “contains its own, textual
                                                                    exception to mandatory exhaustion.” Ross, 136 S. Ct. at
13                                                                  1858. More specifically, section 1997e(a) provides that only
        The IGRC is comprised of “two voting inmates,
                                                                    those administrative remedies that “are available” must first
        two voting staff members, and a non-voting
                                                                    be exhausted. 42 U.S.C. § 1997e(a); see also Ross, 136
        chairperson.” 7 N.Y.C.R.R. § 701.4(a).
                                                                    S. Ct. at 1858 (“[T]he exhaustion requirement hinges on
 *8 A grievant may then appeal the IGRC's decision to the           the availab[ility] of administrative remedies.” (alteration in
facility's superintendent within seven days after receipt of        original) (internal quotation marks omitted) ). In the PLRA
the IGRC's written decision. 7 N.Y.C.R.R. § 701.5(c). The           context, the Supreme Court has determined that “availability”
superintendent must issue a written decision within a certain       means that “an inmate is required to exhaust those, but only
number of days after receipt of the grievant's appeal. 14 7         those, grievance procedures that are capable of use to obtain
N.Y.C.R.R. § 701.5(c)(3)(i), (ii).                                  some relief for the action complained of.” Ross, 136 S. Ct. at
                                                                    1859 (quoting Booth v. Churner, 532 U.S. 731, 738 (2001) )
14                                                                  (internal quotation marks omitted).
        Depending on the type of matter complained of by
        the inmate, the superintendent has either seven or
                                                                    In Ross, the Supreme Court identified three circumstances in
        twenty days after receipt of the appeal to issue a
                                                                    which a court could find that internal administrative remedies
        decision. 7 N.Y.C.R.R. § 701.5(c)(3)(i), (ii).
                                                                    are not available to prisoners under the PLRA. 15 Ross,
The third and final step of the IGP involves an appeal to           136 S. Ct. at 1859-60. Under the first, “an administrative
the CORC, which must be taken within seven days after               procedure is unavailable when (despite what regulations or
an inmate receives the superintendent's written decision. 7         guidance materials may promise) it operates as a simple
N.Y.C.R.R. § 701.5(d)(1)(i). The CORC is required to render         dead end—with officers unable or consistently unwilling to
a written decision within thirty days of receipt of the appeal.     provide any relief to aggrieved inmates.” Id. at 1859. In
7 N.Y.C.R.R. § 701.5(d)(2)(i), (ii).                                addition, “an administrative scheme might be so opaque that
                                                                    it becomes, practically speaking, incapable of use.” Id. The
Where an inmate's grievance complains of employee                   Court explained that, “[i]n this situation, some mechanism
harassment, the grievance is forwarded directly to the              exists to provide relief, but no ordinary prisoner can discern
superintendent, bypassing the IGRC review. 7 N.Y.C.R.R. §           or navigate it.” Id. The third scenario in which administrative
701.8(b), (c). The superintendent then has twenty-five days         remedies are deemed unavailable to prisoners is when “prison
from the date of its receipt to render a decision. 7 N.Y.C.R.R. §   administrators thwart inmates from taking advantage of a
701.8(f). An inmate may appeal the superintendent's decision        grievance process through machination, misrepresentation, or
to the CORC within seven days of its receipt. 7 N.Y.C.R.R.          intimidation.” Id. at 1860.
§ 701.8(h).




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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 132 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

15     According to the Second Circuit, “the three                 Dkt. No. 97-3 at 403 (errors in original). When prison officials
       circumstances discussed in Ross do not appear to            appeared to initially misapprehend which materials he sought
       be exhaustive[.]” Williams, 829 F.3d at 123 n.2.            to have returned, in an appeal to the CORC on August 24,
                                                                   2015, plaintiff stated:

                          2. Analysis

 *9 During his deposition, plaintiff testified that he had filed                If you review the 1/29/15 [inmate
“a lot” of grievances during his time in DOCCS custody. Dkt.                    misbehavior report], only 3 pages
No. 97-4 at 71-72; see Dkt. No. 97-3 at 28-44. Although he                      were confiscated, which was the only
did not believe that the number of grievances that he had                       material I was found guilty on. The
filed reached the “triple digits,” he speculated that it was                    contraband list which stated my Bible,
approaching fifty to sixty grievances. Dkt. No. 97-4 at 72.                     letters, phone book, etc. were being
Plaintiff expressed a general understanding that the use of                     review which Dep. Brendel could
the inmate grievance process was necessary to effectively                       verify. The review[ed] material was
“exhaust [his] remedies.” Dkt. No. 97-4 at 78.                                  never charged on the misbehavior
                                                                                report.... [T]he I.G.R.C. staffs are
During his deposition, plaintiff was asked whether he had                       merely covering up the fact that
filed a grievance regarding the allegation that defendant Olles                 grievant[’s] property was stolen.
violated plaintiff's First Amendment right to free speech by
his unjustified confiscation of plaintiff's “return to sender”
letter in January of 2013. See Dkt. No. 72 at 9. Dkt. No. 97-4     Dkt. No. 97-3 at 404-05 (errors in original). Plaintiff's
at 72-73. In response, plaintiff indicated that he was unable      grievance and appeal to the CORC makes no mention of
to specifically recall whether he had, but that he did not “see    religious headwear. See generally id. Plaintiff's grievance also
why [he] would” have filed one. Dkt. No. 97-4 at 72-74.            fails to indicate that he believed the seizure of the three pages
Because plaintiff effectively concedes that he did not file a      of material was in violation of his First Amendment rights.
grievance with respect to this incident, I can easily conclude     See generally id. Instead, plaintiff's grievance solely seeks the
that he failed to exhaust his administrative remedies prior to     return of those materials that prison personnel determined did
commencement.                                                      not constitute gang-related material. See generally id.

With respect to plaintiff's free exercise and free speech          Consistent with the objectives of the PLRA, “inmates
claims against defendant Mahuta, both of which arise out           must provide enough information about the conduct of
of the January 29, 2015 search of plaintiff's cell, plaintiff      which they complain to allow prison officials to take
acknowledged that he filed only one grievance arising out          appropriate responsive measures.” Johnson, 380 F.3d at 697.
of that incident on February 20, 2015 (GM 59,129-15). Dkt.         In determining whether exhaustion has been achieved, the
No. 97-3 at 403; Dkt. No. 97-4 at 75-76. According to that         standard for determining the sufficiency of an administrative
grievance,                                                         grievance is analogous to that of notice pleading. Brownell v.
                                                                   Krom, 446 F.3d 305, 310 (2d Cir. 2006) (citing Johnson, 380
  On 1/29/15, my cell [was] searched by [defendant] Mahuta
                                                                   F.3d at 697).
  at [Clinton] ..., and my letters, Bible, etc. were confiscated
  for review. After the paper [was] review[ed], I received
                                                                    *10 Although it is “appropriate to afford pro se inmates
  a misbehavior report for only [three] papers. [T]he Bible,
                                                                   a liberal grievance pleading standard, the grievance may
  address book, etc., were [not deemed] gang material.
                                                                   not be so vague as to preclude prison officials from taking
  I did not receive[ ] my documents [back] as of yet.              appropriate measures to resolve the complaint internally.”
                                                                   Brownell, 446 F.3d at 310; see also Singh v. Lynch, 460
  Action requested: for my papers, bible, etc. to be return[ed]    F. App'x. 45, 47 (2d Cir. 2012); Turner v. Goord, 376 F.
  to me.                                                           Supp. 2d 321, 324 (W.D.N.Y. 2005) (“[T]he mere fact that
                                                                   [the] plaintiff filed some grievance, and fully appealed all
                                                                   the decisions on that grievance, does not automatically mean



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 133 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

that he can now sue anyone who was in any way connected
with the events giving rise to that grievance.”). Even affording     17      In light of this recommendation, I have elected not
plaintiff the appropriate lenity as a pro se litigant, plaintiff's           to address defendants' alternative argument on the
grievance failed to describe any First Amendment concern                     merits.
arising out of defendant Mahuta's cell search.
                                                                       C. Due Process
Although it is true that “a claim may be exhausted when
                                                                     Defendants contend that plaintiff was afforded adequate due
it is closely related to, but not explicitly mentioned in
                                                                     process during the disciplinary proceedings conducted by
an exhausted grievance,” Simmons v. Robinson, No. 07-
                                                                     defendants Coveny, Whiteford, and McKeighan. Dkt. No.
CV-7383, 2011 WL 31066, at *4 (S.D.N.Y. Jan. 4, 2011)
                                                                     97-14 at 21-28. In his cross motion, plaintiff disagrees, and
(citing Espinal v. Goord, 55 8 F.3d 119, 128 (2d Cir. 2009) ),
                                                                     asserts that defendants' decisions deprived him of procedural
I am unable to conclude that the sole grievance filed by
                                                                     due process in connection with each of his Tier III disciplinary
plaintiff provided the facility with sufficient information
                                                                     hearings. See generally Dkt. No. 102.
to permit an investigation of his concerns regarding the
disposal of religious headwear or the seizure of three pages
of gang-related material. 16 Instead, it is clear from plaintiff's
grievance that his primary concern was with securing the                                       1. Generally
return of his non-gang related material. Dkt. No. 97-3 at
                                                                     To establish a procedural due process claim under section
403-05. Accordingly, because plaintiff's grievance failed
                                                                     1983, a plaintiff must show that he (1) possessed an actual
to provide the facility enough information to investigate
                                                                     liberty interest, and (2) was deprived of that interest without
his free speech and free exercise concerns, plaintiff's
                                                                     being afforded sufficient process. Tellier v. Fields, 280 F.3d
February 20, 2015 grievance was not sufficient to exhaust
                                                                     69, 79-80 (2d Cir. 2000); Hynes v. Squillace, 143 F.3d 653,
his administrative remedies prior to commencement of
                                                                     658 (2d Cir. 1998); Bedoya v. Coughlin, 91 F.3d 349, 351-52
this action. See, e.g., Dailey v. Fuller, 15-CV-1051, 2016
                                                                     (2d Cir. 1996). Much like their prior motions, defendants do
WL 7732236 *7-*8 (Dec. 5, 2016) (Dancks, M.J.), report
                                                                     not seek dismissal of any of plaintiff's due process claims on
and recommendation adopted by (N.D.N.Y. Jan 11, 2017)
                                                                     the basis that he was not denied a constitutionally significant
(Sannes, J.); Wright v. Potter, No. 14-CV-01041, 2016 WL
                                                                     liberty interest, see generally Dkt. No. 97-14 at 21-28, and as a
5219997, at *5 (Jun. 28, 2016) (Dancks, M.J.), report and
                                                                     result the court will not address that issue. Instead, defendants'
recommendation adopted by 2016 WL 5173283 (Hurd, J.)
                                                                     argument is focused on whether plaintiff was deprived of a
(N.D.N.Y. Sept. 21, 2016).
                                                                     liberty interest without being afforded sufficient process. See
                                                                     generally id.
16      Copies of all unreported decisions have been
        appended for the convenience of the pro se                    *11 The procedural safeguards to which a prison inmate is
        plaintiff.                                                   entitled before being deprived of a constitutionally cognizable
This, of course, does not end the court's inquiry with respect       liberty interest are well established under Wolff v. McDonnell,
to exhaustion. Plaintiff, however, has not claimed that the          418 U.S. 539 (1974). In its decision in Wolff, the Court held
IGP process was unavailable to him during the relevant               that the constitutionally mandated due process requirements
times periods. To the contrary, the record evidence indicates        include (1) written notice of the charges to the inmate; (2)
that plaintiff was able to successfully navigate the grievance       the opportunity to appear at a disciplinary hearing and a
procedure while housed in a SHU at a different facility.             reasonable opportunity to present witnesses and evidence in
                                                                     support of his defense, subject to a prison facility's legitimate
Accordingly, the undisputed facts in this case reveal that with      safety and penological concerns; (3) a written statement by
respect to his First Amendment claims, plaintiff failed to           the hearing officer explaining his decision and the reasons for
fully comply with the IGP prior to the commencement of               the action being taken; and (4) in some circumstances, the
this action, despite his remedies remaining available to him         right to assistance in preparing a defense. Wolff, 418 U.S. at
at all relevant times. I therefore recommend that defendants'        564-69; see also Luna v. Pico, 356 F.3d 481, 487 (2d Cir.
motion for summary judgment on this basis be granted on this         2004). To pass muster under the Fourteenth Amendment, a
                                                                     hearing officer's disciplinary determination must also garner
procedural basis. 17
                                                                     the support of at least “some evidence.” Superintendent,


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 134 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

Mass. Corr. Inst., Walpole v. Hill, 472 U.S. 445, 455 (1985);        at 3. Plaintiff cannot now turn his own lack of diligence into
Luna, 356 F.3d at 487-88.                                            a constitutional deprivation. See, e.g., Hasan Jamal Abdul
                                                                     Majid v. Henderson, 533 F. Supp. 1257, 1273 (N.D.N.Y.)
The due process clause of the Fourteenth Amendment also              (Munson, C.J.) (concluding that due process was not violated
guarantees that “[a]n inmate subject to a disciplinary hearing       where the inmate failed to request witnesses at or before the
is entitled to ... an impartial hearing officer.” Allen v. Cuomo,    hearing), aff'd mem., 714 F.2d 115 (2d Cir. 1982).
100 F.3d 253, 259 (2d Cir. 1996) (citing, inter alia, Wolff,
418 U.S. at 570-71). The Second Circuit has explained that            *12 In addition, although plaintiff requested testimony from
its “conception of an impartial decisionmaker is one who,            inmate Mims, who had also testified at the initial hearing, that
inter alia, does not prejudge the evidence and who cannot            witness refused to provide testimony at the second hearing
say ... how he would assess evidence he has not yet seen.”           and declined to elaborate on the reasons for his refusal
Patterson v. Coughlin, 905 F.2d 564, 570 (2d Cir. 1990). “The        beyond “[b]ecause I am not doing it.” Dkt. No. 97-3 at
degree of impartiality required of prison officials[, however,]      69. Courts in this circuit have routinely held that a hearing
does not rise to the level of that required of judges.” Allen,       officer's failure to call a fellow inmate who refuses to testify
100 F.3d at 259. Indeed, “[i]t is well recognized that prison        does not offend procedural due process. See, e.g., Caimite
disciplinary hearing officers are not held to the same standard      v. Venettozzi, No. 17-CV-0919, 2018 WL 6069458, at *5
of neutrality as adjudicators in other contexts.” Id. (citing        (Oct. 29, 2018) (Hummel, M.J.), report and recommendation
Russell v. Selsky, 35 F.3d 55, 60 (2d Cir. 1996); Francis v.         adopted by 2018 WL 6068414 (N.D.N.Y. Nov. 20, 2018)
Coughlin, 891 F.2d 43, 46 (2d Cir. 1989) ). “A hearing officer       (Sharpe, J.); Abdur-Raheem v. Caffery, No. 13-CV-6315,
may satisfy the standard of impartiality if there is ‘some           2015 WL 667528, at *6 (S.D.N.Y. Feb. 17, 2015); Hinton v.
evidence in the record’ to support the findings of the hearing.”     Prack, No. 12-CV-1844, 2014 WL 4627120, at *7 (N.D.N.Y.
Allred v. Knowles, No. 06-CV-0456, 2010 WL 3911414, at *5            Sept. 11, 2014) (Kahn, J.) (“The fact that these witnesses
(W.D.N.Y. Oct. 5, 2010) (emphasis in original) (quoting Hill,        refused to testify on [the plaintiff's] behalf does not alter the
472 U.S. at 455).                                                    fact that he was given the opportunity to call witnesses.”).

                                                                     Finally, with respect to the testimony of Officer Connors, the
                                                                     record reveals that plaintiff's request to call him as a witness
                     a. Defendant Coveny
                                                                     was initially granted and defendant Coveny contacted him to
According to plaintiff, defendant Coveny violated his due            “make arrangement for [his] testimony.” Dkt. No. 97-3 at 234,
process rights during the second hearing by improperly               241. In response to being contacted to provide “confidential
denying his request to call Officer Connors, Officer Zarrias,        testimony” for the proceeding, however, Officer Connors
and inmate Mims as witnesses. Dkt. No. 72 at 9 (first                indicated that “he was not working on the date of [the] alleged
cause of action); see also Dkt. No. 102 at 11. Although due          incident.” Dkt. No. 97-3 at 279. As a result, defendant Coveny
process includes the “right of an inmate to call and present         properly denied plaintiff's request based upon a finding that
witnesses and documentary evidence in his defense before the         the officer could not provide relevant evidence. Dkt. No. 97-3
disciplinary board,” that right is not unfettered. Ponte v. Real,    at 85; see Dkt. No. 97-9 at 2-3; see also Kalwasinski v. Morse,
471 U.S. 491, 495 (1985). An inmate's right may be limited           201 F.3d 103, 109 (2d Cir. 1999). (“[A] hearing officer does
for security reasons, to keep a hearing within reasonable            not violate due process by excluding irrelevant or unnecessary
limits, or on the basis of irrelevance or lack of necessity. See     testimony.”).
Kingsley v. Bureau of Prisons, 937 F.2d 26, 30 (2d Cir. 1991).
                                                                     Accordingly, because no reasonable factfinder could
In this case, after an exhaustive review of the record evidence,     conclude that defendant Coveny violated plaintiff's
I conclude that no reasonable factfinder could conclude that         procedural due process rights, I recommend that the claim
defendant Coveny violated plaintiff's due process rights at          against defendant Coveny be dismissed.
the second hearing. First, with respect to plaintiff's alleged
request to call Officer Zarrias, although it appears plaintiff did
call him as a witness for the initial hearing, there is no record                       b. Defendant Whiteford
evidence that plaintiff sought his testimony in connection with
the second hearing. Dkt. No. 97-4 at 17-18; see Dkt. No. 97-9



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 135 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

Plaintiff alleges that defendant Whiteford violated his due         disciplinary proceeding by (1) denying plaintiff's request to
process rights during the January 2013 disciplinary hearing         call his brother as a witness; (2) permitting the admission of
when he denied his request to call Officer Kentzel as a             fabricated evidence; and (3) denying plaintiff's request for
witness. Dkt. No. 72 at 9-10 (third cause of action); see also      video footage. Dkt. No. 72 at 10-11 (sixth cause of action);
Dkt. No. 102-1 at 1. According to plaintiff, Officer Kentzel        Dkt. No. 102-4 at 12.
would have testified that plaintiff did not write the “return
to sender” letter and that there was another inmate that was        First, when the search of plaintiff's cell uncovered three pages
“throwing [plaintiff's] name” on correspondence. Dkt. No.           of gang-related material, plaintiff was charged with violating
97-3 at 295-99, 301-02; see also Dkt. No. 97-10 at 2.               Rule 105.13 of the standards of inmate behavior, see Dkt.
                                                                    No. 97-3 at 182, which prohibits possessing gang-related
During the disciplinary hearing, Sergeant O'Connell stated          material. Although plaintiff wished to call his brother to
that he had compared the handwriting and signature on the           testify that he was the author of the three pages in question,
“return to sender” letter with correspondence known to be           defendant McKeighan determined that the testimony would
written by plaintiff, and concluded that plaintiff was the          be irrelevant in light of the fact that plaintiff was charged
author of the letter at issue. Dkt. No. 97-3 at 299-300. Sergeant   with possession—not authorship—of the material in question.
O'Connell's testimony provided defendant Whiteford with a           Defendant McKeighan's decision to deny plaintiff's request to
rational basis for concluding that Officer Kentzel's testimony      call his brother as a witness was well within the discretion
would have been irrelevant or unnecessary. Dkt. No. 97-4 at         of the hearing officer, and comports with procedural due
46 (“Irrelevancy, I believe.”); see also Dkt. No. 97-10 at 2-3.     process. See Kalwasinksi, 201 F.3d at 108-09.
Defendant Whiteford believed that Officer Kentzel did not
have “any knowledge of the actual letter at issue in the hearing    Next, there is no merit to plaintiff's allegation that defendant
and whether or not it had been authored by plaintiff.” Dkt.         McKeighan permitted the admission of evidence that was
No. 97-10 at 3.                                                     purportedly fabricated, and this allegation evinces plaintiff's
                                                                    misapprehension of the evidence that was provided pursuant
Based upon the record evidence, no reasonable juror could           to his own request. Plaintiff requested copies of what he
find that defendant Whiteford violated plaintiff's due process      referred to as “call outs” or “yard go-arounds” for Clinton
rights by denying his request to call Officer Kentzel. See          which, he asserted, would demonstrate that he was not in
Delee v. Hannigan, 729 F. App'x 25, 31 (2018) (“[D]efendants        the yard with his co-conspirators during the relevant times.
had the right to refuse to hear irrelevant testimony from           Dkt. No. 97-5 at 5-6. After defendant McKeighan determined
witnesses with no personal knowledge.”) (citing 7 N.Y.C.R.R.        that no such documents existed, he instead obtained “program
§ 253.6(c); Kingsley, 937 F.2d at 30 (2d Cir. 1991) ); see          sheets” for the relevant period. Dkt. No. 97-5 at 126-154.
also Kalwasinski, 201 F.3d at 109. I note moreover, courts          Defendant McKeighan then compiled the information on
have been cautioned not to “second guess” a hearing officer's       the “program sheets” into a spreadsheet, so that he could
decision to deny an inmate's witness requests where the             readily ascertain whether plaintiff and his co-conspirators
hearing officer articulates a basis for his decision. See Wolff,    were together the evening of January 19, 2015. Dkt. No.
418 U.S. at 566 (explaining that courts “should not be too          97-5 at 218; see also Dkt. No. 97-6 at 18-19. The undisputed
ready to exercise oversight and put aside the judgment of           evidence demonstrates that a meaningful effort was made to
prison administrators”).                                            locate the information that plaintiff sought, although it was
                                                                    not in the precise form requested.
 *13 Because no reasonable factfinder could conclude
that defendant Whiteford violated plaintiff's procedural            Finally, to the extent that defendant McKeighan denied
due process rights by refusing to call Officer Kentzel, I           plaintiff's request for certain video footage, the record is
recommend that the claim against him be dismissed.                  clear that the evidence did not exist inasmuch as it had been
                                                                    taped over in the normal course of business by the time
                                                                    the conspiracy had been uncovered. Accordingly, because
                                                                    no reasonable factfinder could conclude that defendant
                   c. Defendant McKeighan
                                                                    McKeighan violated plaintiff's procedural due process rights,
Plaintiff alleges that defendant McKeighan violated his             I recommend that the claim against him be dismissed.
due process rights in connection with the February 2015



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 136 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

                                                                   caused the unlawful event; or (5) failed to act on information
                             18
  D. Supervisory Liability                                         indicating that unconstitutional acts were occurring. Iqbal v.
18                                                                 Hasty, 490 F.3d 143, 152-53 (2d Cir. 2007), rev'd on other
       If the above-described recommendation regarding
       plaintiff's due process claims is adopted by Senior         grounds sub nom. Ashcroft v. Iqbal, 556 U.S. 662 (2009); see
       District Judge Sharpe, there is no remaining                also Richardson, 347 F.3d at 435; Colon v. Coughlin, 58 F.3d
       underlying cause of action upon which to hold               865, 873 (2d Cir. 1995); Wright, 21 F.3d at 501. 19
       defendants Annucci and Venettozzi liable in
       their capacities as supervisors. See Blyden v.              19      Subsequent to issuance of the Second Circuit's
       Mancusi, 186 F.3d 252, 265 (2d Cir. 1999)                           decision in Colon, the Supreme Court addressed
       (“Of course, for a supervisor to be liable                          the question of supervisory liability in Ashcroft v.
       under Section 1983, there must have been an                         Iqbal, 556 U.S. 662 (2009). Although the issue has
       underlying constitutional deprivation.”); see also,                 been discussed, the Second Circuit has declined
       e.g., Caimite v. Venettozzi, 17-CV-0919, 2018 WL                    to squarely address the impact of Iqbal upon the
       6069458, at *5 (Oct. 29, 2018) (Hummel, M.J.),                      categories of supervisory liability addressed in
       report and recommendation adopted by 2018 WL                        Colon. See, e.g., Hogan v. Fischer, 738 F.3d 509,
       6068414 (Sharpe, J.). However, this ground has                      519 n.3 (2d Cir. 2013) (“We express no view on the
       not necessarily been advanced by defendants in                      extent to which [Iqbal] may have heightened the
       support of their motion for summary judgment. See                   requirements for showing a supervisor's personal
       generally Dkt. No. 97.                                              involvement with respect to certain constitutional
 *14 Defendants argue that plaintiff's supervisory liability               violations[.]” (citation and internal quotation marks
claim against defendant Annucci must be dismissed because                  omitted) ); see also Reynolds v. Barrett, 685 F.3d
there is no evidence that he was personally involved in                    193, 206 n.14 (2d Cir. 2012) (“Iqbal has, of course,
the review or determination of plaintiff's appeals. Dkt.                   engendered conflict within our Circuit about the
No. 97-14 at 29. Defendants further argue that plaintiff's                 continuing vitality of the supervisory liability test
supervisory liability claims against defendant Venettozzi                  set forth in [Colon,] ... [b]ut the fate of Colon is not
must be dismissed because there is no proof that he was                    properly before us[.]”).
aware of any alleged underlying constitutional violation. Dkt.
No. 97-14 at 30-31. Plaintiff asserts in his cross motion that
defendant Annucci “did not remedy the wrong acts” and                                   2. Defendant Annucci
defendant Venettozzi “affirmed or modified” the procedural
                                                                   Plaintiff alleges that he wrote to defendant “Annucci, making
due process violations. See generally Dkt. No. 102.
                                                                   him aware of the [c]onstitutional violations, conducted by
                                                                   his subordinates[,]” but that Annucci “failed to remedy the
                                                                   wrong.” Dkt. No. 102-1 at 2; see also Dkt. No. 72 at 12-14.
             1. Supervisory Liability - Generally                  This allegation is based upon plaintiff having addressed one
                                                                   of his amended appeals to defendant Annucci, as well as one
It is well-established that a defendant cannot be liable under     additional letter that he sent to defendant Annucci. Dkt. No.
section 1983 solely by virtue of being a supervisor, “ ‘and        97-3 at 344 (amended appeal dated March 9, 2015); Dkt No.
[liability] cannot rest on respondeat superior.’ ” Richardson v.   97-3 at 348-49 (letter dated April 1, 2015). There is no dispute
Goord, 347 F.3d 431, 435 (2d Cir. 2003) (quoting Hernandez         that defendant Annucci did not respond to plaintiff's appeal or
v. Keane, 341 F.3d 137, 144 (2d Cir. 2003) ); see also             letter or undertake any investigation as a result of plaintiff's
Wright, 21 F.3d at 501. To establish responsibility on the         correspondence. Dkt. No. 97-13 at 2.
part of a supervisory official for a civil rights violation, a
plaintiff must demonstrate that the individual (1) directly        It is well settled that Annucci's failure to respond to plaintiff's
participated in the challenged conduct; (2) after learning of      amended appeal and letter, without more, is not sufficient to
the violation through a report or appeal, failed to remedy         give rise to personal involvement under section 1983. Cole
the wrong; (3) created or allowed to continue a policy or          v. New York State Dep't of Corr. & Cmty. Supervision, No.
custom under which unconstitutional practices occurred; (4)        14-CV-0539, 2016 WL 5394752, at *22 (Aug. 25, 2016)
was grossly negligent in managing the subordinates who             (Peebles, M.J.), report and recommendation adopted by 2016



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 137 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

WL 5374125 (N.D.N.Y. Sept. 26, 2016) (Sannes, J.); see                             the evidence. I affirmed the findings of
also, e.g., Houston v. Schriro, No. 11-CV-7374, 2014 WL                            guilt.
6694468, at *14 (S.D.N.Y. Nov. 26, 2014) (“[I]gnoring a
prisoner's letter or complaint is insufficient to render an
official personally liable.”); Parks v. Smith, No. 08-CV-0586,        Id. at 3-4. As a result, defendant Venettozzi affirmed the
2011 WL 4055415, at *14 (N.D.N.Y. March 29, 2011)                     finding of guilt, but reduced plaintiff's penalty from 910 days
(“A prisoner's allegation that a supervisory official failed to       to twelve months of disciplinary SHU confinement. Dkt. No.
respond to a grievance is insufficient to establish that official's   97-3 at 12, 341-42; Dkt. No. 97-12 at 4.
personal involvement.”).
                                                                      As defendants observe, upon plaintiff's appeal defendant
 *15 For these reasons, I find that no reasonable factfinder          Venettozzi did not identify any constitutional violations,
could conclude, based on the record evidence, that defendant          including the failure to provide plaintiff with due process of
Annucci was personally involved in any of the allegations             law. Dkt. No. 97-14 at 30-31. Likewise, I have concluded
giving rise to this action.                                           that no reasonable factfinder could conclude that plaintiff's
                                                                      due process rights were violated. See Point III.C, supra. As
                                                                      a result, because no constitutional violation occurred, and
                    3. Defendant Venettozzi                           there was no wrong to remedy, no supervisory liability can
                                                                      exist as against defendant Venettozzi. See, e.g., Martin v.
With respect to defendant Venettozzi, plaintiff alleges that          Oey, No. 16-CV-00717, 2017 WL 6614680, at *10 (Nov. 28,
after learning of the violation of his due process rights through     2017) (Dancks, M.J.), report and recommendation adopted
his appeal, defendant Venettozzi failed to remedy the wrong.          by 2017 WL 6611575 (N.D.N.Y. Dec. 27, 2017) (McAvoy,
Dkt. No. 102-1 at 2; see also Dkt. No. 72 at 13. According            J.); Toole v. Connell, No. 04-CV-0724, 2008 WL 4186334,
to plaintiff, although he alerted defendant Venettozzi as to          at *1, 7 (N.D.N.Y. Sep. 10, 2008) (Kahn, J.) (supervisory
the constitutional violations by way of a series of appeals,          defendant cannot be liable for failing to investigate or correct
defendant Venettozzi merely affirmed the disposition, while           conduct that has already been found to be not actionable
modifying the penalty. Dkt. No. 72 at 13; see also Dkt. No.           under section 1983); Lighthall v. Vadlamudi, 04-CV-0721,
97-3 at 340-99.                                                       2006 WL 721568, at *13 (N.D.N.Y. Mar. 17, 2006) (Mordue,
                                                                      J.) (“Since no constitutional violation occurred and there
Here, there is no genuine dispute of material fact                    was no wrong to remedy, no supervisory liability exists.”);
that Venettozzi received and decided plaintiff's appeal               Rambaldi v. City of Mount Vernon, 2003 WL 23744272,
in connection with the February 27, 2015 disciplinary                 at *10 (S.D.N.Y. Mar. 31, 2003) (concluding that because
determination that was issued by defendant McKeighan. See             there was no wrongful conduct, there were “no ‘wrongs’ to
generally Dkt. No. 97-12. According to defendant Venettozzi,          remedy” by the supervisory defendants).

                                                                      For these reasons, I find that no reasonable factfinder
             After reviewing the entire record                        could conclude, based on the record evidence, that
             of the hearing and considering                           defendant Venettozzi was personally involved in any of the
             all the grounds for overturning or                       constitutional deprivations giving rise to this action.
             modifying the determination asserted
             in plaintiff's appeal documents, I found
                                                                      IV. SUMMARY, ORDER, AND RECOMMENDATION
             that the hearing had been properly
                                                                       *16 According to plaintiff, following a series of incidents
             conducted, plaintiff had been provided
                                                                      that resulted in disciplinary proceedings being brought
             constitutionally adequate due process
                                                                      against him, defendants violated his First and Fourteenth
             of law and sufficient opportunity to
                                                                      Amendments rights. Discovery having closed, defendants
             put on a defense, and the findings of
                                                                      seek dismissal of plaintiff's claims on a variety of grounds,
             the hearing officer were supported by
                                                                      while plaintiff has cross moved for the entry of summary
                                                                      judgment. Having carefully reviewed the record before the
                                                                      court, defendants are entitled to the entry of summary



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 138 of 221
Barnes v. Annucci, Not Reported in Fed. Supp. (2019)
2019 WL 1387460

                                                                             period, meaning that you have seventeen days from
judgment dismissing all claims. Accordingly, it is hereby
                                                                             the date the order, report, and recommendation was
respectfully
                                                                             mailed to you to serve and file objections. Fed. R.
                                                                             Civ. P. 6(d). If the last day of that prescribed period
RECOMMENDED that defendants' motion for summary
                                                                             falls on a Saturday, Sunday, or legal holiday, then
judgment (Dkt. No. 97) be GRANTED, plaintiff's cross
                                                                             the deadline is extended until the end of the next
motion for summary judgment (Dkt. No. 102) be DENIED,
                                                                             day that is not a Saturday, Sunday, or legal holiday.
and plaintiff's second amended complaint (Dkt. No. 72) is
                                                                             Fed. R. Civ. P. 6(a)(1)(C).
DISMISSED.
                                                                     ORDERED that the clerk of the court is respectfully directed
NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties               to modify the court's records to change defendant Ollies to
may lodge written objections to the foregoing report. Such           “Anthony Olles”, defendant J. Whitford to “John Whiteford”,
objections must be filed with the clerk of the court within          and Donald Venetozzi to “Donald Venettozzi”, as set forth in
FOURTEEN days of service of this report. 20 FAILURE                  footnote number one; and it is further
TO SO OBJECT TO THIS REPORT WILL PRECLUDE
APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed. R. Civ.                ORDERED that the clerk of the court serve a copy of this
P. 6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85, 89 (2d Cir.       report and recommendation upon the parties in accordance
1993). It is further hereby                                          with this court's local rules.


20     If you are proceeding pro se and are served with this         All Citations
       order, report, and recommendation by mail, three
       additional days will be added to the fourteen-day             Not Reported in Fed. Supp., 2019 WL 1387460


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 139 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

                                                                       of Corrections and Community Supervision (“DOCCS”), 1
                                                                       Sullivan Correctional Facility (“Sullivan”) Medical Director
      KeyCite Yellow Flag - Negative Treatment
                                                                       Wladyslaw Sidorowicz, unknown “John or Jane Doe”
Distinguished by Knight v. New York State Department of Corrections,
S.D.N.Y., March 30, 2022                                               Sullivan Correctional Officers (“Sullivan CO Does”), and
                                                                       unknown “John or Jane Doe” Sullivan Medical Officials
                    2019 WL 5294935                                    (“Sullivan Medical Does”) (collectively, “State Defendants”);
      Only the Westlaw citation is currently available.                Albany Medical Center (“AMC”), and Ashit Patel, M.D.
       United States District Court, S.D. New York.                    (collectively, “Medical Defendants”). Presently before the
                                                                       Court are (1) Defendant Sidorowicz's motion for summary
              Armando COLÓN, Plaintiff,                                judgment pursuant to Fed. R. Civ. P. 56 dismissing Plaintiff's
                           v.                                          Section 1983 claims as against him, (ECF No. 123), (2)
      NEW YORK STATE DEPARTMENT OF                                     Medical Defendants' motion for summary judgment pursuant
 CORRECTIONS AND COMMUNITY SUPERVISION;                                to Fed. R. Civ. P. 56 dismissing Plaintiff's medical malpractice
     Wladyslaw Sidorowicz, Sullivan Correctional                       claims against them, (ECF No. 137), and (3) Plaintiff's motion
    Facility Medical Director; Sullivan Corrections                    for leave to serve a late certificate of merit, (ECF No. 139).
     Officers “John and/or Jane Does” 1, 2, 3, etc.;                   For the reasons that follow, Defendants' motions for summary
                                                                       judgment are GRANTED, and Plaintiff's motion for leave to
    Sullivan Correctional Facility Medical Officials
                                                                       serve a late certificate of merit is DENIED.
   “John and/or Jane Does” 1, 2, 3, etc.; Ashit Patel,
       M.D., all of whom are sued in their individual
                                                                       1
    capacities, and Albany Medical Center, Defendants.                         Pursuant to the Court's Opinion and Order granting
                                                                               in part and denying in part Defendants' motions
                     No. 15 Civ. 7432 (NSR)                                    to dismiss, dated September 13, 2019, no claims
                                |                                              remain against DOCCS. (See ECF No. 79.)
                       Signed 10/17/2019

Attorneys and Law Firms                                                                       BACKGROUND

Keith Michael Szczepanski, Beldock Levine & Hoffman LLP,               I. Factual Allegations
New York, NY, for Plaintiff.                                           The following facts are taken from the parties' respective Rule
                                                                       56.1 Statements, the pleadings, and a review of the record.
Adam T. Mandell, Maynard O'Connor Smith & Catalinotto,                 The Court notes that a significant amount of discovery as to
LLP, Saugerties, NY, for Defendants Albany Medical Center,             the factual allegations supporting Plaintiff's claims remains
Ashit Patel, M.D.                                                      outstanding. (See Declaration of Adam T. Mandell, Esq. in
                                                                       Support of Medical Defendants' Summary Judgment Motion
Kacie Alina Lally, Office of the Attorney General, New York,
                                                                       (“Mandell Decl.”) (ECF No. 138) ¶ 10.)
NY, for Defendant New York State Department of Corrections
and Community Supervision.
                                                                          a. Plaintiff's Assault and Surgeries
Kacie Alina Lally, Office of the Attorney General, Bruce J.
                                                                       Plaintiff, who at all relevant times was an incarcerated inmate
Turkle, New York State Office of the Attorney General, New
                                                                       at Sullivan Correctional Facility, alleges that on September
York, NY, for Defendant Wladyslaw Sidorowicz.
                                                                       22, 2013, he was assaulted by an unknown inmate as he
                                                                       was being escorted from his cell in the Sensorial Disabled
                                                                       Unit to the Sullivan infirmary. (Am. Compl. (ECF No.
                     OPINION & ORDER
                                                                       41) ¶ 2.) 2 At the time of the incident, Plaintiff, who is
NELSON S. ROMÁN, United States District Judge                          legally blind, was being escorted by Sullivan Corrections
                                                                       Officer Juan Martinez and an inmate at Sullivan, Martin
 *1 Plaintiff Armando Colon brings this action pursuant                Hodge, who “assisted visually impaired inmates through the
to, inter alia, 42 U.S.C. § 1983 (“Section 1983”) and New              facility.” (Id.) As Plaintiff was being escorted to the infirmary,
York state tort law, against the New York State Department



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 140 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

he was “approached, punched, and knocked unconscious by            Sidorowicz that a bone inside his mouth was “exposed and
an unknown incarcerated person.” (Id. ¶ 25.)                       had become infected.” (Id. ¶¶ 47–48.)

2                                                                  Thereafter, on May 10, 2014, a third surgery was performed
       The Court notes that Medical Defendants continue
       to dispute most of the factual recitation in the            by Defendant Patel where he covered the exposed bone inside
       Amended Complaint. (Medical Defendants' Reply               Plaintiff's mouth with a skin graft. (Id. ¶ 50.) Several days
       to Plaintiff's Counter-Statement Pursuant to Local          later, Plaintiff was discharged and returned to Sullivan. (Id.
       Rule 5.1 (ECF No. 148).)                                    ¶ 51.) After the May 2014 surgery, Plaintiff underwent two
                                                                   additional oral surgeries in order to remove excessive and
As a result of the attack, Plaintiff sustained a number of         overlapping tissue inside of his mouth. (Id. ¶ 52.) Plaintiff
injuries, including multiple facial fractures, and was taken to    alleges that to this day he continues to “experience extreme
Catskill General Hospital (“Catskill”). (Id. ¶¶ 26–28.) After      pain on the right side of his face and has difficulty chewing
receiving a CT scan at Catskill, Plaintiff was transferred         food on the right side of his mouth.” (Id. ¶ 53.)
to Defendant Albany Medical Center. (Id. ¶ 29.) Doctors
at AMC informed Plaintiff that his injuries would require
surgery, but the surgery could not be performed until the             b. Plaintiff's Inmate Grievance Filings
swelling to his face was reduced. (Id. ¶ 31.) Plaintiff was then   Sullivan is a correctional facility maintained by the New York
transferred back to Sullivan.                                      State Department of Corrections and Community Supervision
                                                                   (“DOCCS”). (Defendant Sidorowicz's Rule 56.1 Statement
 *2 Plaintiff returned to AMC on September 27, 2013, five          (“State Defs. 56.1”) (ECF No. 126) ¶ 2.) Pursuant to
days after the incident, so that Defendant Patel could perform     DOCCS Directive #4040, 7 N.Y. Comp. Codes R. & Regs.
facial reconstructive surgery. (Id. ¶ 34.) The reconstructive      § 701, inmates in DOCCS facilities are permitted to file
surgery included “implantation in Plaintiff's right eye-socket     grievances with the facility's Inmate Grievance Resolution
and right cheekbone.” (Id.) The following day, Plaintiff was       (“IGR”) Committee (“IGRC”), appeal an IGRC decision to
discharged from AMC and returned to the Sullivan infirmary,        the Inmate Grievance Resolution Program (“IGRP” or “IGP”)
where he stayed for an extended period of time. (Id. ¶ 35.)        Superintendent of the facility (the “Superintendent”), and
                                                                   appeal the Superintendent's decision to the Central Office
Plaintiff alleges that he complained to Defendant Sidorowicz       Review Committee (“CORC”). (Declaration of Shelley
several weeks after the surgery about “excruciating pain           Mallozzi (“Mallozzi Decl.”) (ECF No. 127) ¶ 2.) Plaintiff
on the right side of his face, swelling to the right side          was aware of the foregoing procedures and, in fact, filed
of his face, and difficulty chewing food on the right side         and appealed more than 300 grievances to CORC over the
of his mouth.” (Id. ¶ 37.) Two months after his surgery,           course of his incarceration between February 1992 through
in December 2013, Plaintiff was transferred to Coxsackie           December 2017. (State Defs. 56.1 ¶¶ 5,7.)
Correctional Facility's Regional Medical Unit to be examined
by Dr. Richard Agag. (Id. ¶¶ 39–40.) During that examination,
Dr. Agag discovered that the metallic hardware installed by
                                                                                       i. Grievance 21235
Patel in Plaintiff's cheekbone “had ripped through the upper
right side of Plaintiff's mouth.” (Id. ¶ 41.) Dr. Agag then        On or about March 5, 2014, Plaintiff filed Grievance SUL
recommended an emergency surgery in order to remove the            21235/14, dated February 27, 2014 (“Grievance 21235”).
protruding hardware. (Id. ¶ 42.)                                   (State Defs. 56.1 ¶ 8; Declaration of Bruce J. Turkle in
                                                                   Support of Defendant Sidorowicz's Motion for Summary
On January 29, 2014, Defendant Patel performed a second            Judgment (“Turkle Decl.”) (ECF No. 124) Ex. 3.) As relevant
surgery to remove the hardware. (Id. ¶ 43.) After that             to this case, Plaintiff made allegations in Grievance 21235
surgery, Plaintiff contends that he continued to complain to       concerning complications arising from his first two facial
Sullivan Corrections Officers and Medical Officers, including      surgeries with Defendant Patel. (Turkle Decl. Ex. 3 at Bates
Defendant Sidorowicz, about “excruciating pain on the right        No. COLON 00908–09.) Specifically, Plaintiff recounted
side of his face, swelling to the right side of his face, and      his first facial reconstruction surgery, Dr. Agag's discovery
difficulty chewing food on the right side of his mouth.” (Id.      that the hardware implanted in Plaintiff's palate had caused
¶ 45.) In April 2014, Plaintiff returned to AMC where he           an opening in Plaintiff's mouth, and his second surgery.
received a CT scan and, allegedly, was informed by Defendant


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 141 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

(Id. at Bates No. COLON 00908.) Plaintiff stated that the            Ex. 5.) Grievance 21389 included, in relevant part, further
second surgery did not adequately address the opening in his         allegations related to Plaintiff's assault and the surgeries
mouth, and that he continued to experience drainage through          performed by Defendant Patel. (Turkle Decl. Ex. 5 at Bates
his right nostril. (Id.) He further opined, “[T]his medical          No. COLON 00944–45.) Plaintiff noted that in May of 2014,
mishap has obviously caused me a great deal of mental                he underwent a third surgery “as a result of [Dr. Patel's] failure
anguish and anxiety attacks including headaches, nausea,             to notice and close the opening in Grievant's right-side palate
dizzy spells and pain to the right side of my face which             area.” (Id. at Bates No. COLON 00945.) Plaintiff asserted that
remains swollen for nearly half a year.” (Id. at Bates No.           such failure “fell far below professional medical standards”
COLON 00909.) In the section of Grievance 21235 entitled             and “borders on medical negligence and malpractice.” (Id.)
“Action Requested by Inmate,” Plaintiff sought a referral            He further complained that Dr. Patel's actions resulted
from the dentist at Sullivan to an oral surgeon at Sing Sing         in a serious bone infection and continuous excruciating
Correctional Facility “as was previously attempted.” (Id.) In        pain.” (Id.) Plaintiff stated that the right side of his face
the alternative, Plaintiff sought a referral from Dr. Patel to a     continued to be “swollen, non-symmetrical and distorted, and
more knowledgeable reconstructive surgeon in the New York            causing Grievant bouts of depression and anxiety attacks
City area for the purpose of closing the opening in his palate       making same known to Mental Health Services Personnel to
and “whatever the reconstructive surgeon deems appropriate           no avail.” (Id.) In the section entitled “Action Requested by
with the approval of the facility health service director Dr.        Inmate,” Plaintiff sought a fourth surgical procedure to correct
Wladyslaw Sidorowicz.” (Id.)                                         his right-side facial features, which he said “remain[ed] non-
                                                                     symmetrical and distorted.” (Id.) In the alternative, Plaintiff
 *3 The IGRC responded to Grievance 21235, stating                   sought a recommendation from Dr. Patel and Dr. Sidorowicz
that Plaintiff's medical concerns could be addressed with            that Plaintiff “be transported to a New York City area
a specialist “as he was provided for follow-up with                  hospital that specializes in repairing and correcting facial
reconstruction plastic surgeon.” (Id. at Bates No. COLON             features.” (Id.)
00905.) Plaintiff disagreed with the response and appealed
to the Superintendent. (Id.) On March 18, 2014, the                  The IGRC responded to Grievance 21389, stating, inter
Superintendent accepted Grievance 21235 to the extent of             alia, with respect to Plaintiff's face-related complaints
stating, “Investigation reveals grievant is receiving proper         that Plaintiff's medical concerns could be addressed with
medical care at this facility and is approved for outside            a specialist “as he was provided for follow-up with
specialist medical care. Grievant is advised to address his          reconstruction plastic surgeon.” (Id. at Bates No. COLON
medical concerns with facility and/or outside specialist.” (Id.      00947.) The Grievance was forwarded to the Superintendent
at Bates No. COLON 00912.) Plaintiff timely appealed the             for action by the Grievance Clerk. (Id.) On August 26, 2014,
Superintendent's disposition to CORC. (Id.) On August 6,             the Superintendent accepted Grievance 21389, again, to the
2014, CORC upheld the determination of the Superintendent.           extent of stating, “Investigation reveals grievant is receiving
(Id. at Bates No. COLON 00913.) CORC explained, inter                proper medical care at this facility. Grievant is approved for
alia, that with respect to the appeal, Plaintiff had not presented   surgery and will be evaluated for medical needs again after
“sufficient evidence to substantiate improper medical care or        surgery is completed.” (Id. at Bates No. COLON 00946.)
malfeasance by staff.” (Id.) CORC advised Plaintiff to address       Plaintiff timely appealed the Superintendent's disposition to
concerns regarding outside medical care to that entity, mental       CORC. (Id.) On January 21, 2015, CORC rejected Plaintiff's
health issues to the Office of Mental Health (“OMH”), and            medical complaints through May 2014 as untimely, and
medical concerns via sick call. (Id.) CORC rejected Plaintiff's      otherwise upheld the determination of the Superintendent.
complaints regarding medical care prior to 2014 as untimely.         (Id. at Bates No. COLON 00948.) CORC again explained,
(Id.)                                                                inter alia, that with respect to the appeal, Plaintiff had
                                                                     not presented “sufficient evidence to substantiate improper
                                                                     medical care or malfeasance by staff,” and advised Plaintiff to
                                                                     address concerns regarding outside medical care to that entity,
                     ii. Grievance 21389
                                                                     mental health issues to OMH, and medical concerns via sick
Following his third surgery, on or about August 7, 2014,             call. (Id.)
Plaintiff filed Grievance SUL 21389/14, dated August 5, 2014
(“Grievance 21389”). (State Defs.' 56.1 ¶ 14; Turkle Decl.



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 142 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

                                                                  (1) or 12(b)(6). (See ECF Nos. 58 (State Defendants), 68
                                                                  (Medical Defendants).)
                   iii. Other Grievances

Other than Grievances 21235 and 21389, Plaintiff admits           By Opinion and Order dated September 15, 2017 (“9/15/17
that he did not file any other inmate grievances relating to      Order”), the Court granted Defendants' motions to dismiss
medical treatment for his face and jaw injuries sustained         in part and denied them in part. (ECF No. 79.) The
as a result of the September 22, 2013, assault prior to           Court dismissed Plaintiff's federal claims brought against
commencing this action. (State Defs. 56.1¶ 25; Plaintiff's        the State Defendants pursuant to Title II of the Americans
Rule 56.1 Counter-Statement (ECF No. 130) ¶ 25.)                  with Disabilities Act, 42 U.S.C. §§ 12101 et seq., and the
Nonetheless, in his Memorandum of Law in Opposition               Rehabilitation Act of 1973, 29 U.S.C. §§ 701 et seq., for
to Defendant Sidorowicz's Motion for Summary Judgment,            failure to state a claim. (9/15/17 Order 22.) The Court also
Plaintiff references a third grievance filed on April 27,         dismissed Plaintiff's state law claims as asserted against the
2015, “that further described his ongoing serious medical         State Defendants pursuant to New York Correction Law §
condition ..., [wherein he alleged] that even after three         24 for lack of subject-matter jurisdiction. (Id.) However,
reconstructive surgeries, the ‘right side of his face continues   Plaintiff's Section 1983 claims alleging violations of his
[sic] swollen and sore causing grievant to experience periodic    Eighth and Fourteenth Amendment rights by Sidorowicz and
anxiety attacks and many sleepless nights.’ ” (Plaintiff's        the Sullivan Medical Does survived in their entirety. (Id.)
Memorandum in Opposition to Defendant Sidorowicz's                As to the Medical Defendants, while the Court dismissed
Motion for Summary Judgment (“Pl. Mem. Opp. Sidorowicz            Plaintiff's claim against them for ordinary negligence as
Mot.”) (ECF No. 129) 7 (quoting Turkle Decl. Ex. 10               duplicative of Plaintiff's medical malpractice claim, the
at Bates No. COLON 01046).). Grievance SUL 21696/15               medical malpractice claim and Plaintiff's request for punitive
(“Grievance 21696”) declared that Plaintiff's medical issues      damages survived. (Id.) The Court determined that it could,
arising from his reconstructive surgeries “need to be             and did, exercise supplemental jurisdiction pursuant to 28
addressed and resolved by reconstructive surgeons at AMC,         U.S.C. § 1367(a) over Plaintiff's state law claims against
or elsewhere.” (Turkle Decl. Ex. 10 at Bates No. COLON            Medical Defendants. (Id. 19.) After the 9/15/17 Order, the
01046.) Plaintiff asked that Defendant Sidorowicz “seriously      only remaining claims in this action are (1) Plaintiff's Section
consider and request for approval and medical intervention        1983 claim against Defendant Sidorowicz and the Sullivan
from DOCCS Central Office Division of Health Services             Medical Does, who have not been identified or served, and
and evaluate grievant for possible corrective surgery.” (Id. at   (2) Plaintiff's medical malpractice claim against the Medical
Bates No. COLON 01047.)                                           Defendants.

 *4 Grievance 21696 was denied by the IGRC and the                In the 9/15/17 Order, the Court declined to consider
Superintendent, and Plaintiff appealed to CORC. (Id. at           documentary evidence submitted by the State Defendants
Bates No. COLON 01048–51.) On February 10, 2016,                  on the issue of whether Plaintiff had exhausted his claims
after the commencement of this action, CORC rejected as           through the prison grievance process prior to bringing a
untimely Plaintiff's claims prior to 2015 and otherwise upheld    suit in federal court, as required under the Prison Litigation
the determination of the Superintendent. (Id. at Bates No.        Reform Act of 1995 (“PLRA”). (Id. 11.) The Court noted
COLON 01045.)                                                     that Defendants would be permitted to request that discovery
                                                                  commence with issues such as exhaustion, and that they
                                                                  could seek leave to move for summary judgment on that
II. Procedural History                                            discrete issue, should such a motion be non-frivolous, once
Plaintiff commenced this lawsuit in forma pauperis and pro        that portion of the discovery process had been completed. (Id.
se on September 18, 2015. (See Compl., ECF No. 2.) Counsel        11 n.6.)
appeared on his behalf on February 16, 2016. (ECF No.
34.) Plaintiff, assisted by counsel, amended his complaint        Accordingly, by letter dated May 2, 2018, State Defendants
on August 15, 2016. (See Am. Compl., ECF No. 41.) State           sought leave to move for summary judgment dismissing
Defendants and Medical Defendants subsequently moved to           Plaintiff's Section 1983 claims against Defendant Sidorowicz
dismiss the Amended Complaint pursuant to Rules 12(b)             on the grounds that Plaintiff failed to exhaust such claims.
                                                                  (ECF No. 111.) Briefing of the motion was completed on



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 143 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

February 1, 2019. (ECF Nos. 123–132.) On March 5, 2019,              element essential to that party's case.” Celotex, 477 U.S. at
Medical Defendants separately moved for summary judgment             322.
seeking dismissal of Plaintiff's medical malpractice claims
against them on jurisdictional grounds, should the Court grant       Critically, in an opposition to a motion for summary judgment
State Defendants' motion and dismiss the only federal cause          “[s]tatements that are devoid of any specifics, but replete
of action remaining in this case. (ECF No. 137.) Also on             with conclusions” will not suffice. Bickerstaff v. Vassar Coll.,
March 5, 2019, Plaintiff moved to serve a late certificate of        196 F.3d 435, 452 (2d Cir. 1999); see also Matsushita Elec.
merit on Medical Defendants in connection with his state law         Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)
medical malpractice claim. (ECF No. 139.)                            (nonmoving party “must do more than simply show that there
                                                                     is some metaphysical doubt as to the material facts”); FDIC
                                                                     v. Great Am. Ins. Co., 607 F.3d 288, 292 (2d Cir. 2010)
                                                                     (nonmoving party “may not rely on conclusory allegations or
                   LEGAL STANDARDS
                                                                     unsubstantiated speculation”) (quoting Scotto v. Almenas, 143
I. Summary Judgment                                                  F.3d 105, 114 (2d Cir. 1998)).
 *5 Pursuant to Rule 56 of the Federal Rules of Civil
Procedure, summary judgment is appropriate “if the movant
                                                                     II. The New York Certificate of Merit Requirement
shows that there is no genuine dispute as to any material fact
                                                                     Under New York law, “[i]n any action for medical ...
and the movant is entitled to judgment as a matter of law.”
                                                                     malpractice, the complaint shall be accompanied by a
Fed. R. Civ. P. 56(a). The moving party bears the initial burden
                                                                     certificate, executed by the attorney for the plaintiff, declaring
of pointing to evidence in the record, “including depositions,
                                                                     that: (1) the attorney has reviewed the facts of the case and
documents ... [and] affidavits or declarations,” see Fed. R.
                                                                     has consulted with at least one physician ... who is licensed to
Civ. P. 56(c)(1)(A), “which it believes demonstrate[s] the
                                                                     practice in this state or any other state and who the attorney
absence of a genuine issue of material fact,” Celotex Corp.
                                                                     reasonably believes is knowledgeable in the relevant issues
v. Catrett, 477 U.S. 317, 323 (1986). The moving party may
                                                                     involved in the particular action, and that the attorney has
support an assertion that there is no genuine dispute of a
                                                                     concluded on the basis of such review and consultation that
particular fact by “showing ... that [the] adverse party cannot
                                                                     there is a reasonable basis for the commencement of such
produce admissible evidence to support the fact.” Fed. R.
                                                                     action ...” N.Y. C.P.L.R. § 3012-a(a)(1). This requirement is
Civ. P. 56(c)(1)(B). If the moving party fulfills its preliminary
                                                                     inapplicable to plaintiffs who are proceeding pro se. Id. §
burden, the onus shifts to the nonmoving party to raise the
                                                                     3012-a(f).
existence of a genuine issue of material fact. Fed. R. Civ. P.
56(c)(1)(A); Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
                                                                     The Second Circuit has not yet determined whether the
252 (1986).
                                                                     requirement of a certificate of merit in a medical malpractice
                                                                     action is a substantive or procedural requirement. However,
A genuine dispute of material fact exists when “the evidence
                                                                     a number of district courts in this Circuit have held that
is such that a reasonable jury could return a verdict for
                                                                     “[a] state statute requiring a certificate of merit—such as
the nonmoving party.” Anderson, 477 U.S. at 248; accord
                                                                     N.Y. C.P.L.R. § 3012-a(a)—is substantive law that applies
Gen. Star Nat'l Ins. Co. v. Universal Fabricators, Inc., 585
                                                                     in a federal diversity action.” Crowhurst v. Szczucki, 16-
F.3d 662, 669 (2d Cir. 2009). Courts must “draw all rational
                                                                     cv-00182(JGK), 2017 WL 519262, at *3 (S.D.N.Y. Feb.
inferences in the non-movant's favor,” while reviewing the
                                                                     8, 2017) (citing Finnegan v. Univ. of Rochester Med.
record. Kirkland v. Cablevision Sys., 760 F.3d 223, 224 (2d
                                                                     Ctr., 180 F.R.D. 247, 249 (W.D.N.Y. 1998)); see E.L.A. v.
Cir. 2014) (citing Anderson v. Liberty Lobby, Inc., 477 U.S.
                                                                     Abbott House, 16-cv-1688(RMB), 2018 WL 3104631, at *5
242, 248 (1986)). Importantly, “the judge's function is not
                                                                     (S.D.N.Y. March 27, 2018); Sanchez v. New York Correct
himself to weigh the evidence and determine the truth of the
                                                                     Care Solutions Med. Servs., P.C., 16-cv-6826(CJS), 2018
matter,” nor is it to determine a witness's credibility. Id. at
                                                                     WL 6510759, at *12 (W.D.N.Y. Dec. 11, 2018); see also
249. Rather, “the inquiry performed is the threshold inquiry
                                                                     Frierson v. United States, 5:17-cv-247, 2019 WL 2601692,
of determining whether there is the need for a trial.” Id. at 250.
                                                                     at *2 (D. Vt. June 25, 2019) (holding that similar Vermont
Summary judgment should be granted when a party “fails to
                                                                     statute requiring filing of certificate of merit with complaint in
make a showing sufficient to establish the existence of an
                                                                     medical malpractice actions created a substantive requirement



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 144 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

equally applicable in the context of medical malpractice          2015) (quoting Hernandez v. Coffey, 582 F.3d 303, 305 (2d
claims under the Federal Tort Claims Act).                        Cir. 2009)) (internal quotation marks and citations omitted).
                                                                  “[B]ecause ‘it is the prison's requirements, and not the PLRA,
                                                                  that define the boundaries of proper exhaustion[,] ... [t]he
                                                                  exhaustion inquiry ... requires that [the court] look at the state
                       DISCUSSION
                                                                  prison procedures and the prisoner's grievance to determine
I. Defendant Sidorowicz's Motion                                  whether the prisoner has complied with those procedures.’ ”
 *6 Plaintiff alleges that he made complaints to Defendant        Espinal v. Goord, 558 F.3d 119, 124 (2d Cir. 2009) (quoting
Sidorowicz and the Sullivan Medical Does following his            Jones v. Bock, 549 U.S. 199, 218 (2007)). Similarly, “[t]he
facial surgeries, and that their “response to Plaintiff's         level of detail necessary in a grievance to comply with the
complaints of serious medical needs were not reasonable           grievance procedures will vary from system to system and
to the pain and suffering he experienced.” (Am. Compl.            claim to claim,” because “it is the prison's requirements,
¶¶ 37–38, 45–46.) Based on the foregoing, Plaintiff states        and not the PLRA, that define the boundaries of proper
that Defendant Sidorowicz and the Sullivan Medical Does           exhaustion.” Jones, 549 U.S. at 218. In order to properly
were “deliberately indifferent to the physical and emotional      exhaust his claims, a plaintiff must invoke all available
pain and suffering Plaintiff experienced.” (Id. ¶ 57.) These      administrative mechanisms, including appeals, “through the
Defendants' alleged deliberate indifference forms the basis of    highest level for each claim.” Varela v. Demmon, 491 F. Supp.
Plaintiff's claim that he was deprived of his rights under the    2d 442, 447 (S.D.N.Y. 2007). An inmate's filing of a grievance
Eighth and Fourteenth Amendment, in violation of Section          rejected as untimely does not constitute proper exhaustion.
1983. (Id. ¶¶ 58–59.) Defendant Sidorowicz seeks summary          Woodford v. Ngo, 548 U.S. 81, 83–84 (2006).
judgment dismissing Plaintiff's federal claims under Section
1983 against him on the ground that Plaintiff failed to exhaust   A court may not excuse a failure to exhaust, even to take
his claims through the prison grievance process prior to          “special circumstances” into account. Ross v. Blake, 136 S. Ct.
bringing a suit in federal court. Plaintiff argues (1) that by    1850, 1856 (2016). However, a prisoner cannot be required
filing and appealing Grievances 21235, 21389, and 21696,          to exhaust administrative remedies that are not available to
he exhausted his administrative remedies, and (2) that to the     him. Id. at 1858. “[A]n inmate is required to exhaust those,
extent he did not exhaust, he must be excused because no          but only those, grievance procedures that are ‘capable of
grievance procedure was available to him. For the reasons that    use’ to obtain ‘some relief for the action complained of.’ ”
follow, the Court grants Defendant Sidorowicz's motion.           Id. at 1859 (quoting Booth v. Churner, 532 U.S. 731, 738
                                                                  (2001)). An administrative procedure is “unavailable” in this
                                                                  respect (1) when it operates as a simple dead end, with
   a. Exhaustion within DOCCS' Inmate Grievance                   officers unable or consistently unwilling to provide any relief
   System                                                         to aggrieved inmates; (2) when it is so opaque that no ordinary
Under the PLRA, “[n]o action shall be brought with respect        prisoner can discern or navigate it; and (3) when prison
to prison conditions under [42 U.S.C. § 1983] or any other        administrators thwart inmates from taking advantage of a
federal law, by a prisoner confined in any jail, prison, or       grievance process through machination, misrepresentation, or
other correctional facility until such administrative remedies    intimidation. Ross, 136 S. Ct. at 1859–60; see also Williams
as are available are exhausted.” 42 U.S.C. § 1997e(a). “The       v. Priatno, 829 F.3d 118, 123 n.2 (2d Cir. 2016) (opining that
PLRA's exhaustion requirement ‘applies to all inmate suits        the foregoing circumstances “do not appear to be exhaustive,”
about prison life, whether they involve general circumstances     but declining to describe what other circumstances might
or particular episodes, and whether they allege excessive         render an otherwise available administrative remedy actually
force or some other wrong.’ ” Giano v. Goord, 380 F.3d 670,       incapable of use).
675 (2d Cir. 2004) (quoting Porter v. Nussle, 534 U.S. 516,
532 (2002)).                                                       *7 It is the defendant's burden to demonstrate that a
                                                                  plaintiff's claim is not properly exhausted. Key v. Toussaint,
Exhausting all remedies “means using all steps that the           660 F. Supp. 2d 518, 523 (S.D.N.Y. 2009). Where a prisoner
agency holds out, and doing so properly (so that the agency       has failed to exhaust some, but not all, of the claims included
addresses the issues on the merits).” Washington v. Chaboty,      in the complaint, the PLRA does not require dismissal of the
No. 09 Civ. 9199, 2015 WL 1439348, at *6 (S.D.N.Y. Mar. 30,       entire complaint. Tafari v. Hues, 539 F. Supp. 2d 694, 697



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 145 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

(S.D.N.Y. 2008) (citing Jones, 549 U.S. at 219–24); see also       2011)). Ultimately, in order to exhaust under the PLRA,
Arnold v. Goetz, 245 F. Supp. 2d 527, 531 (S.D.N.Y. 2003)          a prisoner must allege facts sufficient to allow DOCCS
(“the PLRA's exhaustion requirement is not jurisdictional in       to take appropriate responsive measures. See Johnson v.
nature”); accord Richardson v. Goord, 347 F.3d 431, 434            Testman, 380 F.3d 691, 697 (2d Cir. 2004), overruled on
(2d Cir. 2003). Instead, the court dismisses the unexhausted       other grounds by Woodford, 548 U.S. 81; see also Espinal,
claims and proceeds to adjudicate the ones that are exhausted.     558 F.3d at 126 (“The point is that prison officials ha[ve]
Jones, 549 U.S. at 224.                                            the necessary information to investigate the complaints and
                                                                   the opportunity to learn which officers were involved in the
For purposes of the PLRA, a person detained or incarcerated        alleged incident.”); Brownell v. Krom, 446 F.3d 305, 310 (2d
at a DOCCS facility must exhaust all of the steps of the           Cir. 2006) (noting that a grievance “may not be so vague as
IGRP. See Robinson v. Henschel, No. 10 Civ. 6212, 2014             to preclude prison officials from taking appropriate measures
WL 1257287, at *10 (S.D.N.Y. Mar. 26, 2014) (“the PLRA             to resolve the complaint internally”).
requires complete exhaustion”) (internal quotation marks and
citations omitted). As the Court has noted, the IGRP provides
a three-tiered process for adjudicating inmate complaints:            b. Availability of Administrative Remedies to Plaintiff
(1) the prisoner files a grievance with the IGRC, (2) the           *8 As a preliminary matter, the Court rejects Plaintiff's
prisoner may appeal an adverse decision by the IGRC to             argument that he was excused from exhausting his
the Superintendent of the facility, and (3) the prisoner may       administrative remedies because the DOCCS grievance
appeal an adverse decision by the Superintendent to CORC.          process was not available to him. (See Pl. Mem. Opp.
See Espinal, 558 F.3d at 125; see also 7 N.Y. Comp. Codes          Sidorowicz Mot. 9–10.) There is no record evidence that
R. & Regs. § 701.5; but see Williams, 829 F.3d at 126 (“the        the IGP is a “simple dead end” and “unable” to provide
process to appeal an unfiled and unanswered grievance is           relief to Plaintiff, Ross, 136 S. Ct. at 1859, or that it is “so
prohibitively opaque, such that no inmate could actually make      opaque that it” is “incapable of use” such that “no ordinary
use of it,” making that portion of the process, “practically       prisoner can discern or navigate it,” id. Plaintiff presents no
speaking, incapable of use” pursuant to the Supreme Court's        serious argument to the contrary. Rather, Plaintiff asserts (1)
guidance in Ross, 136 S. Ct. at 1859). Grievances must be          that he was physically unable to file grievances while he
filed within 21 days of the complained of conduct. N.Y.            recovered from his first reconstructive surgery in the Sullivan
Comp. Codes R. & Regs., tit. 7, § 701.5(a)(1).                     infirmary, (Pl. Mem. Opp. Sidorowicz Mot. 10), and (2) that
                                                                   he was thwarted from taking advantage of the IGP by the
The IGP regulations provide that a grievance submitted by          machinations of Gary Terbush, Sullivan's IGRP coordinator,
an inmate should “contain a concise, specific description          (id. 9–10).
of the problem and the action requested and indicate what
actions grievant has taken to resolve the complaint.” N.Y.         As to Plaintiff's first assertion, Plaintiff, who is legally blind,
Comp. Codes R. & Regs., tit. 7, § 701.5(a)(2). “The mere           testified that he relied on others to draft his grievances
fact that plaintiff has filed some grievance, and fully appealed   for him. (Declaration of Keith Szczepanski in Opposition
all decisions on that grievance, does not automatically            to Defendant Sidorowicz's Motion for Summary Judgment
mean that he can now sue anyone who was in any way                 (“Szczepanski Decl. Opp. Sidorowicz Mot.”) Ex. 2 at 27, 55,
connected with the events giving rise to that grievance.”          192.) Law clerks were purportedly unavailable to Plaintiff
Turner v. Goord, 376 F. Supp. 2d 321, 324 (W.D.N.Y. 2005).         while he was in the Sullivan infirmary, and no other inmate
However, “[b]ecause New York's IGP does not articulate             was available to assist Plaintiff in drafting his grievances. (Id.
an identification requirement, it is plain that a New York         at 27, 55.) Plaintiff does not explain why law clerks could
State prisoner is not required to name responsible parties         not be made available in the infirmary or state that he ever
in a grievance in order to exhaust administrative remedies.”       requested one in order to file a grievance while confined to
Espinal, 558 F.3d at 126. Moreover, “a claim may be                the infirmary. In any event, Plaintiff averred in his deposition
exhausted when it is closely related to, but not explicitly        that he was released from the infirmary in late October or
mentioned in an exhausted grievance.” Barnes v. Annucci,           early November of 2013, and that he could not file a grievance
No. 9:15-CV-0777 (GLS/DEP), 2019 WL 1387460, at *10                until after that. (Id. at 55–56.) However, the Court's review
(N.D.N.Y. March 12, 2019) (quoting Simmons v. Robinson,            of administrative records submitted by Defendant Sidorowicz
No. 07-CV-7383, 2011 WL 31066, *4 (S.D.N.Y. Jan. 4,                reveals that Plaintiff was able to, and did in fact, file a
                                                                   grievance as early as October 4, 2013, approximately one


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 146 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

week after his surgery. (Mallozzi Decl. Ex. B at Bates No.        somehow lost or destroyed were insufficient to establish
                 3
COLON 00819.) Moreover, even if Plaintiff's assertion that        a genuine issue of fact as to availability of IGP where
he could not file grievances from the infirmary were true,        plaintiff had successfully used IGP on 39 previous occasions);
he provides no explanation as to why he waited until nearly       Mckinney v. Prack, 170 F. Supp. 3d 510, 517 (W.D.N.Y.
five months after his release, after a second facial surgery      2016) (holding that plaintiff's allegation that IGP Deputy
had been performed, to formally complain about the medical        Superintendent refused to process his grievances did not
treatment he received following his first facial surgery. (See    create issue of fact as to availability of IGP where the record
Turkle Decl. Ex. 3.)                                              showed that he appealed and exhausted approximately 20
                                                                  grievances during his 29 years of incarceration). From the
3                                                                 date of his assault, September 22, 2013, through the date
       The October 4, 2013, grievance is entitled “Not
                                                                  when he commenced this action, September 18, 2015, alone,
       Provided with Mobility Guidance” in the IGP
                                                                  plaintiff filed and fully appealed 27 grievances to CORC.
       records. (Mallozzi Decl. Ex. B at Bates No.
                                                                  (Mallozzi Decl. ¶ 10.)
       COLON 00819.)
Plaintiff also states that he attempted to file “numerous”         *9 Plaintiff's self-serving and unsupported assertion that he
grievances regarding his medical complaints and Defendant         filed additional grievances that Terbush refused to process is
Sidorowicz's alleged deliberate indifference to them, but         insufficient to establish a genuine issue of material fact as
was precluded from doing so by Gary Terbush, Sullivan's           to the availability of the IGP to Plaintiff. See Davis, 2019
IGRP coordinator, who allegedly refused to accept Plaintiff's     WL 498277, at *10 (plaintiff's statements that his grievance
grievances and would regularly “trash” grievances made            was lost or destroyed, which stood alone and unsupported,
against medical or correctional staff. (Szczepanski Decl. Opp.    did not warrant exception to exhaustion requirement); Engles
Sidorowicz Mot. Ex. 2 at 27–28.) On February 12, 2015,            v. Jones, No. 13-CV-6461, 2018 WL 6832085, at *10
Plaintiff filed Grievance SUL 21579/15 (“Grievance 21579”),       (W.D.N.Y. Dec. 28, 2018) (granting summary judgment to
complaining that Terbush maintained an “unofficial custom,        defendants for failure to exhaust where there was no record
policy and practice of not allowing the inmate grievance clerk    of plaintiff filing his grievance and plaintiff merely alleged
to process inmate grievance complaints that are not to his        without any documentary support that his grievance was
liking.” (Szczepanski Decl. Opp. Sidorowicz Mot. Ex. 1 at         lost or destroyed); Scott v. Kastner-Smith, 298 F. Supp.
2.) Plaintiff did not elaborate on this assertion, but included   3d 545, 555 (W.D.N.Y. 2018) (“[C]ourts have consistently
a list of five other inmates that he alleged were “just a few     held ... that an inmate's general claim that his grievance
of Mr. TerBush's many victims.” (Id.) However, neither in         was lost or destroyed does not excuse the exhaustion
Grievance 21579 nor at his deposition does Plaintiff identify     requirement.”). In addition, even assuming that Plaintiff filed
a single specific grievance, on any subject, that was not         other grievances that were not processed, he “could have
processed by Terbush. (See Reply Declaration of Bruce J.          re-filed any grievance or sought to appeal his grievance
Turkle in Further Support of Defendant Sidorowicz's Motion        when he did not receive a favorable response” after filing
for Summary Judgment Ex. 1 78–80, 84, 159, 160, 162–63.)          his initial grievance. Mckinney, 170 F. Supp. 3d at 517; see
                                                                  King, 2019 WL 4519692, at *9; Parker v. McIntyre, No. 11-
Plaintiff's allegations are not rendered more convincing by the   CV-865, 2014 WL 5432153, at *3 (W.D.N.Y. Oct. 27, 2014);
fact that Plaintiff properly adhered to the IGP's exhaustion      see also N.Y. Comp. Codes R. & Regs., tit. 7, § 701.8(g)
requirements in some 320 other instances, (Mallozzi Decl. ¶       (“If the superintendent fails to respond within the required
8), both before and after the period at issue in this action,     25 calendar day time limit the grievant may appeal his/her
in which he filed and fully appealed grievances to CORC.          grievance to CORC.”).
See King v. Puershner, No. 17-CV-1373 (KMK), 2019 WL
4519692, at *9–*10 (S.D.N.Y. Sept. 19, 2019) (holding that        Considering Plaintiff's unsupported allegations of
there was no dispute of fact as to whether grievance process      interference by Superintendent Terbush, along with evidence
was “available” to plaintiff where he successfully filed and      that Plaintiff has successfully used the IGP to its fullest
appealed to CORC 48 other grievances during his time in           extent on 320 other occasions, and Plaintiff's failure to re-
prison); Davis v. Grant, No. 15-CV-5359 (KMK), 2019 WL            file or appeal the purportedly “trashed” grievances, the Court
498277, at *9–*10 (S.D.N.Y. Feb. 8, 2019) (holding that           concludes that no exception to the exhaustion requirement
plaintiff's assertions that his grievances and appeals were       applies.



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 147 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

                                                                   in deliberate indifference against prison medical staff where
                                                                   “grievance alleged nothing more than one discrete instance
   c. Exhaustion of Section 1983 Claims                            of maltreatment” at the hands of a single nurse); Sanchez
The only question remaining is whether Plaintiff exhausted         v. Fischer, 03-cv-4433(GBD), 2005 WL 1021178 (S.D.N.Y.
his claims against Defendant Sidorowicz by filing Grievances       May 2, 2005) (dismissing inmate's Eighth Amendment claim
21235, 21389, and 21696.                                           against doctor who erroneously prescribed AZT to inmate,
                                                                   who did not have HIV, after inmate ingested a used bandage
As to the first of these, Plaintiff contends that Grievance        where grievance did not allege that doctor failed to treat
21235, dated February 27, 2014, “documented the continued          him properly); Evan v. Manos, 336 F. Supp. 2d 255,
serious medical conditions ignored by Sullivan's medical           259 (W.D.N.Y. 2004) (dismissing inmate's claims against
staff, including Dr. Sidorowicz.” (Pl. Mem. Opp. Sidorowicz        dentist for failure to exhaust because “there [wa]s simply
Mot. 6.) However, the issue before the Court is not whether        no suggestion anywhere in plaintiff's grievance that [the
Plaintiff merely documented his serious medical condition,         dentist] ... had failed to provide him with adequate dental
but whether he alleged sufficient facts with respect to the        care”). This is consistent with Plaintiff's testimony that the
alleged inadequate medical treatment provided by Sullivan          allegations contained in Grievance 21235 did not concern the
medical staff to allow DOCCS to take appropriate responsive        conduct of Defendant Sidorowicz that is the subject of the
measures. Grievance 21235 describes Plaintiff's assault,           amended complaint. (Turkle Decl. Ex. 1 103–104.)
first surgery, and the subsequent discovery by Dr. Agag
that the hardware Defendant Patel installed in Plaintiff's          *10 In contrast, numerous grievances submitted by Plaintiff
mouth had caused an opening, necessitating a second                on other occasions specifically reference medical decisions
surgery. (Turkle Decl. Ex. 3 at Bates No. COLON 00908–             made by, and actions taken by, Defendant Sidorowicz. (See
09.) It also describes the serious medical complications           Turkle Decl. Ex. 4 at Bates No. COLON 00922–23 (“Dr.
Plaintiff continued to have following his surgeries, and           Sidorowicz [sic] decision to discontinue grievant [sic] pain
Plaintiff's wish for further surgical intervention to resolve      management medication amounts to Cruel and Unusual
these complications. (Id.) It does not, however, describe          Punishment ...”); Id. Ex. 5 at Bates No. COLON 00942–43
any complaint against Sullivan medical staff relating to the       (“To this date, Dr. Wladyslaw Sidorowicz has done nothing to
treatment they provided him with following his surgeries.          accommodate grievant's medical eyesight needs ...”); Id. Ex. 6
Plaintiff's only reference to any Sullivan medical staff appears   at Bates No. COLON 01030 (requesting that “Dr. Sidorowicz
in the “Action Requested by Inmate” section, wherein               reconsider his decision to deny grievant possession of his
Plaintiff seeks a referral from the dentist at Sullivan to         asthmatic inhalant,” among other things).) That Plaintiff was
an oral surgeon at Sing Sing Correctional Facility “as was         apparently well-versed in grieving inadequate medical care on
previously attempted,” and in the alternative, a referral from     the part of Defendant Sidorowicz suggests that he was aware
Dr. Patel to a more knowledgeable reconstructive surgeon           that he could make such specific complaints but declined
for the purpose of closing the opening in his palate and           to do so in Grievance 21235. In any event, contrary to
“whatever the reconstructive surgeon deems appropriate             Plaintiff's assertions, no straightforward reading of Grievance
with the approval of the facility health service director Dr.      21235 permits the conclusion that Plaintiff was “describing
Wladyslaw Sidorowicz.” (Id.)                                       the deliberate indifference of Sullivan ... medical officials,
                                                                   including [D]efendant Sidorowicz, to his serious medical
Plaintiff is correct in asserting that he was not required to      condition.” (Pl. Mem. Opp. Sidorowicz Mot. 1.) Nor is the
name Defendant Sidorowicz in his grievances in order to            Court persuaded that the content of Grievance 21235 would
exhaust his administrative remedies. Nonetheless, Plaintiff        trigger any investigation into the deliberate indifference of
was required to provide the information necessary for              Sullivan medical staff. See Robinson v. Knibbs, No. 16-
prison officials to investigate his complaints of deliberate       cv-03826 (NSR), 2019 WL 2578240, at *8 (S.D.N.Y. June
indifference “and the opportunity to learn which officers were     24, 2019) (plaintiff's grievances did not provide enough
involved in the alleged incident[s].” Espinal, 558 F.3d at         information for officials to investigate his claim that the
126. Nothing in the relevant sections of Grievance 21235           defendant denied the Percocet prescribed by his orthopedist
suggests that Plaintiff ever complained of his injuries to         by threatening him with confinement in the Solitary Housing
Defendant Sidorowicz or any other Sullivan employee and            Unit where such forms complained only that prison health
was ignored or received an inadequate response. See Turner,        staff had not done anything to treat his pain and that certain
376 F. Supp. 2d at 325 (dismissing inmate's claims sounding


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 148 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

medical personnel failed to properly administer sufficient          234 (2d Cir. 2012), for the proposition that “a single grievance
medical attention).                                                 identifying two years of a ‘specific and continuing complaint
                                                                    that ultimately becomes the basis of a lawsuit’ meets the
Grievance 21389, filed on August 5, 2014, is similar in many        requirements of the PLRA,” (Pl. Mem. Opp. Sidorowicz Mot.
respects to Grievance 21235. It contains the same recitation        8 (citing Johnson, 680 F.3d at 238–39)), Johnson’s holding
of Plaintiff's assault and first surgery, his December 2013         applied to a complaint that continued after Plaintiff had timely
examination by Dr. Agag, and his second surgery. (Turkle            filed a grievance. The plaintiff in Johnson did not attempt
Decl. Ex. 5 at Bates No. COLON 00944.) Plaintiff then               to argue that complaints predating his grievance by several
proceeds to describe the complications that remained after his      months should be deemed timely because they arose from
second surgery, and his third surgery in May of 2014, which         the same nucleus of facts as those complaints timely asserted
Plaintiff contends he had to undergo due to Defendant Patel's       in his grievance. Furthermore, the Second Circuit cautioned
substandard medical care. (Id. at Bates No. COLON 00944–            that it did not hold “that generalized complaints regarding the
45.) For the reasons discussed above, these allegations do not      conditions of an inmate's confinement will suffice to shortcut
suffice to exhaust Plaintiff's deliberate indifference claim.       the administrative remedy process.” Johnson, 680 F.3d at 239.
                                                                    Plaintiff may not bootstrap untimely complaints regarding his
Grievance 21389 contains three additional allegations that          medical treatment following his first and second surgeries to
distinguish it from Grievance 21235. First, Plaintiff describes     related, but distinct, complaints following his third surgery by
the pain he was in following his first surgery and states that      declaring that all such complaints comprised one specific and
such pain was “[a] fact made well known to the Sullivan             continuing grievance.
Correctional Facility medical staff.” (Id. at Bates No. COLON
00944.) Second, Plaintiff says that he was examined by Dr.           *11 Since CORC declined to address the merits of Plaintiff's
Agag in December 2013 only “after months of complaining             claims prior to May 10, 2014, and rejected such claims
to medical staff” at Sullivan. (Id.) Finally, Plaintiff says that   as untimely, Plaintiff failed to properly exhaust his claims
as a consequence of his facial injuries, he has suffered “bouts     arising from complaints he made prior to 2014, to the extent
of depression and anxiety attacks making same known to              such claims can be deemed to assert that Sullivan medical
Mental Health Services Personnel to no avail.” (Id. at Bates        staff did not appropriately respond to his medical needs. See
No. COLON 00945.)                                                   Colon v. Annucci, No. 17-cv-4445, 2018 WL 4757972, at
                                                                    *17 (S.D.N.Y. Sept. 28, 2018) (dismissing claim for failure to
In the Amended Complaint, Plaintiff alleges that Defendant          exhaust where “Plaintiff attached an exhibit to the Complaint
Sidorowicz and the Sullivan Medical Does were deliberately          clearly stating that the CORC found that ‘his allegations of
indifferent to his medical needs following his first facial         false misbehavior reports [we]re untimely’ and declined to
surgery on September 27, 2013, (Am. Compl. ¶¶ 37–38),               address them”) (citing Woodford, 548 U.S. at 83–84). In sum,
and his second surgery on January 29, 2014, (Am. Compl.             Plaintiff did not exhaust the deliberate indifference claims in
¶¶ 45–46.) Plaintiff states that his third surgery took place       this action by filing and fully appealing Grievance 21389.
on May 10, 2014, but he makes no allegations of deliberate
indifference following that date.                                   Grievance 21696, dated April 27, 2015, includes a recitation
                                                                    of Plaintiff's assault and three facial surgeries. (Turkle Decl.
In its decision disposing of Grievance 21389, CORC                  Ex. 10 at Bates No. COLON 01046.) The remainder of
specifically notes that Plaintiff's claims regarding medical        Grievance 21696 describes Plaintiff's continued medical
care “from 2013 to May 2014” were untimely, and “would              complaints following his surgeries and demands that
not be addressed in the instant complaint.” (Turkle Decl.           Plaintiff's medical issues be addressed and resolved by a
Ex. 5 at Bates No. COLON 00948.) Plaintiff's argues that            reconstructive surgeon. (Id. at Bates No. Colon 01046–47.)
in spite of this plain language, CORC “rendered decisions           Nothing in Grievance 21696 describes deliberate indifference
[on the merits] regarding plaintiff's ongoing serious medical       on the part of Defendant Sidorowicz and Sullivan medical
condition,” thus exhausting Plaintiff's claims dating back to       staff. Moreover, upon Plaintiff's appeal of Grievance 21696,
September of 2013. (Pl. Mem. Opp. Sidorowicz Mot. 12.)              CORC rejected “grievant's 2013 and 2014 allegations
Given CORC's explicit rejection of the portion of Plaintiff's       of assault and medical negligence [as] untimely.” Thus,
grievance preceding May 2014, this argument is meritless.           Grievance 21696 did not properly exhaust any of the
Moreover, while Plaintiff cites to Johnson v. Killian, 680 F.3d



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 149 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

deliberate indifference claims included in the Amended             Gibbs, 383 U.S. 715, 726 (1966)); see also Kolari v. New
Complaint.                                                         York-Presbyterian Hosp., 455 F.3d 118, 122 (2d Cir. 2006).

Because Plaintiff did not exhaust his Section 1983 claims           *12 With these considerations in mind, the Second Circuit
against Defendant Sidorowicz, and because administrative           has found that where a case has been long-pending and
remedies were available to Plaintiff, Defendant Sidorowicz's       presents no novel issues of state law, and where discovery has
motion for summary judgment dismissing the Amended                 been completed, dispositive motions have been submitted,
Complaint as against him is granted in its entirety.               and the case would soon be ready for trial, the exercise of
                                                                   supplemental jurisdiction in the absence of surviving federal
                                                                   law claims is appropriate. Catzin, 899 F.3d at 83; see Kroshnyi
II. Medical Defendants' Motion for Summary Judgment                v. U.S. Pack Courier Servs., Inc., 771 F.3d 93, 102 (2d Cir.
In light of the Court's dismissal of Plaintiff's claims against    2014) (citing Raucci v. Town of Rotterdam, 902 F.2d 1050,
Defendant Sidorowicz, Medical Defendants seek summary              1055 (2d Cir. 1990)) (affirming exercise of supplemental
judgment dismissing Plaintiff's medical malpractice claims         jurisdiction where case had been before the district court for
against them. Since Defendant Sidorowicz's motion has been         over six years, discovery was completed, dispositive motions
granted, there are no remaining federal claims in this action      had been submitted, and the case was nearly trial-ready);
and a lack of complete diversity. (See Medical Defendants'         Valencia ex rel. Franco v. Lee, 316 F.3d 299, 305–06 (2d Cir.
Memorandum in Support of Motion for Summary Judgment               2003) (collecting cases). Conversely, where federal claims are
(“Medical Defs' Mem.”) (ECF No. 146) 1–2.) Accordingly,            dismissed at a relatively early stage and the remaining claims
Medical Defendants argue that the Court should decline to          involve issues of state law that are unsettled, the Second
exercise supplemental jurisdiction over Plaintiff's medical        Circuit has concluded that the exercise of supplemental
malpractice claims, which are the only claims remaining in         jurisdiction is an abuse of discretion. Valencia ex rel. Franco,
this action. (Id. 2.)                                              316 F.3d at 306 (collecting cases).

Pursuant to the 9/15/17 Order, the Court possesses                 Here, although Plaintiff commenced his action on September
supplemental jurisdiction over Plaintiff's medical malpractice     18, 2015, over four years ago, his case has progressed
claims. Thus, the relevant inquiry is whether the Court should     slowly. After obtaining counsel, Plaintiff filed the Amended
exercise its discretion to discontinue its jurisdiction. See       Complaint on August 15, 2016, (ECF No. 41), and
28 U.S.C. § 1367(c) (providing that a district court “may          Defendants filed motions to dismiss on December 16, 2016,
decline to exercise supplemental jurisdiction” if one of four      and January 17, 2017, respectively, (ECF Nos. 58, 68.) On
circumstances applies); Catzin v. Thank You & Good Luck            September 15, 2017, the Court issued the 9/15/17 Order
Corp., 899 F.3d 77, 83 (2d Cir. 2018) (after dismissing            granting the motions in part and denying them in part.
federal claims, the “District Court only faced the discretionary   (ECF No. 79.) Defendants filed answers to the Amended
inquiry of whether to discontinue that jurisdiction”). Pursuant    Complaint in late October of 2017. (ECF Nos. 81, 83.) By
to 28 U.S.C. § 1367(c)(3), a federal court may properly            Plaintiff's own account, while the parties have made Rule
dismiss a claim for which it originally had supplemental           16 disclosures, served and answered interrogatories, and
jurisdiction if “the district court has dismissed all claims       exchanged preliminary paper discovery including Plaintiff's
over which it has original jurisdiction.” “Under this prong,       medical and prison records, the only deposition that has
and in a great many cases, the evaluation will usually             been conducted thus far was of plaintiff by counsel for
result in the dismissal of state-law claims.” Catzin, 899 F.3d     State Defendants and was limited to issues related to the
at 83. However, the fact that all federal law claims have          PLRA exhaustion requirements. (Plaintiff's Memorandum in
been eliminated prior to trial does not automatically render       Opposition to Medical Defendants' Motion for Summary
dismissal of state law claims appropriate. Id. Courts should       Judgment (“Pl.'s Mem. Opp. Medical Defs. Mot.”) (ECF
not decline to exercise supplemental jurisdiction based on any     No. 150) 6.) Accordingly, the parties have yet to complete
of the enumerated factors in 28 U.S.C. § 1367 unless they also     party depositions, potential non-party depositions, and expert
determine that exercising supplemental jurisdiction would not      discovery. (Medical Defs.' Mem. 3; Mandell Decl.¶ 10.)
promote the values of “economy, convenience, fairness and          Moreover, discovery has been stayed since October 15,
comity.” Jones v. Ford Motor Credit Co., 358 F.3d 205, 214         2018, pending the submission and disposition of the motions
(2d Cir. 2004) (citing United Mine Workers of America v.           presently before the Court. (ECF No. 117.)



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 150 of 221
Colón v. New York State Department of Corrections and..., Not Reported in Fed....
2019 WL 5294935

                                                                       Since the Court dismisses the Amended Complaint against
                                                                       Medical Defendants, it need not decide Plaintiff's motion
Plaintiff complains that having to re-file his claims in state
                                                                       for leave to a file a belated certificate of merit pursuant to
court would constitute a “significant setback,” asserting that
                                                                       N.Y. C.P.L.R. § 3012-a(a). Accordingly, Plaintiff's motion is
he is already almost 81-years-old. (Pl.'s Mem. Opp. Medical
                                                                       denied as moot.
Defs. Mot. 6.) While the Court is sympathetic to Plaintiff's
desire for an expeditious resolution to his claims given his
age, the fact remains that this case is far from trial-ready.
Plaintiff does not dispute this. In addition, to the extent that                              CONCLUSION
Plaintiff is concerned about the amount of paper discovery
that has already been exchanged, there is no reason that such           *13 For the foregoing reasons, Defendant Sidorowicz
discovery cannot be used in state court, without the necessity         and Medical Defendants' respective motions for summary
of making duplicative disclosures.                                     judgment are GRANTED, and the Amended Complaint is
                                                                       dismissed as against them. The Court's dismissal of Plaintiff's
In light of the dismissal of all federal claims from this              claims against Defendant Sidorowicz is with prejudice. The
action, the substantial discovery that remains outstanding, and        Court's dismissal of Plaintiff's medical malpractice claims is
the fact that Plaintiff's “medical malpractice claims against          without prejudice to properly refiling those claims in state
[Medical Defendants] involve quintessential state law issues           court. Plaintiff's motion for leave to serve a late certificate of
best resolved in a state forum,” Weathers v. Millbrook Central         merit is DENIED as moot.
Sch. Dist., 486 F. Supp. 2d 276 (S.D.N.Y. 2007), the Court, in
its discretion, declines to exercise supplemental jurisdiction         The Clerk of the Court is respectfully directed to terminate
over Plaintiff's medical malpractice claims. Accordingly,              the motions at ECF Nos. 123, 137, and 139 and close the case.
those claims are dismissed, without prejudice to Plaintiff
bringing the same claims in state court.                               SO ORDERED.



III. Plaintiff's Motion for Leave to File a Certificate of             All Citations
Merit
                                                                       Not Reported in Fed. Supp., 2019 WL 5294935

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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 151 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

                                                                        recommend that the motions be granted in part but otherwise
                                                                        denied.
      KeyCite Red Flag - Severe Negative Treatment
Affirmed in Part, Vacated in Part, Remanded by Brandon v. Kinter, 2nd
Cir.(N.Y.), September 10, 2019                                          I. BACKGROUND
                                                                        Plaintiff was confined in the CCJ beginning on January 14,
                     2016 WL 1638242
                                                                        2012, and again following his re-arrest on March 2, 2012,
       Only the Westlaw citation is currently available.
                                                                        until December 28, 2012, when he was transferred into the
        United States District Court, N.D. New York.
                                                                        custody of the New York State Department of Corrections
             Chamma K. BRANDON, Plaintiff,                              and Community Supervision (“DOCCS”). Dkt. No. 17 at 3,
                                                                        12–, 3. Upon his entry into the CCJ for the first time in
                         v.
                                                                        January 2012, Brandon was five-feet, eleven-inches in height,
          Dr. Glen SCHROYER, et al., Defendants.
                                                                        weighed 250 pounds, and was considered clinically obese. 1
          Civil Action No. 9:13-CV-0939 (TJM/DEP)                       Dkt. No. 77–6 at 2; Dkt. No. 77–10 at 4. Plaintiff alleges
                               |                                        that, while he was incarcerated at the CCJ, the defendants
                   Signed February 26, 2016                             (1) deprived him of constitutionally adequate medical care
                                                                        by removing him from a heart-healthy diet for one month;
Attorneys and Law Firms                                                 (2) deprived him of his rights under the First Amendment
                                                                        and RLUIPA to freely exercise his Muslim religion by (a)
Chamma K. Brandon, Ossining, NY, pro se.
                                                                        repeatedly providing him with meals that contained pork
Kelly M. Monroe, Andrew L. McNamara, Molly C. Casey,                    products, (b) denying him the opportunity to participate in
Thuillez, Ford Law Firm, Albany, NY, Bradley J. Stevens,                Ramadan, and (c) denying him access to worship space
Lemire, Johnson Law Firm, Malta, NY, for Defendants.                    and congregate religious services; and (3) retaliated against
                                                                        him by denying him adequate medical care and depriving
                                                                        him of his right to freely exercise his religion in response
                                                                        to grievances and complaints he filed against them during
            REPORT AND RECOMMENDATION
                                                                        his incarceration at the CCJ. 2 See generally Dkt. No. 17.
DAVID E. PEEBLES, U.S. MAGISTRATE JUDGE                                 Additionally, plaintiff's amended complaint asserts a failure-
                                                                        to-protect claim against defendants Clancy and Blaise, a
 *1 This is an action brought by pro se plaintiff Chamma K.             corrections sergeant and a corrections officer, respectively, at
Brandon, a prison inmate formerly confined in the Clinton               the CCJ. Id.
County Jail (“CCJ”), pursuant to 42 U.S.C. §§ 1983, 1985,
and 1986, against several individuals working at the facility           1
alleging that they deprived him of his civil rights during his                 In his amended complaint, plaintiff alleges that
period of incarceration there. Plaintiff's claims fall into three              he weighed 275 pounds upon his initial entry
groups, complaining of (1) a one-month hiatus in a low-fat,                    into the CCJ, and 225 pounds upon his transfer
low-cholesterol (“heart-healthy”) diet; (2) the failure to honor               into the custody of the DOCCS. Dkt. No. 17 at
his religious diet by serving him pork products; and (3) the                   11. In a memorandum submitted in opposition to
failure to otherwise accommodate his religious beliefs as a                    defendants' motions, however, plaintiff claims to
Muslim. Plaintiff contends that, by their actions, defendants                  have lost “about 175 lbs to 130 lbs” while confined
violated his rights under the First, Eighth, and Fourteenth                    in the CCJ due to the deprivation of meals. Dkt. No.
Amendments to the United States Constitution, as well as the                   93–2 at 62.
Religious Land Use and Institutionalized Persons Act of 2000            2      A more precise description of the claims asserted
(“RLUIPA”), 42 U.S.C. § 2000cc.
                                                                               against the defendants is included below in Part II.
                                                                               of this report.
Now that discovery in the action is complete, all of the
defendants, including Dr. Glen Schroyer, who is separately
                                                                          A. Plaintiff's Diet
represented, have moved for the entry of summary judgment
                                                                         *2 When he first arrived at the CCJ, Brandon reported that
dismissing plaintiff's claims. For the reasons set forth below, I
                                                                        he was allergic to shellfish. Dkt. No. 17 at 4; Dkt. No. 75–6 at


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 152 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

2. A special diet notification form reflecting that food allergy              The applicable medical records indicate that
                                         3
was forwarded to the facility's kitchen. See Dkt. No. 17 at                   a discussion was held between the defendant
47; Dkt. No. 75–1 at 37. In March 2012, plaintiff reported that               and plaintiff on October 16, 2012 regarding
tomatoes and tomato by-products cause him to experience                       plaintiff's non-compliance with his low fat/low
severe acid reflux. Dkt. No. 17 at 4; Dkt. No. 75–6 at 2. As a                cholesterol diet. The records further indicate that
result, a notification was sent by medical personnel to the CCJ               the proposed plan discussed in response to such
kitchen indicating “no tomato or tomato products per MD.”                     noncompliance and plaintiff's assertion that he
Dkt. No. 17 at 48; Dkt. No. 75–1 at 38.                                       would, 'not be compliant with any diet' was the
                                                                              removal of such diet.
3                                                                          Dkt. No. 83–3 at 25. While this presents a disputed
       The order was later reiterated on July 5, 2012. Dkt.
                                                                           question of fact, as will be discussed below in
       No. 17 at 50; Dkt. No. 75–1 at 40.
                                                                           Part III.B.1. of this report, it is not material to
In May 2012, defendant Dr. Glen Schroyer, the jail physician               plaintiff's deliberate medical indifference claims
at the CCJ, placed plaintiff on a heart-healthy diet due to                against defendant Schroyer.
his high cholesterol levels. Dkt. No. 17 at 4–5, 49; Dkt.
                                                                   Plaintiff's heart-healthy diet was restored on or about
No. 75–1 at 39; Dkt. No. 75–6 at 2. Plaintiff's heart-healthy
                                                                   November 21, 2012, after plaintiff promised not to purchase
diet restriction was later lifted on October 16, 2012, after
                                                                   certain designated items from the commissary. Dkt. No. 17 at
a review of plaintiff's commissary purchases, which were
                                                                   10, 53, 188; Dkt. No. 75–1 at 42. Following that restoration,
being monitored by medical staff, revealed the purchase of
                                                                   plaintiff's restrictive diet remained in place until his transfer
many items that were inconsistent with plaintiff's dietary
                                                                   out of the CCJ. Dkt. No. 17 at 10.
restrictions, including products that were high in fat and
cholesterol. 4 Dkt. No. 17 at 8–9, 52; Dkt. No. 75–1 at 41; Dkt.    *3 In addition to raising concerns about health-related
No. 75–6 at 3. For example, the record reveals that, during        dietary restrictions implemented at the CCJ, as part of
the relevant period, plaintiff's commissary purchases included     his religious accommodation claim, plaintiff alleges that
a wide array of candy, cookies, snacks, and sugared drinks.        defendants served him food that was inconsistent with his
Dkt. No. 75–1 at 60–62. Plaintiff also purchased Ramen chili,      religion, as a Muslim. Plaintiff alleges that he informed prison
which contains tomato powder, and is therefore inconsistent        officials at the CCJ upon his arrival on January 14, 2012,
with his previously alleged sensitivity to tomatoes and tomato     and again when he was rearrested on March 2, 2012, that,
by-products. Id.                                                   because of his Muslim religion, he cannot eat pork. Dkt. No.
                                                                   17 at 12–13; Dkt. No. 83 at 6. According to plaintiff, despite
4                                                                  prison officials' awareness of this restriction, he was served
       In his affidavit, defendant Schroyer states that
       plaintiff was repeatedly counseled by medical staff         food containing pork on numerous occasions. Dkt. No. 17 at
       concerning his non-compliance with his restrictive          17–18, 20–22. Plaintiff alleges that between the time of his
       diets, and was warned, prior to October 16, 2012,           entry into the CCJ through May 28, 2012, he was routinely
       that continued non-compliance would result in               served pork against his religious beliefs. Dkt. No. 17 at 13, 17.
       removal of the dietary restrictions. Dkt. No. 75–6 at       He further claims that on May 28, 2012, he filed a complaint
       3. This assertion is sharply contested by plaintiff,        with medical staff concerning the failure to receive a religious
       who contends that the restrictions were lifted              diet, and that in response, defendant Nurse Kinter stated that
       without warning. Dkt. No. 83 at 3–4. Plaintiff notes,       the kitchen was aware of his dietary restrictions. 5 Id. at 13.
       moreover, that defendant Schroyer responded as
       follows to one of his interrogatories:                      5       Plaintiff's amended complaint makes reference, in
          Interrogatory No. 15:
                                                                           this regard, to Exhibit E. Dkt. No. 17 at 13. Relevant
          Did Dr. Schroyer or anyone else within the
                                                                           portions of the referenced document, however, are
          Medical–Staff notify Plaintiff that purchasing
                                                                           illegible. Id. at 65. The document is reproduced at
          or consuming certain items from commissary
                                                                           Dkt. No. 83–3 at 2 and Dkt. No. 93–4 at 68, and
          would result in the removal (cancellation) of his
                                                                           again, half of the document cannot be deciphered.
          dietary restriction at anytime [sic] on or before
          October 16, 2012?                                        On June 21, 2012, plaintiff submitted a sick-call request
          Answer to Interrogatory No. 15:                          inquiring about a knee brace and complaining of being served



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 153 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

pork. Dkt. No. 17 at 13, 66. The only response to that sick-call   7      The record is unclear as to how long plaintiff
request was recorded as “given knee brace.” Id. at 66. Plaintiff          was confined in the CCJ after his initial intake on
submitted an additional sick-call request raising concerns                January 14, 2012. Plaintiff's amended complaint
about his diet on July 4, 2012. Id. at 13, 67. In response, a             does not state whether he received any meals
nurse 6 wrote, “Done – for no fish/shell fish. Need to ask                containing pork between that initial intake and his
security staff to submit diet slip for pork medical does not do           re-arrest in March and, if so, how many.
religious diets.” Id. at 67 (emphasis in original).
                                                                   8      Plaintiff's booking sheet from his rearrest in March
6                                                                         2012 also includes a note that reads, “Cautionary:
       Plaintiff alleges that defendant Kinter authored the
                                                                          Muslim Diet.” Dkt. No. 17 at 210.
       response to this sick-call request. Dkt. No. 17 at 14.
       It is not clear, however, that this is accurate because      *4 Defendant Laurin explained that “it is the practice of
       in response to other sick-call requests, defendant          the CCJ that any religious diets to be issued to inmates are
       Kinter would sign “SK.” See, e.g. id. at 65. The            initiated by the Booking Officer after an inmate requests
       sick-call response dated July 5, 2012 was signed,           such accommodation and demonstrates that he has a sincerely
       “S.F. RN.” Id. at 67.                                       held belief. Notifications of any religious diets have been
                                                                   forwarded to the kitchen.” Dkt. No. 77–14 at 2. Defendant
Plaintiff cites eight additional instances when he was served
                                                                   Laurin contends that, in light of plaintiff's declaration of his
pork and raised complaints. The first and second occurred on
                                                                   religion in March 2012, a notification was placed in his file
September 24, 2012, during lunch and dinner. Dkt. No. 93–
                                                                   indicating that he should be provided with a diet consistent
4 at 82–82. The next two instances occurred on October 9
                                                                   with his religious beliefs. Dkt. No. 77–14 at 3. In support
and 10, 2012. Id. at 94–99. On October 17, 2012, plaintiff
                                                                   of that contention, defendant Laurin cites to a document
contends he was served pork, after which he filed a grievance
                                                                   in the record entitled “SPECIAL DIET NOTIFICATION,”
and was provided a new meal. Dkt. No. 17 at 18; Dkt. No.
                                                                   reflecting that plaintiff, as a Muslim, was not to receive pork
93–4 at 116–17. Plaintiff was again allegedly served pork
                                                                   or pork products. Dkt. No. 77–3 at 7. Notably, the copy of
on October 29, 2012, although a grievance filed regarding
                                                                   that notice that is included by defendant Laurin in support of
that incident purportedly “disappeared.” Dkt. No. 17 at 20.
                                                                   his motion is not dated. Id. As an attachment to his amended
Plaintiff was also allegedly served a meal containing pork on
                                                                   complaint and in response to defendants' motion, however,
November 5, 2012, and although he claims to have lodged
                                                                   plaintiff has submitted copies of the same notice, except his
a grievance concerning that matter it is not included within
                                                                   copies both include a date of “10/5/12,” which is written in
his submissions. Dkt. No. 17 at 21. The last occurrence of
                                                                   what appears to be defendant Laurin's handwriting. Dkt. No.
allegedly being served pork was on December 25, 2012, and
                                                                   17 at 51; Dkt. No. 83–3 at 42. Plaintiff contends, and the court
plaintiff again filed a grievance concerning the matter. Dkt.
                                                                   finds it plausible, that the version of this notice produced by
No. 17 at 22; Dkt. No. 93–4 at 16465.
                                                                   defendants in support of their motion has been “falsified ... by

The record evidence raises a number of questions regarding         removing the date written on the notification[.]” 9 Dkt. No.
when the CCJ kitchen staff learned of plaintiff's religious        93–3 at 11.
dietary restrictions. According to defendant Laurin, when
plaintiff first arrived at the CCJ on January 14, 2012, he         In any event, a careful review of the chronology, including
did not declare any religious affiliation. Dkt. No. 7714 at        plaintiff's grievances and responses to those grievances by
2. Although plaintiff disputes this, Dkt. No. 17 at 12; Dkt.       CCJ staff, buttresses the conclusion that it was not until
No. 83 at 6, his initial booking intake record does not reflect    at least late-September 2012 that the CCJ kitchen staff
                                                                   was notified of plaintiff's religious dietary restrictions. See,
any religious designation. 7 Dkt. No. 77–6 at 2. There is no
                                                                   e.g., Dkt. No. 77–5 at 21 (entry dated 9/27/12 authored by
dispute, however, that when plaintiff was rebooked on March
                                                                   defendant Laurin stating, “[A]s of 9/27/12 the kitchen was
2, 2012, he stated that he was a Muslim, and this was reflected
                                                                   reviewed [sic] of your diet ... and that you are Muslim”);
on his booking sheet. 8 Dkt. No. 17 at 210; Dkt. No. 83–3 at       Dkt. No. 93–4 at 81 (entry dated 9/27/12 and authored by
36.                                                                defendant Laurin stating that the “kitchen ... did not have that
                                                                   you were Muslim. You will get no pork or pork products”);
                                                                   id. at 94 (entry dated 10/10/12 and authored by Corrections
                                                                   Officer Couture stating, “I talked to Michelle in the kitchen


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 154 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

and she told me that until recently they had nothing stating        Muslim detainees at the CCJ. Id. at 14. Plaintiff was further
                                                                    advised that, due to staffing and funding shortages, the CCJ
that Inmate Brandon was a no pork diet.”); id. at 104 (entry
                                                                    was unable to cater to a specific religious group consisting
dated 10/15/12 and authored by defendant Laurin stating,
“Inmate Brandon was not marked in the kitchen as Muslim             of only a few participants. Id. Plaintiff further claims that
diet. That was corrected 10/5/12”).                                 his request for the opportunity to engage in congregational
                                                                    prayer, referred to as “Jummah,” which is allegedly obligatory
9                                                                   to all male Muslims, was denied by prison officials. Id. at
        Defendants characterize plaintiff's accusation as           15. Plaintiff alleges that he filed grievances concerning these
        “eccentric” and “evidence of his paranoia.” Dkt.            issues within the CCJ and additionally sought redress through
        No. 95–3 at 6. While the court takes no position            outside sources. Id. at 15–16.
        on these characterizations, it is worth noting that
        defendants do not dispute plaintiff's contention that
        the notice was altered. Id.                                    C. Assault by a Fellow Inmate
From the evidence in the record, two things are clear. First,        *5 On or about November 17, 2012, plaintiff alleges that
until September 27, 2012, the CCJ kitchen staff was unaware         defendants Blaise and Clancy housed a mentally ill inmate,
of plaintiff's religious dietary restrictions, giving rise to the   referred to by plaintiff as “Tiny,” in the cell next door to
inference that, until that date, plaintiff was being served         him. Dkt. No. 17 at 31. Defendant Clancy apparently could
pork and pork products on occasion. Secondly, even after            be heard by plaintiff to say, “ '[L]ets [sic] see if he tries
the kitchen learned of plaintiff's religious dietary restriction,   that shit on Brandon!' ” Id. According to plaintiff, two days
plaintiff believes that he was served pork or pork products         later, defendant Blaise directed him to “exit [his] cell and
on six occasions, including (1) October 9, 2012; (2) October        collect all of the trays[.]” Id. Plaintiff, however, informed
10, 2012; (3) October 17, 2012; (4) October 29, 2012; (5)           defendant Blaise that, the night before, Tiny had verbally
                                                                    assaulted plaintiff and that he “would rather not pick-up
November 5, 2012; and (6) December 25, 2012. 10 Dkt. No.
                                                                    [Tiny]'s tray.” Id. Defendant Blaise responded by saying to
17 at 18, 20, 21, 22; Dkt. No. 93–4 at 9499, 116–17, 164–65.
                                                                    plaintiff, “ '[D]on't worry about him, he's a punk. Besides,
                                                                    from what I heard, I'm sure if I let him out, you'd kick his ass.'
10      Defendants contest whether some of those meals              ” Id. Tiny thereafter became hostile towards plaintiff and spat
        included pork or pork products. See, e.g., Dkt. No.         on him while defendant Blaise observed. Id. Defendant Blaise
        77–19 at 9.                                                 responded by laughing at plaintiff. Id.

  B. Other Religious Accommodation
Plaintiff's complaint also alleges that he was denied a location    II. PROCEDURAL HISTORY
to practice his religion and the opportunity to celebrate           Plaintiff commenced this action on or about August 8, 2013,
Ramadan between July 20, 2012 and August 19, 2012. Dkt.             and later filed an amended complaint, the currently operative
No. 17 at 14–15, 17. According to plaintiff, his requests to        pleading, on August 15, 2014. Dkt. Nos. 1, 17. In his amended
accommodate his observation of the holiday were denied              complaint, plaintiff names the following defendants:
by CCJ security because he was one of the only detainees
requesting to honor the holiday and there were only a few
    Defendant                                                       Position
    Dr. Glen Schroyer                                               CCJ Jail Doctor
    Suzanne Kinter                                                  CCJ Nurse
    Lawrence Bedard                                                 CCJ Food Service Manager
    Jim Alger                                                       CCJ Corrections Officer
    Joshua Wingler                                                  CCJ Corrections Officer
    Thomas Perry                                                    CCJ Corrections Officer


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 155 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242


 Robert Web                                                  CCJ Corrections Officer
 Eric Blaise                                                 CCJ Corrections Officer
 Margaret Clansy                                             CCJ Corrections Sergeant
 Kevin Laurin                                                CCJ Corrections Lieutenant
                        11
 County of Clinton.
                                                             In his amended complaint, which spans forty-four pages
11    Defendants County of Clinton and Alger were            comprised of 336 paragraphs, and is accompanied by
      dismissed from the action by District Judge Gary       approximately 177 pages of exhibits, plaintiff chronicles in
      L. Sharpe in a decision and order dated August 15,     detail the occurrences at the CCJ giving rise to his claims.
      2015. Dkt. No. 16.                                     The causes of action set forth in that pleading include
      For purposes of this report, the following             deliberate medical indifference, failure to permit plaintiff to
      defendants will be collectively referred to as         freely exercise his chosen religion, retaliation, conspiracy,
      the “county defendants”: (1) Suzanne Kinter, (2)       and failure to protect plaintiff from harm. For the sake of
      Lawrence Bedard, (3) Joshua Wingler, (4) Thomas        clarity, I have included below a table that reflects the court's
      Perry, (5) Robert Web, (6) Eric Blaise, (7) Margaret   understanding of the claims asserted against each of the
      Clancy, and (8) Kevin Laurin.                          specific defendants.

 Defendant                             Claims Asserted
 Bedard                                (1) First Amendment regarding diet (direct and conspiracy
                                       theories of liability); (2) First Amendment regarding Ramadan
                                       and congregational services (direct theory of liability only); (3)
                                       Eighth Amendment (direct and conspiracy theories of liability);
                                       (4) RLUIPA (direct and conspiracy theories of liability); and (5)
                                       First Amendment retaliation (direct theory of liability only)
 Blaise                                (1) First Amendment regarding diet (direct theory of liability
                                       only); (2) First Amendment regarding Ramadan and
                                       congregational services (direct theory of liability only); (3)
                                       Eighth Amendment (direct theory of liability only); (4) RLUIPA
                                       (direct theory of liability only); (5) First Amendment retaliation
                                       (direct theory of liability only); and (6) Eighth Amendment
                                       failure-to-protect (direct theory of liability only)
 Clancy                                (1) First Amendment regarding diet (direct and conspiracy
                                       theories of liability); (2) First Amendment regarding Ramadan
                                       and congregational services (direct theory of liability only);
                                       (3) Eighth Amendment (direct theory of liability only); (4)
                                       RLUIPA (direct and conspiracy theories of liability); (5) First
                                       Amendment retaliation (direct theory of liability only); and (6)
                                       Eighth Amendment failure-to-protect (direct theory of liability
                                       only)
 Kinter                                (1) First Amendment regarding diet (direct theory of liability
                                       only); (2) First Amendment regarding Ramadan and
                                       congregational services (direct theory of liability only); (3)
                                       Eighth Amendment (direct and conspiracy theories of liability);
                                       (4) RLUIPA (direct theory of liability only); and (5) First
                                       Amendment retaliation (direct theory of liability only)


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 156 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242


 Laurin                                (1) First Amendment regarding diet (direct theory of liability
                                       only); (2) First Amendment regarding Ramadan and
                                       congregational services (direct theory of liability only); (3)
                                       Eighth Amendment (direct and conspiracy theories of liability);
                                       (4) RLUIPA (direct theory of liability only); and (5) First
                                       Amendment retaliation (direct theory of liability only)
 Perry                                 (1) First Amendment regarding diet (direct theory of liability
                                       only); (2) First Amendment regarding Ramadan and
                                       congregational services (direct theory of liability only); (3)
                                       Eighth Amendment (direct theory of liability only); (4) RLUIPA
                                       (direct theory of liability only); and (5) First Amendment
                                       retaliation (direct theory of liability only)
 Schroyer                              (1) First Amendment regarding diet (direct theory of liability
                                       only); (2) Eighth Amendment (direct and conspiracy theories of
                                       liability); and (3) First Amendment retaliation (direct theory of
                                       liability only)
 Web                                   (1) First Amendment regarding diet (direct and conspiracy
                                       theories of liability); (2) First Amendment regarding Ramadan
                                       and congregational services (direct theory of liability only);
                                       (3) Eighth Amendment (direct theory of liability only); (4)
                                       RLUIPA (direct and conspiracy theories of liability); and (5)
                                       First Amendment retaliation (direct theory of liability only)
 Wingler                               (1) First Amendment regarding diet (direct theory of liability
                                       only); (2) First Amendment regarding Ramadan and
                                       congregational services (direct theory of liability only); (3)
                                       Eighth Amendment (direct theory of liability only); (4) RLUIPA
                                       (direct theory of liability only); and (5) First Amendment
                                       retaliation (direct theory of liability only)

 *6 On August 3, 2015, defendant Schroyer filed a motion       317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S.
for summary judgment dismissing plaintiff's complaint. Dkt.    242, 247 (1986); Sec. Ins. Co. of Hartford v. Old Dominion
No. 75. On the same date, the county defendants submitted      Freight Line, Inc., 391 F.3d 77, 82–83 (2d Cir. 2004). A fact
a separate summary judgment motion, also seeking dismissal     is “material” for purposes of this inquiry if it “might affect the
of plaintiff's claims. Dkt. No. 77. The defendants' motions    outcome of the suit under the governing law.” Anderson, 477
are now fully briefed, and have been referred to me for the    U.S. at 248; see also Jeffreys v. City of N.Y., 426 F.3d 549, 553
issuance of a report and recommendation pursuant to 28         (2d Cir. 2005). A material fact is genuinely in dispute “if the
U.S.C. § 636(b)(1)(B) and Northern District of New York        evidence is such that a reasonable jury could return a verdict
Local Rule 72.3(c). See Fed.R.Civ.P. 72(b).                    for the nonmoving party.” Anderson, 477 U.S. at 248.

                                                                *7 A party moving for summary judgment bears an initial
III. DISCUSSION                                                burden of demonstrating that there is no genuine dispute
                                                               of material fact to be decided with respect to any essential
   A. Summary Judgment Standard                                element of the claim in issue, and the failure to meet this
Summary judgment motions are governed by Rule 56 of            burden warrants denial of the motion. Anderson, 477 U.S.
the Federal Rules of Civil Procedure. Under that provision,    at 250 n.4; Sec. Ins. Co., 391 F.3d at 83. In the event this
the entry of summary judgment is warranted “if the movant      initial burden is met, the opposing party must show, through
shows that there is no genuine dispute as to any material      affidavits or otherwise, that there is a material dispute of
fact and the movant is entitled to judgment as a matter of     fact for trial. Fed.R.Civ.P. 56(e); Celotex, 477 U.S. at 324;
law.” Fed.R.Civ.P. 56(a); Celotex Corp. v. Catrett, 477 U.S.   Anderson, 477 U.S. at 250.



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 157 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

                                                                    inmate's serious medical needs must satisfy both objective
When deciding a summary judgment motion, a court must               and subjective requirements. Wright v. Goord, 554 F.3d 255,
resolve any ambiguities, and draw all inferences, in a light        268 (2d Cir. 2009); Price v. Reilly, 697 F.Supp.2d 344, 356
most favorable to the non-moving party. Anderson, 477 U.S.          (E.D.N.Y. 2010). To meet the objective requirement, the
at 255; Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d     alleged deprivation must be “sufficiently serious.” Farmer,
133, 137–38 (2d Cir. 1998). The entry of summary judgment           511 U.S. at 844; see also Salahuddin v. Goord, 467 F.3d 263,
is justified only in the event of a finding that no reasonable      280 (2d Cir. 2006) (“[T]he objective test asks whether the
trier of fact could rule in favor of the non-moving party. Bldg.    inadequacy in medical care is sufficiently serious.”). Factors
Trades Employers' Educ. Ass'n v. McGowan, 311 F.3d 501,             informing this inquiry include “whether a reasonable doctor
507–08 (2d Cir. 2002); see also Anderson, 477 U.S. at 250           or patient would find it important and worthy of comment,
(finding summary judgment appropriate only when “there can          whether the condition significantly affects an individual's
be but one reasonable conclusion as to the verdict”).               daily activities, and whether it causes chronic and substantial
                                                                    pain.” Salahuddin, 467 F.3d at 280 (quotation marks and
                                                                    alterations omitted). Determining whether a deprivation
   B. Defendant Schroyer's Motion                                   is sufficiently serious requires a court to examine the
In his amended complaint, plaintiff claims that defendant           seriousness of the deprivation, and whether the deprivation
Schroyer was deliberately indifferent to his serious medical        represents “a condition of urgency, one that may produce
needs by discontinuing his heart-healthy diet for a period of       death, degeneration, or extreme pain[.]” Hill v. Curcione,
approximately one month, and that the discontinuation was in        657 F.3d 116, 122 (2d Cir. 2011) (quotation marks omitted).
retaliation for plaintiff's many grievances concerning his diet     Importantly, it is “the particular risk of harm faced by a
at the facility. Plaintiff also alleges that defendant Schroyer     prisoner due to the challenged deprivation of care, rather than
conspired with others at the facility to violate his rights under   the severity of the prisoner's underlying medical condition,
the First and Eighth Amendments.                                    considered in the abstract, that is relevant for Eighth
                                                                    Amendment purposes.” Smith v. Carpenter, 316 F.3d 178, 186
                                                                    (2d Cir. 2003).
              1. Deliberate Medical Indifference
                                                                     *8 To satisfy the subjective requirement, a plaintiff must
Plaintiff's deliberate indifference claim is properly analyzed      demonstrate that the defendant had “the necessary level of
under the Eighth Amendment, which prohibits punishment              culpability, shown by actions characterized by 'wantonness.'
that is “incompatible with the evolving standards of decency        ” Blyden v. Mancusi, 186 F.3d 252, 262 (2d Cir. 1999). “In
that mark the progress of a maturing society or which involve       medical-treatment cases ..., the official's state of mind need
the unnecessary and wanton infliction of pain[.]” (Estelle          not reach the level of knowing and purposeful infliction of
v. Gamble, 429 U.S. 97, 102–03 (1976) (quotation marks              harm; it suffices if the plaintiff proves that the official acted
and citations omitted)). While the Eighth Amendment “does           with deliberate indifference to inmate health.” Salahuddin,
not mandate comfortable prisons, ... neither does it permit         467 F.3d at 280. “Deliberate indifference,” in a constitutional
inhumane ones[.]” Farmer v. Brennan, 511 U.S. 825,                  sense, “requires that the charged official act or fail to act
832 (1994) (quotation marks and citation omitted). “These           while actually aware of a substantial risk that serious inmate
elementary principles establish the government's obligation         harm will result.” Id.; see also Farmer, 511 U.S. at 837
to provide medical care for those whom it is punishing by           (“[T]he official must both be aware of facts from which
incarceration.” Estelle, 429 U.S. at 103. Failure to provide        the inference could be drawn that a substantial risk of
inmates with medical care, “[i]n the worst cases, ... may           serious harm exists, and he must also draw the inference.”).
actually produce physical torture or lingering death, [and] ...     “Deliberate indifference is a mental state equivalent to
[i]n less serious cases, ... may result in pain and suffering       subjective recklessness, as the term is used in criminal law.”
which no one suggests would serve any penological purpose.”         Salahuddin, 467 F.3d at 280 (citing Farmer, 511 U.S. at 839–
Id. (quotation marks and citations omitted).                        40).

A claim alleging that prison officials have violated an             Based upon the record now before the court, I conclude
inmate's Eighth Amendment rights by inflicting cruel and            that plaintiff cannot meet either element of the governing
unusual punishment through deliberate indifference to the           deliberate indifference test. The only tangible effect of



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 158 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

the month-long hiatus in plaintiff's heart-healthy diet was         Because the record before the court, even when construed
a modest increase in his cholesterol level from 249 to              most favorably toward the plaintiff, fails to contain
264. Dkt. No. 17 at 25–26, 62, 63; Dkt. No. 83 at 5.                evidence from which a reasonable factfinder could conclude
According to defendant Schroyer, however, such a fluctuation        that plaintiff has met both the objective and subjective
is within normal limits “and does not place a patient at            requirements for establishing a claim of deliberate medical
an increased risk for coronary artery disease, ischemia or          indifference, I recommend that it be dismissed.
stroke.” Dkt. No. 75–6 at 4. The only “evidence” offered to
counter defendant Schroyer's medical opinion is plaintiff's
unsupported contention that he was placed at an indiscernible
                                                                                           2. Free Exercise
amount of risk for coronary heart disease, ischemia, and
stroke as a result of the changed diet. Dkt. No. 17 at 36; Dkt.      *9 In addition to claiming deliberate medical indifference,
No. 83 at 5. While plaintiff's high cholesterol may constitute      plaintiff contends that defendant Schroyer is responsible for
a serious medical need – an assertion not disputed by               denying him an appropriate religious diet, and specifically,
defendants – there is no evidence aside from plaintiff's sheer      one that conformed to his Muslim faith and did not include
speculation that defendant Schroyer's decision to remove
                                                                    pork or pork products. 12 Undeniably, plaintiff was entitled
plaintiff from the heart-healthy diet for one month was
                                                                    to receive a diet that was consistent with his sincerely held
objectively sufficiently serious for purposes of a deliberate
                                                                    religious beliefs. See, e.g., Johnson v. Guiffere, No. 04–
medical indifference claim.
                                                                    CV–0057, 2007 WL 3046703, at *4 (N.D.N.Y. Oct. 17,
                                                                    2007) (Hurd, J., adopting report and recommendation by
Moreover, plaintiff has also failed to adduce any evidence to
give rise to a genuine dispute of material fact with respect        Peebles, M.J.). 13 The record, however, demonstrates that at
to whether defendant Schroyer removed plaintiff from the            the CCJ, accommodating diet restrictions in accordance with
heart-healthy diet with the requisite deliberate indifference.      an inmate's religious beliefs is the responsibility of security
In his affidavit, defendant Schroyer states that plaintiff's        staff, rather than medical personnel. See, e.g., Dkt. No. 75–6
heart-healthy diet was discontinued on October 16, 2012,            at 2; see also Dkt. No. 75–1 at 44, 50. To counter this, and
because he repeatedly made commissary purchases that were           in an attempt to implicate defendant Schroyer, plaintiff offers
inconsistent with his diet restrictions. Dkt. No. 75–6 at 4.        only his speculation based upon the fact that, at one point, in
Although the parties dispute whether plaintiff was warned           response to a sick-call complaint by plaintiff that he was being
ahead of time that his commissary purchases could result            served pork, defendant Kinter, a nurse at the facility, informed
in his removal from the diet, compare Dkt. No. 17 at 27             him that his religious diet was still in effect and that she had
with Dkt. No. 75–6 at 3, there is no record evidence that           checked with the kitchen regarding the matter. Dkt. No. 83
suggests defendant Schroyer's decision on October 16, 2012          at 3; Dkt. No. 83–3 at 11. Because this assertion does not
was reckless or executed with a disregard to plaintiff's health.    contradict defendant Schroyer's contention that medical staff
                                                                    is not responsible for accommodating prisoners' religious
Plaintiff surmises that defendant Schroyer was complicit in a       dietary needs, it does not suffice to raise a genuine issue of
conspiracy to punish him for filing grievances. Specifically,       material fact that precludes the entry of summary judgment.
plaintiff contends that, in retaliation for his filing of           In short, I find that no reasonable factfinder could conclude
grievances up through October 15, 2012, regarding his meal          that defendant Schroyer was involved in any violation of
trays, defendant Laurin rendered a medical assessment based         plaintiff's religious rights through the failure to provide
on plaintiff's commissary purchases and thereafter instructed       him a diet consistent with his religious beliefs. I therefore
defendant Schroyer to remove plaintiff from his heart-healthy       recommend that plaintiff's First Amendment free exercise
diet. Dkt. No. 17 at 25–27. Aside from plaintiff's sheer            claim asserted against defendant Schroyer be dismissed.
conjecture in this regard, however, he has submitted no
evidence from which a reasonable factfinder could conclude          12     Even liberally construed, plaintiff's amended
that defendant Schroyer was aware of the existence of                      complaint does not assert a First Amendment free
plaintiff's grievances and took action to discontinue plaintiff's          exercise cause of action against defendant Schroyer
heart-healthy diet for punitive reasons.                                   with respect to plaintiff's allegations that he was
                                                                           denied the opportunity to participate in Ramadan
                                                                           and/or congregational services. For that reason, I



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 159 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

       have not analyzed that claim in the context of            relief, plaintiff's complaint seeks both money damages and
       defendant Schroyer's motion.                              declaratory relief. Dkt. No. 17 at 42–44. It is now firmly
13                                                               established, however, that the “RLUIPA does not authorize
       Copies of all unreported decisions cited in this          claims for monetary damages against state officers in either
       document have been appended for the convenience           their official or individual capacities.” Holland v. Goord, 758
       of the pro se plaintiff. [Editor’s Note: Attachments      F.3d 215, 224 (2d Cir. 2014). While plaintiff ordinarily could
       of Westlaw case copies deleted for online display.]       pursue a claim for injunctive and declaratory relief under
                                                                 the RLUIPA against defendants in their official capacities,
                                                                 Williams v. Fisher, No. 11–CV–0379, 2015 WL 1137644,
                        3. Retaliation
                                                                 at *17 (N.D.N.Y. Mar. 11, 2015) (Mordue, J., adopting
In his motion, defendant Schroyer does not address the           report and recommendation by Dancks, M.J.), such claims
retaliation cause of action asserted against him. Accordingly,   are now moot based upon plaintiff's transfer out of the CCJ.
while I have not addressed that claim in this report, and        See Shepherd v. Goord, 662 F.3d 603, 610 (2d Cir. 2011)
therefore recommend it survive defendant's motion, I also        (“In this circuit, an inmate's transfer from a prison facility
recommend that defendant Schroyer be permitted to file a         generally moots claims for declaratory and injunctive relief
second motion for summary judgment addressing it.                against officials of that facility.”). Accordingly, I recommend
                                                                 that plaintiff's RLUIPA claim asserted against the county
                                                                 defendants be dismissed.

                       4. Conspiracy

Plaintiff's amended complaint includes a conspiracy claim                                2. Conspiracy
against defendant Schroyer in connection with his deliberate
medical indifference cause of action. In light of my              *10 Plaintiff alleges that there was a “meeting of the
recommended finding that the underlying constitutional           minds” among some of the defendants to deprive him
claim lacks merit and should be dismissed, however, I            of his civil rights. See, e.g., Dkt. No. 17 at 25, 27–29.
also recommend that the accompanying conspiracy claim be         Specifically, he contends that defendant Laurin evaluated
dismissed. See Droz v. McFadden, 580 F.3d 106, 109 (2d           plaintiff's commissary purchases on or about October 15,
Cir. 2009) (“Because neither of the underlying section 1983      2012, and decided that plaintiff's purchases were inconsistent
causes of action can be established, the claim for conspiracy    with his heart-healthy diet. See Dkt. No. 17 at 24 (“Said
also fails.”).                                                   conspiracy was initiated on October 15, 2012, as Laurin
                                                                 made a medical assessment stating my commissary buys is
                                                                 a form of non-compliance to my special diet.”). Defendant
  C. County Defendants' Motion                                   Laurin thereafter allegedly communicated his “assessment”
                                                                 to defendants Schroyer and Kinter and the three arrived at
                                                                 an agreement to remove plaintiff from the heart-healthy diet.
                        1. RLUIPA 14                             See id. at 25 (“Kinter concurred [with] said assessment [and]
                                                                 Schroyer rubber-stamped it into effect.... Thus, on October
14     While plaintiff's amended complaint mentions in           16th, 2012, said conspiracy went into effect; Kinter informed
       passing the RLUIPA, it does not expressly state a         me of the removal of all previously issued diets, stating
       claim under that provision. See, e.g., Dkt. No. 17        I'm not complying to said diets based on my commissary
       at 16, 36–42. Nonetheless, mindful that the court         purchases.”). Plaintiff also specifically implicates defendant
       is required to construe a pro se litigant's pleadings     Bedard in his conspiracy claim, accusing him of “enforc[ing]”
       to raise the strongest arguments suggested, Walker        the decision by defendants Schroyer and Kinter to remove
       v. Schult, 717 F.3d 119, 124 (2d Cir. 2013), I have       him from his special diets and intentionally accelerating the
       considered plaintiff's amended complaint to assert        conspiracy by mislabeling his food thereafter to reflect that
       a cause of action under that provision, as well.          his meals did not contain pork. Id. at 25, 27. To further
To the extent plaintiff intended to assert RLUIPA claims         defendant Bedard's alleged “viciousness,” he “established
against any of the county defendants in both their official      a meeting of the minds with Clansy and Web.” Id. at
and individual capacities, they are subject to dismissal. As     27. According to plaintiff, defendant Clancy furthered the



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 160 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

conspiracy by admitting to plaintiff that the CCJ kitchen made     aside from plaintiff's commissary purchases. Dkt. No. 7710
a mistake on October 17, 2012, by serving plaintiff a meal         at 3–4. According to defendant Kinter, plaintiff's commissary
containing pork products. Id. at 28. On November 5, 2012,          purchases were monitored by medical staff from July 25,
defendant Web allegedly fielded a concern by plaintiff that        2012 until September 30, 2012, because “[p]laintiff showed
his food contained pork by reaching out to the CCJ kitchen,        little medical improvement after [his] dietary restrictions
who told Web that the meat was actually turkey. Id. at 29.         had been implemented.” Id. at 3. A review of plaintiff's
Plaintiff contends that defendant Web's refusal to disclose        commissary purchases, submitted by way of commissary
who he spoke to in the kitchen perpetuated the conspiracy          receipts in support of the county defendants' motion, supports
initiated by defendants Laurin, Kinter, and Schroyer. 15 Id.       defendants' assertion that plaintiff was purchasing foods that
                                                                   were inconsistent with a low-fat, low-cholesterol diet during
15                                                                 the relevant time period. Dkt. No. 77–4 at 2–5. Plaintiff's bare
       To be clear, then, in light of all of the allegations
                                                                   allegation with respect to the alleged “meeting of the minds”
       described above, I have construed plaintiff's
                                                                   in this respect is not sufficient to defeat the county defendants'
       amended complaint as asserting (1) a deliberate
                                                                   motion.
       medical indifference claim against defendants
       Schroyer, Laurin, Kinter, and Bedard based on a
                                                                   Similarly, plaintiff's allegations in his amended complaint
       conspiracy theory of liability; and (2) free exercise
                                                                   are insufficient to give rise to a genuine dispute of material
       and RLUIPA claims regarding plaintiff's religious
                                                                   fact regarding whether defendant Bedard furthered any
       dietary restrictions against defendants Bedard,
                                                                   conspiracy by mislabeling his food. Aside from plaintiff's
       Clancy, and Web based on a conspiracy theory of
                                                                   own allegation, there is no evidence that defendant Bedard
       liability. In addition, although plaintiff contends
                                                                   did, in fact, mislabel any of plaintiff's meals. In addition,
       that defendants Clancy and Blaise conspired to
                                                                   there is no evidence in the record to suggest that defendant
       violate his rights with respect to the incident
                                                                   Bedard acted maliciously in preparing plaintiff's meals, and
       involving another inmate on or about November
                                                                   he states that the CCJ kitchen staff prepared plaintiff's food
       17, 2012, see, e.g, Dkt. No. 17 at 31, I have
                                                                   “in accordance with the records and notifications [they] had
       construed and analyzed those allegations as giving
                                                                   on file for him.” Dkt. No. 77–11 at 4. Defendant Bedard also
       rise to an Eighth Amendment failure-to-protect
                                                                   explained that, “[t]o the extent the Plaintiff grieved of being
       cause of action, which I will address more
                                                                   served pork he would either be provided a replacement meal,
       completely below in Part III.C.5.c. of this report.
                                                                   or as was most often the case, be instructed that the food being
“To prove a [section] 1983 conspiracy, a plaintiff must show:      served was not pork at all, but rather a different type of food
(1) an agreement between two or more state actors or between       such as turkey.” Id.
a state actor and a private entity; (2) to act in concert to
inflict an unconstitutional injury; and (3) an overt act done       *11 With respect to plaintiff's allegations that defendant
in furtherance of that goal causing damages.” Pangburn v.          Clancy conspired with defendant Bedard to maliciously
Culbertson, 200 F.3d 65, 72 (2d Cir. 1999). Conclusory, vague      mislabel plaintiff's food, again, aside from plaintiff's own
or general allegations of a conspiracy to deprive a person of      contentions in his amended complaint, there is no evidence
constitutional rights are not sufficient to support a cognizable   in the record to support this claim. While plaintiff contends
claim under section 1983. Sommer v. Dixon, 709 F.2d 173,           that “a meeting of the minds was established when [defendant
175 (2d Cir. 1983); Pinaud v. Cnty. of Suffolk, 52 F.3d 1139,      Clancy] admitted to speaking to the Kitchen staff” on
1156 (2d Cir. 1995).                                               October 18, 2012, regarding plaintiff having received a meal
                                                                   containing pork in it the day prior, there is no evidence
In this case, although plaintiff's allegations regarding the       regarding the identity of the person with whom she spoke.
extent of the conspiracy are detailed, there is no evidence        Dkt. No. 17 at 28. Any contention by plaintiff that defendant
in the record to support them. While defendant Kinter              Clancy spoke to defendant Bedard or that the two agreed to
confirms that she discussed the decision to remove plaintiff       violate plaintiff's rights at that time is pure conjecture. In any
from his heart-healthy diet with defendants Laurin and             event, plaintiff alleges that defendant Clancy explained to him
Schroyer prior to October 16, 2012, there is no record             that he received the meal from the day prior by mistake due
evidence to suggest that the decision was motivated by             to a new CCJ staff employee's error. Id. at 19. Contrary to
plaintiff's previously filed grievances or any other reason        plaintiff's allegations of a large-scale conspiracy to violate



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 161 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

plaintiff's rights, defendant Clancy immediately provided him       that defendants acted with racial or other class-based animus
with a new meal. Dkt. No. 775 at 26.                                in conspiring to deprive the plaintiff of his equal protection of
                                                                    the laws, or of equal privileges and immunity secured by law.
There is also no evidence that defendants Bedard and                United Bhd. of Carpenters & Joiners, Local 610, AFL–CIO v.
Web conspired. While plaintiff speculates in his amended            Scott, 463 U.S. 825, 835 (1983); Gagliardi v. Vill. of Pawling,
complaint that “[a] meeting of the minds was established by         18 F.3d 188, 194 (2d Cir. 1994). “To establish such intentional
Web and Bedard” regarding a meal plaintiff was provided             or purposeful discrimination, it is axiomatic that a plaintiff
on November 5, 2012, there is no other evidence to suggest          must allege that similarly situated persons have been treated
that those two individuals ever spoke. Dkt. No. 17 at 29.           differently.” Gagliardi, 18 F.3d at 193. A plaintiff asserting a
According to plaintiff's own allegations, in response to his        claim under section 1985(3) need not necessarily offer proof
complaint that his meal on that date contained pork, defendant      of an explicit agreement; a conspiracy can be demonstrated
Web contacted the CCJ kitchen and then informed plaintiff the       through circumstantial evidence that “shows the parties have
meat product was turkey, not pork. Id. at 21–22. There is no        a tacit understanding to carry out the prohibited conduct.”
record of the identity of the person with whom defendant Web        LeBlanc–Sternberg v. Fletcher, 67 F.3d 412, 427 (2d Cir.
spoke, rendering plaintiff's allegation that it was defendant       1995) (quotation marks omitted).
Bedard (and the allegation that the two agreed to violate
plaintiff's rights) mere speculation.                                *12 In this case, there is no record evidence, including
                                                                    any allegations in plaintiff's amended complaint, regarding
For all of the reasons discussed above, I find no evidence from     race-based animus or that plaintiff's membership in a suspect
which a reasonable factfinder could conclude that defendants        class provided motivation for the defendants' conduct. Indeed,
Laurin, Kinter, Bedard, Web, and Clancy conspired to violate        the plaintiff's theory appears to be that it was his filing of
plaintiff's constitutional rights.                                  grievances, and not his race, that motivated the defendants to
                                                                    take adverse action against him. Accordingly, I recommend
In addition, plaintiff's conspiracy claim appears to be             plaintiff's section 1985(3) cause of action be dismissed on the
precluded by the intra-agency, or intra-corporate, conspiracy       merits.
doctrine, which provides “the officers, agents, and employees
of a single corporate entity, each acting within the scope of her
employment, are legally incapable of conspiring together.” 16           3. Free Exercise (Regarding Plaintiff's Ramadan and
Little v. City of N.Y., 487 F.Supp.2d 426, 441–42 (S.D.N.Y.             Congregational Prayer Allegations) and Retaliation
2007). Because defendants Laurin, Kinter, Bedard, Clancy,
and Web are all employees of the County of Clinton, and             Citing plaintiff's alleged failure to exhaust the available
plaintiff's own allegations suggest that each of them was           administrative remedies prior to filing this lawsuit, defendants
acting within the scope of his or her employment at the             seek dismissal of plaintiff's (1) free exercise claims to the
relevant times, plaintiff's conspiracy claims are precluded by      extent they are based on allegations that plaintiff was deprived
virtue of the intra-corporate conspiracy doctrine.                  of the opportunity to participate in (a) Ramadan during July
                                                                    and August 2012, and (b) congregational Jummah services;
16                                                                  and (2) retaliation claims.
        The doctrine is rooted in the Sherman Antitrust Act,
        15 U.S.C. § 1, and, although it was developed in the
                                                                    The Prison Litigation Reform Act of 1996 (“PLRA”), Pub.L.
        context of business entities, since its inception has
                                                                    No. 104134, 110 Stat. 1321 (1996), which imposes several
        been expanded to apply to business corporations
                                                                    restrictions on the ability of prisoners to maintain federal
        and public entities, as well. Everson v. N.Y. City
                                                                    civil rights actions, expressly requires that “[n]o action shall
        Transit Auth., 216 F.Supp.2d 71, 75–76 (E.D.N.Y.
                                                                    be brought with respect to prison conditions under section
        2002)
                                                                    1983 of this title, or any other Federal law, by a prisoner
Although plaintiff's amended complaint mentions, in passing,        confined in any jail, prison, or other correctional facility until
42 U.S.C. § 1985, there is no record evidence to support            such administrative remedies as are available are exhausted.”
a conspiracy claim against the defendants under section             42 U.S.C. § 1997e(a); see also Woodford v. Ngo, 548 U.S.
1985(3). To sustain a cause of action for conspiracy to violate     81, 84 (2006) (“Exhaustion is ... mandatory. Prisoners must
civil rights under that provision, a plaintiff must demonstrate     now exhaust all 'available' remedies[.]”); Hargrove v. Riley,



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 162 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

No. 04–CV–4587, 2007 WL 389003, at *5–6 (E.D.N.Y.                    PLRA requires proper exhaustion, which means using all
Jan. 31, 2007) (“The exhaustion requirement is a mandatory           steps that the agency holds out, and doing so properly (so that
condition precedent to any suit challenging prison conditions,       the agency addresses the issues on the merits).” (quotation
including suits brought under Section 1983.”). “[T]he PLRA's         marks omitted)).
exhaustion requirement applies to all inmate suits about
prison life, whether they involve general circumstances or            *13 The record reflects that plaintiff availed himself of the
particular episodes, and whether they allege excessive force         grievance process on several occasions during the course of
or some other wrong.” Porter v. Nussle, 534 U.S. 516,                his incarceration at the CCJ. 18 Dkt. No. 17 at 78–161; Dkt.
532 (2002). In the event the defendant establishes that the          No. 77–5 at 2–47; Dkt. No. 93–4 at 76170. None of those
inmate plaintiff failed “to fully complete[ ] the administrative     grievances, however, appear to relate to the alleged failure of
review process” prior to commencing the action, the plaintiff's      prison officials to permit him to observe Ramadan, to engage
complaint is subject to dismissal. Pettus v. McCoy, No. 04–          in congregate prayer, or retaliation by any defendants. Id.
CV– 0471, 2006 WL 2639369, at *1 (N.D.N.Y. Sept. 13,                 In his response to the county defendants' motion, plaintiff
2006) (McAvoy, J.); see also Woodford, 548 U.S. at 93 (“[W]e         argues that, with “respect to Ramadhan and Congregational
are persuaded that the PLRA exhaustion requirement requires          Prayer, not only did Plaintiff grieve these deprivaties [sic], but
proper exhaustion.”). “Proper exhaustion” requires a plaintiff       for exhaustion purposes, he went to the extent of appealing
to procedurally exhaust his claims by “compl[ying] with the          to the direct attention of CPCRC – just as he did all of his
system's critical procedural rules.” Woodford, 548 U.S. at 95;       other claims.” Dkt. No. 93–2 at 40. The grievances to which
accord, Macias v. Zenk, 495 F.3d 37, 43 (2d Cir. 2007). 17           plaintiff cites in support of this contention, however, do not
                                                                     relate to being deprived access to religious services, the right
17                                                                   to participate in Ramadan, or retaliation. Dkt. No. 93–4 at
        While placing prison officials on notice of a
        grievance through less formal channels may                   167–171. Thus, it appears that plaintiff has failed to exhaust
        constitute claim exhaustion “ 'in a substantive              the available administrative remedies with respect to these
        sense,' ” an inmate plaintiff nonetheless must               causes of action.
        meet the procedural requirement of exhausting
        his available administrative remedies within the             18      Plaintiff contends that some of his grievances were
        appropriate grievance construct in order to satisfy                  intentionally lost or destroyed by CCJ staff. See,
        the PLRA. Macias, 495 F.3d at 43 (quoting                            e.g., Dkt. No. 17 at 20.
        Johnson v. Testman, 380 F.3d 691, 697–98 (2d Cir.
                                                                     Plaintiff's failure to exhaust, however, does not warrant
        2004) (emphasis omitted)).
                                                                     dismissal of the amended complaint without further inquiry.
As an inmate at the CCJ, plaintiff had available to him a            In a series of decisions rendered since enactment of the
grievance process for use in complaining of prison conditions.       PLRA, the Second Circuit has prescribed a three-part test
Dkt. No. 77–14 at 3. In accordance with the prescribed               for determining whether dismissal of an inmate plaintiff's
grievance procedure, an inmate complaining of prison                 complaint is warranted for failure to satisfy the PLRA's
conditions must first request a grievance form from one of the       exhaustion requirement. See, e.g., Hemphill v. N.Y., 380 F.3d
corrections officers on duty. Id. At that point the corrections      680, 686 (2d Cir. 2004); see also Macias, 495 F.3d at 41.
officer must make an attempt to resolve the grievance                Those decisions instruct that, before dismissing an action as
informally. Id. If those efforts are unsuccessful, a formal          a result of a plaintiff's failure to exhaust, a court must first
grievance must be filed, and the matter is then investigated by      determine whether the administrative remedies were available
defendant Laurin, as the inmate grievance coordinator, who,          to the plaintiff at the relevant times. Macias, 495 F.3d at
following his investigation, makes a decision concerning             41; Hemphill, 380 F.3d at 686. In the event of a finding
the matter. Id. In the event the inmate is dissatisfied with         that a remedy existed and was available, the court must next
defendant Laurin's decision, he may appeal it to the Citizens        examine whether the defendant has forfeited the affirmative
Policy and Complaint Review Council (“CPCRC”). Id. If a              defense of non-exhaustion by failing to properly raise or
plaintiff fails to follow each of the required steps of the above-   preserve it, or whether, through his own actions preventing the
described procedure prior to commencing litigation, he has           exhaustion of plaintiff's remedies, he should be estopped from
failed to exhaust his administrative remedies. See Ruggerio          asserting failure to exhaust as a defense. Id. In the event the
v. Cnty. of Orange, 467 F.3d 170, 176 (2d Cir. 2006) (“[T]he         exhaustion defense survives these first two levels of scrutiny,



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 163 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

the court must examine whether the plaintiff has plausibly          is one for retaliation”). To hold otherwise would permit an
alleged special circumstances to justify his failure to comply      exception that would be easily and often incanted by inmates,
with the applicable administrative procedure requirements.          and would potentially eviscerate the PLRA's exhaustion rule.
Id.                                                                 Harrison, 2007 WL 2789473, at *6.

Plaintiff contends that he should be excused from the
exhaustion requirement because, on the morning that
                                                                                       4. Personal Involvement
Ramadan began in July 2012, the “Shift Officer” threatened
plaintiff with physical violence. Dkt. No. 93–2 at 40. There         *14 Defendants seek dismissal of the claims asserted
is no evidence in the record, aside from plaintiff's allegations,   against defendants Bedard, Blaise, Clancy, Perry, Web, and
however, that this threat actually occurred or that the assault     Wingler, arguing that there is no evidence in the record from
of another Muslim inmate from the previous day, to which            which a reasonable factfinder could conclude that any of
the Shift Officer referred in threatening plaintiff, actually       those individuals were personally involved in the alleged
occurred. In any event, according to plaintiff's own amended        unconstitutional conduct.
complaint, on a different occasion, when he was allegedly
threatened by defendant Clancy on or about October 18,              “Personal involvement of defendants in alleged constitutional
2012 about filing a grievance concerning a meal, he, in             deprivations is a prerequisite to an award of damages under
fact, complained to defendant Laurin “about Clansy's [sic]          [section] 1983.” Wright v. Smith, 21 F.3d 496, 501 (2d Cir.
threat.” Dkt. No. 17 at 19. This demonstrates that plaintiff        1994) (citing Moffitt v. Town of Brookfield, 950 F.2d 880, 885
had a history of ignoring threats by some corrections               (2d Cir. 1991); McKinnon v. Patterson, 568 F.2d 930, 934 (2d
officers and suggests he did not find the threats of CCJ            Cir. 1977)). As the Supreme Court has noted, a defendant may
security staff necessarily compelling. Most persuasive to           only be held accountable for his actions under section 1983.
me in recommending that the court find that there are               See Iqbal, 556 U.S. at 683 (“[P]etitioners cannot be held liable
no circumstances that exist to excuse plaintiff's failure to        unless they themselves acted on account of a constitutionally
exhaust, however, is that courts in this circuit have concluded     protected characteristic.”). In order to prevail on a section
that the type of vague threat, allegedly directed toward            1983 cause of action against an individual, a plaintiff must
plaintiff by an unidentified individual, cannot serve as a basis    show “a tangible connection between the acts of a defendant
for finding an inmate excused from the PLRA exhaustion              and the injuries suffered.” Bass v. Jackson, 790 F.2d 260, 263
requirement. See Singh v. Lynch, 460 Fed.Appx. 45, 4748             (2d Cir. 1986). “To be sufficient before the law, a complaint
(2d Cir. 2012) (“The test for determining the availability          must state precisely who did what and how such behavior
of grievance procedures to a prisoner is objective.... Singh's      is actionable under law.” Hendrickson v. U.S. Attorney Gen.,
subjective fear of retaliatory physical harm derives from two       No. 91–CV–8135, 1994 WL 23069, at *3 (S.D.N.Y. Jan. 24,
facts: the unreported June 6, 2005 assault and other inmates'       1994).
warnings that Lynch was out to get him. The former fact
cannot, by itself, support an objective finding that grievance      In the event the recommendations above are adopted,
procedures were unavailable.... As for the alleged inmate           the remaining claims for consideration against the county
warnings, in the absence of any particulars indicating that         defendants in this regard are plaintiff's deliberate medical
Lynch was looking to do more than harass Singh ..., this            indifference claim and his free exercise claim regarding
fact cannot support a finding that grievance procedures for         his dietary restrictions. At the outset of my analysis, it is
an assault claim were effectively unavailable.”); Harrison          worth noting that the thrust of defendants' arguments with
v. Stallone, No. 06–CV–0902, 2007 WL 2789473, at *6                 respect to whether the defendants considered below were
(N.D.N.Y. Sept. 24, 2007) (Kahn, J., adopting report                personally involved is aimed at whether they are in fact
and recommendation by DiBianco, M.J.) (concluding that              responsible for the conduct alleged by plaintiff. See, e.g.,
the plaintiff was not excused from exhausting available             Dkt. No. 77–19 at 24 (“Although these Defendants had
administrative remedies even where the plaintiff alleged in         interactions with the Plaintiff, they did not have any authority
his complaint that he did not file a grievance because he           to alter Plaintiff's medical/dietary restrictions. They simply
was “ 'afraid of retaliation' ” and he stated in opposition to      attempted to ensure that Plaintiff was provided a proper
the defendants' motion for summary judgment that “he had            meal and provided him with a replacement meal if need
a 'legitimate fear' of retaliation because his substantive claim    be.”). Because a personal involvement inquiry on summary



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 164 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

judgment examines only whether there is record evidence             19      Instead, plaintiff has maintained that defendant
to support a factfinder's conclusion that the individual under              Blaise is responsible for housing a mentally ill
consideration was involved in the alleged conduct, I have                   inmate next door to plaintiff's cell and asking
limited my analysis to that particular question in this part of             plaintiff to retrieve the inmate's meal tray knowing
the report.
                                                                            that plaintiff may be assaulted by the inmate. Dkt.
                                                                            No. 17 at 31–32; see also Dkt. No. 93–2 at 54–
                                                                            56. Those allegations will be addressed in Part
                     a. Defendant Bedard                                    III.C.5.c. of this report.

Plaintiff contends that defendant Bedard violated his rights
by (1) enforcing the decision by defendants Schroyer and                                 c. Defendant Clancy
Kinter to remove him from his heart-healthy diet in October
2012, and (2) serving him meals that contained pork.                Turning first to plaintiff's deliberate medical indifference
Defendant Bedard's own affidavit discloses that he was              cause of action, there is no record evidence from which a
personally involved by admitting that he discussed the status       reasonable factfinder could conclude that defendant Clancy
of plaintiff's meal restrictions with some of the other named       was involved in denying plaintiff any of his heart-healthy
defendants. Dkt. No. 77–11 at 4. In addition, defendant             meals to which he was entitled. Accordingly, I recommend
Bedard stated that, “[w]hen asked, [he] would discuss the           this claim be dismissed as against defendant Clancy.
components or ingredients of meals with the [corrections
officers], and how this related to any restrictions the kitchen     Plaintiff alleges, however, and there is evidence in the record
had on file for various inmates, in attempts to resolve any         confirming that defendant Clancy responded to at least one of
issues regarding an inmate being served a non-compliant             plaintiff's complaints regarding whether his meal contained
meal.” Id. In light of these statements, and considered in          pork. Dkt. No. 17 at 1819; Dkt. No. 93–4 at 116–17. As a
conjunction with plaintiff's allegations that CCJ corrections       CCJ Corrections Sergeant, defendant Clancy is considered a
officers phoned the CCJ kitchen following his complaints            supervisory official, and, in that capacity, she may be found
about his food containing pork (and some of the grievances          personally liable for a constitutional violation in the event she
reflecting the same), I find that reasonable factfinder could       learned of a constitutional violation through a report or appeal
conclude that defendant Bedard was personally involved in           and failed to remedy the wrong. Iqbal v. Hasty, 490 F.3d
the alleged conduct giving rise to plaintiff's deliberate medical   143, 152–53 (2d Cir. 2007), rev'd on other grounds sub nom.
indifference cause of action and free exercise claim regarding      Ashcroft v. Iqbal, 556 U.S. 554 (2009); see also Richardson v.
his religious dietary restrictions.                                 Goord, 347 F.3d 431, 435 (2d Cir. 2003); Colon v. Coughlin,
                                                                    58 F.3d 865, 873 (2d Cir. 1995); Wright, 21 F.3d at 501.
                                                                    Because there is evidence in the record that reflects defendant
                                                                    Clancy learned that plaintiff received a meal that did not
                     b. Defendant Blaise                            comport with his religious dietary restrictions, I recommend
                                                                    defendants' motion be denied to the extent that it seeks
 *15 There is no record evidence that defendant Blaise
                                                                    dismissal of plaintiff's free exercise claim asserted against
was involved in either plaintiff's medical indifference or
                                                                    defendant Clancy on the basis of personal involvement.
free exercise claim. Indeed, there are no allegations in the
amended complaint, nor has plaintiff subsequently alleged,
that defendant Blaise was involved in providing or denying
him meals at any time. 19 Plaintiff has acknowledged this                                 d. Defendant Perry
in his response to the county defendants' motion. See Dkt.
                                                                    Turning first to plaintiff's deliberate medical indifference
No. 93–2 at 54 (“For the purpose of clarity, nowhere within
                                                                    cause of action against this defendant, there is no record
the Amended Complaint is it alleged that Blaise deprived
                                                                    evidence from which a reasonable factfinder could conclude
Plaintiff of meals or any of his various diets.”). Accordingly,
                                                                    that defendant Perry was involved in denying plaintiff any of
I recommend that plaintiff's medical indifference claim and
                                                                    his heart-healthy meals to which he was entitled. Accordingly,
free exercise claim regarding his religious diet be dismissed.
                                                                    I recommend this claim be dismissed as against defendant
                                                                    Perry.



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 165 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

                                                                     Plaintiff's claims against defendant Wingler stem from
As to plaintiff's free exercise claim, plaintiff contends that,      allegations that, on two occasions, defendant Wingler ignored
on December 25, 2012, defendant Perry responded to his               plaintiff's complaints that his meals contained tomatoes in
complaint that his meal consisted of “pork rib-eye.” Dkt.            violation of his medical dietary restrictions. Dkt. No. 17 at
No. 17 at 22–23. Plaintiff requested a grievance form from           7; Dkt. No. 93–2 at 58. The record evidence includes two
defendant Perry, and the copy of the completed form that             grievances, one dated October 3, 2012 and the second October
is in the record confirms that defendant Perry responded to          28, 2012, that confirm, at least, that (1) plaintiff complained of
plaintiff's request for a new meal. Dkt. No. 93–4 at 164. Thus,      being served tomato products on those dates and (2) defendant
the record establishes that defendant Perry was involved in          Wingler addressed those complaints. Dkt. No. 93–4 at 92,
the alleged violation of plaintiff's free exercise rights on at      139. Therefore, I find there is sufficient evidence from which
least one occasion. For this reason, I recommend defendants'         a reasonable factfinder could conclude that defendant Wingler
motion be denied to the extent that it seeks dismissal of            was personally involved plaintiff's allegations that he was
plaintiff's free exercise claim asserted against defendant Perry     deprived of medically compliant meals.
on the basis of personal involvement.
                                                                     With respect to plaintiff's free exercise claim asserted against
                                                                     defendant Wingler, however, there are no allegations in the
                                                                     amended complaint, and plaintiff has failed to subsequently
                       e. Defendant Web
                                                                     submit any proof, reflecting that defendant Wingler was ever
 *16 Like defendants Blaise, Clancy, and Perry, there is             involved in providing or depriving plaintiff of any meals that
no record evidence from which a reasonable factfinder                were not in accordance with his religion. For that reason,
could conclude that defendant Web was involved in denying            I recommend plaintiff's free exercise claim in this regard
plaintiff any of his heart-healthy meals to which he was             against defendant Wingler be dismissed.
entitled. Accordingly, I recommend this claim be dismissed
as against defendant Web.
                                                                                    5. Remaining Claims/Defendants
Turning to plaintiff's free exercise claim, the amended
complaint alleges that, on November 5, 2012, plaintiff
complained to defendant Web that his meal contained                  a. Plaintiff's Deliberate Medical Indifference Claim Asserted
pepperoni. Dkt. No. 17 at 21. In response, defendant Web                Against Defendants Laurin, Kinter, Bedard, and Wingler
allegedly told plaintiff that the meat was turkey ham, not
                                                                     As discussed above in Part III.B. of this report with respect
pork, and thereafter called the CCJ kitchen to confirm that the
                                                                     to defendant Schroyer, I find that there is no record evidence
meat was not pork. Id. at 21–22. Although plaintiff alleges
                                                                     from which a reasonable factfinder could conclude that the
that he field a grievance regarding this incident, there is no
                                                                     alleged conduct of defendants Laurin, Kinter, Bedard, and
copy of the grievance in the record before the court. Id. at
                                                                     Wingler was sufficiently serious to satisfy the objective
22; Dkt. No. 93–4 at 76–171. In his affidavit submitted in
                                                                     element of a deliberate medical indifference cause of action.
support of the county defendants' motion, defendant Web
                                                                     In particular, there is no record evidence, aside from plaintiff's
admits to “recall[ing] an occurrence of which the Plaintiff was
                                                                     allegation that he suffered an indiscernible amount of risk for
complaining that he was served pork in contradiction to his
                                                                     a heart attack and stroke, that removing him from his heart-
religious diet. However the food he claimed was pork was
                                                                     healthy diet for one month is constitutionally significant.
actually turkey.” Dkt. No. 77–16 at 2. In light of this additional
                                                                     See, e.g., Cleveland v. Eagleton, No. 14–CV–2444, 2015 WL
record evidence supporting plaintiff's version of the events
                                                                     8919463, at *5 (D.S.C. Nov. 12, 2015) (finding that removing
on November 5, 2012 as alleged in his amended complaint, I
                                                                     the plaintiff from his cholesterol medicine and his heart-
find there is a dispute of material fact as to whether defendant
                                                                     healthy diet does not satisfy the objective element of a medical
Web was personally involved in depriving plaintiff of a meal
                                                                     indifference claim). Because plaintiff cannot establish one
consistent with his religious diet on that date.
                                                                     of the required elements of the claim, I recommend that his
                                                                     deliberate medical indifference cause of action be dismissed
                                                                     as to defendants Laurin, Kinter, Bedard, and Wingler.
                     f. Defendant Wingler



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 166 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

                                                                            Court's decision in Emp't Div. v. Smith, 494 U.S
                                                                            872, 887 (1990), in which the Court suggested
     b. Plaintiff's Free Exercise Claim (Regarding his
                                                                            that application of the test “puts courts in 'the
     Religious Dietary Restrictions) Asserted Against
                                                                            unacceptable business of evaluating the relative
Defendants Laurin, Kinter, Bedard, Clancy, Perry, and Web
                                                                            merits of differing religious claims.' ” Ford v.
 *17 While inmates confined within prison facilities are by                 McGinnis, 352 F.3d 582, 592 (2d Cir. 2003)
no means entitled to the full gamut of rights guaranteed                    (quoting Emp't Div., 494 U.S. at 887); see
under the United States Constitution, including its First                   also Holland v. Goord, 758 F.3d 215, 220–21
Amendment, the free exercise clause of that provision                       (2d Cir. 2014) (declining to decide whether a
does afford them at least some measure of constitutional                    prisoner must show, as a threshold matter, that
protection, including their right to “a diet consistent with                the defendants' conduct substantially burdened
[their] religious scruples.” Bass v. Coughlin, 976 F.2d 98, 99              his sincerely held religious beliefs in connection
(2d Cir. 1992); see also Pell v. Procunier, 417 U.S. 817, 822               with a First Amendment free exercise claim). In
(1974) (“In the First Amendment context ... a prison inmate                 the absence of any controlling precedent to the
retains those First Amendment rights that are not inconsistent              contrary, I have applied the substantial-burden test
with his status as a prisoner or with the legitimate penological            in this matter.
objectives of the corrections system.”). That right, however, is
not without limits, and the task of defining the contours of that   In this case, there is evidence in the record to support a
right in a prison setting requires striking a delicate balance      factfinder's conclusion that plaintiff was initially served a
between the rights of prison inmates and the legitimate             meal that contained pork, which is inconsistent with his
interests of prison officials tasked with maintaining prison        religious beliefs, on only ten occasions between March 28,
security. O'Lone v. Estate of Shabazz, 482 U.S. 342, 348–49         2012 and December 25, 2012. Specifically, a review of
(1987); Ford v. McGinnis, 352 F.3d 582, 588 (2d Cir. 2003);         the record evidence, including the allegations in plaintiff's
Benjamin v. Coughlin, 905 F.2d 571, 574 (2d Cir. 1990).             amended complaint, reveal that plaintiff was initially served
                                                                    meals containing pork on (1) June 21, 2012; (2) July 4, 2012;
As a threshold matter, “[t]he prisoner must show ... that           (3) September 24, 2012 at lunch; (4) September 24, 2012
the disputed conduct substantially burdens his sincerely            at dinner; (5) October 9, 2012; (6) October 10, 2012; (7)
held religious beliefs.” 20 Salahuddin, 467 F.3d at 274–            October 17, 2012; (8) October 29, 2012; (9) November 5,
75. In evaluating this factor, the court must be wary               2012; and (10) December 25, 2012. Dkt. No. 17 at 13, 18,
of “ 'question[ing] the centrality of particular beliefs or         20, 21, 22, 66, 67; Dkt. No. 93–4 at 82–85, 94–99, 116–
practices to a faith, or the validity of particular litigants'      17, 164–65. On September 24, 2012, plaintiff learned that
interpretations of those creeds.' ” McEachin, 357 F.3d at           the meat in his meals was vegetarian bacon. Id. at 83, 85.
201 (quoting Hernandez v. Comm'r of Internal Revenue, 490           Similarly on October 10, 2012, plaintiff was told that the meat
U.S. 680, 699 (1989)). Instead, a court should consider only        was turkey ham, not pork. Id. at 99. Nevertheless, there is
whether the particular plaintiff has “demonstrate[d] that the       evidence suggesting that on October 10, 2012 and December
beliefs professed are sincerely held and in the individual's        25, 2012, his meal was replaced. Id. at 96, 164. While there
own scheme of things, religious.” Ford, 352 F.3d at 588             is a dispute in the record regarding precisely when the CCJ
(quotation marks omitted). Once a plaintiff satisfies this          learned of plaintiff's religious dietary restrictions, it is clear
burden, defendants must then “bear the relatively limited           from the record that plaintiff may have been served pork
burden of identifying the legitimate penological interests          only on ten dates during his one-year incarceration at the
that justifying impinging conduct.” Salahuddin, 467 at 275.         CCJ. This is not constitutionally significant and does not
“[T]he burden[, however,] remains with the prisoner to 'show        give rise to a dispute of fact regarding whether his First
that these penological concerns were irrational.' ” Ford, 352       Amendment rights were substantially burdened. See Norwood
F.3d at 595 (quoting Fromer v. Scully, 874 F.2d 69, 74 (2d Cir.     v. Strada, 249 Fed.Appx. 269, 272 (3d Cir. 2007) (finding
1989)) (alteration omitted).                                        that the denial of seven consecutive religious meals did
                                                                    not substantially burden the plaintiff's free exercise rights);
20                                                                  Washington v. Afify, 968 F.Supp.2d 532, 538 (W.D.N.Y. 2013)
        The Second Circuit has yet to decide whether the            (“Courts have generally held that incidents that are isolated,
        “substantial burden” test survived the Supreme              or few in number, involving religiously-mandated food, do



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 167 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1638242

                                                                      Similarly, the county defendants did not address plaintiff's
not give rise to a First Amendment claim.” (citing cases));
                                                                      failure-to-protect claim asserted against defendants Blaise
Evans v. Albany Cnty. Corr. Facility, No. 05–CV–1400, 2009
                                                                      and Clancy and, accordingly, I recommend that claim survive
WL 1401645, at *8 (N.Y.N.D. May 14, 2009) (Suddaby,
                                                                      but that those individuals be permitted to file a motion for
J.) (finding the plaintiff's allegations that he was served
                                                                      summary judgment regarding that single claim.
eighteen “wrong meals” out of an approximate 354 meals
was constitutionally de minimis); Odom v. Dixion, No. 04–
                                                                      Based upon the foregoing, it is hereby respectfully
CV–0889, 2008 WL 466255, at *11 (W.D.N.Y. Feb. 15,
2008) (finding the plaintiff's allegation that the defendants
                                                                      RECOMMENDED that defendant Schroyer's motion for
failed to provide him with kosher meals on five of the
                                                                      summary judgment (Dkt. No. 75) be GRANTED to the extent
fifteen days he was in keeplock confinement did not give
                                                                      it seeks dismissal of plaintiff's claims against him, with the
rise to a cognizable constitutional violation). Accordingly, I
                                                                      exception of plaintiff's retaliation claim and that the motion
recommend this claim be dismissed as to defendants Laurin,
                                                                      be DENIED as to that claim; and it is further
Kinter, Bedard, Clancy, Perry, and Web.

                                                                      RECOMMENDED that the motion for summary judgment
      c. Plaintiff's Failure–to–Protect Claim Asserted                submitted by defendants Bedard, Blaise, Clancy, Laurin,
           Against Defendants Blaise and Clancy                       Kinter, Perry, Web, and Wingler (Dkt. No. 77) be GRANTED
                                                                      to the extent it seeks dismissal of plaintiff's claims asserted
 *18 The county defendants do not seek dismissal of this
                                                                      against all defendants, with the exception of plaintiff's
claim in their summary judgment papers. For that reason,
                                                                      failure-to-protect claim asserted against defendants Blaise
I recommend that the claim survive this motion but that
                                                                      and Clancy and that the motion be DENIED as to that claim;
defendants Blaise and Clancy be permitted an opportunity to
                                                                      and it is further
file a second motion for summary judgment specific to this
remaining claim.
                                                                      RECOMMENDED that defendant Schroyer be permitted to
                                                                      file a second motion for summary judgment addressing the
IV. SUMMARY AND RECOMMENDATION                                        retaliation claim not addressed in his first motion, and that
A careful review of the evidence currently before the court           defendants Blaise and Clancy be permitted to file a second
demonstrates that no reasonable factfinder could conclude             motion for summary judgment addressing the failure-to-
that any of the defendants were deliberately indifferent to           protect claim not addressed in their first motion.
plaintiff's medical needs, based upon a decision to remove
him from his heart-healthy diet for a period of one month.            NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
Addressing plaintiff's religious claims, his assertion that his       may lodge written objections to the foregoing report. Such
religious rights were violated when prison officials failed           objections must be filed with the clerk of the court within
to permit him to celebrate Ramadan and to engage in                   FOURTEEN days of service of this report. FAILURE
congregational prayer are precluded based upon his failure            TO SO OBJECT TO THIS REPORT WILL PRECLUDE
to exhaust available administrative remedies before filing            APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
this action. Similarly, his retaliation claims are also not           6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85 (2d Cir. 1993).
properly exhausted. Plaintiff's free exercise claim regarding
his religious diet is also subject to dismissal in light of the       It is hereby ORDERED that the clerk of the court serve a
absence of any evidence from which a reasonable factfinder            copy of this report and recommendation upon the parties in
could conclude that his rights were substantially burdened.           accordance with this court's local rules.
Because defendant Schroyer did not seek dismissal of the
plaintiff's retaliation claim, I recommend that cause of action
                                                                      All Citations
survive defendant Schroyer's motion but he be permitted to
file a second motion for summary judgment addressing it.              Not Reported in Fed. Supp., 2016 WL 1638242

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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 168 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1639904


                                                                        Plaintiff filed objections to the Report-Recommendation.
      KeyCite Red Flag - Severe Negative Treatment                      When objections to a magistrate judge’s Report-
Affirmed in Part, Vacated in Part, Remanded by Brandon v. Kinter, 2nd
                                                                        Recommendation are lodged, the Court makes a “de novo
Cir.(N.Y.), September 10, 2019
                                                                        determination of those portions of the report or specified
                     2016 WL 1639904                                    proposed findings or recommendations to which objection is
       Only the Westlaw citation is currently available.                made.” See 28 U.S.C. § 636(b)(1). After such a review, the
        United States District Court, N.D. New York.                    Court may “accept, reject, or modify, in whole or in part, the
                                                                        findings or recommendations made by the magistrate judge.
             Chamma K. BRANDON, Plaintiff,                              The judge may also receive further evidence or recommit the
                         v.                                             matter to the magistrate judge with instructions.” Id.
          Dr. Glen SCHROYER, et al., Defendants.
                                                                        Having reviewed the record de novo and having considered
                     9:13-CV-939 (TJM/DEP)                              the issues raised in the Plaintiff’s objections, this Court
                                |                                       has determined to accept and adopt the recommendation of
                        Signed 04/25/2016                               Magistrate Judge Peebles for the reasons stated in the Report-
                                                                        Recommendation.
Attorneys and Law Firms
                                                                        It is therefore
Chamma K. Brandon, Ossining, NY, pro se.

Kelly M. Monroe, Andrew L. McNamara, Molly C. Casey,                    ORDERED that the Plaintiff’s objections to the Report-
Thuillez, Ford Law Firm, Albany, NY, Bradley J. Stevens,                Recommendation of Magistrate Judge Peebles, dkt. # 111, are
Lemire, Johnson Law Firm, Malta, NY, for Defendants.                    hereby OVERRULED. The Report-Recommendation, dkt. #
                                                                        99, is hereby ADOPTED, and:

                                                                          1. Defendant Schroyer’s motion for summary judgment,
                    DECISION & ORDER                                         dkt. # 75, is hereby GRANTED in part and DENIED
                                                                             in part. The motion is denied with respect to Plaintiff’s
Thomas J. McAvoy, United States District Judge
                                                                             retaliation claims against Plaintiff and GRANTED in all
 *1 This action, brought pursuant to 42 U.S.C. §§ 1983,                      other respects;
1985 and 19 86, as well as the Religious Land Use
                                                                          2. Defendant Schroyer’s second motion for summary
and Institutionalized Persons Act of 2000 (“RLUIPA”),
                                                                            judgment is hereby accepted as filed. The Clerk of Court
42 U.S.C. § 2000cc, alleges that Defendants violated the
                                                                            shall refer the motion to Magistrate Judge Peebles for a
Plaintiff’s rights by denying him access to food appropriate
                                                                            Report and Recommendation; and
to his religion and preventing him participating in religious
ceremonies during his incarceration, and by failing to                    3. The motion of summary judgment of Defendants
protect him from an assault by a fellow inmate. The action                  Bedard, Blaise, Clancy, Laurin, Kinter, Perry, Web and
was referred to the Hon. David E. Peebles, United States                    Wingler, dkt. # 77, is hereby GRANTED in part and
Magistrate Judge, for a Report-Recommendation pursuant to                   DENIED in part. The motion is DENIED with respect
28 U.S.C. § 636(b) and Local Rule 72.3(c).                                  to Plaintiff’s failure-to-protect claim against Defendants
                                                                            Blaise and Clancy and GRANTED in all other respects.
The Report-Recommendation, dated February 26, 2016,
recommends that Defendants' motions for summary judgment                IT IS SO ORDERED.
be granted in part and denied in part, and that Defendant
Glen Schroyer be permitted to file a supplemental motion for
summary judgment to address Plaintiff’s claims of retaliation.          All Citations
See dkt. # 99. Defendant Schroyer subsequently filed such a
motion. See dkt. # 100.                                                 Not Reported in Fed. Supp., 2016 WL 1639904




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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 169 of 221
Brandon v. Schroyer, Not Reported in Fed. Supp. (2016)
2016 WL 1639904



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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 170 of 221
Latouche v. Tompkins, Not Reported in F.Supp.2d (2011)
2011 WL 1103045



                  2011 WL 1103045                             Magistrate Judge Treece issued a Report and
     Only the Westlaw citation is currently available.        Recommendation (Dkt. No. 60) recommending that
              United States District Court,                   defendants' motion be granted in part and denied in
                    N.D. New York.                            part. Specifically, Magistrate Judge Treece recommended
                                                              awarding summary judgment dismissing the following:
             Valery LATOUCHE, Plaintiff,                      (1) plaintiff's claims for monetary relief against all
                        v.                                    defendants in their official capacity; (2) plaintiff's claims
    Michael C. TOMPKINS, C.O., Clinton Correctional           of medical indifference against defendant Fitzgerald; and
                                                              (3) plaintiff's allegations of verbal harassment by defendant
    Facility; Dean E. Laclair, C.O., Clinton Correctional
                                                              Mason. Magistrate Judge Treece also recommended denying
  Facility; Jeffrey R. Ludwig, C.O ., Clinton Correctional
                                                              defendants' motion for summary judgment on plaintiff's
    Facility; Michael B. King, Sgt., Clinton Correctional
                                                              excessive force claims against defendants Tompkins, LaClair,
  Facility; D. Mason, C.O., Clinton Correctional Facility;    Mason, Malark and Reyell and plaintiff's failure to protect
    B. Malark, C.O., Clinton Correctional Facility; John      claims against defendants Ludwig and King.
      Reyell, C.O., Clinton Correctional Facility; Bob
 Fitzgerald, R.N., Clinton Correctional Facility; John Doe,   Defendants filed specific objections to portions of the Report
  C.O. (C.O. Gallery Officer Company Upper F–6); John         and Recommendation arguing: (1) that the Magistrate Judge
   Doe, C.O. (Mess Hall Supervising C.O.), Defendants.        erred in “overlooking” plaintiff's failure to comply with Local
                                                              Rule 7.1(a) (3); (2) that the Magistrate Judge erred when he
              No. 9:09–CV–308 (NAM/RFT).                      failed to apply the Jeffreys exception as plaintiff's testimony
                            |                                 was incredible as a matter of law; and (3) plaintiff's excessive
                     March 23, 2011.                          force claims against defendant Reyell are subject to dismissal
                                                              for lack of personal involvement. (Dkt. No. 61). Plaintiff does
Attorneys and Law Firms
                                                              not object to the Report and Recommendation. (Dkt. No. 62).
Valery LaTouche, Ossining, NY, pro se.
                                                              In view of defendants' objections, pursuant to 28 U.S.C.
Eric T. Schneiderman, Attorney General for the State of New   § 636(b) (1)(c), this Court conducts a de novo review of
York, Krista A. Rock, Esq., Assistant Attorney General, of    these issues. The Court reviews the remaining portions of the
Counsel, Albany, NY, for Defendants.                          Report–Recommendation for clear error or manifest injustice.
                                                              See Brown v. Peters, 1997 WL 599355, *2–3 (N.D.N.Y.),
                                                              af'd without op., 175 F.3d 1007 (2d Cir.1999); see also
     MEMORANDUM–DECISION AND ORDER                            Batista v. Walker, 1995 WL 453299, at *1 (S.D.N.Y.1995)
                                                              (when a party makes no objection to a portion of the report-
NORMAN A. MORDUE, Chief Judge.                                recommendation, the Court reviews that portion for clear
                                                              error or manifest injustice). Failure to object to any portion of
                                                              a report and recommendation waives further judicial review
                   INTRODUCTION
                                                              of the matters therein. See Roldan v. Racette, 984 F.2d 85, 89
 *1 In this pro se action under 42 U.S.C. § 1983,             (2d Cir.1993).
plaintiff, an inmate in the custody of the New York State
Department of Correctional Services (“DOCS”), claims that
defendants violated his Eighth Amendment rights as a result                           DISCUSSION
of a physical altercation. Defendants moved for summary
judgment pursuant to Rule 56 of the Federal Rules of Civil    I. Local Rule 7.1(a)(3)
Procedure (Dkt. No. 46) and plaintiff opposed the motion.     The submissions of pro se litigants are to be liberally
(Dkt. No. 53). The motions were referred to United States     construed. Nealy v. U.S. Surgical Corp., 587 F.Supp.2d 579,
Magistrate Judge Randolph F. Treece for a Report and          583 (S.D.N.Y.2008). However, a pro se litigant is not relieved
Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B) and       of the duty to meet the requirements necessary to defeat
Local Rule 72.3(c).                                           a motion for summary judgment. Id. (citing Jorgensen v.



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 171 of 221
Latouche v. Tompkins, Not Reported in F.Supp.2d (2011)
2011 WL 1103045

Epic/Sony Records, 351 F.3d 46, 50 (2d Cir.2003)). Where                  Local Rule 7.1(a)(3) (emphasis in original).
a plaintiff has failed to respond to a defendant's statement     *2 The record herein contains few undisputed facts.
of material facts, the facts as set forth in defendant's Rule   Plaintiff and defendants disagree on many of the events
7.1 statement will be accepted as true to the extent that       that transpired and provide conflicting accounts of the
(1) those facts are supported by the evidence in the record,    circumstances surrounding the incident. In support of the
and (2) the non-moving party, if he is proceeding pro se,       motion, defendants properly filed a Statement of Material
has been specifically advised of the potential consequences     Facts pursuant to Local Rule 7.1 and notified plaintiff about
of failing to respond to the movant's motion for summary        the consequences of his failure to respond to the motion for
judgment. Littman v. Senkowski, 2008 WL 420011, at *2           summary judgment. Plaintiff does not dispute that he received
(N.D.N.Y.2008) (citing Champion v. Artuz, 76 F.3d 483, 486      such notification from defendants. Plaintiff responded with
(2d Cir.1996)). 1                                               a handwritten “Statement of Facts”, without citations to the
                                                                record, and failed to specifically admit or deny defendants'
1                                                               factual statements as required by Local Rule 7.1. However,
       Local Rule 7.1(a)(3) provides:
           Summary Judgment Motions                             plaintiff also annexed a copy of his deposition transcript.
           Any motion for summary judgment shall                In the deposition, upon questioning from defense counsel,
           contain a Statement of Material Facts. The           plaintiff testified as follows:
           Statement of Material Facts shall set forth,
                                                                  Q. ... Have you read the complaint?
           in numbered paragraphs, each material fact
           about which the moving party contends there            A. Yes, ma‘am.
           exists no genuine issue. Each fact listed shall
           set forth a specific citation to the record            Q. So, you are aware of its contents?
           where the fact is established. The record for
           purposes of the Statement of Material Facts            A. Yes, ma‘am.
           includes the pleadings, depositions, answers
                                                                  Q. Did anyone help you prepare the complaint?
           to interrogatories, admissions and affidavits.
           It does not, however, include attorney's               A. No, ma‘am.
           affidavits. Failure of the moving party to
           submit an accurate and complete Statement of           Q. Are there any statements contained in the complaint that
           Material Facts shall result in a denial of the           you now wish to change or modify?
           motion.
                                                                  A. I'm not sure.
           The moving party shall also advise pro se
           litigants about the consequences of their              Q. Well, let me ask you this: So, do you adopt this document
           failure to respond to a motion for summary               under oath as true to the best of your knowledge?
           judgment. See also L.R. 56.2.
           The opposing party shall file a response to            A. Yes, ma‘am.
           the Statement of Material Facts. The non-
           movant's response shall mirror the movant's          Transcript of Plaintiff's Deposition at 13.
           Statement of Material Facts by admitting and/
           or denying each of the movant's assertions in        A verified complaint may be treated as an affidavit for
           matching numbered paragraphs. Each denial            the purposes of a summary judgment motion and may
           shall set forth a specific citation to the           be considered in determining whether a genuine issue of
           record where the factual issue arises. The           material fact exists. Colon v. Coughlin, 58 F.3d 865, 872 (2d
           non-movant's response may also set forth             Cir.1995) (the plaintiff verified his complaint by attesting
           any additional material facts that the non-          under penalty of perjury that the statements in the complaint
           movant contends are in dispute in separately         were true to the best of his knowledge). Based upon
           numbered paragraphs. The Court shall deem            the aforementioned colloquy, the Court deems plaintiff's
           admitted any facts set forth in the Statement        complaint to be “verified” and as such, will treat the complaint
           of Material Facts that the opposing party does       as an affidavit. See Torres v. Caron, 2009 WL 5216956,
           not specifically controvert.                         at *3 (N.D.N.Y.2009). While plaintiff has not formally and



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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 172 of 221
Latouche v. Tompkins, Not Reported in F.Supp.2d (2011)
2011 WL 1103045

technically complied with the requirements of Local Rule               evidence in the record upon which a reasonable factfinder
7.1(a)(3), his opposition to defendants' motion contains sworn         could base a verdict in the plaintiff's favor.
testimony. In light of his pro se status and the preference
to resolve disputes on the merits rather than “procedural            Id. at 554 (internal citations and citations omitted).
shortcomings”, to the extent that plaintiff's “Statement of
Facts” and assertions in the complaint do not contradict his         Here, while plaintiff relies exclusively on his own
deposition testimony, the Court will consider those facts in         testimony, for Jeffreys to apply, the testimony must also be
the context of the within motion. See Mack v. U.S., 814 F.2d         “contradictory and incomplete”. In this regard, defendants
120, 124 (2d Cir.1987); see also Liggins v. Parker, 2007             argue that plaintiff's allegations are contradicted by his prior
WL 2815630, at *8 (N.D.N.Y.2007) (citing Lucas v. Miles,             accounts of the incident. Defendants cite to the record and
84 F.3d 532, 535 (2d Cir.1996)). The Court has reviewed              argue that plaintiff told Fitzgerald that, “I hit the officer
plaintiff's complaint and compared the allegations with the          first” and that “I was hurt when I was subdued”. Moreover,
testimony presented at his deposition and adopts Magistrate          defendants point out that these statements were documented
Judge Treece's summary of the “facts” as presented by both           in an Inmate Injury Report executed by plaintiff.

parties. 2
                                                                     Plaintiff does not deny making the aforementioned
                                                                     statements. However, in his deposition, plaintiff explained
2        While the Court adopts Magistrate Judge Treece's            those discrepancies and testified:
         recitation of defendants' and plaintiff's versions of
         the facts, the Court does not adopt the reasoning             Q. —did Nurse Fitzgerald ask you any questions while he
         set forth in the Footnote 2 of the Report and                   was examining you?
         Recommendation.
                                                                       A. I think he asked me how am I feeling, how did this
                                                                         happen?
II. Jeffreys Exception
Defendants argue that the Court should apply Jeffreys v. City          Q. And what did you say?
of New York, 426 F.3d 549, 554 (2d Cir.2005) and award
summary judgment dismissing all claims of excessive force              A. I told him I was nervous and that [sic] whatever officer
based upon plaintiff's implausible and contradictory claims.             D. Mason told me to tell him.

 *3 “It is a settled rule that ‘[c]redibility assessments, choices     Q. What did you say?
between conflicting versions of the events, and the weighing
                                                                       A. I told him I was nervous and whatever officer D. Mason
of evidence are matters for the jury, not for the court on a
                                                                         told me to tell him, which was that I got hurt being
motion for summary judgment’ “. McClellan v. Smith, 439
                                                                         subdued—
F.3d 137, 144 (2d Cir.2006) (citing Fischl v. Armitage, 128
F.3d 50, 55 (2d Cir.1997) (unfavorable assessments of a                Q. Which was—
plaintiff's credibility are not “within the province of the court
on a motion for summary judgment”)). A narrow exception to             A. —and that I started this.
this general rule was created by the Second Circuit in Jeffreys:
                                                                       Q. And is that the truth?
    While it is undoubtedly the duty of district courts not
                                                                       A. No.
    to weigh the credibility of the parties at the summary
    judgment stage, in the rare circumstance where the plaintiff       Q. Why did you tell the nurse that?
    relies almost exclusively on his own testimony, much
    of which is contradictory and incomplete, it will be               A. Because I was being forced to.
    impossible for a district court to determine whether “the
    jury could reasonably find for the plaintiff,” and thus            Q. Forced to how?
    whether there are any “genuine” issues of material fact,
                                                                       A. By the officers that [sic] was there.
    without making some assessment of the plaintiff's account.
    Under these circumstances, the moving party still must             Q. Did you sign a form admitting that you hit the officer
    meet the difficult burden of demonstrating that there is no          first and you were hurt when you were subdued?


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 173 of 221
Latouche v. Tompkins, Not Reported in F.Supp.2d (2011)
2011 WL 1103045

                                                                    does not apply. Accordingly, the Court accepts and adopts the
  A. Yes, ma‘am.                                                    Report and Recommendation on this issue.

  Q. Why did you do that?
                                                                    III. Reyell's Personal Involvement
  A. Because the [sic] officer D. Mason kept smacking me
                                                                    Defendants argue that the Magistrate Judge erred when he
    for me to do that.
                                                                    failed to dismiss the complaint against Reyell on the grounds
Transcript of Plaintiff's Deposition at 53–54.                      that he was not personally involved in the attack. Defendants
                                                                    claim that the “RRO erroneously cites plaintiff's declaration
 *4 In the Report and Recommendation, Magistrate Judge              as stating that ‘it was defendant Reyell and another officer
Treece concluded that plaintiff's “fear of retribution” was a       who removed the shirt’ “. Defendants claim that the
plausible explanation for the discrepancies in his testimony.       declaration and complaint clearly state that, “Officer Rock
This Court agrees and adopts the Magistrate Judge's                 orchestrated the removal of plaintiff's shirt” . 3 Defendants
conclusions. See Langman Fabrics v. Graff Californiawear,           argue that the assertions in plaintiff's declaration (submitted
Inc., 160 F.3d 106, 112–13 (2d Cir.1998); see also Cruz v.          in response to the motion for summary judgment) and
Church, 2008 WL 4891165, at *5 (N.D.N.Y.2008) (”[t]he               complaint are contradicted by plaintiff's deposition testimony.
Court notes that ... it would be have difficulty concluding         Defendants claim that plaintiff testified that Reyell tried to
that [the][p]laintiff's statement of June 5, 2005, and his          cover up the incident by removing the shirt he was wearing.
statement of June 16, 2005, are wholly irreconcilable, given
his proffered explanation that he made the statement of June        3        Officer Rock is not a defendant herein.
5, 2005, out of fear of retribution by [the] [d]efendants).
                                                                     *5 The Court has reviewed plaintiff's complaint, declaration
Defendants also argue that plaintiff cannot identify which          and deposition transcript and finds defendants' summary of
individuals participated in the attack; that plaintiff's injuries   plaintiff's assertions to be inaccurate. In plaintiff's complaint,
are consistent with the brief use of force as described by          on page 8, plaintiff alleges:
defendants to subdue plaintiff; and that plaintiff's version
                                                                        Feeling extremely weak the claimant responded with a
is contradicted by defendants' affidavits. Magistrate Judge
                                                                        shake of his head. Once this performance was over with
Treece found that plaintiff was able to identify some
                                                                        Correctional Officer R. Rock, the individual who held
individuals involved in the assault which, “stands in stark
                                                                        on to the photograph camera and who is responsible for
contrast to the plaintiff in Jeffreys who was unable to identify
                                                                        capturing the claimant's injuries [sic] photos pointed to the
any of the officers involved in the alleged assault”. Upon
                                                                        claimant's bloodly [sic] stain kitchen white colored uniform
review of the record, as it presently exists, the Court agrees
                                                                        [ ] as co-workers....
and finds that plaintiff's testimony is not wholly conclusory
or entirely inconsistent to warrant application of the Jeffreys         Correctional Officer D. Mason then roughly removed the
exception. See Percinthe v. Julien, 2009 WL 2223070, at *7              article of clothing and with the help of on[e] other they
(S.D.N.Y.2009) (the court rejected the defendants' argument             discarded the item of clothings [sic].
that the plaintiff's claims were subject to dismissal for
implausibility as his injuries did not reflect the attack that he   In Paragraph 22 of plaintiff's declaration, he states:
described and his description of the incident changed over
time holding that the plaintiff's testimony, “[did] not reach the
level of inconsistency and lack of substantiation that would
                                                                                  Officer Rock, the individual who
permit the Court to dismiss on these grounds”).
                                                                                  held the photograph camera and was
                                                                                  responsible for capturing LaTouche
Magistrate Judge Treece provided an extensive summary of
                                                                                  injuries pointed to LaTouche [sic]
the record and applicable law and found that the evidence
                                                                                  bloody kitchen white colored uniform
did not support deviating from the established rule that
                                                                                  to his coworker asking them to remove
issues of credibility are not be resolved on summary
                                                                                  the article of clothing before he take
judgment. On review, the Court agrees with the Magistrate's
                                                                                  [sic] any pictures. Mason then roughly
recommendations and concludes that the Jeffreys exception
                                                                                  removed the clothing and with the help



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 174 of 221
Latouche v. Tompkins, Not Reported in F.Supp.2d (2011)
2011 WL 1103045

                                                                          that morning, and the failure of those workers to notice
                                                                          any indications that he had been beaten. That skepticism,
             of an other [sic] officer they discarded                     however, rests on both a negative assessment of Fischl's
             the items of clothing.                                       credibility and the drawing of inferences adverse to Fischl.

                                                                           *6 Likewise, inconsistent statements by Fischl as to, for
                                                                          example, whether it was five, six, or seven inmates who
In his deposition, plaintiff testified:
                                                                          attacked him, and as to what he observed or overheard
  Q. What about Defendant Reyell, why are you suing                       just prior to the attack, go to Fischl's credibility. While
    Reyell?                                                               inconsistencies of this sort provide ammunition for cross-
                                                                          examination, and they may ultimately lead a jury to reject
  A. Because defendant Reyell, that's the officer that was                his testimony, they are not a proper basis for dismissal of
    holding the camera and he tried to cover up the incident.             his claim as a matter of law. The jury might well infer,
                                                                          for example, that while Fischl was under siege he was
  Q. How so?                                                              understandably unable to take an accurate census of the
                                                                          number of inmates holding him and kicking him in the face.
  A. That's when him and the other officer that was there,
    when they was searching me, strip searching me they                 Fischl, 128 F.3d at 56.
    took my shirt and they kept screaming something about
    let's remove this bloodstained shirt, let's remove this             In this matter, without a credibility assessment of plaintiff,
    bloodstained shirt, we can't have this for the camera.              the record does not warrant an award of summary
                                                                        judgment. Accordingly, the Court adopts the Magistrate's
***                                                                     recommendation and denies summary judgment on this issue.
  Q. Reyell and another officer took your shirt off?

  A. Yes, ma‘am.                                                                               CONCLUSION
  Q. Do you remember the other officer's name?                          It is therefore
  A. No, ma‘am.
                                                                        ORDERED that the Report and Recommendation of United
Transcript of Plaintiff's Deposition at 63–64.                          States Magistrate Judge Randolph F. Treece (Dkt. No. 60) is
                                                                        adopted; and it is further
Here, the Magistrate Judge stated that any inconsistency or
discrepancy [in plaintiff's testimony], “go[es] to the weight ...       ORDERED that for the reasons set forth in the
accorded to plaintiff's testimony”. The Court agrees. Any               Memorandum–Decision and Order herein, defendants'
discrepancies or inconsistencies in plaintiff's testimony are           motion for summary judgment is granted in part and denied
for a jury to assess. In the Second Circuit case of Fischl v.           in part; and it is further
Armitage, the plaintiff/inmate alleged that he was assaulted
in his cell by other inmates. Fischl, 128 F.3d at 54. The               ORDERED that the Clerk provide copies of this Order to all
district court dismissed the plaintiff's complaint as against           parties.
one defendant based upon “inconsistent statements”. Id. The
Second Circuit vacated the judgment of the district court               IT IS SO ORDERED.
holding:

  [T]he district court apparently questioned whether there              All Citations
  had been an attack on Fischl at all, principally because
                                                                        Not Reported in F.Supp.2d, 2011 WL 1103045
  of inconsistencies in his accounts of the event, his failure
  to report such an attack to prison workers in the area on

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         Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 175 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330




     KeyCite Overruling Risk - Negative Treatment
Overruling Risk Darnell v. Pineiro, 2nd Cir., February 21, 2017

                                                                  Attorneys and Law Firms
                    2010 WL 1064330
       Only the Westlaw citation is currently available.          Joseph Paul Guarneri, Schoharie, NY, pro se.
                United States District Court,
                      N.D. New York.                              O'Connor, O'Connor, Bresee & First, P.C., Justin O'C.
                                                                  Corcoran, Esq., of Counsel, Albany, NY, for Defendant Weitz.
            Joseph Paul GUARNERI, Plaintiff,
                             v.                                   Lemire, Johnson Law Firm, Gregg T. Johnson, Esq., Scott
     LT. James HAZZARD, Corporal J. Crook, Deputy                 Quesnel, Esq., of Counsel, Malta, NY, for Defendants Lt.
                                                                  James Hazzard, Cpl. J. Cronk, Deputy Paul Marsh, Jr., Deputy
      Paul March; Deputy Grippin, Deputy Howland,
                                                                  Grippin, Deputy Howland County of Schoharie and Deputy
       Deputy Mace, Deputy John Doe, the Schoharie
                                                                  Mace.
     County Jail Medical Department, Dr. Weitz, Jane
      Doe Nurse Practitioner, Commissioner Frederick
       C. Lamy, and Francis T. Sullivan, Defendants.
                                                                       MEMORANDUM–DECISION AND ORDER
                 No. 9:06–CV–985 (NAM/DRH).
                                                                  Hon. NORMAN A. MORDUE, Chief Judge.
                                |
                         March 22, 2010.                           *1 In this pro se civil rights action under 42 U.S.C. §
                                                                  1983, plaintiff claims that defendants violated his First,
                                                                  Eighth and Fourteenth Amendment rights while plaintiff
 West KeySummary
                                                                  was incarcerated at the Schoharie County Jail. In the
                                                                  second amended complaint, plaintiff asserts that defendants
 1       Prisons    Particular Conditions and                     violated: (1) the Eighth Amendment for failing to provide
         Treatments                                               plaintiff with adequate medical care; (2) the First Amendment
         Sentencing and Punishment                Medical         and Religious Freedom Restoration Act (“RFRA”) for
         Care and Treatment                                       denying plaintiff the right to practice his chosen religion;
                                                                  (3) the Fourteenth Amendment for denying plaintiff Equal
         State prisoner failed to show that his knee
                                                                  Protection on account of his religious beliefs; and (4)
         injury was a serious medical need since he
                                                                  the First Amendment for denying plaintiff access to
         never exhibited any limitations in his range
                                                                  the courts. Defendants move for summary judgment and
         of motion or complained of an inability to
                                                                  dismissal of plaintiff's second amended complaint pursuant to
         ambulate, and thus, his Eighth Amendment
                                                                  Fed.R.Civ.P. 56.
         rights were not violated. The prisoner alleged
         that he had a torn ACL, which was supported
         by the medical evidence. However, he played
         basketball, even after being advised to avoid                           FACTUAL BACKGROUND
         outdoor recreation. He alleged that he suffered
         from severe pain, but exhibited a normal gait            The facts in this case, unless otherwise noted, are
         and no swelling or difficulty walking. He alleged        undisputed. 1 The Schoharie County Sheriff's Department
         that he was in severe pain prior to being treated        (“SCSD”) operates the Schoharie County Jail Facility
         in the emergency room, but after he received             (“SCJ”) in Schoharie County, New York. At the relevant
         an injection of pain medication he did not feel          time period, James Hazzard (“Lt.Hazzard”) was employed
         pain. Within an hour or two of his return, he            as a lieutenant in the SCSD. In 2006, Lt. Hazzard was
         was involved in a physical altercation and kicked        the Chief Administrative Officer for the SCJ and was
         multiple sealed doors off the hinges. U.S.C.A.           responsible for reviewing inmate grievances. Allen Nelson
         Const.Amend. 8; 42 U.S.C.A. § 1983.                      (“Nelson”) was employed by the SCSD as a Corrections



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 176 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

Officer and acted as the SCJ Inmate Grievance Coordinator            Plaintiff has been arrested over 70 times in the past 20 years
with responsibilities that included receiving, investigation         and has spent most of his adult life in and out of correctional
and making determinations on inmate grievances. 2 Paul               facilities on various charges and convictions. Since 2000,
Marsh (“Marsh”) was employed as a Corrections Officer at             plaintiff has been housed at SCJ on 16 separate occasions. 4
SCJ. However, Officer Marsh was injured on November 5,               Plaintiff claims that he suffers from herniated discs in his neck
2005 and, as of December 2008, had not returned to work.             and lower back, torn ligaments in his knee, post-traumatic
James Grippin (“Grippin”) was employed as a Corrections              stress disorder (“PTSD”), bi-polar disorder and depression.
Officer at SCJ from February 2003 through August 2006.
Donald Mace (“Mace”) was employed as a Corrections                   4       Plaintiff was incarcerated at SCJ from 2000–2005.
Officer at SCJ and was employed in that capacity for 19 years.
                                                                             However, for the purposes of the within motion,
Dr. Weitz (“Weitz”) is board certified in internal medicine and
                                                                             only he relevant dates of his confinement and
rheumatology and licensed to practice medicine in the State
                                                                             medical treatment are summarized herein.
of New York. Dr. Weitz began working at SCJ in January
2004. Defendant Weitz has submitted a twenty page affidavit
                                                                     Plaintiff's Incarceration from 2004 until 2005
which details his contacts with plaintiff and comments on all
                                                                     Plaintiff was incarcerated at SCJ from January 2004 until
of plaintiff's visits for sick call. 3 Defendant Weitz's affidavit   January 2005. On January 29, 2004, plaintiff was evaluated
chronologically details all of the dates and states whether          by a social worker at SCJ. Plaintiff denied suicidal and
plaintiff was seen by other medical personnel or treated by          homicidal ideation and was found not to be an “imminent
defendant Weitz.                                                     risk” to himself or others. On February 27, 2004, a nurse
                                                                     practitioner examined plaintiff and prescribed Flexeril for
1       The facts set forth in this section are taken from: (1)      his back pain. 5 At plaintiff's request, the nurse agreed to
        the Second Amended Complaint; (2) the Answer;                discuss plaintiff's mental health complaints with Dr. Weitz.
        (3) Defendants' Statements of Material Facts; (4)            On March 2, 2004, Dr.Weitz evaluated plaintiff's mental
        the exhibits and evidence submitted by Defendants            health condition and consulted with Kelly Farnum, N.P., at
        in support of their Motions for Summary Judgment;            Schoharie County Mental Health Clinic. 6 Dr. Weitz and
        (5) plaintiff's deposition transcript; and (6) the           Nurse Farnum discussed plaintiff's medical condition and
        exhibits and evidence submitted by Plaintiff in
                                                                     agreed that Dr. Weitz would prescribe Prozac and Depakote. 7
        Opposition to Defendants' Motion for Summary
                                                                     On March 23, 2004, plaintiff was seen Nurse Farnum upon
        Judgment. Plaintiff does not dispute the accuracy
                                                                     Dr. Weitz's request. Nurse Farnum noted that plaintiff was
        of the facts. In opposition to the motion, plaintiff
                                                                     cooperative, his thoughts were organized and goal directed
        provided copies of several grievances filed in 2008.
                                                                     and plaintiff denied any suicidal or homicidal tendencies.
        The Court has reviewed those submissions and
                                                                     Nurse Farnum noted that plaintiff's impulse was “intact
        determines that they are not relevant to the issues
                                                                     during interview” but that his insight and judgment were
        at hand and therefore, will not be considered within
                                                                     “poor” and his intelligence was, “below average”. Nurse
        the context of these motions.
                                                                     Farnum suggested that plaintiff continue with his current
2                                                                    medication.
        Officer Nelson is not a defendant in this action
        but provided an affidavit in support of defendants'
        motion.                                                      5       Flexeril is a skeletal muscle relaxant for relief
3                                                                            of muscle spasms. Dorland's Illustrated Medical
        Defendant Weitz summarizes plaintiff's medical
                                                                             Dictionary, 465, 725 (31st ed.2007).
        treatment from January 2004 until July 2006. The
        relevant portions of plaintiff's medical records are         6       Kelly Farnum treated plaintiff prior to his
        sealed medical records on file with the court. As                    incarceration.
        plaintiff has not objected to the admissibility of
                                                                     7
        these records, the Court accepts the medical records                 Prozac is used in the treatment of depression and
        as evidence and the statements contained therein as                  obsessive-compulsive disorder. Id. at 730, 1562.
        true. See Jackson v. Onondaga County, 1998 WL                        Depakote is used in the treatment of manic episodes
        713453, at *5 (N.D.N.Y.1998).                                        associated with bipolar disorder. Id. at 497, 565.



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 177 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

 *2 In April 2004, the medical staff at SCJ noted that plaintiff   On August 24, 2004, plaintiff requested a knee brace so
requested a transfer to “Mercy” or another “psychiatric            that he could play basketball. Plaintiff was seen by a nurse
hospital”. The staff denied this request concluding that           practitioner on August 30, 2004 and complained that he
plaintiff had “adequate care” and that he was “manipulating        “went to jump up and when he came down, the right knee
for psychiatric hospitalization”. In May 2004, plaintiff           buckled”. Plaintiff was diagnosed with a right knee strain.
demanded to be seen by a psychiatrist. The medical                 The nurse practitioner told plaintiff to avoid basketball and
staff discussed plaintiff's request with Dr. Weitz and an          ordered a knee brace. On September 27, 2004, plaintiff
appointment was made for plaintiff to see Dr. Warren Becker        requested a different knee brace claiming that the neoprene
at Schoharie County Mental Health Clinic.                          knee brace he was wearing did not allow for the proper lateral
                                                                   movement of his knee. Nurse McDonald advised plaintiff
On May 18, 2004, plaintiff was treated by a nurse practitioner     that his brace was sufficient but stated she would discuss the
after complaining that he hurt his right knee playing              issue with Dr. Weitz. Dr. Weitz stated that plaintiff needed
basketball. The nurse noted that plaintiff's range of motion       an orthopedic evaluation to determine his need for a brace.
was intact but his patella was tender. The nurse diagnosed         Plaintiff was advised that an appointment would be made for
plaintiff with a right knee strain and prescribed Bextra. 8        a consultation.


8                                                                  On November 4, 2004, plaintiff was examined by Dr. Shep
       Bextra is an anti-inflammatory used for
                                                                   Friedman, an orthopedist at Bassett Hospital. Dr. Friedman
       symptomatic treatment of osteoarthritis or
                                                                   diagnosed plaintiff with a chronic anterior cruciate ligament
       rheumatoid arthritis. Dorland's at 215, 2048.
                                                                   (“ACL”) tear. Dr. Friedman suggested exercise and possible
On June 15, 2004, Nurse Practitioner Nancy McDonald                surgery. Dr. Friedman indicated that a brace was medically
at SCJ noted that plaintiff was refusing to take his               necessary and that he would speak with someone at the
medication including Bextra, Wellbutrin, Flexeril, Depakote        jail to discuss a more supportive brace that would meet jail
and Amoxicillin. 9 Plaintiff reported that he did not take his     guidelines. The medical staff told plaintiff that if the facility
medications because they “masked the problems”.                    paid for the brace, it would become facility property when he
                                                                   was transferred. Sgt. Newman and Sgt. Santoro gave Nurse
9      Wellbutrin is used as an antidepressant and as an           McDonald permission to purchase the brace. 11
       aid in smoking cessation to reduce the symptoms
       of nicotine withdrawal. Id. at 265, 2107.                   11      On December 14, 2004, the brace arrived at SCJ
On June 25, 2004, plaintiff was taken to Bassett Hospital                  but did not comply with the facility's standards.
with a prescription from Dr. Weitz for x-rays of his cervical       *3 In December 2004, plaintiff refused to wear a neoprene
spine, thoracic spine and lumbar spine. The x-rays revealed        knee brace. In January 2005, Dr. Friedman re-examined
mild degenerative changes in the lumbar spine. Plaintiff           plaintiff and found a normal gait and normal range of
was advised to avoid playing basketball and other outdoor          motion with some tenderness in the right knee. Dr. Friedman
recreation.                                                        diagnosed plaintiff with a chronic ACL tear and noted that
                                                                   the jail would not permit plaintiff to use a brace with metal
On July 28, 2004, plaintiff was examined by Dr. Warren             stays outside of his cell. Dr. Friedman suggested surgical
Becker, a psychiatrist at Schoharie County Mental Health           intervention or conservative measures including physical
Clinic. 10 Dr. Becker found that plaintiff did not display any     therapy.
psychiatric disorder that required medication but noted that
the medication would make him “feel calmer”. Dr. Becker
                                                                   Plaintiff's Incarceration in 2006
found plaintiff to be polite and cooperative and did not
                                                                   Plaintiff was incarcerated at SCJ in June 2006 and remained
conclude that he was suffering from PTSD.
                                                                   there until August 24, 2006 for a parole violation. 12 During
10                                                                 the three months that he was incarcerated at SCJ in 2006,
       Plaintiff made a request for his own psychiatrist
                                                                   plaintiff filed 102 separate inmate requests and approximately
       and that request was denied. Plaintiff did not file a
                                                                   12 medical requests.
       grievance with respect to that denial.




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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 178 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

12                                                                  *4 On June 18, 2006, plaintiff complained of severe pain
       Defendants allege that plaintiff was admitted on
                                                                   in his lower back. Plaintiff was treated on June 19, 2006 and
       June 7, 2006. Plaintiff claims he was admitted on
                                                                   advised to continue with his medications. On July 19, 2006,
       June 5,
                                                                   plaintiff requested a hinged knee brace. On July 20, 2006,
In June 2006, upon plaintiff's arrival at SCJ, Sgt. Newman         plaintiff's medications were increased.
noted that plaintiff had an “old black knee brace in his
personal property. Issued a new blue knee brace-must be            On July 21, 2006, at approximately 2:00 a.m., plaintiff
returned upon release”.                                            allegedly sustained a knee injury when his knee, “gave out”
                                                                   while he was in the medical holding cell. 13 Officer Nelson
Plaintiff's Medical Treatment–2006                                 claims that he went to plaintiff's cell at approximately 3:00
On June 9, 2006, plaintiff completed a medical request             a.m. and that plaintiff demanded to be taken to the emergency
form complaining of dizziness and insomnia. The same day,          room immediately and refused to wear his knee brace. Officer
plaintiff was prescribed Prozac. On June 10, 2006, plaintiff       Nelson claims that at approximately 3:12 a.m., he spoke with
completed another medical request complaining of pain in his       Dr. Weitz by telephone who directed Officer Nelson to put the
right leg. Plaintiff was seen by a member of the medical staff     brace on plaintiff's knee for the rest of the evening. Dr. Weitz
and prescribed 800 mg of Motrin.                                   further advised Officer Nelson that the medical staff would
                                                                   examine plaintiff the next morning at the facility. Plaintiff
On June 15, 2006, Dr. Weitz examined plaintiff and noted a         claims that he did not put his brace on because his knee
history of low back pain and degenerative disc disease of his      “swelled up”.
lower spine. Upon examination, Dr. Weitz found that plaintiff
could walk without limping, had no motor sensory loss and          13     Plaintiff refers to this incident as the “give way”
no symptoms with straight leg raises. Dr. Weitz diagnosed                 episode.
plaintiff with low back pain and prescribed Flexeril. On
                                                                   Later the same day, plaintiff was seen by Nurse Becker
the same day, plaintiff completed a medical request asking
                                                                   who noted that plaintiff's knee was tender to the touch
for medication called “trigosamine”, a consultation with a
                                                                   with minimal swelling. Nurse Becker convinced plaintiff to
neurosurgeon, a back brace and back surgery. Plaintiff also
                                                                   use the brace but plaintiff insisted that he be taken to the
refused to see Dr. Weitz. Plaintiff was seen by Melissa Becker,
a nurse practitioner, who noted that plaintiff's request was for   emergency room to be fitted for a metal brace. 14 The nurse
an herbal remedy that was not FDA regulated. Nurse Becker          recommended that plaintiff be evaluated and “scanned”.
noted, “I am not ordering unnecessary testing. I am trained
medically to make judgment decisions.”                             14     Plaintiff claims that he was not examined by any
                                                                          member of SCJ medical staff prior to being seen
On June 16, 2006, plaintiff submitted a grievance claiming                at the emergency room. Officer Nelson claims
that he was denied a back brace and adequate x-rays for                   that when he advised plaintiff that he would
herniated discs. On June 21, 2006, after an investigation,                be examined in the morning, plaintiff requested,
Officer Nelson concluded that plaintiff was unwilling to                  completed and submitted a Pre–Grievance form.
follow the course of action recommended by the medical                    Sgt. Newman claims that he denied the grievance
staff and refused to take prescribed medication and Motrin.               on July 24, 2006 because plaintiff was taken to the
Therefore, Officer Nelson responded to the grievance stating,             hospital on July 21, 2006 and July 24, 2006. Sgt.
“I have no choice but to deny this grievance”. Plaintiff                  Newman asserts that plaintiff accepted the decision
appealed the decision to Lt. Hazzard who found that, “[y]ou               and that plaintiff took no further action with respect
again are refusing any course of action by medical. They                  to that grievance.
have a plan set up which they discuss with you and you
                                                                   On July 21, 2006, at approximately 1:45 p.m., plaintiff was
refuse to abide by it. Grievance denied”. Plaintiff appealed
                                                                   seen in the Bassett Hospital Emergency Room. Plaintiff
Lt. Hazzard's decision to the Citizens Policy and Complaint
                                                                   claims he was in “severe” pain. The doctors in the emergency
Review Council (“CPCRC”) and on August 10, 2006,
                                                                   room prescribed Tylenol, wrapped the knee in an ace bandage
CPCRC issued a decision denying plaintiff's grievance.
                                                                   and advised plaintiff to rest. The doctors also suggested that
                                                                   plaintiff follow with Dr. Friedman. Plaintiff claims he was



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 179 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

able to walk out of the hospital because he was “injected” with    plaintiff's request for rosary beads was granted. In August
pain medication. Plaintiff testified that within an hour or two,   2006, Lt. Hazzard denied plaintiff's grievance noting that,
he was “feeling no pain”. On July 21, 2006, upon plaintiff's       “[e]very attempt was made to get [ ] Catholic priest into
return from the hospital, plaintiff was involved in an incident    facility, our own Chaplain had been trying to assist us. Inmate
with the SCJ correctional staff. Plaintiff admitted to engaging    was sent back to state on August 24, 2007”. 16
in a verbal exchange with the staff and also admitted that he
kicked one of the Corrections Officers. 15                         16      According to the record, plaintiff was transferred to
                                                                           ECF in August 2006.
15     On August 10, 2006, Sgt. Newman presided
       over a disciplinary hearing and issued an Inmate            Plaintiff's Access to Courts
       Hearing Disposition sanctioning plaintiff to 40              *5 Plaintiff testified that while incarcerated at SCJ, he
       days punitive segregation. Plaintiff was transferred        filed four lawsuits. Moreover, his requests for addresses,
       out of SCJ on August 24, 2006 and did not complete          supplies and a notary were routinely granted. On June 13,
       his sentence.                                               2006, plaintiff submitted an Inmate Request seeking, “[l]egal
On July 24, 2006, plaintiff was examined by Dr. Friedman           reference material called Chapter on Parole and on Article 78
at Bassett Hospital. Dr. Friedman diagnosed plaintiff with         from the Jailhouse Lawyer Manual New Edition”. On June
a chronic anterior cruciate ligament tear with some arthritic      15, 2006, plaintiff filed a second Inmate Request with respect
change and limited range of motion. Dr. Friedman noted that        to the materials. On June 16, 2006, plaintiff was advised that
plaintiff was fitted for a “Genu ACL brace” which plaintiff        the Jailhouse Lawyer Manual, “is not required library material
was “comfortable with”.                                            set forth in minimum standards as outline by Commission of
                                                                   Corrections”. On June 16, 2006, plaintiff filed two grievances
From July 24, 2006 through August 24, 2006, plaintiff was          with regard to this issue. Plaintiff sought to have all forms and
permitted to wear the hinged knee brace. On August 24, 2006,       chapters referenced in his prior request provided immediately
Officer Mace escorted plaintiff to the Elmira Correctional         and sought copies from the Jailhouse Lawyer Manual on
Facility (“ECF”) and upon arrival, advised ECF staff that the      Article 78 and parole and all legal forms from that book,
brace needed to be returned to SCJ. The ECF staff removed          “when requested in the future”. Officer Nelson claims that
the brace from plaintiff, outside of Officer Mace's presence.      Cpl. Wood investigated the issues and prepared a report.
Officer Mace returned the brace to the SCJ.                        After reviewing the report, Officer Nelson concluded that
                                                                   SCJ was not required to maintain the requested information.
                                                                   On June 21, 2006, Officer Nelson issued a decision stating
Plaintiff's Request for a Catholic Priest                          that, “[a]ll legal reference materials required by NYSCOC
On June 9, 2006, plaintiff submitted an Inmate Request             minimum standards are available for your review in the
seeking “religious assistance” from a Catholic priest. Plaintiff   facility library and case law copies are available, as you well
received a response from Cpl. Rodriguez–Stanley which              know, by request. Grievance Denied”. Lt. Hazzard reviewed
stated, “I contacted our jail Chaplain Rev. Ferenczy, and he       Officer Nelson's decisions and upheld the denial. In July
will try to reach the local Catholic priest to see when he         2006, plaintiff made at least three requests for extended
could come out and see you”. According to Lt. Hazzard,             library time and all requests were granted. Plaintiff appealed
the SCJ staff, including the facility Chaplain, Reverend Paul      the determination to the CPCRC and on August 10, 2006, the
Ferenczy, made efforts to obtain the services of a Catholic        CPCRC denied plaintiff's grievance.
priest. Plaintiff testified that he previously met with Rev.
Ferenczy. On June 26, 2006, plaintiff filed a grievance
claiming that he was being denied his, “First Amendment            Prior Litigation
of not having his Catholic religion for ‘no’ reason at all”.       On May 11, 2005, plaintiff filed an Amended Complaint in
Plaintiff claimed that SCJ was deliberately violating the          an action entitled Joseph Paul Guarneri v. John Bates, Jr.,
“Religious Freedom Restoration Act”. Plaintiff sought to           Lt. Hazzard, Mr. Santoro, Mr. Newman, Roland Hirot, Mr.
have “Catholic servicers [sic]”. Lt. Hazzard explained to          Gordon, Paul Marsh, Jr., Schoharie County Jail Medical
plaintiff that ongoing efforts were being made to obtain           Department, Dr. Weitz, Nancy McDonald, State Commission
the services of a Catholic priest. According to Lt. Hazzard,       of Correction, Frederick C. Lamy, Frank T. Sullivan and Eliot
plaintiff accepted that explanation. On June 29, 2006,             Spitzer, 05–CV–444 (GLS/DRH) (Dkt. No. 5) (“Guarneri


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 180 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

I” ). 17 That action involved plaintiff's medical treatment
while he was incarcerated at SCJ from January 2004 until
January 2005. Plaintiff alleged that the defendants violated                SECOND AMENDED COMPLAINT
his right to medical care under the Eighth Amendment.                        AND PROCEDURAL HISTORY
Specifically, plaintiff alleged that during the course of his
arrest on January 5, 2004, he sustained from a rotator cuff      On August 14, 2006, plaintiff filed a complaint in this
tear in his shoulder that caused him severe pain. Plaintiff      action. 18 On February 7, 2007, plaintiff filed a Second
claimed that the defendants were deliberately indifferent to     Amended Complaint. Specifically, plaintiff alleges two
his medical needs with regard to the shoulder injury. Further,   causes of action under the First Amendment: (1) denial
plaintiff alleged that he suffered from knee injuries and that   of meaningful access to courts; and (2) denial of religious
the defendants were deliberately indifferent to his needs as     freedom. Plaintiff also asserts causes of action with regard
they refused to allow plaintiff to wear his hinged knee brace    to his religious freedom pursuant to the RFRA and the
outside his cell.                                                Fourteenth Amendment. Plaintiff also alleges that defendants
                                                                 violated the Eighth Amendment claiming that: (1) defendants
17                                                               did not allow him to keep his hinged knee brace upon
       Plaintiff's original complaint was filed on April
       15, 2005. On May 3, 2005, Judge Sharpe issued             arrival at ECF; (2) defendants delayed in providing adequate
       a Decision and Conditional Order of Dismissal             emergency treatment in July 2006; (3) plaintiff received
       directing plaintiff, inter alia, “to set forth a short    inadequate emergency care in 2000 and 2003 for herniated
       and plain statement of the alleged wrongdoing             discs; and (4) defendants denied plaintiff proper medical care
       or misconduct committed by each defendant, the            by refusing to provide a back brace.
       date of the conduct complained of and the nexus
       between that conduct and plaintiff's constitutional       18      On August 14, 2006, plaintiff filed a complaint
       and statutory rights in order that the Court                      in this action. (Dkt. No. 1). Plaintiff was named
       can properly assess the sufficiency of plaintiff's                as a “co-plaintiff” with another inmate, Ryan
       claims.” See Guarneri v. Bates, 05–CV–444 (Dkt.                   McNamee. On November 9, 2006, this Court
       No. 3).                                                           issued a Decision and Order severing plaintiff's
On May 31, 2007, the defendants filed motions for summary                action from the action of Ryan McNamee and
judgment seeking dismissal of plaintiff's complaint. See                 directing plaintiff to file an amended complaint
Guarneri v. Bates, 05–CV–444, (Dkt. No. 72). The matter                  that, “sets forth only his claims for relief and the
was referred to U.S. Magistrate Judge David R. Homer for                 facts in support of his claims”. (Dkt. No. 9).
a Report and Recommendation. In his report, Magistrate           On June 13, 2007, defendant Weitz filed a motion pursuant
Judge Homer provided a factual “Background” that included        to Fed. R. Civ. P 12(b)(1) and 12(b)(6) seeking dismissal of
a discussion of plaintiff's medical treatment from August        plaintiff's complaint arguing that: (1) he was not personally
2004 through January 2005. Magistrate Judge Homer found          involved in the deprivation of plaintiff's knee brace and in
that plaintiff's shoulder injury may constitute a serious        plaintiff's medical care; (2) the complaint failed to state a
medical need, however, plaintiff failed to establish that        cause of action; (3) the complaint was barred by res judicata
the defendants were deliberately indifferent. (Dkt. No. 86).     and collateral estoppel; and (4) the claims relating to plaintiff's
Moreover, Magistrate Judge Homer found that plaintiff failed     back were barred by the statute of limitations. (Dkt. No.
to offer evidence that his knee injury was serious or that       19). The motion was referred to Magistrate Judge Homer
the defendants were deliberately indifferent. Accordingly        for a Report and Recommendation. On February 6, 2008,
Magistrate Judge Homer recommended that the Court grant          Magistrate Judge Homer concluded that plaintiff failed to
the defendants' motions for summary judgment and dismissal       allege how Dr. Weitz was involved in the deprivation of
of all claims. (Dkt. No. 86).                                    his knee brace upon his arrival at ECF and recommended
                                                                 granting Weitz's motion for summary judgment based upon
 *6 On March 10, 2008, District Judge Gary L. Sharpe issued      lack of personal involvement with the confiscation of the
a Memorandum–Decision and Order accepting and adopting           knee brace. However, Magistrate Judge Homer also found
Magistrate Judge Homer's Report and Recommendation in its        that plaintiff sufficiently alleged that Dr. Weitz was personally
entirety. (Dkt. No. 88).



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 181 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

involved in his medical care for mental health issues and back     *7 Presently before the Court are two motions for summary
and neck injuries sustained in 2003.                              judgment. Defendant Weitz moves for summary judgment
                                                                  and dismissal of plaintiff's complaint arguing that: (1)
Magistrate Judge Homer also found that plaintiff sufficiently     plaintiff's claims are precluded under the doctrine of res
alleged an Eighth Amendment violation with respect to             judicata and collateral estoppel; (2) plaintiff cannot establish
his knee injury, mental health and 2003 back injury and           that defendant was deliberately indifferent to any serious
recommended denial of Weitz's motion on that ground. 19           medical condition relating to plaintiff's knee, back or mental
However, plaintiff's claims relating to medical indifference      health treatment; (3) plaintiff cannot demonstrate defendant's
occurring in 2000 were “clearly outside the three-year [statute   personal involvement in medical decisions concerning
of limitations] period”. With regard to Weitz's res judicata      plaintiff's emergency medical treatment in 2003 for herniated
argument, Magistrate Judge Homer concluded that there had         discs; (4) plaintiff's claim of mistreatment of a back injury
not been a final determination in the pending federal case (09–   in 2003 is precluded by the statute of limitations; and (5)
CV–444) against Dr. Weitz and therefore, that aspect of the       Dr. Weitz is entitled to qualified immunity. (Dkt. No. 70).
motion should be denied without prejudice. On February 27,        Defendants Hazzard, Marsh, Grippin, Mace, Howland, Cronk
2008, this Court adopted Magistrate Judge Homer's Report          and the County of Schoharie move for summary judgment
and Recommendation in its entirety. (Dkt. No. 55).                arguing: (1) plaintiff did not suffer from a serious medical
                                                                  need with respect to his knee, back and mental health and even
19                                                                assuming plaintiff suffered from serious medical need(s),
       In the Conclusion portion of the recommendation,
                                                                  defendants were not deliberately indifferent to plaintiff's
       Magistrate Judge Homer did not address
                                                                  condition(s); (2) plaintiff was not denied the ability to freely
       defendant's motion with respect to plaintiff's
                                                                  exercise his religious beliefs; (3) plaintiff was not denied
       Eighth Amendment claim with regard to his
                                                                  equal protection on account of his religious beliefs; (4)
       knee injury. However, in the text of the Report
                                                                  plaintiff was not denied meaningful access to the courts;
       and Recommendation, Judge Homer discussed
                                                                  (6) defendants were not personally involved in the alleged
       plaintiff's knee injury. Judge Homer noted:
                                                                  constitutional deprivations; and (7) defendants are entitled
            [C]onstruing the facts in the light most
                                                                  to qualified immunity. (Dkt. No. 71). Plaintiff opposes the
            favorable to Guarneri, the excruciating pain
                                                                  motions. (Dkt. No. 77).
            that he alleges may be of sufficient severity.
            Therefore, viewing the evidence in the light
            most favorable to Guarneri, it appears that his
            knee injury was a serious medical condition.                                 DISCUSSION
            Additionally,        construing       Guarneri's
                                                                  I. Summary Judgment Standard
            allegations as true, it appears that there exists
                                                                  Summary judgment is appropriate where there is no genuine
            a question of fact whether defendant acted
                                                                  issue of material fact and the moving party is entitled
            with deliberate indifference to that medical
                                                                  to judgment as a matter of law. See Fed.R.Civ.P. 56(c).
            condition. Guarneri contends that after he was
                                                                  Substantive law determines which facts are material; that is,
            prescribed the hinged knee brace, defendants
                                                                  which facts might affect the outcome of the suit under the
            intentionally interfered with his treatment by
                                                                  governing law. See Anderson v. Liberty Lobby, Inc., 477 U.S.
            denying him use of the brace. Am. Compl.
                                                                  242, 258, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). Irrelevant or
            at ¶ 19. Moreover, Guarneri contends that
                                                                  unnecessary facts do not preclude summary judgment, even
            defendants intentionally delayed transporting
                                                                  when they are in dispute. See id. The moving party bears the
            him to an emergency room when his knee
                                                                  initial burden of establishing that there is no genuine issue
            gave way, causing him excruciating pain for
                                                                  of material fact to be decided. See Celotex Corp. v. Catrett,
            an unnecessarily long period of time. Id. at ¶
                                                                  477 U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).
            32.
                                                                  With respect to any issue on which the moving party does not
            Therefore, it is recommended that Dr. Weitz's
                                                                  bear the burden of proof, it may meet its burden on summary
            motion on this ground be denied.
                                                                  judgment by showing that there is an absence of evidence to
          (Dkt. No. 54).
                                                                  support the nonmoving party's case. See id. at 325. Once the
                                                                  movant meets this initial burden, the nonmoving party must



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 182 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

demonstrate that there is a genuine unresolved issue for trial.     which bars the relitigation of not only matters that were
See Fed.R.Civ.P. 56(e).                                             litigated between parties in a preceding action, but also any
                                                                    matters that could have been litigated in that action. Ramsey
Where a plaintiff has failed to properly respond to                 v. Busch, 19 F.Supp.2d 73, 83 (W.D.N.Y.1998). To ascertain
a defendant's Statement of Material Facts (“Rule 7.1                whether the two actions arise from the same claim, courts
Statement”), the facts as set forth in that Rule 7.1 Statement      look to whether the underlying facts are “related in time,
will be accepted as true to the extent that those facts are         space, origin or motivation, whether they form a convenient
supported by the evidence in the record. See Vermont Teddy          trial unit, and whether their treatment as a unit conforms
Bear Co., Inc. v. 1–800 Beargram Co., 373 F.3d 241, 243             to the parties' expectations”. Interoceanica, 107 F.3d at 90
(2d Cir.2004) (holding that the court may not rely solely on        (citations omitted). A plaintiff cannot avoid claim preclusion
the movant's statement of undisputed facts contained in its         by “ ‘splitting’ his claim into various suits based on different
Rule 56.1 statement and must be satisfied that the movant's         legal theories (with different evidence ‘necessary’ to each
assertions are supported by the evidence in the record).            suit)”. Waldman v. Vill. of Kiryas Joel, 207 F.3d 105, 110 (2d
Although a plaintiff is pro se, bald assertions, unsupported by     Cir.2000) (citing Woods v. Dunlop Tire Corp., 972 F.2d 36, 39
evidence, are insufficient to overcome a motion for summary         (2d Cir.1992)).
judgment. See Higgins v. Davis, 2001 WL 262930, at *2
(S.D.N.Y.2001).                                                     “As a matter of logic, when the second action concerns a
                                                                    transaction occurring after the commencement of the prior
 *8 “Defendants can meet their burden of establishing their         litigation, claim preclusion generally does not come into
entitlement to motion for summary judgment by relying on            play.” Maharaj v. Bankamerica Corp., 128 F.3d 94, 97 (2d
plaintiff's medical records to establish the absence of any         Cir.1997) (citing S.E. C. v. First Jersey Secs., 101 F.3d 1450,
evidence supporting deliberate indifference to his mental           1464 (2d Cir.1996)); see also Waldman, 207 F.3d at 113 (res
health needs.” Mills v. Luplow, 2009 WL 2579195, at *8              judicata will not bar a suit based upon legally significant
(W.D.N.Y.2009). Though conventional wisdom might dictate            acts occurring after the filing of a prior suit that was itself
the submission of affidavits from the primary actors ...            based on earlier acts). “Claims arising after the prior action
[the] defendants' decision to rely instead upon the lack of         need not, and often perhaps could not, have been brought
evidentiary support for plaintiff's claims, is sufficient to cast   in that action and are not barred by res judicata unless they
the burden upon the plaintiff to come forward with evidence         represent a continuance of the same ‘course of conduct’ ”.
demonstrating the existence of genuinely disputed material          Stewart v. Transport Workers Union of Greater New York,
issues of fact for trial with regard to those claims.” Id.          Local 100, 561 F.Supp.2d 429, 443 (S.D.N.Y.2008) (citing
                                                                    Green v. Illinois Dep't of Transp., 609 F.Supp. 1021, 1026
                                                                    (N.D.Ill.1985)) (the court declined to read the doctrine of res
II. Collateral Estoppel/Res Judicata                                judicata to require the plaintiff to amend his first complaint to
Defendant Weitz seeks dismissal of plaintiff's claims based         allege a claim that arose after the suit had been filed). A party
upon res judicata arguing that plaintiff should be precluded        may file a supplemental pleading but it not required to do so
from “splitting” his claims into separate actions when he           and may file a new suit if he chooses. Garcia v. Scoppetta, 289
had, “a full and fair opportunity to litigate his claims in the     F.Supp.2d 343, 350 (E.D.N.Y.2003). In Maharaj, the Second
previous lawsuit”. 20                                               Circuit held:

20      Plaintiff does not respond to this argument.
                                                                                  *9 If, after the first suit is
Under the doctrine of res judicata, or claim preclusion, a final
                                                                                 underway, a defendant engages in
judgment on the merits in an action “precludes the parties
                                                                                 actionable conduct, plaintiff may-but
or their privies from relitigating issues that were or could
                                                                                 is not required to-file a supplemental
have been raised in that action”. Computer Assoc. Int'l v.
                                                                                 pleading setting forth defendant's
Altai, Inc., 126 F.3d 365, 369 (2d Cir.1997). “It must first
                                                                                 subsequent conduct. Plaintiff's failure
be determined that the second suit involves the same ‘claim’
                                                                                 to supplement the pleadings of his
or ‘nucleus of operative fact’ as the first suit”. Interoceanica
                                                                                 already commenced lawsuit will not
v. Sound Pilots, Inc., 107 F.3d 86, 90 (2d Cir.1997) (citation
                                                                                 result in a res judicata bar when he
omitted). New York law follows a transactional approach


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 183 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

             alleges defendant's later conduct as a                already occurred. While the record supports that assertion,
             cause of action in a second suit.                     the appropriate analysis involves the date of the filing of the
                                                                   first complaint, not the date of the deposition. Based upon
                                                                   the record before the Court in Guarneri I and the record in
Maharaj, 128 F.3d at 97.                                           the present action, the factual scenarios and evidence relevant
                                                                   to Guarneri I and the present action are sufficiently different
Res judicata, if applied too rigidly, could work considerable      such that a judgment in the present action will not destroy
injustice. Reilly v. Reid, 45 N.Y.2d 24, 28, 407 N.Y.S.2d          or impair the rights or interests established in Guarneri
645, 379 N.E.2d 172 (1978) (holding that claim preclusion          I. See Ramsey v. Coughlin, 94 F.3d 71, 83 (2d Cir.1996).
is tempered by recognition that two or more different and          Accordingly, Weitz's motion for summary judgment and
distinct claims or causes of action may often arise out of         dismissal of plaintiff's claims based upon res judicata is
a course of dealing between the same parties) (citations           denied.
omitted). “A party's choice to litigate two such claims or
causes of action separately does not bar his assertion of the
                                                                   III. Eighth Amendment
second claim or cause of action.” Id. at 29, 407 N.Y.S.2d 645,
                                                                    *10 Defendants claim that they are entitled to summary
379 N.E.2d 172 (citation omitted).
                                                                   judgment and dismissal of plaintiff's § 1983 claims
                                                                   because plaintiff cannot demonstrate that any defendant was
In May 2005, plaintiff filed his complaint in Guarneri I
                                                                   deliberately indifferent to any serious medical need.
alleging constitutional violations relating to medical care for
his shoulder and knee injuries. 21 On August 14, 2006, while       In order to state an Eighth Amendment claim based on
Guarneri I was pending, plaintiff filed a complaint in the         constitutionally inadequate medical treatment, the plaintiff
instant action alleging constitutional violations relating to      must allege “acts or omissions sufficiently harmful to
medical care for his knee, back, neck and mental health issues.
                                                                   evidence deliberate indifference to serious medical needs.” 22
Defendant argues that plaintiff is attempting to “split” his
                                                                   Estelle v. Gamble, 429 U.S. 97, 106, 97 S.Ct. 285, 50
claims and that he “could have raised the claims at issue here
                                                                   L.Ed.2d 251 (1976). There are two elements to the deliberate
in the previous action”. Defendant contends that “most of
                                                                   indifference standard. Smith v. Carpenter, 316 F.3d 178, 183–
the complaints and treatment relating to [plaintiff's] back and
                                                                   84 (2d Cir.2003). The first element is objective and measures
mental health complaints occurred in 2004, the same period
                                                                   the severity of the deprivation, while the second element
of time at issue in his previous lawsuit”.
                                                                   is subjective and ensures that the defendant acted with a
                                                                   sufficiently culpable state of mind. Id. at 184 (citing inter alia
21     Plaintiff has made no claims with regard to his             Chance v. Armstrong, 143 F.3d 698, 702 (2d Cir.1998)).
       shoulder in this action.
It is undisputed that a final judgment on the merits was           22      Plaintiff claims that he was a pretrial detainee
entered in Guarneri I. However, in Guarneri I, plaintiff did               and enjoyed greater privileges than a convicted
not allege any violations with respect to his back, neck or                prisoner. However, plaintiff offers no support
mental health issues. Applying the “transactional”approach                 for this allegation. “As a pretrial detainee,
for res judicata purposes, the Court finds that the claims                 plaintiff's conditions of confinement were subject
and factual circumstances in the present action pertain to                 to safeguards emanating from the Due Process
a different time period and are not sufficiently related in                Clause of the Fourteenth Amendment, rather than
time, space and origin. In both actions, plaintiff alleged                 the Eighth Amendment, which governs such claims
constitutional violations relating to medical treatment for                brought by inmates serving prison sentences.”
his knee. However, plaintiff was examined by Dr. Weitz in                  McQueen v. County of Albany, 2010 WL 338081,
June 2006 and the “give way” incident occurred in July                     at *10 (N.D.N.Y.2010) (citing Benjamin v. Fraser,
2006. Thus, these “legally significant” acts occurred after                343 F.3d 35, 49–50 (2d Cir.2003)). However,
the complaint was filed in Guarneri I and are not precluded                the Second Circuit has held that, “[c]laims
under res judicata. Defendants argue that when plaintiff                   for deliberate indifference to a serious medical
testified at his deposition in Guarneri I, the medical treatment           condition of a person in custody should be analyzed
about which plaintiff complained in the instant action had                 under the same standard irrespective of whether



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 184 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

        they are brought under the Eighth or Fourteenth             that risk by failing to take reasonable measures to abate
        Amendment.” Caiozzo v. Koreman, 581 F.3d 63, 72             the harm.” Id. (citing Hayes v. New York City Dep't of
        (2d Cir.2009).                                              Corrections, 84 F.3d 614, 620 (2d Cir.1996)). Delays must be
In order to meet the first element of the standard, plaintiff       purposeful or intended or the plaintiff must establish that the
must show that he has a sufficiently serious illness or             deprivation of not having treatment in the stated period was
injury. Id. (citing Hudson v. McMillian, 503 U.S. 1, 9, 112         sufficiently serious. Woods v. Goord, 1998 WL 740782, at *
S.Ct. 995, 117 L.Ed.2d 156 (1992)). A medical condition is          12 (S.D.N.Y.1998).
considered “sufficiently serious” when there is a “condition
of urgency,” one that may result in death, degeneration, or         Disagreement with prescribed treatment does not rise to the
extreme pain. Hathaway v. Coughlin, 99 F.3d 550, 553 (2d            level of a constitutional claim. Sonds, 151 F.Supp.2d at 311.
Cir.1996). If unnecessary and wanton infliction of pain results     Prison officials have broad discretion in determining the
from the denial of treatment, or if the denial of treatment         nature and character of medical treatment afforded to inmates.
causes the inmate to suffer a lifelong handicap or permanent        Id. An inmate does not have the right to treatment of his
loss, the condition may be considered “sufficiently serious.”       choice. Dean v. Coughlin, 804 F.2d 207, 215 (2d Cir.1986).
Sonds v. St. Barnabas Hosp. Correctional Health Servs.,             The fact that a plaintiff might have preferred an alternative
151 F.Supp.2d 303, 310 (S.D.N.Y.2001) (citing Harrison v.           treatment or believes that he did not get the medical attention
                                                                    he desired does not rise to the level of a constitutional
Barkley, 219 F.3d 132, 136 (2d Cir.2000)). “Because there
is no distinct litmus test, a serious medical condition is          violation. Id; see also Whitcomb, 2009 WL 4104455, at
determined by factors such as ‘(1) whether a reasonable             *10 (noting that disagreements over medications, diagnostic
doctor or patient would perceive the medical need in question       techniques (e.g., the need for x-rays), forms of treatment or
as important and worthy of comment or treatment; (2)                the need for specialists are not adequate grounds for a § 1983
whether the medical condition significantly affects daily           claim). Even if medical judgments amount to negligence or
activities; and (3) the existence of chronic and substantial        malpractice, malpractice does not become a constitutional
pain.’ ” Whitcomb v. Todd, 2008 WL 4104455, at *10                  violation simply because the plaintiff is an inmate. Dean, 804
                                                                    F.2d at 215.
(N.D.N.Y.2008) (citing Brock v. Wright, 315 F.3d 158, 162–
63 (2d Cir.2003)).
                                                                       A. Knee Injury
In order to meet the second element, plaintiff must                 Defendants argue that plaintiff did not suffer from a serious
demonstrate more than an “inadvertent” or negligent failure to      knee injury and further, that plaintiff received prompt medical
provide adequate medical care. Sonds, 151 F.Supp.2d at 310          attention after the “give way” episode in his cell. Plaintiff
(citing Estelle, 429 U.S. at 105–106). Instead, plaintiff must      claims that the “give way” episode occurred at 2:00 a.m. and
show that the defendants were “deliberately indifferent” to         that he did not receive medical treatment until five hours later.
that serious medical condition. Id. In order to rise to the level   Plaintiff alleges that defendants deliberately and intentionally
of deliberate indifference, the defendants must have known          denied plaintiff emergency medical care after the episode.
of and disregarded an excessive risk to the inmate's health
or safety. Sonds, 151 F.Supp.2d at 310 (citing Chance, 143
F.3d at 702). The defendants must both be aware of the facts           1. Serious Medical Need
from which the inference could be drawn that a substantial          A plaintiff's allegation that he suffered a knee injury in and
risk of serious harm exists, and they must draw that inference.     of itself does not constitute a serious medical need. Lowman
Chance, 143 F.3d at 702 (quoting Farmer v. Brennan, 511             v. Perlman, 2008 WL 4104554, at *5 (N.D.N.Y.2008)
U.S. 825, 837, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994)).             (citing Williamson v. Goord, 2006 WL 1977438, at *14 &
                                                                    16 (N.D.N.Y.2006)). Generally, “knee injuries have been
 *11 Denying or delaying access to medical care or                  [held] insufficient to trigger Eighth Amendment protection”.
intentionally interfering with prescribed treatment may             Johnson v. Wright, 477 F.Supp.2d 572, 575 (W.D.N.Y.2007)
constitute deliberate indifference. Jones v. Lindblad, 2009         (holding that a prisoner's torn meniscus suffered in a
WL 804155, at *6 (W.D.N.Y.2009) (citing Estelle, 429 U.S.           basketball injury was not a serious medical need) (quoting
at 104). Culpable intent requires the inmate to establish           Moody v. Pickles, 2006 WL 2645124, at *6 (N.D.N.Y.2006))
both that a prison official “has knowledge that an inmate           (holding that a “medial meniscal tear, with joint effusion”
faces a substantial risk of serious harm and he disregards          which did not render the plaintiff immobile was not a serious


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 185 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

medical need); see also Williamson, 2006 WL 1977438,                  to provide any medical evidence, either with affidavits or
at *9–16 (knee injuries such as a torn meniscus, arthritis,           medical records, that defendants' failure to provide treatment
degenerative joint disease and ligament tears are not serious         caused serious harm.
injuries under the Eighth Amendment).

 *12 In this matter, plaintiff alleges that he suffers from              2. Deliberate Indifference
severe pain and torn ligaments in his knee. Plaintiff's claim         Even assuming plaintiff had a “serious medical need”,
that he suffers from an ACL tear is supported by Dr.                  plaintiff cannot establish that defendants were deliberately
Friedman's diagnosis. However, in Guarneri I, Magistrate              indifferent. This court has carefully outlined the extensive
Judge Homer concluded that, “the allegations of pain and              attention that plaintiff received for his complaints. From
chronic ACL tear do not constitute a serious medical                  January 2004 until August 2006, plaintiff was examined and/
need in these circumstances”. The record in Guarneri I                or treated by the medical staff at SCJ or outside medical
included medical records from 2004 through 2005. In the               personnel approximately thirty times. In addition, after
instant action, plaintiff has not produced any additional             plaintiff made a request for a knee brace, Dr. Weitz arranged
evidence demonstrating that he suffers from a serious medical         for an orthopedic consultation with Dr. Friedman. During the
condition with respect to his knee. Plaintiff never exhibited         relevant time period, plaintiff had three appointments with Dr.
any limitations in his range of motion and never complained           Friedman-including an appointment three days after the “give
of an inability to ambulate. Indeed, plaintiff continued to           way” episode. Plaintiff's complaints were never ignored, and
played basketball even after he was advised, on more than one         in most instances, plaintiff only waited a few days to see
occasion, by medical staff to avoid outdoor recreation. See           medical personnel.
Price v. Engert, 589 F.Supp.2d 240, 245–46 (W.D.N.Y.2008)
(citing Chatin v. Artuz, 28 F.App'x. 9, 10 (2d Cir.2001)) (two         *13 Plaintiff's complaints of deliberate indifference are also
weeks after receiving alleged injuries, the plaintiff was able        contradicted by the fact that he received several prescription
to play basketball, suggesting that he was not in serious pain        medications including Bextra, Flexeril and Motrin for knee
and that his injuries did not interfere with his daily activities);   pain. According to the record, plaintiff was non-compliant
see also Lowman, 2008 WL 4104554, at *5 (the fact that                and refused to take the medications claiming that they
the plaintiff was able to walk and play basketball suggested          “masked his symptoms”. Plaintiff's history of refusing to
that the plaintiff did not suffer from a serious medical need).       comply with the directions of the medical staff and physicians
Plaintiff's claim that he suffered from “severe pain” as a result     undermines his claims of deliberate indifference. See Wright
of his knee injury is contradicted by the medical records             v. Genovese, 2010 WL 890962, at *15 (N.D.N.Y.2010) (citing
wherein plaintiff exhibited a “normal gait” and “no swelling          Jones v. Smith, 784 F.2d 149, 151–52 (2d Cir.1986)). In
or difficulty walking”.                                               addition to medication, during his incarceration in 2004,
                                                                      the medical staff also offered plaintiff support for his knee
On July 21, 2006, the “give-way” episode occurred in                  including a neoprene brace. Plaintiff refused to wear the
plaintiff's cell. Plaintiff was evaluated by a nurse practitioner     brace. Upon his arrival at SCJ in June 2006, plaintiff presented
who noted that plaintiff ambulated without a limp and found           with an “old knee brace” and was provided with a new knee
minimal swelling in the knee with tenderness upon palpation.          brace on the same day.
Plaintiff testified that he was in severe pain prior to being
treated in the emergency room but that after he received              Plaintiff claims that his requests for physical therapy and
an injection of pain medication, he was “feeling no pain”.            injections were intentionally denied. Based upon the record,
Indeed, within an hour or two of his return to SCJ, plaintiff         the medical staff deemed the requests “not medically
had a physical altercation with Correction Officers and kicked        necessary” as plaintiff did not exhibit objective signs of a
“multiple sealed doors off the hinges”. Thus, even assuming           serious injury. The fact that plaintiff disagreed with the course
plaintiff suffered extreme pain after the “give way” episode,         of treatment does not rise to a level of deliberate indifference
such a short period of pain is de minimis and does not                and provides no basis for relief under § 1983.
constitute a serious medical condition under the Eighth
Amendment. The medical evidence pertaining to plaintiff's             Even crediting plaintiff's claim that he waited five hours for
knee injury/complaints fails to establish that plaintiff suffered     medical care after the “give way” episode, the timing of these
from a serious or urgent medical condition. Plaintiff failed          events does not establish a disregard of a risk to plaintiff
                                                                      or “deliberate indifference” to his medical needs. Shankle v.


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 186 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

Andreone, 2009 WL 3111761, at *6 (E.D.N.Y.2009) (citations          temporary deprivation alleged by the prisoner.” Smith, 316
omitted). Although the record contains conflicting accounts         F.3d at 186. Plaintiff must submit some evidence that a
with regard to how quickly the medical staff responded to           defendant interfered with his prescribed course of treatment
plaintiff's needs, by his own admission, plaintiff was treated      and caused plaintiff to suffer pain. See Rosales v. Coughlin,
within five hours of the incident. Courts have held that delays     10 F.Supp.2d 261, 270 (W.D.N.Y.1998) (holding that the
longer than five hours were insufficient to implicate the           plaintiff submitted evidence that the defendant's repeatedly
Eighth Amendments. See Rodriguez v. Mercado, 2002 WL                took his cane from him on a number of occasions thereby
1997885, at *9 (S.D.N.Y.2002) (the plaintiff was seen within        creating an issue of fact as to whether the defendant acted
eight or nine hours of the incident); see also Davidson v.          with wantonness); see also Williamson, 2006 WL 1977438,
Harris, 960 F.Supp. 644, 648 (W.D.N.Y.1997) (holding that           at *18 (finding that the defendants refusal to renew the
even assuming that the plaintiff's factual allegations were         plaintiff's permit for crutches did not threaten to produce
true and that he was forced to wait six to eight hours before       death, degeneration or extreme pain). A single, isolated
receiving oxygen and pain medication, the plaintiff has failed      occurrence, might not support an Eighth Amendment claim.
to demonstrate that the alleged deprivation was “a condition        Id.
of urgency, one that may produce death, degeneration or
extreme pain”, and therefore, failed to state a cause of action     This portion of plaintiff's claim belies his argument that
of deliberate indifference to serious medical needs).               defendants were deliberately indifferent to his knee condition.
                                                                    Plaintiff concedes that defendants provided him with a
Plaintiff's conclusory assertions that he received improper         hinged knee brace after the “give way” episode in July
medical attention, absent other documentation, fails to             2006 and further, that he was permitted to wear the brace
constitute evidence sufficient to raise issues of fact to defeat    until his transfer to ECF in late August 2006. Under these
summary judgment. See Williams v. Coughlin, 650 F.Supp.             circumstances, the record does not support a finding of
955, 957 (S.D.N.Y.1997) (granting summary judgment where            deliberate indifference. Plaintiff has not provided evidence
“plaintiff's affidavit and deposition ... [did] not contain facts   of any additional adverse effects or injuries stemming from
involving manifestations of ... deliberate indifference ...”).      the time he was forced to return the brace to SCJ to the
Indeed, plaintiff's complaints are contradicted by the record       present. There is no evidence that the deprivation of the
which establishes that plaintiff received more than adequate        hinged knee brace created or had the potential to create
medical care for his knee complaints.                               serious harm to plaintiff. Moreover, plaintiff has failed to
                                                                    establish that defendants “maliciously took away” his brace.
 *14 Accordingly, defendants' motions for summary                   Cf. Hemmings v. Gorczyk, 134 F.3d 104, 107 (2d Cir.1998).
judgment and dismissal of plaintiff's claims that defendants        According to Mace's affidavit, he confiscated the knee brace
violated his Eighth Amendment rights with regard to his knee        upon plaintiff's transfer at the request of Lt. Hazzard. Plaintiff
injury is granted.                                                  has failed to establish that Mace acted out of anything
                                                                    other than a reasonable belief that the brace was “SCJ
                                                                    property”. Accordingly, defendants' motion for summary
  B. Knee Brace 23                                                  judgment and dismissal of plaintiff's complaint with regard to
23                                                                  the confiscation of the knee brace is granted.
        This Court previously granted Weitz's motion
        to dismiss plaintiff's claim with regard to the
        confiscation of the knee brace due to lack of
                                                                       C. Back Injury
        personal involvement. (Dkt.Nos.54, 55).
                                                                    Defendants allege that plaintiff's activities and refusal to take
Defendants argue that they did not interfere with plaintiff's       medication or adhere to the recommended course of treatment
medical treatment when they confiscated the knee brace              by his physicians demonstrates that he did not suffer from
provided to plaintiff by SCJ.                                       a serious medical need with regard to his back. Defendants
                                                                    also claim that they were not deliberately indifferent to his
Where a “prisoner is receiving appropriate on-going                 medical needs as plaintiff was prescribed pain medication and
treatment for his condition” and brings a claim for denial          muscle relaxants. Plaintiff alleges that defendants: (1) should
of adequate medical care for an “interruption in treatment,”        have provided him with a back brace: (2) refused to provide
the Second Circuit has stated that the “serious medical need        emergency medical care for plaintiff's back injuries in 2000
inquiry can properly take into account the severity of the


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 187 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

and 2003 24 ; and (3) defendants refused to allow him to obtain   compliant with his medication and disobeyed doctor's orders
                                                                  by playing basketball.
treatment with a neurosurgeon 25 .

                                                                  Even assuming plaintiff suffered from a serious medical need,
24     This Court previously determined that any                  plaintiff has not submitted competent evidence demonstrating
       allegations from 2000 were barred by the                   that defendants were deliberately indifferent and disregarded
       applicable statute of imitations.                          his health or safety. As noted previously, plaintiff's request for
25                                                                medical treatment were routinely granted and in most cases,
       The allegations with regard to the neurosurgeon are
                                                                  within 2 days of such requests. Plaintiff was evaluated by an
       not contained in the Second Amended Complaint.
                                                                  orthopedic specialist, was prescribed several medications for
       Rather, plaintiff raised the issue for the first time in
                                                                  his back pain and underwent x-rays of his back at an outside
       his opposition to defendants' motions.
                                                                  facility at Dr. Weitz's request. Accordingly, plaintiff cannot
 *15 The question of whether persistent back pain rises           establish that defendants were deliberately indifferent to his
to a level of constitutional significance depends upon the        medical needs.
circumstances of the particular case presented. Williams v.
Smith, 2009 WL 2431948, at *8 (S.D.N.Y.2009) (although            Plaintiff alleges that defendants ignored his requests for a
the plaintiff may have difficulty meeting the seriousness issue   back brace and refused to allow him to consult with a
at trial, all inferences must be drawn in his favor at the        neurosurgeon based upon non-medical concerns. Upon a
summary judgment stage). As this Court stated in the prior        review of the record, it is clear that plaintiff's requests were
Memorandum–Decision and Order:                                    denied due to plaintiff's refusal to adhere to the medical staff's
                                                                  prescribed course of action and his unwillingness to accept
  Other courts have held that “[s]evere back pain,                medication for his complaints of pain. The record establishes
  especially if lasting an extended period of time, can           that defendants were responsive to plaintiff's request but
  amount to a ‘serious medical need’ under the Eighth             did not provide plaintiff with the specific treatment he
  Amendment.” Nelson v. Rodas, 2002 WL 31075804, at *14           requested. Plaintiff was provided with muscle relaxants and
  (S.D.N.Y.2002) (citations omitted); see also Farraday v.        other prescription medication. Plaintiff clearly disagreed with
  Lantz, 2005 WL 3465846, at *5 (D.Conn.2005) (holding            defendants course of treatment. However a disagreement,
  that “persistent[ ] complain[ts] of lower back pain caused      without further evidence, is insufficient to sustain a cause
  by herniated, migrated discs [and] sciatica ...” leading to     of action for violations of plaintiff's Eighth Amendment
  severe pain constitutes a serious medical need).                right. Plaintiff was treated by a number of different medical
                                                                  professionals who are afforded wide discretion in their
(See Dkt. No. 55).
                                                                  treatment of prisoners. See Aquino v. Kooi, 2007 WL 201169,
                                                                  at *4 (N.D.N.Y.2007).
Back pain does not constitute a serious medical need where
despite being seen frequently by prison medical officials,
                                                                   *16 Finally, plaintiff claims that defendants' deliberately
plaintiff “did not voice a significant number of concerns
                                                                  refused to provide “emergency care” in 2003 after a slip
regarding pain, nor did he request pain medication beyond
                                                                  and fall in the shower area and assault by another inmate
simple Ibuprofen and similar over-the-counter medications.”
Jackson v. Fairchild, 2007 U.S. Dist. LEXIS 17497, at *5–9,       at the SCJ. 26 As a result of the incident(s), plaintiff claims
2007 WL 778133 (N.D.N.Y.2007).                                    that he sustained herniated discs in his neck and lower back.
                                                                  Plaintiff has not provided any competent, admissible evidence
Based upon the record, there is an issue of fact with respect     to support that allegation. Indeed, the record does not contain
to whether plaintiff suffered from a serious back injury. Dr.     any evidence or medical records relating to any of plaintiff's
Weitz noted that plaintiff complained of back pain “since         medical treatment in 2003 either within or outside of SCJ. The
his arrival to jail”. Plaintiff continued to complain of back     record is also devoid of any medical requests for treatment or
pain throughout 2004 and underwent x-rays in June 2004            any other complaints by plaintiff of pain in his neck.
which revealed mild degenerative changes in the lower spine.
Conversely, the record indicates that plaintiff was prescribed    26      From a review of the complaint, the Court is unable
Tylenol, Bextra and Flexeril for his pain but that he was not             to determine which event occurred in 2000 and
                                                                          which occurred in 2003. The Court has already


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 188 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

       determined that plaintiff's claims with respect to          151 F.Supp.2d 204, 218 (N.D.N.Y.2001) (holding that even if
       any injury in 2000 are precluded by the statute of          the plaintiff's mental health care was “far from optimum”, he
       limitations.                                                was provided significant psychotropic medication, bi-weekly
                                                                   individual therapy sessions, and monthly medical reviews
Dr. Weitz argues that he is entitled summary judgment
                                                                   while incarcerated). Disagreements with the treatment offered
and dismissal of plaintiff's claims relating to the denial of
                                                                   or allegations that he should have received more time with
“emergency care” 2003 because he did not begin treating
plaintiff until January 2004. The record establishes that Dr.      a psychiatrist do not constitute deliberate indifference. Id.
Weitz did not treat plaintiff until January 2004 and plaintiff     Moreover, plaintiff cannot establish a “serious medical need”
does not dispute this contention. Accordingly, summary             when he is offered but refuses medication that may alleviate
judgment and dismissal of this cause of action as against Dr.      his mental anguish. Sims v. Daley, 1997 WL 33608, at *5
                                                                   (S.D.N.Y.1997).
Weitz is appropriate on this basis as well. 27
                                                                    *17 In this case, plaintiff alleges that he suffers from
27     The Court has determined that Weitz was not                 post-traumatic stress disorder, severe depression, anti-social
       personally involved in plaintiff's complaints of            disorder and bipolar disorder. Plaintiff presents conclusory
       inadequate emergency care in 2003. Thus, the                allegations and fails to submit medical records or an affidavit
       Court declines to engage in an analysis of Weitz            from any physician or mental health provider to support
       remaining argument that any cause of action arising         his assertions. In fact, plaintiff's allegations are wholly
       from the 2003 injury is barred by the statute of            inconsistent with the record. Dr. Becker opined that plaintiff
       limitations.                                                did not suffer from PTSD. Moreover, according to the record,
Accordingly, defendants' motions for summary judgment and          the mental health staff at SCJ and Schoharie Mental Health
dismissal of plaintiff's claim that defendants were deliberately   Clinic continually noted that plaintiff was not a risk to others,
indifferent to his medical needs for back and neck injuries is     not a suicide risk and did not display homicidal ideation.
granted.
                                                                   Even assuming plaintiff could establish that his mental
                                                                   health condition was serious, plaintiff cannot establish that
   D. Mental Health                                                defendants were deliberately indifferent to his condition.
Defendants argue that plaintiff did not suffer from a              When plaintiff began complaining of mental health issues,
serious mental health condition. Further, defendants claim         Dr. Weitz contacted Schoharie Mental Health Clinic and
that plaintiff cannot establish that they were deliberately        consulted with Kelly Farnum and arranged for an evaluation
indifferent to his medical needs as defendant responded to         by Dr. Becker. The record demonstrates that each time
plaintiff's requests for mental health treatment and plaintiff     plaintiff requested a mental health evaluation, he was seen
never filed any grievance with respect to the issue. Plaintiff     and treated within days of the request. See Mills 2009 WL
claims that he suffers from mental illness and that the,           2606240, at * 17 (holding that the record demonstrated that
“psychiatric care he received can be such a substantial            the plaintiff received adequate care for his mental health
deviation from accepted standard as to constitute deliberate       condition while incarcerated as the plaintiff was seen by the
indifference”. Plaintiff claims he was denied supportive           prison's mental health staff each time he requested). In 2004,
therapy and follow up interviews with mental health                Dr. Weitz and Dr. Becker prescribed Depakote, Welbutrin
providers.                                                         and Prozac. Moreover, within a few days of arriving at SCJ
                                                                   in June 2006, plaintiff received a prescription for Prozac
The denial of mental health care may constitute a violation of     from SCJ's medical staff. Based upon the record, plaintiff
the Eighth Amendment if plaintiff alleges “pain, discomfort        cannot establish that defendants were deliberately indifferent
or risk to health”. Mills, 2009 WL 2606240, at * 16 (citation      to his mental health needs and therefore, defendants' motions
omitted). Support for the claim of mental illness may be           for summary judgment and dismissal of plaintiff's Eighth
presented in the form of “medical evidence, such as a              Amendment claims with respect to his mental health is
physician's diagnosis.” Selah v. N.Y.S. Docs Com'r. 2006 WL        granted.
2051402, at *5 (S.D.N.Y.2006) (citing Aswegan v. Henry, 49
F.3d 461, 464 (8th Cir.1995)). Plaintiff must provide evidence
that a condition is of urgency. See Beckford v. Portuondo,         IV. Plaintiff's Request for a Catholic Priest 28



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 189 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

28                                                                 Dep't of Corrections, 904 F.Supp. 161, 188 (S.D.N.Y.2005)
       This cause of action has not been asserted against
       Weitz.                                                      (citations omitted). The burden must be more than an
                                                                   inconvenience, it must be substantially interfere with a tenet
Plaintiff has alleged causes of action under the Religious         or belief that is central to the religious doctrine. Id. (citations
Freedom Restoration Act (“RFRA”) and the First                     omitted); see also Jones v. Shabazz, 2009 WL 3682569,
Amendment. 29 Plaintiff claims that defendants “tried to pass      at *2 (5th Cir.2009) (holding that a government action or
off Rev. Ferenczy as a Catholic Priest” and thus, committed        regulation only creates a “substantial burden” on a religious
fraud. Defendants claim that plaintiff was not inhibited from      exercise if it truly pressures an adherent to significantly
practicing any sincerely held religious belief.                    modify his religious behavior and significantly violate his
                                                                   religious beliefs). If the plaintiff demonstrates a substantial
29                                                                 burden, the onus shifts to the government to prove that an
       Plaintiff asserted a cause of action pursuant to the
       Religious Freedom Restoration Act, 42 U.S.C. §              action or policy is the least restrictive means of furthering
       2000bb et seq. (“RFRA”). The RFRA was declared              a compelling state interest. See Pugh, 571 F.Supp.2d at
       unconstitutional by the Supreme Court in 1997               503. A court must consider whether there is a compelling
       and was amended by the Religious Land Use and               government reason, advanced in the least restrictive means,
       Institutionalized Persons Act of 2000 (“RLUIPA”).           to apply the prison regulation to the individual claimant.
       See Hamilton v. Smith, 2009 WL 3199531, at                  Kikumura v. Hurley, 242 F.3d 950, 962 (10th Cir.2001).
       *1 (N.D.N.Y.2009) (citation omitted). Therefore,            Prison security and penological institutional safety goals are
       the Court construes plaintiff's RFRA claim as a             unquestionably compelling state interests. Muhammed, 904
       RLUIPA cause of action.                                     F.Supp. at 189. Moreover, in enacting RLUIPA, Congress
                                                                   “anticipated that courts would apply the Act's standard with
The Religious Land Use and Institutionalized Persons Act           due deference to the experience ... of prison [ ] administrators
of 2000 (“RLUIPA”) (42 U.S.C. § 2000cc–1), imposes                 in establishing necessary regulations ... to maintain security
duties on prison officials that exceed those imposed by the        and discipline ...” Jova, 582 F.3d at 415 (citing Cutter v.
First Amendment. Jova v. Smith, 582 F.3d 410, 415 (2d              Wilkinson, 544 U.S. 709, 723, 125 S.Ct. 2113, 161 L.Ed.2d
Cir.2009) (citation omitted). Under RLUIPA, a plaintiff must       1020 (2005)).
demonstrate that the state has imposed a substantial burden on
the exercise of his religion. Redd v. Wright, 2010 WL 774304,      While an inmate has a constitutional right to practice his
at *3 (2d Cir.2010). “The state may overcome a RLUIPA              religion, the prison staff “is not under an affirmative duty
claim by demonstrating that the challenged policy or action        to provide each inmate with the spiritual counselor of
furthered a compelling governmental interest and was the           his choice”. Davidson v. Davis, 1995 WL 60732, at *5–6
least restrictive means of furthering that interest. Id.           (S.D.N.Y.1995) (citing 42 U.S.C. § 2000bb–1(b)); see also
                                                                   Reimers v. Oregon, 863 F.2d 630, 632 (9th Cir.1988) (an
 *18 Under the First Amendment, “a generally applicable            inmate does not have the right under the Free Exercise Clause
policy will not violate a plaintiff's right to free exercise       to have the particular clergyman of his choice provided
of religion if the policy is ‘reasonably related to legitimate     to him). The Constitution does not require that a religious
penological interests' ”. Id. (quoting O'Lone v. Estate of         advisor be provided for every sect in a penitentiary. Weir v.
Shabazz, 482 U.S. 342, 349, 107 S.Ct. 2400, 96 L.Ed.2d 282         Nix, 114 F.3d 817, 820–821 (8th Cir.1997) (citing Cruz v.
(1987)). To succeed on a claim under the First Amendment,          Beto, 405 U.S. 319, 322 n. 2, 92 S.Ct. 1079, 31 L.Ed.2d 263
the plaintiff must prove that defendants conduct substantially     (1972)) (prison officials need not provide exactly the same
burdened his sincerely held religious beliefs. Pugh v. Goord,      religious facilities or personnel to prisoners of every faith).
571 F.Supp .2d 477, 497 (S.D.N.Y.2008). The defendant must         A plaintiff cannot demonstrate that his ability to practice his
then establish that legitimate penological interests justify the   religion is substantially burdened by the requirement that he
impinging conduct. Id .                                            bear the responsibility for coordinating visits with spiritual
                                                                   advisors. See Pogue v. Woodford, 2009 WL 2777768, at *8
In order to be considered a “substantial burden”, the plaintiff    (E.D.Cal.2009) (“[i]f the rule were to the contrary, prisons
must demonstrate that the government's action pressured him        would have to fund any other religion facilitating request
to commit an act forbidden by his religion or prevented him        without which an inmate could claim a substantial burden”)
from engaging in conduct or having a religious experience          (citations omitted). Only when a prisoner's sole opportunity
mandated by his faith. Muhammed v. City of New York


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 190 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

for group worship arises under the guidance of someone             see him. Plaintiff also claims that he asked to be allowed
whose beliefs are significantly different from his own is          to see his godfather, a Catholic priest, but that he wasn't
there a possibility that the prisoner's free exercise rights are   allowed to have visitors. Plaintiff cannot prevail on this claim
substantially burdened in this manner. Id. (citing SapaNajin       for two reasons. First, according to the SCJ Inmate Rules
v. Gunter, 857 F.2d 463, 464 (8th Cir.1988)).                      and Regulations, “[m]eetings with attorneys, counselors and
                                                                   clergy are not charged as visits”. Plaintiff has not submitted
 *19 In the case at hand, defendants do not dispute that           evidence proving that he contacted his godfather and that
plaintiff had sincerely-held religious beliefs. Accordingly,       defendants explicitly refused to allow visitation. Further,
the Court analyzes whether defendants' conduct created a           during his deposition, plaintiff admitted that he did not call
substantial burden upon those beliefs. Plaintiff makes the         Mr. Eckerd because he did not want to “run up his phone bill”.
conclusory allegation that defendants attempted to perpetrate      Second, even assuming plaintiff was denied visits with clergy,
a fraud by “passing Rev. Ferenczy off as a Catholic”.              based upon the record, defendants' had a compelling interest
However, plaintiff has provided no factual basis for these         in revoking plaintiff's visitation privileges. Defendants do
assertions. Plaintiff testified that SCJ provided him with a       not dispute that plaintiff's visitation privileges were revoked.
Bible and rosary beads, upon request. Further, plaintiff admits    Throughout his deposition, plaintiff admitted that he was
that he had access to the facility Chaplain, Rev. Ferenczy and     prone to violence indicating that he had kicked corrections
testified that he actually met with the Reverend on at least       officers during altercations and that he became, “physical
one occasion. As part of the motion herein, Sgt. Newman            with the staff to see medical”. Plaintiff admitted that he,
provided a copy of the SCJ's Inmate Rules and Regulations          “assault[ed] the staff” to get them to take him to the medical
which were in effect during plaintiff's incarceration. The         unit. Plaintiff stated that this occurred on two or three
Rules provided, inter alia, “[y]ou may request religious           occasions. There is no unqualified constitutional right to
assistance. Every effort will be made to assist you with your      visitation, which may be regulated in keeping with legitimate
request, starting with the Facility Chaplain”. The Rules and       penological objectives. Smith v. Beatty, 1996 WL 166270,
Regulations clearly stated that the facility would make “every     at *1 (7th Cir.1996) (citing Block v. Rutherford, 468 U.S.
effort” to honor requests for religious assistance. Moreover,      576, 588, 104 S.Ct. 3227, 82 L.Ed.2d 438 (1984)). Even
according to the Regulations, SCJ allowed outside clergy to        assuming plaintiff could establish that he was denied the right
visit. Defendants have provided evidence that the SCJ staff        to visit with clergy, based upon the record, plaintiff's violent
attempted to locate a Catholic priest to meet with plaintiff.      outbursts and behavior resulted in the decision to restrict
Plaintiff has not submitted any evidence demonstrating that        plaintiff's visitation privileges. Clearly, this was the least
defendants' failure to provide a Catholic priest pressured him     restrictive means of furthering a compelling governmental
to commit an act forbidden by his faith. Plaintiff has not         interest. Moreover, plaintiff admitted that even before his
demonstrated that he was “prevented” from meeting with             visitation privileges were revoked, he was not visited by a
a spiritual advisor of his choice. Rather, plaintiff argues,       Catholic priest.
without legal or factual support that defendants are obligated
to provide him with such an advisor. Plaintiff's argument           *20 Based upon the record, plaintiff was not deprived of
lacks merit. Defendants' failure to comply with plaintiff's        the right to exercise the religion of his choice. Accordingly,
request does not amount to either a constitutional or statutory    defendants' motion for summary judgment and dismissal
violation. Based upon the record, plaintiff ‘s free exercise of    of plaintiff's First Amendment claims and RLUIPA claims
religion was not substantially burdened by defendants' failure     relating to religion is granted.
to provide him with a Catholic priest.

Even if plaintiff could establish that his rights were             VI. Fourteenth Amendment–Equal Protection 30
substantially burdened, plaintiff's claim would nonetheless        30     This cause of action has not been asserted against
fail because defendants actions were the least restrictive                Weitz.
means in furtherance of a compelling interest. Construing
plaintiff's complaints in a favorable light, plaintiff seemingly   Plaintiff alleges that, “Lt. Hazzard deliberately and
argues that he was denied visits with personal spiritual           intentionally tried to force a different religion on plaintiff”
advisors. Plaintiff claims that SCJ personnel told him that        and denied plaintiff the right to Equal Protection under the
Henry Eckerd, a Jehovah's Witness, would not come to               Fourteenth Amendment. Defendants contend that there is no



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 191 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

evidence that plaintiff was treated differently on account of
his religious beliefs.                                              *21 Under the First Amendment, “prisoners have a
                                                                   constitutional right of access to the courts.” Bounds v.
“The equal protection clause directs state actors to treat         Smith, 430 U.S. 817, 821, 97 S.Ct. 1491, 52 L.Ed.2d 72
similarly situated people alike.” Salahuddin v. Perez,             (1977); Bourdon v. Loughren, 386 F.3d 88, 92 (2d Cir.2004).
2006 WL 266574, at *9 (S.D.N.Y.2006) (citing Giano v.              This right “requires prison authorities to assist inmates in
Senkowski, 54 F.3d 1050, 1057 (2d Cir.1995)). To prove             the preparation and filing of meaningful legal papers by
an equal protection violation, plaintiff “must prove that          providing prisoners with adequate law libraries or adequate
the decisionmakers in his case acted with discriminatory           assistance from persons trained in the law.” Bounds, 430
purpose.” Id. (citing McCleskey v. Kemp, 481 U.S. 279,             U.S. at 828; Bourdon, 386 F.3d at 92. However, there is
292, 107 S.Ct. 1756, 95 L.Ed.2d 262 (1987)). “[T]he Equal          no “abstract, freestanding right to a law library or legal
Protection Clause does not require that “every religious sect      assistance, [and] an inmate cannot establish relevant actual
or group within a prison must have identical facilities or         injury simply by establishing that his prison's law library
personnel”. Allen v. Toombs, 827 F.2d 563, 569 (9th Cir.1987)      or legal assistance program is subpar in some theoretical
(citing Cruz v. Beto, 405 U.S. 319, 322 n. 2, 92 S.Ct. 1079,       sense.” Lewis v. Casey, 518 U.S. 343, 351–54, 116 S.Ct.
31 L.Ed.2d 263 (1972)). Rather, it entitles each prisoner to       2174, 135 L.Ed.2d 606 (1996). The government does not
‘a reasonable opportunity of pursuing his faith comparable         have to afford inmates unlimited access to a library. Bounds,
to the opportunity afforded fellow prisoners who adhere to         430 U.S. at 828; see also Shell v. Brun, 585 F.Supp.2d
conventional religious precepts.’ ” Shakur v. Schriro, 514 F.3d    465, 468 (W.D.N.Y.2008) (holding that a prison law library
878, 891 (9th Cir.2008) (quoting Cruz, 405 U.S. at 322).           may not be to an inmate's liking but that does not make
                                                                   it constitutionally inadequate). The plaintiff must prove that
Plaintiff has failed to produce any evidence that defendants       the “alleged shortcomings in the library [ ] hindered his
intentionally or purposefully discriminated against him on the     efforts to pursue a legal claim”. Davis v. Buffardi, 2005 WL
basis of his faith. Plaintiff has not provided any evidence        1174088, at *1–2 (N.D.N.Y.2005) (citing Lewis, 518 U.S. at
of bias, discriminatory remarks or evidence of comparable          351); see also Santiago v. James, 1998 WL 474089, at *4–
situations where fellow inmates were treated differently.          5 (S.D.N.Y.1998) (holding that the plaintiff failed to offer
Plaintiff's conclusory assertions that defendants committed        specific facts regarding the type of materials requested, who
“fraud” by attempting to “pass off” Rev. Ferenczy as Catholic      allegedly denied him the materials or when/frequency of these
are unsupported by facts or the record. Based upon the             alleged occurrences).
record, the Court finds that plaintiff has been provided with
“reasonable opportunities” to practice his faith and therefore,    In order to survive a motion for summary judgment,
has not been denied equal protection. See Card v. Dugger, 709      the plaintiff must present evidence showing that: (1) the
F.Supp. 1098, 1109 (M.D.Fla.1988).                                 defendants acted deliberately and maliciously; and (2) that
                                                                   he has suffered actual injury. Lewis, 518 U.S. at 351–54.
                                                                   Where it is alleged that access to a law library or necessary
VII. Access to Courts 31                                           materials has been denied, plaintiff must establish that the
31                                                                 deprivation proximately causes some prejudice or denial of
       This cause of action has not been asserted against
       Weitz.                                                      a legal claim. Ramsey v. Coughlin, 1 F.Supp.2d 198, 204–05
                                                                   (W.D.N.Y.1998) (citing Lewis, 518 U.S. at 351).
Defendants argue that plaintiff was not denied meaningful
access to the courts. Specifically, defendants contend that SCJ    If the plaintiff cannot articulate any actual injury as a result
maintains a law library that complies with New York State's        of purported efforts by the defendants to prevent him from
Minimum Standards and Regulations for Management of                litigating his case, his access claim can not survive scrutiny.
County Jails and Penitentiaries and provides all required texts.   Odom v. Kerns, 2002 WL 31059341, at *4 (S.D.N.Y.2002).
Plaintiff claims that defendants impeded his ability to do legal   “The underlying action that the plaintiff alleges being denied
research and that the SCJ law library was inadequate because       access to must be described well enough to apply the
it lacked appropriate resources and utilized a crude and           ‘nonfrivolous' test and to show that the ‘arguable’ nature of
unreliable library loan system. Further, plaintiff argues that     the underlying claim is more than hope”. Key v. Fischer, 2007
his time in the library was “intentionally and unreasonably        WL 2522352, at *4–5 (S.D.N.Y.2007) (citing Christopher v.
limited”.


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 192 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

Harbury, 536 U.S. 403, 416, 122 S.Ct. 2179, 153 L.Ed.2d            at *9 (W.D.N.Y.2008) (holding that the plaintiff failed to
413 (2002)) (holding that the complaint should state the           identify any judicial proceeding that the plaintiff attempted to
underlying claim in accordance with Fed.R.Civ.P. 8(a)). A          pursue that was hindered by the alleged deficiencies of the law
plaintiff must offer specific references to the injury and must    library). Plaintiff has failed to offer any evidence establishing
demonstrate that he sustained dismissal of or prejudice to         that the alleged deficiencies in the SCJ law library impeded
a lawsuit because of the lack of law books. Gill v. Pact           his efforts to bring a viable legal claim. Plaintiff has not
Org., 1997 WL 539948, at *4–6 (S.D.N.Y.1997). When the             produced copies of petitions or lawsuits that were allegedly
plaintiff fails to provide the court with the case number of       dismissed nor has plaintiff provided case numbers for these
the habeas petition that was allegedly dismissed due to the        alleged submissions. Plaintiff has failed to submit evidence
defendants' alleged actions, he has failed to demonstrate how      that the dismissal of any cause of action was proximately
he was actually injured or prejudiced by the alleged denial        caused by his alleged denial of access to the courts. Based
of access to the courts. Bolton v. King, 2008 WL 2952769,          upon the lack of evidence, plaintiff has not established that
at *5 (S.D.Miss.2008); see also Smith v. Henderson, 2007           his underlying Article 78 filing(s) or habeas petition(s) were
WL 142765, at *4 (S.D.Ga.2007) (holding that the plaintiff         nonfrivolous.
failed to establish a genuine issue of fact regarding whether
he suffered an actual injury as the plaintiff was not specific     Accordingly, defendants' motions for summary judgment and
about his previous case).                                          dismissal of plaintiff's cause of action alleging that his First
                                                                   Amendment right to access to the courts was violated is
 *22 Based upon the record, plaintiff has failed to show           granted.
that a reasonable factfinder could conclude that his access to
the courts was caused by defendants' deliberate misconduct.
Conversely, the record demonstrates that plaintiff was             VIII. Personal Involvement
routinely given extended library time and that his requests for    Defendants Cronk, Marsh, Grippin, Howland and Mace move
addresses, pens, notebooks and a notary were all approved.         for summary judgment arguing that they were not personally
Plaintiff admittedly has filed a multitude of lawsuits and         involved in the alleged constitutional violations.
testified that he filed four lawsuits while incarcerated at SCJ
including an Article 78 petition filed on April 7, 2004. See        *23 “[P]ersonal involvement of defendants in alleged
Hopper v. John Doe Myers Recreational Coach Northwest              constitutional deprivations is a prerequisite to an award of
Detention Center, 2006 WL 3337388, at *5 (W.D.Wash.2006)           damages under § 1983.” Wright v. Smith, 21 F.3d 496, 501
(holding that the numerous civil suits, pleadings, and motions     (2d Cir.1994) (quoting Moffitt v. Town of Brookfield, 950
the plaintiff was able to successfully bring and vigorously        F.2d 880, 885 (2d Cir.1991)). In order to prevail on a cause
prosecute in District Court, showed that he had sufficient         of action under 42 U. S .C. § 1983 against an individual,
access to the courts while detained).                              a plaintiff must show some tangible connection between
                                                                   the alleged unlawful conduct and the defendant. Bass v.
Even assuming that defendants intentionally denied plaintiff       Jackson, 790 F.2d 260, 263 (2d Cir.1986). If the defendant
access to the library and legal materials, plaintiff has not       is a supervisory official, a mere “linkage” to the unlawful
submitted evidence that he sustained any actual injury.            conduct through “the prison chain of command” (i.e., under
Specifically, plaintiff testified that he was denied access        the doctrine of respondeat superior) is insufficient to show
to Article 78 documents and that he was prevented from             his or her personal involvement in that unlawful conduct.
filing a writ of habeas corpus. However, when plaintiff            Polk County v. Dodson, 454 U.S. 312, 325, 102 S.Ct. 445,
was asked about missing deadlines for filing papers due to         70 L.Ed.2d 509 (1981). In other words, supervisory officials
the inadequacy of the library, plaintiff could not recall the      may not be held liable merely because they held a position
deadline dates. Plaintiff could only state that his “divorce, my   of authority. Black v. Coughlin, 76 F.3d 72, 74 (2d Cir.1996).
visitation and [ ] a couple Article 78s against the defendants”    Rather, supervisory personnel may be considered “personally
were dismissed based upon the fact that the complaints were        involved” only if they: (1) directly participated in the
insufficiently drafted. Plaintiff failed to provide any details    violation; (2) failed to remedy that violation after learning of it
about his Article 78 submissions or habeas petition other than     through a report or appeal; (3) created, or allowed to continue,
the fact that he made such a petition. See Waters, 2009 WL         a policy or custom under which the violation occurred; (4) had
750217, at *5; see also Swift v. Tweddell, 2008 WL 4615053,        been grossly negligent in managing subordinates who caused
                                                                   the violation; or (5) exhibited deliberate indifference to the


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 193 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

rights of inmates by failing to act on information indicating        Thus, Howland has failed to sustain his burden on a motion
that the violation was occurring. Colon v. Coughlin, 58 F.3d         for summary judgment on this issue.
865, 973 (2d Cir.1995).
                                                                     Defendants Grippin and Mace provided affidavits admitting
“In order to defeat the portion of [the] defendants' motion for      that they were employed at SCJ at the relevant time. Although
summary judgment asserting lack of personal involvement,             Grippin and Mace deny any wrongdoing in the matter,
it was incumbent upon [the] plaintiff to present evidence            there are triable issues of fact regarding Grippin and Mace's
to support an inference that the defendants implicated in            personal involvement in plaintiff's alleged constitutional
that motion had personal involvement in any deliberate               violations.
indifference to his medical care.” Mendoza v. McGinnis,
2008 WL 4239760, at *8 (N.D.N.Y.2008) (citations omitted).           Finally, plaintiff alleges that Deputy Paul Marsh denied
Personal involvement is generally a question of fact and             him adequate emergency medical care after an incident that
summary judgment may be granted only where the defendant             occurred at SCJ in 2003. On the motion, Marsh provided
establishes that no issues of material fact exist such that the      an affidavit and stated that he was injured on the job on
defendant is entitled to summary judgment as a matter of law.        November 7, 2005 and did not return to work. Deputy Marsh
Williams v. Smith, 781 F.2d 319, 323 (2d Cir.1986) (citing           does not deny that he was working at SCJ prior to November
Fed .R.Civ.P. 56(c) and cases)).                                     2005. Therefore, plaintiff has sufficiently alleged personal
                                                                     involvement as against Deputy Marsh. Thus, the Court denies
In the complaint, plaintiff referred only once to Cpl. Cronk         Marsh's motion for summary judgment on this basis.
claiming that he deliberately denied plaintiff appropriate
mental health care by not allowing plaintiff speak to mental
health counselors when having mental health episodes.                IX. Qualified Immunity
Plaintiff failed to offer any evidence with regard to Cpl.           Public officials enjoy qualified immunity from liability under
Cronk's alleged involvement in his mental health care or             § 1983 “so long as their conduct does not violate a clearly
such “episodes”. Indeed, plaintiff testified that Cpl. Cronk         established statutory or constitutional right.” Richardson v.
was “one step of supervision before a sergeant” and that he          Selsky, 5 F.3d 616, 621 (2d Cir.1993) (citing Harlow v.
improperly reacted to plaintiff's mental health crisis. The fact     Fitzgerald, 457 U.S. 800, 818–19, 102 S.Ct. 2727, 73 L.Ed.2d
that Cpl. Cronk may have had some supervisory authority              396 (1982)). The Second Circuit has held that “[a] right is
is insufficient to create liability under § 1983. Plaintiff has      clearly established if: (1) the law is defined with reasonable
failed to submit any proof demonstrating that Cpl. Cronk             clarity; (2) the Supreme Court or the Second Circuit has
was personally involved in any of his alleged constitutional         recognized the right; and (3) ‘a reasonable defendant [would]
violations. Accordingly, the Court grants Cronk's motion for         have understood from the existing law that [his] conduct
summary judgment and dismissal of plaintiff's complaint for          was unlawful.’ ” Luna v. Pico, 356 F.3d 481, 490 (2d
lack of personal involvement, in addition to the reasons that        Cir.2004) (quoting Anderson v. Recore, 317 F.3d 194, 197 (2d
the Court has previously discussed.                                  Cir.2003)).


 *24 With respect to the remaining defendants, plaintiff has         In determining whether qualified immunity applies, the Court
provided sufficient evidence to raise a triable issue of fact with   may first consider whether “the facts alleged show the
regard to defendants involvement in the alleged constitutional       [defendant's] conduct violated a constitutional right.” Saucier
violations. Plaintiff testified that Deputy Howland and              v. Katz, 533 U.S. 194, 201, 121 S.Ct. 2151, 150 L.Ed.2d
Deputy Grippin refused to communicate his medical needs              272 (2001), modified by Pearson v. Callahan, ––– U.S.
to the medical staff. Defendant Howland failed to submit             ––––, 129 S.Ct. 808, 818, 172 L.Ed.2d 565 (2009) (holding
an affidavit setting forth facts that would be admissible            that although “the sequence set forth [in Saucier ] is often
into evidence. See Davis v. Goode, 995 F.Supp. 82, 91                appropriate, it should no longer be regarded as mandatory”).
(E.D.N.Y.1998) (holding that the defendants failed to carry          If the plaintiff establishes that the violation of a constitutional
their burden of presenting affidavits or other evidence to           right occurred, the court can examine “whether the right was
support their claim that no material issues of fact exist as         clearly established ... in light of the specific context of the
to the personal involvement of these individual defendants).         case, not as a broad general proposition.” Saucier, 533 U.S. at
                                                                     201. “If no constitutional right would have been violated were



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 194 of 221
Guarneri v. Hazzard, Not Reported in F.Supp.2d (2010)
2010 WL 1064330

                                                                        for summary judgment and dismissal of plaintiff's First
the allegations established, there is no necessity for further
                                                                        Amendment right to free exercise of religion are granted as
inquiries concerning qualified immunity.” Id.
                                                                        plaintiff has failed to establish that defendants prevented him
                                                                        from engaging in religious activities without any reasonably
 *25 Inasmuch as this Court finds that plaintiff has
                                                                        related penological interest. Defendants motions for summary
failed to prove any constitutional violation, defendants are
                                                                        judgment and dismissal of plaintiff's Fourteenth Amendment
entitled to summary judgment on this ground. Dorcely v.
                                                                        Equal Protection cause of action is granted as plaintiff
Wyandanch Union Free Sch. Dist., 665 F.Supp.2d 178,
                                                                        has failed to submit evidence that defendants intentionally
219 (E.D.N.Y.2009) (citing The Cathedral Church of the
                                                                        discriminated against plaintiff on the basis of his faith.
Intercessor v. The Inc. Vill. of Malverne, 353 F.Supp.2d 375,
                                                                        Defendants motions for summary judgment and dismissal of
391 (E.D.N.Y.2005)) (“[w]ithout an underlying constitutional
                                                                        plaintiff's First Amendment access to courts cause of action is
violation, qualified immunity cannot attach”).
                                                                        granted as plaintiff has failed to demonstrate that defendants
                                                                        intentionally deprived him of access to courts and further, that
                                                                        he sustained an actual injury as a result of such denial.
                       CONCLUSION
                                                                        In the alternative, all defendants are entitled to summary
To summarize, the Court denies defendant Weitz's motion
                                                                        judgment and dismissal of plaintiff's complaint, in its entirety,
for summary judgment on the basis of res judicata. Weitz's
                                                                        based upon qualified immunity.
motion for summary judgment and dismissal of plaintiff's
Eighth Amendment claims relating to plaintiff's knee, back
and mental health is granted as plaintiff has failed to establish       Accordingly, it is hereby
that Weitz was deliberately indifferent to any serious medical          ORDERED, that defendant Weitz's motion for summary
need. Moreover, Weitz's motion for summary judgment and                 judgment and dismissal of plaintiff's complaint (Dkt. No. 70)
dismissal of plaintiff's claim that Weitz deliberately and              is GRANTED, and it is further;
wilfully denied “emergency care” for plaintiff's back injury
in 2003 is granted based upon Weitz's lack of involvement.              ORDERED, that defendants Hazzard, Marsh, Grippin,
Accordingly, plaintiff's complaint as against defendant Weitz           Howland, Mace and County of Schoharie's motions for
is dismissed in its entirety and Weitz is awarded summary               summary judgment and dismissal of plaintiff's complaint
judgment.                                                               (Dkt. No. 71) are GRANTED, and it is further;

Defendant Cronk's motion for summary judgment and                        *26 ORDERED, that the Clerk of the Court serve a copy
dismissal of plaintiff's Eighth Amendment, First Amendment              of this Memorandum–Decision and Order upon the parties by
and Fourteenth Amendment claims based upon lack of                      regular or electronic mail, and it is further;
personal involvement is granted. 32
                                                                        ORDERED that pursuant to Local Rule 72.3, the parties
32                                                                      are advised that the referral to a Magistrate Judge has been
        In the alternative, Cronk's motion for summary
                                                                        RESCINDED, as such, any appeal taken from this Order will
        judgment is also granted for the reasons discussed
                                                                        be to the Court of Appeals for the Second Circuit.
        in the context of defendants Hazzard, Marsh,
        Grippin, Howland and Mace's motions for
                                                                        IT IS SO ORDERED.
        summary judgment.
Defendants Hazzard, Marsh, Grippin, Howland, and Mace
motions for summary judgment and dismissal of plaintiff's
Eighth Amendment causes of action are granted as plaintiff              All Citations
has failed to establish that defendants were deliberately
                                                                        Not Reported in F.Supp.2d, 2010 WL 1064330
indifferent to any serious medical need. Defendants motions

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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 195 of 221
Hogan v. Fischer, Not Reported in F.Supp.2d (2012)
2012 WL 4845609

                                                                      claim, and dismissed Commissioner Fischer as a defendant.
                                                                      The Court also dismissed the claims brought against
     KeyCite Red Flag - Severe Negative Treatment                     Superintendent Conway and Deputy Superintendent of
Vacated in Part by Hogan v. Fischer, 2nd Cir.(N.Y.),   December 20,
                                                                      Security (“DSS”) Chappius in their official capacities. See
2013
                                                                      Dkt # 4. The remaining claims were allowed to proceed.
                   2012 WL 4845609
      Only the Westlaw citation is currently available.               The parties exchanged written discovery over the next three
               United States District Court,                          years. Presently pending are Plaintiff's Motion to Strike
                    W.D. New York.                                    Respondent's Answer (Dkt # 11), filed on 23, 2009; Plaintiff's
                                                                      Motion for Default Judgment (Dkt # 59), filed March 18,
                  John HOGAN, Plaintiff,                              2010; Plaintiff's Motion for Summary Judgment (Dkt # 60),
                              v.                                      filed April 20, 2010; Defendants' Motion to Dismiss (Dkt #
     Brian FISCHER, Commissioner D.O.C.S.; James                      61), filed May 3, 2010; Plaintiff's Motion to Allow Reply
    T. Conway, Superintendent; Paul Chappius, Deputy                  (Dkt # 72), Motion to Strike (Dkt # 73), Motion for Time
                                                                      (Dkt # 74), all filed August 26, 2010; and Plaintiff's Motion
    Superintendent For Security; Edwin Mendez, Craig
                                                                      to Compel (Dkt # 102), filed May 7, 2012.
      Balcer, Sergeants; Christopher J. Erhardt, Gary
      J. Pritchard, Kevin J. Gefert, Nicholas P. Lanni,
                                                                      For the reasons that follow, Defendants' Motion to Dismiss
     Nicholas J. Piechowicz, John Doe # 1, John Doe                   is granted. Plaintiff's pending motions are denied as moot in
       # 2, John Doe # 3, John Doe # 4, John Doe # 5,                 light of this disposition.
      John Doe # 6, John Doe # 7, Correction Officers;
      Jane Doe # 1, Jane Doe # 2, Nurses, Defendants.
                                                                      II. Background
                    No. 09–CV–6225(MAT).                              Plaintiff was transferred from Sullivan Correctional Facility
                                |                                     in June 2007, to Attica, allegedly in retaliation for being a
                         Oct. 10, 2012.                               “writer” (an inmate who files many grievances) and “doing
                                                                      his job” on the Inmate Liaison Committee. Dkt # 1 at 7. 1
Attorneys and Law Firms
                                                                      Upon arrival at Attica, Plaintiff states, he was “tagged as a
John Hogan, Romulus, NY, pro se.                                      ‘writer’ ” as well as a “rapo' ” because he is a convicted
                                                                      sex offender. Id. According to Plaintiff, two weeks after
J. Richard Benitez, NYS Attorney General's Office,                    his arrival, staff at Attica began a campaign of harassment
Rochester, NY, for Defendants.                                        and retaliation, leading him to file numerous grievances and
                                                                      ultimately this lawsuit.

                  DECISION AND ORDER                                  1      Documentation submitted by Plaintiff reveals,
                                                                             however, that Plaintiff wished to be moved to a
MICHAEL A. TELESCA, District Judge.
                                                                             facility nearer to his home, and Attica was closer
I. Introduction                                                              than Clinton. See Dkt # 1 (attachments).
 *1 Pro se plaintiff John Hogan (“Hogan” or “Plaintiff”),             Plaintiff's supporting allegations cover a number of disparate
an inmate at Attica Correctional Facility, commenced this             topics. To avoid unnecessary repetition, the facts pertinent to
action pursuant to 42 U.S.C. § 1983. In his Complaint,                the alleged constitutional violations will be set forth below in
Hogan alleged for his first claim that Commissioner Fisher            the sections addressing Plaintiff's specific claims.
unlawfully allowed him to be transferred to Attica from
Clinton Correctional Facility. In the remaining claims (two
through sixteen), Hogan alleged that the other defendants,            III. General Legal Principles
who hold administrative and staff positions at Attica,
                                                                         A. 42 U.S.C. § 1983
committed various constitutional violations against him. On
                                                                      In order to state a claim under 42 U.S.C. § 1983, the
initial screening, the Court (Siragusa, D.J.) dismissed the
                                                                      plaintiff must establish the following elements: (1) conduct
first claim for failing set forth a cognizable constitutional


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 196 of 221
Hogan v. Fischer, Not Reported in F.Supp.2d (2012)
2012 WL 4845609

attributable at least in part to a person acting under color of
state law, and (2) deprivation, as the result of the challenged
conduct, of a right, privilege, or immunity secured by the                A. Verbal Harassment (Second Claim)
Constitution or laws of the United States. Dwares v. City of           Hogan's second claim alleges that throughout his stay
New York, 985 F.2d 94, 98 (2d Cir.1993).                               at Attica, he “has been continuously harassed by staff”
                                                                       and Superintendent Conway and DSS Chappius failed to
                                                                       prevent or remedy the situaton. Defendants argue that
   B. Motions to Dismiss Under F.R.C.P. 12(b)(6) & 12(c)               Hogan has failed to state a claim because he has not
 *2 Defendants cite both Rule 12(b)(6) and Rule 12(c) in               sufficiently alleged personal involvement by Conway and
support of their motion to dismiss. Because Defendants have            Chappius. See Farrell v. Burke, 449 F.3d 470, 474 (2d
filed an Answer to the Complaint, it appears that this motion          Cir.2006) (“[P]ersonal involvement of defendants in alleged
is more appropriately made pursuant to Rule 12(c). The Court           constitutional deprivations is a prerequisite to an award of
need not decide the issue because in deciding a Rule 12(c)             damages under § 1983.”) (citation omitted). Defendants also
motion, the same standard as that applicable to a motion under         contend that verbal harassment alone is not actionable under
Rule 12(b)(6) is applied. Desiano v. Warner–Lambert & Co.,             § 1983.
467 F.3d 85, 89 (2d Cir.2006).
                                                                       The Court agrees with Defendants that even if there was
Rule 12 (b)(6) of the Federal Rules of Civil Procedure                 personal involvement by Chappius and Conway, allegations
provides that a complaint may be dismissed for “failure to             of verbal harassment, standing alone, are not redressable
state a claim upon which relief can be granted.” Fed.R.Civ.P.          under 42 U.S.C. § 1983. See, e.g., Purcell v. Coughlin, 790
12(b)(6). To survive a motion to dismiss, “a complaint must            F.2d 263, 265 (2d Cir.1996) (“The claim that a prison guard
contain sufficient factual matter ... to ‘state a claim to relief      called [plaintiff] names also did not allege any appreciable
that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S.          injury and was properly dismissed.”).
662, ––––, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009)
(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127
S.Ct. 1955, 167 L.Ed.2d 929 (2007)). “A claim has facial                  C. Failure to Prevent Theft of Personal Property
plausibility when the plaintiff pleads factual content that               (Third Claim)
allows the court to draw the reasonable inference that the              *3 Hogan alleges that on February 17, 2008, his cell was
defendant is liable for the misconduct alleged.” Id. (citing           robbed of certain personal property, and that Conway and
Twombly, 550 U.S. at 556). Thus, unless a plaintiff's well-            Chappius “allowed this to happen.” Plaintiff states that during
pleaded allegations have “nudged [his] claims across the line          a “bar check” of his cell, the cell door was purposely left open
from conceivable to plausible, [the plaintiff's] complaint must        so that the inmate porters could steal his things.
be dismissed.” Twombly, 550 U.S. at 570. The Court must
liberally construe all claims, accept all factual allegations in       As Defendants argue, even if Hogan had adequately alleged
the complaint as true, and draw all reasonable inferences in           any personal involvement by Conway and Chappius, the
favor of the plaintiff. E.g., Roth v. Jennings, 489 F.3d 499, 510      claim still would be fatally defective. Even an intentional
(2d Cir.2007); Cargo Partner AG v. Albatrans, Inc., 352 F.3d           deprivation of an inmate's property that is random and
41, 44 (2d Cir.2003).                                                  unauthorized does not give rise to a due process claim so long
                                                                       as “adequate state post-deprivation remedies are available.”
                                                                       Hudson v. Palmer, 468 U.S. 517, 533, 104 S.Ct. 3194, 82
IV. Discussion                                                         L.Ed.2d 393 (1984). New York law provides such a remedy
Before proceeding, the Court notes that in his Complaint,              in the form of an action before the New York Court of Claims.
Plaintiff indicates that the constitutional bases for all his          See N.Y. Ct. Cl. Act § 9. 2 Therefore, Hogan does not have
claims are as follows: “Violation of Article's [sic] 3., 5., 7., 12.   a constitutional claim against Chappius and Conway for the
and 25[.]” Dkt # 1 (passim ). It is unclear what Hogan intends         theft of his personal property. See Dorsey v. Fisher, 9:09–
to convey by this statement. Construing these numbers to refer         CV–1011GLSD, 2010 WL 2008966, at *10–11 (N.D.N.Y.
to amendments rather than articles similarly does not clarify          May 19, 2010) (“Dorsey does not clearly allege which of the
the legal bases for his claims. The Court thus has attempted           twenty-five defendants named in his amended complaint were
to give the broadest possible meaning to the allegations in            actually responsible for the theft of his property from his cell.
Plaintiff's pro se papers.                                             Dorsey merely alleges that the defendants allowed inmate


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 197 of 221
Hogan v. Fischer, Not Reported in F.Supp.2d (2012)
2012 WL 4845609

porters identified which particular defendant was responsible      assailants and several “John Doe” officers as supervisors
for the theft, his claim would still fail” because “New York       liable for failing to prevent the assault. Even if Plaintiff
law provides ... a remedy in the form of an action before the      adequately had alleged personal involvement, these claims
New York Court of Claims.”) (citing Hudson, 468 U.S. at 533;       premised on the spraying incident all must fail as Plaintiff has
other citations omitted).                                          not demonstrated more than a de minimis injury.

2                                                                  The Eighth Amendment's prohibition of cruel and
       Hogan, in fact, has filed numerous complaints in
       the Court of Claims.                                        usual punishments necessarily excludes from constitutional
                                                                   recognition de minimis uses of physical force, provided that
                                                                   the use of force is not of a sort repugnant to the conscience
   D. Theft of Magazine Subscriptions (Fourth Claim)
                                                                   of mankind.” Hudson v. McMillian, 503 U.S. 1, 6–7, 112
As his fourth cause of action, Hogan alleges that Corrections
                                                                   S.Ct. 995, 117 L.Ed.2d 156 (1992). The force used here
Officer (“CO”) Erhardt, Superintendent Conway, and DSS
                                                                   was de minimis. See Tafari v. McCarthy, 714 F.Supp.2d 317,
Chappius “allowed the theft of [his] magazine subscriptions
                                                                   341 (N.D.N.Y.2010) (corrections officer's throwing of urine
by allowing inmates to pass them out.” This claims must be
                                                                   and feces on inmate while he was sleeping constituted a de
dismissed because Hogan has an adequate state-law remedy
                                                                   minimis use of force). “The question, then, is whether the
for the alleged unlawful deprivation of his personal property.
                                                                   force used was ‘of a sort repugnant to the conscience of
See Dorsey, 2010 WL 2008966, at *11.
                                                                   mankind.’ ” Tafari, 714 F. Supp .2d at 341 (quoting). Spraying
                                                                   someone with feces and vinegar is “certainly repulsive,” but
  E. Property Damage (Fifth Claim)                                 it “is not sufficiently severe to be considered ‘repugnant to
Hogan alleges, in support of his fifth cause of action, that       the conscience of mankind.’ ” Id. (citing, inter alia, Fackler v.
CO Biekert “knocked [his] tv to the flor[,] damaging it” on        Dillard, No. 06–10466, 2006 U.S. Dist. LEXIS 61480, 2006
February 14, 2009. This claims must be dismissed because           WL 2404498, at *1 (E.D.Mich. Aug.16, 2006) (holding that
Hogan has an adequate state-law remedy for the alleged             an officer who threw a four-ounce cup of urine on an inmate
unlawful damage to his personal property. See Dorsey, 2010         which caused no physical injury “was not so grievous as to
WL 2008966, at *11.                                                rise to the level of an Eighth Amendment violation”)).

                                                                   With regard to the corrections officers who allegedly failed
   F. Assault (Fifth, Sixth, Seventh, Eighth, and Ninth            to protect Hogan from the assault, the Court notes that
   Claims)                                                         “[l]aw enforcement officials can be held liable under § 1983
Plaintiff's fifth, sixth, seventh, eighth, and ninth claims all    for not intervening in a situation where excessive force is
relate to an incident that occurred on February 15, 2009,          being used by another officer.” Jean–Laurent v. Wilkinson,
in which Plaintiff alleges that he was sprayed in his face,        540 F.Supp.2d 501, 512 (S.D.N.Y.2008) (citing O'Neill v.
mouth, nose, ears, and on the rest of his body, with an            Krzeminski, 839 F.2d 9, 11–12 (2d Cir.1988) (citations
“unknown substance” possibly consisting of vinegar and             omitted)). Liability attaches only when (1) the officer had a
feces. According to his grievance, three corrections officers      realistic opportunity to intervene and prevent the harm; (2) a
came into his cell after lockdown and sprayed him while            reasonable person in the officer's position would know that
he was lying in bed. Plaintiff stated in his grievance that        the victim's constitutional rights were being violated; and
other inmates saw three officers with brown paper bags over        (3) the officer does not take reasonable steps to intervene.
their heads with eye-holes cut out running away from the           Ricciuti v. N.Y. City Transit Auth., 124 F.3d 123, 129 (2d
area. Plaintiff was able to knock one of the bottles out of        Cir.1997)). A corrections officer cannot be held liable for
their hands, and it appeared to contain machine oil. Plaintiff,    the failure to intercede unless such failure permitted fellow
contends, he was sprayed with a different substance (the           officers to violate an inmate's “clearly established statutory
possible vinegar-feces mixture), which burned his eyes.            or constitutional rights” of which a reasonable person would
                                                                   have known. Id. at 129. Here, as discussed above, the spraying
 *4 Plaintiff contends that Erhardt, the gallery officer,          of a noxious substance did not constitute an unconstitutional
opened gallery gate or gave the keys to another officer,           use of force as defined in Eighth Amendment jurisprudence.
thereby allowing Plaintiff be assaulted. In addition to Erhardt,   Therefore, supervisory liability does not attach.
Plaintiff names three “John Doe” corrections officers as his



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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 198 of 221
Hogan v. Fischer, Not Reported in F.Supp.2d (2012)
2012 WL 4845609

                                                                     to intervene and allowed Plaintiff to be slapped. Plaintiff does
   G. Failure To Provide Medical Treatment (Tenth,                   not allege that Sergeant Balcer slapped him.
   Eleventh, and Twelfth Claims)
 *5 The tenth claim alleges that John Doe # 7, a corrections         Plaintiff has not stated a cognizable constitutional claim,
officer, “refused Plaintiff medical attention” after the spraying    as a “light slap” constitutes a de minimis use of force, not
incident. The eleventh claim alleges that Jane Doe # 1, “who         repugnant to the conscience of mankind. See Jones v. Goord,
was the nurse writing the treatment plan, refused to treat           2008 WL 904895, at *4 (W.D.N.Y.2008) (“At most, plaintiff
Plaintiff or schedule any testing ... scheduling [sic] him to        was struck by an open-handed slap, which, regardless of
see the doctor.” The twelfth claim asserts that Jane Doe # 2,        defendant [officer's] motivation, is considered a de minimis
“who was the examining nurse, refused to acknowledge any             use of force.”); Santiago v. CO Campisi Shield No. 4592, 91
of Plaintiffs [sic] injuries and refused any treatment for said      F.Supp.2d 665, 674 (S.D.N.Y.2000). Because the “light slap”
injuries.” The only physical injuries that Hogan noted after the     did not constitute an unconstitutional use of force as defined
spraying were (1) a “cut/scratch” on his neck which he claims        in Eighth Amendment jurisprudence, supervisory liability
had to have occurred during the struggle for the spraybottle's       does not attach.
nozzle, see Dkt # 1, Ex. 18, and a “burn mark on [his] penis
from the oil-like substance [,]: id., Ex. 19.
                                                                         I. Failure To Install Surveillance Cameras (Fifteenth
To maintain a claim for deliberate medical indifference, Ford            Claim)
must prove “deliberate indifference to [his] serious medical          *6 Hogan alleges that Superintendent Conway “refused to
needs.” Hathaway v. Coughlin, 37 F.3d 63, 66 (2d Cir.1994),          acknowledge that cameras are needed throughout” Attica in
cert. denied, 513 U.S. 1154, 115 S.Ct. 1108, 130 L.Ed.2d             order to protect inmates from abuse by prison staff. Plaintiff
1074 (1995) (quotation omitted). This standard requires proof        alleges that this issue has been raised repeatedly in Inmate
of objective and subjective prongs. Id. (citation omitted). As       Liaison Committee executive meetings. Plaintiff asserts that
an initial matter, the documentation Plaintiff has submitted         if the appropriate cameras had been in place, they would have
in support of his Complaint belies his claim that he did not         acted as a deterrent and the spraying incident would not have
receive medical treatment. He states in his grievance that a         occurred.
9:00 a.m. the morning after the spraying, he went to medical
unit. Two nurses “checked out [his] injuries” and called for         In this case, there are no allegations that Conway had
a Mental Health Unit nurse to come see him. Dkt # 1, Ex.             knowledge of a dangerous situation with regard to Hogan in
19. The only injury referenced in his narrative regarding his        particular and failed to act; that he was aware of a specific
check-up with the nurses is the alleged burn mark on his             dangerous condition on Hogan's cell block; that he was aware
penis. One of the nurses looked at it said it appeared to be a       of other similar assaults; or that he was in the vicinity during
“fungi”, not a burn, but Plaintiff maintains it was not there        the assault and failed to come to Hogan's aid. Instead, Hogan
before the assault. Plaintiff states that the nurses did not treat   is relying upon the dangerous conditions in general existing at
the fungi/burn mark. Id. Accepting Plaintiff's allegations as        Attica, stating that there is “massive abuse” of inmates by the
true, they fall far short of the mark and do not establish           staff. These allegations are insufficient to state a claim based
that the John Doe supervisor or the Jane Doe nurses were             upon the theory of failure to protect against the general threat
deliberately indifferent to a serious medical need presented         of harm. Coronado v. Goord, No. 99CIV. 1674(RWS), 2000
by him. See Sonds v. St. Barnabas Hosp. Corr. Health Servs.,         WL 1372834, at*6 (S.D.N.Y. Sept. 25, 2000) (stating that in
151 F.Supp.2d 303, 311 (S.D.N.Y.2001) (cut finger with “skin         order to make out a failure to protect against general violence,
ripped off” is insufficiently serious for purposes of an Eighth      inmate who was stabbed by another inmate in the recreation
Amendment deliberate indifference claim).                            yard had to plead facts stating five elements, including, that
                                                                     there were numerous other inmate-on-inmate attacks in the
                                                                     yard; these attacks posed a substantial risk of serious harm;
   H. Excessive Use Of Force (Thirteenth and Fourteenth              and that if prison officials had installed metal detectors and
   Claims)                                                           preventively searched inmates for weapons, the inmate would
Plaintiff alleges that on February 16, 2009, CO Gefert               not have been stabbed).
assaulted him by lightly slapping him on the face. Plaintiff
further alleges that Sergeant Balcer, the area supervisor, failed
                                                                       J. Verbal Harassment (Sixteenth Claim)


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        Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 199 of 221
Hogan v. Fischer, Not Reported in F.Supp.2d (2012)
2012 WL 4845609

On February 21, 2009, Plaintiff alleges that CO Piechowicz
walked by his cell and threatened him with death by                   V. Conclusion
stating, “You're dead Hogan, you fucking rat fuck.” Dkt               Defendants' Motion to Dismiss (Dkt # 61) is granted, and
# 1, Ex. 20. To the extent Hogan seeks to assert a claim              Plaintiff's Complaint (Dkt # 1) is dismissed in its entirety with
of verbal abuse, the Court notes that verbal harassment or            prejudice. Plaintiff's Motion to Strike Respondent's Answer
profanity alone, no matter how inappropriate, unprofessional,         (Dkt # 11), Plaintiff's Motion for Default Judgment (Dkt #
or reprehensible it might seem, when it is unaccompanied              59), Plaintiff's Motion for Summary Judgment (Dkt # 60),
by any quantifiable injury, does not constitute the violation         Plaintiff's Motion to Allow Reply (Dkt # 72), Motion to Strike
of a federally protected right, and therefore is not actionable       (Dkt # 73), Motion for Time (Dkt # 74), and Plaintiff's Motion
under 42 U.S.C. § 1983. See Aziz Zarif Shabazz v. Pico,               to Compel (Dkt # 102) are dismissed as moot.
994 F.Supp. 460, 475 (S.D.N.Y.1998) (dismissing claim by
prison inmate that prison employees had verbally taunted              *7 The Clerk of the Court is directed to close this case.
him with racial slurs and threats of physical injury (e.g.,
“We have been waiting on you a very long time, and we are             SO ORDERED.
going to kill your ‘black ass' when you come out if you do
not voluntarily submit to and comply with the strip search
procedure”), standing alone, did not allege violation of any          All Citations
federally protected right, and did not support claim under §
1983); see generally Purcell v. Coughlin, 790 F.2d at 265.            Not Reported in F.Supp.2d, 2012 WL 4845609


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 200 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

                                                       Steven Racette (“Racette”), Lieutenant Durkin
              2021 WL 4312392                          (“Durkin”), Sergeant Hutti (“Hutti”), Sergeant
         Only the Westlaw citation                     King (“King”), Correctional Officer John
            is currently available.                    Reyell (“Reyell”), Correctional Officer
United States District Court, N.D. New York.           Wyatt (“Wyatt”), Correctional Officer S.
                                                       Dubrey (“Dubrey”), Correctional Officer
        Towaun COLEMAN, Plaintiff,                     Spinner (“Spinner”), Correctional Officer J.
                   v.                                  Tyler (“Tyler”), Correctional Officer Coryea
     Steven RACETTE, et al., Defendants.               (“Coryea”), and Correctional Officer Demers
                                                       (“Demers”), for violations of his constitutional
         No. 9:18-CV-0390 (MAD/CFH)                    rights under the First and Eighth Amendments.
                       |                               See Dkt. No. 85 (“Sec. Am. Compl.”).
               Signed 05/27/2021
                                                       Presently before the Court is Defendants’
Attorneys and Law Firms                                motion for partial summary judgment pursuant
                                                       to Rule 56 of the Federal Rules of Civil
TOWAUN COLEMAN, Plaintiff pro se, 07-
                                                       Procedure (“Fed. R. Civ. P.”). See Dkt. No.
A-2215, Southport Correctional Facility, P.O.
Box 2000, Pine City, New York 14871.                   91. Coleman opposed Defendants’ motion. 2
                                                       See Dkt. No. 98. For the following reasons, it
OF       COUNSEL:        ERIK        BOULE             is recommended that Defendants’ motion for
PINSONNAULT, ESQ., Assistant Attorney                  partial summary judgment be granted in part
General, HON. LETITIA JAMES, Attorney                  and denied in part.
General for the State of New York, The
Capitol, Albany, New York 12224, Attorney for
Defendants.
                                                                      I. BACKGROUND

                                                       In support of the motion, Defendants filed a
      REPORT-RECOMMENDATION                            Statement of Material Facts. 3 See Dkt. No.
                  AND ORDER 1                          91-6. The facts recited are for the relevant time
                                                       period as referenced in the Second Amended
CHRISTIAN F. HUMMEL, UNITED STATES                     Complaint and are related herein in the light
MAGISTRATE JUDGE                                       most favorable to Coleman as the nonmoving
                                                       party. See subsection II(A) infra.
 *1 Plaintiff pro se Towaun Coleman
(“Coleman” or “Plaintiff”), who was,
at all relevant times, in the custody
of Clinton Correctional Facility (“Clinton                                 A. Facts 4
C.F.”), brings this action pursuant to
  42 U.S.C. § 1983 against Defendants,                 *2 On June 6, 2015, staff at Clinton C.F.
former Superintendent of Clinton C.F.                  discovered that two inmates, Richard Matt and


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 201 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

David Sweat, had escaped from the facility.
Dkt. No. 91-4 at ¶ 5. As a result, the entire
                                                               1. Plaintiff's Version of Events
facility was placed on lockdown immediately.
Dkt. No. 91-3 at ¶ 4. At that time, Racette            Coleman claims that Coryea and Demers came
was the Superintendent at Clinton C.F. Dkt. No.        to his cell and directed him to step out for a pat
91-4 at ¶ 1.                                           frisk. Dkt. No. 91-5 at 14-18; Sec. Am. Compl.
                                                       at ¶¶ 27-28. After the pat frisk, Coryea and
On June 8, 2015, staff at Clinton C.F. conducted       Demers directed Coleman to “turn around” so
cell frisks throughout the facility, including         that he could observe the search of his cell. Id.
Coleman's housing location, Upper H Block,             Coleman witnessed Coryea reading his phone
12 Company. 5 Dkt. No. 91-5 at 35-36. 6 At             book while Demers read through Coleman's
the relevant time, Coleman was housed in               legal materials; including his “current Federal
Cell 15. Dkt. No. 91-2 at ¶ 6. Between 8:00            claim.” 8 Dkt. No. 91-5 at 18-20. Coleman
A.M. and 9:00 A.M., Clinton C.F. staff began           overheard Coryea and Demers whispering, and
entering Upper H Block. Sec. Am. Compl. at             Demers asked Coleman if he was a “rat” or
¶ 26. Durkin supervised the searches that were         “snitch,” meaning a confidential informant. Id.
conducted in the Upper H Block on June 8,              at 20.
2015. Dkt. No. 91-3 at ¶¶ 7, 10.
                                                       Coryea and Demers began “throwing”
On June 25, 2015, Coleman filed a grievance            Coleman's property onto the floor and out of
(CL-67063-15) related to an assault that               his cell. Dkt. No. 91-5 at 22-23. At that time,
allegedly occurred on June 8, 2015, in the             Coleman saw Hutti and Durkin walking toward
Upper H Block, 12 Company. Dkt. No.                    his cell. Id. at 24. Coleman “addressed” Hutti
91-3 at ¶ 8. In his grievance, Coleman                 and “inquired” about the items that were being
identified Defendants Durkin, Hutti, King,             discarded from his cell. Id. at 24-25. While
Reyell, Dubrey, Spinner, Tyler, and Wyatt              Coleman was speaking with Hutti about his
as “individuals that assaulted [him] or [ ]            personal property, Durkin asked Coryea and
witnessed the assault.” Dkt. No. 91-3 at 9. In         Demers “what's taking [you] so long.” Id. at
March 2016, Coleman was transferred out of             26. One of the officers responded, “he has too
Clinton C.F., but returned in October 2018. 7          much shit.” Dkt. No. 91-5 at 27. Durkin then
Dkt. No. 25; Dkt. No. 98-2 at 25.                      “yelled” at Coleman, “if you don't throw this
                                                       shit away, I'm going to throw it away for you.”
The remaining record contains few undisputed           Id.; Sec. Am. Compl. at ¶¶ 35-36. Coleman
facts. Coleman and Defendants disagree on              responded that he “had the amount of property
many of the events that transpired on June 8,          I'm entitled to have by the State of New York.
2015 and provide conflicting accounts of the           I have no more or no less.” Dkt. No. 91-5 at
circumstances surrounding the incidents.               27. Durkin continued, “I don't care how much
                                                       property you're entitled to have. If you don't get
                                                       rid of this shit, we will.” Id.



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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 202 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

 *3 At that time, Coryea stepped out of                at ¶¶ 7-8. Demers asserts that he did not frisk
Coleman's cell and told Durkin, “he's been             Coleman's cell, he did not read Plaintiff's legal
running his mouth all day” and approached              papers or phone book, and did not use force on
Coleman. Sec. Am. Compl. at ¶ 37; Dkt. No.             Plaintiff. Id. at ¶¶ 7, 10-11. Demers also states
91-5 at 27-28. Coleman alleges that Coryea             that he did not observe any other staff member
“struck him” in the face, causing him to lose          use force on Plaintiff on June 8, 2015. Id. at ¶
consciousness. Dkt. No. 91-5 at 28-31. When            12.
Coleman awoke, he was handcuffed and carried
to the front of the housing block by “a number
of Correctional Officers.” Sec. Am. Compl. at
                                                                    B. Procedural History
¶ 38. Coleman was “savagely beaten for what
appeared to be a half an hour” by a number             In April 2018, Coleman commenced the within
of individuals Id. at ¶ 39; Dkt. No. 91-5 at           action. Dkt. No. 1. In December 2018, Coleman
30-36. Coleman heard someone say, “pick him            filed an Amended Complaint. Dkt. No. 31.
up,” and, as he was brought to his feet, Coryea        Upon review of the Amended Complaint,
“grabbed a handfull [sic] of Plaintiff's hair,         the Court found that the following claims
lifted Plaintiff's head from off the floor,” “spit     survived review and required a response: (1)
in Plaintiff's face” and punched him “one last         First Amendment retaliation claims against
time with a gloved fist” while yelling racial          Defendants Durkin, John Doe #1 and Wood;
slurs. Sec. Am. Compl. at ¶ 40.                        (2) Eighth Amendment excessive force and
                                                       failure-to-intervene claims against Defendants
                                                       John Doe #1-4, Durkin, Hutti, King, Reyell,
       2. Defendants’ Version of Events                Wyatt, Dubrey, Tyler, Spinner, and Racette;
                                                       and state law claims against Defendants John
In support of the motion, Defendants                   Doe #1-4, Durkin, Hutti, King, Reyell, Wyatt,
proffer declarations from Racette, Durkin, and         Dubrey, Tyler, Spinner, and Racette. See Dkt.
Demers. Racette and Durkin claim that Racette          No. 33. Defendants filed Answers to the
was not present during the frisk of Coleman's          Amended Complaint (Dkt. Nos. 36, 68) and, in
cell on June 8, 2015. Dkt. No. 91-4 at ¶ 13; Dkt.      April 2019, Defendants filed a partial motion
No. 91-3 at ¶ 5. Racette also asserts that he was      to dismiss. Dkt. No. 44. In a Memorandum-
not responsible for ordering cell frisks and/or        Decision and Order filed in February 2020, the
searches throughout the facility. Dkt. No. 91-4        Court dismissed several claims, including all
at ¶ 13.                                               claims against Wood. Dkt. No. 54.

Durkin, who supervised the search of Upper             On June 24, 2020, Coleman field a motion
H Block, did not observe any officer using             to amend the Amended Complaint. Dkt. No.
excessive force on Plaintiff. Dkt. No. 91-3 at ¶¶      77. On August 11, 2020, Coleman appeared at
7, 10-11. Demers claims that he was assigned to        a deposition. Dkt. No. 91-5 at 4. On August
frisk cell UH 12/35 (“Cell 35”), which was “20         28, 2020, the Court granted Coleman's motion,
cells away from Plaintiff's cell.” Dkt. No. 91-2       accepted the Second Amended Complaint (Dkt.


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 203 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

No. 85) and ordered Defendants to respond to           the outcome of the case as determined by
the following: (1) First Amendment retaliation         substantive law. Anderson v. Liberty Lobby,
claims against newly-added defendants Coryea           Inc., 477 U.S. 317, 248 (1986). All ambiguities
and Demers; (2) Eighth Amendment excessive             are resolved and all reasonable inferences
force and failure to intervene claims against          are drawn in favor of the non-moving party.
defendants Coryea, Demers, Durkin, Hutti,
                                                         Skubel v. Fuoroli, 113 F.3d 330, 334 (2d Cir.
King, Reyell, Wyatt, Tyler, Dubrey, and
                                                       1997).
Spinner; and (3) Eighth Amendment claims
based on supervisory liability against Racette.
                                                       The party opposing the motion must set
Dkt. No. 84. On October 13, 2020, Defendants
                                                       forth facts showing a genuine issue for trial.
filed an Answer to the Second Amended
Complaint. Dkt. No. 88                                    Matsushita Elec. Indus. Co., Ltd. v. Zenith
                                                       Radio Corp., 475 U.S. 574, 586 (1986). For a
On October 27, 2020, Defendants filed the              court to grant a motion for summary judgment,
within motion pursuant to Fed. R. Civ. P. 56           it must be apparent that no rational finder of fact
seeking partial summary judgment: dismissal            could find in favor of the non-moving party.
of all claims against Racette and Demers for             Gallo v. Prudential Residential Servs., Ltd.
lack of personal involvement and dismissal of          Partnership, 22 F.3d 1219, 1223-24 (2d Cir.
First Amendment claims against Demers and              1994); Graham v. Lewinski, 848 F.2d 342,
Coryea. See generally Dkt. No. 91. Coleman             344 (2d Cir. 1988).
opposed the motion. 9 Dkt. No. 98.
                                                       Where, as here, a party seeks judgment against
                                                       a pro se litigant, a court must afford the non-
                                                       movant special solicitude. See Triestman v.
                II. DISCUSSION
                                                       Federal Bureau of Prisons, 470 F.3d 471, 477
                                                       (2d Cir. 2006). As the Second Circuit has stated,
                A. Legal Standard
                                                          [t]here are many cases in which we have
 *4 A motion for summary judgment may be                  said that a pro se litigant is entitled
granted if there is no genuine issue as to any            to “special solicitude,” ... that a pro se
material fact, it was supported by affidavits             litigant's submissions must be construed
or other suitable evidence, and the moving                “liberally,” ... and that such submissions
party is entitled to judgment as a matter of              must be read to raise the strongest arguments
law. The moving party bears the burden of                 that they “suggest,” .... At the same time,
demonstrating the absence of disputed material            our cases have also indicated that we
facts by providing the court with portions of             cannot read into pro se submissions claims
pleadings, depositions, and affidavits which              that are not “consistent” with the pro se
support the motion. FED. R. CIV. P. 56 (c);               litigant's allegations, ... or arguments that the
  Celotex Corp. v. Catrett, 477 U.S. 317, 323             submissions themselves do not “suggest,” ...
(1986). Facts are material if they may affect             that we should not “excuse frivolous or


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 204 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

  vexatious filings by pro se litigants,” ...          maintain or restore discipline, or maliciously
  and that pro se status “does not exempt a            and sadistically [to] cause[ ] harm.” Hudson,
  party from compliance with relevant rules of         503 U.S. at 7 (internal quotation marks and
  procedural and substantive law.
                                                       citations omitted); see also Wilkins v. Gaddy,
Id. (citations and footnote omitted); see also         559 U.S. 34, 37 (2010) (per curiam) (observing
                                                       that the Supreme Court has emphasized that
   Sealed Plaintiff v. Sealed Defendant, 537
                                                       the nature of the force applied is the “core
F.3d 185, 191-92 (2d Cir. 2008).
                                                       judicial inquiry” in excessive force cases
                                                       —“not whether a certain quantum of injury
                                                       was sustained.”) (internal quotation marks
        B. Eighth Amendment Claims                     and citation omitted). In assessing whether
                                                       defendants acted maliciously or wantonly, the
“The Eighth Amendment requires prison                  Second Circuit has set forth five factors to
officials to take ‘reasonable measures to              consider:
guarantee the safety of inmates’ in their
custody.” Hayes v. New York City Dep't
of Corr., 84 F.3d 614, 620 (2d Cir. 1996)                           *5 the extent of the injury
(citing Farmer v. Brennan, 511 U.S. 825,                           and the mental state of the
832-33 (1994)). To bring a claim of excessive                      defendant[;] ... the need for
force under the Eighth Amendment, a plaintiff                      the application of force; the
must establish both objective and subjective                       correlation between that need
                                                                   and the amount of force
elements. See Blyden v. Mancusi, 186 F.3d
                                                                   used; the threat reasonably
252, 262 (2d Cir. 1999). The objective element
                                                                   perceived by the defendants;
is “responsive to contemporary standards of
                                                                   and any efforts made by
decency” and requires a showing “that the
                                                                   the defendants to temper
injury actually inflicted [is] sufficiently serious
                                                                   the severity of a forceful
to warrant Eighth Amendment protection.”
                                                                   response.
   Hudson v. McMillian, 503 U.S. 1, 8 (1992)
(internal quotation marks and citation omitted);
  Blyden, 186 F.3d at 262.                               Scott v. Coughlin, 344 F.3d 282, 291 (2d Cir.
                                                       2003) (internal quotation marks and citations
The subjective element requires a plaintiff            omitted).
to demonstrate the “necessary level of
culpability, shown by actions characterized by         Similarly, “a state prison guard's deliberate
wantonness.” Sims v. Artuz, 230 F.3d 14,               indifference to the consequences of his conduct
21 (2d Cir. 2000) (internal quotation marks            for those under his control and dependent upon
and citations omitted). Thus, the key inquiry          him may support a claim under          § 1983.”
for an excessive force claim is “whether
                                                          Morales v. New York State Dep't of Corr.,
force was applied in a good-faith effort to

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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 205 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

842 F.2d 27, 30 (2d Cir. 1988). To state a             of and disregarded an excessive risk of harm to
claim for failure to protect under the Eighth          the inmate's health and safety. See Farmer,
Amendment, a plaintiff must demonstrate                511 U.S. at 837. The defendant “must both
that (1) he or she was “incarcerated under             be aware of facts from which the inference
conditions posing a substantial risk of serious        could be drawn that a substantial risk of
harm,” the objective prong; and (2) prison             serious harm exists, and he must also draw
officials acted with deliberate indifference to        the inference.” Id. The plaintiff must “show
that risk and the inmate's safety, the subjective      that the defendants actually inferred from that
prong.     Farmer, 511 U.S. at 834.                    disclosure that a substantial risk of serious harm
                                                       existed.” Murray v. Goord, 668 F. Supp.2d
As to the objective prong, the deprivation             344, 359 (N.D.N.Y. 2009). A prison official's
must be “sufficiently serious,” Hathaway               negligence does not amount to a constitutional
v. Coughlin, 37 F.3d 63, 66 (2d Cir. 1994)             violation. See     Hathaway, 37 F.3d at 66.
(quoting     Wilson v. Seiter, 501 U.S. 294,
298 (1991) (internal quotation marks omitted)),
and “contemplate[ ] ‘a condition of urgency,
                                                                  1. Claims Against Racette
one that may produce death, degeneration,
or extreme pain.’ ” Id. (quoting Nance v.              “It is well settled in this Circuit that
Kelly, 912 F.2d 605, 607 (2d Cir. 1990)).              ‘personal involvement of defendants in alleged
“A substantial risk of serious harm can be             constitutional deprivations is a prerequisite to
demonstrated where there is evidence of a
                                                       an award of damages under            § 1983.’ ”
previous altercation between a plaintiff and
an attacker, coupled with a complaint by                  Wright v. Smith, 21 F.3d 496, 501 (2d Cir.
plaintiff regarding the altercation or a request       1994) (quoting Moffitt v. Town of Brookfield,
by plaintiff to be separated from the attacker.”       950 F.2d 880, 885 (2d Cir. 1991)). If the
Gilmore v. Rivera, No. 13-CV-6955, 2014 WL             defendant is a supervisory official, a mere
1998227, at *3 (S.D.N.Y. May 14, 2014); see            “linkage” to the unlawful conduct through “the
Rivers v. Spinnella, No. 9:09-CV-309 (FJS/             prison chain of command” (i.e., under the
RFT), 2010 WL 6428486, at *5 (N.D.N.Y.                 doctrine of respondeat superior) is insufficient
Nov. 4, 2010) (granting the defendants’ motion         to show his or her personal involvement in that
for summary judgment where “there [were]               unlawful conduct. Polk Cnty. v. Dodson, 454
no specific facts, nor even allegations, that          U.S. 312, 325 (1981); Richardson v. Goord,
indicate the [the d]efendant was aware that            347 F.3d 431, 435 (2d Cir. 2003); Wright,
[the p]laintiff faced a substantial risk of            21 F.3d at 501. Thus, supervisory officials may
serious harm until the altercation had already         not be held liable merely because they held a
started.”). 10                                         position of authority. Black v. Coughlin, 76
                                                       F.3d 72, 74 (2d Cir. 1996). Before deciding
As to the subjective prong, the plaintiff must         Ashcroft v. Iqbal, 556 U.S. 62 (2009), the
demonstrate that prison officials actually knew        Second Circuit held that supervisory personnel


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 206 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

may be considered “personally involved”                Coleman does not dispute, that he did not see
only if they (1) directly participated in the          any staff use excessive force on any inmates
alleged constitutional violation; (2) failed to        between June 6, 2015, and June 28, 2015. Dkt.
remedy that violation after learning of it             No. 91-4 at ¶ 12. As Coleman does not provide
through a report or appeal; (3) created, or            evidence that Racette was present at the time
allowed to continue, a policy or custom under          of the alleged assault, the Eighth Amendment
which the violation occurred; (4) had been             excessive force claim against Racette must be
grossly negligent in managing subordinates             dismissed. See Tangreti, 983 F.3d at 619; see
who caused the violation; or (5) exhibited             also Celestin v. Angeletta, No. 19 CV 1887,
deliberate indifference to the rights of inmates       2021 WL 1062344, at *4 (S.D.N.Y. Mar. 19,
by failing to act on information indicating that       2021) (dismissing the plaintiff's excessive force
the violation was occurring. See Colon v.              claim against the captain because the plaintiff
Coughlin, 58 F.3d 865, 873 (2d Cir. 1995)              “does not connect Captain [ ] to the purported
(citing  Williams v. Smith, 781 F.2d 319,              assault”); Forbes v. Doe, No. 6:18-CV-06700,
323-24 (2d Cir. 1986)).                                2021 WL 810020, at *3 (W.D.N.Y. Mar. 3,
                                                       2021) (dismissing claims against employee of
                                                       Monroe County Sheriff's Department because
 *6 In Tangreti v. Bachmann, 983 F.3d 609
                                                       the plaintiff failed to allege that employee was
(2d Cir. 2020), the Second Circuit addressed
                                                       involved in searches or the use of excessive
how the Supreme Court's decision in Iqbal
                                                       force against the plaintiff).
affected the standards in Colon for establishing
supervisory liability. Consistent with other
                                                       With respect to the failure-to-protect claim,
circuits, the Court concluded that “there is no
                                                       Coleman alleges that Racette was personally
special rule for supervisory liability,” and held
                                                       involved in the constitutional violations
that a “plaintiff must plead and prove ‘that each
                                                       because he was aware of Coleman's “many
Government-official defendant, through the
                                                       complaints of threats and harassment from
official's own individual actions, had violated
                                                       the staff at Clinton.” See Dkt. No. 98-1 at
the Constitution.’ ” Id. at 618. Therefore,            9, 2, 12, 17. As support, Coleman relies
to avoid summary judgment, the plaintiff had           upon a DOCCS’ computer-generated list of
to establish that the defendant violated the           grievances entitled “Closed Cases.” Dkt. No.
Eighth Amendment by her “own conduct,                  98-2 at 3. The list includes four grievances:
not by reason of [her] supervision of others           one he filed at Auburn Correctional Facility in
who committed the violation” and could not             December 2010 and three he filed at Clinton
“rely on a separate test of liability specific to      C.F. in April 2015, July 2015, and March
supervisors.”      Id. at 619.                         2016. Dkt. No. 98-2. The July 2015 grievance
                                                       relates to the events that transpired on June
It is undisputed that Racette was not present          8, 2015, and the March 2016 grievance was
during the search of Coleman's cell in the Upper       relates to medical treatment. Id. The April
H Block on June 8, 2015. Dkt. No. 91-3 at ¶            2015 grievance involves verbal harassment
5; Dkt. No. 91-4 at ¶ 13. Racette asserts, and         by an unidentified “C.O. at Clinton C.F. Id.


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 207 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

The grievance was “reviewed by” Chris M.               purportedly involved in the June 2015 incident.
Vanbergen and “authorized” by Jeffrey A. Hale.         Moreover, Coleman does not allege that he
Id. The named defendants, including Racette,           had prior altercations or any kind of history
are not referenced anywhere in the document.           with the named defendants. In fact, Coleman
Id.                                                    testified that he never saw Coryea or Demers
                                                       before June 8, 2015. Dkt. No. 91-5 at 14.
Coleman also contends that Racette was aware           As such, the evidence presented does not
of his prior complaints related to harassment          support the conclusion that Coleman faced a
and threats at Clinton C.F. because Racette was        substantial risk of serious harm from the named
a defendant in his “prior 1983 claim.” Dkt. No.        defendants.
98-1 at 12-13. Specifically, Coleman refers to
a civil rights complaint he filed in this District     As to the second prong – whether plaintiff
in January 2015. See Coleman v. Racette, et            established that Racette acted with the
al., No. 9:15-CV-0040 (TJM/ATB), Dkt. No. 1            necessary state of mind – the Court notes that
(N.D.N.Y. filed on Jan. 14, 2015) (“Coleman            Eighth Amendment failure to protect claims
I”). In Coleman I, Plaintiff asserted First and        cannot be based on a defendant's knowledge
Eighth Amendment claims against Racette and            of a “general risk” of harm to an inmate. See,
Clinton Correctional Officer L. Nolan related          e.g.,    Hogan v. Fischer, No. 09-CV-6225,
to an alleged excessive force incident that he         2012 WL 4845609, at *6 (W.D.N.Y. Oct.
alleged occurred in December 2014. Id., Dkt.           10, 2012) (internal citation omitted) (holding
Nos. 19, 21. In lieu of an answer, the defendants      that the failure to protect the plaintiff from
filed a motion to dismiss. Id., Dkt. No. 28. On        a general threat of harm is insufficient to
January 4, 2016, the Court dismissed all claims        raise a failure-to-protect claim under the Eighth
against Racette for failure to plead personal          Amendment) vacated in part on other grounds
involvement. 11 Coleman I, Dkt. No. 38.                   738 F.3d 509 (2d. Cir. 2013). Here, nothing
                                                       in the record suggests that Racette acted with
 *7 Upon review of the record in the instant           deliberate indifference. Even assuming that
action, including the list of grievances, and,         Racette was aware of Coleman's April 2015
taking judicial notice of Coleman I, the               grievance and Coleman I, prior to June 8,
Court addresses the objective and subjective
                                                       2015, 12 the complaints set forth therein did
standards of an Eighth Amendment failure-to-
                                                       not involve the named defendants, physical
protect claim. As to the first prong – whether
                                                       assault, or threats of physical violence. Thus,
plaintiff established that he was incarcerated
                                                       Coleman has failed to show that Racette knew
under conditions posing a substantial risk of
                                                       that Coleman was under the threat of harm and
serious harm – Coleman provides proof of
                                                       had the opportunity to prevent such harm. See
general allegations of prior verbal harassment
and accusations of excessive force against a              Farmer, 511 U.S. at 829.
Clinton C.F. officer not involved with the
June 2015 incident. Coleman did not file any           As Coleman has failed to show that he faced
grievances or complaints against the officers          a “substantial risk of harm” from the named


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 208 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

defendants, and that Racette failed to protect         attack and who failed to intervene.” Munoz
Coleman from future harm by the defendants,            v. Martinez, No. 03 CIV. 0828, 2005 WL
it is recommended that Defendants’ partial             1355094, at *4 (S.D.N.Y. June 8, 2005)
motion for summary judgment and dismissal              (citation omitted); see Alexander v. Racette,
of the failure-to-protect claims against Racette       9:17-CV-309 (BKS/CFH), 2020 WL 5802273,
be granted. See, e.g., Boyd v. Petralis, No.           at *11 (holding that, the fact that the plaintiff
6:16-CV-06286, 2021 WL 1100395, at *6                  could not identify with certainty who was
(W.D.N.Y. Mar. 23, 2021) (dismissing failure-          involved in the assault was not fatal where the
to-protect claims based upon Tangreti and lack         plaintiff presented evidence that his assaulter
of evidence that the defendants were aware of          was wearing a CIU jacket without a name
the plaintiff's fear of an attack or any prior         tag but that he had a bag over his head for
complaints against the deputies until after the        much of the assault, combined with evidence
incident); see also Brown v. Annucci, No. 19           that a defendant may have worn his CIU
CV 9048, 2021 WL 860189, at *5 (S.D.N.Y.               jacket on the day in question “raise[d] a triable
Mar. 8, 2021) (“Aside from a general reference         issue of fact as to whether [the defendant]
to records of misusing force, plaintiff pleads         was personally involved” was the individual
no facts suggesting [defendants] consciously           involved in questioning the plaintiff and in
or recklessly disregarded a serious risk of            the assault). “This is especially true where the
harm certain correction officers allegedly posed       acts complained of by the plaintiff, if true,
to plaintiff.”) (internal quotation marks and          (e.g., mace to the eyes, standing on back,
citations omitted).                                    ‘mushing’ face into the ground) are likely to
                                                       have prevented plaintiff from identifying which
Accordingly, it is recommended that the                of three defendant officers specifically engaged
Eighth Amendment claims against Racette be             in the bad acts.”      Shankle v. Andreone,
dismissed and that Defendants’ motion for              No. 06-CV-487, 2009 WL 3111761, at *5
summary judgment be granted.                           (E.D.N.Y. Sept. 25, 2009).

                                                        *8 Here, Coleman testified that, at the time
           2. Claim Against Demers                     of the cell search, he was not able to identify
                                                       the officers because they were not wearing
Defendants argue that the Eighth Amendment             name tags. See Dkt. No. 91-5 at 14, 20. With
claim against Demers must be dismissed for             assistance, Coleman was later able to identify
lack of personal involvement because Coleman           the officers as Coryea and Demers. Id. at
cannot recollect who was involved in the               20-22; Dkt. No. 98-1 at 19-20. Coleman further
alleged excessive force incident and did not           testified that, although he saw Coryea hit him,
identify Demers as one of the attackers. Dkt. No       he could not identify all of the officers involved
91-1 at 17-18.                                         in the assault because he was “stomped on”
                                                       while he was “face down” on his stomach and
“A plaintiff need not establish who, among a           “in and out of consciousness.” Dkt. No. 91-5 at
group of officers, directly participated in the        33-35. Although Coleman cannot affirmatively


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 209 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

state which officers participated in the physical      involvement to require resolution by a trier
assault, he testified that Demers was “present         of fact. Accordingly, it is recommended that
for the incident on June 8 th when 2015, when          Defendants’ motion on this ground be denied.
[he] was punched and kicked and stomped
[on.]” Id. at 33, 38, 40-42.
                                                                    C. Retaliation Claims
Conversely, Demers avers that he was assigned
to search Cell 35, twenty cells away from              In order to establish a First Amendment
Coleman's cell and that he did not “strike             retaliation claim under     Section 1983, a
Plaintiff or otherwise use force” on Coleman.          prisoner must show the following: that “(1) ...
Dkt. No. 91-2 at ¶¶ 8, 11. Demers provided a           the speech or conduct at issue was protected,
Cell Frisk Sheet which, he contends, supports          (2) ... the defendant took adverse action
his position that he searched Cell 35 and Coryea       against the plaintiff, and (3) ... there was
searched Cell 15. 13 Dkt. No. 91-2 at ¶ 4, pp.         a causal connection between the protected
5-6. Demers claims that if he had searched             speech and the adverse action.”       Espinal
Coleman's cell on June 8, 2015, he would have          v. Goord, 558 F.3d 119, 128 (2d Cir.
put his name on the cell frisk sheet and signed        2009) (internal quotation marks and citations
the form. Id. at ¶ 9.                                  omitted). “[P]risoner retaliation claims are
                                                       easily fabricated, and ... pose a substantial
The competing evidence rests on the credibility        risk of unwarranted judicial intrusion into
of Coleman on one hand and Demers on the               matters of general prison administration.”
other. 14 In these circumstances, the governing          Bennett v. Goord, 343 F.3d 133, 137 (2d Cir.
law that the evidence must be viewed in the            2003) (internal quotation marks and citations
light most favorable to the non-moving party           omitted). Accordingly, the Second Circuit
requires the Court to credit Coleman's version         requires courts to “examine prisoners’ claims
of the events for purposes of this motion. See In      of retaliation with skepticism and particular
re Dana Corp., 574 F.3d 128, 152 (2d Cir. 2009)
                                                       care.”    Colon, 58 F.3d at 872.
(holding that a court faced with a motion for
summary judgment must draw all reasonable
                                                       Here, Defendants do not dispute that Coleman
inferences in favor of the non-moving party
                                                       allegedly suffered an adverse action to satisfy
and may not make credibility determinations
                                                       the second prong of the retaliation claim.
or weigh the evidence, functions which are
                                                       Rather, Defendants argue that Coleman's
reserved to a jury and not a judge) (citing
                                                       retaliation claims against Demers and Coryea
cases).
                                                       are subject to dismissal because Coleman
                                                       “failed to explain the nature of his protected
Thus, although Coleman acknowledges that
                                                       speech supporting his First Amendment claim”
he is unable to identify which of the
                                                       against Demers and Coryea. Dkt. No. 91-1
defendants exerted what force upon him, he
                                                       at 19. Moreover, Defendants contend that the
has proffered sufficient evidence to raise an
                                                       record lacks evidence demonstrating a causal
issue of material fact as to Demers’ personal

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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 210 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

connection between the protected conduct                           prison official's actions, a
and the alleged adverse action, the alleged                        number of factors may be
excessive force incident. Dkt. No. 91-1 at                         considered, including: (i) the
19-20.                                                             temporal proximity between
                                                                   the protected activity and
*9 It is well settled that the filing                              the alleged retaliatory act;
of administrative grievances and lawsuits                          (ii) the inmate's prior good
constitutes protected speech. See            Davis                 disciplinary record; (iii)
v. Goord, 320 F.3d 346, 352-53 (2d Cir.                            vindication at a hearing
2003) (“[T]he filing of prison grievances is a                     on the matter; and (iv)
constitutionally protected activity”); Williams                    statements by the defendant
v. Ingraham, No. 04-CV-257 (GLS/DRH),                              concerning his motivation.
2005 WL 3746222, at *2 (N.D.N.Y. Feb.
3, 2005) (“The [inmate's] conduct at issue—
complaints to judicial officials, filing a lawsuit,         Baskerville v. Blot, 224 F.Supp.2d 723,
and grievances—are clearly constitutionally            732 (S.D.N.Y. 2002).
protected rights.”) (citing     Morales v.
Mackalm, 278 F.3d 126, 131 (2d Cir. 2002)).
                                                                 1. Retaliation Claims Based
As to the third element, the plaintiff bears the                  upon “Many Grievances”
burden of establishing that causal connection
“sufficient to support the inference ‘that the         Coleman claims that Demers and Coryea were
speech played a substantial part’ in the               motivated to retaliate against him because they
[ ] adverse [ ] action.” Diesel v. Town                were aware of his “many grievances[.]” Dkt.
of Lewisboro, 232 F.3d 92, 107 (2d Cir.                No. 98-1 at 26. However, this conclusory
2000) (quoting Ezekwo v. NYC Health &                  claim, submitted for the first time in opposition
Hosps. Corp., 940 F.2d 775, 780-81 (2d Cir.            to the motion for summary judgment, is not
1991)). A plaintiff may establish a causal             supported by competent, admissible evidence.
connection “with circumstantial evidence if            As discussed supra, the record lacks facts
it is ‘sufficiently compelling[.]’ ” Kotler v.         establishing that Coleman filed grievances or
Donelli, 382 F. App'x 56, 57-58 (2d Cir. 2010)         complaints against Demers or Coryea prior
                                                       to the June 2015 incident. Indeed, Coleman
(summary order) (quoting Bennett v. Goord,
                                                       has not proffered any evidence establishing
343 F.3d 133, 137 (2d Cir. 2003)).
                                                       that Demers or Coryea were aware that
                                                       Coleman filed any grievances prior to the
                                                       June 2015 incident. Accordingly, Coleman
            In determining whether a
                                                       has not established a viable retaliation claim
            causal connection exists
                                                       based upon his generalized contention that
            between    the    plaintiff's
                                                       Defendants were aware of his filing “many
            protected activity and a
                                                       grievances.” Id.


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 211 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

                                                       No. 9:10-CV-1331 (GLS/ATB), 2013 WL
                                                       5441353, at *21 (N.D.N.Y. Sept. 27, 2013)
              2. Retaliation Claims                    (citing    Hare v. Hayden, 09 Civ. 3135,
             Based upon Coleman I                      2011 WL 1453789, at *4 (S.D.N.Y. Apr. 14,
                                                       2011) (“As a general matter, it is difficult
Defendants concede that the filing of lawsuit          to establish one defendant's retaliation for
is constitutionally protected activity. 15 Dkt.        complaints against another defendant.”)).
No. 91-1 at 19. Although Defendants’
Memorandum of Law lacks any argument in                 *10 Coleman testified that Demers and
support of dismissal of Coleman's retaliation          Coryea “grabbed” his legal work and
claims based upon Coleman I, Coleman bears             began reading through his “claim against
the burden of demonstrating that “the protected        another correctional officer within that
conduct was a substantial or motivating factor         facility.” Dkt. No. 91-5 at 18-19. Coleman
in the prison officials’ decision to discipline        overheard Defendants “whispering amongst
                                                       themselves[,]” and although he admits that
the plaintiff.” Gayle, 313 F.3d at 682. In
                                                       he “could not make out nor hear what they
this regard, Coleman relies upon the “close
                                                       were whispering about,” the assault occurred
proximity in time” between his protected
                                                       “shortly thereafter.” Id. at 22; Dkt. No. 98-1 at
conduct and the adverse action. See Dkt. No.
                                                       28.
98-1 at 26.
                                                       As discussed, Coryea and Demers were
It is well-settled that “temporal proximity
                                                       not named defendants in Coleman I. Even
without more is insufficient to survive
                                                       assuming the truth of Coleman's claim that
summary judgment.” Flynn v. Ward, No. 15-
                                                       Demers read Coleman's legal materials, the
CV-1028 (TJM/CFH), 2018 WL 3195095,
                                                       record lacks evidence demonstrating that
at *11 (N.D.N.Y. June 7, 2018) (internal
                                                       Demers or Coryea were motivated to retaliate
quotation marks and citation omitted). Instead,
                                                       against Coleman based on Coleman's filing
a plaintiff must come forward with additional
                                                       of that lawsuit. Coleman has not proffered
“circumstantial evidence” establishing that
                                                       any explanation as to why Coryea or Demers
the protected activity was “a substantial or
                                                       would be motivated to retaliate against him
motivating factor” in the defendant's conduct.
                                                       in response to a lawsuit against Nolan.
See id. at *10. Retaliation is not “reasonably
                                                       Coleman does not allege, and the record does
inferred” where a plaintiff's protected speech
                                                       not support, a conclusion that Demers or
does not involve the defendant alleged to have
                                                       Coryea made any reference to the lawsuit,
retaliated against him. See Wright v. Goord,           Nolan, or the December 2014 incident
554 F.3d 255, 274 (2d Cir. 2009). “Retaliation         referenced in Coleman I prior to the alleged
claims have been dismissed when they are               assault. Coleman's conclusory and speculative
supported only by conclusory allegations that          allegations are insufficient to support “an
the retaliation was based upon complaints              inference of a causal connection between”
against another officer.”         Jones v. Fischer,    the protected conduct; i.e. filing Coleman I,


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 212 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

and the alleged excessive force incident. See          alleged that he engaged in protected activity for
     Baskerville, 224 F.Supp.2d at 732.                purposes of his First Amendment claim” where
                                                       the plaintiff alleged to have verbally reported an
As there is an absence of factual support to           assault by a correctional officer to a supervisor,
demonstrate a causal connection, Coleman's             and as a result, faced retaliation);    Smith
retaliation claims against Demers and Coryea,          v. Woods, No. 03-CV-480 (DNH), 2006 WL
based upon Coleman I, lack merit.          Celotex     1133247, at *10 (N.D.N.Y. Apr. 24, 2006)
Corp., 477 U.S. at 323.                                (noting that “the First Amendment protects,
                                                       not only the filing of written grievances and
                                                       complaints, but under some circumstances,
                                                       the making of oral complaints to correction
          3. Retaliation Claims Based                  officers.”), aff'd, 219 F. App'x 110 (2d Cir.
             Upon Oral Complaints                      2007) (summary order) (citation omitted);
Construing Coleman's arguments in a light                 Sprau v. Coughlin, 997 F.Supp. 390, 393
most favorable to him, Coleman asserts that            (W.D.N.Y. 1998) (finding a prisoner's threat
Defendants were motivated to retaliate against         to file a complaint against a prison guard
him after overhearing his conversations with           sufficient to establish protected activity); but
Hutti and Durkin. Dkt. No. 98-1 at 25.                 see Booker v. Griffin, No. 16-CV-00072, 2018
Defendants argue that the verbal exchanges             WL 1614346, at *17 (S.D.N.Y. Mar. 31, 2018)
between Coleman, Hutti, and Durkin were                (dismissing First Amendment claims against
“brief and isolated” and cannot be construed           correctional officers on the basis of qualified
as constitutionally-protected speech. Dkt. No.         immunity “because the law is not well-settled
91-1 at 20.                                            regarding whether an inmate's verbal complaint
                                                       constitutes protected speech, it would not
A prisoner does not have a First Amendment             necessarily be ‘clear to a reasonable officer’
right to engage officers in a verbal dispute.          that taking an adverse action in response to
See Torrez v. Mulligan, No. 3:17-CV-677,               such a complaint would rise to the level of
2017 WL 2623165, at *3 (D. Conn.                       a constitutional violation.”) (internal citation
June 16, 2017) (dismissing retaliation claim           omitted).
against officer who allegedly assaulted the
plaintiff immediately after the plaintiff told          *11 Although the Second Circuit has yet
the defendant to “stop making inappropriate            to articulate a bright line rule regarding
comments”). However, district courts in the            constitutionally-protected oral speech by an
Second Circuit have concluded that an inmate's         inmate, several district courts in this Circuit
oral complaints to a correctional officer, under       have held that a verbal confrontation
some circumstances, may constitute speech or           with a correction officer based on an
conduct protected under the First Amendment.           inmate's dissatisfaction with that officer's
See, e.g., Mazyck v. Keller, 6:20_CV-06055,            directive is one example of speech that
2021 WL 1201224, at *8 (W.D.N.Y. Mar.                  is not constitutionally-protected activity. See
31, 2021) (finding that the plaintiff “plausibly       Williams v. Smith, No. 11-CV-0601 (LEK/


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 213 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

TWD), 2015 WL 1179339, at *10 (N.D.N.Y.                      I asked -- asked -- asked Sergeant Hutti --
Mar. 13, 2015) (verbal complaint “about                      I didn't ask him. I stated to Sergeant Hutti
problems with [inmate's] braces” was not                     that this officer was discarding property
protected conduct); Carl v. Griffin, No. 08-                 that I'm entitled to have. And I would like
CV-4981, 2011 WL 723553, at *5 (S.D.N.Y.                     to know if I could retrieve it, because I'm
Mar. 2, 2011) (“[The p]laintiff's brief and                  entitled to have this.
isolated verbal [encounter with the defendant]
does not constitute protected First Amendment          Dkt. No. 91-5 at 26-27.
speech [because] [t]o construe it as such
would elevate every verbal exchange between            Coleman does not allege that he voiced any
a prison employee and a prisoner to the level of       complaints to Hutti and does not describe
protected speech under the First Amendment.”)          the exchange with Hutti as argumentative. In
(internal quotation marks and citation omitted);       his grievance, Coleman claimed that Durkin
see also Lugo v. Van Orden, No. 07-CV-879              “yelled” at him, but Coleman described his
(TJM/GJD), 2008 WL 2884925, at *3 n.4                  tone to Durkin as “respectful.” Dkt. No. 1-1
(N.D.N.Y. July 23, 2008) (“A simple discussion         at 43. During his deposition, Coleman testified
with a corrections officer would not be                that while he was speaking with Hutti, Durkin
protected speech unless that discussion was in         interrupted and “started yelling in [his] face[.]”
the form of a complaint or concern about the           Dkt. No. 91-5 at 27. Durkin told Coleman, “if
officer or some policy involved.”).                    you don't throw this shit away, I'm going to
                                                       throw it away for you.” Id. Coleman testified
In his grievance, Coleman described his verbal         that he responded:
exchange with Hutti as a “conversation” about
his property. Dkt. No. 91-5 at 25. During
his deposition, Coleman testified that while                       A. At that time, I interjected,
Demers and Coryea were “throwing stuff out                           and I stated to Lieutenant
of [his] cell,” he “started addressing” Hutti and                    Derkin [sic] that I had a lot
“started inquiring about the items that these                        of amount [sic] of property
two officers had discarded from [his] cell as                        that I'm entitled to have by
rubbish.” Dkt. No. 91-5 at 25-26. Coleman                            the State of New York. I
summarized his exchange with Hutti:                                  have no more or no less.
                                                                     At that time, he started
  A. Basically, there was a particular item that                     yelling back in my face
    was discarded from my cell which was a                           again, saying I don't care
    property bag is, you know, a bag they sell                       how much property you're
    on commissary that allows inmates to -- to                       entitled to have. If you
    store items in this property bag to create                       don't get rid of this shit we
    space in your cell.                                              will.”

     So Sergeant Coryea was the one who
     discarded this bag from out of my cell, so        Dkt. No. 91-5 at 27.

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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 214 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392



Based upon Coleman's sworn testimony and                              III. CONCLUSION
the record before the Court, Coleman did not
intend for his statements regarding the manner         WHEREFORE, for the reasons set forth
in which his property was handled to “reach            above, it is hereby:
anyone” other than Hutti and Durkin. See Carl,
2011 WL 723553, at *5. The record suggests             RECOMMENDED, that Defendants’ motion
that the verbal exchanges were, at best,               for partial summary judgment (Dkt. No. 91)
“isolated” disagreements related to the cell           be GRANTED as to Plaintiff's claims against
search that day. There is no evidence that the         Racette and Plaintiff's First Amendment
parties engaged in any further conversations or        retaliation claims against Demers and Coryea;
arguments regarding these issues. Accordingly,         and DENIED in all other respects; and it is
the Court concludes that the oral exchanges
between Coleman and Hutti and Coleman                  ORDERED, that copies of this Report-
and Durkin were not verbal grievances or               Recommendation and Order be served on the
protected conduct. See Cosby v. McDonald,              parties in accordance with the Local Rules.
No. 3:20-CV-432, 2020 WL 5026550, at *6
(D. Conn. Aug. 25, 2020) (finding that there           IT IS SO ORDERED.
is a distinction between “verbal grievances and
verbal confrontations or arguments between a           Pursuant to      28 U.S.C. § 636(b)(1)
prisoner and a correctional officer and [district      and Local Rule 72.1(c), the parties have
courts] have concluded that the latter do              fourteen days within which to file written
not constitute protected speech”) (collecting          objections to the foregoing report. Such
cases); see also Ford v. Martuscello, No. 9:14-        objections shall be filed with the Clerk
CV-1566 (DNH/DEP), 2016 WL 5322166, at                 of the Court. FAILURE TO OBJECT
*4 (N.D.N.Y. June 23, 2016) (confronting a             TO THIS REPORT WITHIN FOURTEEN
corrections officer based on a dissatisfaction         DAYS WILL PRECLUDE APPELLATE
with that officer's directive is one example
                                                       REVIEW.         Roldan v. Racette, 984 F.2d 85,
of speech that is not constitutionally-protected
activity), report and recommendation adopted,          89 (2d Cir. 1993) (citing Small v. Secretary
2016 WL 5256901 (N.D.N.Y. Sept. 22, 2016)              of Health and Human Servs., 892 F.2d 15 (2d
(citations omitted).                                   Cir. 1989));     28 U.S.C. § 636(b)(1); FED. R.
                                                       CIV. P. 6(a), 6(e), 72. 16
 *12 Accordingly, it is recommended that
Defendants’ motion for summary judgment
and dismissal of Coleman's First Amendment             All Citations
retaliation claims against Coryea and Demers
be granted.                                            Slip Copy, 2021 WL 4312392




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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 215 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392




                                              Footnotes

1     This matter was referred to the undersigned for report and recommendation
      pursuant to        28 U.S.C. § 636(b) and N.D.N.Y.L.R. 72.3(c).

2     Defendants did not submit a reply.

3     At the filing date of Defendants’ motion, Local Rule 7.1(a)(3) provided:

            Any motion for summary judgment shall contain a Statement of Material Facts.
            The Statement of Material Facts shall set forth, in numbered paragraphs, a
            short and concise statement of each material fact about which the moving party
            contends there exists no genuine issue. Each fact listed shall set forth a specific
            citation to the record where the fact is established. The record for purposes of
            the Statement of Material Facts includes the pleadings, depositions, answers
            to interrogatories, admissions and affidavits. It does not, however, include
            attorney's affidavits. Failure of the moving party to submit an accurate and
            complete Statement of Material Facts shall result in a denial of the motion.

            The moving party shall also advise pro se litigants about the consequences of
            their failure to respond to a motion for summary judgment. See also L.R. 56.2.

            The opposing party shall file a response to the Statement of Material Facts. The
            non-movant's response shall mirror the movant's Statement of Material Facts
            by admitting and/or denying each of the movant's assertions in a short and
            concise statement, in matching numbered paragraphs. Each denial shall set
            forth a specific citation to the record where the factual issue arises. The Court
            shall deem admitted any properly supported facts set forth in the Statement
            of Material Facts that the opposing party does not specifically controvert. The
            non-movant's response may also set forth a short and concise statement of
            any additional material facts that the non-movant contends are in dispute in
            separately numbered paragraphs, followed by a specific citation to the record
            where the fact is established.

      Effective January 1, 2021, the rule number was changed to Local Rule 56.1.

      Defendants filed a Statement of Material Facts. Dkt. No. 91-6. Coleman provided
      a Statement of Material Facts, but did not respond to Defendants’ Statement of
      Material Facts. See Dkt. No. 98. The undersigned is not required to “perform an
      independent review of the record to find proof of a factual dispute.” Prestopnik
      v. Whelan, 253 F.Supp. 2d 369, 371 (N.D.N.Y. 2003). Although the Local Rules
      provide that the Court shall deem admitted any facts the nonmoving party fails to
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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 216 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

      “specifically controvert,” pro se plaintiffs are afforded special solicitude in this District
      and within the Second Circuit. N.D.N.Y. L.R. 7.1(a)(3); see subsection II.A. Supra.

4     The parties provided exhibits with their submissions, without objection or challenges
      to the authenticity of any documents. Therefore, to the extent that the “facts”
      asserted by the parties are supported by the record, the undersigned will consider
      the facts and relevant exhibits/documents in the context of the within motion. See
         Daniel v. Unum Provident Corp., 261 Fed. App'x 316, 319 (2d Cir. 2008) (“[A] party
      is not required to authenticate documents on a summary judgment motion where,
      as here, authenticity is not challenged by the other party”). In light of the procedural
      posture of the case, the following recitation is derived from the record now before
      the court, with all inferences drawn and ambiguities resolved in favor of the non-
      moving party. See           Terry v. Ashcroft, 336 F.3d 128, 137 (2d Cir. 2003).

5     A cell frisk is a search of the inmate's cell. Dkt. No. 91-2 at ¶ 5.

6     Citations to page numbers refer to the pagination generated by CM/ECF, not the
      page numbers generated by the parties.

7     In March 2016, Coleman was transferred from Clinton C.F. to Green Haven C.F. See
      Coleman v. Racette, No. 9:15-CV-0040, Dkt. No. 44 (N.D.N.Y. filed Mar. 31, 2016).

8     The claim involved a different correctional officer at Clinton C.F. Sec. Am. Compl.
      at ¶ 30.

9     In response to the motion for summary judgment, Coleman submitted a
      Memorandum of Law. Dkt. No. 98-1. In the submission, Coleman introduces
      arguments related to the denial of medical attention. See id. at 16. The Second
      Amended Complaint does not include a claim related to deliberate medical
      indifference. See generally Dkt. No. 85. Thus, this issue is not properly before this
      Court and will not be considered.

10    Copies of the unpublished decisions cited within this Report-Recommendation &
      Order have been provided to plaintiff pro se.

11    On November 27, 2018, Coleman I was resolved with a Stipulation and Order of
      Discontinuance. See Coleman I, Dkt. No. 114.

12    Racette was not served with the summons and amended complaint in Coleman I
      until July 28, 2015, after the alleged use of force on June 8, 2015. Coleman I, Dkt.
      Nos. 23, 26




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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 217 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 4312392

13    Demers stated that the Cell Frisk Sheet is dated June 18, 2015. Dkt. No. 91-2 at ¶
      4. Based upon a review of the document, which is dated June 8, 2015, it is clear
      that Demers’ declaration contains a typographical error in relation to the date.

14    Although the record contains a declaration from Durkin, who admits he was present
      in Upper H Block on June 8, 2015, Durkin does not confirm, refute, or address
      Demers’ claim that he was not personally involved in the alleged use of force.

15    In the December 2019 Report-Recommendation and Order, this Court concluded
      that Coleman engaged in protected conduct when he filed Coleman I. Dkt. No. 61
      at 24.

16    If you are proceeding pro se and are served with this Report-Recommendation
      & Order by mail, three (3) additional days will be added to the fourteen (14) day
      period, meaning that you have seventeen (17) days from the date the Report-
      Recommendation & Order was mailed to you to serve and file objections. FED. R.
      CIV. P. 6(d). If the last day of that prescribed period falls on a Saturday, Sunday, or
      legal holiday, then the deadline is extended until the end of the next day that is not
      a Saturday, Sunday, or legal holiday. Id. § 6(a)(1)(c).


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 218 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 3508342



              2021 WL 3508342
         Only the Westlaw citation                                          ORDER
            is currently available.
United States District Court, N.D. New York.           Mae A. D'Agostino, United States District
                                                       Judge:
       Towaun COLEMAN, Plaintiff,
                       v.                               *1 Plaintiff commenced this action on April
     Steven RACETTE, Superintendent,                   2, 2018, alleging various violations of his
  Clinton Correctional Facility; Lt. Durkin,           constitutional rights and state law while he was
 Correctional Officer, Clinton Correctional            incarcerated at Clinton Correction Facility. See
  Facility; Sgt. Hutti, Correctional Officer,          Dkt. No. 1. On December 19, 2018, Plaintiff
      Clinton Correctional Facility; Sgt.              filed an amended complaint. See Dkt. No. 31.
     King, Correctional Officer, Clinton               In his amended complaint, Plaintiff alleged (1)
  Correctional Facility; Wyatt, Correctional           violations of his First, Eighth, and Fourteenth
   Officer, Clinton Correctional Facility;             Amendment rights pursuant to 42 U.S.C. §
  S. Dubrey, Correctional Officer, Clinton             1983; (2) assault and battery; (3) intentional
 Correctional Facility; Spinner, Correctional          infliction of emotional distress; (4) negligence;
   Officer, Clinton Correctional Facility;             (5) negligent infliction of emotional distress;
   J. Tyler, Correctional Officer, Clinton             and (6) respondeat superior. See id. at ¶¶
      Correctional Facility; Corrections               53-76. The Court conducted a review of the
     Officer Coryea; Corrections Officer               amended complaint and the following claims
   Demers; and John Reyell, Defendants.                survived: (1) Plaintiff's First Amendment
                                                       retaliation claims against Defendants Durkin,
             18-cv-0390 (MAD/CFH)                      John Doe #1, and Wood; (2) Plaintiff's Eighth
                        |                              Amendment excessive force and failure to
                Signed 08/10/2021                      intervene claims against Defendants John Doe
                                                       #1-4, Durkin, Hutti, King, Reyell, Wyatt,
Attorneys and Law Firms
                                                       Dubrey, Tyler, Spinner, and Racette; and (3)
TOWAUN COLEMAN, 07-A-2215, Clinton                     Plaintiff's state law negligence claims against
Correctional Facility, P.O. Box 2000, Pine City,       Defendants John Doe #1-4, Durkin, Hutti,
New York, Plaintiff, pro se.                           King, Reyell, Wyatt, Dubrey, Tyler, Spinner,
                                                       and Racette. See Dkt. No. 33 at 16.
OF       COUNSEL:       ERIK      BOULE
PINSONNAULT, AAG, NEW YORK STATE                       Defendants filed a partial motion to dismiss
ATTORNEY, GENERAL – ALBANY, The                        on April 1, 2019. See Dkt. No. 44. On
Capitol, Albany, New York 12224, Attorneys             December 13, 2019, Magistrate Judge Hummel
for Defendants.                                        issued a Report-Recommendation and Order,
                                                       recommending that Defendants’ motion to
                                                       dismiss be granted in part. See Dkt. No.


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 219 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 3508342

61 at 44. On February 24, 2020, the                    the magistrate judge,” the court reviews those
Court adopted in its entirety this Report-             recommendations for clear error. O'Diah v.
Recommendation and Order. Dkt. No. 64. The             Mawhir, No. 9:08-CV-322, 2011 WL 933846,
Court dismissed Plaintiff's First Amendment            *1 (N.D.N.Y. Mar. 16, 2011) (citations and
claim against Defendants Durkin and Woods              footnote omitted); see also McAllan v. Von
and all negligence claims. See id.                     Essen, 517 F. Supp. 2d 672, 679 (S.D.N.Y.
                                                       2007). After the appropriate review, “the court
On October 27, 2020, Defendants filed a                may accept, reject or modify, in whole or in
motion for partial summary judgment seeking            part, the findings or recommendations made by
dismissal of the Eighth Amendment claims
                                                       the magistrate [judge].” 28 U.S.C. § 636(b)
against Defendants Racette and Demers and the
                                                       (1). Plaintiff has not filed an objection to
First Amendment claims against Defendants
                                                       the report-recommendation and the Court will
Demers and Coryea. See Dkt. No. 91.
                                                       review it for clear error.
Magistrate Judge Hummel issued a Report-
Recommendation and Order on May 27,
                                                        *2 A court may grant a motion for summary
2021, recommending that Defendants’ motion
                                                       judgment only if it determines that there is
for partial summary judgment be granted in
                                                       no genuine issue of material fact to be tried
part. Specifically, Magistrate Judge Hummel
                                                       and that the facts as to which there is no such
recommended that Defendants’ motion for
                                                       issue warrant judgment for the movant as a
partial summary judgment be granted with
respect to Plaintiff's First Amendment                 matter of law. See Chambers v. TRM Copy
retaliation claims against Defendants Demers           Ctrs. Corp., 43 F.3d 29, 36 (2d Cir. 1994)
and Coryea, and with respect to all claims             (citations omitted). When analyzing a summary
against Defendant Racette. See Dkt. No.                judgment motion, the court “cannot try issues
101. Magistrate Judge Hummel recommended               of fact; it can only determine whether there are
that Defendants’ motion for partial summary            issues to be tried.” See id. at 36-37 (quotation
judgment be denied with respect to Plaintiff's         and other citation omitted). Moreover, it is
Eighth Amendment claim against Defendant               well-settled that a party opposing a motion for
Demers. Id.                                            summary judgment may not simply rely on the
                                                       assertions in its pleadings. See Celotex Corp.
When a party files specific objections to a            v. Catrett, 477 U.S. 317, 324 (1986) (quoting
magistrate judge's report-recommendation, the          Fed. R. Civ. P. 56(c), (e)).
district court makes a “de novo determination
of those portions of the report or specified           “[I]n a pro se case, the court must view
proposed findings or recommendations to                the submissions by a more lenient standard
which objection is made.”        28 U.S.C. §           than that accorded to ‘formal pleadings drafted
636(b)(1). However, when a party declines              by lawyers.’ ” Govan v. Campbell, 289 F.
to file objections or files “[g]eneral or              Supp. 2d 289, 295 (N.D.N.Y. 2007) (quoting
conclusory objections or objections which                 Haines v. Kerner, 404 U.S. 519, 520 (1972))
merely recite the same arguments [presented] to        (other citations omitted). The Second Circuit


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 220 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 3508342

has held that the court is obligated to “              judgment on the First Amendment retaliation
‘make reasonable allowances to protect pro             claims should be granted. To prove a First
se litigants’ ” from inadvertently forfeiting          Amendment retaliation claim, a prisoner must
legal rights merely because they lack a legal          show “(1) that the speech or conduct at issue
education.      Govan, 289 F. Supp. 2d at 295          was protected, (2) that the defendant took
                                                       adverse action against the plaintiff, and (3)
(quoting   Traguth v. Zuck, 710 F.2d 90,
                                                       that there was a causal connection between
95 (2d Cir. 1983)). “This liberal standard,
                                                       the protected speech and the adverse action.”
however, does not excuse a pro se litigant
from following the procedural formalities of             Espinal v. Goord, 558 F.3d 119, 128 (2d
                                                       Cir. 2009). Magistrate Judge Hummel correctly
summary judgment.” Govan, 289 F. Supp.
                                                       found that Plaintiff's oral complaints were not
2d at 295 (citing Showers v. Eastmond, 00
                                                       protected activity. Dkt. No. 101 at 23-27.
CIV. 3725, 2001 WL 527484, *1 (S.D.N.Y.
                                                       Additionally, Plaintiff failed to show a causal
May 16, 2001)). Specifically, “a pro se party's
                                                       connection between his grievances or previous
‘bald assertion,’ completely unsupported by
                                                       lawsuit and the adverse action. Id. at 21-23.
evidence” is not sufficient to overcome a
motion for summary judgment.”      Lee v.              Lastly, the Court adopts Magistrate Judge
Coughlin, 902 F. Supp. 424, 429 (S.D.N.Y.              Hummel's recommendation that Defendants’
1995) (citing Cary v. Crescenzi, 923 F.2d 18,          motion for partial summary judgment be denied
21 (2d Cir. 1991)).                                    with respect to Plaintiff's claim of excessive
                                                       force by Defendant Demers. “A plaintiff need
In the present matter, the Court finds                 not establish who, among a group of officers,
that Magistrate Judge Hummel correctly                 directly participated in the attack and who
determined that Defendants’ motion for partial         failed to intervene.” Munoz v. Martinez, No. 03
summary judgment should be granted as to               CIV. 0828, 2005 WL 1355094, *4 (S.D.N.Y.
Plaintiff's Eighth Amendment claim against             June 8, 2005). Here, Plaintiff's testimony
Defendant Racette. It is undisputed that               that Defendant Demers “was present for the
Defendant Racette was not present during               incident” is therefore sufficient to withstand the
the search of Plaintiff's cell. Dkt. No. 91-3          motion for partial summary judgment. Dkt. No.
at ¶ 5; Dkt. No. 91-4 at ¶ 13. Therefore,              91-5 at 33, 38, 40-42.
the excessive force claim fails. Tangreti v.
Bachmann, 983 F.3d 609, 619 (2d Cir. 2020).             *3 After carefully reviewing the Report-
The failure-to-protect claim similarly fails;          Recommendation and Order, the entire record
there is no record evidence that Racette acted         in this matter, and the applicable law, the Court
with “deliberate indifference,” as required.           hereby
  Farmer v. Brennan, 511 U.S. 825, 829
(1994).                                                ORDERS that Magistrate Judge Hummel's
                                                       Report-Recommendation and Order is
The Court also agrees with Magistrate Judge            ADOPTED in its entirety for the reasons set
Hummel that Defendants’ motion for summary             forth herein; and the Court further


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       Case 9:19-cv-00072-GTS-TWD Document 184 Filed 09/01/22 Page 221 of 221
Coleman v. Racette, Slip Copy (2021)
2021 WL 3508342

                                                        ORDERS that the Clerk of the Court shall
ORDERS that Defendants’ motion for                      serve a copy of this Order on the parties in
partial summary judgment (Dkt. No. 91) is               accordance with the Local Rules.
GRANTED in part and DENIED in part; 1
and the Court further                                   IT IS SO ORDERED.

ORDERS that Defendant Racette is                        All Citations
terminated as a Defendant in this action; and
the Court further                                       Slip Copy, 2021 WL 3508342




                                              Footnotes

1     Plaintiff's Eighth Amendment excessive force claim remains against Defendants
      Durkin, Hutti, King, Wyatt, Dubrey, Spinner, Tyler, Coryea, Demers, and Reyell.


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